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                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                                  )
 CENTER FOR BIOLOGICAL                            )
 DIVERSITY and CENTER FOR FOOD                    )
 SAFETY,                                          )
      Petitioners,                                ) No. 23-1329
                                                  )
                v.                                )
                                                  )
 UNITED STATES ENVIRONMENTAL                      )
 PROTECTION AGENCY,                               )
      Respondent.                                 )
                                                  )

                            PETITION FOR REVIEW

      Pursuant to Section 16(b) of the Federal Insecticide, Fungicide, and

Rodenticide Act (FIFRA), 7 U.S.C. § 136n(b), Rule 15 of the Federal Rules of

Appellate Procedure, and Circuit Rule 15, the Center for Biological Diversity and

Center for Food Safety (“Petitioners”) hereby petition the Court for review of

Respondent United States Environmental Protection Agency’s (“EPA”) decision

registering the use of the pesticide cyantraniliprole on a range of crops as set forth

below in this petition.

      These amended registrations and underlying registration decision are the

subject matter, and the result of, an order from this Court in the pending case In re

Ctr. for Biological Diversity & Ctr. for Food Safety, 53 F.4th 665, 669 (D.C. Cir.

2022). Petitioners believe that the panel of this Court issuing that opinion

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maintains jurisdiction over EPA’s actions below in the course of ensuring

compliance with the Court’s writ of mandate. However, EPA has argued that if the

Petitioners “want to allege that EPA’s approval of these amendments to the

registration is contrary to the ESA, that would be a new claim to be brought in the

appropriate court in a new challenge to EPA’s approval of the registration

amendments.” In re Ctr. for Biological Diversity & Ctr. for Food Safety, DC Cir.

Case No. 21-1270, Doc. 2026758, EPA’s Response in Support of Its Notice of

Completion (November 13, 2023). In light of the sixty-day time limit for appellate

court jurisdiction in FIFRA, this petition is therefore submitted as an appropriate

protective measure to ensure preservation of Petitioners’ claims. Petitioners will

move to stay this Petition for Review pending the outcome of the Court’s

consideration of compliance with its order in In re Ctr. for Biological Diversity &

Ctr. for Food Safety. 53 F.4th 665, 669 (D.C. Cir. 2022).

      This petition challenges EPA’s following cyantraniliprole registrations:

             Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo

      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,

      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential

      Insecticide (September 27, 2023), EPA-HQ-OPP-2011-0668-0133

      (Attachment 1);


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            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo

      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,

      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential,

      (September 27, 2023), EPA-HQ-OPP-2011-0668-0134 (Attachment 2);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo

      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,

      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential

      Insecticide, (September 27, 2023), EPA-HQ-OPP-2011-0668-0135

      (Attachment 3);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Benevia Insect Control, Exirel Insect

      Control and Verimark Insect Control, (September 27, 2023), EPA-HQ-OPP-

      2011-0668-0136 (Attachment 4);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Benevia Insect Control, Exirel Insect

      Control and Verimark Insect Control, (September 27, 2023), EPA-HQ-OPP-

      2011-0668-0137 (Attachment 5);




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            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo

      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,

      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential

      Insecticide, (September 27, 2023), EPA-HQ-OPP-2011-0668-0138

      (Attachment 6);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo

      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,

      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential

      Insecticide, (September 27, 2023), EPA-HQ-OPP-2011-0668-0139

      (Attachment 7);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo

      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,

      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential

      Insecticide, (September 27, 2023), EPA-HQ-OPP-2011-0668-0140

      (Attachment 8);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo


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      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,

      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential

      Insecticide, (September 27, 2023), EPA-HQ-OPP-2011-0668-0141

      (Attachment 9);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Benevia Insect Control, Exirel Insect

      Control and Verimark Insect Control, (September 27, 2023), EPA-HQ-OPP-

      2011-0668-0142 (Attachment 10);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Name: Lumiderm Insecticide Seed Treatment,

      (September 27, 2023), EPA-HQ-OPP-2011-0668-0143 (Attachment 11);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo

      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,

      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential

      Insecticide, (September 27, 2023), EPA-HQ-OPP-2011-0668-0144

      (Attachment 12);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo

      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,


                                        5
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      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential

      Insecticide, (September 27, 2023), EPA-HQ-OPP-2011-0668-0145

      (Attachment 13);

            Registration Amendment – Amended Terms and Conditions, and

      Revised Labeling Product Names: Fortenza, Fortenza Red, Minecto Duo

      Insecticide, Minecto Pro, Mainspring GNL, Zyrox Fly Granular Bait,

      Spinner Insecticide, Ference, Mainspring Flora and A16901B Residential

      Insecticide, (September 27, 2023), EPA-HQ-OPP-2011-0668-0146

      (Attachment 14); and

            the underlying Registration of the New Active Ingredient

      Cyantraniliprole (January 24, 2014) EPA-HQ-OPP-2011-0668-0057

      (Attachment 15).



      Respectfully submitted this 22nd day of November, 2023,



                                   JONATHAN EVANS (DC Cir Bar #53186)
                                   Center for Biological Diversity
                                   1212 Broadway, Suite 800
                                   Oakland, CA 94612
                                   Tel: (510) 844-7100 x318
                                   Fax: (510) 844-7150
                                   jevans@biologicaldiversity.org

                                   Counsel for Petitioners Center for Biological
                                   Diversity and Center for Food Safety
                                        6
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               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                               )
 CENTER FOR BIOLOGICAL                         )
 DIVERSITY and CENTER FOR FOOD                 )
 SAFETY,                                       )
      Petitioners,                             ) No. ________________
                                               )
               v.                              )
                                               )
 UNITED STATES ENVIRONMENTAL                   )
 PROTECTION AGENCY,                            )
      Respondent.                              )
                                               )

                    RULE 26.1 DISCLOSURE STATEMENT

      Pursuant to Fed. R. App. P. 26.1 and Circuit Rule 26.1, Petitioners make the

following disclosures:

      Center for Biological Diversity has no parent companies, and no publicly

held company has a ten percent or greater ownership interest in Center for

Biological Diversity.

      Center for Food Safety has no parent companies, and no publicly held

company has a ten percent or greater ownership interest in Center for Biological

Diversity.

      Respectfully submitted this 22nd day of November, 2023,



                                   JONATHAN EVANS (DC Cir Bar #53186)
                                   Center for Biological Diversity
                                         1
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                               1212 Broadway, Suite 800
                               Oakland, CA 94612
                               Tel: (510) 844-7100 x318
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                               jevans@biologicaldiversity.org

                               Counsel for Petitioners Center for Biological
                               Diversity and Center for Food Safety




                                    2
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                              Attachment 1
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                                OFFICE OF CHEMICAL SAFETY
                                                                                                AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

PRIA Non-New-Use Label Acceptable v.20150320
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593334

        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

     2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
        produced product and previously produced product that is still under Syngenta’s control,
        Syngenta must submit state registrations for approval, in all states where products are currently
        registered, for the products with the labeling associated with this approval letter no later than
        November 30, 2023.

     3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
        under the previously approved labeling for no longer than 12 months from the date of this letter
        or 75 days after the final state approval from those submitted under Term #2, whichever is
        earlier.

     4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
        product that bears the previously approved label but is not under Syngenta’s control as of the
        date of this letter. However, Syngenta should conduct outreach for users of this product to
        update them on the forthcoming changes to the label and their importance in mitigating
        potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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593334

        “it will perform its intended function without unreasonable adverse effects on the
         environment”; 3 and
        “when used in accordance with widespread and commonly recognized practice it will not
         generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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593334

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

     •   Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
     •   Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
     •   Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
     •   Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
     •   Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                             [Master Label]


                                        CYANTRANILIPROLE GROUP 28 INSECTICIDE

 ZYROX® FLY GRANULAR BAIT

 Insecticidal Bait

         Granular insect bait for use in and around residential, commercial, institutional,
         and agricultural structures to control listed fly pests and kill listed cockroaches

         [Kills Oriental, German, and American cockroaches]

         [Kills Houseflies, Stable flies, and other nuisance flies]

         [Ready to use bait]

         [Apply at 0.2 to 0.4 pounds per 1,000 sq ft]

         [Highly attractive bait to flies and cockroaches]

 Active Ingredient:
 Cyantraniliprole*
 3-bromo-1-(3-chloro-2-pyridinyl)-N-[4-cyano-2-methyl-6-[(methylamino)
 carbonyl]phenyl]-1H-pyrazole-5-carboxamide: .......................................................... 0.5%
 Other Ingredients:                                                                                   99.5%
 Total:                                                                                             100.0%
 *Cyantraniliprole belongs to the anthranilic diamide chemical class.

 Zyrox Fly Granular Bait is a ready-to-use granular insect bait containing 0.005 lb
 cyantraniliprole per pound of product.

 KEEP OUT OF REACH OF CHILDREN

 Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en
 detalle. (If you do not understand the label, find someone to explain it to you in detail.)

 EPA Reg. No. 100-1541
 EPA Est. No.

 __________
 Net Contents
 [Batch Code: _____ ] (For nonrefillables only.)
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                                     FIRST AID
                                 HOTLINE NUMBER
             For 24-Hour Medical Emergency Assistance (Human or Animal)
            or Chemical Emergency Assistance (Spill, Leak, Fire or Accident),
                                        Call
                                   1-800-888-8372

 PRECAUTIONARY STATEMENTS

 PERSONAL PROTECTIVE EQUIPMENT (PPE)
 Applicators and other handlers must wear:
    Shirt and long pants
    Shoes plus socks

 Follow manufacturers instructions for cleaning/maintaining PPE. If no such instructions
 for washables are available, use detergent and hot water. Keep and wash PPE
 separately from other laundry.

  USER SAFETY RECOMMENDATIONS
  Users Should: Wash hands before eating, drinking, chewing gum, using tobacco or
  using the toilet.


 ENVIRONMENTAL HAZARDS
 Do not apply directly to water. Runoff may be hazardous to aquatic organisms in water
 adjacent to use sites.




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 CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY

  NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
  Warranty and Liability before buying or using this product. If the terms are not
  acceptable, return the product at once, unopened, and the purchase price will be
  refunded.

 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors
 as manner of use or application, weather or crop conditions, presence of other materials
 or other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by applicable
 law, Buyer and User agree to hold SYNGENTA and Seller harmless for any claims
 relating to such factors.

 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the
 inherent risks referred to above, when used in accordance with directions under normal
 use conditions. To the extent permitted by applicable law: (1) this warranty does not
 extend to the use of the product contrary to label instructions, or under conditions not
 reasonably foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer
 and User assume the risk of any such use. TO THE EXTENT PERMITTED BY
 APPLICABLE LAW, SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY
 OR OF FITNESS FOR A PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR
 IMPLIED WARRANTY EXCEPT AS WARRANTED BY THIS LABEL.

 To the extent permitted by applicable law, in no event shall SYNGENTA or Seller be
 liable for any incidental, consequential or special damages resulting from the use or
 handling of this product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
 EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY
 OF SYNGENTA AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES OR
 DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY,
 CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE)
 RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE
 RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION
 OF SYNGENTA OR SELLER, THE REPLACEMENT OF THE PRODUCT.

 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and Liability, which may not be
 modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.




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                                  DIRECTIONS FOR USE

 It is a violation of Federal Law to use this product in a manner inconsistent with its
 labeling.

 Read and understand the entire label before using this product.

 Zyrox Fly Granular Bait must be used in accordance with the directions for use on this
 label, or exemptions under FIFRA (Special Local Need Registrations, FIFRA Section 18
 exemptions, FIFRA 2(ee) Bulletins). Always read the entire label, including the
 Limitation of Warranty and Liability.



 PRODUCT INFORMATION

 Zyrox Fly Granular Bait contains the active ingredient cyantraniliprole in a ready-to-use
 granular bait formulation:
  Controls listed fly pests and kills cockroaches in and around residential, commercial,
  institutional and agricultural structures;
  Provides an alternative mode of action for insecticide resistance management;
  Can be an important tool in an integrated pest management program.

 APPLICATION USE SITES
 Zyrox Fly Granular Bait may be applied in these areas:
  outdoor waste-storage areas around commercial establishments, such as restaurants,
  taverns, hotels, grocery stores, supermarkets, bakeries, warehouses, and sports
  complexes;
  outdoor areas of commercial operations, such as canneries; beverage-processing
  plants; dairy-, meat-, and poultry-processing plants; fruit- and vegetable-processing
  plants; seafood-processing plants; tanneries; rendering plants; grease-collection
  stations; kennels; schools; recycling plants; and military installations;
  outdoor areas of agricultural animal-production facilities, such as poultry/broiler
  houses, swine-production structures, livestock-housing structures, and horse stables.
  To control house fly, stable fly, dump fly, fruit flies, dung fly, and black-eyed fly, and to
  kill cockroaches, Zyrox Fly Granular Bait may be used indoors at the sites listed above
  as a water-diluted application. For flies only, Zyrox may be applied as a granular if
  placed in bait stations. In walkways within caged-layer houses or in penned-animal
  facilities, Zyrox may be applied as a broadcast, scatter bait. Refer to the TARGET
  PESTS table describing Use in Bait Stations or Alternative Application Methods
  for specific use instructions.




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 USE RESTRICTIONS AND PRECAUTIONS
  DO NOT apply as a scatter bait indoors in residential structures, commercial
  establishments, food- and feed-handling establishments, food-processing plants,
  restaurants and animal-production facilities. Bait stations or the alternative application
  methods (see following section) must be used when applying Zyrox Fly Granular Bait
  inside these buildings/structures, except for walkways within caged-layer houses or
  penned-animal facilities.
  DO NOT apply as a scatter bait in areas accessible to children and pets. When bait
  stations or the alternative application methods (see following section) are used, place
  stations, ropes, or cards out of the reach of children and pets.
  DO NOT place bait within reach of food-producing animals or animals being grown for
  food.
  DO NOT apply as a scatter bait outdoors when raining.
  DO NOT apply as scatter bait within 30 ft of aquatic habitats (such as, but not limited
  to, lakes, rivers, reservoirs, permanent streams, wetlands or natural ponds, estuaries,
  and commercial fishponds).
  DO NOT use outdoors as a scatter bait in the Nassau, Suffolk, Kings, and Queens
  Counties of New York State.
  For outdoor broadcast applications, DO NOT apply more than 2 lb per 1,000 sq ft per
  calendar year (equivalent to 0.01 lb ai per 1,000 sq ft per calendar year or 0.44 lb ai/A
  per calendar year).

 RESISTANCE MANAGEMENT
                                  CYANTRANILIPROLE GROUP 28 INSECTICIDE

 Zyrox Fly Granular Bait is a Group 28 Insecticide that contains the active ingredient
 cyantraniliprole. Due to the inherent risk of the development of resistance to any
 pesticide, it is strongly advised that Zyrox Fly Granular Bait be used in a sound
 resistance-management program that includes, but is not limited to:
      Applying Zyrox Fly Granular Bait according to the label-use directions;
      Alternating Zyrox Fly Granular Bait with products with different modes of action;
      Avoiding treatment of successive generations with Zyrox Fly Granular Bait.

 For additional information about implementing these or other resistance management
 practices, consult a local or state Extension specialist or Syngenta representative.

 Food- and Feed-Handling Establishments
 (Food- and feed-handling establishments are places other than private residences in
 which food and feed are held, processed, prepared or served.)


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  For indoor areas of residential, institutional, public, agricultural buildings/structures, or
  food- and feed-handling establishments, Zyrox Fly Granular Bait must be placed in
  bait stations suitable for granular insect baits or prepared and applied as a water-
  diluted product. Indoor use as a scatter bait is permitted only on walkways in caged-
  layer houses or penned-animal facilities.
  DO NOT apply to areas or surfaces where food, feed, food utensils or food-processing
  surfaces may come into contact and become contaminated.

 Applications in Non-food and Non-feed Areas
 Zyrox Fly Granular Bait is approved for use to control house flies and other listed fly
 pests and to kill cockroaches in residential structures and the non-food and non-feed
 areas of commercial, industrial, public, agricultural and institutional buildings/structures,
 including restaurants, warehouses, food- and feed-processing plants, supermarkets,
 hospitals, nursing homes, motels, hotels, schools, daycares, laboratories, computer
 facilities, aircraft, buses, boats/ships, trains, pet shops and zoos.

 Non-food and non-feed areas of food- and feed-handling establishments include areas
 such as garbage rooms, lavatories, floor drains (to sewers), entries, and vestibules,
 offices, locker rooms, machine rooms, boiler rooms, garages, mop closets and storage
 (after bottling or canning).

 Refer to section below for use directions and restrictions when making applications in
 food/feed handling areas of Food- and Feed-Handling Establishments.

 Applications in Food- and Feed-Handling Areas
 Application to food/feed areas of food- and feed-handling establishments may only be
 made using bait stations suitable for use with granular insect control baits.

 Food- and feed-handling areas include areas for receiving, storage, packing (canning,
 bottling, wrapping, boxing), preparing edible waste storage, and enclosed processing
 systems (mills, dairies, edible oils, syrups). Serving areas are also considered a food
 and feed area when food is exposed and facility is in operation.

 APPLICATION PROCEDURES AND USE RATES
 Broadcast
 Broadcast or scatter Zyrox Fly Granular Bait using suitable granular spreader
 equipment or directly from the container evenly to the target areas. Avoid placing the
 bait granules in piles and scatter bait as evenly as possible over surfaces.

 Apply 0.2 lb (3.2 oz) of Zyrox Fly Granular Bait per 1,000 sq ft when listed fly and
 cockroach pest populations are low. Apply 0.4 lb (6.4 oz) of bait per 1,000 sq ft when
 populations are high. Reapply bait every 7 days until insect pest population is at
 acceptable levels. For outdoor broadcast applications, DO NOT apply more than 2 lb
 per 1,000 sq ft per calendar year.




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 Use in Bait Stations (For flies only)
 Use bait stations that are suitable for granular baits.

 Apply 0.2 lb (3.2 oz) of Zyrox Fly Granular Bait when listed fly pest populations are low
 using enough bait stations to make the necessary amount of bait available per 1,000 sq
 ft. Apply 0.4 lb (6.4 oz) of bait in bait stations per 1,000 sq ft when listed fly pest
 populations are high. Replenish bait stations until the fly population is at acceptable
 levels in the target area.

 Alternative Application Methods (for Listed Pests)

 Application of Zyrox Fly Granular Bait to Glue-Boards or Sticky Cards
 Zyrox Fly Granular Bait may be applied as a dry scatter bait to the sticky surfaces of
 glue boards or other sticky cards as a way to present granular bait to listed fly and
 cockroach pests. Apply Zyrox Fly Granular Bait to sticky surface of cards in a way so
 that the sticky material is covered with an even layer of bait (approximately 0.1 oz per
 sq inch of card surface). The amount used per card depends on the size and type of
 sticky surface. Hang cards from ceiling supports or other means to provide a treated
 surface for flies to land. Replace cards as bait is consumed or if cards become dirty, but
 not more frequently than every 7 days.

 Use of Water-Diluted Zyrox Fly Granular Bait Product  How to Prepare Dilution
 Zyrox Fly Granular Bait may be applied by diluting granules in warm water at ratios
 ranging from 0.5-1.5 oz Zyrox Fly Granular Bait per 1 fl oz water. Mix in non-food use
 container and stir until bait has dissolved. Let mixture stand until a suitable consistency
 is achieved that allows one to paint the mixture onto a surface or apply to disposable
 cards or rope wicks.

 Methods of Applications of Water-Diluted Product (not for Stable Flies)
      Paint-on method. Prepare water-diluted product as described above. Apply as
      a spot treatment or in 6-12 inch wide bands to surfaces every 10 ft where flies
      are likely to rest using a paint brush, roller or other applicator suited to spreading
      water-diluted bait onto a surface. Rinse applicator thoroughly after using.
      Reapply diluted bait as needed, but not more frequently than every 7 days.
      Some surfaces may become temporarily discolored when painting with diluted
      bait so it is advisable to test paint a small area to determine surface compatibility.

        Application to disposable cards. Water-diluted bait may also be applied to
        cards. Hang cards from ceiling supports or other means to provide a treated
        surface for flies to land. Treated cards may be disposed of when they are no
        longer attractive to pests or when they become dirty and may be replaced with
        freshly treated cards every 7 days.

        Rope-wick application of water-diluted product. Rope wick may be used as a
        disposable surface for exposing flies to water-diluted Zyrox Fly Granular Bait.
        Prepare water-diluted product as described above in a container. Place short



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          pieces of rope-wick (approximately 6-36 inch lengths) into diluted product and
          allow to soak up diluted bait for 3-5 minutes. Remove rope pieces, allow to dry,
          and hang in areas where flies are likely to rest.


  Surfaces that may be treated with paint-on treatments or where disposable
  boards/cards and/or rope wicks may be hung include doors and windows, building
  perimeter foundations, walls, beam edges, eaves, corners, cracks, crevices, wall voids,
  unfinished attics, crawl spaces, under appliances, along wall edges, conduits to light
  fixtures, pillars and other structures such as, but not limited to, fences, awnings,
  dumpsters, refuse containers and other areas where flies or fly specks are found.

  Do not paint surfaces or place boards/cards or rope wicks within the reach of children,
  pets or livestock.


 TARGET PESTS

                                                    Application Method
   Pest Group           Including                                                   Comments
                                              Indoors              Outdoors
  Flies                 House Fly      Broadcast1               Broadcast          Use bait
                                                                                   stations
                                       Bait Stations            Bait Stations      suitable for
                                       Scatter application to                      flies.
                                       Glue-Boards or Sticky
                                       Cards


                                       Water-Diluted Product2
                                       (Paint-on or Rope-
                                       Wick)

                        Stable Fly     Bait Stations


                                       Scatter application to
                                       Glue-Boards or Sticky
                                       Cards


                        Dump fly       Broadcast1               Broadcast
                        Fruit Flies
                        (including     Bait Stations            Bait Stations
                        spotted wing
                        Drosophila)                             Scatter
                        [Nuisance                               application to
                        Flies



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                       (including         Scatter application to    Glue-Boards or
                       black-eyed         Glue-Boards or Sticky     Sticky Cards
                       fly, dung fly)3]   Cards
                                                                    Water-Diluted
                                                                    Product (Paint-on
                                          Water-Diluted Product2    or Rope-Wick)
                                          (Paint-on or Rope-
                                          Wick)


  Cockroaches      such as:                Broadcast1                Broadcast
                      American
                      Cockroach            Scatter application to    Scatter
                      German               Glue-Boards or            application to
                                           Sticky Cards              Glue-Boards or
                      Cockroach
                                                                     Sticky Cards
                      Oriental
                      Cockroach
  1
    DO NOT broadcast indoors except for walkways of penned-animal facilities.
  2
    DO NOT USE DILUTED APPLICATIONS (Paint-On or Rope-Wick) for INDOOR
  RESIDENTIAL SITES.
  [3 Not approved for use in California.]




                                  STORAGE AND DISPOSAL
  Do not contaminate water, food, or feed by storage or disposal.

  Pesticide Storage
  Do not subject to temperatures below 32 degrees F. Store product in original
  container only in a location inaccessible to children and pets. Do not contaminate
  water, other pesticides, fertilizer, food or feed in storage. Not for use or storage in or
  around the home.

  Pesticide Disposal
  Do not contaminate water, food or feed by storage or disposal. Wastes resulting from
  the use of this product must be disposed of on site or at an approved waste disposal
  facility.

  Container Handling [bags]
  Non-refillable container. Do not reuse or refill this container. Completely empty bag
  into application equipment. Then offer for recycling if available or dispose of empty
  bag in a sanitary landfill or by incineration or by other procedures approved by state
  and local authorities.

  Container Handling [plastic containers less than or equal to 50 pounds]



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  Non-refillable container. Do not reuse or refill this container. Completely empty
  container into application equipment. Then offer for recycling if available or puncture
  and dispose of in a sanitary landfill, or by incineration, or by other procedures
  approved by state and local authorities.

  Container Handling [fiber drums with liners]
  Non-refillable container. Do not reuse or refill this container. Completely empty liner
  by shaking and tapping sides and bottom to loosen clinging particles. Empty residue
  into application equipment. Then offer for recycling if available or dispose of liner in a
  sanitary landfill or by incineration, or by other procedures approved by state and local
  authorities. If drum is contaminated and cannot be reused, dispose of it in the manner
  required for its liner.




 Zyrox®, the ALLIANCE FRAME
 the SYNGENTA Logo and the PURPOSE ICON
 are Trademarks of a Syngenta Group Company

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          For non-emergency information (e.g., current product information), call
                     Syngenta Crop Protection at 1-800-334-9481

 Manufactured for:
 Syngenta Crop Protection, LLC
 P. O. Box 18300
 Greensboro, North Carolina 27419-8300


 Zyrox Fly Granular Bait 1541 MAS 0920 AMEND 0623-CL - JVB - 6/14/2023
 000100-01541.20230616.ZYROX_FGB.AMEND-0623-CL.pdf




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                              Attachment 2
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                                OFFICE OF CHEMICAL SAFETY
                                                                                                AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

PRIA Non-New-Use Label Acceptable v.20150320
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593334

        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

     2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
        produced product and previously produced product that is still under Syngenta’s control,
        Syngenta must submit state registrations for approval, in all states where products are currently
        registered, for the products with the labeling associated with this approval letter no later than
        November 30, 2023.

     3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
        under the previously approved labeling for no longer than 12 months from the date of this letter
        or 75 days after the final state approval from those submitted under Term #2, whichever is
        earlier.

     4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
        product that bears the previously approved label but is not under Syngenta’s control as of the
        date of this letter. However, Syngenta should conduct outreach for users of this product to
        update them on the forthcoming changes to the label and their importance in mitigating
        potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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        “it will perform its intended function without unreasonable adverse effects on the
         environment”; 3 and
        “when used in accordance with widespread and commonly recognized practice it will not
         generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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593334

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

     •   Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
     •   Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
     •   Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
     •   Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
     •   Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                      [Master Label]


                                                          GROUP      28    INSECTICIDE
 Mainspring™ GNL


 Insecticide
 For control of insects on ornamental plants; ornamental bulb, corm and tuber crops;
 conifers; Christmas trees; [vegetable plants] and non-bearing fruit and nut trees grown
 in greenhouses and nurseries (including field- and container-grown plants grown
 outdoors and in shade houses, lath houses and other ornamental production
 structures), conifer nurseries, retail nurseries, residential and commercial landscapes,
 and interior plantscapes

 [Optional marketing statements]
    1. [Effective on both chewing and sucking pests]
    2. [Effective thrips control]
    3. [Effective whitefly control]
    4. [Excellent for insecticide resistance management programs]
    5. [Controls resistant insect pests]
    6. [Mode of action like no other in greenhouse and nursery production]
    7. [Excellent choice for IPM programs]
    8. [Low application rates]
    9. [Has both contact and systemic activity]
    10. [Systemic activity by foliar or soil application]
    11. [Flexible application methods, can be foliar or soil applied]
    12. [Taken up by the roots and systemically moves through the plant]
    13. [Systemically protects plants from labeled insect pests]
    14. [Root absorbed, with systemic movement through plant]
    15. [Systemically moves through the plant]
    16. [Starts impacting labeled insect pests upon ingestion [contact] ]
    17. [Insect feeding stops upon ingestion]
    18. [Provides quick cessation of insect feeding and residual control]
    19. [Effective control of ornamental insect pests on trees and shrubs]
    20. [Protects ornamentals from Japanese beetle adults [and other pests]]
    21. [Protects ornamentals from Japanese beetles [and leaf feeding caterpillars]
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 Active Ingredient:
 Cyantraniliprole*:
 3-bromo-1-(3-chloro-2-pyridinyl)-N- [4-cyano-2-methyl-6-[(methylamino)
 carbonyl]phenyl]-1H-pyrazole-5-carboxamide: ...................................................... 18.66%
 Other Ingredients:                                                                                 81.34%
 Total:                                                                                           100.00%

 Mainspring™ GNL is a suspension concentrate (SC) formulation containing
 1.67 pounds of cyantraniliprole per gallon.

 *Cyantraniliprole belongs to the anthranilic diamide chemical class.

 KEEP OUT OF REACH OF CHILDREN. / MANTÉNGASE FUERA DEL ALCANCE DE
 LOS NIÑOS.

 Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en
 detalle. (If you do not understand the label, find someone to explain it to you in detail.)

 [See additional precautionary statements and directions for use inside booklet. Vea
 más declaraciones de precaución e instrucciones del uso en folleto.]

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 EPA Est. No.



 Net Contents




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                                       FIRST AID
    Have the product container or label with you when calling a poison control center
                           or doctor or going for treatment.
                                  HOT LINE NUMBER
             For 24-Hour Medical Emergency Assistance (Human or Animal)
            or Chemical Emergency Assistance (Spill, Leak, Fire or Accident),
                                           Call
                                     1-800-888-8372
    Cuando llame a un centro de control de envenenamiento, a un médico, o intente
  obtener tratamiento, tenga a la mano el envase o la etiqueta del producto. Para más
            información sobre el tratamiento médico de emergencia, llame al
                                     1-800-888-8372.

 PRECAUTIONARY STATEMENTS

 Personal Protective Equipment (PPE)
 Applicators and other handlers must wear:
   Long-sleeved shirt and long pants.
   Shoes plus socks.

 After the product has been diluted in accordance with label directions for use, shirt,
 pants, socks, and shoes are sufficient Personal Protective Equipment (PPE). Follow
 manufacturer’s instructions for cleaning/maintaining PPE. If no such instructions for
 washables are available, use detergent and hot water. Keep and wash PPE separately
 from other laundry.

  User Safety Recommendations
  Users Should: Wash thoroughly with soap and water after handling and before
  eating, drinking, chewing gum, using tobacco or using the toilet. Remove and wash
  contaminated clothing before reuse.


 Equipo de Protección Personal (PPE)
 Los aplicadores y otros manipuladores de pesticidas necesitan usar:
    Camisa de manga larga y pantalones largos.
    Zapatos y calcetines.

 Después de diluir el pesticida de acuerdo a las instrucciones de uso en la etiqueta, es
 suficiente usar el equipo de protección como camisa de manga larga, pantalones,
 calcetines y zapatos. Sigue las instrucciones del fabricante para la
 limpieza/mantenimiento del Equipo de Protección Personal. En el caso de no existir
 dichas instrucciones de limpieza para equipos de protección, utilice detergente y agua



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 caliente. Mantenga y lave el Equipo de Protección Personal separadamente de otras
 prendas de vestir.


  Recomendaciones de Seguridad para los Manipuladores de Pesticidas
  Los Manipuladores Deben: Lávese minuciosamente con agua y jabón después de
  manipular los pesticidas, y antes de comer, beber, masticar chicle, usar tabaco o utilizar el
  sanitario. Quítese la ropa sucia y lávela antes de volverla a usar.

 Environmental Hazards
 This pesticide is toxic to aquatic invertebrates. Drift and runoff may be hazardous to
 aquatic organisms in water adjacent to treated areas.

 This product is highly toxic to bees exposed to direct treatment or residues on blooming
 crops or weeds. Do not apply this product or allow it to drift to blooming crops or weeds
 if bees are foraging the treatment area.

 Surface Water Advisory
 This product may impact surface water quality due to runoff of rainwater. This is
 especially true for poorly draining soils and soils with shallow ground water. This
 product is classified as having a high potential for reaching surface water via runoff for
 several months or more after application.

     Do not apply within 50 feet of aquatic habitats (such as, but not limited to, lakes,
     reservoirs, rivers, permanent streams, wetlands or natural ponds, estuaries, and
     commercial fish farm ponds).
     Do not cultivate within 30 feet of the aquatic area to allow growth of a vegetative
     filter strip.
     Runoff of this product will be reduced by avoiding applications when rainfall is
     forecasted to occur within 48 hours.

 Ground Water Advisory
 This chemical may leach into ground water if used in areas where soils are permeable,
 particularly where the water table is shallow.

 Spray Drift Advisory
 Mainspring GNL may be applied by ground equipment or aerial application.

 Ground Application
 For broadcast applications made at planting or prior to the emergence of crops,
 applicators are required to use a coarse or coarser droplet size (ASABE S572.1). For all
 other broadcast applications, applicators are required to use a medium or coarser
 droplet size (ASABE S572.1).

 Aerial Application



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 Avoid spraying at a height greater than 10 ft above the ground or vegetative canopy
 unless a greater application height is necessary for pilot safety.

 If the windspeed is 10 miles per hour or less, applicators must use ¾ swath
 displacement upwind at the downwind edge of the field. When the windspeed is
 between 11-15 miles per hour, applicators must use a full swath displacement upwind at
 the downwind edge of the field.

 DO NOT apply when wind speeds exceed 15 mph at the application site. If the
 windspeed is greater than 10 mph, the boom length must be 65% or less of the
 wingspan for fixed wing aircraft and 75% or less of the rotor diameter for helicopters.
 Otherwise, the boom length must be 75% or less of the wingspan for fixed-wing aircraft
 and 90% or less of the rotor diameter for helicopters.

 DO NOT apply during temperature inversions.

 For fixed wing and helicopter aerial applications made at planting or prior to the
 emergence of crops, applicators are required to use a coarse or coarser droplet size
 (ASABE S572.1). For all other fixed wing and helicopter aerial applications, applicators
 are required to use a medium or coarser droplet size (ASABE S572.1)

 Physical or Chemical Hazards

 DO NOT place product near or allow product to come into contact with strong oxidizing
 substances (such as potassium permanganate) since a hazardous chemical reaction
 may occur.




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                          PROTECTION OF POLLINATORS




                          APPLICATION RESTRICTIONS EXIST FOR THIS
 PRODUCT BECAUSE OF RISK TO BEES AND OTHER INSECT POLLINATORS . FOLLOW
 APPLICATION RESTRICTIONS FOUND IN THE DIRECTIONS FOR USE TO PROTECT
 POLLINATORS.


 Look for the bee hazard icon             in the Directions for Use for each
 application site for specific use restrictions and instructions to protect bees
 and other insect pollinators.

 This product can kill bees and other insect pollinators.
 Bees and other insect pollinators will forage on plants when they flower, shed pollen, or
 produce nectar.

 Bees and other insect pollinators can be exposed to this pesticide from:

   o Direct contact during foliar applications, or contact with residues on plant surfaces after
       foliar applications.
   o Ingestion of residues in nectar and pollen resulting from seed treatment, soil
       application, and foliar applications.
 When Using This Product Take Steps To:

     o Minimize exposure of this product to bees and other insect pollinators when they are
        foraging on pollinator attractive plants in and around the application site.
     o Minimize drift of this product on to beehives or to off-site pollinator attractive habitat.
        Drift of this product onto beehives or off-site to pollinator attractive habitat can result in
        bee kills.
 Information on protecting bees and other insect pollinators may be found at the Pesticide
 Environmental Stewardship website at:
 http://pesticidestewardship.org/PollinatorProtection/Pages/default.aspx.

 Pesticide incidents (for example, bee kills) should immediately be reported to the state/tribal lead agency.
 For contact information for your state, go to: www.aapco.org/officials.html. Pesticide incidents should also
 be reported to the National Pesticide Information Center at: www.npic.orst.edu or directly to EPA at:
 beekill@epa.gov




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 CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY

  NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
  Warranty and Liability before buying or using this product. If the terms are not
  acceptable, return the product at once, unopened, and the purchase price will be
  refunded.

 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors
 as manner of use or application, weather or crop conditions, presence of other materials
 or other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by
 applicable law, Buyer and User agree to hold SYNGENTA and Seller harmless for any
 claims relating to such factors.

 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the
 inherent risks referred to above, when used in accordance with directions under normal
 use conditions. To the extent permitted by applicable law: (1) this warranty does not
 extend to the use of the product contrary to label instructions, or under conditions not
 reasonably foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer
 and User assume the risk of any such use. TO THE EXTENT PERMITTED BY
 APPLICABLE LAW, SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY
 OR OF FITNESS FOR A PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR
 IMPLIED WARRANTY EXCEPT AS WARRANTED BY THIS LABEL.

 To the extent permitted by applicable law, in no event shall SYNGENTA or Seller be
 liable for any incidental, consequential or special damages resulting from the use or
 handling of this product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
 EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY
 OF SYNGENTA AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES
 OR DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY,
 CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE)
 RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE
 RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION
 OF SYNGENTA OR SELLER, THE REPLACEMENT OF THE PRODUCT.

 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and Liability, which may not be
 modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.




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                                  DIRECTIONS FOR USE

 It is a violation of federal law to use this product in a manner inconsistent with its
 labeling. Do not apply this product in a way that will contact workers or other persons,
 either directly or through drift. Only protected handlers may be in the area during
 application.

 For any requirements specific to your state or tribe, consult the state or tribal agency
 responsible for pesticide regulation.

 Read and understand the entire label before using this product. Mainspring GNL must
 be used in accordance with the directions of this label.

 1. FOR FOOD CROPS AND COMMERCIALLY GROWN OUTDOOR ORNAMENTALS
    NOT UNDER CONTRACT FOR POLLINATION SERVICES BUT WHICH ARE
    ATTRACTIVE TO POLLINATORS
                  Do not apply this product while bees are foraging. Do not apply this
                  product until flowering is complete and all petals have fallen unless one
                  of the following conditions is met:

      The application is made to the target site after sunset.
      The application is made to the target site when temperatures are below 55°F.
      The application is made in accordance with a government-initiated public health
      response.
      The application is made in accordance with an active state-administered apiary
      registry program where beekeepers are notified no less than 48 hours prior to the
      time of the planned application so that the bees can be removed, covered or
      otherwise protected prior to spraying.
      The application is made due to an imminent threat of significant crop loss, and a
      documented determination consistent with an IPM plan or predetermined economic
      threshold is met. Every effort should be made to notify beekeepers no less than 48
      hours prior to the time of the planned application so that the bees can be removed,
      covered or otherwise protected prior to spraying.

 NON-AGRICULTURAL PRODUCTS:
              Do not apply Mainspring GNL while bees are foraging. Do not apply
              Mainspring GNL to plants that are flowering. Only apply after all flower
              petals have fallen off.




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 ENDANGERED AND THREATENED SPECIES PROTECTION REQUIREMENTS

 Before using this product, you must obtain any applicable Endangered Species
 Protection Bulletins (‘Bulletins’) within six months prior to or on the day of application.
 To obtain Bulletins, go to Bulletins Live! Two (BLT) at
 https://www.epa.gov/pesticides/bulletins. When using this product, you must follow all
 directions and restrictions contained in any applicable Bulletin(s) for the area where you
 are applying the product, including any restrictions on application timing if applicable. It
 is a violation of federal law to use this product in a manner inconsistent with its labeling,
 including this labeling instruction to follow all directions and restrictions contained in any
 applicable Bulletin(s). For general questions or technical help, call 1-844-447-3813, or
 email ESPP@epa.gov.




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                        AGRICULTURAL USE REQUIREMENTS
  Use this product only in accordance with its labeling and with the Worker Protection
  Standard, 40 CFR Part 170. This standard contains requirements for the protection of
  agricultural workers on farms (sod farms included), forests, nurseries, and
  greenhouses, and handlers of agricultural pesticides. It contains requirements for
  training, decontamination, notification, and emergency assistance. It also contains
  specific instructions and exceptions pertaining to the statements on the label about
  personal protective equipment, restricted-entry interval, and notification to workers
  (as applicable).

  Do not apply this product in a way that will contact workers or other persons, either
  directly or through drift. Only protected handlers may be in the area during
  application.

  For any requirements specific to your State or Tribe, consult the State or Tribal
  agency responsible for pesticide regulation.

  Do not enter or allow worker entry into treated areas during the restricted-entry
  interval (REI) of 4 hours.

  For early entry into treated areas that is permitted under the Worker Protection
  Standard and that involves contact with anything that has been treated, such as
  plants, soil, or water, wear:
    Long-sleeved shirt and long pants
   Shoes plus socks
   Exception: If the product is drenched, soil-injected or soil incorporated, the Worker
   Protection Standard, under certain circumstances, allows workers to enter the
   treated area if there will be no contact with anything that has been treated. No
   restricted-entry interval (REI) is required following soil-injected, soil-incorporated or
   soil drench application.


                     NON-AGRICULTURAL USE REQUIREMENTS
  The requirements in this box apply to uses of this product that are not within the
  scope of the Worker Protection Standard for agricultural pesticides, 40 CFR Part 170.
  The WPS applies when this product is used to produce agricultural plants on farms,
  forests, nurseries, or greenhouses.

  Professional applications to golf courses, residential, industrial and commercial lawns
  and landscapes, and sports fields are not within the scope of the Worker Protection
  Standard. Do not enter or allow others to enter the treated area until sprays have
  dried




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 USE RESTRICTIONS AND PRECAUTIONS
  For crops and plants grown outdoors:
  o Do not apply more than 32 fluid ounces of product per acre per year (equivalent to
    0.4 lb of active ingredient per acre per year).
  o Unless otherwise stated for a specific crop or plant, do not apply a total of more
    than 0.4 lb ai/A of cyantraniliprole-containing products per year. This is the total
    from all application methods (e.g., seed, soil, foliar).
  [Do not apply to greenhouse- or field-grown vegetables. Only apply to vegetable
  plants grown in enclosed structures.]
  DO NOT allow chemigation water to run off or puddle following application.
  Avoid application to areas that are waterlogged or saturated or frozen, which will not
  allow penetration into the root zone of the plant.
  Keep people and pets away from treated area until treatment has dried.
  Wait a minimum of 7 days to retreat.
  Nassau and Suffolk Counties, State of New York: Mainspring GNL may only be
  applied for listed greenhouse and interior plantscape uses. DO NOT apply Mainspring
  GNL to any outdoor use site, including shade houses, lath houses or other non-
  enclosed ornamental production structures.

 SURFACE WATER PROTECTION STATEMENT
 For foliar uses: DO NOT apply during rain.

 PRODUCT INFORMATION

 Mainspring GNL is an insecticide that controls listed insect pests on ornamental plants;
 ornamental bulb, corm and tuber crops; conifers; Christmas trees; [vegetable plants]
 and non-bearing fruit and nut trees grown in greenhouses and nurseries (including field-
 and container-grown plants grown outdoors and in shade houses, lath houses and other
 ornamental production structures), conifer nurseries, retail nurseries, residential and
 commercial landscapes, and interior plantscapes.

 Mainspring GNL may be applied to plants and grassy areas that are grown for aesthetic
 recreational or other property maintenance purposes or climatic modification in or
 around home lawns, residential dwellings, business and office complexes, shopping
 complexes, multi-family residential complexes, institutional buildings, airports,
 cemeteries, interior plantscapes, ornamental gardens, wildlife plantings, parks,
 playgrounds, schools, daycare facilities, other landscaped areas. Mainspring GNL may
 also be applied to plants in and around small and large companion-animal (including
 horses) boarding and exercising areas providing the animals exposed to the treated
 areas are not used for human consumption.



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 Mainspring GNL can be applied as a foliar spray, a soil broadcast spray, a soil drench,
 and soil injection and by chemigation. When applied as a foliar spray, the product will
 have translaminar and systemic movement, providing residual efficacy of foliar insect
 pests. When Mainspring GNL is applied by drench to the root system of plants, it will be
 translocated upward in the plant due to its systemic activity. Systemic upward
 movement in herbaceous plants will be quicker than in those of woody plants, such as
 trees and shrubs. Soil applications should be made prior to anticipated pest infestation
 to allow adequate systemic movement to achieve optimum levels of control.

 Mainspring GNL controls a broad range of chewing and sucking pests. Insecticidal
 activity is primarily through ingestion. This results in paralysis, rapid inhibition of feeding
 and disruption of other key physiological functions. Depending on the target pest,
 mortality occurs within two to seven days. The rapid cessation of feeding results in less
 plant injury. It is recommended that Mainspring GNL be applied when pest populations
 are low to prevent targeted insects from increasing to damaging levels.

 Integrated Pest Management (IPM) Programs
 Mainspring GNL can be used in an IPM program with biological agents for controlling
 ornamental pest. Beneficial arthropods can help control other insect and mite pests and
 reduce the potential for secondary pest outbreaks. Mainspring GNL can reduce the
 target pest species that serve as a food source for beneficial arthropods, which can
 indirectly affect their populations. If Mainspring GNL is tank-mixed with a product that
 negatively impacts beneficial arthropods, the full benefit of Mainspring GNL to an IPM
 program may not be realized.

 Resistance Management
                                                             GROUP       28    INSECTICIDE


 Mainspring GNL is in GROUP 28 of the EPA's Insecticide and Acaricide Groups based
 on Target Site of Action.

 Some insects are known to develop resistance to products that have been used
 repeatedly for control. When this occurs, the label use rates can fail to reduce the pest
 population below threshold levels. As the development of resistance cannot be
 predicted, the use of this product should conform to resistance management strategies
 established for the use area. These strategies may include incorporation of cultural and
 biological control practices, alternation of active classes of insecticides on succeeding
 generations and targeting the most susceptible life stage. Consult your local
 Cooperative Extension Service specialist or pest control advisor for the latest
 information on resistance management in your area or crop.

 Plant Safety




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 Mainspring GNL has been found to be generally safe when applied according to label
 use directions to the listed plants. Phytotoxicity testing has not been performed on all
 possible species and cultivars. Individual plant species or cultivars may be sensitive to
 the final spray solution, including tank mixes. If local experience is not available, a
 small number of plants should be treated and observed for phytotoxicity for at least one
 week before making an application to the entire planting to ensure plant safety.

 APPLICATION EQUIPMENT CLEANING
 Prior to application, start with clean, well maintained application equipment.
 Immediately following application, thoroughly clean all application equipment to reduce
 the risk of forming hardened deposits that might become difficult to remove. Drain
 application equipment. Thoroughly rinse application equipment and flush hoses, boom
 and nozzles with clean water. Clean all other associated application equipment. Take
 all necessary safety precautions when cleaning equipment. DO NOT clean equipment
 near wells, water sources or desirable vegetation. Dispose of waste rinse water in
 accordance with local regulations.

 CALIBRATION OF APPLICATION EQUIPMENT
 Proper maintenance and calibration of spraying and chemigation equipment are
 essential for optimal insect pest control. If you have questions about calibration, contact
 a State Extension Service specialist, the equipment manufacturer or other experts.

 A person knowledgeable of the chemigation system and responsible for its operation, or
 under the supervision of the responsible person, shall shut the system down and make
 necessary adjustments if the need arises.

 MIXING INSTRUCTIONS
 Mainspring GNL is a suspension concentrate (SC) formulation. Mainspring GNL must
 be diluted with water before application.

 Mainspring GNL readily mixes with water and may be used in many different types of
 application equipment and applied to either the foliage or root system. Mix product with
 the required amount of water and apply according to label use directions.

 The pH of application mixtures containing Mainspring GNL should be adjusted to a pH
 of 8 or less using a commercially available acidifier. When applying Mainspring GNL by
 chemigation, adjust the pH of the chemigation systems supply or nurse tank using a
 commercially available acidifier. Adjust the pH of application mixtures after all products
 being applied have been added to the tank and uniformly mixed for broadcast and
 drench applications.

 Mixing Directions
 1. Use clean, well maintained and properly calibrated application equipment.
 2. Fill sprayer tank 1/4 to 1/2 full of water.



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 3. Shake the container of Mainspring GNL well before pouring.
 4. Add the appropriate amount of Mainspring GNL directly into the spray tank.
 5. If preparing a tank mixture, follow the tank-mixing sequence below.
 6. Mix the spray solution thoroughly and continue agitation to keep the insecticide in
    suspension. Use mechanical or hydraulic agitation. Do not use air agitation.
 7. It is recommended that the mixture not be stored in the spray or mix tank overnight.

 Tank mixtures
 Mainspring GNL may be tank-mixed with other pesticides. When tank-mixing
 Mainspring GNL with other pesticides, observe the restrictions and precautions on all
 product labels.

    DO NOT exceed the label application rates for any product.
    DO NOT mix Mainspring GNL with any product containing a label prohibition against
    such mixing.
    Always follow the tank mix instructions of the product label that is most restrictive.

 The physical compatibility of Mainspring GNL may vary with different sources of
 pesticide products and local cultural practices. A jar compatibility test is recommended
 prior to tank-mixing with other pesticides, fertilizers or adjuvants to ensure the
 compatibility of Mainspring GNL with the other products. For a jar compatibility test, mix
 the proper proportions of any pesticides, adjuvants, or fertilizers in water in a pint or
 quart jar and allow it to stand at least 20 minutes. If the combination remains mixed or
 can be re-mixed readily, the mixture is considered physically compatible.

 Tank-mixing Sequence

 Add different formulation types in the sequence indicated below. Allow time for complete
 mixing and dispersion after the addition of each product.

 1. Water-soluble bags
 2. Water-dispersible granules
 3. Wettable powders
 4. Mainspring GNL and other water-based suspension concentrates
 5. Water-soluble concentrates
 6. Oil-based suspension concentrates
 7. Emulsifiable concentrates
 8. Adjuvants, surfactants, oils
 9. Soluble fertilizers




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 APPLICATION PROCEDURES
 Mainspring GNL may be used in many different types of application equipment and
 applied to either the foliage or root system. Mix product with the required amount of
 water and apply as desired dependent upon the selected use pattern.

 Consult your Cooperative Extension Service specialist or pest control advisor for
 regionally specific information regarding application timing.

 MANDATORY SPRAY DRIFT REDUCTION MANAGEMENT
 Do not apply when wind speed favors drift beyond the area intended for treatment. The
 interaction of many equipment- and weather-related factors determines the potential for
 spray drift. The applicator is responsible for considering all of these factors when
 making application decisions. Avoiding spray drift is the responsibility of the applicator.

 Importance of Droplet Size: An important factor influencing drift is droplet size.
 Select nozzles and pressure that deliver medium spray droplets as indicated in nozzle
 manufacturer’s catalogs and in accordance with ASAE Standard S-572. Nozzles that
 deliver coarse spray droplets may be used to reduce spray drift provided spray volume
 per acre (GPA) is increased to maintain crop coverage. For aerial application, spray
 should be released at the lowest possible height consistent with good pest control. For
 aerial applications, do not release spray at a height greater than 10 ft above the ground
 or vegetative canopy, unless a greater application height is necessary for pilot safety.
 Low humidity and high temperature increase the evaporation rate of spray droplets and
 therefore the likelihood of spray drift to aquatic areas. Avoid spraying during conditions
 of low humidity and/or high temperature.

 Wind Speed Restrictions:
 For Aerial Applications:
 If the windspeed is 10 miles per hour or less, applicators must use ¾ swath
 displacement upwind at the downwind edge of the field. When the windspeed is
 between 11-15 miles per hour, applicators must use a full swath displacement upwind at
 the downwind edge of the field.

 Do not apply when wind speeds exceed 15 mph at the application site. If the windspeed
 is greater than 10 mph, the boom length must be 65% or less of the wingspan for fixed
 wing aircraft and 75% or less of the rotor diameter for helicopters. Otherwise, the boom
 length must be 75% or less of the wingspan for fixed-wing aircraft and 90% or less of
 the rotor diameter for helicopters.

 For broadcast applications made at planting or prior to the emergence of crops:
 applicators are required to use a coarse or coarser droplet size (ASABE S572.1). For all
 other broadcast applications, applicators are required to use a medium or coarser
 droplet size (ASABE S572.1




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 Restrictions during Temperature Inversions: Do not make aerial or ground
 applications during temperature inversions. Drift potential is high during temperature
 inversions. Temperature inversions restrict vertical air mixing, which causes small
 suspended droplets to remain close to the ground and move laterally in a concentrated
 cloud. Temperature inversions are characterized by increasing temperature with
 altitude and are common on nights with limited cloud cover and light to no wind. They
 begin to form as the sun sets and often continue into the morning. Their presence can
 be indicated by ground fog. However, if fog is not present, the movement of smoke
 from a ground source can also identify inversions. Smoke that layers and moves
 laterally in a concentrated cloud (under low wind conditions) indicates an inversion,
 while smoke that moves upward and rapidly dissipates indicates good vertical air
 mixing.

 FOLIAR APPLICATION
 Foliar application rates are listed in Table 1. Foliar applications offer locally systemic
 activity with residual control of listed pests. Mix the Mainspring GNL with the required
 amount of water and apply as a full coverage foliar spray to control the target pest.
 Apply Mainspring GNL when pest populations are low to prevent them from increasing
 to damaging levels

 When making foliar applications to plants with hard-to-wet foliage, such as holly, ivy, or
 pine, the addition of a spreading adjuvant is recommended. Do not use adjuvants with
 binding or sticking properties as these may reduce absorption of Mainspring GNL by the
 plant. Use sufficient water volume to provide thorough and uniform coverage. Avoid
 making applications where uniform coverage cannot be obtained or where excessive
 spray drift can occur.

 If making a low volume, or mist-type application, use the equivalent amount of product
 as you would when making an application with higher volumes of water for a given area.

 TABLE 1. FOLIAR APPLICATION TO LISTED PLANTS GROWN IN
 GREENHOUSES, NURSERIES (INCLUDING FIELD- AND CONTAINER-GROWN
 PLANTS IN SHADE AND LATH HOUSES) AND INTERIOR PLANTSCAPES, AND
 RESIDENTIAL AND COMMERCIAL LANDSCAPES
  Ornamentals
  Breeding crops                     Foliage plants                      Shrubs
  Bulb, corm and tuber crops         Ground covers                       Succulents
    (such as tulips, calla lilies)   Ornamental grasses                  Trees, including non-bearing
  Evergreens, including conifers     Palms                                  fruit and nut trees1
  Flowering plants                   Perennial plants                    [Vegetable plants]
  Flowers grown for seed             Pot and bedding plants              Vines (non-bearing)1
    production

             Target Pests              Amount of Mainspring GNL               Use Directions
  Aphids                                   4 – 8 fl oz per 100 gal    Start treatments at first signs of
                                            1.2 – 2.4 ml per gal      pest infestation.




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  Lace bugs                                   2 – 8 fl oz per 100 gal
  Leaf-feeding beetles (such as                0.6 – 2.4 ml per gal         Reapply on a 7- to 14-day
    Japanese beetle adults and                                              interval.
    viburnum leaf beetle larvae)
  Leaf-feeding caterpillars (such as
    fall webworms, gypsy moths,
    redbud leaf-folders)
  Leafminers
  Soft scales (such as oak lecanium
    scales)
  Thrips
  Whiteflies2
  All pests listed above – maximum             16 fl oz per 100 gal
  residual control                               4.7 ml per gal
                                            USE RESTRICTIONS
  Maximum Rate per Crop:
     For crops and plants grown indoors, do not apply more than 32 fl oz of Mainspring GNL per acre
     per crop per year (equivalent to 0.4 lb of active ingredient per acre per crop per year).
     For crops and plants grown outdoors, do not apply more than 32 fl oz of Mainspring GNL per acre
     per year (equivalent to 0.4 lb of active ingredient per acre per year).

 One fl oz = 29.5 milliliters
 1Non-bearing fruit and nut trees and vines are those trees and vines that will not bear edible fruit or nuts

 for one year after application.
 2 May observe less activity on Trialeurodes spp.



 BROADCAST APPLICATION
 Broadcast applications of Mainspring GNL may be applied for white grub, annual
 bluegrass weevils, billbugs, chinch bugs (suppression), turf caterpillars, European crane
 flies, and spittlebugs in grassy, weedy, or bare soil areas, including residential and
 commercial landscapes. Broadcast application rates for these areas are presented in
 Table 2. Apply in sufficient water to uniformly cover the area being treated (a minimum
 of 2 gallons per 1,000 square feet is recommended). Irrigate immediately after
 application or allow rainfall to move the product into the soil. Use properly calibrated
 application equipment that will produce a uniform, coarse droplet spray, using a low
 pressure setting to eliminate off target drift. Mainspring GNL may be applied either
 before planting or after plants have been established.

 APPLICATION TIMING
 White Grubs: Apply Mainspring GNL from [April][May][June] to [early] September for
 preventative and early curative control of listed white grub species. The need for an
 application may be based on historical monitoring of the site, previous records or
 experiences, current season adult trapping or other methods. Irrigate turf immediately
 after application or allow rainfall to move the product into the soil.

 Annual Bluegrass Weevil: Apply Mainspring GNL when overwintered adult annual
 bluegrass weevils are observed in late April or early May to prevent damage from first
 generation larvae in late-May and June. An application of Mainspring GNL at this time
 will also provide white grub control.



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 Billbugs: Apply Mainspring GNL when overwintered adult billbugs are first observed.
 This will usually occur in late April or early May in regions with cool-season turfgrasses.
 An application of Mainspring GNL at this time will also provide white grub control.

 Chinch Bugs: For suppression of chinch bugs, apply Mainspring GNL before eggs
 hatch.

 European Crane Fly: Apply Mainspring GNL between July and November to control
 the fall generation of European crane fly larvae in turfgrass. An application of
 Mainspring GNL in early July will also provide excellent white grub control. The higher
 rate listed in Table 1 may be required to achieve control when applications are made in
 November.

 Spittlebugs: Mainspring GNL will provide control of two-lined spittlebug when
 applications are made in spring or summer.

 Turf Caterpillars: Mainspring GNL will provide excellent curative and residual
 caterpillar control in turfgrass. To ensure optimum control, delay watering (irrigation) or
 mowing for 24 hours after application. Mowing vegetation to lowest possible height will
 ensure more consistent control. Apply in sufficient water to uniformly cover the area
 being treated (a minimum of 2 gallons per 1,000 square feet is recommended for
 grassy, weedy, or bare soil areas).


 TABLE 2: BROADCAST APPLICATIONS OF MAINSPRING GNL IN AND AROUND
 GREENHOUSES, NURSERIES, INTERIOR PLANTSCAPES, LATH AND SHADE
 HOUSES, AND RESIDENTIAL AND COMMERCIAL LANDSCAPES.

  Use Sites
  Grassy, weedy, mulched or bare soil areas in and around greenhouses, nurseries, interior plantscapes,
  lathhouses, shadehouses and residential and commercial landscapes. Also for areas under trees and
  shrubs that are being grown in-ground.
                               Application Rate      Application Rate
                                 (Product per       (Product per 1,000
          Target Pest                Acre)                  sq ft)              Use Directions
  Turf caterpillars (including    2 – 16 fl oz       0.046 – 0.367 fl oz Mowing vegetation to
    armyworms, cutworms,                                1.4 – 10.9 ml    lowest possible height prior
    and sod webworms)                                                    to application will ensure
  White grubs (including          8 – 16 fl oz       0.184 – 0.367 fl oz more consistent control.
    Aphodius spp., Asiatic                              5.4 – 10.9 ml
    garden beetle, black                                                 Apply in sufficient water to
    turfgrass ataenius , 1                                               uniformly cover the area
    Japanese beetle,                                                     being treated (a minimum of
    May/June beetles                                                     2 gal/1,000 sq ft is
    (Phyllophaga spp.),                                                  recommended for grassy,
    northern masked                                                      weedy, mulched or bare soil
    chafer, oriental beetle,                                             areas.
    southern masked chafer
    and sugarcane grub)




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  Annual bluegrass weevil         12 – 20 fl oz       0.275 – 0.459 fl oz
                                                         8.1 – 13.6 ml
  Billbugs                         8 – 20 fl oz       0.184 – 0.459 fl oz
                                                         5.4 – 13.6 ml
  Chinch bugs (suppression         8 – 20 fl oz       0.184 – 0.459 fl oz
  only)                                                  5.4 – 13.6 ml
  European Crane Fly               8 – 16 fl oz       0.184 – 0.367 fl oz
                                                         5.4 – 10.9 ml
  Spittlebugs                     12 – 20 fl oz       0.275 – 0.459 fl oz
                                                         8.1 – 13.6 ml

                                            USE RESTRICTION
  Maximum Rate per Crop: For crops and plants grown outdoors, do not apply more than 32 fl oz of
  Mainspring GNL/A per year (equivalent to 0.4 lb of active ingredient/A per year).
 1 Applications targeting black turfgrass ataenius larvae should be made from peak adult flight through

 peak egg hatch to ensure control of the first-generation larvae. A second application may be required to
 control second-generation black turfgrass aetaenius.




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 APPLICATION TO SOIL MEDIA
 Mainspring GNL can be applied to the growing media of containerized plants to control
 listed ornamental pests. Apply Mainspring GNL when pest populations are low to
 prevent the increase of that population to damaging levels. Apply to moist soil media.
 DO NOT apply to dry or saturated soil media. For optimal performance, DO NOT apply
 drench to soil media until roots have grown after transplanting. DO NOT leach treated
 soil media for at least 7 days after application or performance may be reduced. Heavy
 rainfall or excessive irrigation after application could reduce insect control performance.
 In general, higher rates will be needed to control insect pests on woody plants as
 compared to those on herbaceous plants.

 Drench Application
 For drench applications, prepare a dilute drench solution by mixing Mainspring GNL in
 water at the rate listed in Table 3. Apply drench solution to containers, flats, trays,
 benches or beds according to the application rates given in Table 3. Drench volume
 should be sufficient to thoroughly wet soil media without overflowing or leaching from
 the container. Follow the drench application with moderate irrigation. Irrigate carefully
 during the next 10 days to avoid loss of active ingredient from the container.




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 TABLE 3. DRENCH APPLICATION TO SOIL MEDIA OF LISTED CONTAINERIZED
 PLANTS GROWN IN GREENHOUSES, NURSERIES (INCLUDING FIELD- AND
 CONTAINER-GROWN PLANTS IN SHADE AND LATH HOUSES), INTERIOR
 PLANTSCAPES, AND RESIDENTIAL AND COMMERCIAL LANDSCAPES
 Ornamentals
 Breeding crops                              Foliage plants                  Shrubs
 Bulb, corm and tuber crops                  Ground covers                   Succulents
    (such as tulips, calla lilies)           Ornamental grasses              Trees, including non-bearing
 Evergreens, including conifers              Palms                              fruit and nut trees1
 Flowering plants                            Perennial plants                [Vegetable plants]
 Flowers grown for seed production           Pot and bedding plants          Vines (non-bearing)1
                          Amount of            Amount of drench solution to
  Target Pests        Mainspring GNL                 apply per container                    Use Directions
 Aphids              8 – 12 fl oz per 100     Container Size Fl oz solution/ Start treatment at the
 Leaf-feeding                   gal               (inches)          container         first sign of pest
   caterpillars                                       4                 2-3           infestation. Reapply as
   (such as          2.4 – 3.6 ml per gal             5                 3-4           needed according to
   armyworms                                          6                  4            use directions.
   and loopers)                                       7                 5-7
 Leafminers                                           8                6 - 10          Apply the specified
 Thrips (foliar                                      10               16 - 20          volume of product to
   feeding)                                  For larger containers, apply 6 – 8 fl the growing container
 Whiteflies (such                            oz of dilute solution per gallon of       based on container
   as Bemesia                                soil media.                               size. Follow with
   spp. (Biotype B                                                                     moderate irrigation.
   &Q))2                                     For flats, trays, benches, or beds,       Irrigate carefully over
 Other                                       apply sufficient amount of drench         the next 10 days and
  ornamental                                 solution to adequately wet soil           avoid leaching of the
  pests                                      media without leaching.                   container.
                                             USE RESTRICTIONS
 Maximum Rate per Crop:
    For crops and plants grown indoors, do not apply more than 32 fl oz Mainspring GNL per acre
    per crop per year (equivalent to 0.4 lb of active ingredient per acre per crop per year).
    For crops and plants grown outdoors, do not apply more than 32 fl oz Mainspring GNL per acre
    per year (equivalent to 0.4 lb of active ingredient per acre per year).

 One fl oz = 29.5 milliliters
 1 Non-bearing fruit and nut trees and vines are those trees and vines that will not bear edible fruit or nuts

    for one year after application.
 2 May observe less activity on Trialeurodes spp.




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 Application through Irrigation systems (Chemigation)
 Mainspring GNL may be applied by injection into an irrigation system, either alone or in
 combination with other pesticides or chemicals that are registered for application
 through irrigation systems. Dilution ratios are normally 1:100 to 1:200, depending on the
 system. Application dosages are presented in Table 4 below.

 Apply this product only through micro-irrigation (individual spaghetti tube), drip irrigation,
 overhead irrigation, ebb and flood irrigation, or motorized calibrated irrigation
 equipment. DO NOT apply through any other type of irrigation system. Non-uniform
 distribution of Mainspring GNL applied by chemigation can result in reduced product
 effectiveness.

 Apply Mainspring GNL under the instructions specified in the specific use
 recommendations and not according to the irrigation schedule unless the events
 coincide. In general, set the equipment to apply the minimum amount of water per acre.
 Run the system at 86–90% of the manufacturer's maximum rated travel speed.

 Users should check with state and local regulatory agencies for potential use
 restrictions before applying any agricultural chemical through sprinkler irrigation
 equipment.

 If you have questions about calibration, you should contact State Extension Service
 specialists, equipment manufacturers, or other experts. A person knowledgeable of the
 chemigation system and responsible for its operation, or under the supervision of the
 responsible person, shall shut the system down and make necessary adjustments
 should the need arise.

 Using Water from Public Water Systems
 DO NOT APPLY MAINSPRING GNL THROUGH ANY IRRIGATION SYSTEM
 PHYSICALLY CONNECTED TO A PUBLIC WATER SYSTEM.

 Public water system means a system for the provision to the public of piped water for
 human consumption if such system has at least 15 service connections or regularly
 serves an average of at least 25 individuals daily at least 60 days per year. Mainspring
 GNL may be applied through irrigation systems which may be supplied by a public
 water system ONLY if the water from the public water system is discharged into a
 reservoir tank prior to pesticide introduction. There shall be a complete physical break
 (air gap) between the outlet end of the fill pipe and to top or overflow rim of the reservoir
 tank of at least twice the inside diameter of the fill pipe. Before beginning chemigation,
 always make sure that the air gap exists and that there is no blockage of the overflow of
 the reservoir tank.

 Any irrigation system using water supplied from a public water system must also meet
 the following requirements:




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 Operating Instructions for All Recommended Types of Irrigation Systems
 1. The system must be calibrated to uniformly apply the rates specified. If you have
    questions about calibration, you should contact State Extension Service specialists,
    equipment manufacturers, or other experts.
 2. The system must contain a functional check valve, vacuum relief valve, and low
    pressure drain appropriately located on the irrigation pipeline to prevent water
    source contamination from backflow.
 3. The pesticide injection pipeline must contain a functional, automatic, quick-closing,
    check valve to prevent the flow of fluid back toward the injection pump.
 4. The pesticide injection pipeline must also contain a functional, normally closed,
    solenoid-operated valve located on the intake side of the injection pump and
    connected to the system interlock to prevent fluid from being withdrawn from the
    supply tank when the irrigation system is either automatically or manually shut down.
 5. The system must contain functional interlocking controls to automatically shut off the
    pesticide injection pump when the water pump motor stops.
 6. The irrigation line or water pump must include a functional pressure switch which will
    stop the water pump motor when the water pressure decreases to the point where
    pesticide distribution is adversely affected.
 7. Systems must use a metering pump, such as a positive displacement injection pump
    (e.g., diaphragm pump) effectively designed and constructed of materials that are
    compatible with pesticides and capable of being fitted with a system interlock.
 8. Do not apply when wind speed favors drift beyond the area intended for treatment.




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 Chemigation using Micro, Drip, Overhead or Motorized Irrigation Equipment

 To prepare injector tank solution, add Mainspring GNL to 1 gallon of injector tank water.
 An injection ratio of 1:100 is recommended (1 part injector tank solution to 100 parts
 irrigation water).

 TABLE 4. CHEMIGATION USING MICRO, DRIP, OVERHEAD, OR MOTORIZED
 IRRIGATION EQUIPMENT OF SOIL MEDIA OF CONTAINERIZED PLANTS GROWN
 IN GREENHOUSES, NURSERIES (INCLUDING FIELD- AND CONTAINER-GROWN
 PLANTS IN SHADE AND LATH HOUSES) , RESIDENTIAL AND COMMERCIAL
 LANDSCAPES, AND INTERIOR PLANTSCAPES
 Ornamentals
  Breeding crops                            Foliage plants                    Shrubs
  Bulb, corm and tuber crops                Ground covers                     Succulents
    (such as tulips, calla lilies)          Ornamental grasses                Trees, including non-bearing
  Evergreens, including conifers            Palms                                fruit and nut trees1
  Flowering plants                          Perennial plants                  [Vegetable plants]
  Flowers grown for seed production         Pot and bedding plants            Vines (non-bearing)1

      Target Pests                      Chemigation Rate                              Use Directions
 Aphids                                                                    Start treatments prior to
 Leaf-feeding                                     Fl oz product/gallon     establishment of high pest
                           Injection Ratio         injector tank water     pressure and reapply as needed.
   caterpillars (such
   as armyworms and            1 to 100                    8 - 12
   loopers)                                                                Apply the specified volume of
 Leafminers                                                                product to the growing container
 Thrips (foliar feeding) Irrigation system should be calibrated to         based on container size. Follow
 Whiteflies (such as     deliver 6-8 fl oz of dilute solution per gallon   with moderate irrigation. Irrigate
   Bemesia spp.            of soil media.                                  carefully over the next 10 days and
   (Biotype B &Q))2                                                        avoid leaching of the container.
 Other ornamental
  pests
                                             USE RESTRICTIONS
 Maximum Rate per Crop:
    For crops and plants grown indoors, do not apply more than 32 fl oz Mainspring GNL per acre
    per crop per year (equivalent to 0.4 lb of active ingredient per acre per crop per year).
    For crops and plants grown outdoors, do not apply more than 32 fl oz Mainspring GNL per acre
    per year (equivalent to 0.4 lb of active ingredient per acre per year).

 One fl oz = 29.5 milliliters
 1 Non-bearing fruit and nut trees and vines are those trees and vines that will not bear edible fruit or nuts

    for one year after application.
 2 May observe less activity on Trialeurodes spp.




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 Ebb-and-Flood Chemigation
 To calculate the volume of water needed for chemigation using ebb-and-flood irrigation:
 1. Bring a minimum of 10 containers to a soil moisture of field capacity.
 2. Allow the soil media to dry.
 3. Bring the containers back to field capacity.
 4. Multiply the amount of water needed to bring the soil in a single container back to
    field capacity by the total number of containers to be chemigated.
 5. Add this volume to the amount of water needed to flood the area to be treated.

 TABLE 5. CHEMIGATION (EBB-AND-FLOOD) OF SOIL MEDIA OF
 CONTAINERIZED PLANTS GROWN IN GREENHOUSES AND INTERIOR
 PLANTSCAPES
 Ornamentals
  Breeding crops                            Foliage plants                      Shrubs
  Bulb, corm and tuber crops (such          Ground covers                       Succulents
    as tulips, calla lilies)                Ornamental grasses                  Trees, including non-bearing
  Evergreens, including conifers            Palms                                  fruit and nut trees1
  Flowering plants                          Perennial plants                    [Vegetable plants]
  Flowers grown for seed production         Pot and bedding plants              Vines (non-bearing)1
          Target Pests                       Chemigation Rate                           Use Directions
 Aphids                              Container Size   Fl oz Mainspring         Start treatment at the first sign
 Leaf-feeding caterpillars             (inches)             GNL/               of pest infestation. Reapply as
   (such as armyworms and                             1,000 containers         needed according to use
   loopers)                                4              1.9 – 2.8            directions.
 Leafminers                                5              2.5 – 3.8
 Thrips (foliar feeding)                   6              2.5 – 3.8         Apply the specified volume of
 Whiteflies (such as Bemesia               7              4.4 – 6.6         product to the growing
   spp. (Biotype B &Q))2                   8              6.3 – 9.5         container based on container
                                          10             12.7 – 19.0        size. Follow with moderate
 Other ornamental pests
                                                                            irrigation. Irrigate carefully
                                   For larger containers, apply 6 fl oz of  over the next 10 days and
                                   Mainspring GNL per 1,000 gallons of soil avoid leaching of the container.
                                   media.
                                            USE RESTRICTION
 Maximum Rate per Crop: For crops and plants grown indoors, do not apply more than 32 fl oz of
 product per acre per crop per year (equivalent to 0.4 lb of active ingredient per acre per crop per year).

 One fl oz = 29.5 milliliters
 1 Non-bearing fruit and nut trees and vines are those trees and vines that will not bear edible fruit or nuts

 for one year after application.
 2 May observe less activity on Trialeurodes spp.




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 IN-GROUND SOIL DRENCH & INJECTION APPLICATIONS
 Mainspring GNL is a systemic product and will be translocated upward into the plant
 from root uptake. Soil treatment application rates are listed in Table 6. To assure
 optimum effectiveness, the product must be placed where the growing portion of the
 target plant can absorb the active ingredient. For this reason, basal application within
 one to three feet of the root flare of trees and shrubs is recommended. Application can
 be made by soil injection, soil drenches and soil broadcast sprays. When making soil
 applications to plants with woody stems, systemic activity will be delayed until the active
 ingredient is translocated throughout the plant. In some cases, this delay could be 60
 days or longer. For this reason, applications should be made prior to anticipated pest
 infestation to achieve optimum levels of control.

 Calculations for soil injection/drench applications of Mainspring GNL:

 1: Calibrate the application equipment to determine its flow rate in gallons per minute.

 2: Select an injecting/drenching volume per inch of tree diameter at breast height
 (DBH) or foot of shrub height.

 3: Refer to the Table 7 below to determine the amount of time that is required to deliver
 the desired volume per injection/drench site. The example highlighted in Table 7 shows
 that 10 seconds are required per inch of tree DBH or foot of shrub height when
 injecting/drenching 1 quart of solution per site using a flow rate of 1.5 gallons per
 minute.

 4: Determine how much solution to mix.

 5: Refer to the Table 8 below to determine the amount of Mainspring GNL that must be
 mixed in the desired volume of water based on the injection volume identified above.




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 TABLE 6. SPECIFIC USE INSTRUCTIONS FOR SYSTEMIC SOIL TREATMENTS
 WITH MAINSPRING GNL TO IN-GROUND-GROWN PLANTS IN AND AROUND
 GREENHOUSES, NURSERIES (INCLUDING FIELD- AND CONTAINER-GROWN
 PLANTS IN SHADE AND LATH HOUSES), INTERIOR PLANTSCAPES, AND
 COMMERCIAL AND RESIDENTIAL LANDSCAPES
  Ornamentals
  Evergreens, including conifers       Shrubs
  Foliage plants                       Trees, including non-bearing
  Palms                                   fruit and nut trees1
                                                 Dosage
                                          (per foot of height or
                                        per inch of trunk diameter
             Target Pests                at breast height {DBH})                  Use Directions
  Aphids (such as Spirea aphids)             0.125 – 0.25 fl oz          Soil Drench: Mix required
  Lace bugs                                                              dose in water and uniformly
  Soft scales (such as Magnolia                                          apply to soil around base of the
    scale)                                                               plant. Refer to Tables 7 and 8
  Adelgids (including hemlock                    0.25 fl oz              for proper calibration and
    woolly adelgid)                                                      mixing. Pull back mulch before
  Borers (including beetle and                                           drenching. Keep soil moist for 7
    caterpillar larvae)                                                  days after application.
  Leaf- feeding beetles (Including
    elm flea weevils and                                                 Soil Injection: Mix require
    Japanese beetle adults)                                              dose in water and inject into soil
  Leaf-feeding caterpillars                                              around the base of the plant.
    (including redbud leaf-folders                                       Refer to Tables 7 and 8 for
    and gypsy moths)                                                     proper calibration and mixing.
  Leafminers (including birch
    leafminers and boxwood
    leafminers)
  Plant bugs (including
    honeylocust plant bugs)
  Psyllids (including boxwood
    psyllid)
  Whiteflies
                                          USE RESTRICTIONS
   Maximum Rate per Crop:
      For crops and plants grown indoors, do not apply more than 32 fl oz Mainspring GNL per acre
      per crop per year (equivalent to 0.4 lb of active ingredient per acre per crop per year).
      For crops and plants grown outdoors, do not apply more than 32 fl oz Mainspring GNL per
      acre per year (equivalent to 0.4 lb of active ingredient per acre per year).
 1
   Non-bearing fruit and nut trees and vines are those trees and vines that will not bear fruit or nuts for
    one year after application.




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 TABLE 7: ORNAMENTAL SOIL TREATMENT APPLICATION CALIBRATION CHART
                                             Flow Rate (Gallons per minute)
   Volume per                                                      1.5
      Site*        0.5 gallon      0.75 gallon      1 gallon     gallons    2 gallons            3 gallons
      1 pint        15.0 sec        10.0 sec        7.5 sec      5.0 sec    3.75 sec              2.5 sec.

     1 quart        30.0 sec         20.0 sec         15.0 sec       10.0 sec       7.5 sec       5.0 sec

     2 quarts       1.0 min          40.0 sec         30.0 sec       20.0 sec      15.0 sec       10.0 sec

     1 gallon       2.0 min        1 min 20 sec          1.0 min     40.0 sec      30.0 sec       20.0 sec

 *Site = Soil injection site – the selected volume is applied per inch of tree DBH or foot of shrub

 TABLE 8: ORNAMENTAL SOIL TREATMENT APPLICATION MIXING CHART
                Application
                   Rate
                 Per Inch
                DBH or Foot        Fl oz            Fl oz          Fl oz            Fl oz           Fl oz
  Volume per         Ht         product per     product per    product per      product per     product per
     Site*        (fl oz)       100 gallons      50 gallons     25 gallons       10 gallons       1 gallon
     1 pint       0.125             100              50             25               10               1

                   0.25            200             100               50             20              2

    1 quart        0.125            50              25              12.5            5               0.5

                   0.25            100              50               25             10              1

   2 quarts        0.125            25             12.5             6.25            2.5            0.25

                   0.25             50              25              12.5            5               0.5

   1 gallon        0.125           12.5            6.25             3.125          1.25            0.125

                   0.25             25             12.5             6.25            2.5            0.25

 *Site = Soil injection site – the selected volume is applied per inch of tree DBH or foot
  of shrub

 Broadcast Applications to Flower Beds and Groundcovers

 Mainspring GNL may be applied for white grub control in flower beds and ground
 covers. Flower bed and groundcover application rates are listed in Table 9. Apply in
 sufficient water to uniformly cover the area being treated (a minimum of 2 gallons per
 1,000 square feet is recommended for flower beds and groundcover applications).
 Irrigate immediately after application or allow rainfall to move the product into the soil.
 Mainspring GNL may be applied before planting or after plants have been established.




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 TABLE 9: ORNAMENTAL FLOWERS AND GROUNDCOVERS SOIL TREATMENT
  SOIL TREATMENT APPLICATION RATES
                Target Pest                  Fl oz product      Fl oz product per      Lb ai per acre
                                                per acre            1,000 sq ft
   White grubs (including Aphodius spp.,         8 - 16           0.184 – 0.367         0.104 – 0.208
   Asiatic garden beetle, black turfgrass
   ataenius1, Japanese beetle, May/June
   beetles (Phyllophaga spp.), northern
   masked chafer, oriental beetle,
   southern masked chafer and
   sugarcane grub)
                                              USE RESTRICTION
    Maximum Rate per Crop: For crops and plants grown outdoors, do not apply more than 32 fl oz
    Mainspring GNL /A per year (equivalent to 0.4 lb of active ingredient/A per crop per year).
 1 Applications targeting black turfgrass ataenius larvae should be made from peak adult flight through

  peak egg hatch to ensure control of the first-generation larvae. A second application may be required
  to control second-generation black turfgrass aetaenius.

 Bark Applications

 Apply Mainspring GNL to the trunks and lower branches of trees and shrubs to control
 clearwing moth borer larvae. Bark treatment application rates are listed in Table 10.
 Make applications after the emergence of adult moths and before their eggs hatch.
 Thorough coverage of the bark is required for satisfactory control. Adult emergence
 varies according to the pest species, host tree, environmental conditions and
 geographic location. Consult your local Cooperative Extension Service specialist or
 pest control advisor for regionally specific information regarding application timing.

 TABLE 10: ORNAMENTAL BARK TREATMENT APPLICATION RATES
           Target Pests              Fl oz product       Lb ai per 100         PPM          Percent ai
                                    per 100 gallons        gallons                           (wt/vol)
   Clearwing borers, including              4                0.052             62.5          0.00625
   peachtree borer                          8                0.104             125            0.0125
                                           16                0.208             250             0.025
   For maximum residual control
                                            32               0.416              500            0.05
   of the pests listed above
                                          USE RESTRICTION
   Maximum Rate per Crop: For crops and plants grown outdoors, do not apply more than 32 fl oz of
   Mainspring GNL/A per year (equivalent to 0.4 lb of active ingredient/A per year).




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  STORAGE AND DISPOSAL
  Do not contaminate water, food, or feed by storage or disposal.

  Pesticide Storage
  Do not subject to temperatures below 32 degrees F. Store product in original
  container only in a location inaccessible to children and pets. Do not contaminate
  water, other pesticides, fertilizer, food or feed in storage. Not for use or storage in or
  around the home.

  Pesticide Disposal
  Do not contaminate water, food or feed by storage or disposal. Wastes resulting from
  the use of this product must be disposed of on site or at an approved waste disposal
  facility.

  Container Handling [(less than or equal to 5 gallons)]
  Non-refillable container. Do not reuse or refill this container. Triple rinse container
  (or equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
  contents into application equipment or a mix tank and drain for 10 seconds after the
  flow begins to drip. Fill the container 1/4 full with water and recap. Shake for 10
  seconds. Pour rinsate into application equipment or a mix tank or store rinsate for
  later use or disposal. Drain for 10 seconds after the flow begins to drip. Repeat this
  procedure two more times. Then offer for recycling if available or puncture and
  dispose of in a sanitary landfill, or by incineration, or by other procedures approved
  by state and local authorities.

  Container Handling [(greater than 5 gallons)]
  Non-refillable container. Do not reuse or refill this container. Triple rinse container
  (or equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
  contents into application equipment or a mix tank. Fill the container 1/4 full with
  water. Replace and tighten closures. Tip container on its side and roll it back and
  forth, ensuring at least one complete revolution, for 30 seconds. Stand the container
  on its end and tip it back and forth several times. Turn the container over onto its
  other end and tip it back and forth several times. Empty the rinsate into application
  equipment or a mix tank or store rinsate for later use or disposal. Repeat this
  procedure two more times. Then offer for recycling if available or puncture and
  dispose of in a sanitary landfill, or by incineration, or by other procedures approved
  by state and local authorities.

  Container Handling [(greater than 5 gallons)]
  Refillable container. Refill this container with pesticide only. Do not reuse this
  container for any other purpose. Cleaning the container before final disposal is the
  responsibility of the person disposing of the container. Cleaning before refilling is the
  responsibility of the person refilling. To clean container before final disposal, empty
  the remaining contents from this container into application equipment or mix tank.



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  Fill the container about 10 percent full with water. Agitate vigorously or recirculate
  water with the pump for 2 minutes. Pour or pump rinsate into application equipment
  or rinsate collection system. Repeat this rinsing procedure two more times. Then
  offer for recycling if available or puncture and dispose of in a sanitary landfill, or by
  incineration, or by other procedures approved by state and local authorities.

 Mainspring™, the ALLIANCE FRAME
  the SYNGENTA Logo and the PURPOSE ICON
 are Trademarks of a Syngenta Group Company

   20XX Syngenta

          For non-emergency information (e.g., current product information), call
                     Syngenta Crop Protection at 1-800-334-9481

 Manufactured for:
 Syngenta Crop Protection, LLC
 P. O. Box 18300
 Greensboro, North Carolina 27419-8300



 Mainspring GNL 1543 MAS 1115 AMEND-B JUNE2023-CL-jd-8/3/23
 000100-01543.20230615B.MAINSPRING_GNL.AMEND.0623-CL




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                              Attachment 3
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                                OFFICE OF CHEMICAL SAFETY
                                                                                                AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

PRIA Non-New-Use Label Acceptable v.20150320
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        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

     2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
        produced product and previously produced product that is still under Syngenta’s control,
        Syngenta must submit state registrations for approval, in all states where products are currently
        registered, for the products with the labeling associated with this approval letter no later than
        November 30, 2023.

     3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
        under the previously approved labeling for no longer than 12 months from the date of this letter
        or 75 days after the final state approval from those submitted under Term #2, whichever is
        earlier.

     4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
        product that bears the previously approved label but is not under Syngenta’s control as of the
        date of this letter. However, Syngenta should conduct outreach for users of this product to
        update them on the forthcoming changes to the label and their importance in mitigating
        potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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        “it will perform its intended function without unreasonable adverse effects on the
         environment”; 3 and
        “when used in accordance with widespread and commonly recognized practice it will not
         generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

     •   Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
     •   Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
     •   Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
     •   Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
     •   Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                              PYMETROZINE    GROUP 9B                                INSECTICIDE
                                            CYANTRANILIPROLE GROUP 28                                INSECTICIDE

 Mainspring Flora™


 Insecticide

 For control of listed insect pests on all ornamental plants produced in commercial
 nurseries and greenhouses for distribution and sale, including flowering and foliage
 plants, bulbs, shrubs, vines and trees

 For control of listed insect pests on all ornamental plants grown in residential,
 commercial and institutional landscapes and interior plantscapes, including flowering
 and foliage plants, bulbs, shrubs, vines and trees

 Active Ingredients:
 Pymetrozine*:............................................................................................... 30.0%
 Cyantraniliprole**:......................................................................................... 10.0%
 Other Ingredients:                                                                                           60.0%
 Total:                                                                                                     100.0%

 *CAS No. 123312-89-0
 **CAS No. 736994-63-1

 Mainspring Flora™ is formulated as a water-dispersible granule and contains 0.3
 pounds pymetrozine and 0.1 pound cyantraniliprole per pound product.

 KEEP OUT OF REACH OF CHILDREN.
 CAUTION

 See additional precautionary statements and directions for use [in booklet][on label].

 EPA Reg. No. 100-1585
 EPA Est.



 Net Weight
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 [Optional marketing statements]
    1. [Listed for both chewing and sucking pests control]
    2. [Labeled for thrips control]
    3. [Labeled for whitefly control]
    4. [Excellent for insecticide resistance management programs]
    5. [Excellent choice for IPM programs]
    6. [Has both contact and systemic activity]
    7. [Systemic activity by foliar or soil application]
    8. [Flexible application methods; can be foliar- or soil-applied]
    9. [Taken up by the roots and systemically moves through the plant]
   10. [Systemically protects plants from labeled insect pests]
   11. [Root-absorbed, with systemic movement through plant]
   12. [Systemically moves through the plant]
   13. [Starts killing labeled insect pests upon ingestion [contact]]
   14. [Insect feeding stops upon ingestion]
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                                        FIRST AID
  If in eyes              Hold eye open and rinse slowly and gently with water for 15-20
                          minutes. Remove contact lenses, if present, after the first 5
                          minutes, then continue rinsing.
                          Call a poison control center or doctor for treatment advice.
  Have the product container or label with you when calling a poison control center or
  doctor, or going for treatment.
                                     HOTLINE NUMBER
            For 24-Hour Medical Emergency Assistance (Human or Animal) or
              Chemical Emergency Assistance (Spill, Leak, Fire, or Accident),
                                             Call
                                       1-800-888-8372


 PRECAUTIONARY STATEMENTS

 Hazards to Humans and Domestic Animals

                                       CAUTION
 Causes moderate eye irritation. Avoid contact with eyes or clothing. Wash thoroughly
 with soap and water after handling and before eating, drinking, chewing gum, using
 tobacco, or using the toilet.

 Personal Protective Equipment (PPE)

 Applicators and other handlers must wear:
       Long-sleeved shirt and long pants
       Socks and shoes
       Chemical-resistant gloves made of: barrier laminate, butyl rubber    14 mils, nitrile
       rubber          , neoprene rubber           , natural rubber          ,
       polyethylene, polyvinylchloride (PVC)            or Viton™


 Follow manufacturer’s instructions for cleaning/maintaining PPE. If no such instructions
 for washables exist, use detergent and hot water. Keep and wash PPE separately from
 other laundry.

 Engineering Control Statements

 When handlers use closed systems, enclosed cabs, or aircraft in a manner that meets
 the requirements listed in the Worker Protection Standard (WPS) for agricultural
 pesticides (40 CFR 170.240(d)(4-6)), the handler PPE requirements may be reduced or
 modified as specified in the WPS.
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  User Safety Recommendations
  Users should:
    Wash hands before eating, drinking, chewing gum, using tobacco, or using the
    toilet.
    Remove clothing/PPE immediately if pesticide gets inside. Then wash thoroughly
    and put on clean clothing.
    Remove PPE immediately after handling this product. Wash the outside of gloves
    before removing. As soon as possible, wash thoroughly and change into clean
    clothing.

 Environmental Hazards

 Do not apply directly to water, or to areas where surface water is present, or to intertidal
 areas below the mean high-water mark. Do not contaminate water when disposing of
 equipment washwater or rinsate.

 This pesticide is toxic to aquatic invertebrates. Drift and runoff may be hazardous to
 aquatic organisms in water adjacent to treated areas.

 This product is highly toxic to bees exposed to direct treatment or residues on blooming
 crops or weeds. Do not apply this product or allow it to drift to blooming crops/plants or
 weeds while bees are foraging in or adjacent to the treatment area.

 Surface Water Advisory

 This product may impact surface water quality due to runoff of rain water. This is
 especially true for poorly draining soils and soils with shallow groundwater. This
 product is classified as having a high potential for reaching surface water via runoff for
 several months or more after application.

        Do not apply within 50 feet of aquatic habitats (such as, but not limited to, lakes,
        reservoirs, rivers, permanent streams, wetlands or natural ponds, estuaries, and
        commercial fish farm ponds).
        Do not cultivate within 30 feet of the aquatic area to allow growth of a vegetative
        filter strip.
        Runoff of this product will be reduced by avoiding applications when rainfall is
        forecasted to occur within 48 hours.


 SURFACE WATER PROTECTION STATEMENT
     For foliar applications: Do not apply during rain.
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 Groundwater Advisory

 Cyantraniliprole may leach into groundwater if used in areas where soils are permeable,
 particularly where the water table is shallow.

 Spray Drift Advisory

 For broadcast applications made at planting or prior to the emergence of crops,
 applicators are required to use a coarse or coarser droplet size (ASABE S572.1). For all
 other broadcast applications, applicators are required to use a medium or coarser
 droplet size (ASABE S572.1).


 Physical or Chemical Hazards

 Do not place product near or allow product to come into contact with oxidizing
 substances (such as potassium permanganate) since a hazardous chemical reaction
 may occur.



               PROTECTION OF POLLINATORS
                         APPLICATION RESTRICTIONS EXIST FOR
                         THIS PRODUCT BECAUSE OF RISK TO BEES AND
                         OTHER INSECT POLLINATORS. FOLLOW
                         APPLICATION RESTRICTIONS FOUND IN THE
                         DIRECTIONS FOR USE TO PROTECT POLLINATORS .


  Look for the bee hazard icon         in the Directions for Use for each application site
  for specific use restrictions and instructions to protect bees and other insect
  pollinators.

  This product can kill bees and other insect pollinators.
  Bees and other insect pollinators will forage on plants when they flower, shed pollen,
  or produce nectar.

  Bees and other insect pollinators can be exposed to this pesticide from:
      Direct contact during foliar applications, or contact with residues on plant
      surfaces after foliar applications
       Ingestion of residues in nectar and pollen when the pesticide is applied as a
       seed treatment, soil, tree injection, as well as foliar applications.
  When Using This Product Take Steps To:
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       Minimize exposure of this product to bees and other insect pollinators when
       they are foraging on pollinator attractive plants around the application site.
       Minimize drift of this product on to beehives or to off-site pollinator attractive
       habitat. Drift of this product onto beehives or off-site to pollinator attractive
       habitat can result in bee kills.
  Information on protecting bees and other insect pollinators may be found at the
  Pesticide Environmental Stewardship website at:
  http://pesticidestewardship.org/PollinatorProtection/Pages/default.aspx.

  Pesticide incidents (for example, bee kills) should immediately be reported to the
  state/tribal lead agency. For contact information for your state, go to:
  www.aapco.org/officials.html. Pesticide incidents should also be reported to the
  National Pesticide Information Center at: www.npic.orst.edu or directly to EPA at:
  beekill@epa.gov.




 CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY

 NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
 Warranty and Liability before buying or using this product. If the terms are not
 acceptable, return the product at once, unopened, and the purchase price will be
 refunded.

 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors
 as manner of use or application, weather or crop conditions, presence of other materials
 or other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by
 applicable law, Buyer and User agree to hold SYNGENTA and Seller harmless for any
 claims relating to such factors.

 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the
 inherent risks referred to above, when used in accordance with directions under normal
 use conditions. To the extent permitted by applicable law: (1) this warranty does not
 extend to the use of the product contrary to label instructions or under conditions not
 reasonably foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer
 and User assume the risk of any such use. TO THE EXTENT PERMITTED BY
 APPLICABLE LAW, SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY
 OR OF FITNESS FOR A PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR
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 IMPLIED WARRANTY EXCEPT AS WARRANTED BY THIS LABEL.

 To the extent permitted by applicable law, in no event shall SYNGENTA be liable for
 any incidental, consequential or special damages resulting from the use or handling of
 this product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
 EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY
 OF SYNGENTA AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES
 OR DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY,
 CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE)
 RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE
 RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION
 OF SYNGENTA OR SELLER, THE REPLACEMENT OF THE PRODUCT.

 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and of Liability, which may not
 be modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.
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                                   DIRECTIONS FOR USE

 It is a violation of federal law to use this product in a manner inconsistent with its
 labeling.

 Mainspring Flora must be used only in accordance with the directions of this label.

 Do not apply this product in a way that will contact workers or other persons, either
 directly or through drift. Only protected handlers may be in the area during application.
 For any requirements specific to your state or tribe, consult the agency responsible for
 pesticide regulation.

 FAILURE TO FOLLOW DIRECTIONS AND PRECAUTIONS ON THIS LABEL MAY
 RESULT IN CROP INJURY, POOR INSECT CONTROL, AND/OR ILLEGAL
 RESIDUES.

 ENDANGERED AND THREATENED SPECIES PROTECTION REQUIREMENTS

 Before using this product, you must obtain any applicable Endangered Species
 Protection Bulletins (‘Bulletins’) within six months prior to or on the day of application. To
 obtain Bulletins, go to Bulletins Live! Two (BLT) at
 https://www.epa.gov/pesticides/bulletins. When using this product, you must follow all
 directions and restrictions contained in any applicable Bulletin(s) for the area where you
 are applying the product, including any restrictions on application timing if applicable. It
 is a violation of federal law to use this product in a manner inconsistent with its labeling,
 including this labeling instruction to follow all directions and restrictions contained in any
 applicable Bulletin(s). For general questions or technical help, call 1-844-447-3813, or
 email ESPP@epa.gov.

 Follow these directions for food crops & commercially grown ornamentals that
 are attractive to pollinators:

                FOR OUTDOOR APPLICATIONS TO FOOD CROPS AND
                COMMERCIALLY GROWN ORNAMENTALS NOT UNDER CONTRACT
                FOR POLLINATION SERVICES BUT WHICH ARE ATTRACTIVE TO
                POLLINATORS

                Do not apply Mainspring Flora while bees are foraging. Do not apply
               Mainspring Flora until flowering is complete and all petals have
               fallen unless one of the following conditions is met:

                   The application is made to the target site after sunset.

                   The application is made to the target site when temperatures are
                   below 55°F.
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                The application is made in accordance with a government-
                initiated public health response.

                The application is made in accordance with an active state-
                administered apiary registry program where beekeepers are
                notified no less than 48 hours prior to the time of the planned
                application so that the bees can be removed, covered or
                otherwise protected prior to spraying.

                The application is made due to an imminent threat of significant
                crop loss, and a documented determination consistent with an
                IPM plan or predetermined economic threshold is met. Every
                effort should be made to notify beekeepers no less than 48 hours
                prior to the time of the planned application so that the bees can
                be removed, covered or otherwise protected prior to spraying.

             FOR OUTDOOR APPLICATIONS TO NON-AGRICULTURAL
             PRODUCTS:

             Do not apply Mainspring Flora while bees are foraging. Do not apply
             Mainspring Flora to plants that are flowering. Only apply after all
             flower petals have fallen off.


 Use Restrictions
   For foliar applications, DO NOT apply during rain.
   DO NOT apply at rates greater than those listed on this label for any plant grown
   indoors or outdoors. See Tables 1 and 2 for specific Use Restrictions.
   DO NOT apply through any type of irrigation system.
   DO NOT apply by aerial application.
   In Nassau and Suffolk Counties, State of New York:
   o Mainspring Flora Insect Control may only be applied for listed greenhouse and
       interior plantscape uses on listed ornamental plants.
   o DO NOT apply Mainspring Flora to any outdoor use site, including shade houses,
       lath houses or other non-enclosed ornamental production structures.
   FOR PLANTS GROWN IN CONTAINERS:
           o DO NOT apply within 900 feet of any well where depth to groundwater is
               less than 30 feet; OR
           o If depth the groundwater is less than 30 feet, a runoff and leaching
               management system is required.
   FOR PLANTS GROWN IN GROUND:
           o DO NOT apply if:
                      Soil contains greater than 60% sand AND
                      Soil contains less than 3% organic matter AND
                      Depth to groundwater is less than 30 feet
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 Use Precautions

    Avoid spray overlap as plant injury may occur.

 Spray Drift Advisories for Outdoor Applications
 THE APPLICATOR IS RESPONSIBLE FOR AVOIDING OFF-SITE DRIFT. BE AWARE
 OF NEARBY NON-TARGET SITES AND ENVIRONMENTAL CONDITIONS

 Importance of Droplet Size
 While applying larger droplets will reduce spray drift, the potential for drift will be greater
 if applications are made improperly or under unfavorable environmental conditions (see
 Spray Advisory section).

 Controlling Droplet Size – Ground Boom
   Volume - Increasing the spray volume so that larger droplets are produced will
   reduce spray drift. Use the highest practical spray volume for the application. If a
   greater spray volume is needed, consider using a nozzle with a higher flow rate.
   Pressure - Use the lowest spray pressure recommended for the nozzle to produce
   the target spray volume and droplet size.
   Spray Nozzle - Use a spray nozzle that is designed for the intended application.
   Consider using nozzles designed to reduce drift.

 Boom Height – Ground Boom
 For ground equipment, the boom should remain level with the turf and have minimal
 bounce.

 Shielded Sprayers
 Shielding the boom or individual nozzles can reduce spray drift. Consider using shielded
 sprayers. Verify that the shields are not interfering with the uniform deposition of the
 spray on the target area.

 Temperature and Humidity
 When making applications in hot and dry conditions, use larger droplets to reduce
 effects of evaporation.

 Temperature Inversions
 Drift potential is high during a temperature inversion. Temperature inversions are
 characterized by increasing temperature with altitude and are common on nights with
 limited cloud cover and light to no wind. The presence of an inversion can be indicated
 by ground fog or by the movement of smoke from a ground source or an aircraft smoke
 generator. Smoke that layers and moves laterally in a concentrated cloud (under low
 wind conditions) indicates an inversion, while smoke that moves upward and rapidly
 dissipates indicates good vertical air mixing. Avoid applications during temperature
 inversions.
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 Wind
 Drift potential generally increases with wind speed. AVOID APPLICATIONS DURING
 GUSTY WIND CONDITIONS.

 Handheld Technology Applications:

 Take precautions to minimize spray drift


 USE INFORMATION

 Mainspring Flora controls listed insect pests on ornamental plants, ornamental bulb,
 corm and tuber crops, conifers, Christmas trees and non-bearing fruit and nut trees
 grown in greenhouses and nurseries (including field- and container-grown plants grown
 outdoors and in shade houses, lath houses and other ornamental production
 structures), conifer nurseries, retail nurseries, residential and commercial landscapes,
 and interior plantscapes.

 Mainspring Flora is a systemic product that can be applied as a foliar spray. When
 applied as a foliar spray, the product exhibits translaminar and locally systemic
 movement and provides residual control of foliar insect pests. Foliar applications are
 rainfast shortly after the spray solution has dried.

 Apply Mainspring Flora when pests are first observed and populations are low to
 prevent targeted insects from building to damaging levels. Mainspring Flora has
 residual activity in the plant and will control insects that move onto the plant after
 treatment.

 Mode of Action

 Mainspring Flora controls a broad range of chewing and sucking pests. Insecticidal
 activity is primarily through ingestion which results in paralysis, rapid inhibition of
 feeding (within hours), and disruption of other key physiological functions. Depending
 on the individual target pest, mortality usually occurs in two to seven days. While insect
 pests may still be visible on the plant, they are no longer feeding, resulting in less plant
 injury.

 Integrated Pest Management (IPM) Programs

 Mainspring Flora may be used in an integrated pest management program (IPM) to
 control ornamental pests. If Mainspring Flora is tank-mixed with a product that
 negatively impacts beneficial arthropods, the full benefit of Mainspring Flora to an IPM
 program may not be realized.

 Resistance Management
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                                 PYMETROZINE      GROUP 9B INSECTICIDE
                                 CYANTRANILIPROLE GROUP 28 INSECTICIDE

 For resistance management, Mainspring Flora contains a Group 9B/pymetrozine and a
 Group 28/cyantraniliprole insecticide. Any insect population may contain individuals
 naturally resistant to Endeavor and other Group 9B and Group 28 insecticides. The
 resistant individuals may dominate the insect population if this group of insecticides are
 used repeatedly in the same areas. Appropriate resistance-management strategies
 should be followed.

 Other Insect Resistance Management (IRM) Practices
 To delay insecticide resistance, take the following steps:

        Rotate the use of Mainspring Flora or other Group 9B insecticides within a
        growing season, or among growing seasons, with different groups that control
        the same pests.
        Use tank mixtures with insecticides from a different group that are equally
        effective on the target pest when such use is permitted. Do not rely on the same
        mixture repeatedly for the same pest population. Consider any known cross-
        resistance issues (for the targeted pests) between the individual components of a
        mixture. In addition, consider the following recommendations provided by the
        Insecticide Resistance Action Committee (IRAC):
           o Individual insecticides selected for use in mixtures should be highly
             effective and be applied at the rates at which they are individually
             registered for use against the target species.
           o Mixtures with components having the same IRAC mode of action
             classification are not recommended for insect resistance management.
           o When using mixtures, consider any known cross-resistance issues
             between the individual components for the targeted pest(s).
           o Mixtures become less effective if resistance is already developing to one
             or both active ingredients, but they may still provide pest management
             benefits.
           o The insect resistance management benefits of an insecticide mixture are
             greatest if the two components have similar periods of residual insecticidal
             activity. Mixtures of insecticides with unequal periods of residual
             insecticide activity may offer an insect resistance management benefit
             only for the period where both insecticides are active.
        Adopt an integrated pest management program for insecticide use that includes
        scouting, uses historical information related to pesticide use, record keeping, and
        which considers cultural, biological and other chemical control practices.
        Monitor after application for unexpected target pest survival. If the level of
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        survival suggests the presence of resistance, consult with your local university
        specialist or certified pest control advisor.
 Contact your local Syngenta representative, retailer, or extension specialist for any
 additional pesticide resistance-management and/or IPM recommendations for the
 specific site and pest problems in your area.

 Plant Safety
 Mainspring Flora has been shown to be safe when applied at the recommended rates to
 the listed plants. However, due to the large number of genera, species and varieties of
 ornamental and nursery plants, it is impossible to test every one for tolerance to
 Mainspring Flora. Neither the manufacturer nor the seller has determined whether
 Mainspring Flora can be used safely on genera, species, or varieties of ornamental and
 nursery plants not specified on this label. The user should conduct small scale testing
 at the recommended rates to ensure plant safety prior to broad scale commercial use
 on plant genera, species and varieties not listed in this label.


 SPRAY EQUIPMENT

 Proper maintenance and calibration of spray equipment are essential for optimal insect
 pest control. If you have questions about calibration, contact a State Extension Service
 specialist, the equipment manufacturer or other experts.

    Use sufficient water to provide thorough, uniform coverage.
    Use sprayer nozzles that provide accurate, uniform application.
    Calibrate sprayer to ensure delivery of adequate spray volume per unit area.

 Application Equipment Cleaning
 Prior to application, start with clean, well-maintained application equipment.
 Immediately following application, thoroughly clean all application equipment to reduce
 the risk of forming hardened deposits that might become difficult to remove. Drain
 application equipment. Thoroughly rinse application equipment and flush hoses, boom
 and nozzles with clean water. Clean all other associated application equipment. Take
 all necessary safety precautions when cleaning equipment. Do not clean equipment
 near wells, water sources, or desirable vegetation. Dispose of waste rinse water in
 accordance with local regulations.


 MIXING PROCEDURES

 Prepare the amount of spray mixture appropriate for the immediate applications.
 Thoroughly clean spray equipment before using this product. Agitate vigorously for
 proper dispersal of the product. Maintain maximum agitation throughout the spraying
 operation. Do not let the spray mixture stand overnight in the spray tank. Flush the
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 spray equipment thoroughly following each use and apply the rinsate to a previously
 treated area.

 The pH of application mixtures containing Mainspring Flora should be adjusted to a pH
 of 8 or less using a commercially available acidifier. Adjust the pH of application
 mixtures after all products being applied have been added to the tank and uniformly
 mixed.

 Mainspring Flora Alone: Add ½ of the required amount of water to the mix tank. With
 the agitator running, add the Mainspring Flora to the tank. Continue agitation while
 adding the remainder of the water. Begin application of the solution after the
 Mainspring Flora has completely dispersed into the mix water. Maintain agitation until
 all of the mixture has been applied.

 Mainspring Flora in Tank Mixtures: Mainspring Flora is compatible with most
 insecticide and fungicide products. However, the physical compatibility of Mainspring
 Flora with tank mix partners should be tested before use. To determine the physical
 compatibility of Mainspring Flora with other products, use a jar test, as described below,
 to test the physical compatibility of Mainspring Flora with tank-mix partners.

 Tank-mixing Sequence
 Add different formulation types in the sequence indicated below. Allow time for complete
 mixing and dispersion after the addition of each product.
     1. Water-soluble bags
     2. Water-dispersible granules
     3. Wettable powders
     4. Mainspring and other water-based suspension concentrates
     5. Water-soluble concentrates
     6. Oil-based suspension concentrates
     7. Emulsifiable concentrates
     8. Adjuvants, surfactants, oils
     9. Soluble fertilizers
    10. Drift retardants

 Compatibility Test: Since pesticides, adjuvants, and fertilizers can vary in quality,
 always check tank-mix compatibility with tank-mix partners before each use. Be
 especially careful when using complete suspension or fluid fertilizers as carriers, as
 serious compatibility problems are more likely to occur with these
 products. Commercial application equipment may improve tank-mix compatibility in
 some instances. The following test assumes a spray volume of 25 gal/A. For other
 spray volumes, make appropriate changes in the components. Check tank-mix
 compatibility using this procedure:

 1. Add 1 pt of carrier (either the water or liquid fertilizer to be used in the spray
    operation) to each of two clear 1-qt jars with tight lids.
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 2. To one of the jars, add ¼ tsp or 1.2 mL of a commercially available tank-mix
    compatibility agent approved for this use (¼ tsp is equivalent to 2 pt/100 gallons
    spray). Invert the jar, then shake or stir gently to ensure thorough mixing.

 3. To both jars, add the appropriate amount of each tank-mix partner. If more than
    one tank-mix partner is to be used, add them separately with dry formulations
    (wettable powders or water dispersible granules) first, followed by liquid flowables,
    capsule suspensions, emulsifiable concentrates and finally adjuvants. After each
    addition, invert the jar, shake or stir gently to thoroughly mix. The appropriate
    amount of each tank-mix partner for this test is as follows:

    Dry formulations: For each pound to be applied per acre, add 1.5 level tsp to each
    jar.

    Liquid formulations: For each pint to be applied per acre, add 0.5 tsp or 2.5 mL to
    each jar.

 4. After adding all ingredients, put lids on and tighten, then invert each jar 10 times to
    fully mix. Let the mixtures stand for 15-30 minutes and then assess by looking for
    separation, large flakes, precipitates, gels, heavy oily film on the jar, or other signs of
    incompatibility. Determine if a compatibility agent is needed in the spray mixture by
    comparing the two jars. If either mixture separates, but can be remixed readily, the
    mixture can be sprayed as long as good agitation is used. If the mixtures are
    incompatible, test the following methods of improving compatibility: (A) slurry dry
    formulations in water before addition, or (B) add the compatibility agent directly into
    liquid formulations, before addition to the tank-mixture. If these procedures are
    followed but incompatibility is still observed, do not use the tank mixture.

 If mixture is physically compatible, add ½ of the required amount of water to the mix
 tank. Start the agitator before adding any tank mix partners. Add products in this order:
 products packaged in water-soluble packaging, wettable powders, wettable granules
 (dry flowables) such as Mainspring Flora, liquid flowables, liquids, and emulsifiable
 concentrates.

 Always allow each tank-mix partner to become fully dispersed before adding the next
 product. Provide sufficient agitation while adding the remainder of the water. Maintain
 agitation until all the mixture has been applied.

 Note: If using Mainspring Flora in tank mixtures, all products in water-soluble
 packaging should be added to the tank before any other tank-mix partner, including
 Mainspring Flora. Allow the water-soluble packaging to completely dissolve and the
 product(s) to completely disperse before adding any other tank mix partner to the tank.

 If using Mainspring Flora in a tank mixture, observe all directions for use, crop/sites, use
 rates, dilution ratios, precautions, and limitations which appear on the product label.
 Follow the most restrictive label precautions and limitations and do not exceed labeled
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 application rates for any product. This product should not be mixed with any product
 which prohibits such mixing. Tank mixtures or other applications of products referenced
 on this label are permitted only in those states in which the referenced products are
 labeled.

 Do not tank-mix Mainspring Flora insecticide with products such as Daconil ®
 Weatherstik, Dithane™ Rainshield, or any product containing a sticker component in its
 formulation. This will limit absorption of Mainspring Flora by the plant, reducing control
 of labeled pests.


 APPLICATION DIRECTIONS

 SECTION 1: COMMERCIAL ORNAMENTAL NURSERY AND GREENHOUSE
 PRODUCTION

 The following AGRICULTURAL USE REQUIREMENTS box containing Worker
 Protection Standards pertains to the use of this product in any commercial nurseries
 and greenhouses in which ornamental plants are produced for distribution and sale,
 including wholesale and retail nurseries, Christmas tree farms, and forestry and conifer
 nurseries.

                        AGRICULTURAL USE REQUIREMENTS

 Use this product only in accordance with its labeling and with the Worker Protection
 Standard, 40 CFR Part 170. This Standard contains requirements for the protection of
 agricultural workers on farms, forests, nurseries, and greenhouses, and handlers of
 agricultural pesticides. It contains requirements for training, decontamination,
 notification, and emergency assistance. It also contains specific instructions and
 exceptions pertaining to the statements on this label about personal protective
 equipment (PPE) and restricted-entry interval. The requirements in this box only apply
 to uses of this product that are covered by the Worker Protection Standard.

 Do not enter or allow worker entry into treated areas during the restricted-entry
 interval (REI) of 12 hours.

 For early entry to treated areas that is permitted under the Worker Protection Standard
 and that involves contact with anything that has been treated, such as plants, soil, or
 water, wear:
 - Coveralls
 - Socks and shoes
 - Chemical-resistant gloves made of any waterproof material
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 1.1 Foliar Application (indoor and outdoor)

 Foliar application rates are listed in Table 1. Thorough spray coverage of the plant is
 essential for optimum control. Apply when conditions do not favor drift from the target
 area and avoid spray overlap.

 Apply Mainspring Flora when pest populations are low to prevent the increase of that
 population to damaging levels.

 When making foliar applications to plants with hard-to-wet foliage, such as holly, ivy, or
 pine, the addition of a nonionic or organosilicone-based surfactant to improve coverage
 is recommended. Follow use directions and rate recommendations. Do not use
 adjuvants with binding or sticking properties, as these may reduce absorption of
 Mainspring Flora by the plant. If concentrate, mist-type or other low volume application
 equipment is used to apply Mainspring Flora, apply the same amount of product per
 area as you would use if applying with higher application volumes.
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 Table 1. Foliar Applications (indoor and outdoor)
 Ornamental Plants in Commercial Production
 Breeding crops                  Flowering plants grown for           Pot and bedding plants
 Bulb, corm and tuber crops        seed production                    Shrubs
  (such as tulips, calla lilies) Foliage plants                       Trees, including non-bearing
 Evergreens, including conifers  Ground covers                          fruit and nut trees*
 Flowering plants                Palms                                Vines (non-bearing)*
                                 Perennial plants
                Target Pests                Application Rate                 Use Directions
 Aphids including:                              4 – 12 oz             Begin applications prior to or
   Green Peach Aphid (Myzus persicae)        per 100 gallons          when pests first appear.
   Melon Aphid (Aphis gossypii)
 Leafminer (Liriomyza)                        0.4 – 1.2 tsp           Reapply after 14 days to keep
                                                per gallon            populations from increasing.

                                                   1.1 – 3.4 g        Use higher listed rates when
                                                   per gallon         longer residual control is
                                                                      needed.
  Japanese beetle adults, other leaf-               8 – 12 oz
    feeding beetles (such as viburnum            per 100 gallons
    leaf beetle larvae)
  Lace bugs                                        0.8 – 1.2 tsp
  Leaf-feeding caterpillars (such as                per gallon
    armyworms, loopers, fall webworms)
  Soft scales (such as oak lecanium                2.2 – 3.4 g
    scales)                                        per gallon
  Thrips (foliar-feeding)
  Whiteflies including:
    Silverleaf whitefly
      (Bermisia spp. – Biotype B & Q)
    Greenhouse Whitefly
      (Trialeurodes vaporariorum)
  All pests listed above – maximum                    16 oz
  residual control                               per 100 gallons

                                                     1.6 tsp
                                                    per gallon

                                                   4.4 g
                                                 per gallon
                                         USE RESTRICTIONS
      Maximum Single Application Rate - Outdoors and Indoors: Do not apply more than 16.7
      oz Mainspring Flora per acre per application (equal to 0.31 lb pymetrozine and 0.10 lb
      cyantraniliprole per acre per application).
      Maximum Total Application Rate – Outdoors and Indoors:
           Do not apply more than 66.8 oz Mainspring Flora per acre per calendar year. Do not
           apply more than 1.25 lb pymetrozine or 0.42 lb cyantraniliprole per acre per calendar year
           from Mainspring Flora or any pymetrozine- or cyantraniliprole containing products.
      Minimum Reapplication Interval: Do not reapply within 7 days.
  *Non-bearing fruit and nut trees and vines are plants that will not bear edible fruit or nuts for one
  year after application.
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 SECTION 2: LANDSCAPE ORNAMENTALS AND INTERIOR PLANTSCAPES

                     NON-AGRICULTURAL USE REQUIREMENTS

 The requirements in this box apply to uses of this product that are NOT within the scope
 of the Worker Protection Standard for agricultural pesticides (40 CFR Part 170). The
 WPS applies when this product is used to produce agricultural plants on farms, forests,
 nurseries, or greenhouses.

 Do not enter treated areas without protective clothing until sprays have dried.

 2.1 Foliar Application (indoor and outdoor)

 Foliar application rates are listed in Table 1. Thorough spray coverage of the plant is
 essential for optimum control. Apply when conditions do not favor drift from the target
 area and avoid spray overlap.

 Apply Mainspring Flora when pest populations are low to prevent the increase of that
 population to damaging levels.

 When making foliar applications to plants with hard-to-wet foliage, such as holly, ivy, or
 pine, the addition of a nonionic or organosilicone-based surfactant to improve coverage
 is recommended. Follow use directions and rate recommendations. Do not use
 adjuvants with binding or sticking properties, as these may reduce absorption of
 Mainspring Flora by the plant. If concentrate, mist-type or other low volume application
 equipment is used to apply Mainspring Flora, apply the same amount of product per
 area as you would use if applying with higher application volumes.
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 Table 2. Foliar Applications (indoor and outdoor)

 Ornamental Plants
 Plants in interior plantscapes      Plants in outdoor landscapes     Potted plants and trees*
                Target Pests                    Application Rate              Use Directions
  Aphids including:                                                   Begin applications prior to or
   Green Peach Aphid (Myzus persica)                4 – 12 oz         when pests first appear.
   Melon Aphid (Aphis gossypii)                  per 100 gallons
  Leafminer (Liriomyza)                                               Reapply after 14 days to keep
                                                  0.4 – 1.2 tsp       populations from increasing.
                                                   per gallon
                                                                      Use higher listed rates when
                                                   1.1 – 3.4 g        longer residual control is
                                                   per gallon         needed.
  Japanese beetle adults, other leaf-               8 – 12 oz         Begin applications prior to or
    feeding beetles (such as viburnum            per 100 gallons      when pests first appear.
    leaf beetle larvae)
  Lace bugs                                       0.8 – 1.2 tsp       Reapply after 14 days to keep
  Leaf-feeding caterpillars (such as               per gallon         populations from increasing.
    armyworms, loopers, fall webworms)
  Soft scales (such as oak lecanium                2.2 – 3.4 g        Use higher listed rates when
    scales)                                        per gallon         longer residual control is
  Thrips (foliar-feeding)                                             needed.
  Whiteflies (including)
    Silverleaf whitefly
      (Bermisia spp. – Biotype B & Q)
    Greenhouse Whitefly
      (Trialeurodes vaporariorum)
  All pests listed above – maximum                    16 oz
  residual control                               per 100 gallons

                                                     1.6 tsp
                                                    per gallon

                                                      4.4 g
                                                    per gallon
                                         USE RESTRICTIONS
      Maximum Single Application Rate - Outdoors and Indoors:
           Do not apply more than 16.7 oz Mainspring Flora per acre per application (equal to 0.31 lb
           pymetrozine and 0.10 lb cyantraniliprole per acre per application).
      Maximum Total Application Rate – Outdoors and Indoors:
           Do not apply more than 66.8 oz Mainspring Flora per acre per calendar year. Do not
           apply more than 1.25 lb pymetrozine or 0.42 lb cyantraniliprole per acre per calendar year
           from Mainspring Flora or any pymetrozine- or cyantraniliprole containing products.
      Minimum Reapplication Interval:
           Do not reapply within 7 days.
  *Non-bearing fruit and nut trees and vines are plants that will not bear edible fruit or nuts for one
  year after application.
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                                STORAGE AND DISPOSAL

 Do not contaminate water, food, or feed by storage or disposal.

 Pesticide Storage
 Do not subject to temperatures below 32 degrees F. Store in original container, in a
 cool, dry place inaccessible to children and pets. Product is hydroscopic. Keep the
 container tightly closed.

 Pesticide Disposal
 Pesticide wastes may be toxic. Improper disposal of unused pesticide, spray mixture,
 or rinse water is a violation of federal law. If these wastes cannot be used according to
 label instruction, contact your State Pesticide or Environmental Control Agency, or the
 Hazardous Waste representative at the nearest EPA Regional Office for guidance in
 proper disposal methods.

 Container Handling [bags]
 Nonrefillable container. Do not reuse or refill this container. Completely empty bag into
 application equipment. Then offer for recycling if available or dispose of empty bag in a
 sanitary landfill, by incineration, or, if allowed by state and local authorities, by burning.
 If burned, stay out of smoke.

 Container Handling [less than or equal to 50 pounds]
 Nonrefillable container. Do not reuse or refill this container. Triple rinse container (or
 equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
 contents into application equipment or a mix tank. Fill the container ¼ full with water
 and recap. Shake for 10 seconds. Pour rinsate into application equipment or a mix tank
 or store rinsate for later use or disposal. Drain for 10 seconds after the flow begins to
 drip. Repeat this procedure two more times. Then offer for recycling if available or
 puncture and dispose of in a sanitary landfill, or by incineration, or by other procedures
 approved by state and local authorities.

 Mainspring Flora™, Daconil Weather Stik®, the ALLIANCE FRAME
 the SYNGENTA Logo and the PURPOSE ICON
 are Trademarks of a Syngenta Group Company

 Dithane™ Rainshield is a trademark of The Dow Chemical Company

 Viton™ is a trademark of The Chemours Company FC, LLC.

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                                                                                    Mainspring Flora
                                                                                            Page 22

                  For non-emergency (e.g., current product information), call
                        Syngenta Crop Protection at 1-800-334-9481.

 Manufactured for:
 Syngenta Crop Protection, LLC
 P.O. Box 18300
 Greensboro, NC 27419-8300



 Mainspring Flora 1585 MAS 0422 AMEND-B JUNE2023-CL-jd-8/3/23
 000100-01585.20230615B.MAINSPRING_FLORA.AMEND.0623-CL
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                              Attachment 4
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                         UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                      WASHINGTON, DC 20460

                                                                                            OFFICE OF CHEMICAL SAFETY
                                                                                            AND POLLUTION PREVENTION
                                                       September 27, 2023

Jake Vukich
Senior Product Registration Manager
FMC Corporation
2929 Walnut Street
Philadelphia, PA 19104

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Benevia Insect Control, Exirel Insect Control and Verimark Insect
                         Control
                         EPA Registration Numbers: 279-9614, 279-9615 and 279-9616
                         Application Date: June 15, 2023
                         Decision Numbers: 593329, 593330 and 593331

Dear Mr. Vukich:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly,
EPA has approved the requested registration amendments, provided FMC Corporation (“FMC”)
complies with all terms and conditions listed below.

Terms and Conditions

FMC must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with,
the registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made
         may affect, likely to adversely affect (LAA), determinations for certain listed species and
         designated critical habitats for products containing cyantraniliprole (including this product).
         For these LAA determinations, EPA also assessed the potential likelihood of jeopardy or
         adverse modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1).
         EPA predicted no potential likelihood of jeopardy for listed species or adverse modification
         for designated critical habitat. On September 25, 2023, EPA initiated formal consultation
         with the Services. The Services will make the final determination as to the potential for


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        jeopardy for listed species or adverse modification for designated critical habitat in any final
        biological opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in
        any applicable Biological Opinion, EPA will notify FMC in writing within 45 calendar days
        of the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days
        of receiving EPA’s notice, FMC must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, FMC may respond by
        submitting a request for voluntary cancellation of this product. If FMC fails to comply with
        this term, FMC has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under FMC’s control, FMC
       must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by FMC
       under the previously approved labeling for no longer than 12 months from the date of this
       letter or 75 days after the final state approval from those submitted under Term #2,
       whichever is earlier.

    4. Nothing in Terms #2-3 should be read to obligate FMC to provide additional labeling for
       product that bears the previously approved label but is not under FMC’s control as of the
       date of this letter. However, FMC should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2



1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the
claims made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials
submitted and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and
others containing cyantraniliprole, EPA considered risks and benefits of approving the registrations
and registration amendments. To determine the risks and benefits, the Agency reviews a large body
of information to determine the effects of using these products. In assessing the risks from use of
products containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and
ecological and environment fate risk assessments. 6 EPA also updated its ecological and
environmental fate risk assessments in support of the 2023 draft biological evaluation (BE). 7 EPA
believes that that these risk assessments (and the benefits discussed below) are also applicable to the
action to approve this amended registration.

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because
the Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose

3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary
Exposure and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential
Exposure and Risk Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28,
2013) (EPA-HQ-OPP-2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the
New Active Insecticide Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary
Exposure and Risk Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-
0357-0009); Human Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S.
Registration (Jan. 12, 2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data
(Apr. 21, 2016) (EPA-HQ-OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016)
(EPA-HQ-OPP-2014-0357-0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on
Coffee; Caneberry Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry
and Lingonberry; Brassica Leafy Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-
OPP-2017-0694-0011); Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance
Requests on Coffee; Caneberry Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry,
Lowbush Blueberry and Lingonberry; Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-
0694-0012); Human Health Risk Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-
OPP-2021-0154-0007); Highly Refined Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed
Inadvertent Use and Tolerance Request on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and
Cucurbit Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological
Risk Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-
OPP-2011-0668, Document ID Nos. 71-72, 75-87.
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an acute risk to humans). In general, CTP produces both adverse and adaptive changes in the liver,
thyroid gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate
increases in liver weights are observed across multiple species (rats, mice, dogs). CTP was
classified as “not likely to be carcinogenic to humans” based upon data demonstrating lack of
treatment-related increase in tumor incidence in rats and mice. No cumulative effects were
identified. CTP presents no mutagenicity, neurotoxicity, immunotoxicity, developmental
reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and
terrestrial invertebrates. Overall, however, the major risks of concerns are for direct effects to
freshwater, estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of
concerns for birds, reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity
on a wide variety of target insects on a variety of crops. CTP is effective for controlling aphids,
weevils and thrips—all major agricultural pests. CTP is not expected to pose any acute risk to
humans and was registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to
alternative chemicals available at that time. CTP also poses lower risk to non-target organisms
relative to alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed
species, including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications
         to reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in
         Bulletins Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in
increased exposures 8 and because EPA continues to believe that—consistent with the 2014
registration decision 9 and other previous registration decision for products contain
cyantraniliprole—the benefits of these registrations outweigh any remaining risks of concern from

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that
the mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce
exposures to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24,
2014) (EPA-HQ-OPP-2011-0668-0057).
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its use and there are no human dietary risks from uses of cyantraniliprole that are inconsistent with
the FFDCA safety standard. 10 Accordingly, EPA is approving these registration amendments
because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all
previously accepted labeling. You must submit one copy of the final printed labeling before you
release the product for shipment with the new labeling. Consistent with Terms 2-5 above, and not
withstanding 40 C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the
final stamped label associated with this approval letter or with accompanying labeling that
incorporates the mitigations in this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our
attention that a website contains false or misleading statements or claims substantially differing
from the EPA-approved registration, the product will be referred to EPA’s Office of Enforcement
and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at
benbow.gene@epa.gov.
                                                   Sincerely,



                                                             Deanna (Dee) Colby, Chief
                                                             Invertebrate & Vertebrate Branch 3
                                                             Registration Division
                                                             Office of Pesticide Programs


Enclosure



10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any
unreasonable risk to [humans] or the environment, taking into account the economic, social, and environmental costs
and benefits of the use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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HHH




                                                                                                       GROUP             28 INSECTICIDE

      For foliar applications to bulb, legume and tuberous and corm vegetables; cotton; oil seed crops; peanuts; soybeans; tobacco and
      tree nuts for pest management of sucking and chewing insects that can vector certain plant diseases, aiding in optimization of the
      crops potential.
      Active Ingredient                                                                                                                        By Weight
      Cyantraniliprole
          3-bromo-1-(3-chloro-2-pyridinyl)-N-[4-cyano-2-methyl-6-
          [(methylamino)carbonyl]phenyl]-1H-pyrazole-5-carboxamide                                                                           10.26%
      Other Ingredients                                                                                                                      89.74%
      TOTAL                                                                                                                                 100.00%
      BENEVIA® is an oil dispersion. SHAKE WELL BEFORE USING.
      Contains 0.83 lb. active ingredient per gallon.
            EPA Reg. No. 279-9614                           EPA Est. No.
            Nonrefillable Container                         Refillable Container
                                                     OR
            Net:                                            Net:


      Not for sale, sale into, distribution and/or use in Nassau and Suffolk counties of New York State.


                                               KEEP OUT OF REACH OF CHILDREN
                                                                   CAUTION
      Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en detalle. (If you do not understand the label, find
      someone to explain it to you in detail.)
                                                                      FIRST AID
      IF IN EYES: Hold eye open and rinse slowly and gently with water for 15-20 minutes. Remove contact lenses, if present, after the first 5
      minutes, then continue rinsing. Call a poison control center or doctor for treatment advice.
      For questions regarding emergency medical treatment, you may contact 1-800-331-3148 for information.

                                          PRECAUTIONARY STATEMENTS
                                    HAZARDS TO HUMANS AND DOMESTIC ANIMALS
      CAUTION: Causes moderate eye irritation. Avoid contact with eyes. Prolonged or frequently repeated skin contact may cause allergic
      reactions in some individuals.

                                              PERSONAL PROTECTIVE EQUIPMENT
      Applicators and other handlers must wear:
         Long-sleeved shirt and long pants.
         Shoes plus socks.
      After the product has been diluted in accordance with label directions for use, shirt, pants, socks, and shoes are sufficient Personal
      Protective Equipment. Follow manufacturers instructions for cleaning/maintaining personal protective equipment (PPE). If no such
      instructions for washables are available, use detergent and hot water. Keep and wash PPE separately from other laundry.




      Sold By



      FMC Corporation
      2929 Walnut Street
      Philadelphia, PA 19104
                                                                             1
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FOR




                                                USER SAFETY RECOMMENDATIONS
          USERS SHOULD: Wash hands before eating, drinking, chewing gum, using tobacco or using the toilet. Remove clothing immediately
          if pesticide gets inside. Then wash thoroughly and put on clean clothing.


                                                 PHYSICAL OR CHEMICAL HAZARDS
      Do not place product near or allow product to come into contact with strong oxidizing substances (such as potassium permanganate) since a
      hazardous chemical reaction may occur.

                                                       ENVIRONMENTAL HAZARDS
      This pesticide is toxic to aquatic invertebrates and oysters. Do not apply directly to water. Drift and runoff may be hazardous to aquatic
      organisms in water adjacent to use sites. This product is highly toxic to bees exposed to direct treatment on blooming crops or weeds. Do
      not apply this product or allow it to drift to blooming crops or weeds if bees are foraging the treatment area.
      Surface Water Advisory-
      This product may impact surface water quality due to runoff of rain water. This is especially true for poorly draining soils and soils with
      shallow ground water. This product is classified as having high potential for reaching surface water via runoff for several weeks after
      application. A level, well-maintained vegetative buffer strip between areas to which this product is applied and surface water features such
      as ponds, streams, and springs will reduce the potential loading of cyantraniliprole from runoff water and sediment. Runoff of this product will
      be reduced by avoiding applications when rainfall is forecasted to occur within 48 hours.
      Ground Water Advisory-
      This chemical has properties and characteristics associated with chemicals detected in ground water. This chemical may leach into ground
      water if used in areas where soils are permeable, particularly where the water table is shallow.


                                                    PROTECTION OF POLLINATORS

                                           APPLICATION RESTRICTIONS EXIST FOR THIS PRODUCT
                                           BECAUSE OF RISK TO BEES AND OTHER INSECT
                                           POLLINATORS. FOLLOW APPLICATION RESTRICTIONS FOUND
                                           IN THE DIRECTIONS FOR USE TO PROTECT POLLINATORS.


      Look for the bee hazard icon            in the Directions for Use for each application site for specific use restrictions and instructions to protect
      bees and other insect pollinators.
      This product can kill bees and other insect pollinators.
      Bees and other insect pollinators will forage on plants when they flower, shed pollen, or produce nectar.
      Bees and other insect pollinators can be exposed to this pesticide from:
       Direct contact during foliar applications, or contact with residues on plant surfaces after foliar applications
       Ingestion of residues in nectar and pollen resulting from foliar applications.
      When Using This Product Take Steps To:
       Minimize exposure of this product to bees and other insect pollinators when they are foraging on pollinator attractive plants in and around
         the application site.
       Minimize drift of this product onto beehives or to off-site pollinator attractive habitat. Drift of this product onto beehives or off-site to
         pollinator attractive habitat can result in bee kills.
      Information on protecting bees and other insect pollinators may be found at the Pesticide Environmental Stewardship website at:
      http://pesticidestewardship.org/PollinatorProtection/Pages/default.aspx.
      Pesticide incidents (for example, bee kills) should immediately be reported to the state/tribal lead agency. For contact information for your
      state, go to: www.aapco.org/officials.html. Pesticide incidents should also be reported to the National Pesticide Information Center at:
      www.npic.orst.edu or directly to EPA at: beekill@epa.gov




      DIRECTIONS FOR USE
      It is a violation of Federal law to use this product in a manner inconsistent with its labeling.
      Do not apply this product in a way that will contact workers or other persons, either directly or through drift. Only protected handlers may be in
      the area during application.
      For any requirements specific to your State or Tribe, consult the State or Tribal agency responsible for pesticide regulation.

      ENDANGERED AND THREATENED SPECIES PROTECTION REQUIREMENTS: Before using this product, you must obtain any applicable
      Endangered Species Protection Bulletins (Bulletins) within six months prior to or on the day of application. To obtain Bulletins, go to Bulletins
      Live! Two (BLT) at https://www.epa.gov/pesticides/bulletins. When using this product, you must follow all directions and restrictions
      contained in any applicable Bulletin(s) for the area where you are applying the product, including any restrictions on application timing if
      applicable. It is a violation of Federal law to use this product in a manner inconsistent with its labeling, including this labeling instruction to
      follow all directions and restrictions contained in any applicable Bulletin(s). For general questions or technical help, call 1-844-447-3813, or
      email ESPP@epa.gov.
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1.       FOR CROPS UNDER CONTRACTED POLLINATION SERVICES




                                              Do not apply this product while bees are foraging. Do not apply this product until flowering is complete
                                              and all petals have fallen unless the following conditions is met.




 If an application must be made when managed bees are at the treatment site, the beekeeper providing the pollination services must be
  notified no less than 48-hours prior to the time of the planned application so that the bees can be removed, covered or otherwise protected
  prior to spraying.
2. FOR FOOD CROPS AND COMMERCIALLY GROWN ORNAMENTALS NOT UNDER CONTRACT FOR POLLINATION SERVICES BUT
   ARE ATTRACTIVE TO POLLINATORS




                                              Do not apply this product while bees are foraging. Do not apply this product until flowering is complete
                                              and all petals have fallen unless one of the following conditions is met:




 The application is made to the target site after sunset
 The application is made to the target site when temperatures are below 55F
 The application is made in accordance with a government-initiated public health response
 The application is made in accordance with an active state-administered apiary registry program where beekeepers are notified no less than
  48-hours prior to the time of the planned application so that the bees can be removed, covered or otherwise protected prior to spraying
 The application is made due to an imminent threat of significant crop loss, and a documented determination consistent with an IPM plan or
  predetermined economic threshold is met. Every effort should be made to notify beekeepers no less than 48- hours prior to the time of the
  planned application so that the bees can be removed, covered or otherwise protected prior to spraying.

RESTRICTIONS
     -     Do not make ground applications within 25 or aerial applications within 50 of aquatic habitats (such as, but not limited to, lakes,
           reservoirs, rivers, permanent streams, wetlands or natural ponds, estuaries, and commercial fish farm ponds). Do not cultivate within
           30 of these aquatic areas to allow growth of a vegetative filter strip.
     -     For foliar uses, do not apply during rain.
     -     When making air blast applications to orchard crops with sparse canopies a 25 foot buffer is required between the
           application site and all adjacent areas except for roads (and other paved or gravel surfaces), agricultural areas (fields that
           have been planted into or prepared for planting), and structural areas (buildings or other man-made structures with walls
           and/or a roof). A sparse canopy occurs during the period of dormancy starting from first leaf drop at the end of the season
           until vegetation is fully leafed out in the spring, and on young orchard crops that are not yet bearing.
     -     Do not treat plants grown for transplanting. Not for use in nurseries, plant propagation houses, or greenhouses by
           commercial transplant producers on plants being grown for transplanting.
     -     Do not apply BENEVIA® to the soil or through drip irrigation systems. May be used on crops on this label grown for seed
           production.
     -     Do not use in residential areas.
     -     Do not apply BENEVIA® insect control through any irrigation system unless specified in the crop section of this label.
     -     Unless otherwise stated for a specific crop, do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
           containing products per calendar year. This is the total from all application methods (eg. seed, soil, foliar).




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 AGRICULTURAL USE REQUIREMENTS
 BENEVIA® must be used only in accordance with its labeling and with the Worker Protection Standard, 40 CFR Part 170. This standard
 contains requirements for the protection of agricultural workers on farms, forests, nurseries, and greenhouses, and handlers of agricultural
 pesticides. It contains requirements for training, decontamination, notification, and emergency assistance. It also contains specific
 instructions and exceptions pertaining to the statements on the label about personal protective equipment, restricted-entry interval, and
 notification to workers (as applicable).
 Do not enter or allow worker entry into treated areas during the restricted-entry interval (REI) of 12 hours.
 For early entry into treated areas that is permitted under the Worker Protection Standard and that involves contact with anything that has
 been treated, such as plants, soil, or water, wear:
      Coveralls
      Shoes plus socks
      Chemical resistant gloves (made of any waterproof material)

BENEVIA® must be used in accordance with the directions for use on this label, or as otherwise permitted by FIFRA. Always read the entire
label, including the Limitation of Warranty and Liability.
BENEVIA® is an oil dispersion that can be applied as a foliar spray on labeled crops or by overhead chemigation in potatoes and bulb
vegetables to control listed insects. BENEVIA® is specially formulated for maximum performance by foliar applications in bulb, legume and
tuberous and corm vegetables; cotton; oil seed crops; peanuts; soybeans; tobacco and tree nuts. Do not apply directly to the soil or through
drip irrigation as doing so may damage the plant root system. BENEVIA® is mixed with water for application.
BENEVIA® is a member of the anthranilic diamide class of insecticides with a novel mode of action acting on insect ryanodine receptors.
Although BENEVIA® has contact activity, it is most effective through ingestion of treated plant material. After exposure to BENEVIA®, affected
insects will rapidly stop feeding, become paralyzed, and typically die within 1 - 3 days, reducing both direct damage and the transmission of
some insect transmitted diseases. Early season applications of BENEVIA® improve crop establishment and growth vigor by controlling a
range of pests that attack seedlings. Time applications to the most susceptible insect pest stage, typically at egg hatch and/or newly hatched
larvae or nymphs, before populations reach damaging levels. When pest populations are high, use the highest listed application rate for that
pest. For best results when targeting control of sucking pests, begin applications when insect populations first appear. BENEVIA® has
preventative activity, but low curative activity for sucking pests.


INTEGRATED PEST MANAGEMENT
FMC supports the use of Integrated Pest Management (IPM) programs to control pests. This product may be used as part of an IPM program,
which can include biological, cultural, and genetic practices, aimed at preventing economic pest damage. IPM principles and practices include
field scouting or other detection methods, correct target pest identification, population monitoring, rotation of insecticides with different modes-
of-action, and treating when target pest populations reach locally determined action thresholds. For best results with sucking pests, apply at
specified rates when insects first appear. Consult your state cooperative extension service, professional consultants or other qualified
authorities to determine appropriate action treatment threshold levels for treating specific pest/crop or site systems in your area.

SCOUTING
Monitor insect populations to determine whether or not there is a need for application of BENEVIA® based on locally determined pest
management guidelines. More than one treatment of BENEVIA® may be required to control a population of pests.

INSECT RESISTANCE MANAGEMENT
For resistance management, BENEVIA® is a Group 28 Insecticide. Repeated and exclusive use of BENEVIA® (cyantraniliprole) or other
Group 28 insecticide belonging to the anthranilic diamide class of chemistry may lead to the buildup of resistant strains of insects in some
crops.
Some insects are known to develop resistance to products used repeatedly for control. Because the development of resistance cannot be
predicted, this product may be used as part of a resistance management strategy established for the use area. These strategies may include
incorporation of cultural and biological control practices, alternation of mode-of-action classes of insecticides on succeeding generations and
the most susceptible life stage. Consult your local or state agricultural authorities for details.
Unless directed otherwise in the specific crop/pest sections of this label, the best practices are to follow these instructions to delay the
development of insecticide resistance:
 Avoid using the same mode of action (same IRAC group number) on consecutive generations of insect pests.
 Make no more than 2 applications of BENEVIA® (cyantraniliprole) or other Group 28 products per generation to the same insect species on
  a crop.
 Application to the next generation of target pest(s) must be with an effective product with a different mode of action (non- Group 28
  insecticide).
 Make no more than 2 successive applications within a 30-day period to the same insect species on a crop. The following application to the
  target pest(s) must be with an effective product with a different mode of action.
 Avoid using less than the labeled rates of BENEVIA® when applied alone or in tank mixtures.
 Target the most susceptible insect life stages, whenever possible.
 Monitor insect populations for product effectiveness. If resistance to BENEVIA® develops in your area, BENEVIA® or other products with a
  similar mode of action, may not provide adequate control.
 If poor performance cannot be attributed to improper application or extreme weather conditions, a resistant strain of insect may be present.
  If you experience difficulty with control and resistance is a reasonable cause, immediately consult your local FMC company representative
  or agricultural advisor for the best alternative method of control.
For additional information on insect resistance monitoring, visit the Insecticide Resistance Action Committee (IRAC) on the web at
http://www.irac-online.org.


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APPLICATION
Apply at the specified rates when insect populations reach locally determined action thresholds. For best results with sucking pests, begin
applications when insects first appear. Consult the cooperative extension service, professional consultants or other qualified authorities for
local pest management guidelines in your area.
Apply follow-up treatments of BENEVIA®, as specified, to keep pest populations under threshold limits. Refer to the Resistance Management
section of this label for further guidance on follow-up treatments. See individual crop sections of this label for specific minimum spray intervals.
Use sufficient water to obtain thorough, uniform coverage.
BENEVIA® may be applied by: foliar ground (including overhead chemigation in potatoes and bulb vegetables), or aerial application
equipment.
BENEVIA® may be applied via overhead sprinkler chemigation systems on potatoes and bulb vegetables. Use of the highest labeled rate for
the specified pest may be necessary when making overhead chemigation applications.
For aerial application use the following directions unless otherwise specified in specific crop/pest sections of this label or other supplemental
labeling: use a minimum of 5 gallons per acre (gpa) of water for bulb vegetables, cotton, oil seed crops and tuberous and corm vegetables and
use 10 gallons per acre (gpa) for tree nuts. Use of the highest labeled rate for a specified pest may be necessary when making aerial
applications.
For foliar ground applications use the following directions, unless otherwise specified in specific crop/pest sections of this label or other
supplemental labeling: use a minimum of 10 gal per acre (gpa) of water for bulb vegetables, cotton, oilseed crops and tuberous and corm
vegetables and use a minimum of 30 gallons per acre (gpa) for tree nuts.
Use of Adjuvants - In some situations where coverage is difficult to achieve such as closed canopy, dense foliage, plants with waxy leaf
surfaces, or less than optimum applications equipment, an adjuvant may improve performance. Use a proven and recommended adjuvant that
does not affect foliage and/or fruit finish. Tank mixes of BENEVIA® with spreading and penetrating adjuvants can result in adverse crop
response. See specific crop instructions in the following crop tables.

SPRAY PREPARATION
Spray equipment must be clean and free of previous pesticide deposits before applying BENEVIA®. Fill spray tank 1/4 to 1/2 full of water. Add
BENEVIA® directly to spray tank. Mix thoroughly to fully disperse the insecticide, once dispersed continued agitation is required. Use
mechanical or hydraulic means; do not use air agitation. Observe the most restrictive of the labeling limitations and precautions of all products
used in mixtures.
Acidification of Spray Tank - If the pH of the spray tank after all products have been added and mixed is above pH 8, adjust to pH 8 or less
using a registered acidifying agent. If the spray tank pH is 8 or less no adjustment of the spray tank pH is necessary. Spray tanks of pH 8 or
less can be held for up to 8 hours before spraying. Do not store the spray mixture overnight in the spray tank.
Compatibility -Since formulations may be changed and new ones introduced, premix a small quantity of a desired tank mix and observe for
physical incompatibility (settling out, flocculation, etc.). Spray volumes of less than 3 gallons of water and tank mixtures of more than two
products can increase the chances of incompatible spray mixtures. A jar test (as described below) should be conducted when label guidance
is not given or prior experience with a specific tank mixture is unknown. The jar test should follow the proper sequence of addition at the spray
water volume planned to assure that the tank mix is compatible. Constant agitation may be needed during mixing and spraying of mixtures.
This product can be mixed with pesticide products labeled for use on crops on this label in accordance with the most restrictive of label
limitations and precautions. Do not exceed labeled dosage rates. This product cannot be mixed with any product containing a label prohibition
against such mixing.
Steps to conduct a jar test to determine physical tank mix compatibility of BENEVIA® with other products:

   Add clean water to jar proportional to the planned water volume that will be used in the spray tank (a jar size of 8-16 oz is acceptable).
   Using the most restrictive PPE of the products to be tested, mix proper proportions of BENEVIA® and desired tank mix partner(s) as will be
   present in the spray tank, add one product at a time following the sequence of addition according to formulation type provided in this label.
   Seal and shake mixture after each product is added.
   Allow to stand for 1 hour.
   View jar to determine if settling, flocculation, crystallization or any other undesirable changes have happened.
   If none of the above is observed or the solution can be easily remixed after shaking, the mixture is compatible with BENEVIA®.
   If the tank mix is not compatible, a higher water volume, reduced rate of the tank mix partner(s), reduced number of tank mix partners or a
   compatibility agent may be needed.

TANK MIXTURES AND CROP SAFETY- BENEVIA® is an oil in water emulsion. The crop safety of BENEVIA® alone or in tank mix with
many common insecticides, fungicides, nutritionals and adjuvants has been found to be acceptable. Tank mixes of BENEVIA® with some
products formulated as emulsifiable concentrates (EC), strobilurin fungicides (for example Cabrio and Quadris), copper and sulfur based
fungicides, chlorothalonil based fungicide formulations (for example, Bravo Weather Stik), and the fungicides Captan, Tanos, Rally and
Manzate may result in adverse crop response. Some materials including oils, surfactants, adjuvants, nutritionals and pesticide formulations
when applied individually, sequentially, or in tank mixtures may solubilize the plant cuticle, facilitate penetration into plant tissue, and increase
the potential for crop injury.
The application of strobilurin fungicides in a short time sequence (i.e., seven days apart or less between applications) before or after
BENEVIA® may also result in adverse crop response. Applying BENEVIA® with any product that produces adverse crop response in a tank
mixture, specifically including, but not limited to, those listed above, may also cause adverse crop response when applied in a short time
sequence. Such uses should be tested as described below before broad application is made.
Crop varieties can differ in their responsiveness to tank mixtures, and environmental conditions can have an influence on product performance
and crop response. It is not possible to test BENEVIA® alone or with all possible tank mix combinations and sequences on all varieties under
all environmental conditions. When considering the use of a tank mixture on a labeled crop without prior experience, or which is not
specifically described on BENEVIA® product labeling or in other FMC product use instruction, or when applying any of the aforementioned
products in close sequence with BENEVIA®, it is important to check crop safety first. To test for crop safety prepare a small volume of the
intended tank mixture or sequence, apply it to an area of the target crop as directed by both this and the tank mix partner product labels, and


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observe the treated crop to ensure that a phytotoxic response does not occur.
It is the pesticide users responsibility to ensure that all products are registered for the intended use. Read and follow the applicable
restrictions and limitations, and directions for use, on all product labels involved in tank mixing. Users must follow the most restrictive
directions for use and precautionary statements on each product in the tank mixture. Use of BENEVIA® in any tank mixture or sequence of
applications that is not specifically described on BENEVIA® product labeling or in other FMC product use instructions, could potentially result
in crop injury. To the extent allowed by law, FMC will not be responsible for any crop injury arising from the use of a tank mixture or sequence
of applications that is not specifically described on BENEVIA® product labeling or in other FMC product use instruction.
Tank Mixing Sequence -Add different formulation types in the sequence indicated below*. Allow time for complete mixing and dispersion after
addition of each product.
 1. Water soluble bag (WSB)
 2. Water soluble granules (SG)
 3. Water dispersible granules (WG, XP, DF)
 4. Wettable powders (WP)
 5. Water based suspension concentrates (SC)
 6. Water soluble concentrates (SL)
 7. Suspoemulsions (SE)
 8. BENEVIA® and other oil based suspension concentrates (OD)
 9. Emulsifiable concentrates (EC)
 10. Surfactants, oils adjuvants
 11. Soluble fertilizers
 12. Drift retardants
* Unless otherwise specified by manufacturer directions for use or by local experience.

CHEMIGATION - Overhead Sprinkler - Potatoes and Bulb Vegetables
The following types of irrigation equipment may be used for chemigation applications to potatoes and bulb vegetables: overhead sprinkler
irrigation systems.
Apply BENEVIA® in sufficient water and of sufficient duration to ensure the specified rate is applied evenly to the entire treated area. Inject
BENEVIA® downstream from any water filtration system.
Do not connect any irrigation system used for pesticide applications to a public water system unless the pesticide label- prescribed safety
devices are in place. Public water system means a system for the provision to the public of piped water for human consumption, if such
system has at least 15 service connections or regularly serves an average of at least 25 individuals at least 60 days out of the year.
See Required System Safety Devices For All Chemigation Systems at the end of the Chemigation section.
APPLICATION INSTRUCTIONS FOR CHEMIGATION USING OVERHEAD SPRINKLER SYSTEM S - POTATOES AND BULB
VEGETABLES
Types of Chemigation Systems: BENEVIA® may be applied to potatoes and bulb vegetables through overhead sprinkler irrigation systems,
including the following; center pivot, end tow, hand move, lateral move, side roll, solid set and wheel line. The irrigation system used must
provide uniform water distribution.
Directions for Chemigation:
Preparation
A pesticide tank is recommended for the application of BENEVIA® in chemigation systems.
Thoroughly clean the injection system and tank of any fertilizer or chemical residues using a standard clean-out procedure. Dispose of any
residues in accordance with State and Federal laws. With the mix tank 1/4 to 1/2 full with water and the agitator running, measure the required
amount of BENEVIA® and add it to the tank. The highest labeled rate for the specified pest may be necessary when making overhead
chemigation applications. Then add additional water to bring your total pesticide mixture up to the desired volume for your application. Note:
Always add BENEVIA® to water, never put BENEVIA® into a dry tank or other mixing equipment without first adding water. See Tank Mixing
Sequence section of the container label for tank mixing sequence. Continue to agitate the mixture throughout the application process. Use
mechanical or hydraulic agitation, do not use air agitation.
Injection Into Chemigation Systems
Inject the proper amount of BENEVIA® into the irrigation water flow using a positive displacement injection pump or a Venturi injector.
Injection should occur at a point in the main irrigation water flow to ensure thorough mixing with the irrigation water. For continuously moving
systems, inject the solution containing BENEVIA® into the irrigation water line continually and uniformly throughout the irrigation cycle. Apply
in no more than 0.2 inches of water per acre. For overhead sprinkler systems that are stationary, add the solution containing BENEVIA® to the
irrigation water line and apply no more than 0.2 inches of water per acre.
Uniform Water Distribution
The irrigation system used for application of BENEVIA® must provide for uniform distribution of BENEVIA® treated water. Non-uniform
distribution can result in crop injury, lack of effectiveness or illegal pesticide residues in or on the crop being treated. Ensure the irrigation
system is calibrated to uniformly distribute the chemigation application to the crop. Contact the equipment manufacturer, the local University
Extension agent or other experts if you have questions about achieving uniform distribution of the application.
Equipment Calibration
Calibrate the irrigation system and injector before applying BENEVIA®. Calibrate the injection pump while the system is running using the
expected irrigation rate. If you have questions about calibration, you should contact your state extension service specialists, equipment
manufacturer or other experts.




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Monitoring of Chemigation Applications
A person knowledgeable of the chemigation system and responsible for its operation, or under the supervision of a responsible person, shall
shut the system down and make necessary adjustments should the need arise. Wear the personal protective equipment as defined in the PPE
section of the label for applicators and other handlers when making adjustments or repairs on the chemigation system when BENEVIA® is in
the irrigation water.
Operation
Start the water pump and sprinkler, and let the system achieve the desired pressure and speed before starting the injector. Start the injector
and calibrate the injection system according to the directions above. This procedure is necessary to deliver the desired rate per acre in a
uniform manner. When the application is finished, allow the entire irrigation and injector system to be thoroughly flushed clean before stopping
the system.
      End guns must be turned off during the application, if they irrigate nontarget areas or if they do not provide uniform application and
      coverage.
      The nozzles in the immediate area of wells, control panels, chemical supply tanks and system safety devices are to be plugged to
      prevent contamination of these areas.
      Do not apply when wind speed favors drift beyond the area intended for treatment.
      Do not apply when system connections or fittings leak or when nozzles do not provide uniform
      distribution.Do not allow irrigation water to collect or run-off during chemigation.
Cleaning the System
Thoroughly clean the injection system and tank of any fertilizer or chemical residues using a standard clean-out procedure. Dispose of any
residues in accordance with State and Federal laws. Consult your owners manual or your local equipment dealer for cleanout procedures for
your injection system.
REQUIRED SYSTEM SAFETY DEVICES FOR ALL CHEMIGATION SYSTEMS
1. The system must contain a functional check valve, vacuum relief valve and low-pressure drain appropriately located on the irrigation
   pipeline to prevent water source contamination from backflow.
2. The pesticide injection pipeline must contain a functional, automatic, quick-closing check valve to prevent the flow of fluid back toward the
   injection pump.
3. The pesticide injection pipeline must also contain a functional, normally closed, solenoid-operated valve located on the intake side of the
   injection pump and connected to the system interlock to prevent fluid from being withdrawn from the supply tank when the irrigation system
   is either automatically or manually shut down.
4. The system must contain functional interlocking controls to automatically shut off the pesticide injection pump when the water pump motor
   stops.
5. The irrigation line or water pump must include a functional pressure switch which will stop the water pump motor when the water pressure
   decreases to the point where pesticide distribution is adversely affected.
6. Systems must use a metering device, such as a positive displacement pump or a Venturi injector, that provides uniform injection of the
   product, is effectively designed and constructed of materials compatible with the product, and is capable of being fitted with a system
   interlock.
7. Chemigation systems connected to public water systems must contain a functional, reduced- pressure zone, backflow preventer (RPZ) or
   the functional equivalent in the water supply line upstream from the point of pesticide introduction. As an option to the RPZ, the water from
   the public water system should be discharged into a reservoir tank prior to pesticide introduction. There shall be a complete physical break
   (air gap) between the outlet end of the fill pipe and the top or overflow rim of the reservoir tank of at least twice the inside diameter of the fill
   pipe.


SPRAY TANK CLEANOUT
Prior to application, start with clean, well maintained application equipment. Immediately following application, thoroughly clean all spray
equipment to reduce the risk of forming hardened deposits which might become difficult to remove.
Drain spray equipment. Thoroughly rinse sprayer and flush hoses, boom and nozzles with clean water.
Clean all other associated application equipment. Take all necessary safety precautions when cleaning equipment. Do not clean near wells,
water sources or desirable vegetation. Dispose of waste rinse water in accordance with local regulations.




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SPRAY DRIFT MANAGEMENT
The interaction of many equipment and weather-related factors determines the potential for spray drift. The applicator is responsible for
considering all these factors when making application decisions. Avoiding spray drift is the responsibility of the applicator.
IMPORTANCE OF DROPLET SIZE
The most effective drift management strategy is to apply the largest droplets which are consistent with pest control objectives. The presence of
sensitive species nearby, the environmental conditions, and pest pressure may affect how an applicator balances drift control and coverage.
Applying larger droplets reduces drift potential, but will not prevent drift if applications are made improperly or under unfavorable
environmental conditions.
A droplet size classification system describes the range of droplet sizes produced by spray nozzles. The American Society of Agricultural and
Biological Engineers (ASABE) provide a Standard that describes droplet size spectrum categories defined by a number of reference nozzles
(fine, coarse, etc.). Droplet spectra resulting from the use of a specific nozzle may also be described in terms of volume mean diameter
(VMD). Coarser droplet size spectra have larger VMDs and lower
drift potential.
CONTROLLING DROPLET SIZE - GROUND APPLICATION
   For broadcast applications made at planting or prior to the emergence of crops, applicators are required to use a
   coarse or coarser droplet size (ASABE S572.1). For all other broadcast applications, applicators are required to use
   a medium or coarser droplet size (ASABE S572.1).
   Pressure - The lowest spray pressures recommended for the nozzle produce the largest droplets. Higher pressure reduces droplet size and
   does not improve canopy penetration. When higher flow rates are needed, using a higher-capacity nozzle instead of increasing pressure
   results in the coarsest droplet spectrum.
  Flow Rate/Orifice Size - Using the highest flow rate nozzles (largest orifice) that are consistent with pest control objectives reduces the
  potential for spray drift. Nozzles with higher rated flows produce coarser droplet spectra.

CONTROLLING DROPLET SIZE - AIRCRAFT
   For fixed wing and helicopter aerial applications made at planting or prior to the emergence of crops, applicators are required
   to use a coarse or coarser droplet size (ASABE S572.1). For all other fixed wing and helicopter aerial applications, applicators
   are required to use a medium or coarser droplet size (ASABE S572.1).
   Number of Nozzles - Using the minimum number of nozzles with the highest flow rate that provide uniform coverage will produce a coarser
   droplet spectrum.
   Nozzle Orientation - Orienting nozzles in a manner that minimizes the effects of air shear will produce the coarsest droplet spectra. For
   some nozzles such as solid stream, pointing the nozzles straight back parallel to the airstream will produce a coarser droplet spectrum
   than other orientations.
   Pressure - Selecting the pressure that produces the coarsest droplet spectrum for a particular nozzle and airspeed reduces spray drift
   potential. For some nozzle types such as solid streams, lower pressures can produce finer droplet spectra and increase drift potential.

BOOM LENGTH (AIRCRAFT), AND APPLICATION HEIGHT
  Boom Length (aircraft) - Using shorter booms decreases drift potential. Boom lengths are expressed as a percentage of an aircrafts
  wingspan or a helicopters rotor blade diameter. Shorter boom length and proper positioning can minimize drift caused by wingtip or rotor
  vortices.
  Application Height (aircraft) - Applications made at the lowest height that are consistent with pest control objectives and the safe operation
  of the aircraft will reduce the potential for spray drift. Do not release spray at a height greater than 10 ft above the ground or vegetative
  canopy, unless a greater application height is necessary for pilot safety.
   Application Height (ground) - Applications made at the lowest height consistent with pest control objectives, and that allow the applicator
   to keep the boom level with the application site and minimize bounce, will reduce the exposure of spray droplets to evaporation and wind,
   and reduce spray drift potential.




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WIND
Drift potential is lowest when applications are made in light to gentle sustained winds (2-10 mph), which are blowing in a constant direction.
Many factors, including droplet size and equipment type also determine drift potential at any given wind speed. AVOID GUSTY OR WINDLESS
CONDITIONS.
Local terrain can also influence wind patterns. Every applicator is expected to be familiar with local wind patterns and how they affect spray drift.
For aerial application, if the windspeed is 10 miles per hour or less, applicators must use ¾ swath displacement upwind at the downwind edge of
the field. When the windspeed is between 11-15 miles per hour, applicators must use a full swath displacement upwind at the downwind edge of
the field.
For aerial application, do not apply when wind speeds exceed 15 mph at the application site. If the windspeed is greater than 10 mph, the boom
length must be 65% or less of the wingspan for fixed wing aircraft and 75% or less of the rotor diameter for helicopters. Otherwise, the boom
length must be 75% or less of the wingspan for fixed-wing aircraft and 90% or less of the rotor diameter for helicopters.
TEMPERATURE AND HUMIDITY
Setting up equipment to produce larger droplets to compensate for droplet evaporation can reduce spray drift potential. Droplet evaporation is
most severe when conditions are both hot and dry.
SURFACE TEMPERATURE INVERSIONS
For aerial application, do not apply during temperature inversions.
Drift potential is high during a surface temperature inversion. Surface inversions restrict vertical air mixing, which may cause small suspended
droplets to remain close to the ground and move laterally in a concentrated cloud. Surface inversions are characterized by increasing
temperature with altitude and are common on nights with limited cloud cover and light to no wind. They begin to form as the sun sets and often
continue into the morning. Mist or fog may indicate the presence of an inversion in humid areas. Inversions may also be identified by producing
smoke and observing its behavior. Smoke that remains close to the ground, or moves laterally in a concentrated cloud under low wind conditions
indicates a surface inversion. Smoke that moves upward and rapidly dissipates indicates good vertical air mixing.
SHIELDED SPRAYERS
Shielding the boom or individual nozzles can reduce the effects of wind. However, it is the responsibility of the applicator to verify that the shields
are minimizing drift potential, and not interfering with uniform deposition of the product.
AIR ASSISTED (AIR BLAST) FIELD CROP SPRAYERS
Air assisted field crop sprayers carry droplets to the target via a downward directed air stream. Some may reduce the potential for drift, but if a
sprayer is unsuitable for the application and/or set up improperly, high drift potential can result. It is the responsibility of the applicator to
determine that a sprayer is suitable for the intended application, that it is configured properly, and that drift potential has been minimized.
Note: Air assisted field sprayers can affect product performance by affecting spray coverage and canopy penetration. Read the specific crop use
and application equipment instructions for additional information.

SENSITIVE AREAS
Making applications when there is a sustained wind moving away from adjacent sensitive areas (e.g., residential areas, bodies of water,
known habitat for threatened or endangered species, non-target crops) is an effective way to minimize the effect of spray drift.
DRIFT CONTROL ADDITIVES
Using product compatible drift control additives can reduce drift potential. When a drift control additive is used, read and carefully observe
cautionary statements and all other information on the additives label. If using an additive that increases viscosity, ensure that the nozzles and
other application equipment will function properly with a viscous spray solution. Preferred drift control additives have been certified by the
Council of Producers & Distributors of Agrotechnology.

CROP ROTATION
Crops on this label and the following crops or crop groups may be planted immediately following the last application of BENEVIA®: Brassica
Leafy Greens (Crop Subgroup 4-16B) and Brassica Head and Stem Vegetables (Crop Group 5-16); Bulb Vegetables (Crop Group 3- 07);
Cotton; Cucurbit Vegetables (Crop Group 9); Fruiting Vegetables (Crop Group 8-10); Leafy Greens (Crop Subgroup 4-16A) and Leaf Petiole
Vegetables (Crop Subgroup 22B); Celtuce; Florence Fennel; Leaves of Root and Tuber Vegetables (Crop Group 2); Legume Vegetables
(Crop Groups 6 and 7); Low Growing Berries (Berry and Fruit Crop Subgroup 13-07H); Oilseeds (Crop Group 20); Peanuts; Soybeans; Root
and Tuber Vegetables (Crop Subgroups 1B and 1C); Tobacco.
The following crops or crop groups may be planted 30 days following the last application of BENEVIA®: Cereal Grains (Crop Group 15);
Forage, Fodder and Straw of Cereal Grains (Crop Group 16); Grass Forage, Fodder and Hay (Crop Group 17); Nongrass Animal Feeds
(forage, fodder, straw and hay) (Crop Group 18); Sugar beets.
There is no plant back restriction for conversion of a treated field to, or for making a new or replacement planting into established orchards or
fields of Bushberries (Crop Subgroup 13-07B); Caneberry Subgroup (Crop Subgroup 13-07A); Coffee; Citrus (Crop Group 10-10); Pome Fruits
(Crop Group 11-10); Stone Fruits (Crop Group 12); Low Growing Berries (Crop Subgroup 13-07G); or Tree Nuts (Crop Group 14-12).
All other crops cannot be planted until 12 months after the last application of BENEVIA®.




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                                                                                        BENEVIA® RATE                       PHI          REI
                                                                                                Fluid ounces           (pre-harvest   (re-entry
                                 Application                                        Lb. ai         product               interval)    interval)
               Crop                 Method               Target Pest               per acre        per acre               (days)       (hours)
Bulb Vegetables, (Crop          Foliar             Leafminer                     0.088 - 0.133    13.5 - 20.5                1            12
Group 3-07) Chive, fresh                                (Liriomyza spp.)*
leaves;                                            Thrips
Chive, Chinese, fresh                                   (foliage feeding
leaves;                                                 only)§*
Daylilly, bulb (edible);        Minimum application interval between treatments is 5 days.
Elegans hosta (edible);
Fritillaria, leaves (edible);   Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
Garlic, bulb;                   containing products per calendar year whether applications are made to the soil or
Garlic, great headed, bulb;     foliarly.
Garlic, serpent, bulb;          * - For best performance, use with an effective adjuvant. See Use of Adjuvants
Kurrat;                         section.
Ladys leek;                    § - Suppression only. For best results, use the highest rate listed. Use as part of
Leek;                           an effective thrips control program. Rotate with products with different modes of
Leek, wild;                     action. Begin making applications to thrips when populations are low (1-3 thrips
Lily, bulb;                     per plant). If populations are higher, use an effective thrips knockdown product
Onion, Beltsville bunching;     before applying BENEVIA®.
Onion, bulb;                    See Chemigation - Overhead Sprinkler - Potatoes and Bulb Vegetables section
Onion, Chinese, bulb;           for instructions on overhead sprinkler chemigation.
Onion, fresh;
Onion, green;
Onion,macrostem;
Onion, pearl;
Onion, potato, bulb;
Onion, tree, tops;
Onion, Welsh, tops;
Shallot, bulb;
Shallot, fresh leaves
Cotton                          Foliar            Beet armyworm                   0.045 - 0.11          7 - 17              7            12
                                                  Cotton bollworm
                                                  Fall armyworm
                                                  Saltmarsh caterpillar
                                                  Southern armyworm
                                                  Tobacco budworm
                                                  Western yellowstriped
                                                  armyworm
                                                  Cabbage looper                  0.065 - 0.11          10 - 17
                                                  Soybean looper
                                                   Whitefly*                        0.088 - 0.133        13.5 - 20.5
                                                   Thrips
                                                       (foliage feeding only)§
                                Minimum application interval between treatments is 7 days.
                                Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
                                containing products per calendar year whether applications are made to the soil or
                                foliarly.
                                * - For best performance, use with an effective adjuvant. See Use of Adjuvants
                                section. For high populations of whiteflies, use the highest listed rate.
                                § - Suppression only. Use as part of an effective thrips control program. Rotate
                                with products with different modes of action. Begin making applications to thrips
                                when populations are low. If populations are above threshold, use an effective
                                thrips knockdown product before applying BENEVIA®.
                                 - For Heliothine control (cotton bollworm and/or cotton budworm) make the first
                                application at rates of 0.065 - 0.11 lb ai per acre (10-17 fl oz product/A).
                                Subsequent applications can be at rates of 0.045 - 0.088 lb ai per acre (7 -13.5 fl
                                oz product/A) depending on pressure.
                                Applications of BENEVIA® to seedling cotton may result in crop response.
                                Affected plants outgrow the effects in most cases. If the risk of crop
                                response to BENEVIA® cannot be accepted, do not apply it to seedling
                                cotton.




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                                                                                         BENEVIA® RATE                       PHI          REI
                                                                                                 Fluid ounces          (pre-harvest    (re-entry
                                   Application                                       Lb. ai         product              interval)     interval)
             Crop                     Method               Target Pest              per acre       per acre                (days)       (hours)
Legume vegetables,                Foliar           Corn earworm                   0.065 - 0.133    10 - 20.5           1 (succulent)       12
succulent or dried (Crop                           European corn borer                                                    7 (dried)
Group 6)                                           Leafminer
Bean (Lupinus) (includes
grain lupin, sweet lupin,                          Potato leafhopper§*            0.088 - 0.133        13.5 - 20.5
white lupin, and white sweet                       Thrips
lupin); bean (Phaseolus)                             (foliage feeding only)§*
(includes field bean, kidney                       Whiteflies*
bean, lima bean, navy bean,       § - Suppression only.
pinto bean, runner bean,
                                  *- For best performance, use with an effective adjuvant. See Use of Adjuvants
snap bean, tepary bean, wax
                                  section. Minimum application interval between treatments is 5 days.
bean); bean (Vigna)
(includes adzuki bean,            Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
asparagus bean,                   containing products per calendar year whether applications are made to the soil or
                                  foliarly.
blackeyed pea, catjang,
Chinese longbean, cowpea,         Applications of BENEVIA® to certain species of legume vegetables in this crop
crowder pea, moth bean,           group may result in crop response. Affected plants outgrow the effects in most
mung bean, rice bean,             cases. If the risk of crop response to BENEVIA® cannot be accepted, do not
southern pea, urd bean,           apply it to legume vegetables.
yardlong bean); broad bean
(fava);
chickpea (garbanzo); guar;
jackbean; lablab bean; lentil;
pea (Pisum) includes dwarf
pea,
edible-podded pea, English
pea, field pea, garden pea,
green pea,
snowpea, sugar snap pea);
pigeon pea;
sword bean
Oil Seed Crops (Crop Group        Foliar*          Bertha armyworm                0.045 - 0.088          7 - 13.5           7             12
20) including                                      Diamondback moth
Borage; Calendula; Castor                          Sunflower head moth
oil;    Chinese     tallowtree;                    Crucifer flea beetle            0.045 - 0.11          7 - 17
Crambe;
Cuphea; Echium;                                    Cabbage looper                 0.065 - 0.133         10 - 20.5
Euphorbia; Evening                                 Sunflower seed weevil§
primrose; Flax seed; Gold of
pleasure; Hares ear              Minimum application interval between treatments is 7 days.
mustard; Jojoba;                  Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
Lesquerella; Lunaria;             containing products per calendar year. This is the total from all application
Meadowfoam; Milkweed;             methods (seed treatment and foliar application).
Mustard seed;                     * - For best performance, use with an effective adjuvant. See Use of Adjuvants
Niger seed; Oil radish;           section.
Poppy seed; Rapeseed              § - Suppression only. Use as part of an effective control program. Rotate with
(including canola varieties);     products with different modes of action.
Rose hip; Safflower;
Sesame; Stokes aster;
Sunflower; Sweet rocket;
Tallowwood; Tea oil plant;
Vernonia




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                                                                          BENEVIA® RATE                     PHI          REI
                                                                                  Fluid ounces         (pre-harvest   (re-entry
                   Application                                        Lb. ai         product             interval)    interval)
           Crop       Method               Target Pest               per acre       per acre              (days)       (hours)
Peanuts           Foliar           Corn earworm                    0.065 - 0.133    10 - 20.5               14            12
                                   Fall armyworm
                                   Tobacco budworm
                                   Cutworms                        0.088 - 0.133      13.5 - 20.5
                                   Soybean looper
                                   Lesser cornstalk borer
                                   Thrips
                                    (foliage feeding only)§ * **
                  § - Suppression only.
                  *- For best performance, use with an effective adjuvant. See Use of Adjuvants
                  section.
                  **- Use in conjunction with an effective thrips and tomato spotted wilt virus
                  management program. Minimum application interval between treatments is 7 days.
                  Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
                  containing products per calendar year whether applications are made to the soil or
                  foliarly.
                  Tomato Spotted Wilt Virus Suppression: Use of BENEVIA® to manage thrips
                  which may vector the tomato spotted wilt virus at a rate of 13.5-20.5 fl oz/A
                  applied early season (at cracking) will help suppress and slow the expression of
                  tomato spotted wilt virus in peanuts when used as part of a TSWV management
                  program.
Soybeans          Foliar           Green cloverworm                0.065 - 0.133       10 - 20.5            7            12
                                   Soybean looper
                                   Velvetbean caterpillar
                                   Lesser cornstalk borer          0.088 - 0.133      13.5 - 20.5
                                   Bean leaf beetle§
                                   Japanese beetle
                                   Stink bug species§
                                   Soybean aphid*
                                   Thrips
                                     (foliage feeding only)§*
                  § - Suppression only.
                  *- For best performance, use with an effective adjuvant. See "Use of Adjuvants"
                  section.
                  Minimum application interval between treatments is 5 days.
                  Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
                  containing products per calendar year whether applications are made as a seed
                  treatment, to the soil, or foliarly.
Tobacco           Foliar           Tobacco budworm                 0.065 - 0.133       10 - 20.5            7            12


                                   Tomato hornworm                 0.088 - 0.133      13.5 - 20.5
                                   Tobacco hornworm
                                   Flea beetle
                  Minimum application interval between treatments is 5 days.
                  Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
                  containing products per calendar year whether applications are made to the soil or
                  foliarly.




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                                                                                      BENEVIA® RATE                         PHI          REI
                                                                                              Fluid ounces             (pre-harvest   (re-entry
                             Application                                          Lb. ai         product                 interval)    interval)
             Crop               Method                Target Pest                per acre       per acre                  (days)       (hours)
Tuberous and                Foliar             Colorado potato beetle         0.033 - 0.088     5 - 13.5                    7            12
Corm Vegetables (Crop
Subgroup 1C)                                   Beet armyworm                   0.045 - 0.088           7 - 13.5
including                                      European corn borer
Arracacha; Arrowroot;                          Potato tuberworm*
Artichoke, Chinese;                            Yellowstriped armyworm
Artichoke, Jerusalem;
                                               Cabbage looper                   0.065 - 0.11           10 - 17
Canna, edible; Cassava,
bitter and sweet; Chayote                      Potato flea beetle* §           0.088 - 0.133         13.5 - 20.5
(root); Chufa;                                 Green peach aphid*
Dasheen (taro); Ginger;                        Potato aphid* §
Leren; Potato;
                                               Potato psyllid
Sweet potato; Tanier;
Turmeric; Yam bean; Yam,    Minimum application interval between treatments is 5 days.
true                        Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
                            containing products per calendar year; this is the total of seed piece treatment
                            (potato), soil treatment, and foliar treatment.
                            *- For best performance use with an effective adjuvant. See Use of Adjuvants
                            section.
                            § - Suppression only. Use as part of an effective control program. Rotate with
                            products with different modes of action.
                            - Colorado potato beetle resistance management - Do not apply BENEVIA®
                            more than twice to a generation of Colorado potato beetle or within any 30 day
                            period. Application(s) to the next generation of Colorado potato beetle must be
                            with an effective product with a different mode of action. Do not apply BENEVIA®
                            for Colorado potato beetle control if any cyantraniliprole containing product was
                            used at-plant either as a soil applied or seed treatment.
                             - Potato Tuberworm: BENEVIA® may be applied at rates of 7 to 13.5 fl oz/A
                            to control potato tuberworm. Begin application when field scouting indicates the
                            presence of tuberworm adults and/or larvae. Potato tuberworm often have
                            overlapping generations so repeat applications of BENEVIA® may be needed
                            based on scouting. Avoid treating successive generations with the same mode of
                            action. It is important to protect the crop just prior to harvest when foliage starts to
                            senesce. Use the higher rate of BENEVIA® when tuberworm pressure is high.
                            Failure to adequately control potato tuberworm larvae prior to crop senescence or
                            vine kill increases the risk of tuber damage. Foliar sprays alone, by air or ground,
                            may not provide adequate control of larvae in the mid to lower crop canopy. For
                            best results, apply via overhead chemigation or integrate chemigation applications
                            into the foliar spray program. For best results with foliar sprays, add Methylated
                            seed oil (MSO) adjuvant at 1 gallon per 100 gallons of spray volume (1% v/v). For
                            chemigation applications, apply in 0.1 to 0.2 acre inches of water and add MSO at
                            12 to 16 fl oz/acre. See Chemigation - Overhead Sprinkler - Potatoes and Bulb
                            Vegetables section for instructions on overhead sprinkler chemigation.
                            Suppression of Zebra Chip Disease: Use of BENEVIA® to control potato psyllid
                            which may vector zebra chip disease at a rate of 13.5 to 20.5 fl. oz./A applied
                            starting when psyllid populations are low will help suppress the expression of the
                            zebra chip disease.




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                                                                                          BENEVIA® RATE                       PHI          REI
                                                                                                  Fluid ounces           (pre-harvest   (re-entry
                                 Application                                          Lb. ai         product               interval)    interval)
            Crop                    Method                Target Pest                per acre       per acre                (days)       (hours)
Tree Nuts                       Foliar*           Hickory shuckworm                0.055 - 0.11      8.5 - 17                  5            12
(Crop Group 14-12) including                      Pecan nut casebearer
African nut-tree; almond;
beechnut; Brazil nut;
Brazilian pine; bunya; bur
oak; butternut; Cajou nut;                        Codling moth                   0.065 - 0.133          10 - 20.5
candlenut; cashew;                                Obliquebanded leafroller
chestnut; chinquapin;                             Oriental fruit moth
coconut; coquito nut; dika
                                                  Peach twig borer
nut; ginkgo; Guiana
chestnut; hazelnut (filbert);                     Navel orangeworm             0.088 - 0.133         13.5 - 20.5
heartnut; hickory nut;                            Walnut aphid
Japanese horse-chestnut;
macadamia nut; mongongo
nut; monkey-pot; monkey         Minimum application interval between treatments is 7 days.
puzzle nut; Okari nut;          Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR® or cyantraniliprole
Pachira nut; peach palm nut;    containing products per calendar year.
pecan; pequi; Pili nut; pine    Make no more than 3 applications of BENEVIA® or other Group 28 insecticides
nut; pistachio; Sapucaia nut;   within a single generation of the target pest on a crop.
tropical almond; walnut,        Spray Volume: Thorough coverage is essential to achieve best results. Select a
black; walnut, English;         spray volume appropriate for the size of trees or plants and density of foliage. Where
yellowhorn; cultivars,          higher spray volumes are used, apply a higher rate in the specified rate
varieties, and/or hybrids       range. Do not apply less than 30 gallons of water per acre by ground. For best
of these                        results apply 100-150 gallons of water per acre.
                                * - For best performance use with an effective adjuvant. See Use of Adjuvants
                                section.
                                 - Codling moth (Walnut): Make initial application at or before peak egg lay for
                                targeted generation.
                                Depending on level of infestation reapply 14 days later as needed. Use higher
                                rates and ground application equipment to achieve thorough coverage.
                                 - Peach Twig Borer: BENEVIA® may be used throughout the growing
                                season. For dormant applications an EPA registered dormant oil may be added to
                                the application. For specific directions on use of oil, consult manufacturers
                                specific oil labels for precautions and restrictions regarding the use of oils in tree
                                nut crops. For best performance, apply using ground equipment to achieve
                                thorough uniform coverage of all scaffolds and limbs. For spring application to
                                overwintering generation: Make applications at late dormant (just prior to bud
                                break) to early bloom. For April - May applications to the summer generation:
                                Make applications at peak moth flight (timed at or before peak egg lay). Higher
                                rates in the labeled rate range may be needed for higher infestation levels and
                                large, dense foliage trees.
                                 - Navel orange worm: Applications can be made during the May spray or
                                Hull split application timing. For applications made at Hull split timing - Make
                                an application at 1- 2% hull-split timing; make a second application approximately
                                10-14 days later. Depending on level of pest infestation, use of higher rates in the
                                labeled rate range and multiple applications may be needed.




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     STORAGE AND DISPOSAL
     Do not contaminate water, food, or feed by storage or disposal.
     PESTICIDE STORAGE: Do not subject to temperatures below 32 degrees F. Store product in original container only in a location
     inaccessible to children and pets. Do not contaminate water, other pesticides, fertilizer, food or feed in storage. Not for use or storage in or
     around the home.
     PESTICIDE DISPOSAL: Do not contaminate water, food or feed by storage or disposal. Wastes resulting from the use of this product
     must be disposed of on site or at an approved waste disposal facility.
     CONTAINER HANDLING: Refer to the Net Contents section of this products labeling for the applicable Refillable Container or
     Nonrefillable Container designation.
     Nonrefillable Rigid Plastic and Metal Containers (Capacity Equal to or Less Than 5 Gallons): Nonrefillable container. Do not reuse or
     refill this container. Triple rinse container (or equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining contents into
     application equipment or a mix tank and drain for 10 seconds after the flow begins to drip. Fill the container 1/4 full with water and recap.
     Shake for 10 seconds. Pour rinsate into application equipment or a mix tank or store rinsate for later use or disposal. Drain for 10 seconds
     after the flow begins to drip. Repeat this procedure two more times. Then, for Plastic Containers, offer for recycling if available or puncture
     and dispose of in a sanitary landfill, or by incineration. Do not burn, unless allowed by state and local ordinances. For Metal Containers,
     offer for recycling if available or reconditioning if appropriate, or puncture and dispose of in a sanitary landfill, or by other procedures
     approved by state and local authorities.
     Nonrefillable Rigid Plastic and Metal Containers (Capacity Greater Than 5 Gallons): Nonrefillable container. Do not reuse or refill this
     container. Triple rinse container (or equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining contents into
     application equipment or a mix tank. Fill the container 1/4 full with water. Replace and tighten closures. Tip container on its side and roll it
     back and forth, ensuring at least one complete revolution, for 30 seconds. Stand the container on its end and tip it back and forth several
     times. Turn the container over onto its other end and tip it back and forth several times. Empty the rinsate into application equipment or a
     mix tank or store rinsate for later use or disposal. Repeat this procedure two more times. Then, for Plastic Containers, offer for recycling if
     available or puncture and dispose of in a sanitary landfill, or by incineration. Do not burn, unless allowed by state and local ordinances. For
     Metal Containers, offer for recycling if available or reconditioning if appropriate, or puncture and dispose of in a sanitary landfill, or by other
     procedures approved by state and local authorities.
     Nonrefillable Rigid Plastic and Metal Containers, e.g., Intermediate Bulk Containers [IBC] (Size or Shape Too Large to be Tipped,
     Rolled or Turned Upside Down): Nonrefillable container. Do not reuse or refill this container. Clean container promptly after emptying
     the contents from this container into application equipment or mix tank and before final disposal using the following pressure rinsing
     procedure. Insert a lance fitted with a suitable tank cleaning nozzle into the container and ensure that the water spray thoroughly covers
     the top, bottom and all sides inside the container. The nozzle manufacturer generally provides instructions for the appropriate spray
     pressure, spray duration and/or spray volume. If the manufacturers instructions are not available, pressure rinse the container for at least
     60 seconds using a minimum pressure of 30 PSI with a minimum rinse volume of 10% of the container volume. Drain, pour or pump
     rinsate into application equipment or rinsate collection system. Repeat this pressure rinsing procedure two more times. Then, for Plastic
     Containers, offer for recycling if available or puncture and dispose of in a sanitary landfill, or by incineration. For Metal Containers, offer for
     recycling if available or reconditioning if appropriate, or puncture and dispose of in a sanitary landfill, or by other procedures approved by
     state and local authorities.
     All Refillable Containers: Refillable container. Refilling Container: Refill this container with BENEVIA® containing cyantraniliprole only.
     Do not reuse this container for any other purpose. Cleaning before refilling is the responsibility of the refiller. Prior to refilling, inspect
     carefully for damage such as cracks, punctures, abrasions, worn out threads and closure devices. If damage is found, do not use
     container, contact FMC at the number below for instructions. Check for leaks after refilling and before transporting. If leaks are found, do
     not reuse or transport container, contact FMC at the number below for instructions. Disposing of Container: Do not reuse this container
     for any other purpose other than refilling (see preceding). Cleaning the container before final disposal is the responsibility of the person
     disposing of the container. To clean the container before final disposal, use the following pressure rinsing procedure. Insert a lance fitted
     with a suitable tank cleaning nozzle into the container and ensure that the water spray thoroughly covers the top, bottom and all sides
     inside the container. The nozzle manufacturer generally provides instructions for the appropriate spray pressure, spray duration and/or
     spray volume. If the manufacturers instructions are not available, pressure rinse the container for at least 60 seconds using a minimum
     pressure of 30 PSI with a minimum rinse volume of 10% of the container volume. Drain, pour or pump rinsate into application equipment
     or rinsate collection system. Repeat this pressure rinsing procedure two more times. Then, for Plastic Containers, offer for recycling if
     available or puncture and dispose of in a sanitary landfill, or by incineration. Do not burn, unless allowed by state and local ordinances.
     For Metal Containers, offer for recycling if available or reconditioning if appropriate, or puncture and dispose of in a sanitary landfill, or by
     other procedures approved by state and local authorities.
     Do not transport if container is damaged or leaking. If the container is damaged, leaking or obsolete, or in the event of a major spill, fire or
     other emergency, contact CHEMTREC (Transportation and Spills) at 1-800-424-9300, day or night.




    NOTICE TO BUYER  Purchase of this material does not confer any rights under patents of countries outside of the United States.
    FMC, BENEVIA® and CYAZYPYR® are trademarks or registered trademarks of FMC Corporation or an affiliate. "Tanos" is a
    registered trademark of Corteva
    Cabrio is a registered trademark of BASF SE
    Quadris and Bravo Weather Stik are registered trademarks of a Syngenta Group Company Rally is a
    registered trademark of DowAgroSciences LLC
    Manzate is a registered trademark of United Phosphorous Limited

    D-4793 080423



                                                                            15
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           CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY
Notice: Read the entire Directions for Use and Conditions of Sale and Limitation of Warranty and Liability before buying or using this
product. If the terms are not acceptable, return the product at once, unopened, and the purchase price will be refunded.
The Directions for Use of this product must be followed carefully. It is impossible to eliminate all risks inherently associated with the use of
this product. Crop injury, ineffectiveness, or other unintended consequences may result because of such factors as manner of use or
application, weather or crop conditions beyond the control of FMC or Seller. To the extent consistent with applicable law, all such risks shall
be assumed by Buyer and User, and, to the extent consistent with applicable law, Buyer and User agree to hold FMC and Seller harmless
for any claims relating to such factors.
Seller warrants that this product conforms to the chemical description on the label and is reasonably fit for the purposes stated
on the Directions for Use when used in accordance with the directions under normal conditions of use. TO THE EXTENT
CONSISTENT WITH APPLICABLE LAW, FMC MAKES NO WARRANTIES OF MERCHANTABILITY OR OF FITNESS FOR A
PARTICULAR PURPOSE, NOR ANY OTHER EXPRESS OR IMPLIED WARRANTIES WITH RESPECT TO THE SELECTION,
PURCHASE, OR USE OF THIS PRODUCT. Any warranties, express or implied, having been made are inapplicable if this product
has been used contrary to label instructions, or under abnormal conditions, or under conditions not reasonably foreseeable to (or
beyond the control of) Seller or FMC, and, to the extent permitted by applicable law, Buyer assumes the risk of any such use.
To the extent consistent with applicable law, FMC or Seller shall not be liable for any incidental, consequential or special damages resulting
from the use or handling of this product. TO THE EXTENT CONSISTENT WITH APPLICABLE LAW, THE EXCLUSIVE REMEDY OF THE
USER OR BUYER, AND THE EXCLUSIVE LIABILITY OF FMC AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES OR
DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY, CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR
OTHERWISE) RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE RETURN OF THE PURCHASE
PRICE OF THE PRODUCT OR, AT THE ELECTION OF FMC OR SELLER, THE REPLACEMENT OF THE PRODUCT.
This Condition of Sale and Limitation of Warranty and Liability may not be amended by any oral or written agreement.




                                      FMC Corporation, 2929 Walnut Street, Philadelphia, PA 19104
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                               Attachment 5
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                         UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                      WASHINGTON, DC 20460

                                                                                        OFFICE OF CHEMICAL SAFETY
                                                                                        AND POLLUTION PREVENTION
                                                       September 27, 2023

Jake Vukich
Senior Product Registration Manager
FMC Corporation
2929 Walnut Street
Philadelphia, PA 19104

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Benevia Insect Control, Exirel Insect Control and Verimark Insect
                         Control
                         EPA Registration Numbers: 279-9614, 279-9615 and 279-9616
                         Application Date: June 15, 2023
                         Decision Numbers: 593329, 593330 and 593331

Dear Mr. Vukich:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly,
EPA has approved the requested registration amendments, provided FMC Corporation (“FMC”)
complies with all terms and conditions listed below.

Terms and Conditions

FMC must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with,
the registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made
         may affect, likely to adversely affect (LAA), determinations for certain listed species and
         designated critical habitats for products containing cyantraniliprole (including this product).
         For these LAA determinations, EPA also assessed the potential likelihood of jeopardy or
         adverse modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1).
         EPA predicted no potential likelihood of jeopardy for listed species or adverse modification
         for designated critical habitat. On September 25, 2023, EPA initiated formal consultation
         with the Services. The Services will make the final determination as to the potential for


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        jeopardy for listed species or adverse modification for designated critical habitat in any final
        biological opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in
        any applicable Biological Opinion, EPA will notify FMC in writing within 45 calendar days
        of the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days
        of receiving EPA’s notice, FMC must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, FMC may respond by
        submitting a request for voluntary cancellation of this product. If FMC fails to comply with
        this term, FMC has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under FMC’s control, FMC
       must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by FMC
       under the previously approved labeling for no longer than 12 months from the date of this
       letter or 75 days after the final state approval from those submitted under Term #2,
       whichever is earlier.

    4. Nothing in Terms #2-3 should be read to obligate FMC to provide additional labeling for
       product that bears the previously approved label but is not under FMC’s control as of the
       date of this letter. However, FMC should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2



1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the
claims made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials
submitted and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and
others containing cyantraniliprole, EPA considered risks and benefits of approving the registrations
and registration amendments. To determine the risks and benefits, the Agency reviews a large body
of information to determine the effects of using these products. In assessing the risks from use of
products containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and
ecological and environment fate risk assessments. 6 EPA also updated its ecological and
environmental fate risk assessments in support of the 2023 draft biological evaluation (BE). 7 EPA
believes that that these risk assessments (and the benefits discussed below) are also applicable to the
action to approve this amended registration.

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because
the Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose

3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary
Exposure and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential
Exposure and Risk Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28,
2013) (EPA-HQ-OPP-2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the
New Active Insecticide Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary
Exposure and Risk Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-
0357-0009); Human Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S.
Registration (Jan. 12, 2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data
(Apr. 21, 2016) (EPA-HQ-OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016)
(EPA-HQ-OPP-2014-0357-0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on
Coffee; Caneberry Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry
and Lingonberry; Brassica Leafy Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-
OPP-2017-0694-0011); Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance
Requests on Coffee; Caneberry Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry,
Lowbush Blueberry and Lingonberry; Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-
0694-0012); Human Health Risk Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-
OPP-2021-0154-0007); Highly Refined Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed
Inadvertent Use and Tolerance Request on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and
Cucurbit Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological
Risk Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-
OPP-2011-0668, Document ID Nos. 71-72, 75-87.
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an acute risk to humans). In general, CTP produces both adverse and adaptive changes in the liver,
thyroid gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate
increases in liver weights are observed across multiple species (rats, mice, dogs). CTP was
classified as “not likely to be carcinogenic to humans” based upon data demonstrating lack of
treatment-related increase in tumor incidence in rats and mice. No cumulative effects were
identified. CTP presents no mutagenicity, neurotoxicity, immunotoxicity, developmental
reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and
terrestrial invertebrates. Overall, however, the major risks of concerns are for direct effects to
freshwater, estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of
concerns for birds, reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity
on a wide variety of target insects on a variety of crops. CTP is effective for controlling aphids,
weevils and thrips—all major agricultural pests. CTP is not expected to pose any acute risk to
humans and was registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to
alternative chemicals available at that time. CTP also poses lower risk to non-target organisms
relative to alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed
species, including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications
         to reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in
         Bulletins Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in
increased exposures 8 and because EPA continues to believe that—consistent with the 2014
registration decision 9 and other previous registration decision for products contain
cyantraniliprole—the benefits of these registrations outweigh any remaining risks of concern from

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that
the mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce
exposures to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24,
2014) (EPA-HQ-OPP-2011-0668-0057).
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its use and there are no human dietary risks from uses of cyantraniliprole that are inconsistent with
the FFDCA safety standard. 10 Accordingly, EPA is approving these registration amendments
because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all
previously accepted labeling. You must submit one copy of the final printed labeling before you
release the product for shipment with the new labeling. Consistent with Terms 2-5 above, and not
withstanding 40 C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the
final stamped label associated with this approval letter or with accompanying labeling that
incorporates the mitigations in this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our
attention that a website contains false or misleading statements or claims substantially differing
from the EPA-approved registration, the product will be referred to EPA’s Office of Enforcement
and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at
benbow.gene@epa.gov.
                                                   Sincerely,



                                                             Deanna (Dee) Colby, Chief
                                                             Invertebrate & Vertebrate Branch 3
                                                             Registration Division
                                                             Office of Pesticide Programs


Enclosure



10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any
unreasonable risk to [humans] or the environment, taking into account the economic, social, and environmental costs
and benefits of the use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                                                  CYANTRANILIPROLE                   GROUP          28    INSECTICIDE




WITH CYAZYPYR® active

 For foliar applications to brassica (leafy, and head and stem), bulb, cucurbit, fruiting, leafy green, leaf petiole, legume, root
 and tuberous and corm vegetables; commercially grown greenhouse cucumber, eggplant, pepper and tomato; cotton, oil
 seed crops; strawberries; bushberries; caneberries; coffee; low growing berries; peanuts; soybeans; citrus, pome, and stone
 fruits; tree nuts; and tobacco for pest management of sucking and chewing insects that can vector certain plant diseases,
 aiding in optimization of the crop's potential.
 Active Ingredient                                                                                                   By Weight
 Cyantraniliprole
 3-bromo-1-(3-chloro-2-pyridinyl)-N-[4-cyano-2-methyl-6-[(methylamino) carbonyl]phenyl]-1H-pyrazole-5-
 carboxamide                                                                                                              10.20%
 Other Ingredients                                                                                                        89.80%
 TOTAL                                                                                                                   100.00%
 EXIREL® insect control is a suspoemulsion (oil in water emulsion). SHAKE WELL BEFORE USING.
 Contains 0.83 lb. active ingredient per gallon.
 EPA Reg. No. 279-9615                                                                               EPA Est. No.
 Nonrefillable Container                                 Refillable Container
 Net:                               OR                  Net:

  Not for sale, sale into, distribution and/or use in Nassau and Suffolk counties of New York State.



                                      KEEP OUT OF REACH OF CHILDREN
                                                          CAUTION
Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en detalle. (If you do not understand the
label, find someone to explain it to you in detail.)
                                                         FIRST AID
IF ON SKIN: Take off contaminated clothing. Rinse skin immediately with plenty of water for 15-20 minutes. Call a poison
control center or doctor for treatment advice.
IF IN EYES: Hold eye open and rinse slowly and gently with water for 15-20 minutes. Remove contact lenses, if present, after
the first 5 minutes, then continue rinsing. Call a poison control center or doctor for treatment advice.
For questions regarding emergency medical treatment, you may contact 1-800-331-3148 for information.
                                         PRECAUTIONARY STATEMENTS
                                HAZARDS TO HUMANS AND DOMESTIC ANIMALS
CAUTION: Causes moderate eye irritation. Avoid contact with eyes, skin or clothing. Prolonged or frequently repeated
skin contact may cause allergic reactions in some individuals.
                                   PERSONAL PROTECTIVE EQUIPMENT
Applicators and other handlers must wear:
  Long-sleeved shirt and long pants.
  Chemical resistant gloves Category A (such as butyl rubber, natural rubber, neoprene rubber, or nitrile rubber), all
  > 14 mils.
  Shoes plus socks.



    Sold By



    FMC Corporation
    2929 Walnut Street
    Philadelphia, PA 19104

                                                                 1
After
USCA  the product
          Case has   been diluted inDocument
                  #23-1329           accordance with label directions for use,
                                                  #2028368                     shirt, pants,
                                                                            Filed:           socks, and shoes
                                                                                      11/22/2023              are sufficient
                                                                                                           Page    119 of 473
Personal Protective Equipment. Follow manufacturers instructions for cleaning/maintaining personal protective
equipment (PPE). If no such instructions for washables are available, use detergent and hot water. Keep and wash PPE
separately from other laundry.

                                     USER SAFETY RECOMMENDATIONS
 USERS SHOULD: Wash hands before eating, drinking, chewing gum, using tobacco or using the toilet. Remove
 clothing immediately if pesticide gets inside. Then wash thoroughly and put on clean clothing.

                                      PHYSICAL OR CHEMICAL HAZARDS
Do not place product near or allow product to come into contact with strong oxidizing substances (such as potassium
permanganate) since a hazardous chemical reaction may occur.
                                            ENVIRONMENTAL HAZARDS
This pesticide is toxic to aquatic invertebrates and oysters. Do not apply directly to water. Drift and runoff may be
hazardous to aquatic organisms in water adjacent to use sites. This product is highly toxic to bees exposed to direct
treatment on blooming crops or weeds. Do not apply this product or allow it to drift to blooming crops or weeds if bees are
foraging the treatment area.
Surface Water Advisory-
This product may impact surface water quality due to runoff of rain water. This is especially true for poorly draining soils
and soils with shallow ground water. This product is classified as having high potential for reaching surface water via
runoff for several weeks after application. A level, well-maintained vegetative buffer strip between areas to which this
product is applied and surface water features such as ponds, streams, and springs will reduce the potential loading of
cyantraniliprole from runoff water and sediment. Runoff of this product will be reduced by avoiding applications when
rainfall is forecasted to occur within 48 hours.
Ground Water Advisory-
This chemical has properties and characteristics associated with chemicals detected in ground water. This chemical may
leach into ground water if used in areas where soils are permeable, particularly where the water table is shallow.

                                      PROTECTION OF POLLINATORS




                         APPLICATION RESTRICTIONS EXIST FOR THIS PRODUCT BECAUSE OF
RISK TO BEES AND OTHER INSECT POLLINATORS. FOLLOW APPLICATION RESTRICTIONS FOUND IN THE
DIRECTIONS FOR USE TO PROTECT POLLINATORS.




Look for the bee hazard icon                             in the Directions for Use for each application site for specific use
restrictions and instructions to protect bees and other insect pollinators.
This product can kill bees and other insect pollinators.
Bees and other insect pollinators will forage on plants when they flower, shed pollen, or produce nectar.
Bees and other insect pollinators can be exposed to this pesticide from:
 Direct contact during foliar applications, or contact with residues on plant surfaces after foliar applications
 Ingestion of residues in nectar and pollen resulting from foliar applications.
When Using This Product Take Steps To:
 Minimize exposure of this product to bees and other insect pollinators when they are foraging on pollinator attractive plants
  in and around the application site.
 Minimize drift of this product on to beehives or to off-site pollinator attractive habitat. Drift of this product onto beehives or
  off-site to pollinator attractive habitat can result in bee kills.
Information on protecting bees and other insect pollinators may be found at the Pesticide Environmental Stewardship website
at: http://pesticidestewardship.org/PollinatorProtection/Pages/default.aspx.
Pesticide incidents (for example, bee kills) should immediately be reported to the state/tribal lead agency. For contact
information for your state, go to: www.aapco.org/officials.html. Pesticide incidents should also be reported to the National
Pesticide Information Center at: www.npic.orst.edu or directly to EPA at: beekill@epa.gov


                                                                  2
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DIRECTIONS FOR USE
It is a violation of Federal law to use this product in a manner inconsistent with its labeling.
Do not apply this product in a way that will contact workers or other persons, either directly or through drift. Only protected
handlers may be in the area during application.
For any requirements, specific to your State or Tribe, consult the State or Tribal agency responsible for pesticide regulation.

ENDANGERED AND THREATENED SPECIES PROTECTION REQUIREMENTS: Before using this product, you must
obtain any applicable Endangered Species Protection Bulletins (Bulletins) within six months prior to or on the day of
application. To obtain Bulletins, go to Bulletins Live! Two (BLT) at https://www.epa.gov/pesticides/bulletins. When using this
product, you must follow all directions and restrictions contained in any applicable Bulletin(s) for the area where you are
applying the product, including any restrictions on application timing if applicable. It is a violation of Federal law to use this
product in a manner inconsistent with its labeling, including this labeling instruction to follow all directions and restrictions
contained in any applicable Bulletin(s). For general questions or technical help, call 1-844-447-3813, or email ESPP@epa.gov.

1.   FOR CROPS UNDER CONTRACTED POLLINATION SERVICES




                    Do not apply this product while bees are foraging. Do not apply this product until flowering is complete and
all petals have fallen unless the following condition has been met.
 If an application must be made when managed bees are at the treatment site, the beekeeper providing the pollination services
  must be notified no less than 48-hours prior to the time of the planned application so that the bees can be removed, covered
  or otherwise protected prior to spraying.
2.   FOR FOOD CROPS AND COMMERCIALLY GROWN ORNAMENTALS NOT UNDER CONTRACT
     FOR POLLINATION SERVICES BUT ARE ATTRACTIVE TO POLLINATORS




                    Do not apply this product while bees are foraging. Do not apply this product until flowering is complete and
all petals have fallen unless one of the following conditions is met:
 The application is made to the target site after sunset
 The application is made to the target site when temperatures are below 55F
 The application is made in accordance with a government-initiated public health response
 The application is made in accordance with an active state-administered apiary registry program where beekeepers are
  notified no less than 48-hours prior to the time of the planned application so that the bees can be removed, covered or
  otherwise protected prior to spraying
 The application is made due to an imminent threat of significant crop loss, and a documented determination consistent with
  an IPM plan or predetermined economic threshold is met. Every effort should be made to notify beekeepers no less than 48-
  hours prior to the time of the planned application so that the bees can be removed, covered or otherwise protected prior to
  spraying.
RESTRICTIONS
 Do not make ground applications within 25 or aerial applications within 50 of aquatic habitats (such as, but not limited to,
  lakes, reservoirs, rivers, permanent streams, wetlands or natural ponds, estuaries, and commercial fish farm ponds). Do not
  cultivate within 30 of these aquatic areas to allow growth of a vegetative filter strip.
 For foliar uses, do not apply during rain.
 When making air blast applications to orchard crops, including citrus, with sparse canopies a 25 foot buffer is required between
  the application site and all adjacent areas except for roads (and other paved or gravel surfaces), agricultural areas (fields that
  have been planted into or prepared for planting), and structural areas (buildings or other man-made structures with walls and/or
  a roof). A sparse canopy occurs during the period of dormancy starting from first leaf drop at the end of the season until
  vegetation is fully leafed out in the spring, and on young orchard crops, including citrus, that are not yet bearing.
 Do not treat plants grown for transplanting. Not for use in nurseries, plant propagation houses, or greenhouses by commercial
  transplant producers on plants being grown for transplanting.
 Do not use on crops grown to harvest in greenhouses unless specified in the crop section of this label.
 Do not apply EXIREL insect control to the soil or through drip irrigation systems.
 May be used on crops on this label grown for seed production.
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 Do not use in residential areas.
 Do not apply EXIREL insect control through any irrigation system unless specified in the crop section of this label.
 Unless otherwise stated for a specific crop, do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or
  cyantraniliprole containing products per calendar year. This is the total from all application methods (eg. seed, soil, foliar).



   AGRICULTURAL USE REQUIREMENTS
   EXIREL insect control must be used only in accordance with its labeling and with the Worker Protection Standard, 40 CFR Part 170.
   This standard contains requirements for the protection of agricultural workers on farms, forests, nurseries, and greenhouses, and
   handlers of agricultural pesticides. It contains requirements for training, decontamination, notification, and emergency assistance. It
   also contains specific instructions and exceptions pertaining to the statements on the label about personal protective equipment,
   restricted-entry interval, and notification to workers (as applicable).
   Do not enter or allow worker entry into treated areas during the restricted-entry interval (REI) of 12 hours.
   For early entry into treated areas that is permitted under the Worker Protection Standard and that involves contact with anything that
   has been treated, such as plants, soil, or water, wear:
    Coveralls
    Shoes plus socks
    Chemical resistant gloves Category A (such as butyl rubber, natural rubber, neoprene rubber, or nitrile rubber), all
   > 14 mils



EXIREL insect control must be used in accordance with the directions for use on this label, or as otherwise permitted by
FIFRA. Always read the entire label, including the Limitation of Warranty and Liability.
EXIREL insect control is a suspoemulsion (oil in water emulsion) that can be applied as a foliar spray on labeled crops or by
overhead chemigation in cranberries, potatoes and bulb vegetables to control listed insects. EXIREL insect control is
specially formulated for maximum performance by foliar applications in brassica, bulb, cucurbit, fruiting, leafy, legume, root
and tuberous and corm vegetables; commercially grown greenhouse cucumber, eggplant, pepper and tomato; cotton, oil seed
crops; strawberries; bushberries; caneberries; coffee; low growing berries; peanuts; soybeans; citrus, pome, and stone fruits;
tree nuts; and tobacco. Do not apply directly to the soil or through drip irrigation as doing so may damage the plant root
system. EXIREL insect control is mixed with water for application.
EXIREL insect control is a member of the anthranilic diamide class of insecticides with a novel mode of action acting on
insect ryanodine receptors. Although EXIREL insect control has contact activity, it is most effective through ingestion of
treated plant material. After exposure to EXIREL insect control, affected insects will rapidly stop feeding, become
paralyzed, and typically die within 1 - 3 days, reducing both direct damage and the transmission of some insect transmitted
diseases. Early season applications of EXIREL insect control improve crop establishment and growth vigor by controlling a
range of pests that attack seedlings. Time applications to the most susceptible insect pest stage, typically at egg hatch
and/or newly hatched larvae or nymphs, before populations reach damaging levels. When pest populations are high, use
the highest listed application rate for that pest. For best results when targeting control of sucking pests, begin applications
when insect populations first appear. EXIREL insect control has preventative activity but low curative activity for sucking
pests.


INTEGRATED PEST MANAGEMENT
FMC supports the use of Integrated Pest Management (IPM) programs to control pests. This product may be used as part of
an IPM program, which can include biological, cultural, and genetic practices, aimed at preventing economic pest damage.
IPM principles and practices include field scouting or other detection methods, correct target pest identification, population
monitoring, rotation of insecticides with different modes-of-action, and treating when target pest populations reach locally
determined action thresholds. For best results on sucking pests, begin applications when populations first appear. Consult
your state cooperative extension service, professional consultants or other qualified authorities to determine appropriate
action treatment threshold levels for treating specific pest/crop or site systems in your area.
SCOUTING
Monitor insect populations to determine if there is a need for application of EXIREL insect control based on label
recommendations and locally determined pest management guidelines. More than one treatment of EXIREL insect control
may be required to control a pest population.




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  INSECT RESISTANCE MANAGEMENT
  EXIREL insect control contains the active ingredient cyantraniliprole and is a Group 28 insecticide based on the mode of action
  classification system of the International Insecticide Resistance Action Committee (IRAC). Insecticides with the same Group
  Number affect the same biological site of action on the target pest and when used repeatedly in the same treatment area,
  naturally-occurring resistant individuals may survive correctly applied insecticide treatments, reproduce, and become dominant.
  To avoid or delay the development of insecticide resistance, a resistance management strategy should be established for the use
  area. This strategy may include incorporation of cultural and biological control practices, alternation to different mode of action
  insecticides on succeeding generations, and targeting the most susceptible life stage. Consult your local or state agricultural
  authorities and product manufacturer for more information about developing a resistance management strategy.
  Unless directed otherwise in the specific crop/pest sections of this label, the best practices are to follow these guidelines to delay
  the development of insecticide resistance:
 Apply EXIREL insect control and other Group 28 insecticides within a single treatment window to minimize exposing
  multiple successive generations of a pest species to the same mode of action insecticides.
 A treatment window is defined as the period of insecticidal activity provided by one or more applications of products with the
  same mode of action.
 A treatment window, including residual control, should not exceed 30 days (the length of a typical pest generation).
 Within the Group 28 treatment window, make no more than 2 applications of EXIREL insect control or other Group 28
  insecticides.
 Following a Group 28 treatment window, rotate to a treatment window of effective insecticides with a different mode of
  action (Group Number).
 The period between Group 28 treatment windows should be at least 30 days.
 The total exposure of all Group 28 products applied throughout the crop cycle (from seedling to harvest) should not exceed
  approximately 50% of the crop cycle or 50% of the total number of insecticide applications targeted at the same pest species.
 For short cycle crops (< 50 days), the duration of the crop cycle may be considered as the Group 28 treatment window as long
  as no Group 28 insecticides are used during the next crop cycle at the same farm location.
 Avoid using less than labeled rates of EXIREL insect control when applied alone or in tank mixtures.
 Target the most susceptible insect life stages whenever possible.
 Monitor insect populations for product effectiveness. If poor performance occurs and it cannot be attributed to improper
  application or extreme weather conditions, a resistant pest population may be present.
  If resistance to EXIREL insect control develops in your area, EXIREL insect control or other products with a similar mode of
  action (Group 28) may not provide adequate control. If you experience difficulty with control and resistance is a reasonable
  cause, immediately consult your local company representative or agricultural advisor for the best alternate method of control for
  your area.
  For additional information on insect resistance monitoring, visit the Insecticide Resistance Action Committee (IRAC) on the web
  at http://www.irac-online.org.
  APPLICATION
  Apply at the specified rates when insect populations reach locally determined action thresholds. For best results on sucking
  pests, begin applications when pests first appear. Consult the cooperative extension service, professional consultants or other
  qualified authorities for local pest management guidelines in your area.
  Apply follow-up treatments of EXIREL insect control, as specified, to keep pest populations under threshold limits. Refer to
  the Resistance Management section of this label for further guidance on follow-up treatments. See individual crop sections of
  this label for specific minimum spray intervals.
  Use sufficient water to obtain thorough, uniform coverage.
  EXIREL insect control may be applied by foliar ground or aerial application equipment. Not all application methods are
  allowed on all crops; see specific crop sections of this label or other supplemental labeling for application methods which
  may be used. For aerial application use the following directions unless otherwise specified in specific crop/pest sections of
  this label or other supplemental labeling: use a minimum of 5 gallons per acre (gpa) of water for vegetable crops and 10
  gallons per acre (gpa) for all fruit and nut crops. The highest labeled rate for a specified pest may be necessary when aerial
  applications are made. For ground foliar applications use the following directions, unless otherwise specified in specific
  crop/pest sections of this label or other supplemental labeling: use a minimum of 10 gal per acre (gpa) of water for all
  vegetable crops and 30 gallons per acre (gpa) for all fruit and nut crops.
   Use of Adjuvants - In some situations where coverage is difficult to achieve such as closed canopy, dense foliage, plants with
  waxy leaf surfaces, or less than optimum application equipment, an adjuvant may improve performance. Use a proven and
  recommended adjuvant that does not affect foliage and/or fruit finish. Tank mixes of EXIREL insect control with spreading and
  penetrating adjuvants can result in adverse crop response. See specific crop instructions in the following crop tables.



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SPRAY PREPARATION
Spray equipment must be clean and free of previous pesticide deposits before applying EXIREL insect control. Fill spray
tank 1/4 to 1/2 full of water. Add EXIREL insect control directly to spray tank. Mix thoroughly to fully disperse the
insecticide, once dispersed continued agitation is required. Use mechanical or hydraulic means; do not use air agitation.
Observe the most restrictive of the labeling limitations and precautions of all products used in mixtures.
Acidification of Spray Tank: If the pH of the spray tank after all products have been added and mixed is above pH 8,
adjust to pH 8 or less using a registered acidifying agent. If the spray tank pH is 8 or less no adjustment of the spray tank
pH is necessary. Spray tanks of pH 8 or less can be held for up to 8 hours before spraying. Do not store the spray mixture
overnight in the spray tank.
Compatibility -Since formulations may be changed and new ones introduced, premix a small quantity of a desired tank mix
and observe for physical incompatibility (settling out, flocculation, etc.). Spray volumes of less than 3 gallons of water and
tank mixtures of more than two products can increase the chances of incompatible spray mixtures. A jar test (as described
below) should be conducted when label guidance is not given or prior experience with a specific tank mixture is unknown.
The jar test should follow the proper sequence of addition at the spray water volume planned to assure that the tank mix is
compatible. Constant agitation may be needed during mixing and spraying of mixtures.
This product can be mixed with pesticide products labeled for use on crops on this label in accordance with the most
restrictive of label limitations and precautions. It is the pesticide user's responsibility to ensure that all products are
registered for the intended use. Read and follow the applicable restrictions and limitations, and directions for use, on all
product labels involved in tank mixing. Users must follow the most restrictive directions for use and precautionary
statements of each product in the tank mixture.

Steps to conduct a jar test to determine physical tank mix compatibility of EXIREL insect control with other products:
 Add clean water to jar proportional to the planned water volume that will be used in the spray tank (a jar size of 16 oz is
  acceptable).
 Using the most restrictive PPE of the products to be tested, mix proper proportions of EXIREL insect control and
  desired tank mix partner(s) as will be present in the spray tank, add one product at a time following the sequence of
  addition according to formulation type provided in this label.
 Seal and shake mixture after each product is added.
 Allow to stand for 1 hour.
 View jar to determine if settling, flocculation, crystallization or any other undesirable changes have happened.
 If none of the above is observed or the solution can be easily remixed after shaking, the mixture is compatible with
   EXIREL insect control.
If the tank mix is not compatible, a higher water volume, reduced rate of the tank mix partner(s), reduced number of tank
mix partners or a compatibility agent may be needed.Tank Mixtures and Crop Safety - EXIREL insect control is an oil in
water emulsion. The crop safety of EXIREL insect control alone or in tank mix with many common insecticides, fungicides,
nutritionals and adjuvants has been found to be acceptable. See crop tables in this label for specific information on when
using EXIREL insect control in tank mixes on those crops. Some materials including oils, surfactants, adjuvants, nutritionals
and pesticide formulations when applied individually, sequentially, or in tank mixtures may solubilize the plant cuticle,
facilitate penetration into plant tissue, and increase the potential for crop injury.
Applying EXIREL insect control with any product that produces adverse crop response in a tank mixture, specifically
including, but not limited to, those listed in the individual crop tables, may also cause adverse crop response when applied
in a short time sequence (i.e., seven days apart or less between applications) before or after EXIREL insect control. Such
uses should be tested as described below before broad application is made.
Crop varieties can differ in their responsiveness to tank mixtures, and environmental conditions can have an influence on
product performance and crop response. It is not possible to test EXIREL insect control alone or with all possible tank mix
combinations and sequences on all crops and varieties under all environmental conditions. When considering the use of a
tank mixture on a labeled crop without prior experience, or which is not specifically described on EXIREL insect control
product labeling or in other FMC product use instruction, or when applying any product known to have caused adverse
crop response when used in tank mix with EXIREL insect control in close sequence with EXIREL insect control, it is
important to check crop safety first. To test for crop safety, prepare a small volume of the intended tank mixture or
sequence, apply it to an area of the target crop as directed by both this and the tank mix partner product labels, and observe
the treated crop to ensure that a phytotoxic response does not occur.
Use of EXIREL insect control in any tank mixture or sequence of applications that is not specifically described on EXIREL
insect control product labeling or in other FMC product use instructions, could potentially result in crop injury. Follow the
precautions on this label and on the label for any other product to be used in tank mixtures or in sequential applications
before making such applications to your crops. Follow the most restrictive label. FMC will not be responsible for any crop
injury arising from the use of a tank mixture or sequence of applications that is not specifically described on EXIREL
insect control product labeling or in other FMC product use instruction.


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Tank Mixing Sequence -Add different formulation types in the sequence indicated below*. Allow time for complete
mixing and dispersion after addition of each product.
1. Water soluble bag (WSB)
2. Water soluble granules (SG)
3. Water dispersible granules (WG, XP, DF)
4. Wettable powders (WP)
5. Water based suspension concentrates (SC)
6. Water soluble concentrates (SL)
7. EXIREL insect control and other suspoemulsions (SE)
8. Oil based suspension concentrates (OD)
9. Emulsifiable concentrates (EC)
10. Surfactants, oils adjuvants
11. Soluble fertilizers
12. Drift retardants
* Unless otherwise specified by manufacturer directions for use or by local experience.


CHEMIGATION - Overhead Sprinkler  Cranberries, Potatoes and Bulb Vegetables
The following types of irrigation equipment may be used for chemigation applications to cranberries, potatoes and
bulb vegetables: overhead sprinkler irrigation systems.
Apply EXIREL insect control in sufficient water and of sufficient duration to ensure the specified rate is applied evenly to
the entire treated area. Inject EXIREL insect control downstream from any water filtration system.
Do not connect any irrigation system used for pesticide applications to a public water system unless the pesticide label-
prescribed safety devices are in place. Public water system means a system for the provision to the public of piped water for
human consumption, if such system has at least 15 service connections or regularly serves an average of at least 25
individuals at least 60 days out of the year.
See "Required System Safety Devices For All Chemigation Systems" at the end of the Chemigation section.
APPLICATION INSTRUCTIONS FOR CHEMIGATION USING OVERHEAD SPRINKLER SYSTEMS 
CRANBERRIES, POTATOES AND BULB VEGETABLES
Types of Chemigation Systems: EXIREL insect control may be applied to cranberries, potatoes and bulb vegetables
through overhead sprinkler irrigation systems, including the following; center pivot, end tow, hand move, lateral move,
side roll, solid set and wheel line. The irrigation system used must provide uniform water distribution.
Directions for Chemigation:
Preparation
A pesticide tank is recommended for the application of EXIREL insect control in chemigation systems.
Thoroughly clean the injection system and tank of any fertilizer or chemical residues using a standard clean-out procedure.
Dispose of any residues in accordance with State and Federal laws. With the mix tank 1/4 to 1/2 full with water and the
agitator running, measure the required amount of EXIREL insect control and add it to the tank. The highest labeled rate for
the specified pest may be necessary when making overhead chemigation applications. Then add additional water to bring
your total pesticide mixture up to the desired volume for your application. Note: Always add EXIREL insect control to
water, never put EXIREL insect control into a dry tank or other mixing equipment without first adding water. See "Tank
Mixing Sequence" section for tank mixing sequence. Continue to agitate the mixture throughout the application process.
Use mechanical or hydraulic agitation, do not use air agitation.
Injection Into Chemigation Systems
Inject the proper amount of EXIREL insect control into the irrigation water flow using a positive displacement injection
pump or a Venturi injector. Injection should occur at a point in the main irrigation water flow to ensure thorough mixing
with the irrigation water. For continuously moving systems, inject the solution containing EXIREL insect control into the
irrigation water line continually and uniformly throughout the irrigation cycle. The recommended maximum water volume
for the overhead chemigation application is 0.2 acre inches of water. For overhead sprinkler systems that are stationary,
add the solution containing EXIREL insect control to the irrigation water line and apply in a maximum water volume of
0.25 acre inches of water.
Uniform Water Distribution
The irrigation system used for application of EXIREL insect control must provide for uniform distribution of EXIREL
insect control treated water. Non-uniform distribution can result in crop injury, lack of effectiveness or illegal pesticide
residues in or on the crop being treated. Ensure the irrigation system is calibrated to uniformly distribute the chemigation
application to the crop. Contact the equipment manufacturer, the local University Extension agent or other experts if you
have questions about achieving uniform distribution of the application.
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Equipment Calibration
Calibrate the irrigation system and injector before applying EXIREL insect control. Calibrate the injection pump while the
system is running using the expected irrigation rate. If you have questions about calibration, you should contact your state
extension service specialists, equipment manufacturer or other experts.
Monitoring of Chemigation Applications
A person knowledgeable of the chemigation system and responsible for its operation, or under the supervision of a
responsible person, shall shut the system down and make necessary adjustments should the need arise. Wear the personal
protective equipment as defined in the PPE section of the label for applicators and other handlers when making adjustments
or repairs on the chemigation system when EXIREL insect control is in the irrigation water.
Operation
Start the water pump and sprinkler, and let the system achieve the desired pressure and speed before starting the injector.
Start the injector and calibrate the injection system according to the directions above. This procedure is necessary to deliver
the desired rate per acre in a uniform manner. When the application is finished, allow the entire irrigation and injector
system to be thoroughly flushed clean before stopping the system.
 End guns must be turned off during the application, if they irrigate nontarget areas or if they do not provide uniform
  application and coverage.
 The nozzles in the immediate area of wells, control panels, chemical supply tanks and system safety devices are to be
  plugged to prevent contamination of these areas.
 Do not apply when wind speed favors drift beyond the area intended for treatment.
 Do not apply when system connections or fittings leak or when nozzles do not provide uniform distribution.
 Do not allow irrigation water to collect or run-off during chemigation.
Cleaning the System
Thoroughly clean the injection system and tank of any fertilizer or chemical residues using a standard clean-out procedure.
Dispose of any residues in accordance with State and Federal laws. Consult your owners manual or your local equipment
dealer for cleanout procedures for your injection system.
REQUIRED SYSTEM SAFETY DEVICES FOR ALL CHEMIGATION SYSTEMS
1. The system must contain a functional check valve, vacuum relief valve and low-pressure drain appropriately located on
   the irrigation pipeline to prevent water source contamination from backflow.
2. The pesticide injection pipeline must contain a functional, automatic, quick-closing check valve to prevent the flow of
  fluid back toward the injection pump.
3. The pesticide injection pipeline must also contain a functional, normally closed, solenoid-operated valve located on the
  intake side of the injection pump and connected to the system interlock to prevent fluid from being withdrawn from the
  supply tank when the irrigation system is either automatically or manually shut down.
4. The system must contain functional interlocking controls to automatically shut off the pesticide injection pump when the
  water pump motor stops.
5. The irrigation line or water pump must include a functional pressure switch which will stop the water pump motor when
  the water pressure decreases to the point where pesticide distribution is adversely affected.
6. Systems must use a metering device, such as a positive displacement pump or a Venturi injector, that provides uniform
  injection of the product, is effectively designed and constructed of materials compatible with the product, and is capable
  of being fitted with a system interlock.
7. Chemigation systems connected to public water systems must contain a functional, reduced- pressure zone, backflow
  preventer (RPZ) or the functional equivalent in the water supply line upstream from the point of pesticide introduction.
  As an option to the RPZ, the water from the public water system should be discharged into a reservoir tank prior to
  pesticide introduction. There shall be a complete physical break (air gap) between the outlet end of the fill pipe and the
  top or overflow rim of the reservoir tank of at least twice the inside diameter of the fill pipe.
SPRAY TANK CLEANOUT
Prior to application, start with clean, well maintained application equipment. Immediately following application,
thoroughly clean all spray equipment to reduce the risk of forming hardened deposits which might become difficult to
remove.
Drain spray equipment. Thoroughly rinse sprayer and flush hoses, boom and nozzles with clean water.
Clean all other associated equipment. Take all necessary safety precautions when cleaning equipment. Do not clean near
wells, water sources or desirable vegetation.
Dispose of waste rinse water in accordance with local regulations.




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SPRAY DRIFT MANAGEMENT
The interaction of many equipment and weather-related factors determines the potential for spray drift. The applicator is
responsible for considering all these factors when making application decisions. Avoiding spray drift is the responsibility of
the applicator.
IMPORTANCE OF DROPLET SIZE
The most effective drift management strategy is to apply the largest droplets which are consistent with pest control
objectives. The presence of sensitive species nearby, the environmental conditions, and pest pressure may affect how an
applicator balances drift control and coverage. Applying larger droplets reduces drift potential, but will not prevent drift if
applications are made improperly or under unfavorable environmental conditions.
A droplet size classification system describes the range of droplet sizes produced by spray nozzles. The American Society of
Agricultural and Biological Engineers (ASABE) provide a Standard that describes droplet size spectrum categories defined
by a number of reference nozzles (fine, coarse, etc.). Droplet spectra resulting from the use of a specific nozzle may also be
described in terms of volume mean diameter (VMD). Coarser droplet size spectra have larger VMD's and lower drift
potential.
CONTROLLING DROPLET SIZE - GROUND APPLICATION
 For broadcast applications made at planting or prior to the emergence of crops, applicators are required to use a coarse
  or coarser droplet size (ASABE S572.1). For all other broadcast applications, applicators are required to use a
  medium or coarser droplet size (ASABE S572.1).
 Pressure - The lowest spray pressures recommended for the nozzle produce the largest droplets. Higher pressure
  reduces droplet size and does not improve canopy penetration. When higher flow rates are needed, using a
  higher-capacity nozzle instead of increasing pressure results in the coarsest droplet spectrum.
 Flow Rate/Orifice Size - Using the highest flow rate nozzles (largest orifice) that are consistent with pest control
  objectives reduces the potential for spray drift. Nozzles with higher rated flows produce coarser droplet spectra.
CONTROLLING DROPLET SIZE - AIRCRAFT
 For fixed wing and helicopter aerial applications made at planting or prior to the emergence of crops, applicators are required to
  use a coarse or coarser droplet size (ASABE S572.1). For all other fixed wing and helicopter aerial applications, applicators are
  required to use a medium or coarser droplet size (ASABE S572.1).
 Nozzle Type - Solid stream, or other low drift nozzles produce the coarsest droplet spectra.
 Number of Nozzles - Using the minimum number of nozzles with the highest flow rate that provide uniform coverage
  will produce a coarser droplet spectrum
 Nozzle Orientation - Orienting nozzles in a manner that minimizes the effects of air shear will produce the coarsest
  droplet spectra. For some nozzles such as solid stream, pointing the nozzles straight back parallel to the airstream will
  produce a coarser droplet spectrum than other orientations.
 Pressure - Selecting the pressure that produces the coarsest droplet spectrum for a particular nozzle and airspeed reduces
  spray drift potential. For some nozzle types such as solid streams, lower pressures can produce finer droplet spectra and
  increase drift potential
BOOM LENGTH (AIRCRAFT), AND APPLICATION HEIGHT
 Boom Length (aircraft) - Using shorter booms decreases drift potential. Boom lengths are expressed as a percentage of an
  aircraft's wingspan or a helicopter's rotor blade diameter. Shorter boom length and proper positioning can minimize drift
  caused by wingtip or rotor vortices.
 Application Height (aircraft) - Applications made at the lowest height that are consistent with pest control objectives and
  the safe operation of the aircraft will reduce the potential for spray drift. Do not release spray at a height greater than 10 ft
  above the ground or vegetative canopy, unless a greater application height is necessary for pilot safety.
 Application Height (ground) - Applications made at the lowest height consistent with pest control objectives, and that
  allow the applicator to keep the boom level with the application site and minimize bounce, will reduce the exposure of
  spray droplets to evaporation and wind, and reduce spray drift potential.
WIND
Drift potential is lowest when applications are made in light to gentle sustained winds (2-10 mph), which are blowing in a constant
direction. Many factors, including droplet size and equipment type also determine drift potential at any given wind speed. AVOID
GUSTY OR WINDLESS CONDITIONS.
Local terrain can also influence wind patterns. Every applicator is expected to be familiar with local wind patterns and how they
affect spray drift.
For aerial application, if the windspeed is 10 miles per hour or less, applicators must use ¾ swath displacement upwind at the downwind
edge of the field. When the windspeed is between 11-15 miles per hour, applicators must use a full swath displacement upwind at the
downwind edge of the field.
For aerial application, do not apply when wind speeds exceed 15 mph at the application site. If the windspeed is greater than 10 mph, the
boom length must be 65% or less of the wingspan for fixed wing aircraft and 75% or less of the rotor diameter for helicopters. Otherwise,
the boom length must be 75% or less of the wingspan for fixed-wing aircraft and 90% or less of the rotor diameter for helicopters.
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TEMPERATURE AND HUMIDITY
Setting up equipment to produce larger droplets to compensate for droplet evaporation can reduce spray drift potential.
Droplet evaporation is most severe when conditions are both hot and dry.
SURFACE TEMPERATURE INVERSIONS
For aerial application, do not apply during temperature inversions.
Drift potential is high during a surface temperature inversion. Surface inversions restrict vertical air mixing, which may
cause small suspended droplets to remain close to the ground and move laterally in a concentrated cloud. Surface
inversions are characterized by increasing temperature with altitude and are common on nights with limited cloud cover
and light to no wind. They begin to form as the sun sets and often continue into the morning. Mist or fog may indicate the
presence of an inversion in humid areas. Inversions may also be identified by producing smoke and observing its behavior.
Smoke that remains close to the ground, or moves laterally in a concentrated cloud under low wind conditions indicates a
surface inversion. Smoke that moves upward and rapidly dissipates indicates good vertical air mixing.
SHIELDED SPRAYERS
Shielding the boom or individual nozzles can reduce the effects of wind. However, it is the responsibility of the applicator
to verify that the shields are minimizing drift potential, and not interfering with uniform deposition of the product.
AIR ASSISTED (AIR BLAST) FIELD CROP SPRAYERS
Air assisted field crop sprayers carry droplets to the target via a downward directed air stream. Some may reduce the
potential for drift, but if a sprayer is unsuitable for the application and/or set up improperly, high drift potential can result. It
is the responsibility of the applicator to determine that a sprayer is suitable for the intended application, that it is configured
properly, and that drift potential has been minimized.
Note: Air assisted field sprayers can affect product performance by affecting spray coverage and canopy penetration. Read
the specific crop use and application equipment instructions for additional information.
SENSITIVE AREAS
Making applications when there is a sustained wind moving away from adjacent sensitive areas (e.g., residential areas,
bodies of water, known habitat for threatened or endangered species, non-target crops) is an effective way to minimize the
effect of spray drift.
DRIFT CONTROL ADDITIVES
Using product compatible drift control additives can reduce drift potential. When a drift control additive is used, read and
carefully observe cautionary statements and all other information on the additive's label. If using an additive that increases
viscosity, ensure that the nozzles and other application equipment will function properly with a viscous spray solution.
Preferred drift control additives have been certified by the Council of Producers & Distributors of Agrotechnology.
CROP ROTATION
Crops on this label and the following crops or crop groups may be planted immediately following the last application of
EXIREL insect control: Brassica Leafy Greens (Crop Subgroup 4-16B) and Brassica Head and Stem Vegetables (Crop
Group 5-16); Bulb Vegetables (Crop Group 3- 07); Cotton; Cucurbit Vegetables (Crop Group 9); Fruiting Vegetables (Crop
Group 8-10); Leafy Greens (Crop Subgroup 4-16A) and Leaf Petiole Vegetables (Crop Subgroup 22B); Celtuce; Florence
Fennel; Leaves of Root and Tuber Vegetables (Crop Group 2); Legume Vegetables (Crop Groups 6 and 7); Low Growing
Berries (Berry and Fruit Crop Subgroup 13-07H); Oilseeds (Crop Group 20); Peanuts; Soybeans; Root and Tuber
Vegetables (Crop Subgroups 1B and 1C); Tobacco.
The following crops or crop groups may be planted 30 days following the last application of EXIREL insect control: Cereal
Grains (Crop Group 15); Forage, Fodder and Straw of Cereal Grains (Crop Group 16); Grass Forage, Fodder and Hay (Crop
Group 17); Nongrass Animal Feeds (forage, fodder, straw and hay) (Crop Group 18); Sugar beets.
There is no plant back restriction for conversion of a treated field to, or for making a new or replacement planting into
established orchards or fields of Bushberries (Crop Subgroup 13-07B); Caneberry Subgroup (Crop Subgroup 13-07A);
Coffee; Citrus (Crop Group 10-10); Pome Fruits (Crop Group 11-10); Stone Fruits (Crop Group 12); Low Growing Berries
(Crop Subgroup 13-07G); or Tree Nuts (Crop Group 14-12).
All other crops cannot be planted until 12 months after the last application of EXIREL insect control.




                                                                 10
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Directions for Use for Vegetable and Row Crops
                                                                                 EXIREL insect control RATE
                                                                                                                                            REI
                                                                                                                          PHI            (re-entry
                                                                                                   fluid                  (pre-harvest   interval)
                                                                               Lb. ai              ounces product         interval)        (hours)
Crop            Application Method          Target Pest                        per acre            per acre               (days)

Brassica Leafy Foliar*                       Beet armyworm                      0.045 - 0.088        7 - 13.5                 1             12
Greens (Crop                                 Corn earworm
Subgroup 4-                                  Diamondback moth
16B) and                                     Fall armyworm
Brassica Head                                Imported cabbageworm
and Stem                                     Western yellowstriped armyworm
Vegetables                                   Cabbage looper                     0.065 - 0.11         10 - 17
(Crop Group
5-16) including                              Cabbage  aphid                     0.088 - 0.133        13.5 - 20.5
Arugula;                                     False cabbage aphid
broccoli,                                    Flea beetle
Chinese;                                     Green peach aphid
broccoli raab;                               Leafminer (Liriomyza spp.)
cabbage,                                     Thrips (foliage feeding
abyssinian;                                  only)§
cabbage,                                     Turnip aphids
Chinese, bok                                 Whitefly
choy;                                        Swede midge
cabbage,                                     Cabbage Seedpod Weevil
seakale;                                     Grasshoppers
collards;
cress, garden; Minimum application interval between treatments is 5 days.
cress, upland;
hanover salad; Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
kale;           products per calendar year whether applications are made to the soil or foliarly.
maca, leaves; *- For best performance use an effective adjuvant. See "Use of Adjuvants" section.
mizuna;         § - Suppression only. Use as part of an effective thrips control program. Rotate
mustard         with products with different modes of action. Begin making applications to thrips when populations are
greens;         low. If populations are above threshold, use an effective thrips knockdown product before applying
radish, leaves;
rape greens;    EXIREL insect control.
rocket, wild;    - Diamondback moth resistance management: Do not apply EXIREL insect control (or other
shepherd's      Group 28 insecticides) more than twice within any 30 day treatment window. Application(s) during
purse;          the next treatment window must be with an effective product(s) with a different mode of action
turnip greens; (different IRAC Group Number) for at least a 30 day treatment window before making any additional
watercress;     applications of EXIREL insect control (or other Group 28 insecticides). Do not apply less than 7 fl oz
Broccoli
(Brassica       of EXIREL insect control per application per acre for diamondback moth control. Do not make more
oleracea L.     than 6 total applications of EXIREL insect control or any Group 28 insecticides per calendar year for
var. italica    control of diamondback moth at the same farm location.
Plenck);        For applications made to watercress, production fields must be drained of water at least 24 hours prior
Brussels        to application and water must not be reapplied to the field for a minimum of 24 hours following the
sprouts         application.
(Brassica
oleracea L.
var. gemmifera
(DC.) Zenker);
Cabbage
(Brassica
oleracea L.
var. capitata
L.);
Cabbage,
Chinese, napa
(Brassica rapa
L. subsp.
pekinensis
(Lour.)
Hanelt);
Cauliflower
(Brassica
oleracea L.
var. capitata
L); and
cultivars,
varieties, and
hybrids of
these
commodities.
Kohlrabi




                                                                          11
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                                                                                                                                PHI          REI
                                                                                     EXIREL insect control RATE
                                                                                                                            (pre-harvest   (re-entry
                                                                                                      fluid                   interval)    interval)
    Crop                                                                                                                       (days)       (hours)
                                                                                        Lb. ai        ounces product
                      Application Method                 Target Pest                  per acre        per acre
Bulb                Foliar                      Leafminer (Liriomyza spp.)*      0.088 -0.133         13.5 - 20.5              1             12
Vegetables,                                     Thrips (foliage feeding
(Crop                                           only)* §
Group 3-07)         Minimum application interval between treatments is 5 days.
Chive, fresh        Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
leaves;             products per calendar year whether applications are made to the soil or foliarly.
Chive, Chinese, § - Suppression only. For best results, use the highest rate listed. Use as part of an effective thrips
fresh leaves;       control program. Rotate with products with different modes of action. Begin making applications to
Daylilly, bulb thrips when populations are low (1-3 thrips per plant). If populations are higher, use an effective thrips
(edible);           knockdown product before applying EXIREL insect control.
Elegans hosta * - For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
(edible);           EXIREL insect control may be applied by overhead chemigation to bulb vegetables.
Fritillaria, leaves
(edible);
Garlic, bulb;
Garlic, great
headed, bulb;
Garlic, serpent,
bulb;
Kurrat;
Ladys leek;
Leek;
Leek, wild;
Lily, bulb;
Onion, Beltsville
bunching;
Onion, bulb;
Onion, Chinese,
bulb;
Onion, fresh;
Onion, green;
Onion,
macrostem;
Onion, pearl;
Onion, potato,
bulb;
Onion,tree,tops;
Onion, Welsh,
tops;
Shallot, bulb;
Shallot, fresh
leaves




                                                                            12
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                                                                                        EXIREL insect control RATE
                                                                                                                                                      REI
                                                                                                                                    PHI            (re-entry
                                                                                                            fluid                   (pre-harvest   interval)
                                                                                      Lb. ai                ounces product          interval)        (hours)
Crop                Application Method           Target Pest                          per acre              per acre                (days)

Carrot, radish;     Foliar                       Armyworms                              0.065- 0.133        10 - 20.5                   1             12
Root                                             Loopers
Vegetables,                                      Cutworms
except Sugar                                     Cotton aphid*                      0.088 - 0.133           13.5 - 20.5
Beet (Crop                                       Green peach aphid*
Group 1B);                                       Flea beetle
Beet, garden;                                    Beet armyworms
burdock,                                         Whiteflies
edible; carrot;                                  Thrips (foliage feeding only)§*
celeriac;                                        Carrot weevil
chervil, turnip-                                 Cabbage seedpod weevil
rooted;             Minimum application interval between treatments is 5 days.
chicory;            *- For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
ginseng;            §-Suppression only. For best results, use the highest rate listed. Use as part of an effective thrips control
horseradish;        program. Rotate with products with different modes of action.
parsley, turnip-     Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
rooted; parsnip     products per calendar year whether applications are made to the soil or foliarly.
radish; radish,     The crop safety of EXIREL insect control in tank mixture has not been evaluated on this crop or crop
oriental;
rutabaga;           group. When using EXIREL insect control in tank mixtures, it is recommended that a small area be
salsify; salsify,   tested to demonstrate safety before using in large areas. See "Tank Mixtures and Crop Safety" section
black; salsify,     for more information.
Spanish;
skirret; turnip




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                                                                                 EXIREL insect control RATE
                                                                                                                                         REI
                                                                                                                       PHI            (re-entry
                                                                                                   fluid               (pre-harvest   interval)
                                                                               Lb. ai              ounces product      interval)        (hours)
Crop            Application Method          Target Pest                        per acre            per acre            (days)

Cucurbit         Foliar                      Beet armyworm                     0.045 - 0.088           7 - 13.5            1             12
Vegetables                                   Melonworm
(Crop                                        Pickleworm
Group 9)                                     Western yellowstriped
including                                    armyworm
Chayote (fruit),                             Cabbage looper                    0.065 - 0.11            10 - 17
Chinese
waxgourd                                     Cotton/melon    aphid*            0.088  - 0.133          13.5 - 20.5
(Chinese                                     Flea beetle§
preserving                                   Green peach aphid*
melon),                                      Leafminer (Liriomyza spp.)*
Citron melon,                                Thrips (foliage feeding
Cucumber,                                    only)§
                                             Whitefly*
Gherkin,
Edible gourd                                 Striped cucumber beetle           0.133                   20.5
(includes        Minimum application interval between treatments is 5 days.
hyotan,          Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
cucuzza,         products per calendar year whether applications are made to the soil or foliarly.
hechima,
Chinese okra), *- For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
Morordica        § - Suppression only. Use as part of an effective control program. Rotate with
spp. (includes products with different modes of action. Begin making applications when populations are
balsam apple, low. For thrips, if populations are above threshold, use an effective thrips knockdown product
balsam pear,     before applying EXIREL insect control.
bitter melon,
Chinese          Cucurbit Yellow Stunting Disorder Virus Suppression: Use of EXIREL insect control to control
cucumber),       whiteflies which may vector the cucurbit yellow stunting disorder virus at a rate of 13.5 - 20.5 fl
Muskmelon        oz/A applied foliarly soon after emergence or transplanting will help suppress and slow the
(Includes true expression of cucurbit yellow stunting disorder virus in cucurbits.
cantaloupe,      Precautions when using EXIREL insect control in tank mixes in cucurbit vegetables: tank mixes of
cantaloupe,      EXIREL insect control with some products formulated as emulsifiable concentrates (EC), strobilurin
casaba,          fungicides (for example Cabrio® fungicide and Quadris® fungicide), copper based fungicides,
crenshaw
melon, golden Luna® Sensation fungicide (trifloxystrobin + fluopyram) and Venom® insecticide (dinotefuran)
pershaw melon may result in adverse crop response. See "Tank Mixtures and Crop Safety" section for more
honeydew         information.
melon, honey
balls, mango
melon, Persian
melon,
pineapple
melon, Santa
Claus melon
and snake
melon),
Pumpkin,
Summer
squash
(includes
crookneck
squash, scallop
squash,
straightneck
squash,
vegetable
marrow,
zucchini),
Winter squash
(includes
butternut
squash,
calabaza,
hubbard
squash,
acorn squash,
spaghetti
squash),
Watermelon




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                                                                                    EXIREL insect control RATE
                                                                                                                                                   REI
                                                                                                                                 PHI            (re-entry
                                                                                                        fluid                    (pre-harvest   interval)
                                                                                  Lb. ai                ounces product           interval)        (hours)
Crop             Application Method           Target Pest                         per acre              per acre                 (days)

Commercial       Foliar                          Cabbage looper                     0.065 - 0.133           10.0- 20.5               0             12
greenhouse                                       Armyworms
grown                                            Cotton aphid*                      0.088 - 0.133           13.5 - 20.5
cucumbers                                        Green peach aphid*
                                                 Thrips (foliage feeding only)§*
                                                 Whiteflies*
                 Minimum application interval between treatments is 5 days.
                 Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
                 products per calendar year whether applications are made to the soil or foliarly.
                 For use only on cucumber plants being grown to harvest in commercial greenhouse crop production
                 facilities. Do not treat plants grown for transplanting. Not for use in nurseries, plant propagation houses,
                 or greenhouses by commercial transplant producers on plants being grown for transplanting.
                 *- For best performance, use an effective adjuvant. See "Use of Adjuvants" section."
                 "§ - Suppression only. Use as part of an effective control program. Rotate with products with different
                 modes of action. For thrips, begin making applications to thrips when populations are low. If populations
                 are above threshold, use an effective thrips knockdown product before applying EXIREL insect control.
                 Thorough coverage is essential to achieve best results. Select a spray volume appropriate for the size of
                 plants and
                 density of foliage. Use the higher rate on large plants or dense foliage.
                 Precautions when using EXIREL insect control in tank mixes in cucumbers: tank mixes of EXIREL
                 insect control with some products formulated as emulsifiable concentrates (EC), strobilurin fungicides
                 (for example Cabrio fungicide and Quadris fungicide), copper based fungicides, Luna Sensation
                 fungicide (trifloxystrobin + fluopyram) and Venom insecticide (dinotefuran) may result in adverse crop
                 response. See "Tank Mixtures and Crop Safety" section for more information.
Fruiting         Foliar                          Beet Armyworm                      0.045 - 0.088           7 - 13.5                 1             12
Vegetable                                        Colorado potato beetle
(Crop                                            European corn borer
Group 8-                                         Fall armyworm
10)                                              Southern armyworm
African eggplant                                 Tomato fruitworm
Bush tomato;                                     Tomato pinworm
Bell pepper;                                     Tomato hornworm
Cocona;                                          Western yellowstriped
Currant tomato;                                  armyworm
Eggplant;                                        Loopers                            0.065 - 0.11            10 - 17
Garden
huckleberry;                                     Green  peach aphid*                0.088  - 0.133          13.5 - 20.5
Goji berry;                                      Leafminer (Liriomyza spp.)*
Groundcherry;                                    Pepper weevil§
                                                 Potato aphid*
Martynia;
Naranjilla;                                      Thrips (foliage feeding
Okra;                                            only)§
Pea eggplant;                                    Tomato psyllid
Pepino;                                          Whitefly*
Pepper, bell;    Minimum application interval between treatments is 5 days.
Pepper, nonbell; Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
Roselle;         products per calendar year whether applications are made to the soil or foliarly.
Scarlet          * - For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
eggplant;
Sunberry;        § - Suppression only. Use as part of an effective control program. Rotate with products
Tomatillo;       with different modes of action. For thrips, begin making applications when populations
Tomato;          are low. If populations are above threshold, use an effective thrips knockdown product
Tree tomato      before applying EXIREL insect control.
                 Tomato Spotted Wilt Virus and Tomato Yellow Leaf Curl Virus Suppression: Use of EXIREL insect
                 control to manage thrips which may vector the tomato spotted wilt virus and whiteflies which may
                 vector the tomato yellow leaf curl virus at a rate of 13.5 to 20.5 fl oz/A applied foliarly soon after
                 emergence or transplanting will help suppress and slow the expression of tomato spotted wilt virus and tomato
                 yellow leaf curl virus in fruiting vegetables.
                 Precautions when using EXIREL insect control in tank mixes in peppers: applications of EXIREL insect
                 control in tank mix with adjuvants can cause leaf spotting or increase the potential for other products
                 used in tank mix with EXIREL insect control to cause an adverse crop response. Tank mixes of
                 EXIREL insect control with strobilurin fungicides (for example Cabrio fungicide and Quadris
                 fungicide), chlorothalonil based fungicide formulations (for example, Bravo Weather Stik® fungicide),
                 and DuPontTM Tanos® fungicide (cymoxanil + famoxadone) may also result in an adverse crop
                 response.
                 Precautions when using EXIREL insect control in tank mixes in tomatoes: tank mixes of EXIREL insect
                 control with strobilurin fungicides (for example Cabrio fungicide and Quadris fungicide) may result in
                 adverse crop response.
                 The crop safety of EXIREL insect control in tank mixture has not been evaluated on all other crops in
                 this crop group. When using EXIREL insect control in tank mixtures, it is recommended that a small
                 area be tested to demonstrate safety before using in large areas.
                 See "Tank Mixtures and Crop Safety" section for more information.




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                                                                                   EXIREL insect control RATE
                                                                                                                                                     REI
                                                                                                                              PHI                (re-entry
                                                                                      Lb ai                                   (pre-harvest
                                                                                                      fluid                                      interval)
                                                                                     per acre                                 interval) (days)      (hours)
Crop              Application Method          Target Pest                                             ounces product
                                                                                                      per acre
Commercial        Foliar                      Thrips (foliage feeding only)§     0.088 - 0.133        13.5 - 20.5                 1                 12
Greenhouse                                    Whitefly*
Grown (Crops
Grown to          Minimum application interval between treatments is 7 days.
Harvest in        Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
Greenhouses)      products per calendar year whether applications are made to the soil or foliarly.
Eggplant,         For use only on eggplant, pepper and tomato plants being grown to harvest in commercial
Pepper
(including bell   greenhouse crop production facilities. Do not treat plants grown for transplanting. Not for use in
and non-bell      nurseries, plant propagation houses, or greenhouses by commercial transplant producers on
pepper)           plants being grown for transplanting.
Tomato            * - For best performance, use an effective adjuvant. See "Use of Adjuvants" section."
                  § - Suppression only. Use as part of an effective control program. Rotate with products with different
                  modes of action. For thrips, begin making applications to thrips when populations are low. If
                  populations are above threshold, use an effective thrips knockdown product before applying EXIREL
                  insect control.
                  Thorough coverage is essential to achieve best results. Select a spray volume appropriate for the size of
                  plants and density of foliage. Use the higher rate on large plants or dense foliage.
                  Precautions when using EXIREL insect control in tank mixes in peppers: applications of EXIREL insect
                  control in tank mix with adjuvants can cause leaf spotting or increase the potential for other products
                  used in tank mix with EXIREL insect control to cause an adverse crop response. Tank mixes of
                  EXIREL insect control with strobilurin fungicides (for example Cabrio fungicide and Quadris
                  fungicide), chlorothalonil based fungicide formulations (for example, Bravo Weather Stik fungicide),
                  and DuPont Tanos fungicide (cymoxanil + famoxadone) may also result in an adverse crop response.
                  Precautions when using EXIREL insect control in tank mixes in tomatoes: tank mixes of EXIREL insect
                  control with strobilurin fungicides (for example Cabrio fungicide and Quadris fungicide) may result in
                  adverse crop response.
                  The crop safety of EXIREL insect control in tank mixture has not been evaluated on eggplant. When
                  using EXIREL insect control in tank mixtures, it is recommended that a small area be tested to
                  demonstrate safety before using in large areas.
                  See "Tank Mixtures and Crop Safety" section for more information.




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                                                                                  EXIREL insect control RATE
                                                                                                                                                REI
                                                                                                                             PHI            (re-entry
                                                                                                     fluid                   (pre-harvest
                                                                               Lb. ai                ounces product                         interval)
                                                                                                                             interval)         (hours)
Crop            Application Method           Target Pest                       per acre              per acre                (days)
Leafy Greens Foliar*                         Beet armyworm                      0.045 - 0.088         7 - 13.5                   1              12
(Crop                                        Corn earworm
Subgroup 4-                                  Diamondback moth
16A) and Leaf                                Fall armyworm
Petiole                                      Western yellowstriped
Vegetables                                   armyworm
(Crop
Subgroup
22B) including
Amaranth,
Chinese;
amaranth,
leafy;
aster, Indian;
blackjack;
cat's whiskers;
cham-chwi;
cham-na-mul;                                 Cabbage looper                     0.065 - 0.11          10 - 17
chervil, fresh                               Cabbage aphid                      0.088 - 0.133         13.5 - 20.5
leaves;                                      False cabbage aphid
chipilin;                                    Flea beetle
chrysanthe-
mum, garland;                                Green peach aphid
cilantro, fresh                              Leafminer (Liriomyza spp.)
leaves;                                      Thrips (foliage feeding
corn salad;                                  only)§
cosmos;                                      Turnip aphids
dandelion,                                   Whitefly
leaves;                                      Grasshoppers
dang-gwi,        Minimum application interval between treatments is 5 days.
leaves;          Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
dillweed;        products per calendar year whether applications are made to the soil or foliarly.
dock;
dol-nam-mul;  - Diamondback moth resistance management: Do not apply EXIREL insect control (or other
ebolo;           Group 28 insecticides) more than twice within any 30 day treatment window. Application(s) during
endive;          the next treatment window must be with an effective product(s) with a different mode of action
escarole;        (different IRAC Group Number) for at least a 30 day treatment window before making any additional
fameflower;      applications of EXIREL insect control (or other Group 28 insecticides). Do not apply less than 7 fl oz of
feather          EXIREL insect control per application per acre for diamondback moth control. Do not make more than
cockscomb;
Good King        6 total applications of EXIRE insect control or any Group 28 insecticides per calendar year for control
Henry;           of diamondback moth at the same farm location.
huauzontle;      *- For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
jute, leaves;    § - Suppression only. Use as part of an effective thrips control program. Rotate with products with
lettuce, bitter; different modes of action. Begin making applications to thrips when populations are low. If populations
lettuce, head; are above threshold, use an effective thrips knockdown product before applying EXIREL insect control.
lettuce, leaf;
orach;           Precautions when using EXIREL insect control in tank mixes in spinach: Do not use adjuvants in tank
parsley, fresh mix with EXIREL insect control in spinach. Tank mixes of EXIREL insect control with some products
leaves;          formulated as emulsifiable concentrates (EC), strobilurin fungicides (for example Cabrio fungicide and
plantain,        Quadris fungicide) or chlorothalonil based fungicide formulations (for example, Bravo Weather Stik
buckhorn;        fungicide) may result in adverse crop response. Precautions when using EXIREL insect control in tank
primrose,        mixes in lettuce: Tank mixes of EXIREL insect control with Aliette® fungicide (fosetyl-al) + oil
English;
purslane,        adjuvant may result in adverse crop response.
garden;          The crop safety of EXIREL insect control in tank mixture has not been evaluated on all other crops in
purslane,        this crop group. When using EXIREL insect control in tank mixtures, it is recommended that a small
winter;          area be tested to demonstrate safety before using in large areas.
radicchio;       See "Tank Mixtures and Crop Safety" section for more information.
spinach;
spinach,
Malabar;
spinach, New
Zealand;
spinach, tanier;
Swiss chard;
violet,
Chinese,
leaves;
Cardoon;
celery;
celery,
Chinese;
fuki;
rhubarb;
udo;
zuiki;
cultivars,
varieties, and
hybrids of
these
commodities.
Celtuce;
and Florence
Fennel
                                                                           17
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                                                                                  EXIREL insect control RATE

                                                                                                    fluid                PHI            REI
                                                                                                    ounces product       (pre-harvest   (re-entry
                                                                               Lb ai                per acre             interval)      interval)
Crop              Application Method          Target Pest                     per acre                                   (days)         (hours)
Leaves of root    Foliar                      Beet armyworm                   0.088 - 0.133           13.5 - 20.5            1                12
and tuber                                     Flea beetles
vegetables                                    Cotton aphid*
(Crop                                         Green peach aphid*
Group 2)                                      Whiteflies
Beet, garden;                                 Thrips (foliage feeding only)§*
beet, sugar;                                  Carrot weevil
burdock,                                      Cabbage seedpod weevil
edible; carrot;                               Armyworms                          0.065-0.133          10 - 20.5
cassava, bitter                               Loopers
and sweet;                                    Cutworms
celeriac;         *- For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
chervil,          Minimum application interval between treatments is 5 days.
turnip-rooted;    Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
chicory;          products per calendar year whether applications are made to the soil or foliarly.
dasheen (taro);   § - Suppression only. For thrips, begin making applications to thrips when populations are low. If
parsnip;          populations are above threshold, use an effective thrips knockdown product before applying EXIREL
radish;           insect control. Thorough coverage is essential to achieve best results.
radish,           The crop safety of EXIREL insect control in tank mixture has not been evaluated on this crop or crop
oriental          group.
(daikon);         When using EXIREL insect control in tank mixtures, it is recommended that a small area be tested to
rutabaga;         demonstrate safety before using in large areas. See "Tank Mixtures and Crop Safety" section for more
salsify, black;   information.
sweet potato;
tanier; turnip;
yam, true




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                                                                                  EXIREL insect control RATE
                                                                                                                                               REI
                                                                                                                            PHI            (re-entry
                                                                                                      fluid                 (pre-harvest   interval)
                                                                               Lb. ai                 ounces product        interval)         (hours)
Crop             Application Method          Target Pest                       per acre               per acre              (days)

Legume          Foliar                       Corn earworm                     0.065 - 0.133           10 - 20.5            1(succulent)        12
vegetables,                                  European corn borer                                                           7 (dried)
succulent or                                 Leafminers
dried                                        Potato leafhopper§*              0.088 - 0.133           13.5 - 20.5
(Crop                                        Thrips (foliage feeding only)§*
Subgroups                                    Whiteflies*
6A, 6B, 6C)     § - Suppression only. *- For best performance, use with an effective adjuvant. See "Use of Adjuvants"
Bean (Lupinus) section. Minimum application interval between treatments is 5 days.
(includes grain Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
lupin, sweet    products per calendar year whether applications are made to the soil or foliarly.
lupin, white    Applications of EXIREL insect control to certain species of legume vegetables in this crop group may
lupin, and      result in adverse crop response. Affected plants outgrow the effects in most cases. If the risk of adverse
white sweet     crop response to EXIREL insect control cannot be accepted, do not apply it to legume vegetables.
lupin); bean    The crop safety of EXIREL insect control in tank mixture has not been evaluated on this crop group.
(Phaseolus)     When using EXIREL insect control alone or in tank mixtures in legume vegetables, it is
(includes field recommended that a small area be tested to demonstrate safety before using in large areas. See "Tank
bean, kidney    Mixtures and Crop Safety" section for more information.
bean, lima
bean, navy
bean, pinto
bean, runner
bean, snap
bean, tepary
bean, wax
bean); bean
(Vigna)
(includes
adzuki bean,
asparagus bean
blackeyed pea,
catjang,
Chinese
longbean,
cowpea,
crowder pea,
moth bean,
mung bean,
rice bean,
southern pea,
urd bean,
yardlong bean);
broad bean
(fava);
chickpea
(garbanzo);
guar; jackbean;
lablab bean;
lentil; pea
(Pisum)
(includes dwarf
pea, edible-
podded pea,
English pea,
field pea,
garden pea,
green pea,
snowpea,
sugar snap
pea); pigeon
pea;
sword bean




                                                                           19
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                                                                                   EXIREL insect control RATE
                                                                                                                                              REI
                                                                                                                             PHI            (re-entry
                                                                                                      fluid                  (pre-harvest   interval)
                                                                                 Lb. ai               ounces product         interval)       (hours)
Crop             Application Method          Target Pest                         per acre             per acre               (days)

Tuberous and Foliar                           Colorado potato beetle            0.033 - 0.088            5 - 13.5               7             12
Corm                                          Beet armyworm                      0.045 - 0.088            7 - 13.5
Vegetables                                    European corn borer
(Crop                                         Potato tuberworm*
Subgroup 1C)                                  Yellowstriped armyworm
including                                     Cabbage looper                     0.065 - 0.11             10 - 17
Arracacha;
Arrowroot;                                    Potato flea beetle* §              0.088 - 0.133            13.5 - 20.5
Artichoke,                                    Green peach aphid*
Chinese;                                      Potato aphid* §
Artichoke,                                    Potato psyllid
Jerusalem;      Minimum application interval between treatments is 5 days.
Canna, edible; Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
Cassava, bitter
and sweet;      products per calendar year; this is the total of seed piece treatment (potato), soil treatment, and foliar
Chayote (root); treatment.
Chufa;          *- For best performance use with an effective adjuvant. See "Use of Adjuvants" section.
Dasheen (taro);
Ginger;         § - Suppression only. Use as part of an effective control program. Rotate with products with
Leren;          different modes of action.
Potato;          - Colorado potato beetle resistance management - Do not apply EXIREL insect control (or other
Sweet potato; Group 28 insecticides) more than twice to a generation of Colorado potato beetle or within any 30 day
Tanier;
Turmeric:       treatment window. Application(s) to the next generation of Colorado potato beetle must be with an
Yam bean;       effective product(s) with a different mode of action (different IRAC group number) for at least a 30
Yam, true       day treatment window before making any additional applications of EXIREL insect control (or other
                Group 28 insecticides). If a Group 28 insecticide was used at-plant either as a soil or seed piece
                application, do not apply EXIREL insect control (or other Group 28 insecticides) for Colorado potato
                beetle control for at least 60 days after emergence. Application(s) for Colorado potato beetle control
                during the first 30-60 days must be with an effective product with a different mode of action (i.e. a
                product with a different IRAC Group Number) for at least a 30 day treatment window before making
                any applications of EXIREL insect control (or other Group 28 insecticides).
                 - Potato Tuberworm: EXIREL insect control may be applied at rates of 7 to 13.5 fl oz/A to
                control potato tuberworm. Begin application when field scouting indicates the presence of
                tuberworm adults and/or larvae. Potato tuberworm often have overlapping generations so repeat
                applications of EXIREL insect control may be needed based on scouting. Avoid treating
                successive generations with the same mode of action. It is important to protect the crop just prior
                to harvest when foliage starts to senesce. Use the higher rate of EXIREL insect control when
                tuberworm pressure is high. Failure to adequately control potato tuberworm larvae prior to crop
                senescence or vine kill increases the risk of tuber damage. Foliar sprays alone, by air or ground,
                may not provide adequate control of larvae in the mid to lower crop canopy. For best results,
                apply via overhead chemigation or integrate chemigation applications into the foliar spray
                program. For best results with foliar sprays, add Methylated seed oil (MSO) adjuvant at 1 gallon
                per 100 gallons of spray volume (1% v/v). For chemigation applications, apply in 0.1 to 0.2 acre
                inches of water and add MSO at 12 to 16 fl oz/acre. See Chemigation - Overhead Sprinkler 
                Cranberries, Potatoes and Bulb Vegetables section for instructions on overhead sprinkler
                chemigation.
                Suppression of Zebra Chip Disease: Use of EXIREL insect control to control potato psyllid which
                may vector zebra chip disease at a rate of 13.5 to 20.5 fl. oz./A applied starting when psyllid
                populations are low will help suppress the expression of the zebra chip disease.
                Precautions when using EXIREL insect control in tank mixes in potatoes: tank mixes of EXIREL
                insect control with strobilurin fungicides (for example Quadris fungicide and Cabrio Plus fungicide)
                may result in adverse crop response. The crop safety of EXIREL insect control in tank mixture has
                not been evaluated on all other crops in this crop group. When using EXIREL insect control in tank
                mixtures, it is recommended that a small area be tested to demonstrate safety before using in large
                areas.
                See "Tank Mixtures and Crop Safety" section for more information.




                                                                            20
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                                                                          EXIREL insect control RATE
                                                                                                                                      REI
                                                                                                                    PHI            (re-entry
                                                                                             fluid                  (pre-harvest   interval)
                                                                        Lb. ai               ounces product         interval)        (hours)
Crop     Application Method          Target Pest                        per acre             per acre               (days)

Cotton   Foliar                        Beet armyworm                    0.045 - 0.11          7 - 17                    7             12
                                       Cotton bollworm
                                       Fall armyworm
                                       Saltmarsh caterpillar
                                       Southern armyworm
                                       Tobacco budworm
                                       Western yellowstriped
                                       armyworm
                                       Cabbage looper                   0.065 - 0.11          10 - 17
                                       Soybean looper
                                       Whitefly*                        0.088 - 0.133         13.5 - 20.5
                                       Thrips (foliage feeding only)§
         Minimum application interval between treatments is 7 days.
         Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
         products per calendar year whether applications are made to the soil or foliarly.
         * - For best performance, use with an effective adjuvant. See "Use of Adjuvants" section. For high
         populations of whiteflies, use the highest listed rate.
         § - Suppression only. Use as part of an effective thrips control program. Rotate with products with
         different modes of action. Begin making applications to thrips when populations are low. If populations
         are above threshold, use an effective thrips knockdown product before applying EXIREL insect control.
          - For Heliothine control (cotton bollworm and/or cotton budworm) make the first application at rates
         of 0.065 - 0.11 lb ai per acre (10-17 fl oz product/A). Subsequent applications can be at rates of
         0.045 - 0.088 lb ai per acre (7 -13.5 fl oz product/A) depending on pressure.
         Applications of EXIREL insect control to seedling cotton may result in crop response. Affected
         plants outgrow the effects in most cases. If the risk of crop response to EXIREL insect control
         cannot be accepted, do not apply it to seedling cotton.
         The crop safety of EXIREL insect control in tank mixture has not been evaluated on this crop. When
         using EXIREL insect control in tank mixtures in cotton, it is recommended that a small area be tested to
         demonstrate safety before using in large areas. See "Tank Mixtures and Crop Safety" section for more
         information.




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                                                                               EXIREL insect control RATE
                                                                                                                                          REI
                                                                                                                        PHI            (re-entry
                                                                                                  fluid                 (pre-harvest   interval)
                                                                            Lb. ai                ounces product        interval)        (hours)
Crop            Application Method         Target Pest                      per acre              per acre              (days)

Oil Seed Crops Foliar*                     Bertha armyworm                    0.045 - 0.088        7 - 13.5                 7              12
(Crop                                      Diamondback moth
Group 20)                                  Sunflower head moth
including                                  Crucifer flea beetle               0.045 - 0.11         7 - 17
Borage;                                                                       0.065 - 0.133        10 - 20.5
Calendula;                                 Cabbage   looper
                                           Sunflower seed weevil§
Castor oil;
Chinese        Minimum application interval between treatments is 7 days.
tallowtree;    Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
Crambe;        products per calendar year. This is the total from all application methods (seed treatment and foliar
Cuphea;        application).
Echium;        * - For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
Euphorbia;
Evening        § - Suppression only. Use as part of an effective control program. Rotate with products with different
primrose;      modes of action.
Flax seed;     The crop safety of EXIREL insect control in tank mixture has not been evaluated on this crop group.
Gold of        When using EXIREL insect control in tank mixtures, it is recommended that a small area be tested to
pleasure;
Hare's ear     demonstrate safety before using in large areas. See "Tank Mixtures and Crop Safety" section for more
mustard;       information.
Jojoba;
Lesquerella;
Lunaria;
Meadowfoam;
Milkweed;
Mustard seed;
Niger seed;
Oil radish;
Poppy seed;
Rapeseed
(including
canola
varieties);
Rose hip;
Safflower;
Sesame;
Stokes aster;
Sunflower;
Sweet rocket;
Tallowwood;
Tea oil plant;
Vernonia




                                                                         22
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                                                                               EXIREL insect control RATE
                                                                                                                                         REI
                                                                                                                      PHI            (re-entry
                                                                                                  fluid               (pre-harvest   interval)
                                                                            Lb. ai                ounces product      interval)         (hours)
Crop        Application Method          Target Pest                         per                   per acre            (days)
                                                                            acre
Peanuts     Foliar                      Corn earworm                        0.065 - 0.133         10 - 20.5               14             12
                                        Fall armyworm
                                        Tobacco budworm
                                        Cutworms                            0.088 - 0.133         13.5 - 20.5
                                        Soybean looper
                                        Lesser cornstalk borer
                                        Thrips (foliage feeding only)§**
            § - Suppression only. **- Use in conjunction with an effective thrips and tomato spotted wilt virus
            management program. Minimum application interval between treatments is 7 days.
            Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
            products per calendar year whether applications are made to the soil or foliarly.
            Tomato Spotted Wilt Virus Suppression: Use of EXIREL insect control to manage thrips which
            may vector the tomato spotted wilt virus at a rate of 13.5-20.5 fl oz/A applied early season (at ground
            cracking) will help suppress and slow the expression of tomato spotted wilt virus in peanuts when used
            as part of a TSWV management program.
            The crop safety of EXIREL insect control in tank mixture has not been evaluated on peanuts. When
            using EXIREL insect control in tank mixtures, it is recommended that a small area be tested to
            demonstrate safety before using in large areas. See "Tank Mixtures and Crop Safety" section for more
            information.
Soybeans    Foliar                      Green cloverworm                    0.065 - 0.133          10 - 20.5              7              12
                                        Soybean looper
                                        Velvetbean caterpillar
                                        Lesser cornstalk borer              0.088  0.133          13.5  20.5
                                        Bean leaf beetle§
                                        Japanese beetle
                                        Stink bug species§
                                        Soybean aphid*
                                        Thrips (foliage feeding only) §*
           § - Suppression only. *- For best performance, use with an effective adjuvant. See Use of Adjuvants
           section. Minimum application interval between treatments is 5 days.

            Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
            products per calendar year whether applications are made as a seed treatment, to the soil or foliarly.

            The crop safety of EXIREL insect control in tank mixture has not been evaluated on this crop or crop
            group. When using EXIREL insect control in tank mixtures, it is recommended that a small area be
            tested to demonstrate safety before using in large areas.
           See "Tank Mixtures and Crop Safety" section for more information.

Tobacco     Foliar                      Tobacco budworm                   0.065 - 0.133        10 - 20.5                  7              12
                                        Tomato hornworm                   0.088 - 0.133        13.5 - 20.5
                                        Tobacco hornworm
                                        Flea beetle
            Minimum application interval between treatments is 5 days.
            Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
            products per calendar year whether applications are made to the soil or foliarly.
            The crop safety of EXIREL insect control in tank mixture has not been evaluated on tobacco. When
            using EXIREL insect control in tank mixtures, it is recommended that a small area be tested to
            demonstrate safety before using in large areas. See "Tank Mixtures and Crop Safety" section for more
            information.




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Directions for Use for Fruit Crops
                                                                                     EXIREL insect control RATE
                                                                                                                                                 REI
                                                                                                                               PHI            (re-entry
                                                                                                        fluid                  (pre-harvest   interval)
                                                                                   Lb. ai               ounces product         interval)        (hours)
Crop                Application Method          Target Pest                        per acre             per acre               (days)

Bushberries,        Foliar                        Cherry fruitworm                 0.065 - 0.088         10 - 13.5                 3             12
(Crop                                             Cranberry fruitworm
Subgroup 13-                                      Blueberry aphid                  0.088 - 0.133         13.5 - 20.5
07B)                                              Blueberry gall midge§
Aronia berry;                                     Blueberry maggot
Blueberry,                                        Spotted wing drosophila*
highbush;                                         Plum curculio*
                                                  Citrus thrips*
Blueberry,          Minimum application interval between treatments is 5 days.
lowbush;            Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or
Buffalo currant;    cyantraniliprole containing products per calendar year.
Chilean guava;      Spray Volume: Thorough coverage is essential to achieve best results. Select a spray
Cranberry,          volume appropriate for the size of trees or plants and density of foliage.
highbush;           Do not apply less than 30 gallons of water per acre. For best results apply 100-150 gallons of
Currant, black;     water per acre.
Currant, red;       § - Suppression only. Use as part of an effective blueberry maggot control program.
Elderberry;         Rotate with products with different modes of action. Begin making blueberry gall midge
European            applications when populations are low.
barberry;           * - For best performance, use with an effective adjuvant. See "Use of Adjuvants" section and other
Gooseberry;         instructions in this crop table.
Honeysuckle,        Precautions when using EXIREL insect control in tank mixes in blueberries: tank mixes of EXIREL
edible;             insect control with Induce® adjuvant may cause an adverse crop response or increase the potential for
Huckleberry;        other products used in tank mix with EXIREL insect control to cause an adverse crop response. Tank
Jostaberry;
Juneberry           mixes of EXIREL insect control with other non-ionic and oil based adjuvants tested have not caused an
(Saskatoonberry);   adverse crop response on fruit or leaves.
Lingonberry;        DO NOT tank mix EXIREL insect control with any type of adjuvants on this crop group unless crop
Native currant;     safety has been tested.
Salal;              The crop safety of EXIREL insect control in tank mixture has not been evaluated on all other crops in
Sea buckthorn       this crop group. When using EXIREL insect control in tank mixtures, it is recommended that a small
                    area be tested to demonstrate safety before using in large areas.
                    See "Tank Mixtures and Crop Safety" section for more information.

Caneberry           Foliar                      Spotted wing drosophila            0.088  0.133         13.5  20.5               1            12
subgroup                                        Adult root weevils
(Crop Sub-
group 13-07A)        Minimum application interval between treatments is 5 days.
blackberry;          Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
loganberry;
                     products per calendar year.
red and black
raspberry;          Spray Volume: Thorough coverage is essential to achieve best results. Select a spray
                    volume appropriate for the size of plants and density of fruit and foliage.
wild
raspberry;          The crop safety of EXIREL insect control in tank mixture has not been evaluated on this crop or crop
cultivars
and/or              group. When using EXIREL insect control in tank mixtures, it is recommended that a small area be
hybrids of          tested to demonstrate safety before using in large areas.
these               See "Tank Mixtures and Crop Safety" section for more information.


Coffee              Foliar                      Coffee berry borer                 0.133                20.5                       5            12

                     Minimum application interval between treatments is 14 days.
                     Do not apply a total of more than 0.27 lb ai/A of CYAZYPYR active or cyantraniliprole containing
                     products per calendar year.
                     Time applications early in the pest infestation when no more than 2% of the coffee berries are infested
                     with coffee berry borer in position A or B (prior to borer reaching the endosperm/seed).
                     Calibrate equipment to achieve thorough spray coverage of the berry without runoff.
                    The crop safety of EXIREL insect control in tank mixture has not been evaluated on this crop or crop
                    group. When using EXIREL insect control in tank mixtures, it is recommended that a small area be
                    tested to demonstrate safety before using in large areas.
                    See "Tank Mixtures and Crop Safety" section for more information.




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                                                                                 EXIREL insect control RATE
                                                                                                                                              REI
                                                                                                                                 PHI          (re-entry
                                                                                                       fluid                   (pre-harvest   interval)
                                                                                 Lb. ai                                        interval)
Crop              Application Method           Target Pest                                             ounces product          (days)         (hours)
                                                                                 per acre              per acre

Crop Group        Foliar                      Cherry fruitworm                     0.065  0.133        10  20.5                  14           12
13-07H*,                                      Cranberry fruitworm
specifically                                  Black headed fireworm
Bearberry;                                    Sparganothis fruitworm
bilberry;
cloudberry;        Minimum application interval between treatments is 7 days.
cranberry;         Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
muntries;          products per calendar year.
partridge-         EXIREL insect control may be applied by overhead chemigation to cranberry.
berry;             For applications made to cranberries, production fields must be drained of water at least 24 hours prior
cultivars,         to application and water must not be reapplied to the field for a minimum of 24 hours following the
varieties,         application.
and/or            The crop safety of EXIREL insect control in tank mixture has not been evaluated on this crop or crop
cultivars of
these.            group. When using EXIREL insect control in tank mixtures, it is recommended that a small area be
                  tested to demonstrate safety before using in large areas.
(*Excluding       See "Tank Mixtures and Crop Safety" section for more information.
strawberry,
lowbush
blueberry,
and
lignonberry)


Citrus Fruit,     Foliar*                     Asian citrus psyllid                 0.088 - 0.133        13.5 - 20.5                1            12
(Crop                                         Citrus thrips**
Group 10-10)                                  Citrus leafminer
Australian                                    Cotton aphid
desert lime;                                  Diaprepes root weevil adults
Australia                                     Orange dog caterpillar
finger-lime;                                  Citrus cutworm
Australia
round lime;                                   Forktailed bush katydid nymph 0.104  0.133               16.0  20.5
Brown River
finger lime;      Minimum application interval between treatments is 7 days.
Calamondin;       Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole
Citron;           containing products per calendar year.
Citrus hybrids;
Grapefruit;       Spray Volume: Thorough coverage is essential to achieve best results. Select a spray
Japanese          volume appropriate for the size of trees or plants and density of foliage.
summer            Where higher spray volumes are used, apply a higher EXIREL insect control rate in the
grapefruit;       specified rate range. For best results, apply 100-150 gallons of water per acre when
Kumquat;          using commercial airblast equipment. Do not apply less than 30 gallons of water per acre
Lemon;            when using commercial airblast equipment. Requirements for Low volume ground
Lime;
Mediterranean     applications for Asian citrus psyllid control: Do not apply less than 2 gallons of finished
mandarin;         spray solution per acre, use equipment that generates a particle size greater than 90
Mount white       microns, apply when wind is less than 10 miles per hour.
lime;             * - For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
New Guinea        ** - For fruit protection, apply EXIREL insect control at petal fall, best results are obtained with 20.5
wild lime;        oz/A. Initial application should be made at petal fall when insect populations first appear. Under
Orange, sour;     moderate to high pest pressure, an additional application of EXIREL insect control or another effective
Orange, sweet;
Pummelo;          thrips insecticide may be needed to maintain thrips populations below action threshold levels. Monitor
Russel River      or scout treated fields 5-7 days after application for thrips feeding on fruit or an increase in thrips
lime;             population. If early signs of feeding (such as silvering) are observed on fruit, make another application.
Satsuma           Time applications to the most susceptible insect pest stage, typically at egg hatch and/or newly hatched
mandarin;         larvae, before populations reach damaging levels. Applications outside the described window may not
Sweet lime;       achieve the desired result of protecting fruit from thrips damage.
Tachibana
orange;
Tahiti lime;
Tangelo;
Tangerine
(mandarin);
Tangor;
Trifoliate
orange;
Uniq fruit




                                                                              25
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                                                                                   EXIREL insect control RATE
                                                                                                                                                REI
                                                                                                                              PHI            (re-entry
                                                                                                      fluid                   (pre-harvest   interval)
                                                                                 Lb. ai               ounces product          interval)        (hours)
Crop             Application Method          Target Pest                         per acre             per acre                (days)

Strawberry       Foliar                         Beet armyworm                     0.088 - 0.133          13.5 - 20.5              1             12
                                                Corn earworm
                                                Soybean looper
                                                Whiteflies
                                                Spotted wing drosophila
                                                Thrips (foliage feeding
                                                only)§ * **
                 Minimum application interval between treatments is 7 days.
                 Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
                 products per calendar year whether applications are made to the soil or foliarly.
                 § - Suppression only.
                 * For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
                 **- Use in conjunction with an effective thrips management program.
                 Not all varieties of strawberries have been tested for crop safety with EXIREL insect control
                 alone or in tank mixture, see "Tank Mixtures and Crop Safety" section for more information.
Pome Fruit,      Foliar                         Codling moth                     East of the Rockies: East of the Rockies:       3             12
(Crop                                           European apple sawfly             0.055 - 0.11           8.5 - 17
Group 11-10)                                    Green fruitworm
Apple;                                          Obliquebanded leafroller        West of the Rockies: West of the Rockies:
Azarole;                                        Redbanded leafroller              0.065 - 0.11           10 - 17
Crabapple;                                      Spotted teniform leafminer
Loquat;                                         Western tentiform leafminer
Mayhaw;                                         Tufted apple budmoth
Medlar;                                         Variegated leafroller
Pear;                                           White apple leafhopper
Pear, Asian;                                    Oriental fruit moth               0.065 - 0.11           10 - 17
Quince;
Quince, Chinese;                                Apple  maggot*   §                0.088 - 0.133          13.5  - 20.5
Quince,                                         Pear psylla* §
Japanese;                                       Plum curculio*
Tejocote                                        Rosy apple aphid*
                                                Thrips* §
                 Minimum application interval between treatments is 7 days.
                 Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
                 products per calendar year.
                 Make no more than 3 applications of EXIREL insect control or other Group 28 insecticides
                 within a single generation of the target pest on a crop.
                 Spray Volume: Thorough coverage is essential to achieve best results. Select a spray volume appropriate
                 for the size of trees or plants and density of foliage.
                 Do not apply less than 30 gallons of water per acre. For best results apply 100-150 gallons of water per
                  acre.
                 * - For best performance, use with an effective adjuvant. See "Use of Adjuvants" section.
                 § - Suppression only. For best results, use the highest rate listed. Use as part of an effective control
                 program. Rotate with products with a different mode of action. Begin applications when pest
                 populations are at or below threshold. If populations are above threshold, use an effective knockdown
                 product before applying EXIREL insect control.
                  - Codling moth larvae
                 Application timing: For each generation, make the first application prior to egg hatch. Each application
                 provides 10-14 days of protection depending on intensity of codling moth pressure and rate of fruit
                 growth. Use pheromone trap catches and local degree day based spray timing advisories to determine
                 the development of each generation. Use the 8.5-10 fluid ounce rate for low pressure infestations and make
                 repeat applications on a 14 day schedule. For high pressure orchards, use a comprehensive management
                 program involving ovicide treatments followed by properly timed larvacide applications at high labeled
                 rates and shortened retreatment intervals. When using EXIREL insect control in an integrated program
                 with other codling moth insecticides, make sure the retreatment schedule is consistent with the period o f
                 effectiveness for each product used.
                 Codling Moth Resistance Management: Do not apply EXIREL insect control (or other Group 28
                 insecticides) more than three times to a generation of codling moth (codling moth typically has a single
                 generation treatment window of 30 to 45 days). Application(s) to the next generation of codling moth
                 must be with an effective product(s) with a different mode of action (different IRAC group number) for
                 at least a 30 - 45 day treatment window before making any additional applications of EXIREL insect
                 control (or other Group 28 insecticides).
                 - Obliquebanded leafroller: For overwintering larvae, apply in the spring (pink to petal fall stage) at
                 the first sign of active feeding.
                 For summer generation, apply just prior to or at the beginning of egg hatch. Leafroller feeding stops
                 after ingestion of treated foliage, however, during periods of cold weather when leafrollers are inactive,
                 it may take several days to achieve complete control.
                 Obliquebanded Leafroller Resistance Management: Only apply EXIREL insect control (or other
                 Group 28 insecticides) to one generation of obliquebanded leafroller per year. Application(s) to other
                 generations of obliquebanded leafroller must be with an effective product with a different mode of
                 action (i.e. a product with a different IRAC group number).
                 Rosy apple aphid: For best results start applications at green tip to early pink timing.
                 Precautions when using EXIREL insect control in tank mixes in pome fruit: tank mixes of EXIREL
                 insect control with adjuvants commonly recommended and known not to cause an adverse crop
                 response in pome fruits, such as horticultural oils, have been found to be acceptable. DO NOT tank mix
                 EXIREL insect control with any other type of adjuvant unless crop safety has been demonstrated. See
                 "Tank Mixtures and Crop Safety" section for more information.

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                                                                                  EXIREL insect control RATE
                                                                                                                                               REI
                                                                                                                             PHI            (re-entry
                                                                                                      fluid                  (pre-harvest   interval)
                                                                               Lb. ai                 ounces product         interval)        (hours)
Crop             Application Method          Target Pest                       per acre               per acre               (days)

Stone Fruit    Foliar                        Cherry fruit fly*                   0.065 - 0.11           10 - 17                  3             12
(Crop                                        Codling moth
Group 12)                                    Omnivorous leafroller
including,                                   Tufted apple budmoth
Apricot;                                     Obliquebanded leafroller            0.065 - 0.133          10 - 20.5
Cherry, sweet;                               Oriental fruit moth
Cherry, sour;                                Peach twig borer
Nectarine;                                   Spotted wing drosophila*            0.088 - 0.133          13.5 - 20.5
Peach; Plum;                                  Black cherry aphid
Plum,                                        Japanese beetle
Chickasaw;                                   Plum curculio
Plum, Damson;                                Thrips§
Plum,
Japanese;      Minimum application interval between treatments is 7 days.
Plumcot;       Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole
Prune (fresh)  containing products per calendar year.
               Make no more than 3 applications of EXIREL insect control or other Group 28 insecticides
               within a single generation of the target pest on a crop.
               * - For best performance, use with an effective adjuvant. See "Use of Adjuvants" section and
               other instructions on this table for more information.
               Spray Volume: Thorough coverage is essential to achieve best results. Select a spray
               volume appropriate for the size of trees or plants and density of foliage.
               Do not apply less than 30 gallons of water per acre by ground. For best results apply 100-150 gallons
               of water per acre.
               § - Suppression only. For best results, use the highest rate listed. Use as part of an effective control
               program. Rotate with products with a different mode of action. Begin applications when pest
               populations are at or below threshold. If populations are above threshold, use an effective knockdown
               product before applying EXIREL insect control.
                - Peach Twig Borer: For early dormant through mid-dormant applications, use higher rates of
               EXIREL insect control; for late dormant applications, use lower rates. Applications may be made with
               an EPA registered dormant oil; for specific recommendations on use of oil, consult manufacturers
               specific oil labels for precautions and restrictions regarding the use of oils. For best performance, apply
               using ground equipment to achieve thorough uniform coverage of all scaffolds and limbs. For "April -
               May spray" applications to the summer generation, make applications at peak moth flight (timed at or
               before peak egg lay). Higher rates in the labeled rate range may be needed for high infestations levels
               and/or large, dense foliage trees.
               Precautions when using EXIREL insect control in tank mixes in stone fruit: tank mixes of EXIREL
               insect control with some non-ionic or oil based adjuvants may cause adverse crop response. Tank mixes
               of EXIREL insect control with organosilicone adjuvants at rates of 0.03 % v/v or lower do not result in
               crop response on cherry leaves or fruit. DO NOT tank mix EXIREL insect control with any other type
               of adjuvant unless crop safety has been tested. See "Tank Mixtures and Crop Safety" section for more
               information.




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                                                                                 EXIREL insect control RATE
                                                                                                                                              REI
                                                                                                                            PHI            (re-entry
                                                                                                     fluid                  (pre-harvest   interval)
                                                                               Lb. ai                ounces product         interval)        (hours)
 Crop            Application Method          Target Pest                       per acre              per acre               (days)

 Tree Nuts        Foliar*                       Hickory shuckworm                   0.055 - 0.11           8.5 - 17             5             12
 (Crop                                          Pecan nut casebearer
 Group 14-12)                                   Codling moth                       0.065 - 0.133          10 - 20.5
 including                                      Obliquebanded leafroller
 African                                        Oriental fruit moth
 nut-tree;                                      Peach twig borer
 almond;                                        Navel orangeworm                 0.088 - 0.133          13.5 - 20.5
 beechnut;                                      Walnut aphid
 Brazil nut;
 Brazilian pine; Minimum application interval between treatments is 7 days.
 bunya;           Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole
 bur oak;         containing products per calendar year.
 butternut;       Make no more than 3 applications of EXIREL insect control or other Group 28 insecticides
 Cajou nut;       within a single generation of the target pest on a crop.
 candlenut;
 cashew;          Spray Volume: Thorough coverage is essential to achieve best results. Select a spray
 chestnut;        volume appropriate for the size of trees or plants and density of foliage.
 chinquapin;      Where higher spray volumes are used, apply a higher rate in the specified rate range. Do not apply less
 coconut;         than 30 gallons of water per acre by ground. For best results apply 100-150 gallons of water per acre.
 coquito nut;     * - For best performance use with an effective adjuvant. See "Use of Adjuvants" section.
 dika nut;
 ginkgo;           - Codling moth (Walnut): Make initial application at or before peak egg lay for targeted
 Guiana           generation. Depending on level of infestation reapply 14 days later as needed. Use higher rates and
 chestnut;        ground application equipment to achieve thorough coverage.
 hazelnut          - Peach Twig Borer: EXIREL insect control may be used throughout the growing season.
 (filbert);       For dormant applications, an EPA registered dormant oil may be added to the spray tank.
 heartnut;
 hickory nut;     For specific directions on use of oil, consult manufacturer's specific oil labels for precautions and
 Japanese         restrictions regarding the use of oils in tree nut crops. For best performance, apply using ground
 horse-chestnut; equipment to achieve thorough uniform coverage of all scaffolds and limbs. For spring application to
 macadamia nut; overwintering generation: Make applications at late dormant (just prior to bud break) to early bloom.
 mongongo nut;
 monkey-pot;      For "April - May" applications to the summer generation: Make applications at peak moth flight (timed
 monkey puzzle at or before peak egg lay). Higher rates in the labeled rate range may be needed for higher infestation
 nut; Okari nut; levels and large, dense foliage trees.
 Pachira nut;      - Navel orangeworm: Applications can be made during the "May spray" or "Hull split" application
 peach palm nut; timing. For applications made at "Hull split" timing - Make an application at 1- 2% hull-split timing;
 pecan; pequi;
 Pili nut;        make a second application approximately 10-14 days later. Depending on level of pest infestation, use
 pine nut;        of higher rates in the labeled rate range and multiple applications may be needed.
 pistachio;       Precautions when using EXIREL insect control in tank mixes in tree nuts: tank mixes of EXIREL insect
 Sapucaia nut; control with oil adjuvants may cause an adverse crop response or increase the potential for other
 tropical almond; products used in tank mix with EXIREL insect control to cause an adverse crop response. Tank mixes
 walnut, black;
 walnut, English of EXIREL insect control with non-ionic adjuvants have not been observed to cause an adverse crop
 yellowhorn;      response. DO NOT tank mix EXIREL insect control with any other type of adjuvant unless crop safety
 cultivars,       has been tested. See "Tank Mixtures and Crop Safety" section for more information.
 varieties,
 and/or hybrids
 of these




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  STORAGE AND DISPOSAL
  Do not contaminate water, food, or feed by storage or disposal.
  PESTICIDE STORAGE: Do not subject to temperatures below 32 degrees F. Store product in original container
  only in a location inaccessible to children and pets. Do not contaminate water, other pesticides, fertilizer, food or
  feed in storage. Not for use or storage in or around the home.
  PESTICIDE DISPOSAL: Do not contaminate water, food or feed by storage or disposal. Wastes resulting from the
  use of this product must be disposed of on site or at an approved waste disposal facility.
  CONTAINER HANDLING: Refer to the Net Contents section of this products labeling for the applicable
  Refillable Container or Nonrefillable Container designation.
  Nonrefillable Rigid Plastic and Metal Containers (Capacity Equal to or Less Than 5 Gallons): Nonrefillable
  container. Do not reuse or refill this container. Triple rinse container (or equivalent) promptly after emptying. Triple
  rinse as follows: Empty the remaining contents into application equipment or a mix tank and drain for 10 seconds
  after the flow begins to drip. Fill the container 1/4 full with water and recap. Shake for 10 seconds. Pour rinsate into
  application equipment or a mix tank or store rinsate for later use or disposal. Drain for 10 seconds after the flow
  begins to drip. Repeat this procedure two more times. Then, for Plastic Containers, offer for recycling if available or
  puncture and dispose of in a sanitary landfill, or by incineration. Do not burn, unless allowed by state and local
  ordinances. For Metal Containers, offer for recycling if available or reconditioning if appropriate, or puncture and
  dispose of in a sanitary landfill, or by other procedures approved by state and local authorities.
  Nonrefillable Rigid Plastic and Metal Containers (Capacity Greater Than 5 Gallons): Nonrefillable container.
  Do not reuse or refill this container. Triple rinse container (or equivalent) promptly after emptying. Triple rinse as
  follows: Empty the remaining contents into application equipment or a mix tank. Fill the container 1/4 full with
  water. Replace and tighten closures. Tip container on its side and roll it back and forth, ensuring at least one
  complete revolution, for 30 seconds. Stand the container on its end and tip it back and forth several times. Turn the
  container over onto its other end and tip it back and forth several times. Empty the rinsate into application equipment
  or a mix tank or store rinsate for later use or disposal. Repeat this procedure two more times. Then, for Plastic
  Containers, offer for recycling if available or puncture and dispose of in a sanitary landfill, or by incineration. Do not
  burn, unless allowed by state and local ordinances. For Metal Containers, offer for recycling if available or
  reconditioning if appropriate, or puncture and dispose of in a sanitary landfill, or by other procedures approved by
  state and local authorities.
  Nonrefillable Rigid Plastic and Metal Containers, e.g., Intermediate Bulk Containers [IBC] (Size or Shape
  Too Large to be Tipped, Rolled or Turned Upside Down): Nonrefillable container. Do not reuse or refill this
  container. Clean container promptly after emptying the contents from this container into application equipment or
  mix tank and before final disposal using the following pressure rinsing procedure. Insert a lance fitted with a suitable
  tank cleaning nozzle into the container and ensure that the water spray thoroughly covers the top, bottom and all
  sides inside the container. The nozzle manufacturer generally provides instructions for the appropriate spray
  pressure, spray duration and/or spray volume. If the manufacturer's instructions are not available, pressure rinse the
  container for at least 60 seconds using a minimum pressure of 30 PSI with a minimum rinse volume of 10% of the
  container volume. Drain, pour or pump rinsate into application equipment or rinsate collection system. Repeat this
  pressure rinsing procedure two more times. Then, for Plastic Containers, offer for recycling if available or puncture
  and dispose of in a sanitary landfill, or by incineration. For Metal Containers, offer for recycling if available or
  reconditioning if appropriate, or puncture and dispose of in a sanitary landfill, or by other procedures approved by
  state and local authorities.
  All Refillable Containers: Refillable container. Refilling Container: Refill this container with EXIREL insect control
  containing cyantraniliprole only. Do not reuse this container for any other purpose. Cleaning before refilling is the
  responsibility of the refiller. Prior to refilling, inspect carefully for damage such as cracks, punctures, abrasions, worn
  out threads and closure devices. If damage is found, do not use container, contact FMC at the number below for
  instructions.
  Check for leaks after refilling and before transporting. If leaks are found, do not reuse or transport container, contact
  FMC at the number below for instructions. Disposing of Container: Do not reuse this container for any other purpose
  other than refilling (see preceding). Cleaning the container before final disposal is the responsibility of the person
  disposing of the container. To clean the container before final disposal, use the following pressure rinsing procedure.
  Insert a lance fitted with a suitable tank cleaning nozzle into the container and ensure that the water spray thoroughly
  covers the top, bottom and all sides inside the container. The nozzle manufacturer generally provides instructions for
  the appropriate spray pressure, spray duration and/or spray volume. If the manufacturer's instructions are not
  available, pressure rinse the container for at least 60 seconds using a minimum pressure of 30 PSI with a minimum
  rinse volume of 10% of the container volume. Drain, pour or pump rinsate into application equipment or rinsate
  collection system. Repeat this pressure rinsing procedure two more times. Then, for Plastic Containers, offer for
  recycling if available or puncture and dispose of in a sanitary landfill, or by incineration. Do not burn, unless allowed
  by state and local ordinances. For Metal Containers, offer for recycling if available or reconditioning if appropriate,
  or puncture and dispose of in a sanitary landfill, or by other procedures approved by state and local authorities.
  Do not transport if container is damaged or leaking. If the container is damaged, leaking or obsolete, or in the event
  of a major spill, fire or other emergency, contact CHEMTREC (Transportation and Spills) at 1-800-424-9300, day or
  night.

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           CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY
Notice: Read the entire Directions for Use and Conditions of Sale and Limitation of Warranty and Liability before buying or
using this product. If the terms are not acceptable, return the product at once, unopened, and the purchase price will be refunded.
The Directions for Use of this product must be followed carefully. It is impossible to eliminate all risks inherently associated with
the use of this product. Crop injury, ineffectiveness, or other unintended consequences may result because of such factors as
manner of use or application, weather or crop conditions beyond the control of FMC or Seller. To the extent consistent with
applicable law, all such risks shall be assumed by Buyer and User, and, to the extent consistent with applicable law, Buyer and
User agree to hold FMC and Seller harmless for any claims relating to such factors.
Seller warrants that this product conforms to the chemical description on the label and is reasonably fit for the purposes
stated on the Directions for Use when used in accordance with the directions under normal conditions of use. TO THE
EXTENT CONSISTENT WITH APPLICABLE LAW, FMC MAKES NO WARRANTIES OF MERCHANTABILITY
OR OF FITNESS FOR A PARTICULAR PURPOSE, NOR ANY OTHER EXPRESS OR IMPLIED WARRANTIES
WITH RESPECT TO THE SELECTION, PURCHASE, OR USE OF THIS PRODUCT. Any warranties, express or
implied, having been made are inapplicable if this product has been used contrary to label instructions, or under
abnormal conditions, or under conditions not reasonably foreseeable to (or beyond the control of) Seller or FMC, and, to
the extent permitted by applicable law, Buyer assumes the risk of any such use.
To the extent consistent with applicable law, FMC or Seller shall not be liable for any incidental, consequential or special
damages resulting from the use or handling of this product. TO THE EXTENT CONSISTENT WITH APPLICABLE LAW, THE
EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY OF FMC AND SELLER FOR
ANY AND ALL CLAIMS, LOSSES, INJURIES OR DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF
WARRANTY, CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE) RESULTING FROM THE USE
OR HANDLING OF THIS PRODUCT, SHALL BE THE RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT
THE ELECTION OF FMC OR SELLER, THE REPLACEMENT OF THE PRODUCT.
This Condition of Sale and Limitation of Warranty and Liability may not be amended by any oral or written agreement.




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                               Attachment 6
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                            OFFICE OF CHEMICAL SAFETY
                                                                                            AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

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593334

        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under Syngenta’s control,
       Syngenta must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
       under the previously approved labeling for no longer than 12 months from the date of this letter
       or 75 days after the final state approval from those submitted under Term #2, whichever is
       earlier.

    4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
       product that bears the previously approved label but is not under Syngenta’s control as of the
       date of this letter. However, Syngenta should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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593334

       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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593334

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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Decision Nos. 593337, 593338, 593342, 593343, 593341, 593344, 594352, 593336, 593339 and
593334

and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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 Sale, use, and distribution of this product in Nassau and Suffolk Counties in the State
 of New York is prohibited.

 Minecto Duo


 Insecticide
                                                                             GROUP           4A 28         INSECTICIDES

 For control of listed insect pests infesting specified crops

 Active Ingredients:
 Thiamethoxam1 ............................................................................................ 20.0%
 Cyantraniliprole2 ........................................................................................... 20.0%
 Other Ingredients:                                                                                            60.0%
 Total:                                                                                                      100.0%
 1
     CAS No. 153719-23-4
 2
     CAS No. 736994-63-1

 Minecto Duo is a water-dispersible granule that contains 3.2 ounces of active ingredient of
 thiamethoxam and 3.2 ounces of cyantraniliprole per pound of formulated product.

 KEEP OUT OF REACH OF CHILDREN.

 CAUTION

 Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en
 detalle. (If you do not understand the label, find someone to explain it to you in detail.)

 See additional precautionary statements and directions for use in booklet[on bag].

 EPA Reg. No. 100-1421
 EPA Est. XXXX

 SCP 1421 MAS 0814

 __________
 Net Weight
 [Non-Refillable Container]




                                                                 1
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                                              FIRST AID
  If in eyes                Hold eye open and rinse slowly and gently with water for 15-20
                            minutes.
                            Remove contact lenses, if present, after the first 5 minutes, then
                            continue rinsing.
                            Call a poison control center or doctor for treatment advice.
  If inhaled                Move person to fresh air.
                            If person is not breathing, call 911 or an ambulance, then give
                            artificial respiration, preferably by mouth-to-mouth, if possible.
                            Call a poison control center or doctor for further treatment
                            advice.
  If swallowed              Call a poison control center or doctor immediately for treatment
                            advice.
                            Have person sip a glass of water if able to swallow.
                            Do not induce vomiting unless told to do so by the poison
                            control center or doctor.
                            Do not give anything by mouth to an unconscious person.
  If on skin or             Take off contaminated clothing.
  clothing                  Rinse skin immediately with plenty of water for 15-20 minutes.
                            Call a poison control center or doctor for treatment advice.
  Have the product container or label with you when calling a poison control center or
  doctor, or going for treatment. You may also contact 1-800-888-8372 for emergency
  medical treatment information.
                                        HOT LINE NUMBER
               For 24-Hour Medical Emergency Assistance (Human or Animal)
              or Chemical Emergency Assistance (Spill, Leak, Fire or Accident)
                                                 Call
                                           1-800-888-8372

 PRECAUTIONARY STATEMENTS

 Hazards to Humans and Domestic Animals

                                           CAUTION

 Causes moderate eye irritation. Avoid contact with eyes, or clothing.

 Personal Protective Equipment (PPE)

 Applicators and other handlers must wear:
   Long-sleeved shirt and long pants
   Shoes plus socks
   Chemical-resistant gloves made of any waterproof material  Category A (e.g., natural
    rubber 14 mils)


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 Follow manufacturers instructions for cleaning/maintaining PPE. If no such instructions
 exist for washables, use detergent and hot water. Keep and wash PPE separately from
 other laundry.

 Engineering Control Statements
 When handlers use closed systems, enclosed cabs, or aircraft in a manner that meets the
 requirements listed in the Worker Protection Standard (WPS) for agricultural pesticides [40
 CFR 170.240(d)(4-6)], the handler PPE requirements may be reduced or modified as
 specified in the WPS.

  User Safety Recommendations
  Users should:
        Wash hands before eating, drinking, chewing gum, using tobacco, or
        using the toilet.
        Remove clothing/PPE immediately if pesticide gets inside. Then wash
        thoroughly and put on clean clothing.

 Environmental Hazards
 This pesticide is toxic to wildlife and highly toxic to aquatic invertebrates, oysters and
 shrimp. Do not apply directly to water, or to areas where surface water is present, or to
 intertidal areas below the mean high water mark. Drift or runoff from treated areas may be
 hazardous to aquatic organisms in neighboring areas. Do not contaminate water when
 cleaning equipment or disposing of equipment wash waters.

 This product is highly toxic to bees exposed to direct treatment on blooming crops or weeds
 and may cause possible effects to pollinators from exposure to translocated residues in
 blooming crops. Do not apply this product or allow it to drift to blooming crops or weeds
 while bees are foraging in or adjacent to the treatment area.

       Surface Water Advisory
       This product may impact surface water quality due to spray drift and runoff of rain
       water. This is especially true for poorly draining soils and soils with shallow ground
       water. This product is classified as having high potential for reaching surface water
       via runoff for several months after application. A level, well-maintained vegetative
       buffer strip between areas to which this product is applied and surface water features
       such as ponds, streams, and springs will reduce the potential loading of
       thiamethoxam water from runoff water and sediment. Runoff of this product will be
       reduced by avoiding applications when rainfall is forecast to occur within 48 hours.
       (See manual at the following internet address:
       http://www.wsi.nrcs.usda.gov/products/W2Q/pest/core4.html).
       Surface Water Protection Statement
       For foliar uses, do not apply during rain.
       Ground Water Advisory
       This product has properties and characteristics associated with chemicals detected in
       ground water. This chemical may leach into the ground water if used in areas where
       soils are permeable, particularly where the water table is shallow.
       Spray Drift Advisory
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       Do not allow this product to drift.




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                    PROTECTION OF POLLINATORS



                              APPLICATION RESTRICTIONS EXIST FOR THIS
   PRODUCT BECAUSE OF RISK TO BEES AND OTHER INSECT POLLINATORS .
   FOLLOW APPLICATION RESTRICTIONS FOUND IN THE DIRECTIONS FOR USE
   TO PROTECT POLLINATORS.



   Look for the bee hazard icon               in the Directions for Use for each
   application site for specific use restrictions and instructions to protect bees and
   other insect pollinators.
   This product can kill bees and other insect pollinators.
   Bees and other insect pollinators will forage on plants when they flower, shed pollen, or produce
   nectar.
   Bees and other insect pollinators can be exposed to this pesticide from:
       o Direct contact during foliar applications, or contact with residues on plant surfaces
         after foliar applications
       o Ingestion of residues in nectar and pollen resulting from seed treatment, soil
         application, and foliar applications.
   When Using This Product Take Steps To:
       o Minimize exposure of this product to bees and other insect pollinators when they are
         foraging on pollinator attractive plants in and around the application site.
       o Minimize drift of this product on to beehives or to off-site pollinator attractive habitat.
         Drift of this product onto beehives or off-site to pollinator attractive habitat can result
         in bee kills.
   Information on protecting bees and other insect pollinators may be found at the Pesticide
   Environmental Stewardship website at:
   http://pesticidestewardship.org/PollinatorProtection/Pages/default.aspx.
   Pesticide incidents (for example, bee kills) should immediately be reported to the state/tribal lead agency. For
   contact information for your state, go to: www.aapco.org/officials.html. Pesticide incidents should also be
   reported to the National Pesticide Information Center at: www.npic.orst.edu or directly to EPA at:
   beekill@epa.gov




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 CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY

 NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
 Warranty and Liability before buying or using this product. If the terms are not acceptable,
 return the product at once, unopened, and the purchase price will be refunded.

 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors as
 manner of use or application, weather or crop conditions, presence of other materials or
 other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by applicable
 law, Buyer and User agree to hold SYNGENTA and Seller harmless for any claims relating
 to such factors.

 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the inherent
 risks referred to above, when used in accordance with directions under normal use
 conditions. To the extent permitted by applicable law: (1) this warranty does not extend to
 the use of the product contrary to label instructions or under conditions not reasonably
 foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer and User
 assume the risk of any such use. TO THE EXTENT PERMITTED BY APPLICABLE LAW,
 SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY OR OF FITNESS FOR A
 PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR IMPLIED WARRANTY
 EXCEPT AS WARRANTED BY THIS LABEL.

 To the extent permitted by applicable law, in no event shall SYNGENTA be liable for any
 incidental, consequential or special damages resulting from the use or handling of this
 product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE EXCLUSIVE
 REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY OF SYNGENTA
 AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES OR DAMAGES
 (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY, CONTRACT,
 NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE) RESULTING FROM THE
 USE OR HANDLING OF THIS PRODUCT, SHALL BE THE RETURN OF THE
 PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION OF SYNGENTA OR
 SELLER, THE REPLACEMENT OF THE PRODUCT.

 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and Liability, which may not be
 modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.




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                                     DIRECTIONS FOR USE

 It is a violation of Federal law to use this product in a manner inconsistent with its labeling.
 Read entire label before using this product.

                      1.FOR CROPS UNDER CONTRACTED POLLINATION SERVICES
                        Do not apply this product while bees are foraging. Do not
                        apply this product until flowering is complete and all petals
                        have fallen unless the following condition has been met.

                        If an application must be made when managed bees are at the
                        treatment site, the beekeeper providing the pollination
                        services must be notified no less than 48 hours prior to the
                        time of the planned application so that the bees can be
                        removed, covered or otherwise protected prior to spraying.

                      2.FOR FOOD CROPS AND COMMERCIALLY GROWN
                        ORNAMENTALS NOT UNDER CONTRACT FOR POLLINATION
                        SERVICES BUT ARE ATTRACTIVE TO POLLINATORS
                        Do not apply this product while bees are foraging. Do not
                        apply this product until flowering is complete and all petals
                        have fallen unless one of the following conditions is met:
                                The application is made to the target site after sunset

                               The application is made to the target site when
                          temperatures are below 55F

                               The application is made in accordance with a
                          government-initiated public health response

                                The application is made in accordance with an active
                          state-administered apiary registry program where
                          beekeepers are notified no less than 48 hours prior to the
                          time of the planned application so that the bees can be
                          removed, covered or otherwise protected prior to spraying

                                The application is made due to an imminent threat of
                          significant crop loss, and a documented determination
                          consistent with an IPM plan or predetermined economic
                          threshold is met. Every effort should be made to notify
                          beekeepers no less than 48 hours prior to the time of the
                          planned application so that the bees can be removed,
                          covered or otherwise protected prior to spraying.



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 Do not apply this product in a way that will contact workers or other persons, either directly
 or through drift. Only protected handlers may be in the area during application. For any
 requirements specific to your State or Tribe, consult the agency responsible for pesticide
 regulation.

 This labeling must be in the possession of the user at the time of application.

 RESTRICTIONS
     Minecto Duo is highly toxic to bees exposed to direct treatment on blooming crops or
     weeds and may cause possible effects to pollinators from exposure to translocated
     residues in blooming crops. Do not apply Minecto Duo or allow it to drift to blooming
     crops or weeds while bees are foraging in/or adjacent to the treated area.
     Use this product only in commercial and farm plantings.
     Not for use in home plantings.
     Not for use on ornamental plants or plants being grown for ornamental purposes.
     Do not use in greenhouses.
     Do not treat plants grown for transplanting.
     Do not apply to crops grown from thiamethoxam treated seed.
     For foliar uses, do not apply during rain.
     Do not make ground applications within 25 ft or aerial applications within 50 ft of
     aquatic habitats (such as, but not limited to, lakes, reservoirs, rivers, permanent
     streams, wetlands or natural ponds, estuaries, and commercial fish farm ponds). Do
     not cultivate within 30 ft of the aquatic area to allow growth of a vegetative filter strip.
     Unless otherwise stated for a specific crop, do not apply a total of more than 0.4 lb
     ai/A of cyantraniliprole-containing products per year. This is the total from all
     application methods (e.g., seed, soil, foliar).

 Endangered and Threatened Species Protection Requirements:
 Before using this product, you must obtain any applicable Endangered Species Protection
 Bulletins (Bulletins) within six months prior to or on the day of application. To obtain
 Bulletins, go to Bulletins Live! Two (BLT) at
 https://www.epa.gov/pesticides/bulletins. When using this product, you must follow all
 directions and restrictions contained in any applicable Bulletin(s) for the area where you are
 applying the product, including any restrictions on application timing if applicable. It is a
 violation of federal law to use this product in a manner inconsistent with its labeling,
 including this labeling instruction to follow all directions and restrictions contained in any
 applicable Bulletin(s). For general questions or technical help, call 1-844-447-3813, or email
 ESPP@epa.gov.

                       AGRICULTURAL USE REQUIREMENTS
  Use this product only in accordance with its labeling and with the Worker
  Protection Standard, 40 CFR Part 170. This Standard contains requirements for
  the protection of agricultural workers on farms, forests, nurseries, and
  greenhouses, and handlers of agricultural pesticides. It contains requirements
  for training, decontamination, notification, and emer gency assistance. It also

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  contains specific instructions and exceptions pertaining to the statements on this
  label about personal protective equipment (PPE) and restricted-entry interval.
  The requirements in this box only apply to uses of this product that are covered
  by the Worker Protection Standard.
  Do not enter or allow worker entry into treated areas during the restricted-
  entry interval (REI) of 12 hours.
  PPE required for early entry to treated areas that is permitted under the Worker
  Protection Standard and that involves contact with anything that has been
  treated, such as plants, soil, or water is:
             Coveralls
             Chemical-resistant gloves made of any waterproof material  Category
             A (e.g., natural rubber 14 mils)
             Shoes plus socks

 FAILURE TO FOLLOW DIRECTIONS AND PRECAUTIONS ON THIS LABEL MAY
 RESULT IN CROP INJURY, POOR INSECT CONTROL, AND/OR ILLEGAL RESIDUES.

 Sale, use, and distribution of this product in Nassau and Suffolk Counties in the State
 of New York is prohibited.

 INFORMATION

 Minecto Duo is a soil- or foliar-applied insecticide with dual modes of action that controls
 listed lepidopteran, sucking and chewing insect pests.

 When Minecto Duo is applied to the soil, it is readily taken up by the roots of germinating
 seedlings or transplants and is rapidly translocated throughout the plant. Because of its
 systemic activity, Minecto Duo provides excellent residual control of key insect pests in
 vegetables and potatoes.

 Foliar application of Minecto Duo exhibits excellent translaminar and locally systemic
 movement into plant tissue as well as accumulation on the leaf surface. Penetration into the
 leaf tissue forms a reservoir of active ingredient which results in extended residual control.
 Effective crop protection results from rapid feeding inhibition.

    Minecto Duo aids in the suppression of listed pests. Suppression can mean either
    inconsistent control (good to poor), or consistent control at a level below that generally
    considered acceptable for commercial control.

    Minecto Duo is a selective insecticide and is compatible with integrated pest
    management programs.

    Minecto Duo is safe when used in accordance with this label.

 For best performance of soil applications, follow these directions:


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    Minecto Duo can be applied during planting or transplanting as an in-furrow spray,
    transplant hole drench or narrow surface band above the seedline, or on dry fertilizer
    (potatoes only). Minecto Duo can be applied after planting as a post-seeding, post-
    transplanting, hill drench, drip chemigation, or root zone shank application.

    Apply specified dosage in sufficient water volume to ensure uniform application and
    incorporation at least 2 inches into the soil. For vegetables, apply Minecto Duo within 21
    days after either plant emergence or transplanting.

    Although Minecto Duo is rapidly taken up by plant roots and rapidly moves throughout
    the plant, the use of sufficient water volume and root zone placement will ensure that the
    chemical contacts the roots, resulting in optimal uptake and performance.


 For best performance of foliar applications, follow these directions:

    Apply Minecto Duo when insect pest populations begin to build, but before populations
    reach economically damaging levels. Check with your local agricultural authority for
    economic thresholds for pests controlled by Minecto Duo.

    Thorough spray coverage is essential for optimal performance. Apply Minecto Duo in
    sufficient water to ensure good coverage. See specific application information in the
    Crop Use Directions section of this label. The use of higher water volumes will result in
    better coverage, especially under adverse conditions (e.g., hot, dry) or where a dense
    plant canopy exists.

    Minecto Duo is rainfast once the spray solution has dried on treated plants.

 RESISTANCE MANAGEMENT

 Some insect pests are known to develop resistance to products after repeated use.
 Because resistance development cannot be predicted, the use of this product should
 conform to sound resistance management strategies established for the crop and use area.
 Syngenta encourages responsible product stewardship to ensure effective long-term control
 of the insects on this label.

 Minecto Duo contains a Group 4A insecticide (thiamethoxam, belonging to the neonicotinoid
 class of chemistry) and a Group 28 insecticide (cyantraniliprole, belonging to the diamide
 class of chemistry). Insect biotypes with acquired or inherent resistance to Group 4A or
 Group 28 insecticides may eventually dominate the insect population if Group 4A or Group
 28 insecticides are used repeatedly as the predominant method of control for targeted
 species. This may result in partial or total loss of control of those species by Minecto Duo or
 other Group 4A or Group 28 insecticides.

 If resistance to this product develops in your area, this product, or other products with a
 similar mode of action, may not provide adequate control. If poor performance cannot be
 attributed to improper application or extreme weather conditions, a resistant strain of insect
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 may be present. If you experience difficulty with control and resistance is a reasonable
 cause, immediately consult your local company representative or agricultural advisor for the
 best alternative method of control for your area.

 In order to maintain susceptibility to these classes of chemistry:
     Avoid using Group 4A and/or Group 28 insecticides exclusively for season-long control
     of insect species with more than one generation per crop season.
     For insect species with successive or overlapping generations, apply Minecto Duo or
     other Group 4A and/or Group 28 insecticides using a treatment window approach. A
     treatment window is a period of time as defined by the stage of crop development and/or
     the biology of the pests of concern. Within the treatment window, depending on the
     length of residual activity, there may either be single or consecutive applications (seed
     treatment, soil, foliar, unless otherwise stated in the Directions for Use) of the Group 4A
     and/or Group 28 insecticides. Do not exceed the maximum Minecto Duo allowed per
     year.
     Following a treatment window of Group 4A and/or Group 28 insecticides, rotate to a
     treatment window of effective products with a different mode of action before making
     additional applications of Group 4A and/or Group 28 insecticides.
     A treatment window rotation, along with other IPM practices for the crop and use area, is
     considered an effective strategy for preventing or delaying a pests ability to develop
     resistance to these classes of chemistry.
     If resistance is suspected, do not reapply Minecto Duo or other Group 4A or Group 28
     insecticides.

 Other Insect Resistance Management (IRM) practices include:
    Incorporating IPM techniques into your insect control program
    Monitoring treated insect populations for loss of field efficacy
    Using tank-mixtures or premixes with insecticides from a different target site of action
    group as long as the involved products are all registered for the same crop outlet and
    effective rates are applied

    For additional information on Insect Resistance Management:
    Contact your local extension specialist, certified crop advisor and/or product
    manufacturer for additional insect resistance management recommendations.
    Visit the Insecticide Resistance Action Committee (IRAC) on the web at http://www.irac-
    online.org/.


 APPLICATION PROCEDURES AND SPRAY EQUIPMENT

 Soil Application
 Select spray nozzles or metering orifices which will provide accurate and uniform deposition.
 For broadcast applications made at planting or prior to the emergence of crops, applicators
 are required to use a coarse or coarser droplet size (ASABE S572.1). Minecto Duo can be
 applied during planting or transplanting as an in-furrow spray, transplant hole drench or
 narrow surface band above the seedline; after planting as a post-seeding, post-

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 transplanting, hill drench, drip chemigation, or root zone shank application. These
 application methods allow the insecticide to be absorbed by plant roots. Although Minecto
 Duo is rapidly taken up by plant roots and rapidly moves throughout the plant, the use of
 sufficient water volume and root zone placement will ensure that the chemical contacts the
 roots, resulting in optimal uptake and performance.

 When making post-emergence applications, direct the application at the base of the plant
 for optimum root uptake. To help insure accuracy, calibrate sprayer before each use. For
 information on spray equipment and calibration, consult sprayer manufacturers and/or State
 Extension Service specialists.

 Dry Bulk Granular Fertilizer  Potatoes only: Many dry bulk fertilizers may be
 impregnated or coated with Minecto Duo and used to control insects in potatoes. When
 applying Minecto Duo with dry bulk granular fertilizer, follow all directions for use and
 precautions on the Minecto Duo label contained in the potato direction for use section
 regarding rates per acre, pests controlled, and rotational crop restrictions.

 All individual state regulations relating to dry bulk granular fertilizer blending, registration,
 labeling, and application, are the responsibility of the individual and/or company selling the
 insecticide/fertilizer mixture.

 Prepare the insecticide/fertilizer mixture by using any closed drum, belt, ribbon, or other
 commonly used dry bulk fertilizer blender. Nozzles used to spray Minecto Duo onto the
 fertilizer must be placed to provide uniform spray coverage. Care should be taken to aim
 the spray onto the fertilizer only, avoiding the walls of the blender. Do not pour or dribble
 Minecto Duo directly from the product container onto the fertilizer.

 Blender Mixing Directions

 Fill the blender with the required amount of dry bulk granular fertilizer to be used. Start the
 blender. Spray the Minecto Duo directly onto the moving fertilizer. Allow the mixture to
 blend for at least 5 minutes or until uniform. Spread the insecticide/fertilizer mixture as soon
 as possible.

 Calculate the amount of Minecto Duo by the following formula:

 oz/acre Minecto Duo      X 2,000 lb/ton = oz/ton Minecto Duo
 lb/acre Fertilizer

 Important: When more than 1,000 lb/A of dry bulk granular fertilizer is to be applied, mix
 Minecto Duo with water to improve coverage on the dry fertilizer. Mix one part Minecto Duo
 with up to 2 parts water [1:2] in a mix tank before application to fertilizer. Use a maximum of
 2 qt liquid per ton of fertilizer.

 Precautions: Do not impregnate Minecto Duo on straight unadulterated agricultural
 limestone, since adsorption will not be achieved. Limestone prills, which contain a binding
 agent, and fertilizer blends containing limestone can be impregnated.
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 Application: Apply the mixture uniformly to the soil with properly calibrated equipment
 immediately after blending. Non-uniform application of the insecticide/fertilizer mixture may
 result in unsatisfactory insect control.

 Chemigation

 Applications of Minecto Duo alone or in combination with other pesticides registered for
 application through irrigation systems may be applied in irrigation water at rates specified on
 this label. Apply this product only through low-pressure micro-sprinkler, drip type irrigation
 systems or through sprinkler irrigation equipment (center pivot, solid set, hand move or
 moving wheel irrigation systems - potatoes only).


 Directions for All Specified Types of Irrigation Systems

 Uniform Water Distribution and System Calibration

 The irrigation system must provide uniform distribution of treated water. Crop injury, lack of
 effectiveness, or illegal pesticide residues in the crop can result from non-uniform
 distribution of treated water. The system must be calibrated to uniformly apply the rates
 specified. If you have questions about calibration, contact State Extension Service
 specialists, equipment manufacturers, or other experts. A person knowledgeable of the
 chemigation system and responsible for its operation, or under the supervision of the
 responsible person, shall shut the system down and make necessary adjustments should
 the need arise.

 Dilute Minecto Duo in the solution tank at a ratio of at least 5 parts of water to one part of
 Minecto Duo. Injecting a larger volume of a more dilute solution will usually allow a more
 accurate calibration of the metering equipment. Meter the insecticide into the irrigation
 water during the irrigation cycle.

 Using Water from Public Water Systems: DO NOT APPLY Minecto Duo THROUGH
 ANY IRRIGATION SYSTEM PHYSICALLY CONNECTED TO A PUBLIC WATER
 SYSTEM. Public water system means a system for the provision to the public of piped
 water for human consumption, if such system has at least 15 service connections or
 regularly serves an average of at least 25 individuals daily at least 60 days out of the year.
 Minecto Duo may be applied through irrigation systems, which may be supplied by a public
 water system only if the water from the public water system is discharged into a reservoir
 tank prior to pesticide introduction. There shall be a complete physical break (air gap)
 between the outlet end of the fill pipe and to top or overflow rim of the reservoir tank of at
 least twice the inside diameter of the fill pipe. Before beginning chemigation, always make
 sure that the air gap exists and that there is no blockage of the overflow of the reservoir
 tank.

 Any irrigation system using water supplied from a public water system must also meet the
 following requirements.
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 Operating Instructions for All specified Types of Irrigation Systems

 1. The system must be calibrated to uniformly apply the rates specified. If you have
    questions about calibration, contact State Extension Service specialists, equipment
    manufacturers, or other experts.

 2. The system must contain a functional check-valve, vacuum relief valve, and low-
    pressure drain appropriately located on the irrigation pipeline to prevent water source
    contamination from backflow.

 3. The pesticide injection pipeline must contain a functional, automatic, quick-closing
    check-valve to prevent the flow of fluid back toward the injection pump.

 4. The pesticide injection pipeline must also contain a functional, normally closed, solenoid-
    operated valve located on the intake side of the injection pump and connected to the
    system interlock to prevent fluid from being withdrawn from the supply tank when the
    irrigation system is either automatically or manually shut down.

 5. The system must contain functional interlocking controls to automatically shut off the
    pesticide injection pump when the water pump motor stops.

 6. The irrigation line or water pump must include a functional pressure switch, which will
    stop the water pump motor when the water pressure decreases to the point where
    pesticide distribution is adversely affected.

 7. Systems must use a metering pump, such as a positive displacement injection pump
    (e.g., diaphragm pump or Venturi injector), effectively designed and constructed of
    materials that are compatible with pesticides and capable of being fitted with a system
    interlock.

 8. Do not apply when wind speed favors drift beyond the area intended.

 9. The pesticide injection pipeline must be on the downstream (field) side of the system
    filters to avoid potential pesticide off-site contamination or misapplication as a result of
    the filter back-flushing process.

 10. Have a dedicated pesticide injection tank for chemigation purposes rather than tank-
     mixing pesticides with fertilizers or other non-pesticide chemigation products. This
     reduces the potential for incompatibility issues which could result in misapplication.

 11. Make Minecto Duo injections into the center of the water pipe for a thorough and quick
     mix. This can be accomplished with an injection tube which should contain a check
     valve.

 Application Instructions  Low Pressure Micro-Sprinkler or Drip Type Irrigation
 Equipment
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 Minecto Duo must be applied on the schedule specified in the Crop Use Directions, not
 according to the irrigation schedule. The following calibration and application techniques
 are provided for user reference, but do not constitute a warranty of fitness for application
 through low-pressure micro-sprinkler or drip type irrigation equipment. Check with state and
 local regulatory agencies for potential use restrictions before applying any agricultural
 chemicals through irrigation equipment.

 1. Each run of the irrigation system must be calibrated separately to determine the time it
    takes water to move through the system and to make sure all emitters in the system are
    putting out the same amount of water.

 2. Use only pressure injection or Venturi equipment.

 3. Determine the area to be treated in each irrigation run.

 4. Measure the output of each of the emitters or drip tubes closest to and farthest from the
    injection point.

 5.   For calibration, substitute a concentrated detergent (such as Wisk) for the Minecto Duo
      mixture in the injector (solution) tank. It is important to use the same volume of soap
      solution as the planned volume of Minecto Duo solution when calibrating the system.
      The detergent will bubble as it leaves the emitters. Check the time period over which
      the bubbles occur for both the closest and farthest emitters. If these times are not
      within 2 minutes of each other, adjust the dilution ratio and/or the injection rate.

 Step-by-Step Calibration and Application Instructions

 1. Before starting to calibrate, operate the system until all of the emitters are putting out at
    equal flow rates or until the system is operating at full pressure.

 2. Make up an indicator solution of detergent or fertilizer, using the same rate of indicator
    as the planned volume of Minecto Duo to be used in the mix.

 3. Set the injector to apply the indicator solution at the injection rate to be used in the actual
    Minecto Duo application.

 4. Attach a 12-inch length of flexible tubing over the emitter closest to the injection point,
    another 12-inch length over the emitter farthest away. Both emitters should be
    monitored to determine the time intervals that the indicator solutions are observed.

 5. Begin injecting the indicator solution. Direct the flow from the flexible tubes into a small
    container. Begin timing when the indicator solution is first detected. Stop timing when
    the indicator solutions are no longer detected in the container.

 6. If the period of detection of the indicator solution between the near and far emitter is
    within 2 minutes, comparable coverage will be obtained. If they are not, make
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    adjustments by increasing the dilution ratio, using more water per part of Minecto Duo, or
    adjust the injector to a slower flow rate.

 7. Once the system is calibrated, dilute the needed amount of Minecto Duo with water and
    any other tank mix partners in the injection tank at a minimum dilution of 5 parts water to
    1 part Minecto Duo. Follow the directions for mixing and equipment set up in the Mixing
    Procedures section of this label for complete details.

 8. Do not begin to inject Minecto Duo into the system until all emitters are producing equal
    flow rates, or until the system is at full pressure.

 9. Inject the Minecto Duo solution into the system at the beginning of the irrigation set in
    1/2 -1 inch of irrigation water.

 Application Instructions  Sprinkler irrigation equipment (center pivot, solid set, hand
 move or moving wheel irrigation systems  Potatoes only)

 Minecto Duo alone or in combination with other products which are registered for application
 through sprinkler irrigation may be applied through irrigation systems. Apply this product
 through center pivot, solid set, hand move, or moving wheel irrigation systems. Lack of
 effectiveness or illegal pesticide residues can result from non-uniform distribution of treated
 water. If you have questions about calibration, contact State Extension Service specialists,
 equipment manufacturers, or other experts. A person knowledgeable of the chemigation
 system and responsible for its operation, or under the supervision of the responsible person,
 shall shut the system down and make necessary adjustments should the need arise.

 Calibration and Application Instructions

 Minecto Duo must be applied under the schedule specified in the specific Crop Use
 Directions, not according to the irrigation schedule unless the events coincide.

 Set the equipment to apply the minimum amount of water per acre. Run the system at 85 -
 90% of the manufacturers maximum rated travel speed.

 The following calibration and application techniques are provided for user reference, but do
 not constitute a warranty of fitness for application through sprinkler irrigation equipment.
 Check with state and local regulatory agencies for potential use restrictions before applying
 any agricultural chemical through sprinkler irrigation equipment.

 Center Pivot Irrigation Equipment

 Notes: (1) Use only drive systems that provide uniform water distribution. (2) Do not use
 end guns when chemigating Minecto Duo through center pivot systems because of non-
 uniform application. (3) Plug the first nozzle closest to the well-head to protect the water
 source.

 1. Determine the size of the area to be treated.
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 2. Determine the time required to apply 0.1  0.25 inches of water over the area to be
 treated when the system and injection equipment are operated at normal pressures as
 recommended by the equipment manufacturer. Run the system at 80 - 95% of the
 manufacturers rated maximum travel speed.

 3. Using water, determine the injection pump output when operated at normal line pressure.

 4. Determine the amount of Minecto Duo, and any tank mix partners, required to treat the
 area covered by the irrigation system.

 5. Add the required amount of Minecto Duo, any tank mix partners, and sufficient water to
 meet the injection time requirements to the solution tank. (See Mixing Procedures section
 of this label.)

 6. Make sure the system is fully charged with water before starting injection of the Minecto
 Duo solution. Time the injection to last at least as long as it takes to bring the system to full
 pressure.

 7. Maintain constant agitation in the solution tank during the injection period.

 8. Inject the specified amount of Minecto Duo per acre continuously for one complete
 revolution of the system.

 9. Stop the injection equipment after treatment is completed. Continue to operate the
 system until the Minecto Duo solution has cleared all of the sprinkler heads.

 10. Allow time for all lines to flush the pesticide through all nozzles before turning off
 irrigation water.

 Solid Set, Hand Move, and Moving Wheel Irrigation Equipment

 1. Determine the acreage covered by the sprinklers.

 2. Fill injector solution tank with plain water and calibrate the flow rate of the system to
 deliver the contents of the tank over a 20-40 minute time interval.

 3. Determine the amount of Minecto Duo required to treat the area covered by the irrigation
 system.

 4. Add the required amount of Minecto Duo, and any other tank mix partners, into the same
 quantity of water used to calibrate the injection period. (See Mixing Procedures section of
 this label.)

 5. Operate the system at the same pressure and time interval established during the
 calibration.


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 6. Inject specified amount of Minecto Duo per acre for either a 20-40 minute period at the
 end of a regular irrigation set, or as a 20-40 minute injection as a separate application not
 associated with a regular irrigation to maximize retention of the insecticide by the foliage.

 7. Stop injection equipment after treatment is completed. Continue to operate the system
 until the Minecto Duo solution has cleared the last sprinkler head. To ensure lines are
 flushed and free from remaining pesticides, a dye indicator may be injected into the lines to
 mark the end of the application period.


 GROUND APPLICATION

 Select spray nozzles which will provide accurate and uniform spray deposition. For
 broadcast applications made at planting or prior to the emergence of crops, applicators are
 required to use a coarse or coarser droplet size (ASABE S572.1). For all other broadcast
 applications, applicators are required to use a medium or coarser droplet size (ASABE
 S572.1). Use spray nozzles, which provide medium-sized droplets and reduce drift. To help
 insure accuracy, calibrate sprayer before each use. For information on spray equipment
 and calibration, consult nozzle manufacturers and/or State Extension Service specialists.

 Apply Minecto Duo using sufficient water volume to provide thorough and uniform coverage.
 In situations where a dense canopy exists and/or pest pressure is high, use greater water
 volumes. The use of a spray adjuvant may improve spray coverage but is not required. Do
 not make applications under conditions where uniform coverage cannot be obtained or
 where excessive spray drift may occur.


 AERIAL APPLICATION

 Apply Minecto Duo in water, using the minimum spray volume indicated in the Crop Use
 Directions section of this label. Increase spray volume where practical to improve
 coverage. Do not make application under conditions where uniform coverage cannot be
 obtained or where excessive spray drift may occur.

 Spray Drift Precautions

 As with all crop protection products, it is important to avoid off-target movement. Do not
 allow spray to drift onto adjacent land, crops, or aquatic areas. To avoid spray drift:

    Do not release spray at a height greater than 10 ft above the ground or vegetative
    canopy unless a greater application height is necessary for pilot safety.

    For fixed wing and helicopter aerial applications made at planting or prior to the
    emergence of crops, applicators are required to use a coarse or coarser droplet size
    (ASABE S572.1). For all other fixed wing and helicopter aerial applications, applicators
    are required to use a medium or coarser droplet size (ASABE S572.1).

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    Do not apply when wind speeds exceed 15 mph at the application site. If the wind
    speed is greater than 10 mph, the boom length must be 65% or less of the wingspan for
    fixed wing aircraft and 75% or less of the rotor diameter for helicopters. Otherwise, the
    boom length must be 75% or less of the wingspan for fixed wing aircraft and 90% or less
    of the rotor diameter for helicopters.

    When the windspeed is 10 mph or less, applicators must use ¾ swath displacement
    upwind at the downwind edge of the field. When the windspeed is between 11-15 mph,
    applicators must use a full swath displacement upwind at the downwind edge of the field.

    Make applications when wind velocity favors on-target product deposition (approximately
    3-10 mph).

    Do not make applications when wind direction is toward the aquatic area to reduce the
    risk of exposure to sensitive aquatic areas.


    Do not make applications during temperature inversions. Inversions are characterized
    by stable air and increasing temperatures with increased height above the ground. Mist
    or fog may indicate the presence of an inversion in humid areas. The applicator may
    detect the presence of an inversion by producing smoke and observing a smoke layer
    near the ground surface.



 MIXING PROCEDURES

 Prepare no more spray mixture than is needed for the immediate operation. Thoroughly
 clean spray equipment before using this product. Vigorous agitation is necessary for proper
 dispersal of the product. Maintain maximum agitation throughout the spraying operation.
 Do not let the spray mixture stand overnight in the spray tank. Flush the spray equipment
 thoroughly following each use and apply the rinsate to a previously treated area. Keep
 product container tightly closed when not in use.

 Minecto Duo Alone
 Add 1/2 of the required amount of water to the mix tank. With the agitator running, add the
 desired amount of Minecto Duo to the tank. Continue agitation while adding the remainder
 of the water. Begin application of the solution after Minecto Duo has completely dispersed
 into the mix water. Maintain agitation until all of the mixture has been applied.

 Minecto Duo + Tank Mixtures
 Add 1/2 of the required amount of water to the mix tank. Start the agitator running before
 adding any tank mix partners. Add tank mix partners in this order: products packaged in
 water-soluble packaging, wettable powders, wettable granules (dry flowables) such as
 Minecto Duo, liquid flowables, liquids, emulsifiable concentrates, and surfactants /
 adjuvants. Always allow each tank mix partner to become fully dispersed before adding the

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 next product. Provide sufficient agitation while adding the remainder of the water. Maintain
 agitation until all of the mixture has been applied.

 Note: When using Minecto Duo in tank mixtures, add all products in water-soluble
 packaging to the tank before any other tank mix partner, including Minecto Duo. Allow the
 water-soluble packaging to completely dissolve and the product(s) to completely disperse
 before adding any other tank mix partner to the tank.

 If using Minecto Duo in a tank mixture, observe all directions for use, crop/sites, use rates,
 dilution ratios, precautions, and limitations, which appear on the tank mix product label. Do
 not exceed any label dosage rate, and follow the most restrictive label precautions and
 limitations. Do not mix this product with any product which prohibits such mixing. Tank
 mixtures or other applications of products referenced on this label are permitted only in
 those states in which the referenced products are labeled.

 When an adjuvant is to be used with this product, use an adjuvant that meets the standard
 of the Chemical Producers and Distributors Association (CPDA) adjuvant certification
 program.

 Compatibility

 Minecto Duo is compatible with most commonly used pesticides, crop oils, adjuvants, and
 nutritional sprays. However, since it is not possible to test all possible mixtures, the user
 should pre-test to assure the physical compatibility and lack of phytotoxic effect of any
 proposed mixtures with Minecto Duo. To determine the physical compatibility of Minecto
 Duo with other products, use a jar test, as described below.

 Using a quart jar, add the proportionate amounts of the products to 1 qt of water. Add
 wettable powders and water-dispersible granular products first, then liquid flowables, and
 emulsifiable concentrates last. After thoroughly mixing, let stand for at least 5 minutes. If
 the combination remains mixed or can be remixed readily, it is physically compatible. Once
 compatibility has been proven, use the same procedure for adding required ingredients to
 the spray tank.

 The crop safety of all potential tank mixes on all crops has not been tested. Confirm the
 safety to the target crop before applying any tank mixture not specified on this label.


 CROP USE DIRECTIONS

 Pollinator Precautions




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       Minecto Duo is highly toxic to bees exposed to direct treatment on blooming crops or
       weeds and may cause possible effects to pollinators from exposure to translocated
       residues in blooming crops.
       Do not apply Minecto Duo or allow it to drift to blooming crops while bees are
       foraging in/or adjacent to the treatment area. This is especially critical if there are
       adjacent orchards that are blooming (Refer to Spray Drift Precautions for additional
       information).

 Consult with your local cooperative extension service or state agency responsible for
 regulating pesticide use for additional pollinator protection practices




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 BRASSICA (COLE) LEAFY VEGETABLES  CROP GROUP 5 INCLUDING:

 Head & Stem Brassica
  Broccoli, Broccoli, Chinese (gai lon), Brussels sprouts, Cabbage, Chinese (napa)
  Cabbage, Chinese mustard (gai choy) Cabbage, Cauliflower, Cavalo broccolo, Kohlrabi
 Leafy Brassica Greens
  Broccoli raab (rapini), Cabbage, Chinese (bok choy), Collards, Kale, Mizuna, Mustard
  greens, Mustard spinach, Rape greens


      Application Method                   Pests                  Product Rate Per
                                                                 Acre Per Application
                               Aphids
   Soil                        Beet Armyworm                         11  14 oz/A
                               Cabbage Looper
                               Cabbage Webworm
                               Corn Earworm
                               Diamondback Moth
                               Fall Armyworm
                               Flea Beetles
                               Imported Cabbageworm
                               Leafminers (larvae)
                               Southern Cabbageworm
                               Whiteflies
                               Yellowstriped Armyworm

 Soil Application Use Restrictions:
    Maximum Minecto Duo Allowed per Year: Do not exceed a total of 14 oz/acre of
    Minecto Duo or 0.175 lb ai of thiamethoxam-containing products or 0.4 lb ai of
    cyantraniliprole-containing products per acre per year. These are the limits from all
    application methods combined (seed, soil and foliar).
    Application Rate: Use lower rates for short residual control and higher rates within the
    listed rate range for long residual control. See rate conversion chart for rate per 1000
    linear feet.
    Application Number: Make only one soil application per crop season.
    Application Timing & Method: Apply Minecto Duo within 28 days of planting or
    transplanting using one of the following application methods and ensuring that adequate
    time is allowed for a 30-day pre-harvest interval. Apply specified dosage in sufficient
    water volume to ensure uniform application and incorporation at least 2 inches into the
    soil using one of the following methods:
    1. In-furrow spray at the seeding or transplant depth, or a narrow surface band above
         the seedline during planting. For surface-banded applications, incorporate to the
         seeding depth with sufficient sprinkle or drip irrigation within 24 hours.
    2. Post seeding, transplant, or hill drench using sufficient water volume to ensure
         incorporation into the root zone.
    3. In drip (trickle) chemigation.



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    4. Shanked into the root zone after establishment or transplanting using fertilizer knives
       or other similar equipment. After application, incorporate with enough irrigation to
       move the chemical to the root zone.
    Pre-Harvest Interval (PHI): 30 Days

              Refer to Pollinator Precautions section, Environmental Hazards section
              and Directions for Use.
              Refer to Resistance Management section.


   Application Method                   Pests                  Product Rate Per
                                                              Acre Per Application

   Foliar                Alfalfa Looper                             4  7 oz/A
                         Aphids
                         Beet Armyworm
                         Cabbage Looper
                         Cabbage Webworm
                         Corn Earworm
                         Diamondback Moth
                         Fall Armyworm
                         Flea Beetles
                         Imported Cabbageworm
                         Leafminers (larvae)
                         Sugarbeet Armyworm
                         Thrips (Foliage Feeding)1
                         Whiteflies
                         Yellowstriped Armyworm


 Foliar Application Use Restrictions:
    Maximum Minecto Duo Allowed per Year: Do not exceed a total of 14 oz/acre of
    Minecto Duo or 0.175 lb ai of thiamethoxam-containing products or 0.4 lb ai of
    cyantraniliprole-containing products per acre per year. These are the limits from all
    application methods combined (seed, soil and foliar).
    Application Timing: Apply before pests reach damaging levels. Scout fields and treat
    again if populations rebuild to potentially damaging levels. Apply higher rates within the
    listed rate range for heavy infestations.
    Minimum Interval Between Foliar Applications: 7 days.
    Water Volume: Use sufficient water volume to ensure thorough coverage of foliage. Do
    not use less than 10 GPA for ground applications or 5 GPA for aerial applications.
    Pre-Harvest Interval (PHI):
         1 Day for Head & Stem Brassicas
         7 Days for Leafy Brassica Greens
    Pest Control: 1Suppression.




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             Refer to Pollinator Precautions section, Environmental Hazards and
              Directions for Use.
              Refer to Resistance Management section.



 CUCURBIT VEGETABLES  CROP GROUP 9 INCLUDING:

  Chayote, Chinese waxgourd, Citron melon, Cucumber, Gherkin, Gourd, edible (hyotan,
  cucuzza, hechima, Chinese okra), Momordica species (balsam apple, balsam pear,
  bittermelon, Chinese cucumber), Muskmelon (hybrids and/or cultivars of Cucumis melo,
  includes true cantaloupe, cantaloupe, casaba, Crenshaw melon, golden pershaw melon,
  honeydew melon, honey balls, mango melon, Persian melon, pineapple melon, Santa
  Claus melon, and snake melon), Pumpkin, Squash: summer (crookneck squash, scallop
  squash, straightneck squash, vegetable marrow, zucchini) and winter (butternut squash,
  calabaza, hubbard squash, acorn squash, spaghetti squash), Watermelon (includes
  hybrids and/or varieties of Citrullus lanatus)


   Application Method                  Pests                  Product Rate Per
                                                             Acre Per Application

   Soil                  Aphids                                  11  14 oz/A
                         Cucumber Beetle1
                         Flea Beetles
                         Leafhoppers
                         Leafminers (larvae)
                         Melonworm
                         Pickleworm
                         Whiteflies


 Soil Application Use Restrictions:
    Maximum Minecto Duo Allowed per Year: Do not exceed a total of 14 oz/acre of
    Minecto Duo or 0.175 lb ai of thiamethoxam-containing products or 0.4 lb ai of
    cyantraniliprole-containing products per acre per year. These are the limits from all
    application methods combined (seed, soil, and foliar).
    Application Rate: Use lower rates for short residual control and higher rates within the
    listed rate range for long residual control. See rate conversion chart for rate per 1000
    linear feet.
    Application Number: Make only one soil application per year.
    Application Timing & Method: Apply Minecto Duo within 28 days of planting or
    transplanting using one of the following application methods and ensuring that adequate
    time is allowed for a 30-day pre-harvest interval. Apply specified dosage in sufficient
    water volume to ensure uniform application and incorporation at least 2 inches into the
    soil using one of the following methods:


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    1. In-furrow spray at the seeding or transplant depth, or a narrow surface band above
       the seedline during planting. For surface-banded applications, incorporate to the
       seeding depth with sufficient sprinkle or drip irrigation within 24 hours.
    2. Post seeding, transplant, or hill drench using sufficient water volume to ensure
       incorporation into the root zone.
    3. In drip (trickle) chemigation.
    4. Shanked into the root zone after establishment or transplanting using fertilizer knives
       or other similar equipment. After application, incorporate with enough irrigation to
       move the chemical to the root zone.
    Pre-Harvest Interval (PHI): 30 Days
    Pest Control: 1 Early Season Suppression

               Refer to Pollinator Precautions section, Environmental Hazards and
                Directions for Use.
                Refer to Resistance Management section.


   Application Method                   Pests                  Product Rate Per
                                                              Acre Per Application

   Foliar                 Aphids                                   4  7 oz/A
                          Cabbage Looper
                          Corn Earworm
                          Cucumber Beetle1
                          Flea Beetles
                          Leafminers (larvae)
                          Melonworm
                          Pickleworm
                          Rindworm species complex
                          Thrips (Foliage Feeding)1
                          Tobacco Budworm
                          Whiteflies


 Foliar Application Use Restrictions:
    Maximum Minecto Duo Allowed per Year: Do not exceed a total of 14 oz/Acre of
    Minecto Duo or 0.175 lb ai of thiamethoxam-containing products or 0.4 lb ai of
    cyantraniliprole-containing products per acre per year. These are the limits from all
    application methods combined (seed, soil, and foliar).
    Application Timing: Apply before pests reach damaging levels. Scout fields and treat
    again if populations rebuild to potentially damaging levels. Apply higher rates within the
    listed rate range for heavy infestations.
    Minimum Interval Between Foliar Applications: 5 days.
    Water Volume: Use sufficient water volume to ensure thorough coverage of foliage. Do
    not use less than 10 GPA for ground applications or 5 GPA for aerial applications.
    Pre-Harvest Interval (PHI): 1 day
    Pest Control: 1Suppression.

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              Refer to Pollinator Precautions section, Environmental Hazards section
              and Directions for Use.
              Refer to Resistance Management section.



 FRUITING VEGETABLES  CROP GROUP 8 INCLUDING:

  Eggplant, Groundcherry, Pepino, Peppers (bell, cooking, pimento, and sweet), Tomatillo,
  Tomato


   Application Method                  Pests                  Product Rate Per
                                                             Acre Per Application

  Soil                    Aphids                                 11  14 oz/A
                          Beet Armyworm
                          Colorado Potato Beetle
                          Fall Armyworm
                          Flea Beetles
                          Hornworms
                          Leafhoppers
                          Leafminers (larvae)
                          Loopers
                          Potato Psyllid
                          Southern Armyworm
                          Spotted Cucumber Beetle1
                          Tomato Fruitworm
                          Tomato Pinworm
                          Whiteflies
                          Yellowstriped Armyworm

 Soil Application Use Restrictions:
    Maximum Minecto Duo Allowed per Year: Do not exceed a total of 14 oz/acre of
    Minecto Duo or 0.175 lb ai of thiamethoxam-containing products or 0.4 lb ai of
    cyantraniliprole-containing products per acre per year. These are the limits from all
    application methods combined (seed, soil, and foliar).
    Application Rate: Use lower rates for short residual control and higher rates within the
    listed rate range for long residual control. See rate conversion chart for rate per 1000
    linear feet.
    Application Number: Make only one soil application per year.
    Application Timing & Method: Apply Minecto Duo within 28 days of planting or
    transplanting using one of the following application methods and ensuring that adequate
    time is allowed for a 30-day pre-harvest interval. Apply specified dosage in sufficient
    water volume to ensure uniform application and incorporation at least 2 inches into the
    soil using one of the following methods:


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    1. In-furrow spray at the seeding or transplant depth, or a narrow surface band above
       the seedline during planting. For surface-banded applications, incorporate to the
       seeding depth with sufficient sprinkle or drip irrigation within 24 hours.
    2. Post seeding, transplant, or hill drench using sufficient water volume to ensure
       incorporation into the root zone.
    3. In drip (trickle) chemigation.
    4. Shanked into the root zone after establishment or transplanting using fertilizer knives
       or other similar equipment. After application, incorporate with enough irrigation to
       move the chemical to the root zone.
    Pre-Harvest Interval (PHI): 30 Days
    Pest Control: 1 Early Season Suppression

              Refer to Pollinator Precautions section, Environmental Hazards section
               and Directions for Use.
              Refer to Resistance Management section.



   Application Method                  Pests                  Product Rate Per
                                                             Acre Per Application

   Foliar                 Aphids                                   4  7 oz/A
                          Beet Armyworm
                          Colorado Potato Beetle
                          European Corn Borer
                          Fall Armyworm
                          Flea Beetles
                          Hornworms
                          Leafhoppers
                          Leafminers (larvae)
                          Loopers
                          Pepper Weevil
                          Southern Armyworm
                          Stinkbugs
                          Thrips (Foliage Feeding)1
                          Tobacco Budworm
                          Tomato Fruitworm
                          Tomato Pinworm
                          Whiteflies
                          Yellowstriped Armyworm

 Foliar Application Use Restrictions:
    Maximum Minecto Duo Allowed per Year: Do not exceed a total of 14 oz/acre of
    Minecto Duo or 0.175 lb ai of thiamethoxam-containing products or 0.4 lb ai of
    cyantraniliprole-containing products per acre per year. These are the limits from all
    application methods combined (seed, soil, and foliar).
    Application Timing: Apply before pests reach damaging levels. Scout fields and treat
    again if populations rebuild to potentially damaging levels. Apply higher rates within the
    listed rate range for heavy infestations.
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    Minimum Interval Between Foliar Applications: 5 days.
    Water Volume: Use sufficient water volume to ensure thorough coverage of foliage. Do
    not use less than 10 GPA for ground applications or 5 GPA for aerial applications.
    Pre-Harvest Interval (PHI): 1 day
    Pest Control: 1Suppression

              Refer to Pollinator Precautions section, Environmental Hazards section
              and Directions for Use.
              Refer to Resistance Management section.


 LEAFY VEGETABLES  CROP GROUP 4 INCLUDING:

  Amaranth, Arugula, Cardoon, Celery, Chinese Celery, Celtuce, Chervil, Chrysanthemum:
  edible-leaved & garland, Corn Salad, Cress: garden and upland, (yellow rocket, winter
  cress), Dandelion, Dock (sorel), Endive (escarole), Fennel, Florence (finochio), Lettuce:
  head & leaf, Orach, Parsley, Purslane: garden & winter
  Radicchio (red chicory), Rhubarb, Spinach including New Zealand & Vine (Malabar,
  Indian), Swiss chard


   Application Method                 Pest                  Product Rate Per
                                                           Acre Per Application

  Soil                   Aphids                                11  14 oz/A
                         Beet Armyworm
                         Cabbage Looper
                         Corn Earworm
                         Diamondback Moth
                         Fall Armyworm
                         Flea Beetles
                         Imported Cabbageworm
                         Leafhoppers
                         Leafminers (larvae)
                         Whiteflies

 Soil Application Use Restrictions:
    Maximum Minecto Duo Allowed per Year: Do not exceed a total of 14 oz/Acre of
    Minecto Duo or 0.175 lb ai of thiamethoxam-containing products or 0.4 lb ai of
    cyantraniliprole-containing products per acre per year. These are the limits from all
    application methods combined (seed, soil, and foliar).
    Application Rate: Use lower rates for short residual control and higher rates within the
    listed rate range for long residual control. See rate conversion chart for rate per 1000
    linear feet.
    Application Number: Make only one soil application per year.
    Application Timing & Method: Apply Minecto Duo within 28 days of planting or
    transplanting using one of the following application methods and ensuring that adequate
    time is allowed for a 30-day pre-harvest interval. Apply specified dosage in sufficient
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    water volume to ensure uniform application and incorporation at least 2 inches into the
    soil using one of the following methods:
    1. In-furrow spray at the seeding or transplant depth, or a narrow surface band above
        the seedline during planting. For surface-banded applications, incorporate to the
        seeding depth with sufficient sprinkle or drip irrigation within 24 hours.
    2. Post seeding, transplant, or hill drench using sufficient water volume to ensure
        incorporation into the root zone.
    3. In drip (trickle) chemigation.
    4. Shanked into the root zone after establishment or transplanting using fertilizer knives
        or other similar equipment. After application, incorporate with enough irrigation to
        move the chemical to the root zone.
    Pre-Harvest Interval (PHI): 30 Days

                  Refer to Pollinator Precautions section, Environmental Hazards
                   section and Directions for Use.
                  Refer to Resistance Management section.



   Application Method                  Pest                   Product Rate Per
                                                             Acre Per Application

  Foliar                  Aphids                                  4  7 oz/A
                          Beet Armyworm
                          Cabbage Looper
                          Corn Earworm
                          Diamondback Moth
                          European Corn Borer
                          Fall Armyworm
                          Flea Beetles
                          Imported Cabbageworm
                          Leafhoppers
                          Leafminers (larvae)
                          Southern Armyworm
                          Sugarbeet Armyworm
                          Tobacco Budworm
                          Whiteflies

 Foliar Application Use Restrictions:
    Maximum Minecto Duo Allowed per Year: Do not exceed a total of 14 oz/acre of
    Minecto Duo or 0.175 lb ai of thiamethoxam-containing products or 0.4 lb ai of
    cyantraniliprole-containing products per acre per year. These are the limits from all
    application methods combined (seed, soil, and foliar).
    Application Timing: Apply before pests reach damaging levels. Scout fields and treat
    again if populations rebuild to potentially damaging levels. Apply higher rates within the
    listed rate range for heavy infestations.
    Minimum Interval Between Foliar Applications: 7 days.


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    Water Volume: Use sufficient water volume to ensure thorough coverage of foliage. Do
    not use less than 10 GPA for ground applications or 5 GPA for aerial applications.
    Pre-Harvest Interval (PHI): 7 days


                  Refer to Pollinator Precautions section, Environmental Hazards
                  section and Directions for Use.
                 Refer to Resistance Management section.

 TUBEROUS AND CORM VEGETABLES  CROP GROUP 1C INCLUDING:

  Potato, Sweet potato, Yams, Yam bean, Arracacha, Arrowroot, Chinese artichoke,
  Jerusalem artichoke, Canna, Cassava, Bitter and Sweet, Chayote (root), Chufa, Dasheen,
  Ginger, Leren, Tanier, Turmeric


   Application Method                 Pest                  Product Rate Per
                                                           Acre Per Application

   Soil                  Aphids                                6.5  10 oz/A
                         Colorado Potato Beetle
                         European Corn Borer 1
                         Flea Beetles
                         Potato Leafhopper
                         Potato Psyllid
                         Wireworm (seed piece only)

 Soil Application Use Restrictions:
    Maximum Minecto Duo Allowed per Year: Do not exceed a total of 10 oz of Minecto
    Duo or 0.125 lb ai of soil-applied thiamethoxam-containing products or 0.4 lb ai of
    cyantraniliprole-containing products per acre per year. These are the limits from all
    application methods combined (seed, soil, and foliar).
    Application Rate: Use lower rates for short residual control and higher rates within the
    listed rate range for long residual control. See rate conversion chart for rate per 1000
    linear feet.
    Application Number: Make only one soil application per year.
    Application Method: Apply specified dosage to ensure uniform application and
    incorporation at least 2 inches into the soil using one of the following methods:
    1. An in-furrow spray during planting. Spray directly on the seed pieces in the furrow.
         Apply in sufficient water to ensure good coverage of seed pieces.
    2. Apply specified amount of Minecto Duo impregnated on dry granular fertilizer before
         or during planting.
    3. Apply at plant emergence. Direct spray at the soil near the base of the plant during
         the last hilling operation. Incorporate into the root zone with sufficient overhead
         irrigation within 24 hours.
    4. Apply as a broadcast spray to the soil during the last hilling operation. Incorporate
         into the root zone with sufficient overhead irrigation within 24 hours.

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     5. Apply at plant emergence through overhead chemigation after hilling. Use from 0.10-
        0.50 inches of water. (For more details: see application through irrigation systems for
        potatoes in APPLICATION PROCEDURES AND SPRAY EQUIPMENT section.)
     Pest Control: 1 Early Season Suppression

                     Refer to Pollinator Precautions section, Environmental Hazards section
                      and Directions for Use.
                      Refer to Resistance Management section.




 Minecto Duo Conversion Chart for Drip Linear Application

                                                                                                                                           Row
               20       30          34        36        38        40        46       60       72      78        80     84
                                                                                                                                          Spacing
              26,136    17,424      15,374     14,520     13,756     13,068     11,363     8,712     7,260    6,702      6,534   6,223   Linear Ft/A
    Rate
                               Rate in oz of product per 1,000 linear feet for specified row spacing and rate per acre                    Lb ai/A
  (oz/acre)
    6.5        0.25      0.37        0.42       0.45       0.47       0.50       0.57      0.75      0.90      0.97      0.99    1.04      0.163
    10.0       0.38      0.57        0.65       0.69       0.73       0.77       0.88      1.15      1.38      1.49      1.53    1.61       0.25
    11.0       0.42      0.63        0.72       0.76       0.80       0.84       0.97      1.26      1.52      1.64      1.68    1.77       0.28
    12.0       0.46      0.69        0.78       0.83       0.87       0.92       1.06      1.38      1.65      1.79      1.84    1.93       0.30
    13.0       0.50      0.75        0.85       0.90       0.95       0.99       1.14      1.49      1.79      1.94      1.99    2.09       0.33
    14.0       0.54      0.80        0.91       0.96       1.02       1.07       1.23      1.61      1.93      2.09      2.14    2.25       0.35




 ROTATIONAL RESTRICTIONS

 Any cover crop planted for erosion control or soil improvement may be planted as soon as
 practical following the last application. However, the cover crop may not be grazed or
 harvested for food or feed. For all other rotational crops intended for food or feed, the plant-
 back intervals listed below must be observed.

 Immediate Plant-Back Interval:
 Treated areas may be replanted immediately following harvest or as soon as practical
 following the last application with Brassica (cole) leafy vegetables (crop group 5), cucurbit
 vegetables (crop group 9), fruiting vegetables (crop group 8), leafy vegetables (crop group
 4), dry bulb onion, cotton, sunflower, oilseed crops (rapeseed, Indian rapeseed, Indian
 mustard seed, filed mustard seed, black mustard seed, flax seed, safflower seed, crambe
 seed and borage seed), blueberries, and strawberries.

 30 - Day Plant-Back Interval:
 Alfalfa, legume vegetables (crop groups 6), cereal grains (crop groups 15) (note: can use
 forage, fodder, or straw only from corn, barley, buckwheat, millet, rye, sorghum, or wheat
 planted with less than a 12-month plantback), peanut, tuberous and corm vegetables (crop
 group 1D), potato, root vegetables (crop group 1A).

 120-Day Plant-Back Interval: Grass forage, fodder, and hay (crop group 17).

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 For all other crops, a 12-month plant-back interval must be observed.




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 STORAGE AND DISPOSAL

 Do not contaminate water, food, or feed by storage or disposal.

 Pesticide Storage

 Store in a cool, dry place.

 Pesticide Disposal

 Pesticide wastes may be toxic. Improper disposal of excess pesticide, spray mixture, or
 rinsate is a violation of Federal law. If these wastes cannot be used according to label
 instructions, contact your State Pesticide or Environmental Control Agency, or the
 Hazardous Waste representative at the nearest EPA Regional Office for guidance in proper
 disposal methods.

 For minor spills, leaks, etc., follow all precautions indicated on this label and clean up
 immediately. Take special care to avoid contamination of equipment and facilities during
 cleanup procedures and disposal of wastes. In the event of a major spill, fire, or other
 emergency, call 1-800-888-8372, day or night.

 Container Handling (plastic container)
 Non-refillable container. Do not reuse or refill this container.
 Triple rinse container (or equivalent) promptly after emptying. Triple rinse as follows: empty
 the remaining contents into application equipment or a mix tank. Fill the container ¼ full
 with water and recap. Shake for 10 seconds. Pour rinsate into application equipment or a
 mix tank for later use or disposal. Drain for 10 seconds after the flow begins to drip. Repeat
 this procedure two more times. Offer for recycling if available or puncture and dispose of in
 a sanitary landfill, or by incineration, or by other procedures allowed by state and local
 authorities.

 Container Handling (bag)
 Non-refillable container. Do not reuse or refill this container.
 Completely empty bag into application equipment. Then offer for recycling if available or
 dispose of empty bag in a sanitary landfill or by other procedures allowed by state and local
 authorities.

 Minecto The ALLIANCE FRAME, the SYNGENTA logo, and the PURPOSE ICON are
 trademarks of a Syngenta Group Company

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                   For non-emergency (e.g., current product information) call
                         Syngenta Crop Protection at 1-800-334-9481.

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 Manufactured for:
 Syngenta Crop Protection, LLC
 P.O. Box 18300
 Greensboro, North Carolina 27419-8300
 Minecto Duo 1421 MAS 0814 AMEND-B 0623-CL  JVB  08/04/23
 000100-01421.20230616B.MINECTO_DUO.AMEND-0623-CL.pdf




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                               Attachment 7
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                            OFFICE OF CHEMICAL SAFETY
                                                                                            AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

PRIA Non-New-Use Label Acceptable v.20150320
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593334

        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under Syngenta’s control,
       Syngenta must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
       under the previously approved labeling for no longer than 12 months from the date of this letter
       or 75 days after the final state approval from those submitted under Term #2, whichever is
       earlier.

    4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
       product that bears the previously approved label but is not under Syngenta’s control as of the
       date of this letter. However, Syngenta should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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593334

       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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593334

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                                       [MASTER]

 Sale, use, and distribution of this product in Nassau and Suffolk Counties in the
 State of New York is prohibited.


 A16901B Residential


 Insecticide

 For Outdoor Applications to Residential Landscape Plants

 Active Ingredient:
 Thiamethoxam1 ............................................................................................ 20.0%
 Cyantraniliprole2 ........................................................................................... 20.0%
 Other Ingredients:                                                                                            60.0%
 Total:                                                                                                      100.0%
 1CAS No. 153719-23-4
 2CAS No. 736994-63-1


 A16901B Residential is a water-dispersible granule.

 KEEP OUT OF REACH OF CHILDREN.

 CAUTION

 See additional precautionary statements and directions for use on label.

 EPA Reg. No. 100-1423

 EPA Est.



 Net Weight
 Non-refillable container
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                                           FIRST AID
  If in eyes                Hold eye open and rinse slowly and gently with water for 15-20
                            minutes.
                            Remove contact lenses, if present, after the first 5 minutes, then
                            continue rinsing.
                            Call a poison control center or doctor for treatment advice.
  Have the product container or label with you when calling a poison control center or
  doctor, or going for treatment.
                                      HOTLINE NUMBER
               For 24-Hour Medical Emergency Assistance (Human or Animal)
              or Chemical Emergency Assistance (Spill, Leak, Fire or Accident)
                                              Call
                           1-800-888-8372[alternate phone number]


 PRECAUTIONARY STATEMENTS

 Hazards to Humans and Domestic Animals

                                         CAUTION

 Causes moderate eye irritation. Avoid contact with eyes or clothing. Wear protective
 eyewear. Wash thoroughly with soap and water after handling, and before drinking,
 eating, chewing gum, using tobacco, or using the toilet. Wear long-sleeved shirt, long
 pants, socks, shoes, and chemical-resistant gloves (such as natural rubber, Selection
 Category A).

 Environmental Hazards

 This pesticide is toxic to wildlife and highly toxic to aquatic invertebrates, oysters and
 shrimp. Do not apply directly to water, or to areas where surface water is present, or to
 intertidal areas below the mean high-water mark. Drift or runoff from treated areas may
 be hazardous to aquatic organisms in neighboring areas. Do not contaminate water
 when cleaning equipment or disposing of equipment wash waters.

 This product is highly toxic to bees exposed to direct treatment on blooming crops or
 weeds and may cause possible effects to pollinators from exposure to translocated
 residues in blooming crops. Do not apply this product or allow it to drift to blooming
 crops or weeds while bees are foraging in/or adjacent to the treatment area.
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                 PROTECTION OF POLLINATORS
                          APPLICATION RESTRICTIONS EXIST FOR
                          THIS PRODUCT BECAUSE OF RISK TO BEES AND
                          OTHER INSECT POLLINATORS. FOLLOW
                          APPLICATION RESTRICTIONS FOUND IN THE
                          DIRECTIONS FOR USE TO PROTECT POLLINATORS .


   Look for the bee hazard icon         in the Directions for Use for each application site
   for specific use restrictions and instructions to protect bees and other insect
   pollinators.

   This product can kill bees and other insect pollinators.
   Bees and other insect pollinators will forage on plants when they flower, shed pollen,
   or produce nectar.

   Bees and other insect pollinators can be exposed to this pesticide from:
        Direct contact during foliar applications, or contact with residues on plant
        surfaces after foliar applications
        Ingestion of residues in nectar and pollen when the pesticide is applied as a
        seed treatment, soil, tree injection, as well as foliar applications.
   When Using This Product Take Steps To:
        Minimize exposure of this product to bees and other insect pollinators when
        they are foraging on pollinator attractive plants around the application site.
        Minimize drift of this product on to beehives or to off-site pollinator attractive
        habitat. Drift of this product onto beehives or off-site to pollinator attractive
        habitat can result in bee kills.
   Information on protecting bees and other insect pollinators may be found at the
   Pesticide Environmental Stewardship website at:
   http://pesticidestewardship.org/PollinatorProtection/Pages/default.aspx.

   Pesticide incidents (for example, bee kills) should immediately be reported to the
   state/tribal lead agency. For contact information for your state, go to:
   www.aapco.org/officials.html. Pesticide incidents should also be reported to the
   National Pesticide Information Center at: www.npic.orst.edu or directly to EPA at:
   beekill@epa.gov
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       Surface Water Advisory
       This product may impact surface water quality due to spray drift and runoff of rain
       water. This is especially true for poorly draining soils and soils with shallow
       ground water. This product is classified as having high potential for reaching
       surface water via runoff for several months after application. Avoid accidental or
       intentional application of this product to ditches, swales, drainage ways or
       impervious surfaces such as driveways. Runoff of this product will be reduced by
       avoiding applications when rainfall is forecast to occur within 48 hours. (See
       manual at the following internet address:
       http://www.wsi.nrcs.usda.gov/products/W2Q/pest/core4.html.)

       Groundwater Advisory
       This product has properties and characteristics associated with chemicals
       detected in groundwater. This chemical may leach into the groundwater if used
       in areas where soils are permeable, particularly where the water table is shallow.

       Spray Drift Advisory
       Do not allow this product to drift.
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 CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY

  NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
  Warranty and Liability before buying or using this product. If the terms are not
  acceptable, return the product at once, unopened, and the purchase price will be
  refunded.

 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors
 as manner of use or application, weather or crop conditions, presence of other materials
 or other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by
 applicable law, Buyer and User agree to hold SYNGENTA and Seller harmless for any
 claims relating to such factors.

 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the
 inherent risks referred to above, when used in accordance with directions under normal
 use conditions. To the extent permitted by applicable law: (1) this warranty does not
 extend to the use of the product contrary to label instructions or under conditions not
 reasonably foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer
 and User assume the risk of any such use. TO THE EXTENT PERMITTED BY
 APPLICABLE LAW, SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY
 OR OF FITNESS FOR A PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR
 IMPLIED WARRANTY EXCEPT AS WARRANTED BY THIS LABEL.

 To the extent permitted by applicable law, in no event shall SYNGENTA be liable for
 any incidental, consequential or special damages resulting from the use or handling of
 this product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
 EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY
 OF SYNGENTA AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES
 OR DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY,
 CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE)
 RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE
 RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION
 OF SYNGENTA OR SELLER, THE REPLACEMENT OF THE PRODUCT.

 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and Liability, which may not be
 modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.
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                                  DIRECTIONS FOR USE

 It is a violation of Federal law to use this product in a manner inconsistent with its
 labeling. Read entire label before using this product.

 SURFACE WATER PROTECTION STATEMENT
 For foliar applications: Do not apply during rain.

    Do not apply A16901B Residential while bees are foraging. Do not apply A16901B
    Residential to plants that are flowering. Only apply after all flower petals have fallen
    off.

    Do not allow people and pets to re-enter until the treated area has been allowed to
    dry.
    Do not use kitchen utensils such as measuring cups and spoons for food purposes
    after use with pesticides.
    Do not make applications during rain.
    Do not apply within 50 feet of aquatic habitats (such as, but not limited to, lakes,
    reservoirs, rivers, permanent streams, wetlands or natural ponds, estuaries, and
    commercial fish farm ponds).
    Do not cultivate within 30 feet of the aquatic area to allow growth of a vegetative
    filter strip.
    Sale, use, and distribution of this product in Nassau and Suffolk Counties in the
    State of New York is prohibited.

 HOW TO APPLY

    Determine size of spraying job. For application to landscape ornamental plants,
    determine the area to be sprayed.
    Carefully measure and mix the amount of product and water as indicated in the
    use directions. Always wear water-resistant gloves when handling pesticides.
    Spray as directed. Thorough coverage is important. Do not over wet.
    Flush sprayer with clean water after each use.

 ORNAMENTAL TREES, SHRUBS AND FLOWERS

 Plant Safety

 A16901B Residential is safe on most ornamental plants. However, applications of
 A16901B Residential to yellow varieties of Honey Locust (Gleditsia triacanthos) may
 result in leaf chlorosis and abscission (yellowing and dropping). The effects are
 temporary.
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 Pests controlled
       Aphids
       Whitefiles
       Leafminers



 How to apply             [logo optional]

       Measure 1 teaspoon of A16001B Residential and add to a 1-gallon size (or
       larger) pump-style sprayer.
       Add 1 gallon of water to the sprayer.
       Close the sprayer and shake well.
       Pressurize the sprayer.
       Adjust nozzle to achieve a medium to coarse spray pattern and apply as a
       thorough cover spray.
       Re-pressurize the sprayer as needed to maintain a good spray pattern.
       1 gallon treats plants in a 400 square feet area.

 Use Tips for Ornamentals
       Apply before insect populations are high.
       Apply to both sides of plant leaves and all plant surfaces where insects are
       present.
       A second application may be made 7 days after the initial application if insects
       are still present.
       Do not make more than 2 applications per growing season.
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                                 STORAGE AND DISPOSAL

 Do not contaminate water, food, or feed by storage or disposal.

 Pesticide Storage

 Store in a cool, dry place.

 Pesticide Disposal and Container Handling (consumer products)

 Nonrefillable container. Do not reuse or refill this container.
 If empty: Place in trash or offer for recycling if available.
 If partly filled: Call your local solid waste agency or [1-800-888-8372] [Alternate phone
 number] for disposal instructions. Never place unused product down any indoor or
 outdoor drain.


 [Product name], the ALLIANCE FRAME, the SYNGENTA logo, and the PURPOSE ICON are
 trademarks of a Syngenta Group Company
 ©20XX

                 For non-emergency (e.g., current product information) call
                       Syngenta Crop Protection at 1-866-796-4368.

 Manufactured for:
 Syngenta Crop Protection, LLC
 P.O. Box 18300
 Greensboro, North Carolina 27419-8300


 A16901B Residential 1423 MAS 0214 AMEND 0523-CL – jeb – 06/15/2023
 000100-01423.202300501.A16901B_RESIDENTIAL_AMEND_MAY2023-CL.pdf
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                               Attachment 8
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                            OFFICE OF CHEMICAL SAFETY
                                                                                            AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

PRIA Non-New-Use Label Acceptable v.20150320
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        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under Syngenta’s control,
       Syngenta must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
       under the previously approved labeling for no longer than 12 months from the date of this letter
       or 75 days after the final state approval from those submitted under Term #2, whichever is
       earlier.

    4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
       product that bears the previously approved label but is not under Syngenta’s control as of the
       date of this letter. However, Syngenta should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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Decision Nos. 593337, 593338, 593342, 593343, 593341, 593344, 594352, 593336, 593339 and
593334

and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                                      [Master label]

  Sale, use, and distribution of this product in Nassau and Suffolk Counties in the
                           State of New York is prohibited.

                                               CYANTRANILIPROLE GROUP 28 INSECTICIDE

 Fortenza®

 Insecticide

 A seed treatment product for protection against early-season damage caused by
 [Colorado potato beetle and European corn borer on potato;] cutworms and flea beetles
 on rapeseed crop subgroup 20A; cutworms and wireworms on sunflower crop subgroup
 20B and cottonseed crop subgroup 20C; cutworms, grubs, wireworms, fall armyworm,
 and seedcorn maggot on corn; bean leaf beetle, thrips, grubs, and wireworms on
 soybeans; and rice water weevil and suppression of grape colaspis on rice

 Active Ingredient:
 Cyantraniliprole1 ...................................................................................................... 48.8%
 Other Ingredients:                                                                                                       51.2%
 Total:                                                                                                                 100.0%
 1CAS No. 736994-63-1


 Fortenza is formulated as a flowable suspension that contains 5.0 lb/gal [600 g/L] of
 cyantraniliprole (FS). One fluid ounce of Fortenza contains 17.72 grams of
 cyantraniliprole.

 KEEP OUT OF REACH OF CHILDREN.

 CAUTION
 See additional precautionary statements and directions for use [in booklet] [on label].

 EPA Reg. No. 100-1420
 EPA Est. xxxxx


 _____________
 Net Contents
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                                             FIRST AID
  If in eyes                Hold eye open and rinse slowly and gently with water for 15-20
                            minutes.
                            Remove contact lenses, if present, after the first 5 minutes, then
                            continue rinsing.
                            Call a poison control center or doctor for treatment advice.
  If inhaled                Move person to fresh air.
                            If person is not breathing, call 911 or an ambulance, then give
                            artificial respiration, preferably by mouth-to-mouth, if possible.
                            Call a poison control center or doctor for further treatment
                            advice.
  If swallowed              Call a poison control center or doctor immediately for treatment
                            advice.
                            Have person sip a glass of water if able to swallow.
                            Do not induce vomiting unless told to do so by the poison
                            control center or doctor.
                            Do not give anything by mouth to an unconscious person.
  If on skin or             Take off contaminated clothing.
  clothing                  Rinse skin immediately with plenty of water for 15-20 minutes.
                            Call a poison control center or doctor for treatment advice.
  Have the product container or label with you when calling a poison control center or
  doctor, or going for treatment.
                                         HOTLINE NUMBER
               For 24-Hour Medical Emergency Assistance (Human or Animal)
              or Chemical Emergency Assistance (Spill, Leak, Fire or Accident)
                                                 Call
                                          1-800-888-8372


 PRECAUTIONARY STATEMENTS

 Hazards to Humans and Domestic Animals

                                         CAUTION

 Causes moderate eye irritation. Avoid contact with eyes or clothing. Wash thoroughly
 with soap and water after handling, and before eating, drinking, chewing gum, using
 tobacco, or using the toilet.
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 Personal Protective Equipment (PPE)

 Applicators and Other Handlers Must Wear:
       Long-sleeved shirt and long pants
       Chemical-resistant gloves made of barrier laminate, butyl rubber 14 mils, nitrile
       rubber 14 mils, neoprene rubber 14 mils, natural rubber 14 mils,
       polyethylene, polyvinyl chloride (PVC) or Viton™ 14 mils
       Shoes plus socks

 User Safety Requirements
 Follow manufacturer’s instructions for cleaning/maintaining PPE. If no such instructions
 exist for washables, use detergent and hot water. Keep and wash PPE separately from
 other laundry.

 Engineering Control Statements
 When handlers use closed systems in a manner that meets the requirements listed in
 the Worker Protection Standard (WPS) for agricultural pesticides (40 CFR 170.240(d)(4-
 6)), the handler PPE requirements may be reduced or modified as specified in the WPS.

  User Safety Recommendations
  Users should:
        Wash thoroughly with soap and water after handling.
        Wash hands before eating, drinking, chewing gum, using tobacco, or
        using the toilet.
        Remove clothing immediately if pesticide gets inside. Then wash
        thoroughly and put on clean clothing.
        Remove PPE immediately after handling this product. Wash the outside of
        gloves before removing. As soon as possible, wash thoroughly and
        change into clean clothing.

 Environmental Hazards
 This pesticide is toxic to aquatic invertebrates. This product is highly toxic to bees
 exposed to direct treatment or residues on blooming crops or weeds. Do not
 contaminate water when disposing of equipment washwater.
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 CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY

  NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
  Warranty and Liability before buying or using this product. If the terms are not
  acceptable, return the product at once, unopened, and the purchase price will be
  refunded.
 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors
 as manner of use or application, weather or crop conditions, presence of other materials
 or other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by
 applicable law, Buyer and User agree to hold SYNGENTA and Seller harmless for any
 claims relating to such factors.
 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the
 inherent risks referred to above, when used in accordance with directions under normal
 use conditions. To the extent permitted by applicable law: (1) this warranty does not
 extend to the use of the product contrary to label instructions, or under conditions not
 reasonably foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer
 and User assume the risk of any such use. TO THE EXTENT PERMITTED BY
 APPLICABLE LAW, SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY
 OR OF FITNESS FOR A PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR
 IMPLIED WARRANTY EXCEPT AS WARRANTED BY THIS LABEL.
 To the extent permitted by applicable law, in no event shall SYNGENTA be liable for
 any incidental, consequential or special damages resulting from the use or handling of
 this product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
 EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY
 OF SYNGENTA AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES
 OR DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY,
 CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE)
 RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE
 RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION
 OF SYNGENTA OR SELLER, THE REPLACEMENT OF THE PRODUCT.
 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and Liability, which may not be
 modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.
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                                   DIRECTIONS FOR USE

 It is a violation of federal law to use this product in a manner inconsistent with its
 labeling.

                          AGRICULTURAL USE REQUIREMENTS

  Use this product only in accordance with its labeling and with the Worker Protection
  Standard, 40 CFR part 170. This Standard contains requirements for the protection of
  agricultural workers on farms, forests, nurseries, and greenhouses, and handlers of
  agricultural pesticides. It contains requirements for training, decontamination,
  notification, and emergency assistance. It also contains specific instructions and
  exceptions pertaining to the statements on this label about personal protective
  equipment (PPE) and restricted-entry interval. The requirements in this box only apply
  to uses of this product that are covered by the Worker Protection Standard.

  Do not enter or allow worker entry into treated areas during the restricted-entry
  interval (REI) of 12 hours. Exception: If the seed is treated with the product and the
  treated seed is soil-injected or soil-incorporated, the Worker Protection Standard,
  under certain circumstances, allows workers to enter the treated area if there will be no
  contact with anything that has been treated.

  PPE required for early entry to treated areas that is permitted under the Worker
  Protection Standard and that involves contact with anything that has been treated,
  such as plants, soil, or water is:

     • Coveralls
     • Chemical-resistant gloves made of barrier laminate, butyl rubber 14 mils, nitrile
       rubber 14 mils, neoprene rubber 14 mils, natural rubber 14 mils,
       polyethylene, polyvinyl chloride (PVC) or Viton 14 mils
     • Shoes plus socks

 FAILURE TO FOLLOW THE DIRECTIONS FOR USE AND PRECAUTIONS ON THIS
 LABEL MAY RESULT IN CROP INJURY, POOR INSECT CONTROL, AND/OR
 ILLEGAL RESIDUES.

 Sale, use, and distribution of this product in Nassau and Suffolk Counties in the State of
 New York is prohibited.

 Treatment of highly mechanically scarred or damaged seed, or seed known to be of low
 vigor and poor quality, may result in reduced germination and/or reduction of seed and
 seedling vigor. Treat a small quantity of seed using equipment similar to that planned
 for treating the total seed lot. Conduct germination tests on a small portion of seed
 before committing the total seed lot to a selected seed treatment. Due to seed quality,
 crop or variety sensitivity, and seed storage conditions beyond the control of Syngenta,
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 no claims are made to guarantee the germination of carry-over seed [or propagating
 material] for all crop seed.

 PRODUCT INFORMATION

 Cyantraniliprole is a broad-spectrum insecticide belonging to the chemical class of
 diamides. Cyantraniliprole products are effective on the larval stages of lepidopteran
 insects and some other insect pests, including some coleopterans and dipterans. The
 length of control of the major insect pests will vary depending on the product use rate,
 insect pressure, crop growth and maturity, and soil and environmental conditions.
 When rate ranges are given, use the higher rate within the listed rate range when insect
 pressure is expected to be high.

 Resistance Management


 Fortenza contains cyantraniliprole, a Group 28 insecticide. Cyantraniliprole is a
 systemic insecticide belonging to the diamide class of chemistry. Diamides cause
 muscle contraction and paralysis in insects by activating muscle ryanodine receptors.

 Insect populations may contain individuals naturally resistant to Group 28 insecticides,
 and, if used repeatedly in the same fields, then resistant members may eventually
 dominate the population. Because resistance development cannot be predicted, use
 sound resistance management strategies established for the crop and use area.

 Base seed treatment on an integrated pest management program that includes field
 sanitation, historical information related to pesticide use, careful selection of pest-
 tolerant crop varieties, scouting, and management practices which optimize populations
 of natural enemies of insect pests such as within-field refugia (untreated areas). Sound
 management programs also consider cultural and biological control practices.

 In order to maintain susceptibility to this class of chemistry:
     Use products at their full, specified doses.
     Use appropriate, well-maintained equipment. Use specified water volumes and
     apply at optimal temperatures in order to obtain optimal treatment.
     When rate ranges are given, use the higher rate within the listed rate range when
     insect pressure is expected to be high.
     Avoid using a single active ingredient or mode of action (same insecticide group)
     exclusively for season long control of insect species with more than one generation
     per crop season.
     For insect species with successive or overlapping generations, use a treatment
     window approach. A treatment window is a period of time defined by the stage of
     crop development and the biology of the pests of concern. Within the treatment
     window, depending on the length of residual activity, single or consecutive
     applications may be made using seed, in-furrow, or foliar treatments unless
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    otherwise excluded by product labels. Do not exceed the maximum amount of this
    insecticide’s mode of action allowed per growing season.
    Following a treatment window of this insecticide’s mode of action, rotate to a
    treatment window of effective products with a different mode of action before making
    additional applications of this insecticide.

 If resistance to this product develops in your area, this product or other products with a
 similar mode of action may not provide adequate control. If poor performance cannot be
 attributed to improper application or weather conditions, a resistant strain of insect may
 be present. If you experience difficulty with control and resistance is a reasonable
 cause, immediately consult your local company representative or agricultural advisor for
 the best alternative method of control for the crop and use area.

 Syngenta encourages responsible product stewardship to ensure effective long term
 control of the insect pests on this label.

 For additional information on Insect Resistance Management:
       Contact Syngenta representatives at 1-866-796-4368.
       Contact your local Cooperative Extension Service specialist, pest control advisor,
       or certified crop advisor.
       Visit the Insecticide Resistance Action Committee (IRAC) on the web at:
       http://www.irac-online.org.


 MIXING PROCEDURES

 Apply Fortenza only with Syngenta-approved seed-treating equipment. Potatoes
 may be treated either on farm by the grower with Syngenta-approved equipment or at a
 commercial seed-treatment facility. All other crops must only be treated at Syngenta-
 approved commercial seed-treatment facilities. Not for use in hopper box, planter box,
 slurry box, or other farmer-applied applications.

 Important: Thoroughly recirculate or agitate the container of Fortenza prior to use.

 Apply Fortenza as a water-based slurry utilizing standard slurry seed treatment
 equipment which provides uniform seed coverage. Uneven or incomplete seed
 coverage may not give the desired level of insect or disease control. Thoroughly mix
 the specified amount of Fortenza into the required amount of water for the slurry treater
 and dilution rate to be used. (See Fortenza in Tank Mixtures.) Consult the
 manufacturer of the application equipment you plan to use for suitability for this
 application and for instructions on operation and calibration of the equipment.

       Use an EPA-approved dye or colorant that imparts an unnatural color to the seed
       as stated in 40 CFR 153.155 (c).
       Allow seed to dry before bagging.
       Store away from feed and foodstuffs.
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 Fortenza has been found to be compatible with some liquid inoculant products.
 Fortenza may be mixed or applied sequentially with approved liquid inoculants. Consult
 the maker of the liquid inoculants and a Syngenta Crop Protection representative for
 directions before applying Fortenza with inoculants.

 Fortenza in Tank Mixtures:

 It is the pesticide user’s responsibility to ensure that all products are registered for the
 intended use. Read and follow the applicable restrictions and limitations and directions
 for use on all product labels involved in tank mixing. Users must follow the most
 restrictive directions for use and precautionary statements of each product in the tank
 mixture.

 SEED BAG LABEL REQUIREMENTS


 The Federal Seed Act requires that bags containing treated seeds shall be labeled with
 the following statements:

        This seed has been treated with cyantraniliprole insecticide.
        Do not use treated seed for food, feed or oil purposes.

 In addition, the U.S. Environmental Protection Agency requires the following statements
 on bags containing seeds treated with Fortenza (cyantraniliprole):

        Store treated seed away from feed and foodstuffs.
        Do not allow children, pets, or livestock to have access to treated seed.
        Wear long-sleeved shirt, long pants and chemical-resistant gloves when handling
        treated seed.
        Use of Fortenza as a seed treatment must be communicated to all personnel
        involved in seasonal insect control recommendations.
        This product is highly toxic to bees exposed to direct treatment or residues on
        blooming crop or weeds. Ensure that the planting equipment is functioning
        properly in accordance with manufacturer specifications to minimize seed coat
        abrasion during planting to reduce dust which can drift to blooming crops and
        weeds.
        Corn seeds must be planted at a minimum soil depth of 1½ inches.
        Potato seed tubers must be planted at a minimum soil depth of 2 inches.
        Rapeseed crop subgroup 20A seeds must be planted at a minimum soil depth of
        ¼ inch.
        Rice (dry-seeded) must be planted at a minimum soil depth of ½ inch.
        Soybean must be planted at a minimum soil depth of 1 inch.
        Sunflower crop subgroup 20B seeds must be planted at a minimum soil depth of
        1 inch.
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       Cottonseed crop subgroup 20C seeds must be planted at a minimum soil depth
       of ½ inch.
       Treated seeds exposed on soil surface may be hazardous to wildlife.
       Immediately cover or collect seeds spilled during loading and planting. Do not
       allow treated seed to remain uncovered on the soil surface.
       Dispose of all excess treated seed by burying seed away from bodies of water.
       Leftover treated seed may be double sown around the headland or buried away
       from water sources in accordance with local requirements. Do not contaminate
       bodies of water when disposing of excess treated seed or washwaters of planting
       equipment.
       Excess treated seed may be used for ethanol production only if (1) ethanol
       production by-products are not used for livestock feed and (2) no measurable
       residues of pesticides remain in the ethanol by-products that are used for
       agronomic practice.
       Dispose of seed packaging in accordance with local requirements.
       For all crops: Do not apply a total of more than 0.4 lb ai per acre of
       cyantraniliprole-containing products per calendar year; this is the total
       cyantraniliprole applied by seed treatment, soil application and foliar application.
       For corn: This seed has been treated with a maximum of 0.5 mg cyantraniliprole
       per seed. Calculate actual amount of cyantraniliprole applied per acre based on
       seeds planted per acre.
       For potato: This seed has been treated with a maximum of 0.0135 lb
       cyantraniliprole per 100 lb seed tuber. Do not plant more than 3000 tubers per
       acre when treated at 0.0135 lb ai/100 lb of seed.
       For rapeseed crop subgroup 20A [based on flax seed]: This seed has been
       treated with a maximum of 0.05 mg active cyantraniliprole per seed. Calculate
       actual amount of cyantraniliprole applied per acre based on seeds planted per
       acre.
       For rice: This seed has been treated with a maximum of 0.03 mg cyantraniliprole
       per seed. Calculate actual amount of cyantraniliprole applied per acre based on
       seeds planted per acre.
       For soybean: This seed has been treated with a maximum of 0.076 mg
       cyantraniliprole per seed. Calculate actual amount of cyantraniliprole applied per
       acre based on seeds planted per acre.
       For sunflower crop subgroup 20B: This seed has been treated with a maximum
       of 0.2 mg active cyantraniliprole per seed. Calculate actual amount of
       cyantraniliprole applied per acre based on seeds planted per acre.
       For cottonseed crop subgroup 20C: This seed has been treated with a maximum
       of 0.9 mg active cyantraniliprole per seed. Calculate actual amount of
       cyantraniliprole applied per acre based on seeds planted per acre. Do not apply
       more than 0.17 lb active cyantraniliprole per acre as a seed treatment
       application.
       Including the Fortenza seed treatment, make no more than two applications of
       cyantraniliprole or other Group 28 products per generation to the same insect
       species on a crop or within a 30-day period (count planting date as day 1 if using
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       treated seed). Application(s) to the next generation of target pest(s) must be with
       an effective product with a different mode of action (non-Group 28 insecticide).

 Crop Rotation

       There is no plant back restriction for conversion of a treated field or for making a
       new or replacement planting into established orchards or fields of Bushberries
       (Crop Subgroup 13-07B); Citrus (Crop Group 10-10); Pome Fruits (Crop Group
       11-10); Stone Fruits (Crop Group 12); Low Growing Berries (Crop Subgroup 13-
       07G); or Tree Nuts (Crop Group 14-12).

       Crops on this label and the following crops or crop groups may be planted
       immediately following the last application of Fortenza: Brassica Leafy
       Vegetables (Crop Group 5); Bulb Vegetables (Crop Group 3-07); Corn (Field,
       Pop, Seed and Sweet); Cotton; Cucurbit Vegetables (Crop Group 9); Fruiting
       Vegetables (Crop Group 8-10); Leafy Vegetables (except Brassica) (Crop Group
       4); Leaves of Root and Tuber Vegetables (Crop Group 2); Legume Vegetables
       (Crop Groups 6 and 7); Low Growing Berries (Crop Subgroup13-07H); Oilseeds
       (Crop Group 20); Peanuts; Root and Tuber Vegetables (Crop Subgroups 1B and
       1C); Tobacco.

       The following crops or crop groups may be planted 30 days following the last
       application of Fortenza: Cereal Grains (Crop Group 15); Forage, Fodder and
       Straw of Cereal Grains (Crop Group 16); Grass Forage, Fodder and Hay (Crop
       Group 17); Nongrass Animal Feeds (forage, fodder, straw and hay) (Crop Group
       18); Sugar beets.

       All other crops cannot be planted until 12 months after the last application of
       cyantraniliprole.
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 CROP USE DIRECTIONS

 CORN (FIELD, POP, SEED AND SWEET) – NOT FOR USE IN CALIFORNIA

                                      Early-season                          Use Rate
             Crop                 Protection Against                          fl oz product/100 lb seed
                                                             mg ai/seed
                                 Damage Caused by:                           (based on 1800 seeds/lb)
  Corn                          Cutworms
   Field                        Grubs
   Pop                          Wireworms
                                                                   0.125 – 0.5          1.24 – 5.0
   Seed                         Fall armyworm
   Sweet                        Seedcorn maggot
  Not for Use in California
  Additional Information
   Fortenza at labeled rates provides protection against damage caused by cutworms, grubs,
   wireworms, fall armyworm, and seedcorn maggot during early-season growth and development of
   corn.
   Full-season protection or complete reduction of damage is not expected against the listed insects.
   Based on numerous popcorn seed-safety studies, popcorn use rates > 0.125 mg ai/seed (2.75 fl
   oz/100 lb seed, based on 4,000 seeds/lb) on individual hybrids should be tested for seed safety to
   evaluate specific genetic tolerance to higher rates of Fortenza.
   It is recommended to apply Fortenza with compatible and registered seed treatment fungicides such
   as Apron XL®, Dynasty®, Maxim® 4FS, Maxim Quattro, and Vibrance®, which are proven to provide
   protection from seed and seedling diseases; Cruiser® 5FS for additional early season insect pest
   protection; and Avicta® Complete Corn for early-season disease, insect and nematode protection.
   Follow planter manufacturer instructions for use of talc or other hopper box additives at planting.
                                               USE RESTRICTION
        DO NOT apply more than 0.4 lb ai of cyantraniliprole-containing products per acre per calendar
        year, including all types of applications (seed treatment, soil, foliar).
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 POTATO SEED PIECE TREATMENT
 Fortenza is to be used as an integral part of potato pest management strategy. This
 strategy includes the use of high quality certified potato seed, crop rotation, monitoring
 proper insect population thresholds, appropriate comprehensive insect control
 measures, optimal harvest time of potato tubers and proper handling of the potatoes.
 Consult your local agricultural extension agent for more detailed information on insect
 management practices.

                                                                     Use Rate
                   Protection Against           (See Tables 1 and 2 for additional rate information.)
      Crop
                   Damage Caused by:          [grams ai/100 kg   lb ai/100 lb seed    fl oz product/100
                                                seed tubers]           tubers           lb seed tubers
  Potato            Colorado potato beetle
                                                      [6 – 13.5]         0.006 – 0.0135         0.15 – 0.35
                    European corn borer
  Additional Information
     Potatoes may be treated either on farm by the grower with Syngenta-approved equipment or at a
     commercial seed-treatment facility.
     Fortenza used at labeled rates provides protection against damage caused by Colorado potato
     beetle and European corn borer during early- to mid-season growth and development of potatoes.
     Full-season protection or complete reduction of damage caused by labeled pests is not expected
     with the use of Fortenza.
     If a crop failure occurs, treated potato seed pieces may be replanted if the total cyantraniliprole rate
     applied does not exceed 0.4 lb ai per acre.
     For protection against certain seed- and soil-borne diseases of potatoes, Fortenza may be applied
     with Maxim 4FS, Dynasty, CruiserMaxx® Vibrance Potato, CruiserMaxx Potato, or CruiserMaxx
     Potato Extreme family of products.
     Application of Fortenza with CruiserMaxx Potato or CruiserMaxx Potato Extreme also provides
     protection against potato aphid, green peach aphid, beet leaf hopper and psyllids.
     If an inert dust (fir bark or talc etc.) or a dust-based fungicide is applied, apply Fortenza prior to
     applying the dust treatments.
                                                USE RESTRICTIONS
     DO NOT apply more than 0.4 lb ai of cyantraniliprole-containing products per acre per calendar
     year, including all types of applications (seed treatment, soil, foliar).
     DO NOT BAG POTATO SEED THAT IS TREATED WITH ANY LIQUID SEED TREATMENTS .

 Application of Fortenza
 Apply Fortenza utilizing Syngenta-approved seed treating systems designed to apply
 liquid seed treatments of potatoes. Uneven or incomplete seed coverage may not give
 the desired level of insect control. For slurry treatment, thoroughly mix the specified
 amount of Fortenza into the required amount of water for the slurry treater and dilution
 rate to be used. Maintain constant agitation of the slurry during the seed treatment
 process. Follow the manufacturer’s application instructions for the seed treatment
 equipment being used with appropriate set-up and calibration. Calibrate the equipment
 so that every potato seed tuber is uniformly coated with a fine layer of the slurry mix
 without any excess dripping off of the treated seed.

 Storing Treated Potato Seed Pieces
 If the treated potato seed piece needs to be stored or held for a few days (2 to 3 weeks
 maximum), make sure the potato seed piece is stored in well ventilated areas that allow
 air to move through and out the treated potato seed piece. An ideal air temperature is
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 60 degrees Fahrenheit at a relative humidity of 85 to 90 percent. Do not allow free
 moisture to form within or around the treated potato seed piece during storage. If
 possible, allow treated potato seed pieces to dry during transit and planted the same
 day of treatment.

 Syngenta, LLC makes no claims as to the effect of this product or delivery
 systems on germination of the potato seed. The user, buyer or applicator of the
 seed treatment assumes all risks from such application.
 Note: Treatment of highly damaged or bruised potato seed, or seed known to be of low
 vigor and poor quality, or potato seed that is deemed “physiologically old”, may result in
 reduced germination and/or reduction of seed and seedling vigor and multiple stems
 from germination of the seed. When in doubt or if the status/condition of the potato
 seed tubers is unknown, treat a small sample batch of the same potato seed load with
 Fortenza using specified rates, equipment, and application procedures; before treating
 the total seed lot. Conduct this test on a small batch of the potato seed and observe the
 germination, emergence, stem count from the germinating seed. Consult with local
 experts in the region or conduct the test with university or area experts. Only if the data
 confirm that the seed treated with Fortenza are acceptable should the rest of the seed
 load from which the sample was taken be treated. Due to seed quality, seed
 condition and seed storage conditions beyond the control of Syngenta LLC, no
 claims are made to guarantee the germination and/or performance of the potato
 seed tuber from treatment with Fortenza.

 Table 1. Empirical Calculations based on popular potato seeding rates:
  Seeding rate          Expected lb ai per acre at popular seeding rates and expected use rate of
                                                         Fortenza
  Pounds/acre            0.006 lb ai/100 lb          0.01 lb ai/100 lb        0.0135 lb ai/100 lb
       1500                    0.090                       0.150                    0.203
       2000                    0.120                       0.200                    0.270
       2500                    0.150                       0.250                    0.338
          3000                     0.180                       0.300                       0.405
          3500                     0.210                       0.350                   Do not apply.1
 1 The lb ai applied per acre at this seeding density and application rate exceeds the maximum allowable

 0.4 lb ai per acre.

 Table 2. Empirical Calculations based on popular potato seeding rates:
  Seeding rate           Expected fl oz per acre at popular seeding rates and expected use rate of
                                                         Fortenza
  Pounds/acre                 0.15 fl oz./100 lb          0.26 fl. oz/100 lb          0.35 fl oz/100 lb
           1500                       2.3                         3.8                         5.2
           2000                       3.1                         5.1                         6.9
           2500                       3.8                         6.4                         8.6
           3000                       4.6                         7.7                        10.4
           3500                       5.4                         9.0                  Do not apply.1
 1The fl oz applied per acre at this seeding density and application rate exceeds the maximum allowable

 11 fl oz per acre.
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 OILSEED CROP GROUP 20

                                       Early-season                             Use Rate
              Crops                  Protection Against                               fl oz product/100
                                                                 lb ai/100 lb seed
                                     Damage Caused by:                                      lb seed
  Rapeseed Crop Subgroup
  20A:
   Borage
   Crambe
   Cuphea
   Echium                           Cutworms                            0.30                   7.7
   Flax seed
   Gold of Pleasure
   Hare’s Ear Mustard
   Lesquerella
   Lunaria
   Meadowfoam
   Milkweed
   Mustard seed
   Oil radish
   Poppy seed
   Rapeseed (including Canola)      [Flea beetles]                     [0.80]                 [20.4]
   Sesame
   Sweet Rocket
   Cultivars, varieties, and/or
   hybrids of these
  Additional Information
      Fortenza at labeled rates provides protection against the damage caused by cutworms during
      early-season growth and development of rapeseed crop subgroup 20A.
      Full-season protection or complete reduction of damage from the use of Fortenza is not expected
      against the listed insects.
      For protection against damage caused by flea beetles when applied at 7.7 fl oz product per 100 lb
      seed, Fortenza must be tank mixed with Helix® Vibrance or other thiamethoxam-containing seed
      treatment product.
      In all cases, it is recommended to apply Fortenza with Helix Vibrance for control of seedling
      diseases and other insect pests of seedling crops.
      Follow planter manufacturer instructions for use of talc or other hopper-box additives at planting.
                                              USE RESTRICTION
  DO NOT apply more than 0.40 lb ai of cyantraniliprole-containing products per acre per calendar year
  including all types of applications (seed treatment, soil, foliar).
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                                                                       Use Rate
                               Early-season             (based on an average of 4,500 seeds/lb)
           Crops             Protection Against                                          fl oz
                                                                   lb ai/100,000
                             Damage Caused by:       [mg ai/seed]                  product/100,000
                                                                       seed
                                                                                        seed
   Sunflower Crop
    Subgroup 20B:
    Calendula
    Castor Oil plant
    Chinese Tallowtree
    Euphorbia
    Evening Primrose
    Jojoba
    Niger seed
                               Cutworms                   [0.1 – 0.2]   0.022 – 0.044      0.56 – 1.1
    Rose hip
    Safflower
    Stokes Aster
    Sunflower
    Tallowwood
    Tea Oil plant
    Vernonia
    Cultivars, varieties,
    and/or hybrids of these
  Additional Information
      Fortenza at labeled rates provides protection against the damage caused by cutworms during
      early-season growth and development of sunflower crop subgroup 20B.
      Full-season protection or complete reduction of damage from the use of Fortenza is not expected
      against the listed insects.
      [When applied at these rates in combination with Cruiser 5FS, Fortenza may provide additional
      protection against wireworms.]
      It is recommended to apply Fortenza with compatible and registered seed treatment fungicides
      such as Apron XL, Dynasty, Bion®, Maxim 4FS or Plenaris® 200FS, which are proven to control
      seed and seedling diseases, and with Cruiser 5FS for additional early-season insect pest
      protection.
      Follow planter manufacturer instructions for hopper box additives at planting.
                                              USE RESTRICTION
  DO NOT apply more than 0.40 lb ai of cyantraniliprole-containing products per acre per calendar year
  including all types of applications (seed treatment, soil, foliar).
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                                                                         Use Rate
                                Early-season
                                                                        fl oz product/100 lb seed
           Crops              Protection Against
                                                       mg ai/seed    (based on an average of 4,500
                              Damage Caused by:
                                                                                 seeds/lb)
  Cottonseed Crop
  Subgroup 20C
   Cottonseed                          Cutworms             0.1 – 0.9               2.55 – 23.0
   Cultivars, varieties,
   and/or hybrids of these
  Additional Information
     Fortenza at labeled rates provides protection against the damage caused by cutworms during
     early-season growth and development of cotton.
     Full-season protection or complete reduction of damage from the use of Fortenza is not expected
     against the listed insects.
     [When applied at these rates in combination with Cruiser 5FS, Fortenza may provide additional
     protection against wireworms.]
     It is recommended to apply Fortenza with compatible and registered seed treatment fungicides
     such as Apron XL, Dynasty, Dynasty CST, Bion, Maxim 4FS, Vibrance, or Vibrance CST, which are
     proven to provide early-season protection from seed and seedling diseases, and with Cruiser 5FS
     for additional early-season insect pest protection.
     Follow planter manufacturer instructions for hopper box additives at planting.
                                            USE RESTRICTIONS
     DO NOT apply more than 0.17 lb active cyantraniliprole per acre as a seed treatment application.
     DO NOT apply more than 0.40 lb ai of cyantraniliprole-containing products per acre per calendar
   year including all types of applications (seed treatment, soil, foliar).
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 RICE – NOT FOR USE IN CALIFORNIA

                                                                         Use Rate
                          Early-season
                                                                            fl oz product/100 lb seed
          Crop          Protection Against
                                                        mg ai/seed           (based on an average of
                        Damage Caused by:
                                                                                 21,000 seeds/lb)
   Rice               Rice water weevil
                                                             0.03                        3.47
                       Suppression of:
                       Grape colaspis
  Additional Information
     Fortenza at labeled rates provides protection against the damage caused by rice water weevil
     during early-season growth and development of rice.
     Fortenza-treated rice seed may be planted by drill or broadcast (ground or aerial) on soil, or
     broadcast (aerial) into flooded fields.
     Full-season protection or complete reduction of damage from the use of Fortenza is not expected
     against the listed insects.
     It is recommended to apply Fortenza with compatible and registered seed treatment fungicides
     such as Apron XL, Dynasty, or Maxim 4FS, which are proven to provide early-season protection
     from seed and seedling diseases, and Cruiser 5FS for additional early-season insect pest
     protection.
                                             USE RESTRICTIONS
     When broadcasting Fortenza-treated seeds on soil, the rice seeds must be incorporated into the
     soil.
     Fortenza-treated dry rice seed cannot be soaked or pre-germinated before seeding.
     DO NOT apply more than 0.17 lb active cyantraniliprole per acre as a seed treatment application.
     DO NOT apply more than 0.4 lb ai of cyantraniliprole-containing products per acre per calendar
     year including all types of applications (seed treatment, soil, foliar).
     DO NOT use Fortenza-treated rice fields for the aquaculture of edible fish or crustacea (including
     crawfish) during the rice growing season from planting through harvest.
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 SOYBEAN (INCLUDING SOYBEAN VEGETABLE) – NOT FOR USE IN CALIFORNIA

                                                                         Use Rate
                          Early-season
                                                                            fl oz product/100 lb seed
        Crop            Protection Against
                                                        mg ai/seed           (based on an average of
                        Damage Caused by:
                                                                                  3,000 seeds/lb)
   Soybean
    (including
                      Bean leaf beetle
    soybean
                      Thrips
    vegetable)                                         0.038 – 0.076                0.627 – 1.25
                      Grubs
                      Wireworms
  Not for Use in
   California
  Additional Information
     Fortenza at labeled rates provides protection against the damage caused by bean leaf beetle,
     thrips, grubs and wireworms during early-season growth and development of soybeans.
     Full-season protection or complete reduction of damage from the use of Fortenza is not expected
     against the listed insects.
     It is recommended to apply Fortenza with compatible and registered seed treatment fungicides
     such as Apron XL, Dynasty, Maxim 4FS, Mertect® 340-F, and Vibrance, which are proven to
     provide protection from seed and seedling diseases; with Cruiser 5FS for additional early-season
     insect pest protection; or with a combination fungicide/insecticide product such as CruiserMaxx
     Vibrance for early-season disease and insect protection.
     Follow planter manufacturer instruction for use of talc or other hopper box additives at planting.
                                            USE RESTRICTIONS
     DO NOT apply more than 0.4 lb ai of cyantraniliprole-containing products per acre per calendar
     year including all types of applications (seed treatment, soil, foliar).



 ROTATIONAL CROP RESTRICTIONS

        There is no plant back restriction for conversion of a treated field or for making a
        new or replacement planting into established orchards or fields of Bushberries
        (Crop Subgroup 13-07B); Citrus (Crop Group 10-10); Pome Fruits (Crop Group
        11-10); Stone Fruits (Crop Group 12); Low Growing Berries (Crop Subgroup 13-
        07G); or Tree Nuts (Crop Group 14-12).

        Crops on this label and the following crops or crop groups may be planted
        immediately following the last application of Fortenza: Brassica Leafy Vegetables
        (Crop Group 5); Bulb Vegetables (Crop Group 3-07); Corn (Field, Pop, Seed and
        Sweet); Cotton; Cucurbit Vegetables (Crop Group 9); Fruiting Vegetables (Crop
        Group 8-10); Leafy Vegetables (except Brassica) (Crop Group 4); Leaves of Root
        and Tuber Vegetables (Crop Group 2); Legume Vegetables (Crop Groups 6 and
        7); Low Growing Berries (Crop Subgroup13-07H); Oilseeds (Crop Group 20);
        Peanuts; Root and Tuber Vegetables (Crop Subgroups 1B and 1C); Tobacco.

        The following crops or crop groups may be planted 30 days following the last
        application of Fortenza: Cereal Grains (Crop Group 15); Forage, Fodder and
        Straw of Cereal Grains (Crop Group 16); Grass Forage, Fodder and Hay (Crop
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        Group 17); Nongrass Animal Feeds (forage, fodder, straw and hay) (Crop Group
        18); Sugar beets.

        All other crops cannot be planted until 12 months after the last application of
        cyantraniliprole.


                                STORAGE AND DISPOSAL
 Do not contaminate water, food, or feed by storage or disposal.
 Pesticide Storage
 Store in a cool, dry place. Do not store above 90°F for extended periods.
 For minor spills, leaks, etc., follow all precautions indicated on this label and clean up
 immediately. Take special care to avoid contamination of equipment and facilities
 during cleanup procedures and disposal of wastes.
 Pesticide Disposal
 Wastes resulting from the use of this product must be disposed of on site or at an
 approved waste disposal facility. If these wastes cannot be used according to label
 instructions, contact your State Pesticide or Environmental Control Agency or the
 Hazardous Waste representative at the nearest EPA Regional Office for guidance in
 proper disposal methods.
 Container Handling (less than or equal to 5 gallons)
 Non-refillable container. Do not reuse or refill this container. Triple rinse container (or
 equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
 contents into application equipment or a mix tank and drain for 10 seconds after the flow
 begins to drip. Fill the container ¼ full with water and recap. Shake for 10 seconds.
 Pour rinsate into application equipment or a mix tank or store rinsate for later use or
 disposal. Drain for 10 seconds after the flow begins to drip. Repeat this procedure two
 more times. Then offer for recycling if available or puncture and dispose of in a sanitary
 landfill, or by incineration, or by other procedures approved by state and local
 authorities.

 Container Handling (greater than 5 gallons)
 Non-refillable container. Do not reuse or refill this container. Triple rinse container (or
 equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
 contents into application equipment or a mix tank. Fill the container ¼ full with water.
 Replace and tighten closures. Tip container on its side and roll it back and forth,
 ensuring at least one complete revolution, for 30 seconds. Stand the container on its
 end and tip it back and forth several times. Turn the container over onto its other side
 and tip it back and forth several times. Empty the rinsate into application equipment or
 a mix tank or store rinsate for later use and disposal. Repeat this procedure two more
 times. Then offer for recycling if available or puncture and dispose of in a sanitary
 landfill, or by incineration, or by other procedures approved by state and local
 authorities.
 Container Handling (greater than 5 gallons)
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 Refillable container. Refill this container with pesticide only. Do not use this container
 for any other purpose. Cleaning the container before final disposal is the responsibility
 of the person disposing of the container. Cleaning before refilling is the responsibility of
 the person refilling. To clean container before final disposal, empty the remaining
 contents from this container into application equipment or mix tank. Fill the container
 about 10 percent full with water. Agitate vigorously or recirculate water with the pump
 for 2 minutes. Pour or pump rinsate into application equipment or rinsate collection
 system. Repeat this rinsing procedure two more times. Then offer for recycling if
 available or puncture and dispose of in a sanitary landfill, or by incineration, or by other
 procedures approved by state and local authorities.

 CONTAINER IS NOT SAFE FOR FOOD, FEED, OR DRINKING WATER!

 Fortenza®, Apron XL®, Avicta®, Bion®, Cruiser®, CruiserMaxx®, Dynasty®, Helix®,
 Maxim®, Mertect®, Plenaris®, Vibrance®, the ALLIANCE FRAME, the SYNGENTA Logo,
 and the PURPOSE ICON are Trademarks of a Syngenta Group Company

 Viton™ is a trademark of The Chemours Company FC, LLC
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                  For non-emergency (e.g., current product information), call
                        Syngenta Crop Protection at 1-866-796-4368.

 Manufactured for:
 Syngenta Crop Protection, LLC
 P.O. Box 18300
 Greensboro, North Carolina 27419-8300


 Fortenza 1420 MAS 1020 AMEND 0523 – CL – jeb – 04/04/2023
 000100-01420.20230501.FORTENZA.AMEND.MAY2023-CL.PDF
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                               Attachment 9
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                            OFFICE OF CHEMICAL SAFETY
                                                                                            AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

PRIA Non-New-Use Label Acceptable v.20150320
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593334

        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under Syngenta’s control,
       Syngenta must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
       under the previously approved labeling for no longer than 12 months from the date of this letter
       or 75 days after the final state approval from those submitted under Term #2, whichever is
       earlier.

    4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
       product that bears the previously approved label but is not under Syngenta’s control as of the
       date of this letter. However, Syngenta should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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593334

       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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593334

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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593334

and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                                     [Master Label]

 Sale, use, and distribution of this product in Nassau and Suffolk Counties in the
 State of New York is prohibited.
                              THIAMETHOXAM           GROUP 4A INSECTICIDE
                              CYANTRANILIPROLE GROUP 28 INSECTICIDE

 SPINNER™

 Insecticide

 [For foliar and systemic control of listed insect pests in turfgrass (including golf courses;
 institutional, commercial and residential lawns and landscapes; sod farms; sports fields;
 parks; municipal grounds; and cemeteries)] [Option 1]

 [For foliar and systemic control of listed insect pests in ornamental plants, fruit and nut
 trees (non-bearing), Christmas tree seedlings (liner production and field application),
 and listed vegetables transplants grown for sale to consumers] [Option 2]

 [For foliar and systemic control of listed insect pests in turfgrass (including golf courses;
 institutional, commercial and residential lawns and landscapes; sod farms; sports fields;
 parks; municipal grounds; and cemeteries) and in ornamental plants, residential and
 commercial landscapes, fruit and nut trees (non-bearing), Christmas tree seedlings
 (liner production and field application) and listed vegetable transplants grown for sale to
 consumers.] [Option 3]

 Active Ingredients:
 Thiamethoxam1 ............................................................................................ 20.0%
 Cyantraniliprole2 ........................................................................................... 20.0%
 Other Ingredients:                                                                                            60.0%
 Total:                                                                                                      100.0%
 1 CAS No. 153719-23-4
 2 CAS No. 736994-63-1


 Spinner is a water-dispersible granule that contains 3.2 ounces of thiamethoxam and
 3.2 ounces of cyantraniliprole per pound of formulated product.

 KEEP OUT OF REACH OF CHILDREN.
 CAUTION

 See additional precautionary statements and directions for use in booklet [on bag].

 EPA Reg. No. 100-1424
 EPA Est.
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 _________
 Net Weight
 Nonrefillable container
 [Batch Code: _____] (For nonrefillables only.)




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                                            FIRST AID
  If in eyes             Hold eye open and rinse slowly and gently with water for 15-20
                         minutes. Remove contact lenses if present after the first 5
                         minutes, then continue rinsing.
                         Call a poison control center or doctor for treatment advice.
  If inhaled             Move person to fresh air.
                         If person is not breathing, call 911 or an ambulance, then give
                         artificial respiration, preferably mouth-to-mouth, if possible.
                         Call a poison control center or doctor for treatment advice.
  If swallowed           Call a poison control center or doctor immediately for treatment
                         advice.
                         Have person sip a glass of water if able to swallow.
                         Do not induce vomiting unless told to do so by a poison control
                         center or doctor.
                         Do not give anything by mouth to an unconscious person.
  If on skin or          Take off contaminated clothing.
  clothing               Rinse skin immediately with plenty of water for 15-20 minutes.
                         Call a poison control center or doctor for treatment advice.
  Have the product container or label with you when calling a poison control center or
  doctor or going for treatment.

                                    HOTLINE NUMBER
               For 24-Hour Medical Emergency Assistance (Human or Animal) or
                Chemical Emergency Assistance (Spill, Leak, Fire, or Accident),
                                           Call
                                     1-800-888-8372



 PRECAUTIONARY STATEMENTS

 Hazards to Humans and Domestic Animals

                                         CAUTION

 Causes moderate eye irritation. Avoid contact with eyes or clothing. Wash thoroughly
 with soap and water after handling, and before eating, drinking, chewing gum, using
 tobacco, or using the toilet.




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 Personal Protective Equipment (PPE)

 Applicators and other handlers must wear:

     Long-sleeved shirt and long pants
     Chemical-resistant gloves made of

     Viton™
     Shoes plus socks
     Protective eyewear

 Follow manufacturer’s instructions for cleaning/maintaining PPE. If no such instructions
 exist for washables, use detergent and hot water. Keep and wash PPE separately from
 other laundry.

 Engineering Control Statements

 When handlers use closed systems, enclosed cabs, or aircraft in a manner that meets
 the requirements listed in the Worker Protection Standard (WPS) for agricultural
 pesticides (40 CFR 170.240(d)(4-6)), the handler PPE requirements may be reduced or
 modified as specified in the WPS.

  User Safety Recommendations

  Users should:
    Wash hands before eating, drinking, chewing gum, using tobacco, or using the
    toilet.
    Remove clothing immediately if pesticide gets inside. Then wash thoroughly and
    put on clean clothing.
    Remove PPE immediately after handling this product. Wash the outside of gloves
    before removing. As soon as possible wash thoroughly and change into clean
    clothing.

 Environmental Hazards

 This pesticide is toxic to wildlife and highly toxic to aquatic invertebrates, oysters and
 shrimp.

 For terrestrial uses: Do not apply directly to water, or to areas where surface water is
 present, or to intertidal areas below the mean high-water mark. Drift or runoff from
 treated areas may be hazardous to aquatic organisms in neighboring areas. Do not
 contaminate water when cleaning equipment or disposing of equipment-wash water.

 This product is highly toxic to bees exposed to direct treatment on blooming crops or
 weeds and may cause possible effects to pollinators from exposure to translocated

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 residues in blooming crops. Do not apply this product or allow it to drift to blooming
 crops while bees are foraging in/or adjacent to the treatment area.

 Surface Water Advisory

 This product may impact surface water quality due to spray drift and runoff of rainwater.
 This is especially true for poorly draining soils and soils with shallow groundwater. This
 product is classified as having high potential for reaching surface water via runoff for
 several months after application. A level, well-maintained vegetative buffer strip
 between areas to which this product is applied and surface water features such as
 ponds, streams, and springs will reduce the potential loading of thiamethoxam water
 from runoff water and sediment. Runoff of this product will be reduced by avoiding
 applications when rainfall is forecast to occur within 48 hours.
        (See manual at the following internet address:
        http://www.wsi.nrcs.usda.gov/products/W2Q/pest/core4.html).

 SURFACE WATER PROTECTION STATEMENT
 For foliar applications: Do not apply during rain.

 Groundwater Advisory

 This product has properties and characteristics associated with chemicals detected in
 groundwater. This chemical may leach into the groundwater if used in areas where
 soils are permeable, particularly where the water table is shallow.

 Spray Drift Advisory

 THE APPLICATOR IS RESPONSIBLE FOR AVOIDING OFF-SITE SPRAY DRIFT. BE
 AWARE OF NEARBY NON-TARGET SITES AND ENVIRONMENTAL CONDITIONS.

 IMPORTANCE OF DROPLET SIZE An effective way to reduce spray drift is to apply
 large droplets. Use the largest droplets that provide target pest control. While applying
 larger droplets will reduce spray drift, the potential for drift will be greater if applications
 are made improperly or under unfavorable environmental conditions.

 For broadcast applications made at planting or prior to the emergence of crops,
 applicators are required to use a coarse or coarser droplet size (ASABE S572.1). For all
 other broadcast applications, applicators are required to use a medium or coarser
 droplet size (ASABE S572.1).

 SHIELDED SPRAYERS
 Shielding the boom or individual nozzles can reduce spray drift. Consider using shielded
 sprayers. Verify that the shields are not interfering with the uniform deposition of the
 spray on the target area.

 TEMPERATURE AND HUMIDITY

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 When making applications in hot and dry conditions, use larger droplets to reduce the
 effects of evaporation.

 TEMPERATURE INVERSIONS
 Drift potential is high during a temperature inversion. Temperature inversions are
 characterized by increasing temperature with altitude and are common on nights with
 limited cloud cover and light to no wind. The presence of an inversion can be
 indicated by ground fog or by the movement of smoke from a ground source or an
 aircraft smoke generator. Smoke that layers and moves laterally in a concentrated cloud
 (under low wind conditions) indicates an inversion, while smoke that moves upward and
 rapidly dissipates indicates good vertical air mixing. Avoid applications during
 temperature inversions.

 WIND
 Drift potential generally increases with wind speed. Do not apply when wind speeds
 exceed 10 mph at the application site. AVOID APPLICATIONS DURING GUSTY WIND
 CONDITIONS. Applicators need to be familiar with local wind patterns and terrain that
 could affect spray drift.




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                PROTECTION OF POLLINATORS
                          APPLICATION RESTRICTIONS EXIST FOR
                          THIS PRODUCT BECAUSE OF RISK TO BEES AND
                          OTHER INSECT POLLINATORS. FOLLOW
                          APPLICATION RESTRICTIONS FOUND IN THE
                          DIRECTIONS FOR USE TO PROTECT POLLINATORS .


   Look for the bee hazard icon         in the Directions for Use for each application site
   for specific use restrictions and instructions to protect bees and other insect
   pollinators.

   This product can kill bees and other insect pollinators.
   Bees and other insect pollinators will forage on plants when they flower, shed pollen,
   or produce nectar.

   Bees and other insect pollinators can be exposed to this pesticide from:
       Direct contact during foliar applications, or contact with residues on plant
       surfaces after foliar applications
        Ingestion of residues in nectar and pollen when the pesticide is applied as a
        seed treatment, soil, tree injection, as well as foliar applications.
   When Using This Product Take Steps To:
      Minimize exposure of this product to bees and other insect pollinators when
      they are foraging on pollinator attractive plants around the application site.
        Minimize drift of this product on to beehives or to off-site pollinator attractive
        habitat. Drift of this product onto beehives or off-site to pollinator attractive
        habitat can result in bee kills.
   Information on protecting bees and other insect pollinators may be found at the
   Pesticide Environmental Stewardship website at:
   http://pesticidestewardship.org/PollinatorProtection/Pages/default.aspx.

   Pesticide incidents (for example, bee kills) should immediately be reported to the
   state/tribal lead agency. For contact information for your state, go to:
   www.aapco.org/officials.html. Pesticide incidents should also be reported to the
   National Pesticide Information Center at: www.npic.orst.edu or directly to EPA at:
   beekill@epa.gov




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 CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY

 NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
 Warranty and Liability before buying or using this product. If the terms are not
 acceptable, return the product at once, unopened, and the purchase price will be
 refunded.

 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors
 as manner of use or application, weather or crop conditions, presence of other materials
 or other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by
 applicable law, Buyer and User agree to hold SYNGENTA and Seller harmless for any
 claims relating to such factors.

 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the
 inherent risks referred to above, when used in accordance with directions under normal
 use conditions. To the extent permitted by applicable law: (1) this warranty does not
 extend to the use of the product contrary to label instructions, or under conditions not
 reasonably foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer
 and User assume the risk of any such use. TO THE EXTENT PERMITTED BY
 APPLICABLE LAW, SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY
 OR OF FITNESS FOR A PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR
 IMPLIED WARRANTY EXCEPT AS WARRANTED BY THIS LABEL.

 To the extent permitted by applicable law, in no event shall SYNGENTA be liable for
 any incidental, consequential or special damages resulting from the use or handling of
 this product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
 EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY
 OF SYNGENTA AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES
 OR DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY,
 CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE)
 RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE
 RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION
 OF SYNGENTA OR SELLER, THE REPLACEMENT OF THE PRODUCT.

 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and of Liability, which may not
 be modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.




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                            DIRECTIONS FOR USE
 It is a violation of federal law to use this product in a manner inconsistent with its
 labeling.

 Sale, use, and distribution of this product in Nassau and Suffolk Counties in the State of
 New York is prohibited.

 See individual use sites for specific pollinator protection application restrictions.
 If none exist, follow these directions for foliar applications to commercially-grown
 plants and ornamentals that are attractive to pollinators and non-agricultural use
 sites:

 FOR FOOD/FEED CROPS AND COMMERCIALLY GROWN ORNAMENTALS NOT
 UNDER CONTRACT FOR POLLINATION SERVICES BUT ARE ATTRACTIVE TO
 POLLINATORS


              Do not apply this product while bees are foraging. Do not apply this
              product until flowering is complete and all petals have fallen unless one of
              the following conditions is met:


  The application is made to the target site after sunset
  The application is
  The application is made in accordance with a government-initiated public health
  response
  The application is made in accordance with an active state-administered apiary
  registry program where beekeepers are notified no less than 48 hours prior to the time
  of the planned application so that the bees can be removed, covered or otherwise
  protected prior to spraying
  The application is made due to an imminent threat of significant crop loss, and a
  documented determination consistent with an IPM plan or predetermined economic
  threshold is met. Every effort should be made to notify beekeepers no less than
  48-hours prior to the time of the planned application so that the bees can be removed,
  covered or otherwise protected prior to spraying.
 FOR NON-AGRICULTURAL USES




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                Do not apply Spinner while bees are foraging. Do not apply Spinner to
                plants that are flowering. Only apply after all flower petals have fallen off.



 ENDANGERED AND THREATENED SPECIES PROTECTION REQUIREMENTS

 When using this product, you must follow the measures, including any timing
 restrictions, contained in the Endangered Species Protection Bulletin for the area where
 you are applying the product. Before using this product, you must obtain a Bulletin at
 any time within six months of the day of application. To obtain Bulletins, consult
 http://www.epa.gov/espp. For general questions or technical help, call 1-844447-3813,
 or email ESPP@epa.gov.

 Do not apply this product in a way that will contact workers or other persons, either
 directly or through drift. Only protected handlers may be in the area during application.
 For any requirements specific to your State or Tribe, consult the agency responsible for
 pesticide regulation.

 [Option 1]

                         AGRICULTURAL USE REQUIREMENTS

  Use this product only in accordance with its labeling and with the Worker Protection
  Standard, 40 CFR Part 170. This Standard contains requirements for the protection of
  agricultural workers on farms, forests, nurseries, and greenhouses, and handlers of
  agricultural pesticides. It contains requirements for training, decontamination,
  notification, and emergency assistance. It also contains specific instructions and
  exceptions pertaining to the statements on this label about personal protective
  equipment (PPE) and restricted-entry interval. The requirements in this box only apply
  to uses of this product that are covered by the Worker Protection Standard.

  Do not enter or allow worker entry into treated areas during the restricted-entry
  interval (REI) of 12 hours. PPE required for early entry to treated areas that is
  permitted under the Worker Protection Standard and that involves contact with
  anything that has been treated, such as plants, soil, or water is:

     Coveralls
     Chemical-resistant gloves made of bar


     Shoes plus socks
     Protective eyewear
 [Options 2 and 3]
                         AGRICULTURAL USE REQUIREMENTS

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  Use this product only in accordance with its labeling and with the Worker Protection
  Standard, 40 CFR Part 170. This Standard contains requirements for the protection of
  agricultural workers on farms, forests, nurseries, and greenhouses, and handlers of
  agricultural pesticides. It contains requirements for training, decontamination,
  notification, and emergency assistance. It also contains specific instructions and
  exceptions pertaining to the statements on this label about personal protective
  equipment (PPE) and restricted-entry interval. The requirements in this box only apply
  to uses of this product that are covered by the Worker Protection Standard.

  Do not enter or allow worker entry into treated areas during the restricted-entry
  interval (REI) of 12 hours except for automatic fogger use in greenhouses (See
  “Automatic Cold Fogger Use in Greenhouses” below). PPE required for early
  entry to treated areas that is permitted under the Worker Protection Standard and that
  involves contact with anything that has been treated, such as plants, soil, or water is:

     Coveralls
     Chemical-resistant gloves made of


     Shoes plus socks
     Protective eyewear

  Automatic Cold Fogger Use in Greenhouses: Early entry is based on ventilation
  criteria.
         If there is no ventilation, the REI is 24 hours.
         Early entry is permitted (with the PPE listed above) and respiratory protection
         consisting of a protection factor (PF) 10 respirator fitted with an organic-vapor
         removing filter) after four (4) hours to perform short duration activities such as
         opening windows or turning on fans or ventilation systems.
         Early entry is permitted (with the PPE listed above) after two (2) hours of
         ventilation using fans or other mechanical ventilation systems.
         Early entry is permitted (with the PPE listed above) after four (4) hours of
         ventilation using vents, windows or other passive ventilation.
         Early entry is permitted (with the PPE listed above) after ten (10) complete air
         exchanges have been completed.
  After 12 hours, if the greenhouse has been ventilated according to the above criteria,
  no PPE is required to enter the treated area.




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                      NON-AGRICULTURAL USE REQUIREMENTS

  The requirements in this box apply to uses of this product that are NOT within the
  scope of the Worker Protection Standard for agricultural pesticides (40 CFR Part
  170). The WPS applies when this product is used to produce agricultural plants on
  farms, forests, nurseries, or greenhouses.

  Do not enter treated areas without protective clothing until sprays have dried.

 FAILURE TO FOLLOW THE DIRECTIONS FOR USE AND PRECAUTIONS ON THIS
 LABEL MAY RESULT IN CROP INJURY, POOR INSECT CONTROL, AND/OR
 ILLEGAL RESIDUES.


 USE INFORMATION

 RESISTANCE MANAGEMENT
                     THIAMETHOXAM     GROUP                           4A INSECTICIDE
                     CYANTRANILIPROLE GROUP                           28 INSECTICIDE

 Some insect pests are known to develop resistance to products after repeated use.
 Because resistance development cannot be predicted, the use of this product should
 conform to sound resistance management strategies established for the crop and use
 area. Syngenta encourages responsible product stewardship to ensure effective long-
 term control of the insects on this label.

 Spinner contains a Group 4A insecticide (thiamethoxam, belonging to the neonicotinoid
 class of chemistry) and a Group 28 insecticide (cyantraniliprole, belonging to the
 diamide class of chemistry). Insect biotypes with acquired or inherent resistance to
 Group 4A or Group 28 insecticides may eventually dominate the insect population if
 Group 4A or Group 28 insecticides are used repeatedly as the predominant method of
 control for targeted species. This may result in partial or total loss of control of those
 species by Spinner or other Group 4A or Group 28 insecticides.

 If resistance to this product develops in your area, this product, or other products with a
 similar mode of action, may not provide adequate control. If poor performance cannot
 be attributed to improper application or extreme weather conditions, a resistant strain of
 insect may be present. If you experience difficulty with control and resistance is a
 reasonable cause, immediately consult your local company representative or
 agricultural advisor for the best alternative method of control for your area.

 In order to maintain susceptibility to these classes of chemistry:
     Avoid using Group 4A and/or Group 28 insecticides exclusively for season-long
     control of insect species with more than one generation per crop season.


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    For insect species with successive or overlapping generations, apply Spinner or
    other Group 4A and/or Group 28 insecticides using a “treatment window” approach.
    A treatment window is a period of time as defined by the stage of crop development
    and/or the biology of the pests of concern. Within the treatment window, depending
    on the length of residual activity, there may either be single or consecutive
    applications (seed treatment, soil, foliar, unless otherwise stated in the Directions for
    Use) of the Group 4A and/or Group 28 insecticides. Do not exceed the maximum
    Spinner allowed per growing season.
    Following a treatment window of Group 4A and/or Group 28 insecticides, rotate to a
    treatment window of effective products with a different mode of action before making
    additional applications of Group 4A and/or Group 28 insecticides.
    A treatment-window rotation, along with other IPM practices for the crop and use
    area, is considered an effective strategy for preventing or delaying a pest’s ability to
    develop resistance to these classes of chemistry.
    If resistance is suspected, do not reapply Spinner or other Group 4A or Group 28
    insecticides.

 Other Insect Resistance Management (IRM) practices include:
    Incorporating IPM techniques into your insect control program.
    Monitoring treated insect populations for loss of field efficacy.
    Using tank-mixtures or premixes with insecticides from a different target site of
    action group as long as the involved products are all registered for the same crop
    outlet and effective rates are applied.

    For additional information on Insect Resistance Management:
    Contact your local extension specialist, certified crop advisor and/or product
    manufacturer for additional insect resistance management recommendations.
    Visit the Insecticide Resistance Action Committee (IRAC) on the web at
    http://www.irac-online.org/.

    POLLINATOR PRECAUTIONS

    Spinner is highly toxic to bees exposed to direct treatment on blooming crops or
    weeds and may cause possible effects to pollinators from exposure to translocated
    residues in blooming crops.
    Do not apply Spinner or allow it to drift to blooming crops while bees are foraging
    in/or adjacent to the treatment area. This is especially critical if there are adjacent
    orchards that are blooming (Refer to Spray Drift Precautions for additional
    information).
    If bees are foraging in the ground cover and it contains any blooming plants or
    weeds, always remove flowers before making an application. This may be
    accomplished by mowing, disking, mulching, flailing, or applying a labeled herbicide.
    Consult with your local cooperative extension service or state agency responsible for
    regulating pesticide use for additional pollinator safety practices.



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 MIXING PROCEDURES

 Prepare only the amount of spray mixture that is needed for the immediate application.
 Thoroughly clean spray equipment before using this product. Vigorous agitation is
 necessary for proper dispersal of the product. Maintain maximum agitation throughout
 the spraying operation.

 Do not let the spray mixture stand overnight in the spray tank. Flush the spray
 equipment thoroughly following each use and apply the rinsate to a previously treated
 area.

 Spinner Applied Alone

 Add 1/2 of the required amount of water to the mix tank. With the agitator running, add
 the Spinner to the tank. Continue agitation while adding the remainder of the water.
 Begin application of the solution after the Spinner has completely dispersed into the mix
 water. Maintain agitation until all of the mixture has been applied.

 Spinner + Tank Mixtures

 If using Spinner in a tank mixture, it is the user's responsibility to observe all directions
 for use, crop/sites, use rates, dilution ratios, precautions, and limitations which appear
 on the tank mix product label. Do not exceed any label dosage rate, and follow the
 most restrictive directions for use and precautionary language of each product in the
 mixture (for example, first aid from one product, spray drift management from another).
 Do not mix this product with any product, which prohibits such mixing. Tank mixtures or
 other applications of products referenced on this label are permitted only in those states
 in which the referenced products are labeled.

 Add 1/2 of the required amount of water to the mix tank. Start the agitator running
 before adding any tank mix partners. Add the tank mix partners in this order: products
 packaged in water-soluble packaging, wettable powders, wettable granules (dry
 flowables) such as Spinner, liquid flowables, liquids and emulsifiable concentrates.
 Always allow each tank mix partner to become fully dispersed before adding the next
 product. Provide sufficient agitation while adding the remainder of the water. Maintain
 agitation until all the mixture has been applied.

 Important: When using Spinner in tank mixtures, add all products in water-soluble
 packaging to the tank before any other tank mix partner, including Spinner. Allow the
 water-soluble packaging to completely dissolve and the product(s) to completely
 disperse before adding any other tank mix partner to the tank.

 When an adjuvant is to be used with this product, use an adjuvant that meets the
 standard of the Chemical Producers and Distributors Association (CPDA) adjuvant
 certification program. Spinner is compatible with most commonly used pesticides, crop

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 oils, adjuvants, and nutritional sprays. However, since it is not possible to test all
 possible mixtures, the user should pre-test to assure the physical compatibility and lack
 of phytotoxic effect of any proposed mixtures with Spinner.


 Tank Mix Compatibility

 Spinner is compatible with most insecticide, fungicide, and foliar nutrients products.
 However, test the physical compatibility of Spinner with tank-mix partners before use.
 To determine the physical compatibility of Spinner with other products, use a jar test, as
 described below.

 Using a quart jar, add the proportionate amounts of the products to 1 qt. of water. Add
 wettable powders and water-dispersible granular products first, then liquid flowables,
 and emulsifiable concentrates last. After thoroughly mixing, let stand for at least 5
 minutes. If the combination remains mixed or can be remixed readily, it is physically
 compatible. Once compatibility has been proven, use the same procedure for adding
 required ingredients to the spray tank.


 [Options 1 and 3]
 USE INFORMATION - TURF

 Spinner is a combination of two broad-spectrum insecticides, thiamethoxam and
 cyantraniliprole that are effective when applied at label rates for control of specified
 turfgrass insects. When applied at label rates, it is active against annual white grubs
 including Asiatic garden beetle (Maladera castanea), European chafer (Amphimallon
 majale), green June beetle (Cotinis nitida), Japanese beetle (Popillia japonica), May or
 June beetle (Phyllophaga spp.), Northern masked chafer (Cyclocephala borealis),
 oriental beetle (Anomala orientalis), Southern masked chafer (Cyclocephala lurida),
 Aphodius beetle (Aphodius omissus omissus) and black turfgrass Ataenius (Ataenius
 spretulus). Spinner also controls many key surface-feeding pests including annual
 bluegrass weevils, billbugs and caterpillars.

 Spinner is active against many sucking and chewing insect pests by contact and
 ingestion. Spinner is readily absorbed into plant tissue and is rainfast once it has dried.
 The rapid translaminar absorption and distribution within leaves provides excellent
 residual control of turfgrass insects.

 In the soil, the active ingredients in Spinner will control listed soil pests upon contact or
 ingestion and is also readily taken up by plant roots. Both thiamethoxam and
 cyantraniliprole move upwards in the plant to the site of pest infestation.

 Through feeding on the plant, pests are exposed to the active ingredient in Spinner.
 Feeding will stop within minutes to hours of exposure and be followed by death of the
 pest. The moderate persistence of Spinner in the soil and foliage also provides residual

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 control of labeled pests. Spinner is not active as an ovicide or as an insect growth
 regulator. Because residues on leaf surfaces are quickly degraded, Spinner is
 compatible with beneficial arthropods.

 APPLICATION TO TURFGRASS

 Sites of Application

 Spinner can be applied to turfgrass on golf course and sod farms and institutional,
 commercial and residential lawns and landscapes; sports fields; parks; municipal
 grounds; and cemeteries.

 Restrictions:

    For foliar applications, DO NOT apply during rain.
    DO NOT cultivate within 30 ft of the aquatic area to allow growth of a vegetative filter
    strip.
    DO NOT apply within 50 feet of aquatic habitats (such as, but not limited to, lakes,
    reservoirs, rivers, permanent streams, wetlands or natural ponds, estuaries, and
    commercial fish farm ponds).
    DO NOT apply this product, by any application method, to linden, basswood, or Tilia
    species.
    DO NOT apply this product through any type of irrigation system.
    DO NOT apply with aerial equipment.
    DO NOT apply more than 21.2 ounces of Spinner (0.2625 lb of thiamethoxam/A and
    0.2625 lb of cyantraniliprole/A) per acre per year.
    For turfgrass on institutional, commercial and residential lawns and landscapes;
    sports fields; parks; municipal grounds; and cemeteries, DO NOT apply more than
    10.5 ounces of Spinner (0.13 lb of thiamethoxam/A and 0.13 lb of cyantraniliprole/A)
    per acre per application. These sites may contain flowering weeds that are attractive
    to bees.




 Broadcast Applications to Turfgrass

 Apply Spinner as a broadcast application to turfgrass for control of targeted pests. Use
 sufficient water volume (1.5 - 5 gallons/ 1,000 square feet) to uniformly distribute
 Spinner over the area being treated and to adequately move the active ingredient into
 the canopy and thatch layers.



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 To help prevent grubs, irrigate within seven (7) days of application to move Spinner into
 the root zone where grubs feed. To control grubs, irrigate within one (1) day of
 application to move Spinner into the root zone where grubs feed. Maintain adequate
 soil moisture before and after application for optimum control and healthy turfgrass
 growth. Excessively wet or dry conditions may impact the performance of Spinner
 against white grubs and mole crickets. Do not mow turf until the treated area has been
 irrigated or rainfall has occurred to allow for maximum and uniform uptake into turfgrass.

 Broadcast application to Turfgrass to control listed pests
                                                                                               Dosage of
                        Pests                                 Application Timing                 Spinner
  Larvae (white grubs) of:                          Begin applications up to 45 days         For golf
  Asiatic Garden Beetle (Maladera castanea)         before the historical peak of adult      courses and
  European Chafer (Amphimallon majalis)             flight to 2nd instar grub of the         sod farms
  Green June Beetle (Cotinis nitida)                species being targeted. For              only:
  Japanese Beetle (Popillia japonica)               optimum control, treat from peak
  May or June Beetle (Phyllophaga spp.)             flight to peak egg hatch. Optimum        Apply one
  Northern Masked Chafer (Cyclocephala borealis)    control will be obtained from egg        application of
  Oriental Beetle (Anomala orientalis)              hatch to second instar (grubs less       16 to 21
  Southern Masked Chafer (Cyclocephala lurida)      than half their full size).              ounces/A
  Dung beetle (Aphodius omissus omissus)
  Black Turfgrass Ataenius (Ataenius spretulus)                                              or
  Turf caterpillars including:                      For optimum control, begin
  Armyworms                                         applications when populations are        Apply two
  Cutworms                                          first observed and delay watering        applications of
  Sod webworms                                      (irrigation) and mowing for 24 hours     8 to 10.5
                                                    after application.                       ounces/A on a
  Annual Bluegrass Weevil                           Apply when overwintering adult           30- to 45-day
  (Listronotus maculicolis)                         weevils are observed in late April       interval.
                                                    and early May. Spinner provides
                                                    control of larvae, pupae and adults.      ------------------
  Billbugs                                          Apply when overwintering adult
  Bluegrass billbug (Sphenophorus parvulus)         billbugs are observed in late April      For application
  Denver billbug (Sphenophorus cicastristriatus)    and early May.                           to institutional,
  Craneflies (Tipula spp.)                          For optimum control, apply at            commercial
                                                    oviposition (egg lay).                   and residential
  Mole crickets (Scapteriscus spp.)                 To suppress damage, treat from first     lawns and
  (suppression)                                     egg hatch to peak egg hatch.             landscapes;
  Chinch bugs (Blissus spp.)                        Apply when young nymphs are first        sports fields;
                                                    observed.                                parks;
  Flea beetles                                      For optimum control, make                municipal
  Greenbugs                                         application(s) when populations are      grounds; and
  Leafhoppers                                       first observed.                          cemeteries:
  Spittlebugs
  Ants                                              Treat when ant mounds are first          Apply two
  (excluding Carpenter, Harvester, and Pharaoh      observed. For optimum control on         applications of
  ants)                                             green and tee surfaces, treat the        8 to 10.5
                                                    affected area plus a surrounding 30-     ounces/A on a
                                                    foot buffer. For fairways and roughs,    30- to 45-day
                                                    treat at least 1.5 times the infested    interval.
                                                    area. Water in to adequately move
                                                    active ingredient to target area. For    DO NOT apply
                                                                                             more than 10.5

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                                                     additional knockdown activity, utilize ounces/A per
                                                     with Scimitar GC Insecticide in an     application.
                                                     insect control spray program.
                                                     Consult the Scimitar GC Insecticide
                                                     label for use.
 DO NOT apply more than 21 ounces/A of product (0.2625 lb of thiamethoxam/A and 0.2625 lb of
 cyantraniliprole/A) per year.
 DO NOT apply more than 0.2625 lb ai/A thiamethoxam or 0.4 lb ai/A cyantraniliprole per calendar year
 regardless of formulation or method of application.

 For specific information about developmental stages of the target pest and optimal timing of applications,
 consult with your State Cooperative Extension Service.

     For turf with heavy thatch (more than 0.75 inches), use the higher rates within the specified range.
     Spinner is not phytotoxic to any major turfgrass species.
     Spinner provides suppression of mole crickets on turfgrass. Suppression can mean either erratic
     control, ranging from good to poor, or a consistent level of control below that generally acceptable for
     commercial purposes.




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 [Options 2 and 3]
 USE INFORMATION – ORNAMENTAL LANDSCAPE PLANTS

 Spinner is a broad-spectrum insecticide that is effective when applied at label rates to
 the foliage. Spinner is active against listed sucking and chewing insect pests by contact
 and ingestion.

 Application to Ornamental Plants

 Spinner may be used on most ornamental plants in residential landscaped areas and
 landscaped areas around institutional, public, commercial and industrial buildings;
 parks; recreational areas; and athletic fields (including trees, shrubs, flowers,
 evergreens, foliage plants, and groundcovers). Test Spinner alone or the mixture to be
 applied (including adjuvants) on a small number of plants to determine any adverse
 plant safety effects before making large-scale applications.

 Applications of Spinner to yellow varieties of Honey Locust (Gleditsia triacanthos) may
 result in leaf chlorosis and leaf abscission. The effects are temporary. Test Spinner
 alone or the mixture to be applied on a small number of the Honey Locust varieties you
 intend to treat and determine any adverse plant safety effects before making large-scale
 applications.

   DO NOT apply this product, by any application method, to linden, basswood, or Tilia
   species.

 APPLICATION PROCEDURES

 Foliar Applications

 Make foliar applications in an adequate water volume to achieve thorough and uniform
 coverage without excessive runoff (to drip). Use of an adjuvant applied with Spinner
 may increase efficacy. Select an adjuvant that does not bind Spinner to the leaf
 surface, limiting absorption into the foliage. Spinner can be applied in a range of spray
 volumes (concentrate to dilute spray volumes), provided thorough and uniform coverage
 is obtained.

 Handheld Application Equipment

 Applications can be made through most types of low-pressure handheld application
 equipment.

 DO NOT apply through any type of handheld fogger equipment.

 Application Timing



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 Begin foliar applications when labeled pests first appear or when economic thresholds
 have been reached.

 Apply Spinner preventatively to plants that have low economic thresholds or are prone
 to infestation by listed insect pests.

 Spray Drift Precautions

 As with all crop protection products, it is important to avoid off-target movement. Do not
 allow spray to drift onto adjacent land, crops, or aquatic areas. To avoid spray drift:

       Make applications when wind velocity favors on-target product deposition
       (approximately 3-10 mph). Do not apply when wind velocity exceeds 10 mph. Do
       not make applications when wind gusts approach 10 mph.

       Do not make applications when wind direction is toward the aquatic area to
       reduce the risk of exposure to sensitive aquatic areas.

       Do not make applications during temperature inversions. Inversions are
       characterized by stable air and increasing temperatures with increased height
       above the ground. Mist or fog may indicate the presence of an inversion in humid
       areas. The applicator may detect the presence of an inversion by producing
       smoke and observing a smoke layer near the ground surface.
       Use the largest droplet size consistent with good pest control. Small droplets are
       more prone to spray drift, and can be minimized by appropriate nozzle selection,
       by orienting nozzles away from the air stream as much as possible, and by
       avoiding excessive spray boom pressure.

       For broadcast applications made at planting or prior to the emergence of crops,
       applicators are required to use a coarse or coarser droplet size (ASABE S572.1).
       For all other broadcast applications, applicators are required to use a medium or
       coarser droplet size (ASABE S572.1).

       Apply as close to target plants as practical to obtain a good spray pattern for
       adequate coverage.




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 SPECIFIC USE DIRECTIONS – ORNAMENTAL LANDSCAPE PLANTS

 Foliar Applications

              Pests                         Rate                          Use Restrictions
  Ants (excluding harvester,
    carpenter and Pharaoh ants)          5-10.0 oz/A         Make the first application when economic
  Aphids                                      or             action levels for the target pest are reached.
  Beet Armyworm                     0.6-1.1 oz/5,000 sq ft   For crops without action levels, make the
  Cabbage Looper                                             first application before pest populations
  Cabbage Webworm                                            cause significant damage to the host plant.
  Corn Earworm                                               A second application, if needed, may be
  Diamondback Moth                                           made but no sooner than 14 days
  Fall Armyworm
  Flea Beetles                                               Apply higher use rates in rate range for
  Imported Cabbageworm                                       longer control or high insect populations.
  Southern Armyworm
  Sugarbeet Armyworm                                         For leaf-gall-forming insects, apply during
  Yellowstriped Armyworm                                     egg laying of the generation being targeted.

                                                               For concentrated spray volumes, apply the
  Adelgids (including Hemlock              10.5 oz/A           same amount of product per unit area as
   Woolly Adelgid)                             or              would be applied with dilute spray volumes.
  Lace Bugs                            1.2 oz/5,000 sq ft
  Leaf Beetles
  Leafhoppers
  Leafminers
  Leaf gall forming insects
  Mealybugs
  Midges
  Plant Bug
  Psyllids (including Asian Citrus
    Psyllid)
  Sawflies
  Soft Scales
  Thrips – foliar feeding
  Whiteflies
     DO NOT exceed 21 oz/A of product (0.2625 lb of thiamethoxam/A and 0.2625 lb of cyantraniliprole/A)
     per year.
     DO NOT apply more than 0.2625 lb ai/A thiamethoxam or 0.4 lb ai/A cyantraniliprole per calendar
     year regardless of formulation or method of application.
     For specific information about developmental stages of the target pest, associated damage and
     action thresholds to properly time applications, consult with your State Cooperative Extension
     Service.




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 [Options 2 and 3]
 USE INFORMATION – ORNAMENTAL PLANTS, NON-BEARING FRUIT AND NUT
 TREES (DEFINED AS CROPS THAT WILL NOT BEAR FRUIT WITHIN ONE YEAR
 OF APPLICATION), CHRISTMAS TREE SEEDLINGS (LINER PRODUCTION AND
 FIELD APPLICATION), AND LISTED VEGETABLE TRANSPLANTS GROWN FOR
 SALE TO CONSUMERS

 Spinner is a broad-spectrum insecticide that is effective when applied at label rates to
 the foliage, soil and growing media. Spinner is active against listed sucking and
 chewing insect pests by contact and ingestion.

 Application to Ornamental Plants

 Spinner can be used on most ornamental plants. Test Spinner alone or the mixture
 (including adjuvants) to be applied on a small number of plants to determine any
 adverse plant safety effects before making large scale applications.

 Among container-grown ornamentals and ornamentals grown in planting or liner beds,
 some plant species may be sensitive to fertilizers. Determine the plant safety of
 Spinner applied with fertilizers. Test the mixture on a small number of plants to
 determine any adverse plant safety effects before making large-scale applications.

 Applications of Spinner to yellow varieties of Honey Locust (Gleditsia triacanthos) may
 result in leaf chlorosis and leaf abscission. The effects are temporary. Test Spinner
 alone or the mixture to be applied on a small number of the Honey Locust varieties you
 intend to treat and determine any adverse plant safety effects before making large-scale
 applications.

 APPLICATION PROCEDURES

 Foliar Applications

 Make foliar applications in an adequate water volume to achieve thorough and uniform
 coverage without excessive runoff (to drip). Use of an adjuvant applied with Spinner
 may increase efficacy. Select an adjuvant that does not bind Spinner to the leaf
 surface, limiting absorption into the foliage. Spinner can be applied in a range of spray
 volumes (concentrate to dilute spray volumes), provided thorough and uniform coverage
 is obtained.




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 Handheld Application Equipment

 Applications can be made through most types of low-pressure handheld application
 equipment.

 DO NOT apply through any type of handheld fogger equipment.

 DO NOT apply with aerial equipment.

 Automatic Cold Fogger Applications – Greenhouses

 Applications can be made in greenhouses with automatic cold fogger equipment. Apply
 the same amount of Spinner per unit area as would be applied in a dilute spray volume
 over the same area.

 Do not apply through fogger equipment requiring workers to be present in the
 greenhouse during the fogger application.

 Important: Read and follow the REI and PPE requirements for Automatic Cold
 Fogger Use in Greenhouses in the Worker Protection Standard AGRICULTURAL
 USE REQUIREMENTS box.

 Soil or Soil-less Media Applications

 Spinner is effective as a soil and systemic insecticide when applied to the soil using
 band, broadcast, or drench applications. When applying Spinner as a drench to plants
 in pots and containers, apply enough solution to sufficiently wet ½ -¾ of the root zone
 without allowing runoff out of the container. With irrigation or rainfall, move Spinner into
 the root zone of plants or the location of soil-dwelling pests, preferably within 3 days of
 treatment and, optimally, within 24 hours. Excessive watering or heavy rainfall may
 reduce the effectiveness of Spinner. Allow a minimum of 7 days after watering in for
 maximum uptake of Spinner by the plant’s root system.

 Do not apply to soils or growing media above field or pot capacity. Do not apply to
 waterlogged soil or growing media.

 Application Timing

 Begin foliar applications when labeled pests first appear or when economic thresholds
 have been reached.

 For applications made to growing media (soil or soil-less media), Spinner must move to
 the feeding site of the target pest, whether this is in the root zone or the above-ground
 portion of the host plant. Therefore, control of pests from the systemic activity of



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 Spinner may be delayed for 1 or more weeks depending on plant size, rate of uptake
 from the soil, or rate of translocation within the plant, etc.

 Systemic activity in large plants such as those in field nurseries may require several
 weeks for control of stem and foliar pests. Apply Spinner preventatively to plants that
 have low economic thresholds or are prone to infestation by listed insect pests.

 Application through Irrigation Systems

 Apply Spinner only through micro-irrigation systems (for example, drip, trickle, spaghetti
 tubes, and micro-sprinklers), overhead irrigation, ebb-and-flow and flood-floor irrigation,
 or hand-held or motorized calibrated irrigation equipment. Do not apply this product
 through any other type of irrigation equipment. Do not overwater for a minimum of 7
 days after watering in for maximum uptake of Spinner by the plant’s root system. See
 additional precautions regarding irrigation system application below.

 Chemigation

 Uniform Water Distribution and System Calibration: The irrigation system must
 provide uniform distribution of treated water. Plant injury, lack of effectiveness, or illegal
 pesticide residues in the plant may result from non-uniform distribution of treated water.

 The system must be calibrated to uniformly apply the rates specified. If you have
 questions about calibration, you should contact State Extension Service specialists,
 equipment manufacturers, or other experts.

 Do not connect an irrigation system (including greenhouse systems) used for pesticide
 application to a public water system unless the pesticide label-prescribed safety devices
 for public water systems are in place.

 Chemigation Monitoring: A person knowledgeable of the chemigation system and
 responsible for its operation, or under the supervision of the responsible person, shall
 shut the system down and make necessary adjustments should the need arise.

 Required System Safety Devices: The system must contain a functional check valve,
 vacuum relief valve, and low-pressure drain appropriately located on the irrigation
 pipeline to prevent water source contamination from backflow.

 The pesticide injection pipeline must contain a functional, automatic, quick-closing
 check valve to prevent the flow of fluid back toward the injection pump.

 The pesticide injection pipeline must also contain a functional, normally closed,
 solenoid-operated valve located on the intake side of the injection pump and connected
 to the system interlock to prevent fluid from being withdrawn from the supply tank when
 the irrigation system is either automatically or manually shut down.



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 The system must contain functional interlocking controls to automatically shut off the
 pesticide injection pump when the water pump motor stops.

 The irrigation line or water pump must include a functional pressure switch, which will
 stop the water pump motor when the water pressure decreases to the point where
 pesticide distribution is adversely affected.

 Systems must use a metering pump, such as a positive displacement injection pump
 (e.g., diaphragm pump or Venturi injector) effectively designed and constructed of
 materials that are compatible with pesticides and capable of being fitted with a system
 interlock.

 Do not apply when wind speed favors drift beyond the area intended for treatment.

 Specific Instructions for Public Water Systems

 Public water system means a system for the provision to the public of piped water for
 human consumption if such system has at least 15 service connections or regularly
 serves an average of at least 25 individuals daily at least 60 days out of the year.

 Chemigation systems connected to public water systems must contain a functional,
 reduced-pressure zone, back-flow preventer (RPZ) or the functional equivalent in the
 water supply line upstream from the point of pesticide introduction. As an option to the
 RPZ, the water from the public water system should be discharged into a reservoir tank
 prior to pesticide introduction. There shall be a complete physical break (air gap)
 between the flow outlet end of the fill pipe and the top or overflow rim of the reservoir
 tank of at least twice the inside diameter of the fill pipe.

 The pesticide injection pipeline must contain a functional, automatic, quick-closing
 check valve to prevent the flow of fluid back toward the injection pump.

 The pesticide injection pipeline must contain a functional, normally closed, solenoid-
 operated valve located on the intake side of the injection pump and connected to the
 system interlock to prevent fluid from being withdrawn from the supply tank when the
 irrigation system is either automatically or manually shut down.

 The system must contain functional interlocking controls to automatically shut off the
 pesticide injection pump when the water pump motor stops or in cases where there is
 no water pump, when the water pressure decreases to the point where pesticide
 distribution is adversely affected.

 Systems must use a metering pump, such as a positive displacement injection pump
 (e.g., diaphragm pump or Venturi injector) effectively designed and constructed of
 materials that are compatible with pesticides and capable of being fitted with a system
 interlock.


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 Do not apply when wind speed favors drift beyond the area intended for treatment.

 Ebb-and-Flow and Flood-Floor Application

 To determine the water volume uptake of Spinner in ebb-and-flow and flood-floor
 applications, bring a minimum of 10 plants up to a known field capacity and allow them
 to dry out for one to two days. Re-wet these plants to determine how much water on
 average each plant will absorb to bring it back to field capacity. Use the water volume
 absorbed per plant, multiply by the number of pots of the same size being treated and
 add the minimum water volume to irrigate the area. This should minimize the return
 back to the storage tank. Re-use the returned volume with subsequent irrigation or
 nutrients on the same plants. Dilute Spinner in a minimum of 100 gallons for ebb-and-
 flow and flood-floor application.

 Spray Drift Precautions

 As with all crop protection products, it is important to avoid off-target movement. Do not
 allow spray to drift onto adjacent land, crops, or aquatic areas. To avoid spray drift:

    Make applications when wind velocity favors on-target product deposition
    (approximately 3-10 mph). Do not apply when wind velocity exceeds 10 mph. Do
    not make applications when wind gusts approach 10 mph.

    Do not make applications when wind direction is toward the aquatic area to reduce
    the risk of exposure to sensitive aquatic areas.

    Do not cultivate or plant crops within 25 ft of the aquatic area as to allow growth of a
    vegetative filter strip.

    Do not make applications during temperature inversions. Inversions are
    characterized by stable air and increasing temperatures with increased height above
    the ground. Mist or fog may indicate the presence of an inversion in humid areas.
    The applicator may detect the presence of an inversion by producing smoke and
    observing a smoke layer near the ground surface.

    Use the largest droplet size consistent with good pest control. Small droplets are
    more prone to spray drift, and can be minimized by appropriate nozzle selection, by
    orienting nozzles away from the air stream as much as possible, and by avoiding
    excessive spray boom pressure.

    For broadcast applications made at planting or prior to the emergence of crops,
    applicators are required to use a coarse or coarser droplet size (ASABE S572.1).
    For all other broadcast applications, applicators are required to use a medium or
    coarser droplet size (ASABE S572.1).


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    Apply as close to target plants as practical to obtain a good spray pattern for
    adequate coverage. Do not make applications more than 10 ft. above the crop
    canopy.




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 SPECIFIC USE DIRECTIONS

 Foliar Applications

 Ornamental plants, non-bearing fruit and nut trees (defined as crops that will not bear
 fruit within one year of application), and Christmas tree seedlings grown in
 greenhouses, lath and shade houses, containers, field nurseries and interiorscapes

               Pests                          Rate                            Use Restrictions
  Ants (excluding harvester,
    carpenter and Pharaoh ants)         2.5-5.0 oz/100 gal      Make the first application when economic
  Aphids                                        or              action levels for the target pest are reached.
  Beet Armyworm                            5-10.0 oz/A          For crops without action levels, make the first
  Cabbage Looper                                or              application before pest populations cause
  Cabbage Webworm                     0.6-1.1 oz 5,000 sq ft    significant damage to the host plant. Re-
  Corn Earworm                                                  apply as needed but no sooner than every 14
  Diamondback Moth                                              days.
  Fall Armyworm
  Flea Beetles                                                  Apply higher use rates in rate range for longer
  Imported Cabbageworm                                          control or high insect populations.
  Southern Armyworm
  Sugarbeet Armyworm                                            For leaf- gall-forming insects, apply during
  Yellowstriped Armyworm                                        egg laying of the generation being targeted.

                                                                 For concentrated spray volumes, apply the
  Adelgids (including Hemlock              10.5 oz/100 gal       same amount of product per unit area as
   Woolly Adelgid)                                or             would be applied with dilute spray volumes.
  Lace Bugs                                   10.5 oz/A
  Leaf Beetles                                    or
  Leafhoppers                             1.2 oz/5,000 sq ft
  Leafminers
  Leaf gall forming insects
  Mealybugs
  Midges
  Plant Bug
  Psyllids (including Asian Citrus
    Psyllid)
  Sawflies
  Soft Scales
  Thrips – foliar feeding
  Whiteflies
     For ornamental crops grown outdoors, do not exceed 21 oz/A of product (0.2625 lb of
     thiamethoxam/A and 0.2625 lb of cyantraniliprole/A) per year.
     For ornamental crops grown indoors, do not exceed 21 oz/A of product (0.2625 lb of thiamethoxam/A
     and 0.2625 lb of cyantraniliprole/A) per crop.
     Do not apply more than 0.2625 lb ai/A thiamethoxam or 0.4 lb ai/A cyantraniliprole per calendar year
     regardless of formulation or method of application.
     For specific information about developmental stages of the target pest, associated damage and
     action thresholds to properly time applications, consult your State Cooperative Extension Service.




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  Applications to Soil or Other Growing Media

  Ornamental plants, non-bearing fruit and nut trees (defined as crops that will not bear
  fruit within one year of application) and Christmas tree seedlings grown in
  greenhouses, lath and shade houses, containers, field nurseries and interiorscapes


               Pests                       Rate                               Use Restrictions
  Aphids
  Fungus gnats                       5-10.5 oz/100 gal       Apply to the soil or growing media to help prevent
  Leaf Beetles                               or              pests in situations where tolerance of insects or
  Leafminers                             10.5 oz/A           damage is low. Allow a minimum of 1 week for
  Mealybugs                                  or              smaller plants and at least 2 weeks for large
  Root Aphid                         1.2 oz/5,000 sq ft      plants (typically found in nurseries, plantations) to
  Root Weevil larvae                                         translocate Spinner to feeding sites of the target
    (including Diaprepes                                     pest.
    abbreviatus)
  Soft Scales                                                Re-apply as needed, but no sooner than every 14
  Thrips – foliar feeding                                    days.
    (suppression)
  Whiteflies                                                 Apply as a broadcast, band, or drench.
  Larvae (Grubs) of:
  Aphodius spp.                     7.5-10.5 oz/100 gal      Apply from adult flight through peak egg hatch of
  Asiatic garden beetle                                      the targeted species.
  Billbugs
  European chafer                                            Apply as a drench treatment to containers and
  Green June beetle                                          over the active root zone.
  Japanese beetle
  May or June beetle                                         For drench and chemigation applications made to
  Northern masked chafer                                     containerized plant material, apply sufficient
  Oriental beetle                                            volume to moisten the media around the root zone
  Scarab beetle                                              without loss from the bottom of the container.
  Southern masked chafer

  Fire Ants                          1.3-3.8 oz/10 gal       Individual Mound Treatment: For small mounds
                                                             (<6 inch in diameter), apply 1 gal of water per
                                                             mound and for larger mounds apply 2-3 gal of
                                                             dilute solution per mound for optimum control.
                                                             Direct the application to the center of the mound,
                                                             including a 6-inch diameter circle.
        For broadcast applications, typical water volume is 1.5 - 5 gal/1,000 sq ft
        For ornamental crops grown outdoors, do not exceed 21 oz/A of product (0.2625 lb of
        thiamethoxam/A and 0.2625 lb of cyantraniliprole/A) per year.
        For ornamental crops grown indoors, do not exceed 21 oz/A of product (0.2625 lb of
        thiamethoxam/A and 0.2625 lb of cyantraniliprole/A) per crop.
        Do not apply more than 0.2625 lb ai/A thiamethoxam or 0.4 lb ai/A cyantraniliprole per calendar
        year regardless of formulation or method of application.
        Do not over-water for a minimum of 7 days after watering in for maximum uptake of Spinner by
        the plant root system.
        For specific information about developmental stages of the target pest, associated damage, and
        action thresholds to properly time applications, consult with your State Cooperative Extension
        Service.


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 Banded Application

 For banded applications, apply uniformly over the row or active root zone in a minimum
 water volume of 5 gallons per 1,000 linear feet. Irrigate within 24 hours of application if
 sufficient rainfall (1/4-1 inch of water) doesn't occur.

 Spinner rate (ounces of product) per 1,000 linear feet of row for specific row spacing
            Lb                                         Row Spacing
  Rate/A   ai/A   3 ft   4 ft   4.5 ft   5 ft   6 ft     7 ft  8 ft    9 ft   10 ft    11 ft    12 ft
   10.5
           0.26   0.7    1.0     1.1     1.2    1.4      1.7     1.9   2.2    2.41     2.66      2.9
   oz/A

 Drench Application

 When applying Spinner as a drench, apply enough solution to sufficiently wet ½ -¾ of
 the root zone without allowing runoff out of the container. Use the following chart as a
 guideline for the number of pots that this volume will treat based on the size of the pot
 and drench volume. Use higher drench volumes for woody ornamentals, containers
 having multiple plants, and those crops with longer production times or needing longer
 protection.

 Note: Drench volumes will vary based on the porosity of the growing media. Conduct
 your own tests to determine correct drench volumes for your growing media.

                         Suggested Drench Volume           Pots Treated per
   Pot Size                      fl oz/pot                     100 gal
   4-inch standard                   2-3                     6,400-4,267
   6-inch standard                   3-4                     4,267-3,200
   8-inch standard                  5-10                     2,560-1,280
   10-inch standard               12.5-25                     1,024-512




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 Foliar Application to Vegetable Plants Grown for Sale to Consumers

 For tomatoes, peppers, eggplant, and cucurbit plants grown for sale to consumers

            Crop                     Pests                        Rate                   Use Restrictions

  Fruiting Vegetables         Aphids                           5.0–7.0 oz/A           Apply before pests reach
    Eggplant                  Beet Armyworm                         or                damaging levels. Apply
    Ground-cherry             Colorado Potato             0.6–0.8 oz/ 5,000 sq ft     higher rates within the
    Pepino                      Beetle                                                listed rate range for
    Peppers (bell, chili,     Fall Armyworm                                           heavy infestations.
      cooking, pimento,       Flea Beetles
      and sweet)              Hornworm species
    Tomatillo                 Leafhoppers
    Tomato                    Leafminers
                              Loopers
                              Potato Psyllid
                              Southern Armyworm
                              Thrips (Foliar Feeding)
                              Tomato Fruitworm
                              Tomato Pinworm
                              Whiteflies
                              Yellowstriped
                                Armyworm
      For transplants grown outdoors, do not exceed 14.0 oz/A (1.6 oz/5,000 sq ft) of Spinner (0.175 lb of
      thiamethoxam/A and 0.175 lb of cyantraniliprole/A) per year.
      For transplants grown indoors, do not exceed 14.0 oz/A (1.6 oz/5000 sq ft) of Spinner (0.175 lb of
      thiamethoxam/A and 0.175 lb of cyantraniliprole/A) per crop.
      Do not apply more than 0.2625 lb ai/A thiamethoxam or 0.4 lb ai/A cyantraniliprole per calendar year
      regardless of formulation or method of application.
      Allow at least 5 days between applications.
      Pre-Harvest Interval: 1 Day
      Water Volume: Use sufficient water volume to insure thorough coverage of foliage. Do not use less than
      10 GPA.


  Cucurbit Vegetables       Aphids                            5.0–7.0 oz/A           Apply before pests reach
   Chayote                  Cabbage Looper                         or                damaging levels. Apply
   Chinese waxgourd         Corn Earworm                0.6–0.8 oz/ 5,000 sq ft      higher rates within the
   Citron melon             Cucumber Beetles¹                                        listed rate range for
   Cucumber                 Flea Beetles                                             heavy infestations.
   Edible gourd             Leafminers
   Gherkin                  Melonworm
   Momordica species        Pickleworm
   Muskmelon                Rindworm species
   Pumpkin                   complex
   Squash: summer and       Tobacco Budworm
     winter                 Whiteflies
   Watermelon
     For transplants grown outdoors, do not exceed 14 oz/A (1.6 oz/5,000 sq ft) of Spinner (0.175 lb of
     thiamethoxam/A and 0.175 lb of cyantraniliprole/A) per year.
     For transplants grown indoors, do not exceed 14 oz/A (1.6 oz/5,000 sq ft) of Spinner (0.175 lb of
     thiamethoxam/A and 0.175 lb of cyantraniliprole/A) per crop.


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     Do not apply more than 0.2625 lb ai/A thiamethoxam or 0.4 lb ai/A cyantraniliprole per calendar year
     regardless of formulation or method of application.
     Allow at least 5 days between applications.
     Pre-Harvest Interval: 1 day
     Water Volume: Use sufficient water volume to ensure thorough coverage of foliage. Do not use less than
     10 GPA.
     Pest Control: ¹Suppression




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           Crop                      Pests                       Rate                 Use Restrictions

   Brassica (Cole) Leafy    Alfalfa Looper                   5.0–7.0 oz/A         Apply before pests reach
    Vegetables              Aphids                                or              damaging levels. Apply
                            Beet Armyworm               0.6–0.8 oz/ 5,000 sq ft   higher rates within the
  Head & Stem Brassica      Cabbage Looper                                        listed rate range for
   Broccoli, Broccoli       Cabbage Webworm                                       heavy infestations.
   Chinese (gai lon)        Corn Earworm
   Brussels sprouts         Diamondback Moth
   Cabbage                  Fall Armyworm
   Cabbage, Chinese         Flea Beetles
    (napa)                  Imported
   Cabbage, Chinese           Cabbageworm
    mustard (gai choy)      Leafminers (larvae)
   Cauliflower               Sugarbeet Armyworm
   Cavalo broccolo           Thrips (Foliar Feeding)
   Kohlrabi                  Whiteflies
                            Yellowstriped
  Leafy Brassica Greens       Armyworm
   Broccoli raab (rapini)
   Cabbage, Chinese
    (bok choy)
   Collards
   Kale
   Mizuna
   Mustard greens
   Mustard spinach
   Rape greens
     For transplants grown outdoors, do not exceed 14 oz/A (1.6 oz/5,000 sq ft) of Spinner (0.175 lb of
     thiamethoxam/A and 0.175 lb of cyantraniliprole/A).
     For transplants grown indoors, do not exceed 14 oz/A (1.6 oz/5,000 sq ft) of Spinner (0.175 lb of
     thiamethoxam/A and 0.175 lb of cyantraniliprole/A) per crop.
     Do not apply more than 0.2625 lb ai/A thiamethoxam or 0.4 lb ai/A cyantraniliprole per calendar year
     regardless of formulation or method of application.
     Allow at least 5 days between applications.
     Pre-Harvest Interval (PHI):
     1 day for Head & Stem Brassica
     7 days for Leafy Brassica Greens
     Water Volume: Use sufficient water volume to ensure thorough coverage of foliage. Do not use less than
     10 GPA.




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                                                                                        Spinner



                                STORAGE AND DISPOSAL

 Do not contaminate water, food, or feed by storage and disposal.

 Pesticide Storage

 Store in a cool, dry place.

 Pesticide Disposal
 Pesticide wastes may be toxic. Improper disposal of unused pesticide, spray mixture,
 or rinse water is a violation of federal law. If these wastes cannot be used according to
 label instruction, contact your State Pesticide or Environmental Control Agency, or the
 Hazardous Waste representative at the nearest EPA Regional Office for guidance in
 proper disposal methods.

 For minor spills, leaks, etc., follow all precautions indicated on this label and clean up
 immediately. Take special care to avoid contamination of equipment and facilities
 during cleanup, procedures and disposal of wastes.

 Container Handling [(bag)]

 Nonrefillable container. Do not reuse or refill this container. Completely empty bag
 into application equipment. Then offer for recycling if available or dispose of empty bag
 in a sanitary landfill or by incineration or by other procedures allowed by state and local
 authorities.

 Container Handling [(plastic container)]

 Nonrefillable container. Do not reuse or refill this container. Triple rinse container (or
 equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
 contents into application equipment or a mix tank. Fill the container ¼ full with water
 and recap. Shake for 10 seconds. Pour rinsate into application equipment or a mix
 tank for later use or disposal. Drain for 10 seconds after the flow begins to drip. Repeat
 this procedure two more times. Offer for recycling if available or puncture and dispose
 of in a sanitary landfill, or by incineration, or by other procedures allowed by state and
 local authorities.

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                For non-emergency (e.g., current product information), call
                      Syngenta Crop Protection at 1-800-334-9481.

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                                                                                 Spinner




 Manufactured for:
 Syngenta Crop Protection, LLC
 P.O. Box 18300
 Greensboro, North Carolina 27419-8300



 Spinner 1424 MAS 0622 AMEND JUNE2023-CL-jd-6/15/23
 000100-01424.20230615.SPINNER.AMEND.0623-CL




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                              Attachment 10
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                         UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                      WASHINGTON, DC 20460

                                                                                        OFFICE OF CHEMICAL SAFETY
                                                                                        AND POLLUTION PREVENTION
                                                       September 27, 2023

Jake Vukich
Senior Product Registration Manager
FMC Corporation
2929 Walnut Street
Philadelphia, PA 19104

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Benevia Insect Control, Exirel Insect Control and Verimark Insect
                         Control
                         EPA Registration Numbers: 279-9614, 279-9615 and 279-9616
                         Application Date: June 15, 2023
                         Decision Numbers: 593329, 593330 and 593331

Dear Mr. Vukich:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly,
EPA has approved the requested registration amendments, provided FMC Corporation (“FMC”)
complies with all terms and conditions listed below.

Terms and Conditions

FMC must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with,
the registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made
         may affect, likely to adversely affect (LAA), determinations for certain listed species and
         designated critical habitats for products containing cyantraniliprole (including this product).
         For these LAA determinations, EPA also assessed the potential likelihood of jeopardy or
         adverse modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1).
         EPA predicted no potential likelihood of jeopardy for listed species or adverse modification
         for designated critical habitat. On September 25, 2023, EPA initiated formal consultation
         with the Services. The Services will make the final determination as to the potential for


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        jeopardy for listed species or adverse modification for designated critical habitat in any final
        biological opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in
        any applicable Biological Opinion, EPA will notify FMC in writing within 45 calendar days
        of the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days
        of receiving EPA’s notice, FMC must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, FMC may respond by
        submitting a request for voluntary cancellation of this product. If FMC fails to comply with
        this term, FMC has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under FMC’s control, FMC
       must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by FMC
       under the previously approved labeling for no longer than 12 months from the date of this
       letter or 75 days after the final state approval from those submitted under Term #2,
       whichever is earlier.

    4. Nothing in Terms #2-3 should be read to obligate FMC to provide additional labeling for
       product that bears the previously approved label but is not under FMC’s control as of the
       date of this letter. However, FMC should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2



1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the
claims made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials
submitted and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and
others containing cyantraniliprole, EPA considered risks and benefits of approving the registrations
and registration amendments. To determine the risks and benefits, the Agency reviews a large body
of information to determine the effects of using these products. In assessing the risks from use of
products containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and
ecological and environment fate risk assessments. 6 EPA also updated its ecological and
environmental fate risk assessments in support of the 2023 draft biological evaluation (BE). 7 EPA
believes that that these risk assessments (and the benefits discussed below) are also applicable to the
action to approve this amended registration.

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because
the Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose

3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary
Exposure and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential
Exposure and Risk Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28,
2013) (EPA-HQ-OPP-2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the
New Active Insecticide Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary
Exposure and Risk Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-
0357-0009); Human Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S.
Registration (Jan. 12, 2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data
(Apr. 21, 2016) (EPA-HQ-OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016)
(EPA-HQ-OPP-2014-0357-0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on
Coffee; Caneberry Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry
and Lingonberry; Brassica Leafy Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-
OPP-2017-0694-0011); Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance
Requests on Coffee; Caneberry Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry,
Lowbush Blueberry and Lingonberry; Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-
0694-0012); Human Health Risk Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-
OPP-2021-0154-0007); Highly Refined Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed
Inadvertent Use and Tolerance Request on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and
Cucurbit Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological
Risk Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-
OPP-2011-0668, Document ID Nos. 71-72, 75-87.
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an acute risk to humans). In general, CTP produces both adverse and adaptive changes in the liver,
thyroid gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate
increases in liver weights are observed across multiple species (rats, mice, dogs). CTP was
classified as “not likely to be carcinogenic to humans” based upon data demonstrating lack of
treatment-related increase in tumor incidence in rats and mice. No cumulative effects were
identified. CTP presents no mutagenicity, neurotoxicity, immunotoxicity, developmental
reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and
terrestrial invertebrates. Overall, however, the major risks of concerns are for direct effects to
freshwater, estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of
concerns for birds, reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity
on a wide variety of target insects on a variety of crops. CTP is effective for controlling aphids,
weevils and thrips—all major agricultural pests. CTP is not expected to pose any acute risk to
humans and was registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to
alternative chemicals available at that time. CTP also poses lower risk to non-target organisms
relative to alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed
species, including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications
         to reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in
         Bulletins Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in
increased exposures 8 and because EPA continues to believe that—consistent with the 2014
registration decision 9 and other previous registration decision for products contain
cyantraniliprole—the benefits of these registrations outweigh any remaining risks of concern from

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that
the mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce
exposures to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24,
2014) (EPA-HQ-OPP-2011-0668-0057).
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its use and there are no human dietary risks from uses of cyantraniliprole that are inconsistent with
the FFDCA safety standard. 10 Accordingly, EPA is approving these registration amendments
because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all
previously accepted labeling. You must submit one copy of the final printed labeling before you
release the product for shipment with the new labeling. Consistent with Terms 2-5 above, and not
withstanding 40 C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the
final stamped label associated with this approval letter or with accompanying labeling that
incorporates the mitigations in this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our
attention that a website contains false or misleading statements or claims substantially differing
from the EPA-approved registration, the product will be referred to EPA’s Office of Enforcement
and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at
benbow.gene@epa.gov.
                                                   Sincerely,



                                                             Deanna (Dee) Colby, Chief
                                                             Invertebrate & Vertebrate Branch 3
                                                             Registration Division
                                                             Office of Pesticide Programs


Enclosure



10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any
unreasonable risk to [humans] or the environment, taking into account the economic, social, and environmental costs
and benefits of the use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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WITH CYAZYPYR® active
                                                                   CYANTRANILIPROLE                   GROUP            28    INSECTICIDE

For soil applications to brassica, bulb, cucurbit, fruiting, leafy, legume (except soybeans), root and tuberous and corm
vegetables; citrus trees, peanuts and tobacco for pest management of sucking and chewing insects that can vector certain
plant diseases, aiding in optimization of the crop's potential.
Active Ingredient                                                                                                       By Weight
Cyantraniliprole
3-bromo-1-(3-chloro-2-pyridinyl)-N-[4-cyano-2-methyl-6-[(methylamino)carbonyl]phenyl]-1H-pyrazole-5-
carboxamide                                                                                                                 18.66%
Other Ingredients                                                                                                           81.34%
TOTAL                                                                                                                       100.0%
VERIMARK® insect control is a suspension concentrate. SHAKE WELL
BEFORE USING. Contains 1.67 lb. active ingredient per gallon.

EPA Reg. No. 279-9616                                                                               EPA Est. No.
Nonrefillable Container                                  Refillable Container
Net:                                  OR                 Net:

Not for sale, sale into, distribution and/or use in Nassau and Suffolk counties of New York State.

                                    KEEP OUT OF REACH OF CHILDREN
       Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en detalle. (If you do not
       understand the label, find someone to explain it to you in detail.)
                                                        FIRST AID
       For questions regarding emergency medical treatment, you may contact 1-800-331-3148 for information.
                                     PRECAUTIONARY STATEMENTS
                                   PERSONAL PROTECTIVE EQUIPMENT
    Applicators and other handlers must wear:
       Long-sleeved shirt and long pants.
       Shoes plus socks.
    After the product has been diluted in accordance with label directions for use, shirt, pants, socks, and shoes are
    sufficient Personal Protective Equipment. Follow manufacturers instructions for cleaning/maintaining personal
    protective equipment (PPE). If no such instructions for washables are available, use detergent and hot water. Keep
    and wash PPE separately from other laundry.


                                     USER SAFETY RECOMMENDATIONS
          USERS SHOULD: Wash hands before eating, drinking, chewing gum, using tobacco or using the toilet.
          Remove clothing immediately if pesticide gets inside. Then wash thoroughly and put on clean clothing.



  Sold By



  FMC Corporation
  2929 Walnut Street
  Philadelphia, PA 19104
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                                      PHYSICAL OR CHEMICAL HAZARDS
  Do not place product near or allow product to come into contact with strong oxidizing substances (such as potassium
  permanganate) since a hazardous chemical reaction may occur.
                                            ENVIRONMENTAL HAZARDS
  This pesticide is toxic to aquatic invertebrates and oysters. Do not apply directly to water. Drift and runoff may be
  hazardous to aquatic organisms in water adjacent to use sites. This product is highly toxic to bees exposed to direct
  treatment on blooming crops or weeds. Do not apply this product or allow it to drift to blooming crops or weeds if bees
  are foraging the treatment area.
  Surface Water Advisory-
  This product may impact surface water quality due to runoff of rain water. This is especially true for poorly draining
  soils and soils with shallow ground water. This product is classified as having high potential for reaching surface water
  via runoff for several weeks after application. A level, well-maintained vegetative buffer strip between areas to which
  this product is applied and surface water features such as ponds, streams, and springs will reduce the potential loading
  of cyantraniliprole from runoff water and sediment. Runoff of this product will be reduced by avoiding applications
  when rainfall is forecasted to occur within 48 hours.
  Ground Water Advisory-
  This chemical has properties and characteristics associated with chemicals detected in ground water. This chemical
  may leach into ground water if used in areas where soils are permeable, particularly where the water table is shallow.


DIRECTIONS FOR USE
It is a violation of Federal law to use this product in a manner inconsistent with its labeling.
Do not apply this product in a way that will contact workers or other persons, either directly or through drift. Only protected
handlers may be in the area during application.
For any requirements specific to your State or Tribe, consult the State or Tribal agency responsible for pesticide regulation.

ENDANGERED AND THREATENED SPECIES PROTECTION REQUIREMENTS: Before using this product, you must
obtain any applicable Endangered Species Protection Bulletins (Bulletins) within six months prior to or on the day of
application. To obtain Bulletins, go to Bulletins Live! Two (BLT) at https://www.epa.gov/pesticides/bulletins. When using this
product, you must follow all directions and restrictions contained in any applicable Bulletin(s) for the area where you are applying
the product, including any restrictions on application timing if applicable. It is a violation of Federal law to use this product in a
manner inconsistent with its labeling, including this labeling instruction to follow all directions and restrictions contained in any
applicable Bulletin(s). For general questions or technical help, call 1-844-447-3813, or email ESPP@epa.gov.

RESTRICTIONS
 Do not make ground applications within 25 of aquatic habitats (such as, but not limited to, lakes, reservoirs, rivers,
  permanent streams, wetlands or natural ponds, estuaries, and commercial fish farm ponds). Do not cultivate within 30 of
  these aquatic areas to allow growth of a vegetative filter strip.
 Do not treat plants being grown for transplanting in nurseries, plant propagation houses or greenhouses by commercial
  transplant producers except as specified in the application section of this label.
 Do not use on crops grown to harvest in greenhouses.
 Do not make any aerial or airblast applications with VERIMARK insect control. VERIMARK insect control is only
  to be applied to the soil by ground or drip chemigation application equipment.
 May be used on crops on this label grown for seed production.
 Do not use in residential areas.
 Do not apply VERIMARK insect control through any irrigation system unless specified in the crop section of this label or
  in supplemental labeling.
 Unless otherwise stated for a specific crop, do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or
  cyantraniliprole containing products per year. This is the total from all application methods (e.g. seed, soil, foliar).




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 AGRICULTURAL USE REQUIREMENTS
  VERIMARK insect control must be used only in accordance with its labeling and with the Worker Protection Standard, 40
  CFR Part 170. This standard contains requirements for the protection of agricultural workers on farms, forests,
  nurseries, and greenhouses, and handlers of agricultural pesticides. It contains requirements for training, decontamination,
  notification, and emergency assistance. It also contains specific instructions and exceptions pertaining to the statements on
  the label about personal protective equipment, restricted-entry interval, and notification to workers (as applicable).
  Do not enter or allow worker entry into treated areas during the restricted-entry interval (REI) of 4 hours. Exception: if
  the product is soil-injected or soil incorporated, the Worker Protection Standard, under certain circumstances, allows
  workers to enter the treated area if there will be no contact with anything that has been treated.
  For early entry into treated areas that is permitted under the Worker Protection Standard and that involves contact with
  anything that has been treated, such as plants, soil, or water, wear:
   Coveralls
   Shoes plus socks
   Chemical resistant gloves (made of any waterproof material)

VERIMARK insect control must be used in accordance with the directions for use on this label, in separately issued labeling or
exemptions under FIFRA (Supplemental Labels, Special Local Need Registrations, FIFRA Section 18 exemptions, FIFRA
2(ee) Bulletins), or as otherwise permitted by FIFRA. Always read the entire label, including the Limitation of Warranty and
Liability.
VERIMARK insect control is a suspension concentrate that can be applied as: an in-furrow spray at planting, transplant tray
drench or float house (tobacco only) by growers or commercial transplant producers no earlier than 72 hours prior to
planting in the field, transplant water treatment, hill drench at planting, surface band at planting, soil shank injection at
planting or other soil injection systems after planting, drip chemigation, including microsprinkler in citrus, or a potato seed
piece treatment to control listed insects. VERIMARK insect control is specially formulated to optimize effectiveness
following application to soil.
VERIMARK insect control is mixed with water for application.
VERIMARK insect control is a member of the anthranilic diamide class of insecticides acting on insect ryanodine
receptors.
VERIMARK insect control is most effective through ingestion of treated plant material. After exposure to VERIMARK insect
control, affected insects will rapidly stop feeding, become paralyzed, and typically die within 1 - 3 days. Time drip applications
to the most susceptible insect pest stage, typically at egg hatch and/or newly hatched larvae or nymphs, before populations
reach damaging levels.
When pest populations are high, use the highest listed application rate for that pest. For best results when targeting control of
sucking pests, begin drip applications when insect populations first appear. VERIMARK insect control has preventative
activity, but low curative activity for sucking pests.
INTEGRATED PEST MANAGEMENT
FMC supports the use of Integrated Pest Management (IPM) programs to control pests. This product may be used as part of
an IPM program, which can include biological, cultural, and genetic practices, aimed at preventing economic pest damage.
IPM principles and practices include field scouting or other detection methods, correct target pest identification, population
monitoring, rotation of insecticides with different modes-of-action, and treating when target pest populations reach locally
determined action thresholds. For best results on sucking pests, apply at specified rates when insects first appear. Consult
your state cooperative extension service, professional consultants or other qualified authorities to determine appropriate
action treatment threshold levels for treating specific pest/crop or site systems in your area.
SCOUTING
For drip applications, monitor insect populations to determine whether or not there is a need for application of VERIMARK
insect control based on locally determined pest management guidelines. More than one drip chemigation treatment of
VERIMARK insect control may be required to control a population of pests.
INSECT RESISTANCE MANAGEMENT
VERIMARK insect control contains the active ingredient cyantraniliprole and is a Group 28 insecticide based on the mode of
action classification system of the International Insecticide Resistance Action Committee (IRAC). Insecticides with the same
Group Number affect the same biological site of action on the target pest and when used repeatedly in the same treatment area,
naturally-occurring resistant individuals may survive correctly applied insecticide treatments, reproduce, and become dominant.
To avoid or delay the development of insecticide resistance, a resistance management strategy should be established for the use
area. This strategy may include incorporation of cultural and biological control practices, alternation to different mode of action
insecticides on succeeding generations, and targeting the most susceptible life stage.
Consult your local or state agricultural authorities and product manufacturer for more information about developing a
resistance management strategy.
Unless directed otherwise in the specific crop/pest sections of this label, the best practices are to follow these guidelines to
delay the development of insecticide resistance:
  Apply VERIMARK insect control and other Group 28 insecticides within a single treatment window to

                                                                    3
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      minimize    #23-1329
               exposing            Document
                        multiple successive      #2028368
                                            generations                   Filed:
                                                        of a pest species to       11/22/2023
                                                                             the same                 Page 278 of 473
                                                                                      mode of action insecticides.
     A treatment window is defined as the period of insecticidal activity provided by one or more applications of products
       with the same mode of action.
     A treatment window, including residual control, should not exceed 30 days (the length of a typical pest
       generation).
     Within the Group 28 treatment window, make no more than 2 applications of VERIMARK insect control or other
      Group 28 insecticides.
     Following a Group 28 treatment window, rotate to a treatment window of effective insecticides with a different
       mode of action (Group Number).
     The period between Group 28 treatment windows should be at least 30 days.
     The total exposure of all Group 28 products applied throughout the crop cycle (from seedling to harvest) should not exceed
       approximately 50% of the crop cycle or 50% of the total number of insecticide applications targeted at the same pest
       species.
    For short cycle crops (< 50 days), the duration of the crop cycle may be considered as the Group 28 treatment window as long as no
     Group 28 insecticides are used during the next crop cycle at the same farm location.
     Avoid using less than labeled rates of VERIMARK insect control when applied alone or in tank mixtures.
     Target the most susceptible insect life stages whenever possible.
     Monitor insect populations for product effectiveness. If poor performance occurs and it cannot be attributed to improper
      application or extreme weather conditions, a resistant pest population may be present.

If resistance to VERIMARK Insect Control develops in your area, VERIMARK insect control or other products with a similar
mode of action (Group 28) may not provide adequate control. If you experience difficulty with control and resistance is a
reasonable cause, immediately consult your local company representative or agricultural advisor for the best alternate method
of control for your area.
For additional information on insect resistance monitoring, visit the Insecticide Resistance Action Committee (IRAC) on the
web at http://www.irac-online.org.

APPLICATION
For drip applications and soil injection after planting, apply at the specified rates before insect populations reach locally
determined action thresholds. For best results with sucking pests, begin applications when insects first appear. Consult the
cooperative extension service, professional consultants or other qualified authorities for local pest management guidelines in
your area.
Apply follow-up treatments of VERIMARK insect control, or EXIREL® insect control as specified, to keep pest populations
within threshold limits. Refer to the Resistance Management section of this label for further guidance on follow-up treatments. See
individual crop sections of this label for specific minimum spray intervals.
Use sufficient water to obtain thorough distribution of VERIMARK insect control in the root zone.
VERIMARK insect control may be applied by: ground (including an in-furrow spray at planting, transplant tray drench or
float house (tobacco only) by growers or commercial transplant producers no earlier than 72 hours prior to planting in the field,
transplant water treatment, hill drench at planting, surface band at planting, soil shank injection at planting or other soil injection
systems after planting, drip or microsprinkler chemigation or as a seed piece treatment). Not all application methods are allowed
on all crops; see specific crop sections of this label or other supplemental labeling for application methods which may be used.

SOIL APPLICATIONS
VERIMARK insect control is designed to optimize root uptake and care for tender roots and shoots. When applied to the
root zone before, during, or soon after sowing or transplanting, VERIMARK insect control prevents feeding of early
season pests, reducing both direct damage and the transmission of some insect-transmitted diseases. This reduction in plant
stress early in the crop cycle results in more vigorous plant growth and gets the crop off to a strong start.
VERIMARK insect control must be applied in a manner that ensures the product is in the root growth zone to provide
effective control of target pests. VERIMARK insect control is most effective when it is applied so that the roots are at or
near the site of application. Manage irrigation so that significant quantities of VERIMARK insect control remain in the
root zone where it is most effective. Maintaining soil moisture to field capacity or to meet crop needs and environmental
conditions aids in product availability to the roots and can improve efficacy. Applications of VERIMARK insect control to
the root zone allow the active ingredient to be transported from the roots through the stems to the foliage. VERIMARK
insect control starts translocation to the canopy at application and reaches a protective concentration in 1 to 3 days for
seedlings and within 7 days for larger plants. As the plant grows, the roots continue to absorb the available VERIMARK
insect control from the soil application site providing extended protection of the plant canopy including new growth.
The length of control provided following soil applications will depend on the rate used, the pest being controlled and the
environmental conditions, such as soil type, soil moisture, soil pH, etc. Use the higher rates when pests are expected to

                                                                         4
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occur later inCase   #23-1329
               the crop                 Document
                        stage or when pests             #2028368
                                              are expected                      Filed: VERIMARK
                                                            to be present continuously. 11/22/2023           Page will
                                                                                                      insect control 279 of 473
primarily have activity in the foliage of treated plants and will not provide protection within the blooms and fruit. Foliar
applications of other products may be needed to protect these parts of the plant.
Unless directed otherwise in the specific crop sections of this label, only one at plant soil application of VERIMARK insect
control may be made per crop season. Unless directed otherwise in the specific crop sections of this label, A total of two
drip chemigation or soil injection applications can be made per season at an application rate not to exceed 10 fl oz of
product (0.130 lb ai/A) per application; except in citrus where the maximum rate is 0.391 lb ai/A and at the rates of 0.261 -
0.391 only one application can be made per year. If VERIMARK insect control or another product containing a Group 28
insecticide is applied as an at plant soil application, only one subsequent drip chemigation application of VERIMARK
insect control or another Group 28 insecticide can be made.


In-Furrow Spray at Planting
Apply as a narrow band spray into the furrow at the seeding depth.
Transplant tray drench or float house (tobacco only) by growers or commercial transplant producers no earlier than
72 hours prior to planting in the field
This application method is allowed for use by growers or commercial transplant producers no earlier than 72 hours prior to
planting in the field. Use only on transplants grown in soil/potting media.
Follow these steps to calculate the amount of VERIMARK insect control and water to use:
  1. Determine the number of plants per acre to be planted.
  2. Divide the desired VERIMARK insect control rate (fl oz/acre) by the number of plants per acre to be planted (this
     provides the fluid ounces of VERIMARK insect control per transplant).
  3. Multiply the fluid ounces of VERIMARK insect control per transplant times the number of plants in each tray to
     determine the fluid ounces of VERIMARK insect control per tray.
  4. Multiply the fluid ounces of VERIMARK insect control per tray times the number of trays to be treated.
  5. Determine the amount of water needed to thoroughly drench transplant plugs in a transplant tray without runoff through
     the bottom of the tray (see directions for application below). The amount of water needed may vary by size of the
     transplant and plug. Multiply the amount of water needed per tray times number of trays to be treated.
  6. Mix the amount of VERIMARK insect control in the volume of water needed to drench the desired number of trays
     and follow application instructions below. Make application with properly calibrated spray equipment with
     continuous agitation.
  Application:
  If possible discontinue watering 24 hours before treatment so spray solution is absorbed quickly. Apply as a broadcast low
  pressure coarse high volume spray so that solution runs off from the foliage to the soil/potting media in the tray, but it does
  not runoff from the bottom of the tray. If necessary, wash solution from foliage to soil by making a second pass with water
  only before the spray solution dries. It is critical to drive as much of the spray solution as possible into the soil/potting
  media to maximize product performance. Make application no longer than 3 days before transplanting in the field. Allow
  tray to dry before transporting to the field for planting, and do not handle treated trays prior to 4 hours after the application
  without appropriate personal protection equipment as described in the agricultural use requirements section of this label.
  Do not mix any other product when applying VERIMARK insect control using this application method unless crop safety
  has been previously shown with the tank mix.
  Transplant water treatment or Hill Drench
  Transplants should be adequately watered before transplanting. Apply at transplanting in a minimum of 2 fluid ounces of
  treatment solution per transplant. Ensure water volume is sufficient to thoroughly wet the root zone.
  Surface Band at Planting
  Apply as a narrow (2 inches or less) surface band spray above the seed line at planting. Incorporate surface band
  application within 24 hours of application using sufficient irrigation (usually 0.5  1.0 inches of water) to reach the seeding
  depth.
  Soil Shank Injection
  Use soil shank injection at planting. Applications must be incorporated using sufficient irrigation (usually 0.5  1.0 inches
  of water) to reach the root zone. Shank injection should be placed just below the seed row about 1-2 inches deep.
  For insecticide resistance management, it is important to avoid consecutive applications of insecticides with the same
  mode of action on successive generations of the same pest. See crops on label for treatment rates and additional use
  information.




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                   PREPARATION                                               Filed: 11/22/2023            Page 280 of 473
Application equipment must be clean and free of previous pesticide deposits before applying VERIMARK insect control.
Fill application tank 1/4 to 1/2 full of water. Add VERIMARK insect control directly to application tank. Mix thoroughly
to fully disperse the insecticide, once dispersed continued agitation is required. Use mechanical or hydraulic means; do not
use air agitation. Follow the most restrictive of the labeling limitations and precautions of all products used in mixtures.
Acidification of Application Solution - All applications of VERIMARK insect control should be adjusted to approximately
pH 4 - 6. For at-plant soil applications, adjust the pH of the application spray tank using a commercially available acidifier.
For drip chemigation applications, adjust the pH of the system's pesticide injection tank, supply tank or nurse tank using a
commercially available acidifier. The entire drip chemigation system (i.e. the water used in the drip system) does not need
to have the pH adjusted. Adjust the pH of the application solution after all products being applied have been added to the tank.
Once prepared, an application solution may be held for up to 8 hours before starting the application. Do not store the
application solution overnight.
Compatibility - This product can be mixed with pesticide products labeled for use on crops on this label in accordance with
the most restrictive of label limitations and precautions. Do not exceed labeled dosage rates. This product cannot be mixed
with any product containing a label prohibition against such mixing. Concentrated mixtures such as those in a nurse tank
and tank mixtures of more than two products can increase the chances of incompatible spray mixtures. A jar test (as
described below) should be conducted when label guidance is not given or prior experience with a specific tank mixture is
unknown. The jar test should follow the proper sequence of addition at the spray water volume planned to assure that the
tank mix is compatible. Constant agitation may be required during mixing and spraying of mixtures.
Steps to conduct a jar test to determine physical tank mix compatibility of VERIMARK insect control with other products:
   Add clean water to jar proportional to the planned water volume that will be used in the spray tank (a jar size of 8-16
     oz is acceptable).
   Using the most restrictive PPE of the products to be tested, mix proper proportions of VERIMARK insect control
     and desired tank mix partner(s) as will be present in the spray tank, add one product at a time following the
     sequence of addition according to formulation type provided in this label.
 Seal and shake mixture after each product is added.
 Allow to stand for 1 hour.
 View jar to determine if settling, flocculation, crystallization or any other undesirable changes have happened.
 If none of the above is observed or the solution can be easily remixed after shaking, the mixture is compatible with
  VERIMARK insect control.
   If the tank mix is not compatible, a higher water volume, reduced rate of the tank mix partner(s), reduced number of
     tank mix partners or a compatibility agent may be needed.

Tank Mixing - The crop safety of all tank mixtures with VERIMARK insect control which may include physically
compatible pesticides, fertilizers, adjuvants, and/or additives, has not been tested. When considering the use of a tank
mixture on a labeled crop without prior experience, or which is not specifically described on VERIMARK insect
control product labeling or in other FMC product use instruction, it is important to first understand crop safety. To test
for crop safety, prepare a small volume of the intended tank mixture, apply it to an area of the target crop as directed
by both this and the tank
mix partner product labels, and observe the treated crop to ensure that a phytotoxic response does not occur. FMC will
not be responsible for any crop injury arising from the use of a tank mixture that is not specifically described on
VERIMARK insect control product labeling or in other FMC product use instruction.
It is the pesticide user's responsibility to ensure that all products are registered for the intended use. Read and follow the
applicable restrictions and limitations, and directions for use, on all product labels involved in tank mixing. Users must
follow the most restrictive directions for use and precautionary statements on each product in the tank mixture.
Tank Mixing Sequence -Add different formulation types in the sequence indicated below*. Allow time for complete
mixing and dispersion after addition of each product.
1. Water soluble bags (WSB)
2. Water soluble granules (SG)
3. Water dispersible granules (WG, XP, DF)
4. Wettable powders (WP)
5. VERIMARK insect control and other water based suspension concentrates (aqueous flowables) (SC)
6. Water soluble concentrates (SL)
7. Suspoemulsions (SE)
8. Oil based suspension concentrates (OD)
9. Emulsifiable concentrates (EC)
10. Surfactants, oils, adjuvants
11. Soluble fertilizers
12. Drift retardants
* Unless otherwise specified by manufacturer directions for use or by local experience.


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CHEMIGATION
The following types of irrigation equipment may be used for chemigation applications: drip (trickle) or strip tubing
irrigation systems. Microsprinkler applications can be made in citrus.
Do not connect any irrigation system used for pesticide applications to a public water system unless the pesticide label-
prescribed safety devices are in place. Public water system means a system for the provision to the public of piped water
for human consumption, if such system has at least 15 service connections or regularly serves an average of at least 25
individuals at least 60 days out of the year.
See "Required System Safety Devices For All Chemigation Systems" at the end of the Chemigation section.

APPLICATION INSTRUCTIONS
DRIP (TRICKLE) AND MICROSPRINKLER CHEMIGATION
VERIMARK insect control must be applied in a manner that ensures the product is in the root zone. VERIMARK insect
control must be in the root zone to provide effective control of target pests. VERIMARK insect control is most effective
when it is applied so that the roots are at or near the site of application; manage irrigation so that significant quantities of
VERIMARK insect control remain in the root zone where it is most effective. Unless directed otherwise in the specific
crop sections of this label, a total of two applications can be made per crop season. Any subsequent applications made with
products that contain cyantraniliprole must be foliar applications.
1. Do not begin applications until after crop emergence in direct seeded crops.
2. Do not make applications if soil moisture is below the level required for active plant growth.
3. This product must be applied uniformly in the root zone or poor performance may result. Drip tape or emitters must be
   located within or directly adjacent to the root zone. Microsprinkler spray patterns must include the majority of the tree's
   root zone.
4. The drip and microsprinkler systems must be properly designed, free of leaks, and operated in a manner that provides
   uniform application of water throughout the field or grove.
5. In most situations, this product should be applied during the first 1/3 of the irrigation cycle, starting just after the system
   has come up to pressure.
6. The minimum injection period is the time that it takes water to move from the injection point to the furthest emitter in
   the irrigation zone (propagation time). If this time is not known, it can be calculated by measuring the time for a soluble
   dye to move from the injection point to the farthest emitter. A longer injection improves uniformity throughout the
   zone, but needs to allow for at least an equal period of water to flush the system and move the product through the soil.
7. VERIMARK insect control must not be applied at the same time that a drip irrigation line clean out product is
   being used as performance may be reduced.

Directions for Chemigation:
Preparation
A pesticide tank is recommended for the application of VERIMARK insect control in drip chemigation systems.
Thoroughly clean the injection system and tank of any fertilizer or chemical residues using a standard clean-out procedure.
Dispose of any residues in accordance with State and Federal laws. With the mix tank 1/4 to 1/2 full with water and the
agitator running, measure the required amount of VERIMARK insect control and add it to the tank. Then add additional
water to bring your total pesticide mixture up to the desired volume for your application. Note: Always add the
VERIMARK insect control to water, never put VERIMARK insect control into a dry tank or other mixing equipment
without first adding water. See "Tank Mixing Sequence" section of the container label for tank mixing sequence. Continue
to agitate the mixture throughout the application process. Use mechanical or hydraulic agitation, do not use air agitation.

Injection Into Chemigation Systems
Inject the proper amount of VERIMARK insect control into the irrigation water flow using a positive displacement injection
pump or a Venturi injector. Injection should occur at a point in the main irrigation water flow to ensure thorough mixing
with the irrigation water.
Uniform Water Distribution
The irrigation system used for application of VERIMARK insect control must provide for uniform distribution of
VERIMARK insect control treated water. Non-uniform distribution can result in crop injury, lack of effectiveness or
illegal pesticide residues in or on the crop being treated. Ensure the drip chemigation system is operating properly to
uniformly distribute the chemigation application to the crop. Contact the equipment manufacturer, the local University
Extension agent or other experts if you have questions about achieving uniform distribution of the application.
Monitoring of Chemigation Applications
A person knowledgeable of the chemigation system and responsible for its operation, or under the supervision of a
responsible person, shall shut the system down and make necessary adjustments should the need arise. Wear the personal
protective equipment as defined in the PPE section of the label for applicators and other handlers when making adjustments
or repairs on the chemigation system when VERIMARK insect control is in the irrigation water.



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Operation
Start the water pump and let the system achieve the desired pressure before starting the injector. Start the injector. When
the application is finished, allow the entire irrigation and injector system to be thoroughly flushed clean before stopping the
system.
Cleaning the System
Thoroughly clean the injection system and tank of any fertilizer or chemical residues using a standard clean-out procedure.
Dispose of any residues in accordance with State and Federal laws. Consult your owners manual or your local equipment
dealer for cleanout procedures for your injection system.


REQUIRED SYSTEM SAFETY DEVICES FOR ALL CHEMIGATION SYSTEMS
1. The system must contain a functional check valve, vacuum relief valve and low-pressure drain appropriately located on
    the irrigation pipeline to prevent water source contamination from backflow.
2. The pesticide injection pipeline must contain a functional, automatic, quick-closing check valve to prevent the flow of
    fluid back toward the injection pump.
3. The pesticide injection pipeline must also contain a functional, normally closed, solenoid-operated valve located on the
    intake side of the injection pump and connected to the system interlock to prevent fluid from being withdrawn from the
    supply tank when the irrigation system is either automatically or manually shut down.
4. The system must contain functional interlocking controls to automatically shut off the pesticide injection pump when the
    water pump motor stops.
5. The irrigation line or water pump must include a functional pressure switch which will stop the water pump motor when
    the water pressure decreases to the point where pesticide distribution is adversely affected.
6. Systems must use a metering device, such as a positive displacement pump or a Venturi injector, that provides uniform
    injection of the product, is effectively designed and constructed of materials compatible with the product, and is
    capable of being fitted with a system interlock.
7. Chemigation systems connected to public water systems must contain a functional, reduced- pressure zone, backflow
    preventer (RPZ) or the functional equivalent in the water supply line upstream from the point of pesticide introduction.
    As an option to the RPZ, the water from the public water system should be discharged into a reservoir tank prior to
    pesticide introduction. There shall be a complete physical break (air gap) between the outlet end of the fill pipe and the
    top or overflow rim of the reservoir tank of at least twice the inside diameter of the fill pipe.


SPRAY TANK CLEANOUT
Prior to application, start with clean, well maintained application equipment. Immediately following application,
thoroughly clean all spray equipment to reduce the risk of forming hardened deposits which might become difficult to
remove.
Drain application equipment. Thoroughly rinse and flush all application equipment with clean water.
Take all necessary safety precautions when cleaning equipment. Do not clean near wells, water sources or desirable
vegetation. Dispose of waste rinse water in accordance with local regulations.

SPRAY DRIFT MANAGEMENT
The interaction of many equipment and weather-related factors determines the potential for spray drift. The applicator is
responsible for considering all these factors when making application decisions. Avoiding spray drift is the responsibility of
the applicator.
IMPORTANCE OF DROPLET SIZE
The most effective drift management strategy is to apply the largest droplets which are consistent with pest control
objectives. The presence of sensitive species nearby, the environmental conditions, and pest pressure may affect how an
applicator balances drift control and coverage. Applying larger droplets reduces drift potential, but will not prevent drift if
applications are made improperly or under unfavorable environmental conditions.
A droplet size classification system describes the range of droplet sizes produced by spray nozzles. The American Society
of Agricultural and Biological Engineers (ASABE) provide a Standard that describes droplet size spectrum categories
defined by a number of reference nozzles (fine, coarse, etc.). Droplet spectra resulting from the use of a specific nozzle
may also be described in terms of volume mean diameter (VMD). Coarser droplet size spectra have larger VMD's and
lower drift potential.




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CONTROLLING DROPLET SIZE - GROUND APPLICATION
 For broadcast applications made at planting or prior to the emergence of crops, applicators are required to use a coarse
 or coarser droplet size (ASABE S572.1). For all other broadcast applications, applicators are required to use a medium or
 coarser droplet size (ASABE S572.1).
 Nozzle Type - Select a nozzle type that is designed for the intended application. With most nozzle types, narrower spray
  angles produce larger droplets. The use of low-drift nozzles will reduce drift potential.
 Pressure - The lowest spray pressures recommended for the nozzle produce the largest droplets. Higher pressure reduces
  droplet size and does not improve canopy penetration. When higher flow rates are needed, using a higher-capacity nozzle
  instead of increasing pressure results in the coarsest droplet spectrum.
 Flow Rate/Orifice Size - Using the highest flow rate nozzles (largest orifice) that are consistent with pest control
  objectives reduces the potential for spray drift. Nozzles with higher rated flows produce coarser droplet spectra.
BOOM LENGTH AND APPLICATION HEIGHT
 Application Height (ground) - Applications made at the lowest height consistent with pest control objectives, and that
  allow the applicator to keep the boom level with the application site and minimize bounce, will reduce the exposure of
  spray droplets to evaporation and wind, and reduce spray drift potential.

WIND
Drift potential is lowest when applications are made in light to gentle sustained winds (2-10 mph), which are blowing in a
constant direction. Many factors, including droplet size and equipment type also determine drift potential at any given
wind speed. AVOID GUSTY OR WINDLESS CONDITIONS.
Local terrain can also influence wind patterns. Every applicator is expected to be familiar with local wind patterns and how
they affect spray drift.
TEMPERATURE AND HUMIDITY
Setting up equipment to produce larger droplets to compensate for droplet evaporation can reduce spray drift potential.
Droplet evaporation is most severe when conditions are both hot and dry.
SURFACE TEMPERATURE INVERSIONS
Drift potential is high during a surface temperature inversion. Surface inversions restrict vertical air mixing, which may
cause small suspended droplets to remain close to the ground and move laterally in a concentrated cloud. Surface
inversions are characterized by increasing temperature with altitude and are common on nights with limited cloud cover
and light to no wind. They begin to form as the sun sets and often continue into the morning. Mist or fog may indicate the
presence of an inversion in humid areas.
Inversions may also be identified by producing smoke and observing its behavior. Smoke that remains close to the ground,
or moves laterally in a concentrated cloud under low wind conditions indicates a surface inversion. Smoke that moves
upward and rapidly dissipates indicates good vertical air mixing.
SHIELDED SPRAYERS
Shielding the boom or individual nozzles can reduce the effects of wind. However, it is the responsibility of the applicator
to verify that the shields are minimizing drift potential, and not interfering with uniform deposition of the product.

SENSITIVE AREAS
Making applications when there is a sustained wind moving away from adjacent sensitive areas (e.g., residential areas,
bodies of water, known habitat for threatened or endangered species, non-target crops) is an effective way to minimize the
effect of spray drift.
DRIFT CONTROL ADDITIVES
Using product compatible drift control additives can reduce drift potential. When a drift control additive is used, read and
carefully observe cautionary statements and all other information on the additive's label. If using an additive that increases
viscosity, ensure that the nozzles and other application equipment will function properly with a viscous spray solution.
Preferred drift control additives have been certified by the Council of Producers & Distributors of Agrotechnology.
CROP ROTATION
Crops on this label and the following crops or crop groups may be planted immediately following the last application of
VERIMARK insect control: Brassica Leafy Vegetables (Crop Group 5); Bulb Vegetables (Crop Group 3-07); Cotton; Cucurbit
Vegetables (Crop Group 9); Fruiting Vegetables (Crop Group 8-10); Leafy Vegetables (except brassicas) (Crop Group 4);
Leaves of Root and Tuber Vegetables (Crop Group 2); Legume Vegetables (Crop Groups 6 and 7); Low Growing Berries (Crop
Subgroup 13- 07H); Oilseeds (Crop Group 20); Peanuts; Root and Tuber Vegetables (Crop Subgroups 1B and 1C); Tobacco.
The following crops or crop groups may be planted 30 days following the last application of VERIMARK insect control:
Cereal Grains (Crop Group 15); Forage, Fodder and Straw of Cereal Grains (Crop Group 16); Grass Forage, Fodder and Hay
(Crop Group 17); Nongrass Animal Feeds (forage, fodder, straw and hay) (Crop Group 18); Sugar beets.
There is no plant back restriction for conversion of a treated field to, or for making a new or replacement planting into
                                                                   9
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established orchards or fields of, Bushberries (Crop Subgroup 13-07B); Citrus (Crop Group 10-10); Pome Fruits (Crop Group
11-10); Stone Fruits (Crop Group 12); Low Growing Berries (Crop Subgroup 13-07G); or Tree Nuts (Crop Group 14-12).
All other crops cannot be planted until 12 months after the last application of VERIMARK insect control.




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                                                                                 VERIMARK insect control RATE
                                                                                                                                              REI
                                                                                                                               PHI
                                                                                                        fluid                                 (re-entry
                                                                                                                               (pre-harvest
                                                                                 Lb. ai                 ounces product         interval)      interval)
Crop             Application Method            Target Pest                       per acre               per acre               (days)         (hours)

Brassica         Soil at Planting              Beet armyworm                     0.065 - 0.130          5 - 10                     N/A            4
(Cole)           (an in-furrow spray,          Corn earworm
Leafy            transplant tray drench        Diamondback moth
Vegetables       by growers or commercial      Imported cabbageworm
(Crop            transplant producers no       Western yellowstriped
Group 5)         earlier than 72 hours prior   armyworm
Including        to planting in the field,     Cabbage looper                    0.088 - 0.130          6.75 - 10
Broccoli,        transplant water              Cabbage webworm
Broccoli         treatment, hill drench,       Cabbage aphid                     0.088 - 0.176          6.75 - 13.5
Chinese          surface band, soil            Flea beetle
Broccoli raab,   shank injection)
Brussels                                       Green peach aphid
sprouts,                                       Leafminers (Liriomyza spp.)
Cabbage,                                       Whitefly*
Chinese                                        Thrips (foliage feeding only)§    0.130 - 0.176          10 - 13.5
cabbage                                        Cabbage maggot
(bok choy),      Drip chemigation**            Beet armyworm                     0.065 - 0.130          5 - 10                       1
Chinese                                        Corn earworm
cabbage                                        Diamondback moth
(napa),                                        Imported cabbageworm
Chinese                                        Western yellowstriped
mustard                                        armyworm
cabbage,                                       Cabbage looper                    0.088 - 0.130          6.75 - 10
Cauliflower,                                   Cabbage webworm
Cavalo                                         Cabbage aphid
broccolo,                                      Flea beetle
Collards,                                      Green peach aphid
Kale,                                          Leafminers (Liriomyza spp.)
Kohlrabi,                                      Whitefly*
Mizuna,                                        Thrips (foliage feeding only)§    0.130                  10
Mustard
greens,          § - Suppression only. Use as part of an overall effective thrips control program. Rotate to products with
Mustard          different modes of action.
spinach,
Rape greens,     * - Allow 1 - 3 days for VERIMARK insect control to be translocated into the aerial portions and to fully
Turnip greens    protect the transplants following an at-plant application. During that time and when populations are high,
                 use in conjunction with an effective foliar whitefly control program.
                 ** - Begin drip application when populations first appear. Allow 1-3 days for VERIMARK insect control
                 to be translocated into the aerial portions and to fully protect. Minimum application interval between drip
                 chemigation treatments is 10 days. Do not apply more than 2 drip chemigation applications of
                 VERIMARK insect control per crop. Rotate with products with different modes of action.
                  - Diamondback moth resistance management - Do not apply VERIMARK insect control (or other
                 Group 28 insecticides) more than twice within any 30 day treatment window. Application(s) during the
                 next treatment window must be with an effective product(s) with a different mode of action (different
                 IRAC Group Number) for at least a 30 day treatment window before making any additional applications
                 of VERIMARK insect control (or other Group 28 insecticides). Do not apply less than 5 fl oz of
                 VERIMARK insect control per application per acre for diamondback moth control. Do not make more
                 than 6 total applications per calendar year of any cyantraniliprole containing products (or other Group 28
                 insecticides) for control of diamondback moth at the same farm location.
                 Do not apply more than 13.5 fl oz (0.176 lb ai/A) of VERIMARK insect control at planting.
                 Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
                 products per calendar year whether applications are made to the soil or foliarly.
                 VERIMARK insect control must be applied uniformly in the root zone to ensure effective control.
                 Surface band application requires a sufficient amount of water post-application to ensure the treatment is
                 moved into the root zone. See the SOIL APPLICATION section of the label for additional guidance, also
                 see the rate conversion chart for application rate per 1000 linear feet.
                 Adjusting the pH of the application solution: The pH of the application solution should be between pH
                 4 and 6. (See "Acidification of Application Solution" section of the label.)




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                                                                                    VERIMARK insect control RATE                  PHI              REI
Crop             Application                             Target Pest                                                              (pre-harvest     (re-entry
                 Method                                                            Lb. ai per acre                                interval) (days) interval)
                                                                                                         fluid ounces                              (hours)
                                                                                                         product per acre
Bulb                 Soil at planting               Thrips (foliage feeding only)§ 0.130-0.176                10 - 13.5                1                4
vegetables,          (in-furrow spray)
(Crop                Drip chemigation               Thrips (foliage feeding only)§ 0.088 - 0.130              6.75 - 10
Group 3-07)          § - Suppression    only. Use  as part of an overall effective control program. Begin drip application when
Chive, fresh
leaves; chive, populations         first appear, typically 1 thrips adult or larva per plant. Allow 1 - 3 days for VERIMARK
Chinese, fresh insect control to be translocated into the aerial portions and to fully protect. Minimum application
leaves;              interval between drip chemigation treatments is 10 days.
daylily, bulb; Do        not apply more than 2 drip chemigation applications of VERIMARK insect control per crop. Rotate
                     with products with different modes of action.
elegans              Do  not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
hosta;               products per calendar year whether applications are made to the soil or foliarly.
fritillaria, bulb; VERIMARK insect control must be applied uniformly in the root zone to ensure effective control.
fritillaria, leaves; Drip tape must be placed as close to the row of plants as possible to ensure VERIMARK insect control
garlic, bulb;        is applied in the root zone. See the SOIL APPLICATION section of the label for additional guidance.
garlic, great-       Adjusting the pH of the application solution: The pH of the application solution should be between pH
headed, bulb; 4 and 6. (See "Acidification of Application Solution" section of the label.)
garlic, serpent,
bulb; kurrat;
lady's leek;
leek; leek,
wild; lily, bulb;
onion,
Beltsville
bunching;
onion, bulb;
onion, Chinese,
bulb; onion,
fresh; onion,
green; onion,
macrostem;
onion, pearl;
onion, potato,
bulb; onion,
tree, tops;
onion, Welsh,
tops; shallot,
bulb; shallot,
fresh leaves



                                                                                    VERIMARK insect control RATE

                                                                                                                                   PHI                REI
                                                                                                           fluid                   (pre-harvest     (re-entry
                                                                                   Lb. ai                  ounces product          interval)        interval)
Crop             Application Method            Target Pest                         per acre                per acre                (days)            (hours)
Root              Soil at planting (an in-    Cabbage maggot§                  0.130 - 0.176        10 - 13.5                          N/A              4
vegetables        furrow spray,
except sugar      transplant tray drench
beets (Crop       by growers or
Subgroup 1B) commercial transplant
Beet, garden; producers no earlier
burdock,          than 72 hours prior to
edible; carrot; planting in the field,
celeriac;         surface band, soil
chervil,          shank injection)
turnip-rooted; § - Suppression only.
chicory;          Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
ginseng;          products per calendar year whether applications are made to the soil or foliarly.
horseradish;
parsley,
turnip-rooted;
parsnip; radish;
radish, oriental;
rutabaga;
salsify; salsify,
black; salsify,
Spanish;
skirret; turnip




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                                                                                      VERIMARK insect control RATE                    PHI             REI
Crop               Application Method          Target Pest                                                                        (pre-harvest     (re-entry
                                                                                                                                interval) (days)   interval)
                                                                                  Lb. ai per acre        fluid ounces                               (hours)
                                                                                                         product per acre
Citrus (trees      Soil Drench                    For trees 3 feet tall or less:    0.196 - 0.391        15 - 30
under five         or Microsprinkler              Asian citrus psyllid
feet tall only),   Chemigation*                   Citrus leafminer
(Crop                                             For trees between 3 feet and 0.261 - 0.391                  20 - 30                 1                4
Group 10-10)                                      5 feet tall:
Australian                                        Asian citrus psyllid
desert lime;                                      Citrus leafminer
Australia          Two applications can be made to the soil per year at the 15 fluid ounce rate. Do not make 2 successive
finger-lime;       applications of VERIMARK insect control to citrus. At rates greater than 15 fl oz/A only one application
Australia          is allowed per year.
round lime;        Use the lower rate for trees under 3 feet tall and the higher rates for trees 3 to 5 feet tall.
Brown River        Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
finger lime;       products per calendar year whether applications are made to the soil or foliarly.
Calamondin;        Allow 4-7 days from the time of application for VERIMARK insect control to fully translocate into the
Citron;            aerial portions of the citrus trees.
Citrus hybrids;    * - Soil drench applications should be made in a minimum of 1/2 to 1 pint of water per tree distributed
Grapefruit;        evenly around the tree root zone. Soil drench applications should be followed by sufficient irrigation to
Japanese           move VERIMARK insect control into the root zone. Wait 24 hours before initiating the next irrigation
summer             event.
grapefruit;        Microsprinkler chemigation application pattern must include a majority of the tree's root zone while
Kumquat;           minimizing the application to areas where the tree roots are not present. For best results, apply to trees
Lemon;             that have been trained to microsprinkler applications. Run the irrigation system for 5- 10 minutes before
Lime;              injecting the VERIMARK insect control into the system to achieve optimal uptake. Apply sufficient
Mediterranean      water to drive VERIMARK insect control into the root zone. Wait 24 hours before initiating the next
mandarin;          irrigation event. See "CHEMIGATION" section for more information.
Mount white        Adjusting the pH of the application solution: The pH of the application solution should be between pH
lime;              4 and 6. (See "Acidification of Application Solution" section of the label.)
New Guinea
wild lime;
Orange, sour;
Orange, sweet;
Pummelo;
Russel River
lime;
Satsuma
mandarin;
Sweet lime;
Tachibana
orange;
Tahiti lime;
Tangelo;
Tangerine
(mandarin);
Tangor;
Trifoliate
orange;
Uniq fruit




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                                                                                   VERIMARK insect control RATE                  PHI            REI
                                                                                                                                 (pre-harvest   (re-entry
                                                                                                                                 interval)      interval)
Crop             Application Method            Target Pest                        Lb. ai                                         (days)
                                                                                                          fluid                                 (hours)
                                                                                  per acre                ounces product
                                                                                                          per acre
Cucurbit          Soil at planting (an in-       Beet armyworm                     0.088 - 0.176          6.75 - 13.5                1             4
Vegetables        furrow spray, transplant       Cabbage looper
(Crop             tray drench by growers or Cotton/melon aphid
Group 9)          commercial transplant          Leafminers (Liriomyza spp.)
Including         producers no earlier than Whitefly*
Chayote           72 hours prior to planting Green peach aphid                     0.130 - 0.176          10 - 13.5
(fruit),          in the field, transplant       Thrips (foliage feeding only)§
Chinese wax- water treatment, hill               Seed corn maggot (except when
gourd             drench, surface band, soil applied as shank injection)
(Chinese pre- shank injection)
serving melon)
                                                 Striped cucumber beetle           0.176                  13.5
Citron melon,
Cucumber,                                        Beet armyworm (foliage feeding 0.065 - 0.130             5 - 10
Gherkin,        Drip chemigation                 only)
Edible gourd Make application(s)                 Melonworm (foliage feeding only)
(includes       in the first half of the crop Pickleworm
hyotan,         growing cycle, typically         Cabbagelooper (foliage feeding    0.088 - 0.130          6.75 - 10
cucuzza,        up to peak bloom crop            only)
hechima,        stage (usually approxi-
Chinese okra), mately 40 days after crop         Cotton/melon aphid
Momordica
spp. (includes emergence or transplant-
balsam apple, ing).
balsam pear,                                     Green peach aphid                 0.130                  10
bitter melon,                                    Leafminers (Liriomyza spp.)
Chinese                                          Striped cucumber beetle
cucumber),                                       Whitefly*
Muskmelon
(includes true § - Suppression only. Use as part of an overall effective thrips control program. Rotate to products with
cantaloupe,       a different mode of action.
cantaloupe,       * - Allow 1 - 3 days for VERIMARK insect control to be translocated into the aerial portions and to
casaba,           fully protect transplants following an at-plant application. Allow 2-5 days for VERIMARK insect
crenshaw          control to fully protect the plants following a drip application. During those times and when whitefly
melon,            populations   are high, use in conjunction with an effective foliar whitefly control program.
golden           Minimum application interval between drip chemigation treatments is 10 days. Do not apply more than
pershaw           13.5 fl oz (0.176 lb ai/A) of VERIMARK insect control at planting.
melon,            Do not apply more than 2 drip chemigation applications of VERIMARK insect control per crop. Do not
honeydew          make more than one drip chemigation application per crop if an at plant application of VERIMARK
melon,            insect control was made. Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or
honey balls,      cyantraniliprole containing products per calendar year whether applications are made to the soil or
mango melon, foliarly.
Persian melon, VERIMARK insect control must be applied uniformly in the root zone to ensure effective control.
pineapple        Surface band application requires a sufficient amount of water post-application to ensure the treatment
melon,            is moved into the root zone. Drip tape must be placed directly underneath a single row of plants to ensure
Santa Claus       VERIMARK insect control is applied in the root zone. See the SOIL APPLICATION section of the
melon, and        label for additional guidance, also see the rate conversion chart for application rate per 1000 linear feet.
snake melon), Cucurbit Yellow Stunting Disorder Virus Suppression: Use of VERIMARK insect control to control
Pumpkin,          whiteflies which may vector the cucurbit yellow stunting disorder virus at a rate of 10-13.5 fl oz/A at
Summer            planting and at 10 fl oz/A via drip chemigation applied early season will help suppress and slow the
squash            expression of cucurbit yellow stunting disorder in cucurbits.
(includes         Adjusting the pH of the application solution: The pH of the application solution should be between
crookneck         pH 4 and 6. (See "Acidification of Application Solution" section of the label.)
squash,
scallop squash,
straightneck
squash,
vegetable
marrow,
zucchini),
Winter
squash
(includes
butternut
squash,
calabaza,
hubbard
squash,
acorn squash,
spaghetti
squash),
Watermelon




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                                                                                    VERIMARK insect control RATE

                                                                                                          fluid                   PHI            REI
                                                                                   Lb. ai                  ounces                 (pre-harvest   (re-entry
                                                                                   per acre                product                interval)      interval)
Crop             Application Method            Target Pest                                                                        (days)         (hours)
                                                                                                           per acre
Fruiting          Soil at planting              Beet armyworm                        0.065 - 0.130          5 - 10                    1              4
Vegetables        (an in-furrow spray,          Fall armyworm
(Crop             transplant tray drench        Southern armyworm
Group 8-10)       by growers or commercial Tomato fruitworm
African           transplant producers no       Tomato pinworm
eggplant;         earlier than 72 hours prior Western yellowstriped
Bush tomato; to planting in the field,          armyworm
Bell pepper;      transplant water treatment, Flea beetles                           0.088 - 0.176          6.75 - 13.5
Cocona;           hill drench, surface band, Green peach aphid§
Currant tomato; soil shank injection)           Leafminers (Liriomyza spp.)
Eggplant;                                       Loopers
Garden                                          Potato aphid§
huckleberry;                                    Whitefly*
Goji berry;
                                                Thrips (foliage feeding only)§ 0.130 - 0.176                10 - 13.5
Groundcherry;
Martynia;                                       Beet leafhopper**                    0.176                  13.5
Naranjilla;       Drip chemigation              Beet armyworm                        0.065 - 0.130          5 - 10
Okra;             or soil injection             Colorado potato beetle
Pea eggplant;                                   Fall Armyworm
Pepino;                                         Hornworms
Pepper, bell;                                   Southern armyworm
Pepper, nonbell;                                Tomato fruitworm
Roselle;                                        Tomato pinworm
Scarlet eggplant;                               Western yellowstriped
Sunberry;                                       armyworm
Tomatillo;
Tomato;                                         Green peach aphid§                   0.088 - 0.130          6.75 - 10
Tree tomato                                     Leafminers (Liriomyza spp.)
                                                Loopers
                                                Potato aphid§
                                                Tomato psyllid§
                                                Whitefly*
                                                European corn borer                  0.130                  10
                                                Thrips (foliage feeding only)§
                  § - Suppression only. Use as part of an overall effective control program. Begin drip application when
                  populations first appear. Rotate with products with different modes of action.
                  * - Allow 1 - 3 days for VERIMARK insect control to be translocated into the aerial portions and to
                  fully protect transplants following an at-plant application. Allow 2-5 days for VERIMARK insect
                  control to fully protect plants in the first half of the growing cycle and 7-10 days for plants in the second
                  half of the growing cycle following a drip application. During those times and when whitefly
                  populations are high, use in conjunction with an effective foliar whitefly control program.
                  Minimum application interval between drip chemigation treatments is 10 days. Do not apply more than
                  13.5 fl oz (0.176 lb ai/A) of VERIMARK insect control at planting.
                  Do not apply more than 2 drip chemigation or soil injection applications of VERIMARK insect control
                  per crop. Do not make more than one drip chemigation or soil injection application per crop if an at
                  plant application of VERIMARK insect control was made.
                  Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
                  products per calendar year whether applications are made to the soil or foliarly.
                  VERIMARK insect control must be applied uniformly in the root zone to ensure effective control.
                  Surface band application requires a sufficient amount of water post-application to ensure the treatment
                  is moved into the root zone. Drip tape must be placed directly underneath a single row of plants to
                  ensure VERIMARK insect control is applied in the root zone. See the SOIL APPLICATION section of
                  the label for additional guidance, also see the rate conversion chart for application rate per 1000 linear
                  feet.
                  Tomato Spotted Wilt Virus and Tomato Yellow Leaf Curl Virus Suppression: Use of VERIMARK
                  insect control to control thrips which may vector the tomato spotted wilt virus and whiteflies which may
                  vector the tomato yellow leaf curl virus at a rate of 10-13.5 fl oz/A at plant and at 10 fl oz/A via drip
                  chemigation applied early season will help suppress and slow the expression of tomato spotted wilt
                  virus and tomato yellow leaf curl virus in fruiting vegetables.
                  **Curly Top Disease Suppression: VERIMARK insect control at 13.5 fl oz/A applied at plant via
                  transplant water or transplant tray drench application is recommended for the suppression of curly top
                  disease when vectored by beet leafhopper.
                  Adjusting the pH of the application solution: The pH of the application solution should be between
                  pH 4 and 6. (See "Acidification of Application Solution" section of the label.)




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                                                                                VERIMARK insect control RATE

                                                                                                                             PHI            REI
                                                                                                      fluid                  (pre-harvest   (re-entry
                                                                               Lb. ai                 ounces product         interval)      interval)
Crop             Application Method          Target Pest                       per acre               per acre               (days)         (hours)
Leafy           Soil at planting (an in-      Beet armyworm                       0.065 - 0.130        5 - 10                    N/A           4
Vegetables      furrow spray, transplant      Corn earworm
(non-           tray drench by growers or Diamondback moth
brassica)       commercial transplant         Cabbage looper                      0.088 - 0.176        6.75 - 13.5
(Crop           producers no earlier than Green peach aphid
Group 4)        72 hours prior to planting Leafminers (Liriomyza spp.)
Including       in the field, transplant      Potato aphid§
Amaranth        water treatment, hill         Whitefly*
leafy,          drench, surface band,
Arugula,        soil shank injection)
Cardoon,        Drip chemigation**            Beet armyworm                       0.065 - 0.130        5 - 10                      1
Celery,                                       Corn earworm
Celery                                        Diamondback moth
(Chinese),
Celtuce,                                      Cabbage looper                      0.088 - 0.130        6.75 - 10
Chevril,                                      Green peach aphid
Chinese                                       Leafminers (Liriomyza spp.)
spinach,                                      Potato aphid§
Chrysanthe-                                   Whitefly*
mum (edible     § - Suppression only. Use as part of an overall effective aphid control program. Rotate to products with
leaved),        different modes of action.
Chrysanthe-     * - Allow 1 - 3 days for VERIMARK insect control to be translocated into the aerial portions and to
mum, garland, fully protect the transplants following an at-plant application. During that time and when whitefly
Corn salad,     populations are high, use in conjunction with an effective foliar whitefly control program.
Cress          ** - Begin drip application when populations first appear. Allow 1-3 days for VERIMARK insect control
(garden),      to be translocated into the aerial portions and to fully protect. Minimum application interval between drip
Cress          chemigation treatments is 10 days. Do not apply more than 2 drip chemigation applications of
(upland),      VERIMARK insect control per crop. Rotate with products with different modes of action.
Dandelion,       - Diamondback moth resistance management  Do not apply VERIMARK insect control (or other
Dock,           Group 28 insecticides) more than twice within any 30 day treatment window. Application(s) during
Endive          the next treatment window must be with an effective product(s) with a different mode of action
(escarole),     (different IRAC Group Number) for at least a 30 day treatment window before making any additional
Florence        applications of VERIMARK insect control (or other Group 28 insecticides). Do not apply less than 5 fl
fennel,         oz of VERIMARK insect control per application per acre for diamondback moth control. Do not make
Lettuce (head more than 6 total applications per calendar year of any cyantraniliprole containing products (or other
& leaf),        Group 28 insecticides) for control of diamondback moth at the same farm location.
Orach,          Do not apply more than 13.5 fl oz (0.176 lb ai/A) of VERIMARK insect control at planting.
Parsley,        Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
Purslane        products per calendar year whether applications are made to the soil or foliarly.
(garden),       VERIMARK insect control must be applied uniformly in the root zone to ensure effective control.
Purslane        Surface band application requires a sufficient amount of water post-application
(winter),       to ensure the treatment is moved into the root zone. See the SOIL APPLICATION
Radicchio,      section of the label for additional guidance, also see the rate conversion chart for application rate per
Rhubarb,        1000 linear feet.
Spinach,        Adjusting the pH of the application solution: The pH of the application solution should be between
Spinach (vine), pH 4 and 6. (See "Acidification of Application Solution" section of the label.)
Spinach (New
Zealand),
Swiss chard,
Tampala




                                                                                 16
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                                                                                VERIMARK insect control RATE

                                                                                                                             PHI            REI
                                                                                                      fluid                  (pre-harvest   (re-entry
                                                                               Lb. ai                 ounces product         interval)      interval)
Crop            Application Method          Target Pest                        per acre               per acre               (days)         (hours)
Legume          Soil at planting (in-        European corn borer§            0.088 - 0.176           6.75 - 13.5                 N/A           4
vegetables,     furrow spray, surface        Fall armyworm
succulent or    band spray)                  Lesser cornstalk borer
dried                                        Leafminers
(Crop                                        Whiteflies
Group 6)                                     Black bean aphid
Bean (Lupinus)                               Thrips (foliage feeding only)§
(includes grain                              Corn seed maggot§
lupin, sweet    § - Suppression only. Do not apply more than 13.5 fl oz (0.176 lb ai/A) of VERIMARK insect control
lupin, white    at planting. Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole
lupin, and      containing products per calendar year whether applications are made to the soil or foliarly.
white sweet     VERIMARK insect control must be applied uniformly in the root zone to ensure effective control.
lupin); bean    See the SOIL APPLICATION section of the label for additional guidance, also see the rate conversion
(Phaseolus)     chart for application rate per 1000 linear feet.
(includes field
bean, kidney
bean, lima
bean, navy
bean, pinto
bean, runner
bean, snap
bean, tepary
bean, wax
bean); bean
(Vigna)
(includes
adzuki bean,
asparagus bean
blackeyed pea,
catjang,
Chinese long-
bean, cowpea,
crowder pea,
moth bean,
mung bean,
rice bean,
southern pea,
urd bean,
yardlong bean)
broad bean
(fava);
chickpea
(garbanzo);
guar; jackbean;
lablab bean;
lentil; pea
(Pisum)
(includes
dwarf pea,
edible-podded
pea, English
pea, field pea,
garden pea,
green pea,
snowpea,
sugar snap
pea); pigeon
pea;
sword bean
Peanuts         Soil at planting (an in-     Thrips (foliage feeding only)§** 0.130 - 0.176             10 - 13.5                N/A           4
                furrow spray, surface        Cutworms
                band, soil shank             Lesser cornstalk borer
                injection)
                § - Suppression only. **- Use in conjunction with an effective thrips and tomato spotted wilt virus
                management program. Do not apply more than 13.5 fl oz (0.176 lb ai/A) of VERIMARK insect control
                at planting. Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole
                containing products per calendar year whether applications are made to the soil or foliarly.
                VERIMARK insect control must be applied uniformly in the root zone to ensure effective control.
                See the SOIL APPLICATION section of the label for additional guidance, also see the rate conversion
                chart for application rate per 1000 linear feet.
                Tomato Spotted Wilt Virus Suppression: Use of VERIMARK insect control to manage thrips which
                may vector the tomato spotted wilt virus at a rate of 10-13.5 fl oz/A at plant will help suppress and slow
                the expression of tomato spotted wilt virus in peanuts.




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                                                                              VERIMARK insect control RATE

                                                                                                                           PHI                  REI
                                                                                                     fluid                 (pre-harvest     (re-entry
                                                                              Lb. ai                 ounces product        interval)        interval)
Crop            Application Method          Target Pest                       per acre               per acre              (days)             (hours)
Tobacco         Soil at planting             Tobacco budworm                    0.130 - 0.176          10 - 13.5               N/A               4
                (transplant water            Tomato hornworm
                treatment, hill drench,      Tobacco hornworm
                float house or transplant    Flea beetle
                tray drench by growers
                or commercial transplant
                producers no earlier
                than 72 hours prior to
                planting in the field)
                Do not apply more than 13.5 fl oz (0.176 lb ai/A) of VERIMARK insect control at planting.
                Do not apply a total of more than 0.4 lb ai/A of CYAZYPYR active or cyantraniliprole containing
                products per calendar year whether applications are made to the soil or foliarly.
                VERIMARK insect control must be applied uniformly in the root zone to ensure effective control. See
                the SOIL APPLICATION section of the label for additional guidance.
Tuberous        Soil at planting             Beet armyworm                      0.088 - 0.176          6.75 - 13.5             N/A               4
and Corm        (an in-furrow spray,         Cabbage looper
Vegetables      transplant water treatment, Colorado potato beetle
(Crop           hill drench, surface band, Western yellowstriped
Subgroup 1C)    soil shank injection)        armyworm
including,                                   European corn borer                0.130 - 0.176          10 - 13.5
Arracacha;                                   Potato flea beetle§
Arrowroot;                                   Green peach aphid§                 0.176                  13.5
Artichoke,                                   Potato psyllid§
Chinese;        § - Suppression only. Use as part of an overall effective control program. Rotate to products with
Artichoke,      different modes of action.
Jerusalem;       - Colorado potato beetle resistance management: If VERIMARK insect control or any other Group
Canna,          28 insecticide was used at-plant either as a soil or seed piece application, do not apply other Group 28
edible;         insecticides for Colorado potato beetle control for at least 60 days after emergence. Application(s) for
Cassava,        Colorado potato beetle control during the first 30-60 days must be with an effective product with a
(bitter),       different mode of action (i.e. a product with a different IRAC Group Number) for at least a 30 day
Cassava         treatment window before making any applications of a Group 28 insecticide.
(sweet),        Adjusting the pH of the application solution: The pH of the application solution should be between
Chayote         pH 4 and 6. (See "Acidification of Application Solution" section of the label.)
(root);         Do not apply more than 13.5 fl oz (0.176 lb ai/A) of VERIMARK insect control at planting.
Chufa;          Do not apply a total of more than 0.4 lb ai/A of any CYAZYPYR active or cyantraniliprole containing
Dasheen;        products per calendar year whether applications are made to the seed, soil or foliarly.
Ginger;         VERIMARK insect control must be applied uniformly in the root zone to ensure effective control.
Leren;          Surface band application requires a sufficient amount of water post-application to ensure the treatment
Potato,         is moved into the root zone. See the SOIL APPLICATION section of the label for additional guidance,
Sweet potato,   also see the rate conversion chart for application rate per 1000 linear feet.
Tanier;
Turmeric;
Yam bean;
Yam (true)




    VERIMARK insect control CONVERSION CHART FOR DRIP (TRICKLE) CHEMIGATION AND AT-
                                        PLANT SOIL APPLICATION
                                 Rate in Fluid Ounces product/1000 Row-feet Based on Planted Row Spacing (in inches) of:
Fl oz/Acre   20      25        30      34      36      38       40      44       48       60      66       72        78              80      84
5            0.19    0.24      0.29 0.33       0.34    0.36     0.38    0.42     0.46      0.57   0.63     0.69      0.75            0.77    0.80
6.75         0.26    0.32      0.39 0.44       0.46    0.49     0.52    0.57     0.62      0.77   0.85     0.93      1.01            1.03    1.08
8.5          0.33    0.41      0.49 0.55       0.59    0.62     0.65    0.72     0.78      0.98   1.07     1.17      1.27            1.3     1.37
10           0.38    0.48      0.57 0.65       0.69    0.73     0.77    0.84     0.92      1.15   1.26     1.38      1.49            1.53    1.61
13.5         0.52    0.65      0.77 0.88       0.93    0.98     1.03    1.14     1.24      1.55   1.70     1.86      2.01            2.07    2.17




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VERIMARK insect control POTATO SEED PIECE TREATMENT
Application and Mixing Guidance
VERIMARK insect control may be applied as a water-based slurry with other registered seed treatment fungicides and
insecticides. Potential mixing partners should be tested for physical compatibility with VERIMARK insect control and
added dyes or polymers before mixing for seed treatment. Avoid mixtures of several materials and very concentrated seed
treatment spray mixtures. Observe the most restrictive of the labeling limitations and precautions of all products used in
mixtures. Do not mix this product with any product that prohibits such mixing. Caution should be used to ensure that
excessive moisture is not applied to the seed pieces to limit potential rotting that may reduce crop emergence. Treat seed
pieces on farm or at a local facility. Plant treated seed pieces within 24 hours of treatment with VERIMARK insect control.
Pests Controlled and Use Rate
Use VERIMARK insect control as specified in the following Use-Rate Table for control of beet armyworm, Colorado
potato beetle, cabbage looper, European corn borer, western yellowstriped armyworm and suppression of potato flea beetle,
potato psyllid, and green peach aphid. Determine the use rate of VERIMARK insect control based on the planned seeding
density. Do not use a seed treatment rate of VERIMARK insect control greater than 0.176 pounds of cyantraniliprole per
acre. Do not apply any other cyantraniliprole containing product for Colorado potato beetle control following a seed piece
application of VERIMARK insect control. Do not apply a total of more than 0.4 lb ai/A per calendar year of any
CYAZYPYR active or cyantraniliprole containing products whether applications are made to the soil or foliarly.
       Potato Seeding Rate            VERIMARK insect control Use Rate         VERIMARK insect control Use Rate
         100 lbs per acre                (fl oz/100 lb of seed pieces)                   (lb ai/A)
              16 - 18                              0.63  0.75                               0.132  0.176
              19 - 22                              0.53  0.61                               0.131  0.175
              23 - 25                              0.46  0.54                               0.138  0.176
              26 - 27                              0.46  0.5                                0.156  0.176
              28 - 29                                 0.46                                   0.168  0.174

Mixing Instructions
For use in standard and calibrated seed treatment equipment only. Treatment equipment must be clean and free of previous
pesticide deposits before applying VERIMARK insect control. Add VERIMARK insect control directly to the mixing tank.
Mix the specified amount of VERIMARK insect control thoroughly with sufficient water to coat the potato seed pieces.
Add an EPA approved dye or colorant to treat the seed pieces per 40 CFR 153.155(b)(1) during the seed treatment process.
Ensure that all treated seed pieces are dyed an unnatural color.
Mixing Tank Cleanout
Prior to application, start with clean, well maintained application equipment. Immediately following application,
thoroughly clean all mixing equipment to reduce the risk of forming hardened deposits, which might become difficult to
remove.
Drain mixing equipment. Thoroughly rinse mixing equipment and flush with clean water.
Clean all other associated application equipment. Take all necessary safety precautions when cleaning equipment. Do not
clean near wells, water sources or desirable vegetation. Dispose of water rinse water in accordance with local regulations.




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   STORAGE AND DISPOSAL
   Do not contaminate water, food, or feed by storage or disposal.
   PESTICIDE STORAGE: Do not subject to temperatures below 32 degrees F. Store product in original container
   only in a location inaccessible to children and pets. Do not contaminate water, other pesticides, fertilizer, food or feed
   in storage. Not for use or storage in or around the home.
   PESTICIDE DISPOSAL: Do not contaminate water, food or feed by storage or disposal. Wastes resulting from the
   use of this product must be disposed of on site or at an approved waste disposal facility.
   CONTAINER HANDLING: Refer to the Net Contents section of this products labeling for the applicable
   Refillable Container or Nonrefillable Container designation.
   Nonrefillable Rigid Plastic and Metal Containers (Capacity Equal to or Less Than 5 Gallons): Nonrefillable
   container. Do not reuse or refill this container. Triple rinse container (or equivalent) promptly after emptying. Triple
   rinse as follows: Empty the remaining contents into application equipment or a mix tank and drain for 10 seconds after
   the flow begins to drip. Fill the container 1/4 full with water and recap. Shake for 10 seconds. Pour rinsate into
   application equipment or a mix tank or store rinsate for later use or disposal. Drain for 10 seconds after the flow
   begins to drip. Repeat this procedure two more times. Then, for Plastic Containers, offer for recycling if available or
   puncture and dispose of in a sanitary landfill, or by incineration. Do not burn, unless allowed by state and local
   ordinances. For Metal Containers, offer for recycling if available or reconditioning if appropriate, or puncture and
   dispose of in a sanitary landfill, or by other procedures approved by state and local authorities.
   Nonrefillable Rigid Plastic and Metal Containers (Capacity Greater Than 5 Gallons): Nonrefillable container.
   Do not reuse or refill this container. Triple rinse container (or equivalent) promptly after emptying. Triple rinse as
   follows: Empty the remaining contents into application equipment or a mix tank. Fill the container 1/4 full with water.
   Replace and tighten closures. Tip container on its side and roll it back and forth, ensuring at least one complete
   revolution, for 30 seconds. Stand the container on its end and tip it back and forth several times. Turn the container
   over onto its other end and tip it back and forth several times. Empty the rinsate into application equipment or a mix
   tank or store rinsate for later use or disposal. Repeat this procedure two more times. Then, for Plastic Containers, offer
   for recycling if available or puncture and dispose of in a sanitary landfill, or by incineration. Do not burn, unless
   allowed by state and local ordinances. For Metal Containers, offer for recycling if available or reconditioning if
   appropriate, or puncture and dispose of in a sanitary landfill, or by other procedures approved by state and local
   authorities.
   Nonrefillable Rigid Plastic and Metal Containers, e.g., Intermediate Bulk Containers [IBC] (Size or Shape Too
   Large to be Tipped, Rolled or Turned Upside Down): Nonrefillable container. Do not reuse or refill this container.
   Clean container promptly after emptying the contents from this container into application equipment or mix tank and
   before final disposal using the following pressure rinsing procedure. Insert a lance fitted with a suitable tank cleaning
   nozzle into the container and ensure that the water spray thoroughly covers the top, bottom and all sides inside the
   container. The nozzle manufacturer generally provides instructions for the appropriate spray pressure, spray duration
   and/or spray volume. If the manufacturers instructions are not available, pressure rinse the container for at least 60
   seconds using a minimum pressure of 30 PSI with a minimum rinse volume of 10% of the container volume. Drain,
   pour or pump rinsate into application equipment or rinsate collection system. Repeat this pressure rinsing procedure
   two more times. Then, for Plastic Containers, offer for recycling if available or puncture and dispose of in a sanitary
   landfill, or by incineration. For Metal Containers, offer for recycling if available or reconditioning if appropriate, or
   puncture and dispose of in a sanitary landfill, or by other procedures approved by state and local authorities.
   All Refillable Containers: Refillable container. Refilling Container: Refill this container with VERIMARK insect
   control containing cyantraniliprole only. Do not reuse this container for any other purpose. Cleaning before refilling is
   the responsibility of the refiller. Prior to refilling, inspect carefully for damage such as cracks, punctures, abrasions,
   worn out threads and closure devices. If damage is found, do not use container, contact FMC at the number below for
   instructions. Check for leaks after refilling and before transporting. If leaks are found, do not reuse or transport
   container, contact FMC at the number below for instructions. Disposing of Container: Do not reuse this container for
   any other purpose other than refilling (see preceding). Cleaning the container before final disposal is the responsibility
   of the person disposing of the container. To clean the container before final disposal, use the following pressure
   rinsing procedure. Insert a lance fitted with a suitable tank cleaning nozzle into the container and ensure that the water
   spray thoroughly covers the top, bottom and all sides inside the container. The nozzle manufacturer generally provides
   instructions for the appropriate spray pressure, spray duration and/or spray volume. If the manufacturers instructions
   are not available, pressure rinse the container for at least 60 seconds using a minimum pressure of 30 PSI with a
   minimum rinse volume of 10% of the container volume. Drain, pour or pump rinsate into application equipment or
   rinsate collection system. Repeat this pressure rinsing procedure two more times. Then, for Plastic Containers, offer
   for recycling if available or puncture and dispose of in a sanitary landfill, or by incineration. Do not burn, unless
   allowed by state and local ordinances. For Metal Containers, offer for recycling if available or reconditioning if
   appropriate, or puncture and dispose of in a sanitary landfill, or by other procedures approved by state and local
   authorities.
   Do not transport if container is damaged or leaking. If the container is damaged, leaking or obsolete, or in the event of a
   major spill, fire or other emergency, contact CHEMTREC (Transportation and Spills) at 1-800-424-9300, day or night.

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           CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY
Notice: Read the entire Directions for Use and Conditions of Sale and Limitation of Warranty and Liability before buying or
using this product. If the terms are not acceptable, return the product at once, unopened, and the purchase price will be refunded.
The Directions for Use of this product must be followed carefully. It is impossible to eliminate all risks inherently associated with
the use of this product. Crop injury, ineffectiveness, or other unintended consequences may result because of such factors as
manner of use or application, weather or crop conditions beyond the control of FMC or Seller. To the extent consistent with
applicable law, all such risks shall be assumed by Buyer and User, and, to the extent consistent with applicable law, Buyer and
User agree to hold FMC and Seller harmless for any claims relating to such factors.
Seller warrants that this product conforms to the chemical description on the label and is reasonably fit for the purposes
stated on the Directions for Use when used in accordance with the directions under normal conditions of use. TO THE
EXTENT CONSISTENT WITH APPLICABLE LAW, FMC MAKES NO WARRANTIES OF MERCHANTABILITY
OR OF FITNESS FOR A PARTICULAR PURPOSE, NOR ANY OTHER EXPRESS OR IMPLIED WARRANTIES
WITH RESPECT TO THE SELECTION, PURCHASE, OR USE OF THIS PRODUCT. Any warranties, express or
implied, having been made are inapplicable if this product has been used contrary to label instructions, or under
abnormal conditions, or under conditions not reasonably foreseeable to (or beyond the control of) Seller or FMC, and, to
the extent permitted by applicable law, Buyer assumes the risk of any such use.
To the extent consistent with applicable law, FMC or Seller shall not be liable for any incidental, consequential or special
damages resulting from the use or handling of this product. TO THE EXTENT CONSISTENT WITH APPLICABLE LAW,
THE EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY OF FMC AND SELLER
FOR ANY AND ALL CLAIMS, LOSSES, INJURIES OR DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF
WARRANTY, CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE) RESULTING FROM THE USE
OR HANDLING OF THIS PRODUCT, SHALL BE THE RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT
THE ELECTION OF FMC OR SELLER, THE REPLACEMENT OF THE PRODUCT.
This Condition of Sale and Limitation of Warranty and Liability may not be amended by any oral or written agreement.




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                               Attachment 11
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                         UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                      WASHINGTON, DC 20460

                                                                                        OFFICE OF CHEMICAL SAFETY
                                                                                        AND POLLUTION PREVENTION
                                                       September 27, 2023

Samantha Miller
Corteva Agriscience
9330 Zionsville Road
Indianapolis, IN 46268

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Name: Lumiderm Insecticide Seed Treatment
                         EPA Registration Number: 352-858
                         Application Date: June 13, 2023
                         Decision Number: 593332

Dear Ms. Miller:

The amended label referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, is acceptable. Accordingly, EPA
has approved the requested registration amendment, provided Corteva Agriscience (“Corteva”)
complies with all terms and conditions listed below.

Terms and Conditions

Corteva must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with,
the registration will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made
         may affect, likely to adversely affect (LAA), determinations for certain listed species and
         designated critical habitats for products containing cyantraniliprole (including this product).
         For these LAA determinations, EPA also assessed the potential likelihood of jeopardy or
         adverse modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1).
         EPA predicted no potential likelihood of jeopardy for listed species or adverse modification
         for designated critical habitat. On September 25, 2023, EPA initiated formal consultation
         with the Services. The Services will make the final determination as to the potential for
         jeopardy for listed species or adverse modification for designated critical habitat in any final
         biological opinions issued at the completion of consultation.


PRIA Non-New-Use Label Acceptable v.20150320
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        If, following formal consultation with Service(s), additional modifications are identified in
        any applicable Biological Opinion, EPA will notify Corteva in writing within 45 calendar
        days of the issuance of the Biological Opinion of any necessary changes. Within 30 calendar
        days of receiving EPA’s notice, Corteva must submit an amendment application
        incorporating the necessary changes, including amended labels. Alternatively, Corteva may
        respond by submitting a request for voluntary cancellation of this product. If Corteva fails to
        comply with this term, Corteva has agreed in prior written acceptance of these terms that
        EPA may cancel the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under Corteva’s control,
       Corteva must submit state registrations for approval, in all states where products are
       currently registered, for the products with the labeling associated with this approval letter no
       later than November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Corteva
       under the previously approved labeling for no longer than 12 months from the date of this
       letter or 75 days after the final state approval from those submitted under Term #2,
       whichever is earlier.

    4. Nothing in Terms #2-3 should be read to obligate Corteva to provide additional labeling for
       product that bears the previously approved label but is not under Corteva’s control as of the
       date of this letter. However, Corteva should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2
    “it will perform its intended function without unreasonable adverse effects on the
      environment”; 3 and



1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the
claims made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials
submitted and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
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       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and
others containing cyantraniliprole, EPA considered risks and benefits of approving the registrations
and registration amendments. To determine the risks and benefits, the Agency reviews a large body
of information to determine the effects of using these products. In assessing the risks from use of
products containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and
ecological and environment fate risk assessments. 6 EPA also updated its ecological and
environmental fate risk assessments in support of the 2023 draft biological evaluation (BE). 7 EPA
believes that that these risk assessments (and the benefits discussed below) are also applicable to the
action to approve this amended registration.

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because
the Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose
an acute risk to humans). In general, CTP produces both adverse and adaptive changes in the liver,
thyroid gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate

4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary
Exposure and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential
Exposure and Risk Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28,
2013) (EPA-HQ-OPP-2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the
New Active Insecticide Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary
Exposure and Risk Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-
0357-0009); Human Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S.
Registration (Jan. 12, 2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data
(Apr. 21, 2016) (EPA-HQ-OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016)
(EPA-HQ-OPP-2014-0357-0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on
Coffee; Caneberry Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry
and Lingonberry; Brassica Leafy Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-
OPP-2017-0694-0011); Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance
Requests on Coffee; Caneberry Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry,
Lowbush Blueberry and Lingonberry; Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-
0694-0012); Human Health Risk Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-
OPP-2021-0154-0007); Highly Refined Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed
Inadvertent Use and Tolerance Request on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and
Cucurbit Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological
Risk Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-
OPP-2011-0668, Document ID Nos. 71-72, 75-87.
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increases in liver weights are observed across multiple species (rats, mice, dogs). CTP was
classified as “not likely to be carcinogenic to humans” based upon data demonstrating lack of
treatment-related increase in tumor incidence in rats and mice. No cumulative effects were
identified. CTP presents no mutagenicity, neurotoxicity, immunotoxicity, developmental
reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and
terrestrial invertebrates. Overall, however, the major risks of concerns are for direct effects to
freshwater, estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of
concerns for birds, reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity
on a wide variety of target insects on a variety of crops. CTP is effective for controlling aphids,
weevils and thrips—all major agricultural pests. CTP is not expected to pose any acute risk to
humans and was registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to
alternative chemicals available at that time. CTP also poses lower risk to non-target organisms
relative to alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed
species, including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications
         to reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in
         Bulletins Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in
increased exposures 8 and because EPA continues to believe that—consistent with the 2014
registration decision 9 and other previous registration decision for products contain
cyantraniliprole—the benefits of these registrations outweigh any remaining risks of concern from
its use and there are no human dietary risks from uses of cyantraniliprole that are inconsistent with


8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that
the mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce
exposures to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24,
2014) (EPA-HQ-OPP-2011-0668-0057).
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the FFDCA safety standard. 10 Accordingly, EPA is approving these registration amendments
because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all
previously accepted labeling. You must submit one copy of the final printed labeling before you
release the product for shipment with the new labeling. Consistent with Terms 2-5 above, and not
withstanding 40 C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the
final stamped label associated with this approval letter or with accompanying labeling that
incorporates the mitigations in this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our
attention that a website contains false or misleading statements or claims substantially differing
from the EPA-approved registration, the product will be referred to EPA’s Office of Enforcement
and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at
benbow.gene@epa.gov.
                                                   Sincerely,



                                                             Deanna (Dee) Colby, Chief
                                                             Invertebrate & Vertebrate Branch 3
                                                             Registration Division
                                                             Office of Pesticide Programs


Enclosure




10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any
unreasonable risk to [humans] or the environment, taking into account the economic, social, and environmental costs
and benefits of the use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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(Base label):

                                                     CYANTRANILIPROLE                                GROUP                 28        INSECTICIDE

Lumiderm®
INSECTICIDE SEED TREATMENT

[Alternate Brand Name: Lumiderm]
[Alternate Brand Name: Lumiposa]

For seed treatment applications to rapeseed/canola, mustard, and soybean seed for
pest management of sucking and chewing insects.
Active Ingredient
 Cyantraniliprole 3-bromo-1-(3-chloro-2-pyridinyl)-N-[4-cyano-2-methyl-6-
 [(methylamino) carbonyl]phenyl]-1H-pyrazole-5-carboxamide.......................................50%
Other Ingredients ...............................................................................................................50%
TOTAL ..............................................................................................................................100%

Lumiderm is a flowable suspension.
Contains 5.21 lb. active ingredient per gallon.

Keep Out of Reach of Children
CAUTION
Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en detalle. (If you do not
understand this label, find someone to explain it to you in detail.)

     Precautionary Statements
     Hazards to Humans and Domestic Animals

     Personal Protective Equipment
Applicators and other handlers must wear:
   Long-sleeved shirt and long pants.
   Shoes plus socks.
   Chemical resistant gloves made of any waterproof material (Category A such as natural rubber > 14 mils).

                                                                                              If no such
instructions for washables are available, use detergent and hot water. Keep and wash PPE separately from
other laundry.

      User Safety Recommendations
 USERS SHOULD:
    Wash hands before eating, drinking, chewing gum, using tobacco, or using the toilet.
    Remove clothing immediately if pesticide gets inside.
    Then wash thoroughly and put on clean clothing.


      First Aid
 For questions regarding emergency medical treatment, you may contact 1-800-992-5994 for information.
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     Environmental Hazards
This pesticide is toxic to aquatic invertebrates and oysters. Do not contaminate water when disposing of
equipment wash water.

     Physical or Chemical Hazards
Do not place product near or allow product to come into contact with strong oxidizing substances (such as
potassium permanganate) since a hazardous chemical reaction may occur.

Nonrefillable Rigid Plastic and Metal Containers (Capacity Equal to or Less Than 5 Gallons):
    Storage and Disposal
 Do not contaminate water, food, or feed by storage or disposal.
 PESTICIDE STORAGE: Do not subject to temperatures below 32 degrees F. Store product in original
 container only in a location inaccessible to children and pets. Do not contaminate water, other pesticides,
 fertilizer, food or feed in storage. Not for use or storage in or around the home.
 PESTICIDE DISPOSAL: Do not contaminate water, food or feed by storage or disposal. Wastes resulting
 from the use of this product must be disposed of on site or at an approved waste disposal facility.
 CONTAINER HANDLING:
 Nonrefillable container. Do not reuse or refill this container. Triple rinse container (or equivalent) promptly
 after emptying. Triple rinse as follows: Empty the remaining contents into application equipment or a mix
 tank and drain for 10 seconds after the flow begins to drip. Fill the container 1/4 full with water and recap.
 Shake for 10 seconds. Pour rinsate into application equipment or a mix tank or store rinsate for later use or
 disposal. Drain for 10 seconds after the flow begins to drip. Repeat this procedure two more times. Then,
 for Plastic Containers, offer for recycling if available or puncture and dispose of in a sanitary landfill, or by
 incineration. Do not burn, unless allowed by state and local ordinances. For Metal Containers, offer for
 recycling if available or reconditioning if appropriate or puncture and dispose of in a sanitary landfill, or by
 other procedures approved by state and local authorities.

Nonrefillable Plastic and Metal Containers (Capacity Greater Than 5 Gallons):
    Storage and Disposal
 Do not contaminate water, food, or feed by storage or disposal.
 PESTICIDE STORAGE: Do not subject to temperatures below 32 degrees F. Store product in original
 container only in a location inaccessible to children and pets. Do not contaminate water, other pesticides,
 fertilizer, food or feed in storage. Not for use or storage in or around the home.
 PESTICIDE DISPOSAL: Do not contaminate water, food or feed by storage or disposal. Wastes resulting
 from the use of this product must be disposed of on site or at an approved waste disposal facility.
 CONTAINER HANDLING:
 Nonrefillable container. Do not reuse or refill this container. Triple rinse container (or equivalent) promptly
 after emptying. Triple rinse as follows: Empty the remaining contents into application equipment or a mix
 tank. Fill the container 1/4 full with water. Replace and tighten closures. Tip container on its side and roll it
 back and forth, ensuring at least one complete revolution, for 30 seconds. Stand the container on its end
 and tip it back and forth several times. Turn the container over onto its other end and tip it back and forth
 several times. Empty the rinsate into application equipment or a mix tank or store rinsate for later use or
 disposal. Repeat this procedure two more times. Then, for Plastic Containers, offer for recycling if
 available or puncture and dispose of in a sanitary landfill, or by incineration. Do not burn, unless allowed
 by state and local ordinances. For Metal Containers, offer for recycling if available or reconditioning if
 appropriate or puncture and dispose of in a sanitary landfill, or by other procedures approved by state and
 local authorities.

Nonrefillable Plastic and Metal Containers, e.g., Intermediate Bulk Containers [IBC] (Size or Shape
Too Large to be Tipped, Rolled or Turned Upside Down):
    Storage and Disposal
 Do not contaminate water, food, or feed by storage or disposal.
 PESTICIDE STORAGE: Do not subject to temperatures below 32 degrees F. Store product in original
 container only in a location inaccessible to children and pets. Do not contaminate water, other pesticides,
 fertilizer, food or feed in storage. Not for use or storage in or around the home.
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 PESTICIDE DISPOSAL: Do not contaminate water, food or feed by storage or disposal. Wastes resulting
 from the use of this product must be disposed of on site or at an approved waste disposal facility.
 CONTAINER HANDLING:
 Nonrefillable container. Do not reuse or refill this container. Clean container promptly after emptying the
 contents from this container into application equipment or mix tank and before final disposal using the
 following pressure rinsing procedure. Insert a lance fitted with a suitable tank cleaning nozzle into the
 container and ensure that the water spray thoroughly covers the top, bottom and all sides inside the
 container. The nozzle manufacturer generally provides instructions for the appropriate spray pressure,
 spray duration and/or spray volume. If the manufacturer's instructions are not available, pressure rinse
 the container for at least 60 seconds using a minimum pressure of 30 PSI with a minimum rinse volume
 of 10% of the container volume. Drain, pour or pump rinsate into application equipment or rinsate
 collection system. Repeat this pressure rinsing procedure two more times. Then, for Plastic Containers,
 offer for recycling if available or puncture and dispose of in a sanitary landfill, or by incineration. For Metal
 Containers, offer for recycling if available or reconditioning if appropriate, or puncture and dispose of in a
 sanitary landfill, or by other procedures approved by state and local authorities.

All Refillable Containers:
    Storage and Disposal
 Do not contaminate water, food, or feed by storage or disposal.
 PESTICIDE STORAGE: Do not subject to temperatures below 32 degrees F. Store product in original
 container only in a location inaccessible to children and pets. Do not contaminate water, other pesticides,
 fertilizer, food or feed in storage. Not for use or storage in or around the home.
 PESTICIDE DISPOSAL: Do not contaminate water, food or feed by storage or disposal. Wastes resulting
 from the use of this product must be disposed of on site or at an approved waste disposal facility.
 CONTAINER HANDLING:
 Refillable container. Refilling Container: Refill this container with Lumiderm containing cyantraniliprole only.
 Do not reuse this container for any other purpose. Cleaning before refilling is the responsibility of the refiller.
 Prior to refilling, inspect carefully for damage such as cracks, punctures, abrasions, worn out threads and
 closure devices. If leaks are found, do not reuse or transport container, contact Corteva Agriscience at the
 number below for instructions. Disposing of Container: Do not reuse this container for any other purpose
 other than refilling (see preceding). Cleaning the container before final disposal is the responsibility of the
 person disposing of the container. To clean the container before final disposal, use the following pressure
 rinsing procedure. Insert a lance fitted with a suitable tank cleaning nozzle into the container and ensure that
 the water spray thoroughly covers the top, bottom and all sides inside the container. The nozzle
 manufacturer generally provides instructions for the appropriate spray pressure, spray duration and/or spray
 volume. If the manufacturer's instructions are not available, pressure rinse the container for at least 60
 seconds using a minimum pressure of 30 PSI with a minimum rinse volume of 10% of the container volume.
 Drain, pour or pump rinsate into application equipment or rinsate collection system. Repeat this pressure
 rinsing procedure two more times. Then, for Plastic Containers, offer for recycling if available or puncture
 and dispose of in a sanitary landfill, or by incineration. Do not burn, unless allowed by state and local
 ordinances. For Metal Containers, offer for recycling if available or reconditioning if appropriate, or puncture
 and dispose of in a sanitary landfill, or by other procedures approved by state and local authorities.

Do not transport if container is damaged or leaking. If the container is damaged, leaking, or obsolete, or in
the event of a major spill, fire, or other emergency, contact Corteva Agriscience at 1-800-992-5994, day or
night.

Refer to inside of label booklet for additional precautionary information including First Aid and
Directions for Use.

Notice: Read the entire label. Use only according to label directions. Before using this product, read
Warranty Disclaimer, Inherent Risks of Use and Limitation of Remedies at end of label booklet. If
terms are unacceptable, return at once unopened.

In case of emergency endangering health or the environment involving this product, call 1-800-992-5994.
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Agricultural Chemical: Do not ship or store with food, feeds, drugs, or clothing.

EPA Reg. No. 352-858                                                                EPA Est. __________
                                                                                          [CD02-xxx-xxx]


Produced for
Corteva Agriscience LLC
9330 Zionsville Road
Indianapolis, IN 46268
                                                                         NET CONTENTS ___________
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(Booklet cover)

                                                     CYANTRANILIPROLE                                GROUP                  28        INSECTICIDE

Lumiderm®
INSECTICIDE SEED TREATMENT

[Alternate Brand Name: Lumiderm]
[Alternate Brand Name: Lumiposa]

For seed treatment applications to rapeseed/canola, mustard, and soybean seed for
pest management of sucking and chewing insects.
Active Ingredient
 Cyantraniliprole 3-bromo-1-(3-chloro-2-pyridinyl)-N-[4-cyano-2-methyl-6-
 [(methylamino) carbonyl]phenyl]-1H-pyrazole-5-carboxamide....................................... 50%
Other Ingredients ............................................................................................................... 50%
TOTAL .............................................................................................................................. 100%

Lumiderm is a flowable suspension.
Contains 5.21 lb. active ingredient per gallon.

Keep Out of Reach of Children
CAUTION
Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en detalle. (If you do not
understand this label, find someone to explain it to you in detail.)

Refer to inside of label booklet for additional precautionary information including First Aid and
Directions for Use.

Notice: Read the entire label. Use only according to label directions. Before using this product, read
Warranty Disclaimer, Inherent Risks of Use and Limitation of Remedies at end of label booklet. If
terms are unacceptable, return at once unopened.

In case of emergency endangering health or the environment involving this product, call 1-800-992-5994.

Agricultural Chemical: Do not ship or store with food, feeds, drugs, or clothing.

EPA Reg. No. 352-858                                                                                                          EPA Est. __________
                                                                                                                                            [CD02-xxx-xxx]


Produced for
Corteva Agriscience LLC
9330 Zionsville Road
Indianapolis, IN 46268
                                                                                                        NET CONTENTS ___________
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(Booklet page 1 through end)

    Precautionary Statements
    Hazards to Humans and Domestic Animals

CAUTION
    Personal Protective Equipment
Applicators and other handlers must wear:
   Long-sleeved shirt and long pants.
   Shoes plus socks.
   Chemical resistant gloves made of any waterproof material (Category A such as natural rubber > 14 mils).


instructions for washables are available, use detergent and hot water. Keep and wash PPE separately from
other laundry.

    User Safety Recommendations
 USERS SHOULD:
    Wash hands before eating, drinking, chewing gum, using tobacco, or using the toilet.
    Remove clothing immediately if pesticide gets inside.
    Then wash thoroughly and put on clean clothing.


    First Aid
 For questions regarding emergency medical treatment, you may contact 1-800-992-5994 for information.

     Environmental Hazards
This pesticide is toxic to aquatic invertebrates and oysters. Do not contaminate water when disposing of
equipment wash water.

     Physical or Chemical Hazards
Do not place product near or allow product to come into contact with strong oxidizing substances (such as
potassium permanganate) since a hazardous chemical reaction may occur.

    Directions for Use
It is a violation of Federal law to use this product in a manner inconsistent with its labeling.

    Use this product only as a commercial seed treatment in rapeseed/canola, mustard, or soybean seed.
    Treated seed must not be used for or mixed with food or animal feed, or processed for oil.

When applied according to this label, Lumiderm insecticide seed treatment will provide control of cutworms
and flea beetles on rapeseed/canola and mustard. When applied according to this label, Lumiderm will
reduce seed and root feeding damage caused by seed corn maggot, white grub, and wireworms, reduce leaf
feeding damage caused by bean leaf beetle, cutworms, soybean aphids, and leaf feeding thrips and will
suppress the spread of certain viruses on soybeans. Consult your local Corteva Agriscience representative
or agricultural advisor for guidance on predicted pest pressure based on historical field data for these pests
in your area.

Early season improvement of plant health, vigor and stand optimizing crop potential can be experienced
under all levels of insect pressure.

Lumiderm must be used in accordance with the directions for use on this label, or as otherwise permitted by
FIFRA. Always read the entire label, including the Limitation of Warranty and Liability.
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Lumiderm may be applied to rapeseed/canola, mustard, or soybean seed. Rapeseed/canola and mustard
seed are typically planted at a soil depth of 1/2 to 1 inch. Soybean seeds are typically planted at a minimum
soil depth of 1 to 1-1/2 inches.

Treating significantly damaged seed or seed that is low in vigor or overall poor quality may result in reduced
germination, seedling vigor and plant stand. Before treating an entire seed lot with the proposed seed
treatment, treat a small portion of the seed lot and conduct subsequent germination tests. Corteva
Agriscience makes no guarantee regarding the germination of damaged or carryover treated seed, since
seed quality and storage conditions are beyond the control of Corteva Agriscience.

Corteva Agriscience will not be responsible for losses or damages resulting from the use of this product in
any manner not specifically stated on this label. User assumes all risks associated with such non-
recommended use.

    STORAGE AND DISPOSAL
 Do not contaminate water, food, or feed by storage or disposal.
 PESTICIDE STORAGE: Do not subject to temperatures below 32 degrees F. Store product in original
 container only in a location inaccessible to children and pets. Do not contaminate water, other pesticides,
 fertilizer, food or feed in storage. Not for use or storage in or around the home.
 PESTICIDE DISPOSAL: Do not contaminate water, food or feed by storage or disposal. Wastes resulting
 from the use of this product must be disposed of on site or at an approved waste disposal facility.
 CONTAINER HANDLING:

 Nonrefillable Rigid Plastic and Metal Containers (Capacity Equal to or Less Than 5 Gallons):
 Nonrefillable container. Do not reuse or refill this container. Triple rinse container (or equivalent) promptly
 after emptying. Triple rinse as follows: Empty the remaining contents into application equipment or a mix
 tank and drain for 10 seconds after the flow begins to drip. Fill the container 1/4 full with water and recap.
 Shake for 10 seconds. Pour rinsate into application equipment or a mix tank or store rinsate for later use or
 disposal. Drain for 10 seconds after the flow begins to drip. Repeat this procedure two more times. Then, for
 Plastic Containers, offer for recycling if available or puncture and dispose of in a sanitary landfill, or by
 incineration. Do not burn, unless allowed by state and local ordinances. For Metal Containers, offer for
 recycling if available or reconditioning if appropriate or puncture and dispose of in a sanitary landfill, or by
 other procedures approved by state and local authorities.

 Nonrefillable Plastic and Metal Containers (Capacity Greater Than 5 Gallons): Nonrefillable container.
 Do not reuse or refill this container. Triple rinse container (or equivalent) promptly after emptying. Triple
 rinse as follows: Empty the remaining contents into application equipment or a mix tank. Fill the container
 1/4 full with water. Replace and tighten closures. Tip container on its side and roll it back and forth, ensuring
 at least one complete revolution, for 30 seconds. Stand the container on its end and tip it back and forth
 several times. Turn the container over onto its other end and tip it back and forth several times. Empty the
 rinsate into application equipment or a mix tank or store rinsate for later use or disposal. Repeat this
 procedure two more times. Then, for Plastic Containers, offer for recycling if available or puncture and
 dispose of in a sanitary landfill, or by incineration. Do not burn, unless allowed by state and local
 ordinances. For Metal Containers, offer for recycling if available or reconditioning if appropriate or puncture
 and dispose of in a sanitary landfill, or by other procedures approved by state and local authorities.

 Nonrefillable Plastic and Metal Containers, e.g., Intermediate Bulk Containers [IBC] (Size or Shape
 Too Large to be Tipped, Rolled or Turned Upside Down): Nonrefillable container. Do not reuse or refill
 this container. Clean container promptly after emptying the contents from this container into application
 equipment or mix tank and before final disposal using the following pressure rinsing procedure. Insert a
 lance fitted with a suitable tank cleaning nozzle into the container and ensure that the water spray
 thoroughly covers the top, bottom and all sides inside the container. The nozzle manufacturer generally
 provides instructions for the appropriate spray pressure, spray duration and/or spray volume. If the
 manufacturer's instructions are not available, pressure rinse the container for at least 60 seconds using a
 minimum pressure of 30 PSI with a minimum rinse volume of 10% of the container volume. Drain, pour or
 pump rinsate into application equipment or rinsate collection system. Repeat this pressure rinsing procedure
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 two more times. Then, for Plastic Containers, offer for recycling if available or puncture and dispose of in a
 sanitary landfill, or by incineration. For Metal Containers, offer for recycling if available or reconditioning if
 appropriate, or puncture and dispose of in a sanitary landfill, or by other procedures approved by state and
 local authorities.

 All Refillable Containers: Refillable container. Refilling Container: Refill this container with Lumiderm
 containing cyantraniliprole only. Do not reuse this container for any other purpose. Cleaning before refilling
 is the responsibility of the refiller. Prior to refilling, inspect carefully for damage such as cracks, punctures,
 abrasions, worn out threads and closure devices. If leaks are found, do not reuse or transport container,
 contact Corteva Agriscience at the number below for instructions. Disposing of Container: Do not reuse this
 container for any other purpose other than refilling (see preceding). Cleaning the container before final
 disposal is the responsibility of the person disposing of the container. To clean the container before final
 disposal, use the following pressure rinsing procedure. Insert a lance fitted with a suitable tank cleaning
 nozzle into the container and ensure that the water spray thoroughly covers the top, bottom and all sides
 inside the container. The nozzle manufacturer generally provides instructions for the appropriate spray
 pressure, spray duration and/or spray volume. If the manufacturer's instructions are not available, pressure
 rinse the container for at least 60 seconds using a minimum pressure of 30 PSI with a minimum rinse
 volume of 10% of the container volume. Drain, pour or pump rinsate into application equipment or rinsate
 collection system. Repeat this pressure rinsing procedure two more times. Then, for Plastic Containers,
 offer for recycling if available or puncture and dispose of in a sanitary landfill, or by incineration. Do not burn,
 unless allowed by state and local ordinances. For Metal Containers, offer for recycling if available or
 reconditioning if appropriate, or puncture and dispose of in a sanitary landfill, or by other procedures
 approved by state and local authorities.

 Do not transport if container is damaged or leaking. If the container is damaged, leaking, or obsolete, or in
 the event of a major spill, fire, or other emergency, contact Corteva Agriscience at 1-800-992-5994, day or
 night.

Integrated Pest Management
Corteva Agriscience supports the use of Integrated Pest Management (IPM) programs to control pests. This
product may be used as part of an IPM program, which can include biological, cultural, and genetic practices,
aimed at preventing economic pest damage. IPM principles and practices include field scouting or other
detection methods, correct target pest identification, population monitoring, rotation of insecticides with
different modes-of-action, and treating when target pest populations reach locally determined action
thresholds. Consult your state cooperative extension service, professional consultants, or other qualified
authorities to determine appropriate action treatment threshold levels for treating specific pest/crop or site
systems in your area.

Insect Resistance Management
Lumiderm contains the active ingredient cyantraniliprole and is a Group 28 insecticide based on the mode of
action classification system of the International Insecticide Resistance Action Committee (IRAC). Insecticides
with the same Group Number affect the same biological site of action on the target pest and when used
repeatedly in the same treatment area, naturally occurring resistant individuals may survive correctly applied
insecticide treatments, reproduce, and become dominant.

To avoid or delay the development of insecticide resistance, a resistance management strategy should be
established for the use area. This strategy may include incorporation of cultural and biological control
practices, alternation to different mode-of-action insecticides on succeeding generations, and targeting the
most susceptible life stage. Consult your local or state agricultural authorities and product manufacturer for
more information about developing a resistance management strategy.
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Unless directed otherwise in the specific crop/pest sections of this label, the best practices are to follow
these guidelines to delay the development of insecticide resistance:

    Apply Lumiderm
    multiple successive generations of a pest species to the same mode of action insecticides.

    of products with the same mode of action.
                                   esidual control, should not exceed 30 days (the length of a typical pest
    generation).


    different mode of action (Group Number).

    The total exposure of all Group 28 products applied throughout the crop cycle (from seedling to harvest)
    should not exceed approximately 50% of the crop cycle or 50% of the total number of insecticide
    applications targeted at the same pest species.
    For short cycle crops (< 50 days), the duration of the crop cycle may be considered as the Group 28

    farm location.
    Avoid using less than labeled rates of Lumiderm when applied alone or in tank mixtures.
    Target the most susceptible insect life stages whenever possible.
    Monitor insect populations for product effectiveness. If poor performance occurs and it cannot be
    attributed to improper application or extreme weather conditions, a resistant pest population may be
    present. If resistance to Lumiderm develops in your area, Lumiderm or other products with a similar
    mode of action (Group 28) may not provide adequate control. If you experience difficulty with control and
    resistance is a reasonable cause, immediately consult your local company representative or agricultural
    advisor for the best alternate method of control for your area.

If Lumiderm or any other Group 28 insecticide was used, do not apply other Group 28 insecticides for control
of the same pest (see crop tables for labeled pests) for at least 60 days after emergence. If replant is
required and no other Group 28 insecticides were used within the treatment window, then replanting
rapeseed/canola, mustard or soybean seed treated with Lumiderm is allowed. Application(s) for control of the
same pest during the first 30-60 days must be with an effective product with a different mode of action (i.e., a

applications of a Group 28 insecticide.

For additional information on insect resistance monitoring, visit the Insecticide Resistance Action Committee
(IRAC) on the web at http://www.irac-online.org.

Length of control:
The length of control provided by Lumiderm will depend on the rate used, the pest being controlled, and the
environmental conditions such as soil type, soil moisture, soil pH, etc. Use the higher rates when high pest
pressure is expected to occur, when the pest is expected to occur later in the crop stage or when pests are
expected to be present continuously. Lumiderm will primarily have activity in the foliage of treated plants and
will not provide protection within the blooms and fruit. Foliar applications of other products may be needed to
protect these parts of the plant.

Application
Compatibility - Lumiderm may be applied as a water-based slurry with other registered seed treatment
fungicides and insecticides in accordance with the most restrictive of label limitations and precautions. Do
not exceed labeled dosage rates. This product cannot be mixed with any product containing a label
prohibition against such mixing. Potential mixing partners should be tested for physical compatibility with
Lumiderm and added dyes or polymers before mixing in a large tank for seed treatment.
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The crop safety of all possible mixtures with Lumiderm has not been tested. When considering the use of a
mixture without prior experience, or which is not specifically described on Lumiderm product labeling or in
other Corteva Agriscience product use instruction, it is important to first understand crop safety. Before
treating an entire seed lot with the proposed seed treatment mixture, treat a small portion of the seed lot and
conduct subsequent germination tests.

Corteva Agriscience will not be responsible for any crop injury arising from the use of a mixture that is not
specifically described on Lumiderm product labeling or in other Corteva Agriscience product use instruction.

Use Rate
Use Lumiderm as directed to listed crop seeds in the following Use-Rate Tables for control of listed insects.
Consult your Corteva Agriscience representative for further guidance.

Lumiderm Insecticide Seed Treatment Use-Rate Tables

                                                              fl oz               lb active                  mL
       Seed Crops                  Pest*                  Lumiderm/              ingredient/              Lumiderm/
                                                         100 lb of seed         100 lb of seed          100 kg of seed
 Rapeseed including             Flea Beetles               14.8 - 24.6              0.6 - 1.0               960 - 1600
 canola varieties,
 Mustard Seed                    Cutworms                   3.7 - 24.6             0.15 - 1.0               240 -1600

* Use the higher rates in areas that are predicted to have high pest pressure, in areas with high populations
of striped flea beetle, or where extended early season control is required.

                                          mg active           fl oz        lb active                             mL
                                                                                            fl oz Lumiderm/
 Seed Crop             Pest**            ingredient/      Lumiderm/     ingredient/ 100
                                                                                             140k seed unit
                                                                                                            Lumiderm/ 100
                                            seed         100 lb of seed   lb of seed                          kg of seed

 Soybean+       Bean leaf beetle,        0.075 to 0.15    1.14 to 2.28    0.046 to 0.092     0.57 to 1.14        74 to 148
                Cutworms,
                Leaf feeding thrips,
                Seed corn maggot,
                Soybean aphid,
                White grub,
                Wireworms

+
    Not registered for use in the State of California.
** Use the higher rates in areas that are predicted to have high pest pressure.
Lumiderm Soybean Seed Treatment Rate Table - Grower Guide

       Treatment Rate Per                                                      Lb AI (Cyantraniliprole)
                                         Soybean Seeding Per Acre
         Soybean Seed                                                              Rate Per Acre
         0.075 mg ai /seed                      150,000 seeds                              0.025
                                                200,000 seeds                              0.033
                                                225,000 seeds                              0.037
         0.15 mg ai /seed                       150,000 seeds                              0.05
                                                200,000 seeds                              0.066
                                                225,000 seeds                              0.074

Restriction: Do not apply a total of more than 0.4 lb ai/A of cyantraniliprole-containing products per calendar
year     this is the total cyantraniliprole applied by seed treatment, soil application, and foliar application.
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Mixing Guidance
For use in commercial seed treaters only, operating standard, calibrated seed treatment equipment. Not for
use in hopper box, planter box, slurry box, or other farmer applied applications. Treatment equipment must
be clean and free of previous pesticide deposits before applying Lumiderm. Thoroughly mix recommended
amount of Lumiderm with the required amount of water.

Add an EPA approved dye or colorant to treat the seeds per 40 CFR 153.155(b)(1) during the seed
treatment process. Ensure that all treated seed are dyed an unnatural color.

Mixing Tank Cleanout
Prior to application, start with clean, well maintained application equipment. Immediately following
application, thoroughly clean all mixing equipment to reduce the risk of forming hardened deposits, which
might become difficult to remove.

Drain mixing equipment. Thoroughly rinse mixing equipment and flush with clean water.

Clean all other associated application equipment. Take all necessary safety precautions when cleaning
equipment. Do not clean near wells, water sources or desirable vegetation. Dispose of waste rinse water in
accordance with local regulations.

 Crop Rotation
     Rapeseed/canola, mustard, or soybean seed treated with Lumiderm may be replanted immediately if
     needed due to crop failure.
     Crops on this label and the following crops or crop groups may be planted immediately following the
     last application of a cyantraniliprole containing product: Brassica Leafy Greens (Crop Subgroup 4- 16B)
     and Brassica Head and Stem Vegetables (Crop Group 5-16); Bulb Vegetables (Crop Group 3- 07);
     Cotton; Cucurbit Vegetables (Crop Group 9); Fruiting Vegetables (Crop Group 8-10); Leafy Greens
     (Crop Subgroup 4-16A) and Leaf Petiole Vegetables (Crop Subgroup 22B); Celtuce; Florence Fennel;
     Leaves of Root and Tuber Vegetables (Crop Group 2); Legume Vegetables (Crop Groups 6 and 7);
     Low Growing Berries (Berry and Fruit Crop Subgroup 13-07H); Oilseeds (Crop Group 20); Peanuts;
     Soybeans; Root and Tuber Vegetables (Crop Subgroups 1B and 1C); Tobacco.
     The following crops or crop groups may be planted 30 days following the last application of a
     cyantraniliprole containing product: Cereal Grains (Crop Group 15); Forage, Fodder and Straw of
     Cereal Grains (Crop Group 16); Grass Forage, Fodder and Hay (Crop Group 17); Nongrass Animal
     Feeds (forage, fodder, straw and hay) (Crop Group 18); Sugar beets.
     There is no plant back restriction for conversion of a treated field to, or for making a new or
     replacement planting into established orchards or fields of Bushberries (Crop Subgroup 13-07B);
     Caneberry Subgroup (Crop Subgroup 13-07A); Coffee; Citrus (Crop Group 10-10); Pome Fruits (Crop
     Group 11-10); Stone Fruits (Crop Group 12); Low Growing Berries (Crop Subgroup 13-07G); or Tree
     Nuts (Crop Group 14-12).
     All other crops cannot be planted until 12 months after the last application of a cyantraniliprole
     containing product.
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     Commercial Seed Bag Labeling
 The Federal Seed Act requires that bags containing treated seeds shall be labeled with the following
 statements:
     Treated Seed. Do not use for food, feed, or oil purposes.
     This seed has been treated with Lumiderm insecticide seed treatment (cyantraniliprole).

 In addition, the U.S. Environmental Protection Agency requires the following statements on bags
 containing seeds treated with Lumiderm (cyantraniliprole):
     Store away from food or feed.
     Do not allow children, pets, or livestock to have access to treated seed.
     Wear long-sleeved shirt, long pants and chemical-resistant gloves when handling treated seed.
     Use of Lumiderm as a seed treatment must be communicated to all personnel involved in seasonal
     insect control recommendations.
     This product is highly toxic to bees. Ensure that the planting equipment is functioning properly in
     accordance with manufacturer specifications to minimize seed coat abrasion during planting to reduce
     dust which can drift to blooming crops and weeds.
     Rapeseed/canola and mustard seed are typically planted at a soil depth of 1/2 to 1 inch and soybean
     seed at a minimum depth of 1 to 1-1/2 inches.
     Treated seed exposed on soil surface may be hazardous to wildlife. Immediately cover or collect
     seeds spilled during loading. Do not allow treated seed to remain uncovered on the soil surface.
     Dispose of all excess treated seed by burying seed away from bodies of water. Leftover treated seed
     may be double sown around the headland or buried away from water sources in accordance with local
     requirements.
     Excess treated seed may be used for ethanol production only if (a) ethanol production by-products are
     not used for livestock feed and, (2) no measurable residues of pesticides remain in the ethanol by-
     products that are used in agronomic practice.
     Dispose of seed packaging in accordance with local requirements.
     Canola seed has been treated with maximum of 1.0 lb cyantraniliprole per 100 lb seed. Therefore,
     each 1 lb cyantraniliprole treated canola seed planted per acre results in an application of 0.01 lb
     cyantraniliprole/acre.
     Do not apply a total of more than 0.4 lb ai/A of cyantraniliprole containing products per calendar year
        this is the total cyantraniliprole applied by seed treatment, soil application, and foliar application.
     Including the Lumiderm seed treatment, make no more than two applications of cyantraniliprole or
     other Group 28 products per generation to the same insect species on a crop or within a 30 day period
     (count planting date as day 1 if using treated seed). Application(s) to the next generation of target
     pest(s) must be with an effective product with a different mode of action (non-Group 28 insecticide).

 Crop Rotation
     Rapeseed/canola, mustard, or soybean seed treated with Lumiderm may be replanted immediately if
     needed due to crop failure.
     Crops on this label and the following crops or crop groups may be planted immediately following the
     last application of a cyantraniliprole containing product: Brassica Leafy Greens (Crop Subgroup 4- 16B)
     and Brassica Head and Stem Vegetables (Crop Group 5-16); Bulb Vegetables (Crop Group 3- 07);
     Cotton; Cucurbit Vegetables (Crop Group 9); Fruiting Vegetables (Crop Group 8-10); Leafy Greens
     (Crop Subgroup 4-16A) and Leaf Petiole Vegetables (Crop Subgroup 22B); Celtuce; Florence Fennel;
     Leaves of Root and Tuber Vegetables (Crop Group 2); Legume Vegetables (Crop Groups 6 and 7);
     Low Growing Berries (Berry and Fruit Crop Subgroup 13-07H); Oilseeds (Crop Group 20); Peanuts;
     Soybeans; Root and Tuber Vegetables (Crop Subgroups 1B and 1C); Tobacco.
     The following crops or crop groups may be planted 30 days following the last application of a
     cyantraniliprole containing product: Cereal Grains (Crop Group 15); Forage, Fodder and Straw of
     Cereal Grains (Crop Group 16); Grass Forage, Fodder and Hay (Crop Group 17); Nongrass Animal
     Feeds (forage, fodder, straw and hay) (Crop Group 18); Sugar beets.
     There is no plant back restriction for conversion of a treated field to, or for making a new or
     replacement planting into established orchards or fields of Bushberries (Crop Subgroup 13-07B);
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     Caneberry Subgroup (Crop Subgroup 13-07A); Coffee; Citrus (Crop Group 10-10); Pome Fruits (Crop
     Group 11-10); Stone Fruits (Crop Group 12); Low Growing Berries (Crop Subgroup 13-07G); or Tree
     Nuts (Crop Group 14-12).
     All other crops cannot be planted until 12 months after the last application of a cyantraniliprole-
     containing product.

NOTICE TO BUYER Purchase of this material does not confer any rights under patents of countries
outside of the United States.

    Terms and Conditions of Use
If terms of the following Warranty Disclaimer, Inherent Risks of Use and Limitation of Remedies are not
acceptable, return unopened package at once to the seller for a full refund of purchase price paid. To the
extent permitted by law, use by the buyer or any other user constitutes acceptance of the terms under
Warranty Disclaimer, Inherent Risks of Use and Limitation of Remedies.

    Warranty Disclaimer
Corteva Agriscience warrants that this product conforms to the chemical description on the label and is
reasonably fit for the purposes stated on the label when used in strict accordance with the directions, subject
to the inherent risks set forth below. To the extent permitted by law, Corteva Agriscience MAKES NO
OTHER EXPRESS OR IMPLIED WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR
PURPOSE OR ANY OTHER EXPRESS OR IMPLIED WARRANTY.

    Inherent Risks of Use
It is impossible to eliminate all risks associated with use of this product. Crop injury, lack of performance, or
other unintended consequences may result because of such factors as use of the product contrary to label
instructions (including conditions noted on the label, such as unfavorable temperatures, soil conditions, etc.),
abnormal conditions (such as excessive rainfall, drought, tornadoes, hurricanes), presence of other
materials, the manner of application, or other factors, all of which are beyond the control of Corteva
Agriscience or the seller. Corteva Agriscience will not be responsible for losses or damages resulting from
the use of this product in any manner not specifically directed by Corteva Agriscience. To the extent
permitted by law, all such risks associated with non-directed use shall be assumed by buyer and/or user.

    Limitation of Remedies
To the extent permitted by law, the exclusive remedy for losses or damages resulting from this product
(including claims based on contract, negligence, tort, strict liability, or other legal theories), shall be limited to,
at Corteva Agriscience's election, one of the following:

1. Refund of purchase price paid by buyer or user for product bought, or
2. Replacement of amount of product used.

To the extent permitted by law, Corteva Agriscience shall not be liable for losses or damages resulting from
handling or use of this product unless Corteva Agriscience is promptly notified of such loss or damage in
writing. To the extent permitted by law, in no case shall Corteva Agriscience be liable for consequential,
incidental or special damages or losses.

The terms of the Warranty Disclaimer, Inherent Risks of Use and this Limitation of Remedies cannot be
varied by any written or verbal statements or agreements. No employee or sales agent of Corteva
Agriscience or the seller is authorized to vary or exceed the terms of the Warranty Disclaimer or this
Limitation of Remedies in any manner.



EPA accepted __/__/____
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                              Attachment 12
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                            OFFICE OF CHEMICAL SAFETY
                                                                                            AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

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593334

        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under Syngenta’s control,
       Syngenta must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
       under the previously approved labeling for no longer than 12 months from the date of this letter
       or 75 days after the final state approval from those submitted under Term #2, whichever is
       earlier.

    4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
       product that bears the previously approved label but is not under Syngenta’s control as of the
       date of this letter. However, Syngenta should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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593334

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                                      [Master Label]

                           RESTRICTED USE PESTICIDE
          DUE TO TOXICITY TO FISH, MAMMALS, AND AQUATIC ORGANISMS.
         FOR RETAIL SALE TO AND USE ONLY BY CERTIFIED APPLICATORS OR
      PERSONS UNDER THEIR DIRECT SUPERVISION, AND ONLY FOR THOSE USES
            COVERED BY THE CERTIFIED APPLICATORS CERTIFICATION.

 Not for sale, sale into, distribution and/or use in Nassau and Suffolk counties of New
 York State

 Minecto® Pro

 Insecticide/Miticide

                                             ABAMECTIN        GROUP 6 INSECTICIDE
                                             CYANTRANILIPROLE GROUP 28 INSECTICIDE

 Active Ingredient:
 Cyantraniliprole*. .................................................................................................12.70%
 Abamectin** ........................................................................................................... 2.68%
 Other Ingredients:                                                                                                   84.62%
 Total:                                                                                                             100.00%

 Minecto Pro is formulated as a suspension concentrate and contains 1.13 lb
 cyantraniliprole and 0.24 lb abamectin per gallon.
 *
     CAS No. 736994-63-1
 **
     CAS No. 71751-41-2

 KEEP OUT OF REACH OF CHILDREN.

 WARNING/AVISO
 Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en
 detalle. (If you do not understand the label, find someone to explain it to you in detail.)

 See additional precautionary statements and directions for use inside booklet.

 EPA Reg. No. 100-1592
 EPA Est. No. XXXX

 SCP XXXX

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 1.0 FIRST AID
                                            FIRST AID
   If swallowed          Call  poison  control  center or doctor immediately for treatment
                         advice.
                         Have a person sip a glass of water if able to swallow.
                         Do not induce vomiting unless told to do so by a poison control
                         center or doctor.
                         Do not give anything by mouth to an unconscious person.
   If inhaled            Move person to fresh air.
                         If person is not breathing, call 911 or an ambulance, then give
                         artificial respiration, preferably mouth-to-mouth, if possible.
                         Call a poison control center or doctor for further treatment
                         advice.
   If on skin or         Take off contaminated clothing.
   clothing              Rinse skin immediately with plenty of water for 15-20 minutes.
                         Call a poison control center or doctor for treatment advice.
   If in eyes            Hold eye open and rinse slowly and gently with water for 15-20
                         minutes. Remove contact lenses, if present, after the first 5
                         minutes, then continue rinsing eye.
                         Call a poison control center or doctor for treatment advice.
                                      NOTE TO PHYSICIAN
   Early signs of intoxication include dilation of pupils, muscular incoordination, and
   muscular tremors. Toxicity following accidental ingestion of this product can be
   minimized by early administration of chemical adsorbents (e.g., activated charcoal).

   If toxicity from exposure has progressed to cause severe vomiting, the extent of
   resultant fluid and electrolyte imbalance should be gauged. Appropriate supportive
   parenteral fluid replacement therapy should be given, along with other required
   supportive measures (such as maintenance of blood pressure levels and proper
   respiratory functionality) as indicated by clinical signs, symptoms, and
   measurements.

   In severe cases, observations should continue for at least several days until clinical
   condition is stable and normal. Because abamectin, one of the active ingredients in
   this formulation, is believed to enhance GABA activity in animals, it is probably wise
   to avoid drugs that enhance GABA activity (barbiturates, benzodiazepines, valproic
   acid) in patients with potentially toxic abamectin exposure.
   Have the product container or label with you when calling a poison control center or
                             doctor, or going for treatment.
                                   HOTLINE NUMBER
             For 24-Hour Medical Emergency Assistance (Human or Animal)
         Or Chemical Emergency Assistance (Spill, Leak, Fire or Accident), Call
                                    1-800-888-8372
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 2.0 PRECAUTIONARY STATEMENTS
 2.1 Hazards to Humans and Domestic Animals
                                    WARNING/AVISO

 May be fatal if swallowed. Harmful if inhaled. Harmful if absorbed through the skin.
 Causes moderate eye irritation. Avoid breathing vapor or spray mist. Avoid contact
 with skin, eyes, or clothing.

  Attention: This product contains a chemical known to the State of California to
  cause birth defects or other reproductive harm.


 2.2 Personal Protective Equipment (PPE)
 Mixers, loaders, applicators, and other handlers must wear:
       Long-sleeved shirt
       Long pants
       Shoes and socks
       Chemical-resistant gloves made of barrier laminate, butyl rubber 14 mils, nitrile
       rubber 14 mils, neoprene rubber 14 mils, polyvinyl chloride (PVC) 14 mils,
       or Viton 14 mils

 2.2.1 User Safety Requirements
 Discard clothing and other absorbent materials that have been drenched or heavily
 contaminated with this products concentrate. DO NOT reuse them. Follow the
 manufacturer's instructions for cleaning/maintaining PPE. If no such instructions for
 washables exist, use detergent and hot water. Keep and wash PPE separately from
 other laundry.

  2.2.2 User Safety Recommendations

    Users should:
      Wash hands before eating, drinking, chewing gum, using tobacco, or using
      the toilet.
      Remove clothing/PPE immediately if pesticide gets inside. Then wash
      thoroughly and put on clean clothing.
      Remove PPE immediately after handling this product. Wash the outside of
      gloves before removing. As soon as possible, wash thoroughly and change
      into clean clothing.
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 2.2.3 Engineering Control Statements
 When handlers use closed systems, enclosed cabs, or aircraft in a manner that meets
 the requirements listed in the Worker Protection Standard (WPS) for agricultural
 pesticides (40 CFR 170.240(d)(4-6)), the handler PPE requirements may be reduced or
 modified as specified in the WPS.

 2.3 Environmental Hazards
 This pesticide is toxic to fish, aquatic invertebrates, oysters, and wildlife. For terrestrial
 uses: Do not apply directly to water, or to areas where surface water is present, or to
 intertidal areas below the mean high water mark. Do not apply when weather
 conditions favor drift from target areas. Drift and runoff may be hazardous to aquatic
 organisms in water adjacent to use sites. Do not contaminate water when disposing of
 equipment washwater or rinsate.

 This product is highly toxic to bees exposed to direct treatment or residues on blooming
 crops or weeds. Do not apply this product or allow it to drift to blooming crops or weeds
 if bees are foraging the treatment area.

 Use of this product may pose a risk to threatened and endangered species of fish,
 amphibians, crustaceans (including fresh water shrimp), and insects. All use of this
 product in the state of California should comply with the recommendations of the
 California Endangered Species Project. Before using this product in California, consult
 with your county agriculture commissioner to determine use limitations that apply in your
 area.

 2.3.1 Surface Water Advisory
 This product may impact surface water quality due to runoff of rain water. This is
 especially true for poorly draining soils and soils with shallow groundwater. This
 product is classified as having high potential for reaching both surface water and
 aquatic sediment via runoff for several weeks to months after application. A level, well-
 maintained vegetative buffer strip between areas to which this product is applied and
 surface water features such as ponds, streams, and springs will reduce the potential
 loading of cyantraniliprole and abamectin from runoff water and sediment.

 2.3.2 Runoff Prevention
 To protect the environment, do not allow pesticide to enter or run off into storm drains,
 drainage ditches, gutters, or surface waters. For foliar uses, do not apply during rain.
 Applying this product in calm weather when rain is not predicted for the next 24 hours
 will help ensure that wind or rain does not blow or wash pesticide off the treatment area.
 Rinsing application equipment over the treated area will help avoid run off to water
 bodies or drainage systems.

 2.3.3 Groundwater Advisory
 One of the active ingredients in this product, cyantraniliprole, has properties and
 characteristics associated with chemicals detected in groundwater. Cyantraniliprole
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 may leach into groundwater if used in areas where soils are permeable, particularly
 where the water table is shallow.



                        PROTECTION OF POLLINATORS



                            APPLICATION RESTRICTIONS EXIST FOR THIS PRODUCT
   BECAUSE OF RISK TO BEES AND OTHER INSECT POLLINATORS. FOLLOW APPLICATION
   RESTRICTIONS FOUND IN THE DIRECTIONS FOR USE TO PROTECT POLLINATORS.


   Look for the bee hazard icon           in the Directions for Use for each application site
   for specific use restrictions and instructions to protect bees and other insect
   pollinators.
   This product can kill bees and other insect pollinators.
   Bees and other insect pollinators will forage on plants when they flower, shed pollen, or
   produce nectar.
   Bees and other insect pollinators can be exposed to this pesticide from:
       o Direct contact during foliar applications, or contact with residues on plant surfaces
           after foliar applications
       o Ingestion of residues in nectar and pollen when the pesticide is applied as a seed
           treatment, soil, tree injection, as well as foliar applications.
   When Using This Product Take Steps To:
       o Minimize exposure of this product to bees and other insect pollinators when they are
           foraging on pollinator attractive plants around the application site.
       o Minimize drift of this product on to beehives or to off-site pollinator attractive habitat.
           Drift of this product onto beehives or off-site to pollinator attractive habitat can result
           in bee kills.
   Information on protecting bees and other insect pollinators may be found at the Pesticide
   Environmental Stewardship website at:
   http://pesticidestewardship.org/PollinatorProtection/Pages/default.aspx.
   Pesticide incidents (for example, bee kills) should immediately be reported to the state/tribal
   lead agency. For contact information for your state, go to: www.aapco.org/officials.html.
   Pesticide incidents should also be reported to the National Pesticide Information Center at:
   www.npic.orst.edu or directly to EPA at: beekill@epa.gov.
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                            DIRECTIONS FOR USE
                              RESTRICTED USE PESTICIDE

 It is a violation of Federal Law to use this product in a manner inconsistent with its
 labeling.

 Do not apply this product in a way that will contact workers or other persons, either
 directly or through drift. Only protected handlers may be in the area during application.
 For any requirements specific to your State or Tribe, consult the agency responsible for
 pesticide regulation.

 See individual crops for specific pollinator protection application restrictions. If
 none exist under the specific crop, for foliar applications, follow these application
 directions for crops that are contracted to have pollinator services or for
 food/feed crops & commercially grown ornamentals that are attractive to
 pollinators.

                  FOR CROPS UNDER CONTRACTED POLLINATION SERVICES

                  Do not apply this product while bees are foraging. Do not apply
                  this product until flowering is complete and all petals have fallen
                  unless the following condition has been met:

                  If an application must be made when managed bees are at the
                  treatment site, the beekeeper providing the pollination services
                  must be notified no less than 48 hours prior to the time of the
                  planned application so that the bees can be removed, covered, or
                  otherwise protected prior to spraying.

                  FOR FOOD/FEED CROPS AND COMMERCIALLY GROWN
                  ORNAMENTALS NOT UNDER CONTRACT FOR POLLINATION
                  SERVICES BUT WHICH ARE ATTRACTIVE TO POLLINATORS

                  Do not apply this product while bees are foraging. Do not apply
                  this product until flowering is complete and all petals have fallen
                  unless one of the following conditions is met:

                     The application is made to the target site after sunset.
                     The application is made to the target site when temperatures
                     are below 55F.
                     The application is made in accordance with a government-
                     initiated public health response.
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                      The application is made in accordance with an active state-
                      administered apiary registry program where beekeepers are
                      notified no less than 48 hours prior to the time of the planned
                      application so that the bees can be removed, covered, or
                      otherwise protected prior to spraying.
                      The application is made due to an imminent threat of
                      significant crop loss, and a documented determination
                      consistent with an IPM plan or predetermined economic
                      threshold is met. Every effort should be made to notify
                      beekeepers no less than 48 hours prior to the time of the
                      planned application so that the bees can be removed, covered,
                      or otherwise protected prior to spraying.

 Minecto Pro must be used only in accordance with instructions on this label, in a
 supplemental label, or in state-specific 24C labeling. Always read the entire label,
 including the Conditions of Sale and Limitation of Warranty and Liability.

 Endangered and Threatened Species Protection Requirements:
 Before using this product, you must obtain any applicable Endangered Species
 Protection Bulletins (Bulletins) within six months prior to or on the day of application.
 To obtain Bulletins, go to Bulletins Live! Two (BLT) at
 https://www.epa.gov/pesticides/bulletins. When using this product, you must follow
 all directions and restrictions contained in any applicable Bulletin(s) for the area where
 you are applying the product, including any restrictions on application timing if
 applicable. It is a violation of federal law to use this product in a manner inconsistent
 with its labeling, including this labeling instruction to follow all directions and restrictions
 contained in any applicable Bulletin(s). For general questions or technical help, call 1-
 844-447-3813, or email ESPP@epa.gov.
 FAILURE TO FOLLOW DIRECTIONS AND PRECAUTIONS ON THIS LABEL MAY
 RESULT IN CROP INJURY, POOR PEST CONTROL, OR ILLEGAL RESIDUES.

                        AGRICULTURAL USE REQUIREMENTS

     Use this product only in accordance with its labeling and with the Worker Protection
     Standard, 40 CFR part 170. This Standard contains requirements for the
     protection of agricultural workers on farms, forests, nurseries, and greenhouses,
     and handlers of agricultural pesticides. It contains requirements for training,
     decontamination, notification, and emergency assistance. It also contains specific
     instructions and exceptions pertaining to the statements on the label about
     personal protective equipment (PPE), and restricted-entry interval, and notification
     to workers (as applicable). The requirements in this box only apply to uses of this
     product that are covered by the Worker Protection Standard (WPS).

     Do not enter or allow worker entry into treated areas during the restricted-
     entry interval (REI) of 12 hours.
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     PPE required for early entry to treated areas that is permitted under the Worker
     Protection Standard and that involves contact with anything that has been treated,
     such as plants, soil, or water, is:
           Coveralls
           Shoes and socks
           Chemical-resistant gloves made of barrier laminate, butyl rubber 14 mils,
           nitrile rubber 14 mils, neoprene rubber 14 mils, polyvinyl chloride (PVC)
              14 mils, or Viton 14 mils



 3.0 PRODUCT INFORMATION
 Minecto Pro is a suspension concentrate that can be mixed with water and applied as a
 foliar spray to control a broad spectrum of insects and mites, as listed on this label. It is
 specially formulated for optimal performance by foliar application on the target crops.

 3.0.1 Mode of Action
 Minecto Pro contains two active ingredients, cyantraniliprole and abamectin.
 Cyantraniliprole is a member of the anthranilic diamide class of insecticides with a novel
 mode of action on insect ryanodine receptors. Abamectin is a member of the
 avermectin class of miticide/insecticide with a unique agonist mode of action on the
 neurotransmitter gamma-aminobutyric acid (GABA).

 Although Minecto Pro has some contact activity, it is most effective through ingestion of
 plant material. After exposure to Minecto Pro, affected insects and mites will rapidly
 stop feeding, become paralyzed, and typically die within 1-3 days, reducing both direct
 damage and the transmission of some arthropod-vectored plant diseases. Minecto Pro
 has preventative activity but low curative activity for sucking pests.

 3.0.2 Pest Suppression
 Suppression can mean either inconsistent control (good to poor) or consistent control at
 a level below that generally considered acceptable for commercial control.

 3.0.3 Crop Tolerance
 Not all crops within a crop group, and not all varieties, cultivars, or hybrids of crops,
 have been individually tested for crop safety. It is not possible to evaluate for crop
 safety all applications of Minecto Pro on all crops within a crop group, on all varieties,
 cultivars, or hybrids of those crops, or under all environmental conditions and growing
 circumstances. To test for crop safety, apply the product in accordance with the label
 instructions to a small area of the target crop to ensure that a phytotoxic response will
 not occur, especially where the application is a new use of the product by the applicator.
 Refer to Section 4.4.2 for information regarding crop safety of tank mixtures.
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 3.1 Integrated Pest Management (IPM)
 Syngenta supports the use of Integrated Pest Management (IPM) programs to control
 pests. This product may be used as part of an IPM program, which can include
 biological, cultural, and genetic practices aimed at preventing economic pest damage.
 IPM principles and practices include field scouting or other detection methods, correct
 target pest identification, population monitoring, rotation of insecticides with different
 modes of action, and treating when target pest populations reach locally determined
 action thresholds. Consult your state cooperative extension service, professional
 consultants, or other qualified authorities to determine appropriate action treatment
 threshold levels for treating specific pest/crop or site systems in your area.


 3.2 Resistance Management
                                 ABAMECTIN        GROUP 6 INSECTICIDE
                                 CYANTRANILIPROLE GROUP 28 INSECTICIDE

 For resistance management, please note that Minecto Pro contains both a Group 28
 (cyantraniliprole) insecticide and Group 6 (abamectin) miticide/insecticide. Any
 insect/mite population may contain individuals naturally resistant to Minecto Pro and
 other Group 28 insecticides or Group 6 miticides/insecticides. The resistant individuals
 may dominate the insect/mite population if these insecticides/miticides are used
 repeatedly in the same fields. Appropriate resistance-management strategies should be
 followed.

 To delay insecticide/miticide resistance, take the following steps:

    Rotate the use of Minecto Pro or other Group 28 insecticides or Group 6
    miticides/insecticides within a growing season, or among growing seasons, with
    different groups that control the same pests.

    Use tank mixtures with insecticides/miticides from a different group that are equally
    effective on the target pest when such use is permitted. Do not rely on the same
    mixture repeatedly for the same pest population. Consider any known cross-
    resistance issues (for the targeted pests) between the individual components of a
    mixture. In addition, consider the following recommendations provided by the
    Insecticide Resistance Action Committee (IRAC):

        o Individual insecticides selected for use in mixtures should be highly effective
          and be applied at the rates at which they are individually registered for use
          against the target species.
        o Mixtures with components having the same IRAC mode of action classification
          are not recommended for insect resistance management.
        o When using mixtures, consider any known cross-resistance issues between the
          individual components for the targeted pest(s).
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       o Mixtures become less effective if resistance is already developing to one or
         both active ingredients, but they may still provide pest management benefits.
       o The insect resistance management benefits of an insecticide mixture are
         greatest if the two components have similar periods of residual insecticidal
         activity. Mixtures of insecticides with unequal periods of residual insecticide
         activity may offer an insect resistance management benefit only for the period
         where both insecticides are active.

    Adopt an integrated pest management program for insecticide/miticide use that
    includes scouting, uses historical information related to pesticide use, crop rotation,
    record keeping, and which considers cultural, biological, and other chemical control
    practices.

    Monitor after application for unexpected target pest survival. If the level of survival
    suggests the presence of resistance, consult with your local university specialist or
    certified pest control advisor.

    Contact your local extension specialist or certified crop advisors for any additional
    pesticide resistance-management and/or IPM recommendations for the specific site
    and pest problems in your area.

    For further information or to report suspected resistance, contact your local
    Syngenta representative.

 3.2.1 Maintaining Susceptibility to These Classes of Chemistry

    Avoid using Group 28 insecticides or Group 6 miticides/insecticides exclusively for
    season-long control of insect or mite species with more than one generation per crop
    season.
    For insect or mite species with successive or overlapping generations, apply Minecto
    Pro or other Group 28 insecticides or Group 6 miticides/insecticides using a
    treatment window approach. A treatment window is a period of time as defined by
    the stage of crop development and/or the biology of the pests of concern. Within the
    treatment window, depending on the length of residual activity, there may either be
    single or consecutive applications (seed treatment, soil, foliar, unless otherwise
    stated) of the Group 28 insecticides or Group 6 miticides/insecticides. Do not
    exceed the maximum Minecto Pro allowed per year.
    Following a treatment window of Group 28 insecticides or Group 6
    miticides/insecticides, rotate to a treatment window of effective products with a
    different mode of action before making additional applications of Group 28
    insecticides or Group 6 miticides/insecticides.
    A treatment window rotation, along with other IPM practices for the crop and use
    area, is considered an effective strategy for preventing or delaying a pests ability to
    develop resistance to these classes of chemistry.
    If resistance is suspected, do not reapply Minecto Pro or other Group 28 insecticides
    or Group 6 miticides/insecticides.
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 3.2.2 Other Sources for Information on Insect or Mite Resistance Management
    Contact your local extension specialist, certified crop advisor, and/or product
    manufacturer for additional insect resistance management recommendations.
    Visit the Insecticide Resistance Action Committee (IRAC) on the web at:
    http://www.irac-online.org/.
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 4.0 APPLICATION DIRECTIONS
 4.1 Methods of Application
 Foliar applications of Minecto Pro are permitted by ground, air, or chemigation as
 specified in Section 7.0, unless otherwise restricted in Section 6.1.


 4.2 Application Equipment
 Minecto Pro may be applied by foliar ground or aerial application equipment, except as
 otherwise directed in Section 7.0 or Section 6.1.

 4.2.1 Spray Tank Clean-Out

    Prior to application, start with clean, well maintained application equipment.
    Immediately following application, thoroughly clean all spray equipment to reduce
    the risk of forming hardened deposits which might become difficult to remove.
    Drain application equipment. Thoroughly rinse and flush all application equipment
    with clean water.
    Clean all other associated equipment. Take all necessary safety precautions when
    cleaning equipment. Do not clean near wells, water sources, or desirable
    vegetation.
    Dispose of waste rinse water in accordance with local regulations.


 4.3 Application Volume and Spray Coverage
 See Section 7.0 for additional application volume information.
    Thorough spray coverage is essential for good insect and mite control.
    Use sufficient water carrier to obtain thorough, uniform coverage.
    The highest labeled rate for a specified pest may be needed when aerial
    applications are made.


 4.4 Mixing Directions
    It is the pesticide user's responsibility to ensure that all products are registered for
    the intended use. Read and follow the applicable restrictions and limitations and
    directions for use on all product labels involved in tank mixing. Users must follow
    the most restrictive directions for use and precautionary statements of each product
    in the tank mixture.
    Refer to Section 4.4.5 for instructions on the use of adjuvants with this product.
    If the pH of the spray tank after all products have been added and mixed is above
    pH 8, adjust to a range of pH 5-8 using a registered acidifying agent.
    If the spray tank pH is 8 or less, no adjustment of the spray tank pH is necessary.
    Do not store the spray mixture overnight in the spray tank.
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 4.4.1 Minecto Pro Alone
 1. Fill clean spray tank 1/4 - 1/2 full of water.
 2. Add Minecto Pro directly to the spray tank.
 3. Mix thoroughly to fully disperse the insecticide/miticide. Once dispersed, continuous
    agitation is required.
 4. Use mechanical or hydraulic means; do not use air agitation.
 5. Observe the most restrictive of the labeling limitations and precautions of all
    products used in mixtures.

 4.4.2 Tank-Mix Precautions
    This product may be mixed with pesticide products labeled for use on crops on this
    label in accordance with the most restrictive of label limitations and precautions.
    Do not exceed labeled dosage rates.
    This product cannot be mixed with any product containing a label prohibition against
    such mixing.

 Crop Safety of Tank Mixtures
    The crop safety of Minecto Pro in tank mix with many common insecticides,
    fungicides, nutritionals, and adjuvants has been found to be acceptable. However,
    the safety of all potential tank mixes on all crops may not have been tested. See
    crop tables in this label for specific information when using Minecto Pro in tank mixes
    on those crops. Before applying any tank mixture not specifically recommended on
    this label, the safety to the target crop should be confirmed.
    Some of the following materials when applied individually, sequentially, or in tank
    mixtures may solubilize the plant cuticle, facilitate penetration into plant tissues, and
    increase the potential for crop injury.
    o Oils
    o Surfactants
    o Adjuvants
    o Nutritionals
    o Pesticide formulations
    Applying Minecto Pro with any product that produces adverse crop response in a
    tank mixture, specifically including but not limited to those listed in the crop tables,
    may also cause adverse crop response when applied in a short time sequence.
    Such uses should be tested as described below before broad application is made.
    Crop varieties can differ in their responsiveness to tank mixtures, and environmental
    conditions can have an influence on product performance and crop response. It is
    not possible to test Minecto Pro alone or with all possible tank-mix combinations and
    sequences on all varieties under all environmental conditions.
    When considering the use of a tank mixture on a labeled crop without prior
    experience, or which is not specifically described on Minecto Pro product labeling or
    in other Syngenta product use instructions, or when applying the aforementioned
    products in close sequence with Minecto Pro, it is important to check crop safety
    first.
    To test for crop safety, prepare a small volume of the intended tank mixture or
    sequence, apply it to an area of the target crop as directed by both this and the tank
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    mix partner product labels, and observe the treated crop to ensure that a phytotoxic
    response does not occur.
    Use of Minecto Pro in any tank mixture or sequence of applications that is not
    specifically described on Minecto Pro product labeling, or in other Syngenta product
    use instructions, could potentially result in crop injury.
    Follow the precautions on this label and on the label for any other product to be used
    in tank mixtures or in sequential applications before making such applications to
    your crops. Follow the most restrictive label.
    To the extent allowed by applicable law, Syngenta will not be responsible for any
    crop injury arising from the use of a tank mixture or sequence of applications that is
    not specifically described on Minecto Pro product labeling or in other Syngenta
    product use instructions.

 Physical Compatibility of Tank Mixtures
   Minecto Pro has been tested and shown to have broad physical compatibility with
   many commonly used pesticides, spray adjuvants, and nutritional products.
   However, since it is not possible to test all potential mixtures, it is recommended that
   the user conduct a jar test for physical compatibility (Section 4.4.3) of all
   components of the proposed mixture using proper concentrations of each mixture
   component.
   Avoid mixtures of several materials and very concentrated spray mixtures.

 4.4.3 Tank-Mix Compatibility Test

 Minecto Pro is physically compatible with many commonly used fungicides, herbicides,
 insecticides, biological control products, liquid fertilizers, non-ionic surfactants, crop oils,
 methylated seed oils, and drift control additives. However, since the formulations of
 products change, it is important to test the physical compatibility of desired tank mixes
 and check for undesirable physical effects, including settling out or flocculation.

 A jar compatibility test is recommended prior to tank mixing with other pesticides and/or
 adjuvants/additives, in order to ensure the compatibility of Minecto Pro with other tank-
 mixed pesticide, adjuvant, or fertilizer partners. The recommended procedure for
 conducting jar tank-mix compatibility tests is as follows:

 Compatibility Test: Since pesticides, adjuvants, and fertilizers can vary in quality,
 always check tank-mix compatibility with tank-mixed partners each time before
 use. Be especially careful when using complete suspension or fluid fertilizers as
 carriers, as serious compatibility problems are more likely to occur with these products.
 Commercial application equipment may improve tank-mix compatibility in some
 instances. The following test assumes a spray volume of 25 gallons/A. For other spray
 volumes, make appropriate changes in the components. Check tank-mix compatibility
 using this procedure:

 1. Add 1 pt of carrier (either the water or liquid fertilizer to be used in the spray
    operation) to each of two clear 1-qt jars with tight lids.
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 2. To one of the jars, add ¼ teaspoon or 1.2 ml of a commercially available tank-mix
    compatibility agent approved for this use (¼ teaspoon is equivalent to 2 pt/100
    gallons of spray). Invert the jar, shake, or stir gently to ensure thorough mixing.
 3. To both jars, add the appropriate amount of each tank-mix partner. If more than
    one tank-mix partner is to be used, add them separately with dry formulations
    (wettable powders or water dispersible granules) first, followed by liquid flowables,
    capsule suspensions, emulsifiable concentrates and finally adjuvants. After each
    addition, invert the jar, shake, or stir gently to thoroughly mix. The appropriate
    amount of each tank-mix partner for this test, is as follows:
        Dry formulations: For each pound to be applied per acre, add 1.5 level
        teaspoons to each jar.
        Liquid formulations: For each pint to be applied per acre, add 1/2 teaspoon or
        2.5 milliliters to each jar.
 4. After adding all ingredients, put lids on and tighten, then invert each jar 10 times to
    fully mix. Let the mixtures stand for 15-30 minutes and then assess by looking for
    separation, large flakes, precipitates, gels, heavy oily film on the jar, or other signs of
    incompatibility. Determine if a compatibility agent is needed in the spray mixture by
    comparing the two jars. If either mixture separates, but can be remixed readily, the
    mixture can be sprayed as long as good agitation is used. If the mixtures are
    incompatible, test the following methods of improving compatibility: (A) slurry dry
    formulations in water before addition, or (B) add the compatibility agent directly into
    liquid formulations, before addition to the tank-mixture. If these procedures are
    followed but incompatibility is still observed, do not use the tank-mixture.

 4.4.4 Minecto Pro in Tank Mixtures
 Add different formulation types in the sequence indicated below, unless otherwise
 specified by manufacturer directions for use or by local experience. Allow time for
 complete mixing and dispersion after addition or each product.
     1. Water-soluble bag (WSB)
     2. Water-soluble granules (SG)
     3. Water-dispersible granules (WG, XP, DF)
     4. Wettable powders (WP)
     5. Minecto Pro and other water-based suspension concentrates (SC)
     6. Water-soluble concentrates (SL)
     7. Suspoemulsions (SE)
     8. Oil-based suspension concentrates (OD)
     9. Emulsifiable concentrates (EC)
     10. Surfactants, oils, adjuvants
     11. Soluble fertilizers
     12. Drift retardants

 4.4.5 Spray Additives
    To avoid illegal crop residues, Minecto Pro must always be mixed with a non-
    phytotoxic, non-ionic activator type wetting, spreading and/or penetrating spray
    adjuvant or horticultural oil (not a dormant oil) and applied as specified in Section
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    7.0 for each crop on this label.
    Non-ionic activator type wetting, spreading and/or penetrating spray adjuvants
    include:
    o Non-ionic surfactants (NIS) with at least 75% surface active agent
    o Crop oil concentrates (COC)
    o Vegetable oil concentrates (VOC)
    o Methylated seed/vegetable oils (MSO)
    o Organosilicones (OS) with at least 15% emulsifiers/surfactants
    o Blends of these non-ionic activator type spray adjuvants
    Since spray adjuvants alone are known to cause phytotoxicity to certain crops under
    certain environmental conditions, do not use Minecto Pro on a spray-adjuvant-
    sensitive crop unless the spray adjuvant supplier can confirm a known non-
    phytotoxic labeled use rate for the intended spray adjuvant on the target crop.
    Spray adjuvants must be compatible with Minecto Pro and must be used at
    concentrations specified on the spray adjuvant product label directions for use for
    the targeted crop unless more specific directions are provided in the Section 7.0 for
    individual crops on this label.
    Do not use binder or sticker type adjuvants because these type adjuvants may
    reduce translaminar movement of the active ingredient into the plant and can
    result in reduced efficacy.
    Syngenta recommends the use of a Chemical Producers and Distributors
    Association (CPDA) certified spray adjuvant.

 4.5 Application through Irrigation Systems (Chemigation)
 4.5.1 Chemigation Precautions
     Apply this product at rates and timings described in Section 7.0.
     Apply this product only through overhead sprinkler irrigation systems including
     center pivot, lateral move, end tow, side (wheel) roll, traveler, big gun, solid set, or
     hand move irrigation systems. Do not apply this product through any other type of
     irrigation system.
     Never put Minecto Pro into a dry tank or other mixing equipment without first adding
     water. See Section 4.4 for more information.
     Inject Minecto Pro downstream from any water filtration system.
     The irrigation system used must provide uniform water distribution. Crop injury, lack
     of effectiveness, or illegal pesticide residues in the crop can result from non-uniform
     distribution of treated water.
     End guns must be turned off during application if they irrigate non-target areas or if
     they do not provide uniform application and coverage.
     Nozzles in the immediate area of wells, control panels, chemical supply tanks, and
     system safety devices are to be plugged to prevent contamination of these areas.
     Do not apply when system connections or fittings leak or when nozzles do not
     provide uniform distribution.
     Do not allow irrigation water to collect or run-off during chemigation application.
     Do not apply when wind speeds favor drift beyond the area intended.
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    Apply in 0.1-0.20 inches/acre. Excessive water may reduce efficacy.
    Ensure the irrigation system is calibrated to uniformly distribute the chemigation
    application to the crop. If you have questions about calibration, you should contact
    State Extension Service specialists, equipment manufacturers, or other experts.
    Do not connect an irrigation system (including greenhouse systems) used for
    pesticide application to a public water system, unless the pesticide label-prescribed
    safety devices for public water systems are in place.
    A person knowledgeable of the chemigation system and responsible for its
    operation, or under the supervision of the responsible person, shall shut the system
    down and make necessary adjustments should the need arise.
    Wear the personal protective equipment as defined in Section 2.2 for applicators
    and other handlers when making adjustments or repairs on the chemigation system
    with Minecto Pro in the irrigation water.


 4.5.2 Operating Instructions for Chemigation
 1. The system must contain a functional check-valve, vacuum relief valve, and low
    pressure drain appropriately located on the irrigation pipeline to prevent water-
    source contamination from backflow.
 2. The pesticide injection pipeline must contain a functional, automatic, quick-closing
    check-valve to prevent the flow of fluid back toward the injection pump.
 3. The pesticide injection pipeline must also contain a functional, normally closed,
    solenoid-operated valve located on the intake side of the injection pump and
    connected to the system interlock to prevent fluid from being withdrawn from the
    supply tank when the irrigation system is either automatically or manually shut down.
 4. The system must contain functional interlocking controls to automatically shut off the
    pesticide injection pump when the water pump motor stops.
 5. The irrigation line or water pump must include a functional pressure switch which will
    stop the water pump motor when the water pressure decreases to the point where
    pesticide distribution is adversely affected.
 6. Systems must use a metering pump, such as a positive displacement injection pump
    (e.g., diaphragm pump), effectively designed and constructed of materials that are
    compatible with pesticides and capable of being fitted with a system interlock.

 4.5.3 Specific Instructions for Public Water Systems
 1. Do not apply Minecto Pro through an irrigation system connected to public water
    system unless the pesticide label prescribed safety devices for public water systems
    are in place. Public water system means a system for the provision to the public of
    piped water for human consumption if such system has at least 15 service
    connections or regularly serves an average of at least 25 individuals daily at least 60
    days out of the year.
 2. Chemigation systems connected to public water systems must contain a functional,
    reduced-pressure zone, back-flow preventer (RPZ) or the functional equivalent in the
    water supply line upstream from the point of pesticide introduction. As an option to
    the RPZ, the water from the public water system should be discharged into a
    reservoir tank prior to pesticide introduction. There shall be a complete physical
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    break (air gap) between the outlet end of the fill pipe and the top or overflow rim of
    the reservoir tank of at least twice the inside diameter of the fill pipe.
 3. The pesticide injection pipeline must contain a functional, automatic, quick-closing
    check valve to prevent the flow of fluid back toward the injection pump.
 4. The pesticide injection pipeline must contain a functional, normally closed, solenoid-
    operated valve located on the intake side of the injection pump and connected to the
    system interlock to prevent fluid from being withdrawn from the supply tank when the
    irrigation system is either automatically or manually shut down.
 5. The system must contain functional interlocking controls to automatically shut off the
    pesticide injection pump when the water pump motor stops, or in cases where there
    is no water pump, when the water pressure decreases to the point where pesticide
    distribution is adversely affected.
 6. Systems must use a metering pump, such as a positive displacement injection pump
    (e.g., diaphragm pump), effectively designed and constructed of materials that are
    compatible with pesticides and capable of being fitted with a system interlock.
 7. Do not apply when wind speed favors drift beyond the area intended for treatment.
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 4.5.4 Application Directions for Irrigation Systems
 1. Apply Minecto Pro in sufficient water and of sufficient duration to ensure the
     specified rate is applied evenly to the entire treated area.
 2. A pesticide tank is recommended for the application of Minecto Pro in chemigation
     systems.
 3. Thoroughly clean the injection system and tank of any fertilizer or chemical residues
     using a standard clean out procedure. Dispose of any residues in accordance with
     State and Federal laws. Consult your owners manual or your local equipment
     dealer for cleanout procedures for your injection system.
 4. With the mix tank ¼ to ½ full with water and the agitator running, measure the
     required amount of Minecto Pro and add it to the tank. Then add additional water to
     bring the total pesticide mixture up to the desired volume for application.
 5. Continue agitation throughout the application. Use mechanical or hydraulic
     agitation. Do not use air for agitation.
 6. Injection should occur at a point in the main irrigation water flow to ensure proper
     mixing with the irrigation water.
 7. For continuously moving systems, inject the solution containing Minecto Pro into the
     irrigation water line continually and uniformly throughout the irrigation cycle.
 8. For continuously moving systems, the maximum recommended water volume for
     overhead chemigation application is 0.1 acre inches of water.
 9. For overhead sprinkler irrigation systems that are stationary, add the solution
     containing Minecto Pro to the irrigation water line and apply in a maximum water
     volume of 0.20 acre inches of water.
 10. Calibrate the irrigation system and injector before applying Minecto Pro. Calibrate
     the injection pump while the system is running using the expected irrigation rate.
 11. Start the water pump and sprinkler and let the system achieve the desired pressure
     and speed before starting the injector.
 12. Start the injector and calibrate the injection system. This is necessary to deliver the
     desired product rate per acre in a uniform manner.
 13. When the application is finished, allow the entire irrigation and injector system to be
     thoroughly flushed clean before stopping the system.
 14. Thoroughly clean the injection system and tank of any fertilizer or chemical residues
     using a standard clean out procedure. Dispose of any residues in accordance with
     State and Federal laws.
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 5.0 ROTATIONAL CROP RESTRICTIONS
 The following crops may be planted at the specified interval following application of
 Minecto Pro:

 There is no plant back restriction for conversion of a treated field or for making a new or
 replacement planting into established orchards or fields of Bushberries (Crop Subgroup
 13-07B); Caneberry (Crop Subgroup 13-07A); Coffee; Citrus (Crop Group 10-10); Pome
 Fruits (Crop Group 11-10); Stone Fruits (Crop Group 12); Low Growing Berries (Crop
 Subgroup 13-07G); or Tree Nuts (Crop Group 14-12).

                                                Plant-back Restriction (in Days) following
  Crop, Crop Group, or Subgroup
                                                     Last Application of Minecto Pro
  Brassica Leafy Greens (Crop Subgroup 4-
  16B)
  Brassica Head and Stem Vegetables (Crop
  Group 5-16)
  Bulb Vegetables (Crop Group 3-07)
                                                                    0
  Celtuce
  Corn (Field, Pop, Seed and Sweet)
  Cotton
  Cucurbit Vegetables (Crop Group 9)
  Florence Fennel
  Fruiting Vegetables (Crop Group 8-10)
  Leafy Greens (Crop Subgroup 4-16A)
  Leaf Petiole Vegetables (Crop Subgroup
  22B)
  Leaves of Root and Tuber Vegetables (Crop
  Group 2)
  Legume Vegetables (Crop Groups 6 and 7)
  Low Growing Berries (Crop Subgroup 13-
  07H)
  Oilseeds (Crop Group 20)
  Peanuts
  Rice
  Root and Tuber Vegetables (Crop Subgroups
  1B and 1C)
  Soybean
  Tobacco
  Cereal Grains (Crop Group 15), Except Corn
  and Rice
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  Forage, Fodder, and Straw of Cereal Grains
  (Crop Group 16), Except Corn and Rice
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  Grass Forage, Fodder, and Hay (Crop Group
  17)
  Non-grass Animal Feeds (forage, fodder,
  straw, and hay) (Crop Group 18)
  Sugar beets
  Sugarcane
  All other crops not listed                          12 months
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 6.0 RESTRICTIONS AND PRECAUTIONS
 See Section 7.0 for crop-specific restrictions and precautions.

 6.1 Use Restrictions
    To avoid illegal residues the product must be mixed with a non-ionic activator type
    wetting, spreading, and/or penetrating spray adjuvant or horticultural oil (not a
    dormant oil). The spray adjuvant must be approved for use on the intended target
    crop.
    For foliar uses, DO NOT apply during rain.
    DO NOT treat plants grown for transplanting. Minecto Pro is not for use in nurseries,
    plant propagation houses, or greenhouses by commercial transplant producers on
    plants being grown for transplanting.
    DO NOT use on crops grown to harvest in greenhouses unless specified in the crop
    use section of this label.
    DO NOT apply Minecto Pro to the soil or through drip irrigation systems as doing so
    may damage the plant root system.
    DO NOT use in residential areas or residential landscapes.
    DO NOT apply Minecto Pro through any type of irrigation system (chemigation) to
    any crop except for bulb onions, green onions, and potatoes.
    DO NOT apply a total of more than 0.4 lb ai per acre per calendar year including all
    application types (seed treatment, soil, foliar) of cyantraniliprole-containing products
    unless otherwise stated for a specific crop.
    DO NOT apply Minecto Pro with aircraft in New York State.
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 6.2 Spray Drift Management
                                     SPRAY DRIFT
 Aerial Applications:
    Do not release spray at a height greater than 10 ft above the ground or vegetative
    canopy, unless a greater application height is necessary for pilot safety.
    For fixed wing and helicopter aerial applications, applicators are required to use a
    medium or coarser droplet size (ASABE S572.1).
    Do not apply when wind speeds exceed 15 mph at the application site. If the wind
    speed is greater than 10 mph, the boom length must be 65% or less of the wingspan
    for fixed wing aircraft and 75% or less of the rotor diameter for helicopters.
    Otherwise, the boom length must be 75% or less of the wingspan for fixed wing
    aircraft and 90% or less of the rotor diameter for helicopters.
    When the windspeed is 10 mph or less, applicators must use ¾ swath displacement
    upwind at the downwind edge of the field. When the windspeed is between 11-15
    mph, applicators must use a full swath displacement upwind at the downwind edge
    of the field.
    Do not apply during temperature inversions.

 Airblast Applications:
    Sprays must be directed into the canopy.
    When making applications to orchard crops, including citrus, with sparse canopies a
    25 foot buffer is required between the application site and all adjacent areas except
    for roads (and other paved or gravel surfaces), agricultural areas (fields that have
    been planted into or prepared for planting), and structural areas (buildings or other
    man-made structures with walls and/or a roof). A sparse canopy occurs during the
    period of dormancy starting from first leaf drop at the end of the season until
    vegetation is fully leafed out in the spring and on young orchard crops, including
    citrus, that are not yet bearing.
    Do not apply when wind speeds exceed 15 mph at the application site.
    User must turn off outward pointing nozzles at the row end and when spraying outer
    row.
    Do not apply during temperature inversions.

 Ground Boom Applications:
    User must only apply with the release height recommended by the manufacturer, but
    no more than 4 ft above the ground or crop canopy.
    Applicators are required to use a medium or coarser droplet size (ASABE S572.1).
    Do not apply when wind speeds exceed 15 mph at the application site.
    Do not apply during temperature inversions.

 6.2.1 Vegetative Buffer Strip
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    DO NOT make ground applications within 25 ft or aerial application within 150 ft of
    aquatic habitats (such as but not limited to lakes, rivers, reservoirs, permanent
    streams, wetlands or natural ponds, estuaries, and commercial fish ponds). Do not
    cultivate within 30 ft of these aquatic areas to allow growth of a vegetative filter strip.

 6.3 Spray Drift Advisories
 THE APPLICATOR IS RESPONSIBLE FOR AVOIDING OFF-SITE SPRAY DRIFT.
 BE AWARE OF NEARBY NON-TARGET SITES AND ENVIRONMENTAL
 CONDITIONS.


 6.3.1 Importance of Droplet Size
 An effective way to reduce spray drift is to apply large droplets. Use the largest droplets
 that provide target pest control. While applying larger droplets will reduce spray drift,
 the potential for drift will be greater if applications are made improperly or under
 unfavorable environmental conditions.

    Controlling Droplet Size  Ground Boom
    o Volume - Increasing the spray volume so that larger droplets are produced will
      reduce spray drift. Use the highest practical spray volume for the application. If
      a greater spray volume is needed, consider using a nozzle with a higher flow
      rate.
    o Pressure - Use the lowest spray pressure recommended for the nozzle to
      produce the target spray volume and droplet size.
    o Spray Nozzle - Use a spray nozzle that is designed for the intended application.
      Consider using nozzles designed to reduce drift.

    Controlling Droplet Size  Aircraft
    o Adjust Nozzles  Follow nozzle manufacturers recommendations for setting up
      nozzles. Generally, to reduce fine droplets, nozzles should be oriented parallel
      with the airflow in flight.


 6.3.2 Boom Height  Ground Boom
 For ground equipment, the boom should remain level with the crop and have minimal
 bounce.

 6.3.3 Release Height  Aircraft
 Higher release heights increase the potential for spray drift.

 6.3.4 Shielded Sprayers
 Shielding the boom or individual nozzles can reduce spray drift. Consider using shielded
 sprayers. Verify that the shields are not interfering with the uniform deposition of the
 spray on the target area.
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 6.3.5 Temperature and Humidity
 When making applications in hot and dry conditions, use larger droplets to reduce
 effects of evaporation.

 6.3.6 Temperature Inversions
 Drift potential is high during a temperature inversion. Temperature inversions are
 characterized by increasing temperature with altitude and are common on nights with
 limited cloud cover and light to no wind. The presence of an inversion can be indicated
 by ground fog or by the movement of smoke from a ground source or an aircraft smoke
 generator. Smoke that layers and moves laterally in a concentrated cloud (under low
 wind conditions) indicates an inversion, while smoke that moves upward and rapidly
 dissipates indicates good vertical air mixing. Avoid applications during temperatures
 inversions.

 6.3.7 Wind
 Drift potential generally increases with wind speed. AVOID APPLICATIONS DURING
 GUSTY WIND CONDITIONS.
 Applicators need to be familiar with local wind patterns and terrain that could affect
 spray drift.

 6.3.8 Sensitive Areas
 Making applications when there is a sustained wind moving away from adjacent
 sensitive areas (e.g., residential areas, bodies of water, known habitat for threatened or
 endangered species, non-target crops) is an effective way to minimize the effect of
 spray drift.

 6.3.9 Drift Control Additives
    Using product compatible drift control additives can reduce drift potential.
    When a drift control additive is used, read and carefully observe cautionary
    statements and all other information on the additives label.
    If using an additive that increases viscosity, ensure that the nozzles and other
    application equipment will function properly with a viscous spray solution.
    Preferred drift control additives have been certified by the Council of Producers and
    Distributors of Agrotechnology.
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 7.0 CROP USE DIRECTIONS
 Choose the lower rate for light infestations and the higher rate for heavy infestations.


 7.1 Arugula
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Arugula
                              Rate
        Target Pest         (fl oz/A)         Application Timing                 Use Directions
  Beet armyworm             5.5 - 10.0   Time applications to the most   When pest populations are
  Carmine spider mite                    susceptible insect or mite      high, use the highest rate
  Corn earworm                           pest stage at locally           allowed for that pest.
  Diamondback moth                       determined action
  Fall armyworm                          thresholds, before              Apply this product diluted in a
  Imported                               populations reach damaging      minimum volume of 20 gal/A by
    cabbageworm                          levels. For best results when   ground or 5 gal/A by air.
  Liriomyza leafminers                   targeting control of sucking
  Twospotted spider                      pests, begin applications       Under conditions such as high
    mite                                 when populations first          pest populations, dense foliage,
  Western yellowstriped                  appear.                         or adverse application
    armyworm                                                             conditions (such as high
  Cabbage looper            7.5  10.0   For spider mite and             temperatures), use a greater
                                         leafminer control, apply        volume of water to ensure
  Cabbage aphid               10.0       when spider mites or adult      adequate coverage.
  Cabbage seedpod                        leafminer flies are first
    weevil                               observed and repeat             For best control, apply Minecto
  False cabbage aphid                    application, if needed, to      Pro with ground application
  Flea beetle                            maintain control.               equipment. With aerial
  Grasshoppers                                                           application, the resulting level
  Green peach aphid                      For thrips suppression,         and duration of control could be
  Swede midge                            begin making applications       less than with ground
  Turnip aphids                          when populations are low.       application.
  Whitefly                               Use as part of an effective
                                         thrips control program.
  Suppression:                           Rotate with products of
  Thrips (foliage feeding                different modes of action. If
    only)                                populations are above
                                         threshold, use an effective
                                         thrips knockdown product
                                         before spraying with Minecto
                                         Pro.
  Resistance Management:
    Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
    abamectin-containing product.
    Diamondback Moth:
     o Do not apply Minecto Pro or other Group 28 insecticides more than twice within any 30-day
         treatment window.
     o Application(s) during the next treatment window must be with an effective product(s) with a
         different mode of action (i.e., a non-Group 28 insecticide) for at least a 30-day treatment
         window before making any additional applications of Minecto Pro or other Group 28
         insecticides.
     o Do not apply less than 5.5 fl oz/A/application of Minecto Pro for diamondback moth control.
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       o   Do not make more than 6 total applications per calendar year of any Group 28 insecticides for
           control of diamondback moth at the same farm location.
                                             USE RESTRICTIONS
  1)   Refer to Section 6.1 for additional product use restrictions.
  2)   Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
       activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
       Do not use binder or sticker type adjuvants.
  3)   Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
       0.019 lb ai/A of abamectin)
       a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
           ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
           applied abamectin-containing products.
  4)   Minimum Application Interval: 7 days
  5)   Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
       ai/A of abamectin)
       a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
           including all application types (seed treatment, soil, foliar).
       b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
           including all application types (seed treatment, soil, foliar).
  6)   Pre-harvest Interval (PHI): 7 days
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 7.2 Caneberry, Crop Subgroup 13-07A
  Crops (Including cultivars, varieties, and/or hybrids of these)
  Blackberry                            Raspberry, black and red         Wild raspberry
  Loganberry
                              Rate
      Target Pest           (fl oz/A)       Application Timing                    Use Directions
  Spider mites             7.5  10.0   Time applications to the         Thorough coverage of the crop
                                        most susceptible insect or       canopy is essential for optimum
                                        mite pest stage at locally       results. Inadequate coverage
                                        determined action                can result in reduced control.
                                        thresholds, before
                                        populations reach damaging       Apply this product diluted in a
  Adult root weevils          10.0      levels. For best results         minimum volume of 10 gal/A by
  Broad mite                            when targeting control of        ground or 5 gal/A by air.
                                        sucking pests, begin
  Spotted wing                          applications when                Under conditions such as high
   drosophila                           populations first appear.        pest populations, dense foliage,
                                                                         or adverse application conditions
                                        For mite control, apply when     (such as high temperatures), use
                                        mites are first observed and     a greater volume of water to
                                        repeat application, if needed,   ensure adequate coverage.
                                        to maintain control.
  Resistance Management:
      Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
      abamectin-containing product.
  Precaution:
    The crop safety of Minecto Pro in tank mixture has not been evaluated on these crops. When using
    Minecto Pro alone or in tank mixtures on caneberry crops, it is recommended that a small area be
    tested to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                             USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
      ai/A of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
          including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products including
          all application types (seed treatment, soil, foliar).
  6) DO NOT apply from onset of flowering until petal fall is complete.
  7) Pre-Harvest Interval (PHI): 7 days
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 7.3 Celeriac
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Celeriac (Apium graveolens)
                             Rate
       Target Pest         (fl oz/A)          Application Timing                   Use Directions
  Armyworms               7.5 - 10.0     Time applications to the most    Thorough coverage of the crop
  Cutworms                               susceptible insect or mite       canopy is essential for optimum
  Loopers                                pest stage at locally            results. Inadequate crop
                                         determined action                coverage can result in reduced
                                         thresholds, before               control.
                                         populations reach damaging
                                         levels. For best results when    Apply this product diluted in a
                                         targeting control of sucking     minimum volume of 20 gal/A by
                                         pests, begin applications        ground.
  Beet Armyworm               10.0       when populations first
  Cabbage seedpod                        appear.                          Under conditions such as high
    weevil                                                                pest populations, dense foliage,
  Carrot weevil                          For mite control, apply when     or adverse application
  Cotton aphid                           mites are first observed and     conditions (such as high
  Flea beetle                            repeat application, if needed,   temperatures), use a greater
  Green peach aphid                      to maintain control.             volume of water to ensure
  Twospotted spider                                                       adequate coverage.
    mite                                 For thrips suppression,
  Whitefly                               begin making applications
                                         when populations are low.
  Suppression:                           Use as part of an effective
  Thrips (foliage feeding                thrips control program.
    only)                                Rotate with products of
                                         different modes of action. If
                                         populations are above
                                         threshold, use an effective
                                         thrips knockdown product
                                         before spraying with Minecto
                                         Pro.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
  Precaution:
     The crop safety of Minecto Pro in tank mixture has not been evaluated on this crop. When using
     Minecto Pro alone or in tank mixtures on a celeriac crop, it is recommended that a small area be
     tested to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
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  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
     ai/A of abamectin)
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
         including all application types (seed treatment, soil, foliar).
  6) DO NOT apply by air.
  7) Pre-harvest Interval (PHI): 7 days
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 7.4 Celtuce
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Celtuce
                               Rate
        Target Pest          (fl oz/A)        Application Timing                 Use Directions
  Beet armyworm             5.5 - 10.0   Time applications to the most   When pest populations are high,
  Carmine spider mite                    susceptible insect or mite      use the highest rate allowed for
  Corn earworm                           pest stage at locally           that pest.
  Diamondback moth                       determined action
  Fall armyworm                          thresholds, before              Apply this product diluted in a
  Liriomyza leafminers                   populations reach damaging      minimum volume of 20 gal/A by
  Twospotted spider                      levels. For best results when   ground or 5 gal/A by air.
    mite                                 targeting control of sucking
  Western yellowstriped                  pests, begin applications       Under conditions such as high
    armyworm                             when populations first          pest populations, dense foliage,
  Cabbage looper            7.5  10.0   appear.                         or adverse application
                                                                         conditions (such as high
  Cabbage aphid               10.0       For spider mite and             temperatures), use a greater
  False cabbage aphid                    leafminer control, apply        volume of water to ensure
  Flea beetle                            when spider mites or adult      adequate coverage.
  Grasshoppers                           leafminer flies are first
  Green peach aphid                      observed and repeat             For best control, apply Minecto
  Turnip aphid                           application, if needed, to      Pro with ground application
  Whitefly                               maintain control.               equipment. With aerial
                                                                         application, the resulting level
  Suppression:                           For thrips suppression,         and duration of control could be
  Thrips (foliage feeding                begin making applications       less than with ground
    only)                                when populations are low.       application.
                                         Use as part of an effective
                                         thrips control program.
                                         Rotate with products of
                                         different modes of action. If
                                         populations are above
                                         threshold, use an effective
                                         thrips knockdown product
                                         before spraying with Minecto
                                         Pro.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
     Diamondback Moth:
      o Do not apply Minecto Pro or other Group 28 insecticides more than twice within any 30-day
         treatment window.
      o Application(s) during the next treatment window must be with an effective product(s) with a
         different mode of action (i.e., a non-Group 28 insecticide) for at least a 30-day treatment
         window before making any additional applications of Minecto Pro or other Group 28
         insecticides.
      o Do not apply less than 5.5 fl oz/A/application of Minecto Pro for diamondback moth control.
      o Do not make more than 6 total applications per calendar year of any Group 28 insecticides for
         control of diamondback moth at the same farm location.
  Precaution:
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    The crop safety of Minecto Pro in tank mixture has not been evaluated on this crop. When using
    Minecto Pro alone or in tank mixtures on a celtuce crop, it is recommended that a small area be
    tested to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
      ai/A of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
          including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
          including all application types (seed treatment, soil, foliar).
  6) Pre-harvest Interval (PHI): 7 days
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 7.5 Citrus Fruit, Crop Group 10-10
  Crops (Including cultivars, varieties, and/or hybrids of these)
  Australian desert lime               Lemon                           Satsuma mandarin
  Australian finger lime                Lime                           Sweet lime
  Australian round lime                 Mediterranean mandarin         Tachibana orange
  Brown River finger lime               Mount White lime               Tahiti lime
  Calamondin                            New Guinea wild lime           Tangelo
  Citron                                Orange, sour                   Tangerine (mandarin)
  Citrus hybrids                        Orange, sweet                  Tangor
  Grapefruit                            Pummelo                        Trifoliate orange
  Japanese summer grapefruit            Russell River lime             Uniq fruit
  Kumquat
                            Rate
       Target Pest        (fl oz/A)        Application Timing                   Use Directions
  Citrus leafminer       8.0  12.0    Time applications to the        With aerial application, the
  Citrus rust mite                     most susceptible insect or      resulting level and duration of
                                       mite pest stage at locally      control of Asian citrus psyllid
                                       determined action               and citrus leafminer could be
                                       thresholds, before              reduced compared to ground
                                       populations reach damaging      application. When applying by
  Asian citrus psyllid   10.0 - 12.0   levels. For best results        air, use the higher end of the
  Broad mite                           when targeting control of       rate range (11.0-12.0 fl oz/A).
  Citrus bud mite                      sucking pests, begin
  Citrus cutworm                       applications when               Apply this product diluted in a
  Citrus thrips                        populations first appear.       minimum volume of 10 gal/A by
  Cotton aphid                                                         air.
  Diaprepes root                       For Asian citrus psyllid
    weevil adults                      control, apply to protect       When pest populations are
  Orange dog                           newly expanding foliage         high, use the highest rate
    caterpillar                        flush during the spring,        allowed for that pest.
  Twospotted spider                    summer, or fall.
   mite                                                                Thorough coverage is essential
                                       For mite control, apply when    to obtain best results. Select a
                                       mites first appear during       spray volume appropriate for
                                       spring, summer, or fall.        the size of trees and density of
                                                                       foliage.
  Forktailed bush           12.0
                                       For citrus bud mite control,
     katydid nymph
                                       time the spray at bud swell   Apply this product diluted in a
                                       for best results.               minimum volume of 30 gal/A by
                                                                       ground application. Under
                                       For citrus leafminer control,   conditions such as high pest
                                       apply to protect new growth     populations, dense foliage, or
                                       during spring, summer, or       adverse application conditions
                                       fall.                           (such as high temperatures),
                                                                       use a greater volume of water
                                       For citrus thrips control,      to ensure adequate coverage.
                                       application will only control
                                       the current generation and
                                       must be correctly timed.
                                       Apply when economic
                                       thresholds have been
                                       reached (after egg hatch has
                                       begun  preferably early to
                                       mid-hatch).
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  Resistance Management:
    Do not make more than 3 applications of Minecto Pro or any other foliar applied abamectin-
   containing product per year.
    Do not apply in citrus nurseries.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant or horticultural oil (not a
      dormant oil) as instructed in Section 4.4.5. Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 12.0 fl oz/A/application (0.106 lb ai/A of cyantraniliprole and
      0.023 lb ai of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.023 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 30 days
  5) Maximum Annual Rate: 24.0 fl oz/A/calendar year (0.21 lb ai/A of cyantraniliprole and 0.044 lb ai
      of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
          including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.046 lb ai/A/calendar year of abamectin-containing products
          including all application types (seed treatment, soil, foliar).
  6) Aerial application is permitted only for control of citrus leafminer and Asian citrus psyllid. For all
      other pests, apply only by ground application.
  7) DO NOT allow livestock to graze in treated citrus groves.




  8) Application of this product is prohibited from the onset of flowering until the end of the flowering
     period. Observe defined flowering periods as established by local university extension offices,
     County Agricultural Commissioners, or other state/tribal lead agencies. In areas where these
     authorities do not provide a declaration or definition of flowering onset and end, applications are
     prohibited from onset of flowering until flowering is complete.
  9) Pre-Harvest Interval (PHI): 7 days
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 7.6 Cotton
  Crops (including all cultivars, varieties, and/or hybrids)
  Cotton
                             Rate
       Target Pest         (fl oz/A)        Application Timing                   Use Directions
  Beet armyworm           6.0  10.0   Time applications to the most   When pest populations are high,
  Carmine spider mite                  susceptible insect or mite      use the highest rate allowed for
  Cotton bollworm                      pest stage at locally           that pest.
  Fall armyworm                        determined action
  Pacific spider mite                  thresholds, before              Apply this product, by ground or
  Saltmarsh caterpillar                populations reach damaging      air, diluted in a minimum volume
  Southern armyworm                    levels. For best results when   of 5 gal/A.
  Strawberry spider                    targeting control of sucking
    mite                               pests, begin applications       For best control of spider mites,
  Tobacco budworm                      when populations first          apply with ground application
  Twospotted spider                    appear.                         equipment. With aerial
    mite                                                               application, spray coverage and
  Western                              For mite control, apply when    the resulting level and duration of
    yellowstriped                      mites first appear. Repeat      control of mites may be less than
    armyworm                           application, if needed, to      with ground application.
  Cabbage looper            10.0       maintain control.
  Soybean looper                                                       For Heliothine control (cotton
  Whitefly                             For thrips suppression,         bollworm and/or tobacco
                                       begin making applications       budworm), make the first
  Suppression:                         when populations are low. If    application at rates of 8.0-10.0 fl
  Thrips (foliage-                     populations are higher, use     oz/A. Subsequent applications
    feeding only)                      an effective thrips             may be at rates of 6.0-10.0 fl
                                       knockdown product before        oz/A, depending on pressure.
                                       spraying with Minecto Pro.
                                                                       For thrips suppression, use the
                                                                       highest rate listed. Use as part of
                                                                       an effective thrips control
                                                                       program. Rotate with products
                                                                       with different modes of action.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
  Precautions:
     Application to seedling cotton may result in crop response. Affected plants outgrow the effects in
     most cases. If the risk of crop response cannot be accepted, do not apply to seedling cotton.
     The crop safety of Minecto Pro in tank mixture has not been evaluated on this crop. When using
     Minecto Pro alone or in tank mixtures on a cotton crop, it is recommended that a small area be
     tested to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
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  4) Minimum Application Interval: 21 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
     ai/A of abamectin)
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.038 lb ai/A/calendar year of abamectin-containing products
         including all application types (seed treatment, soil, foliar).
  6) DO NOT feed or allow livestock to graze treated cotton.
  7) Pre-harvest Interval (PHI): 20 days
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 7.7 Cress, Garden and Upland
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Cress, garden
  Cress, upland
                               Rate
        Target Pest          (fl oz/A)        Application Timing                 Use Directions
  Beet armyworm             5.5  10.0   Time applications to the most   When pest populations are
  Carmine spider mite                    susceptible insect or mite      high, use the highest rate
  Corn earworm                           pest stage at locally           allowed for that pest.
  Diamondback moth                       determined action
  Fall armyworm                          thresholds, before              Apply this product diluted in a
  Imported                               populations reach damaging      minimum volume of 20 gal/A by
    cabbageworm                          levels. For best results when   ground or 5 gal/A by air.
  Liriomyza leafminers                   targeting control of sucking
  Twospotted spider                      pests, begin applications       Under conditions such as high
    mite                                 when populations first          pest populations, dense foliage,
  Western yellowstriped                  appear.                         or adverse application
    armyworm                                                             conditions (such as high
  Cabbage looper            7.5  10.0   For spider mite and             temperatures), use a greater
                                         leafminer control, apply        volume of water to ensure
  Cabbage aphid               10.0       when spider mites or adult      adequate coverage.
  Cabbage seedpod                        leafminer flies are first
    weevil                               observed and repeat             For best control, apply Minecto
  False cabbage aphid                    application, if needed, to      Pro with ground application
  Flea beetle                            maintain control.               equipment. With aerial
  Grasshoppers                                                           application, the resulting level
  Green peach aphid                      For thrips suppression,         and duration of control could be
  Swede midge                            begin making applications       less than with ground
  Turnip aphid                           when populations are low.       application.
  Whitefly                               Use as part of an effective
                                         thrips control program.
  Suppression:                           Rotate with products of
  Thrips (foliage feeding                different modes of action. If
    only)                                populations are above
                                         threshold, use an effective
                                         thrips knockdown product
                                         before spraying with Minecto
                                         Pro.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
     Diamondback Moth:
      o Do not apply Minecto Pro or other Group 28 insecticides more than twice within any 30-day
         treatment window.
      o Application(s) during the next treatment window must be with an effective product(s) with a
         different mode of action (i.e., a non-Group 28 insecticide) for at least a 30-day treatment
         window before making any additional applications of Minecto Pro or other Group 28
         insecticides.
      o Do not apply less than 5.5 fl oz/A/application of Minecto Pro for diamondback moth control.
      o Do not make more than 6 total applications per calendar year of any Group 28 insecticides for
         control of diamondback moth at the same farm location.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
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  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
     activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
     Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
     0.019 lb ai/A of abamectin)
     a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
         ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
         applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
     ai/A of abamectin)
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
         including all application types (seed treatment, soil, foliar).
  6) Pre-harvest Interval (PHI): 7 days
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 7.8 Cucurbit Vegetables, Crop Group 9
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Chayote (fruit)                      Muskmelon                        Squash, summer
  Chinese waxgourd (Chinese             Cantaloupe                       Crookneck squash
    preserving melon)                   Casaba                           Scallop squash
  Citron melon                          Crenshaw melon                   Straightneck squash
  Cucumber                              Golden pershaw melon             Vegetable marrow
  Gherkin                               Honeydew melon                   Zucchini
  Gourd, edible                         Honey balls                     Squash, winter
    Hyotan                              Mango melon                      Acorn squash
    Cucuzza                             Persian melon                    Butternut squash
    Hechima                             Pineapple melon                  Calabaza
                                                                         Hubbard squash
    Chinese okra                        Santa Claus melon
                                                                         Spaghetti squash
  Momordica spp.                        Snake melon
                                                                        Watermelon
    Balsam apple                        True cantaloupe
    Balsam pear                        Pumpkin
    Bitter melon
    Chinese cucumber
                           Rate
       Target Pest       (fl oz/A)          Application Timing                  Use Directions
  Beet armyworm         5.5  10.0     Time applications to the most    When pest populations are high,
  Liriomyza leafminers                 susceptible insect or mite       use the highest rate allowed for
  Melonworm                            pest stage at locally            that pest.
  Pickleworm                           determined action
  Spider mites                         thresholds, before               Apply this product diluted in a
  Western                              populations reach damaging       minimum volume of 20 gal/A by
    yellowstriped                      levels. For best results when    ground or 5 gal/A by air.
    armyworm                           targeting control of sucking
                        7.5  10.0     pests, begin applications        Under conditions such as high
  Cabbage looper
                                       when populations first           pest populations, dense foliage,
                                       appear.                          or adverse application
  Cotton/melon aphid         10.0                                       conditions (such as high
  Green peach aphid                    For spider mites and             temperatures), use a greater
  Whitefly                             leafminer control, apply         volume of water to ensure
                                       when spider mites or adult       adequate coverage.
  Suppression:                         leafminer flies are first
  Flea beetle                          observed and repeat              For best control, apply Minecto
  Thrips (foliage-                     application, if needed, to       Pro with ground application
    feeding only)                      maintain control within          equipment. With aerial
                                       constraints of a sound           application, the resulting level
                                       resistance management            and duration of control could be
                                       program.                         less than with ground
                                                                        application.
                                       Apply foliarly soon after
                                       emergence or transplant to
                                       control whiteflies, which
                                       may vector the cucurbit
                                       yellow stunting disorder
                                       virus. This will help to
                                       suppress and slow the
                                       expression of the virus in
                                       cucurbit vegetables.
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                                         For thrips suppression,
                                         begin making applications
                                         when populations are low.
                                         Use as part of an effective
                                         thrips control program.
                                         Rotate with products of
                                         different modes of action. If
                                         populations are above
                                         threshold, use an effective
                                         thrips knockdown product
                                         before spraying with Minecto
                                         Pro.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
  Precautions:
      Tank mixes of Minecto Pro with some products formulated as emulsifiable concentrates (EC),
      strobilurin fungicides (for example, Cabrio® fungicide and Quadris® fungicide), copper-based
      fungicides, Luna® Sensation fungicide (trifloxystrobin + fluopyram), and Venom® insecticide
      (dinotefuran) may result in adverse crop response.
      See Tank Mix Precautions in Section 4.4.2.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
      ai/A of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
          including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
          including all application types (seed treatment, soil, foliar).
  6) Pre-harvest Interval (PHI): 7 days
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 7.9 Dried Shelled Pea and Bean, Crop Subgroup 6C (Except Soybean)
  Crops (Including cultivars, varieties, and/or hybrids of these)
  Broad bean (dry)                     Phaseolus spp.                  Vigna spp.
  Chickpea                               Field bean                     Adzuki bean
  Guar                                   Kidney bean                    Blackeyed pea
  Lablab bean (hyacinth bean)            Lima bean (dry)                Catjang
  Lentil                                 Navy bean                      Cowpea
                                         Pinto bean                     Crowder pea
  Lupinus spp.                           Tepary bean                    Moth bean
    Grain lupin                                                         Mung bean
    Sweet lupin                        Pigeon pea                       Rice bean
    White lupin                                                         Southern pea
    White sweet lupin                  Pisum spp.                       Urd bean
                                         Field pea
                            Rate
       Target Pest        (fl oz/A)         Application Timing                  Use Directions
  Corn earworm           7.5  10.0 Time applications to the           Thorough coverage of the crop
  European corn borer                  most susceptible insect or      canopy is essential for optimum
  Leafminers                           mite pest stage at locally      results. Inadequate coverage
  Spider mites                         determined action               can result in reduced control.
                                       thresholds, before
                                       populations reach damaging      Apply this product diluted in a
  Whitefly                   10.0      levels. For best results        minimum volume of 10 gal/A by
                                       when targeting control of       ground or 5 gal/A by air.
  Suppression:                         sucking pests, begin
  Potato leafhopper                    applications when               Under conditions such as high
  Thrips (foliage-                     populations first appear.       pest populations, dense foliage,
    feeding only)                                                      or adverse application conditions
                                       For spider mites and            (such as high temperatures), use
                                       leafminer control, apply        a greater volume of water to
                                       when spider mites or adult      ensure adequate coverage.
                                       leafminer flies are first
                                       observed and repeat             For best control, apply Minecto
                                       application, if needed, to      Pro with ground application
                                       maintain control within         equipment. With aerial
                                       constraints of a sound          application, the resulting level
                                       resistance management           and duration of control could be
                                       program.                        less than with ground
                                                                       application.
  Resistance Management:
   Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
   abamectin-containing product.
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  Precautions:
    Applications of Minecto Pro to certain species of the commodities in this crop group may result in
    adverse crop response. Affected plants outgrow the effects in most cases. If the risk of adverse
    crop response to Minecto Pro cannot be accepted, do not apply it to legume vegetables.
    The crop safety of Minecto Pro in tank mixture has not been evaluated on these crops. When using
    Minecto Pro alone or in tank mixtures on bean crops, it is recommended that a small area be tested
    to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                             USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 6 days
  5) Maximum Annual Rate: 30.0 fl oz/A/calendar year (0.26 lb ai/A of cyantraniliprole and 0.056 lb
      ai/A of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
          including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.057 lb ai/A/calendar year of abamectin-containing products including
          all application types (seed treatment, soil, foliar).
  6) DO NOT allow livestock to graze pea or bean forage.
  7) DO NOT harvest pea or bean forage or hay for use as livestock feed. For use on cowpeas that are
      grown only for dry seed.
  8) Pre-Harvest Interval (PHI): 7 days
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 7.10 Edible-Podded Legume Vegetables, Crop Subgroup 6A
  Crops (Including cultivars, varieties, and/or hybrids of these)
  Jackbean                                 Pisum spp.                        Sword bean
  Phaseolus spp.                             Dwarf pea                       Vigna spp.
     Runner bean                             Edible-podded pea                Asparagus bean
     Snap bean                               Snow pea                         Chinese longbean
     Wax bean                                Sugar snap pea                   Moth bean
                                           Pigeon pea                         Yardlong bean
                                           Soybean (immature seed)
                                 Rate
        Target Pest            (fl oz/A)        Application Timing                   Use Directions
  Corn earworm                7.5  10.0 Time applications to the           When pest populations are high,
  European corn borer                      most susceptible insect or       use the highest rate allowed for
  Leafminers                               mite pest stage at locally       that pest.
  Spider mites                             determined action
                                           thresholds, before               Apply this product diluted in a
                                           populations reach damaging minimum volume of 10 gal/A by
  Whitefly                        10.0     levels. For best results         ground or 5 gal/A by air.
                                           when targeting control of
  Suppression:                             sucking pests, begin             Under conditions such as high
  Potato leafhopper                        applications  when               pest populations, dense foliage,
  Thrips (foliage-                         populations  first appear.       or adverse application conditions
     feeding only)                                                          (such as high temperatures), use
                                           For spider mites and             a greater volume of water to
                                           leafminer control, apply         ensure adequate coverage.
                                           when spider mites or adult
                                           leafminer flies are first        For best control, apply Minecto
                                           observed and repeat              Pro with ground application
                                           application, if needed, to       equipment. With aerial
                                           maintain control within          application, the resulting level
                                           constraints of a sound           and duration of control could be
                                           resistance management            less than with ground
                                           program.                         application.
  Resistance Management:
    Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
    abamectin-containing product.
  Precautions:
    Applications of Minecto Pro to certain species of the commodities in this crop group may result in
    adverse crop response. Affected plants outgrow the effects in most cases. If the risk of adverse
    crop response to Minecto Pro cannot be accepted, do not apply it to legume vegetables.
    The crop safety of Minecto Pro in tank mixture has not been evaluated on these crops. When using
    Minecto Pro alone or in tank mixtures on bean crops, it is recommended that a small area be tested
    to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                              USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
       activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
       Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
       0.019 lb ai/A of abamectin)
       a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
           ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
           applied abamectin-containing products.
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  4) Minimum Application Interval: 6 days
  5) Maximum Annual Rate: 30.0 fl oz/A/calendar year (0.26 lb ai/A of cyantraniliprole and 0.056 lb
     ai/A of abamectin)
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.057 lb ai/A/calendar year of abamectin-containing products including
         all application types (seed treatment, soil, foliar).
  6) DO NOT allow livestock to graze pea or bean forage.
  7) DO NOT harvest pea or bean forage or hay for use as livestock feed.
  8) Pre-Harvest Interval (PHI): 7 days
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 7.11 Fennel, Florence
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Fennel, Florence
                               Rate
        Target Pest          (fl oz/A)        Application Timing                 Use Directions
  Beet armyworm             5.5  10.0   Time applications to the most   When pest populations are high,
  Carmine spider mite                    susceptible insect or mite      use the highest rate allowed for
  Corn earworm                           pest stage at locally           that pest.
  Diamondback moth                       determined action
  Fall armyworm                          thresholds, before              Apply this product diluted in a
  Liriomyza leafminers                   populations reach damaging      minimum volume of 20 gal/A by
  Twospotted spider                      levels. For best results when   ground or 5 gal/A by air.
    mite                                 targeting control of sucking
  Western yellowstriped                  pests, begin applications       Under conditions such as high
    armyworm                             when populations first          pest populations, dense foliage,
  Cabbage looper            7.5  10.0   appear.                         or adverse application
                                                                         conditions (such as high
  Cabbage aphid               10.0       For spider mite and             temperatures), use a greater
  False cabbage aphid                    leafminer control, apply        volume of water to ensure
  Flea beetle                            when spider mites or adult      adequate coverage.
  Grasshoppers                           leafminer flies are first
  Green peach aphid                      observed and repeat             For best control, apply Minecto
  Turnip aphid                           application, if needed, to      Pro with ground application
  Whitefly                               maintain control.               equipment. With aerial
                                                                         application, the resulting level
  Suppression:                           For thrips suppression,         and duration of control could be
  Thrips (foliage feeding                begin making applications       less than with ground
    only)                                when populations are low.       application.
                                         Use as part of an effective
                                         thrips control program.
                                         Rotate with products of
                                         different modes of action. If
                                         populations are above
                                         threshold, use an effective
                                         thrips knockdown product
                                         before spraying with Minecto
                                         Pro.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
     Diamondback Moth:
      o Do not apply Minecto Pro or other Group 28 insecticides more than twice within any 30-day
          treatment window.
      o Application(s) during the next treatment window must be with an effective product(s) with a
          different mode of action (i.e., a non-Group 28 insecticide) for at least a 30-day treatment
          window before making any additional applications of Minecto Pro or other Group 28
          insecticides.
      o Do not apply less than 5.5 fl oz/A/application of Minecto Pro for diamondback moth control.
     Do not make more than 6 total applications per calendar year of any Group 28 insecticides for
     control of diamondback moth at the same farm location.
  Precaution:
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    The crop safety of Minecto Pro in tank mixture has not been evaluated on this crop. When using
    Minecto Pro alone or in tank mixtures on a Florence fennel crop, it is recommended that a small area
    be tested to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
      ai/A of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
          including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
          including all application types (seed treatment, soil, foliar).
  6) Pre-harvest Interval (PHI): 7 days
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 7.12 Fruiting Vegetables, Crop Group 8-10
  Crops (including all cultivars, varieties, and/or hybrids of these)
  African eggplant                   Goji berry                         Nonbell pepper
  Bush tomato                        Groundcherry                       Roselle
  Bell pepper                        Martynia                           Scarlet eggplant
  Cocona                             Naranjilla                         Sunberry
  Currant tomato                     Okra                               Tomatillo
  Eggplant                           Pea eggplant                       Tomato
  Garden huckleberry                 Pepino                             Tree tomato
                               Rate
        Target Pest          (fl oz/A)       Application Timing                 Use Directions
  Beet armyworm             5.5  10.0   Time applications to the       All crops except commercially
  Broad mite                             most susceptible insect or     grown greenhouse tomato:
  Colorado potato                        mite pest stage at locally
    beetle                               determined action              When pest populations are high,
  European corn borer                    thresholds, before             use the highest rate allowed for
  Fall armyworm                          populations reach              that pest.
  Liriomyza leafminers                   damaging levels. For best
  Southern armyworm                      results when targeting         Apply this product diluted in a
  Spider mites                           control of sucking pests,      minimum volume of 20 gal/A by
  Thrips palmi                           begin applications when        ground or 5 gal/A by air.
  Tomato fruitworm                       populations first appear.
  Tomato hornworm                                                       Under conditions such as high
  Tomato pinworm                         For broad, russet and          pest populations, dense foliage,
  Tomato psyllid                         spider mite control, apply     or adverse application conditions
  Tomato russet mite                     when mites first appear.       (such as high temperatures), use
                                                                        a greater volume of water to
  Western yellowstriped                  For Thrips palmi control,      ensure adequate coverage.
    armyworm                             apply when thrips are first
                                         observed.                      For best control, apply Minecto
  Loopers                   7.5  10.0                                  Pro with ground application
                                         For tomato pinworm             equipment. With aerial
                                         control, application can be    application, the resulting level
                                         made from the time moth        and duration of control could be
                                         activity is detected up to,    less than with ground
                                         but no later than, the time    application.
                                         when newly emerged
                                         larvae are present.

                                         For pepper weevil and
                                         thrips suppression, begin
                                         making applications when       Commercially grown
                                         populations are low. Use       greenhouse tomato only:
                                         as part of an effective
                                         control program. Rotate        When pest populations are high,
  Green peach aphid           10.0
                                         with products of different     use the highest rate allowed for
  Potato aphid
                                         modes of action. For           that pest.
  Tomato pinworm
                                         thrips, if populations are
  Whitefly
                                         above threshold, use an        Apply by ground only.
                                         effective thrips knockdown
  Suppression:
                                         product before spraying        Thorough coverage is essential
  Pepper weevil
                                         Minecto Pro.                   to obtain best results. Select a
  Thrips (foliage-feeding
                                                                        spray volume appropriate for the
    only)
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  Commercially              5.5  10.0   Apply foliarly soon after       size of plants and density of
  grown greenhouse                       emergence or transplant to      foliage but do not apply diluted
  tomato only:                           control thrips, which may       product in a volume less than 20
  Liriomyza leafminers                   vector the tomato spotted       gal/A.
  Spider mites                           wilt virus. This will help to
  Thrips palmi                           suppress and slow the           Under conditions such as high
  Tomato psyllid                         expression of the virus in      pest populations, dense foliage,
  Tomato russet mite                     fruiting vegetables.            or adverse application conditions
                                                                         (such as high temperatures), use
  Commercially                 10.0      Apply foliarly soon after       a greater volume of water to
  grown greenhouse                       emergence or transplant to      ensure adequate coverage.
  tomato only:                           control whiteflies, which
  Tomato pinworm                         may vector the tomato
  Whitefly                               yellow leaf curl virus.
                                         This will help to suppress
  Suppression:                           and slow the expression of
  Thrips (foliage-feeding                the virus in fruiting
    only)                                vegetables.


  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
  Precautions:
     Peppers: Tank mixes of Minecto Pro with adjuvants can cause leaf spotting or increase the potential
     for other products used in tank mix with Minecto Pro to cause an adverse crop response. Tank
     mixes of Minecto Pro with strobilurin fungicides (for example Cabrio fungicide and Quadris
     fungicide), chlorothalonil based fungicide formulations (for example Bravo Weather Stik® fungicide),
     and DuPontTanos® fungicide (cymoxanil + famoxadone) may also result in an adverse crop
     response.
     Tomatoes: Tank mixes of Minecto Pro with strobilurin fungicides (for example Cabrio fungicide and
     Quadris fungicide) may result in adverse crop response.
     The crop safety of Minecto Pro in tank mixture has not been evaluated on all other crops in this crop
     group. When using Minecto Pro alone or in tank mixtures on these crops, it is recommended that a
     small area be tested to demonstrate safety before using in large areas. See Section 4.4.2 for more
     information.
                                             USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
           ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
           applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
      ai/A of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
           including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
           including all application types (seed treatment, soil, foliar).
  6) Not for use in commercially grown greenhouse tomatoes in New York State.
  7) Pre-harvest Interval (PHI):
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     a.   Commercially grown greenhouse tomatoes: 1 day
     b.   All other crops: 7 days
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 7.13 Leaf Petiole Vegetables, Crop Subgroup 22B
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Cardoon                            Fuki                                Udo
  Celery                             Rhubarb                             Zuiki
  Celery, Chinese
                               Rate
        Target Pest          (fl oz/A)        Application Timing                 Use Directions
  Beet armyworm             5.5  10.0   Time applications to the most   When pest populations are high,
  Carmine spider mite                    susceptible insect or mite      use the highest rate allowed for
  Corn earworm                           pest stage at locally           that pest.
  Diamondback moth                       determined action
  Fall armyworm                          thresholds, before              Apply this product diluted in a
  Liriomyza leafminers                   populations reach damaging      minimum volume of 20 gal/A by
  Twospotted spider                      levels. For best results when   ground or 5 gal/A by air.
    mite                                 targeting control of sucking
  Western yellowstriped                  pests, begin applications       Under conditions such as high
    armyworm                             when populations first          pest populations, dense foliage,
  Cabbage looper            7.5  10.0   appear.                         or adverse application
                                                                         conditions (such as high
  Cabbage aphid               10.0       For spider mite and             temperatures), use a greater
  False cabbage aphid                    leafminer control, apply        volume of water to ensure
  Flea beetle                            when spider mites or adult      adequate coverage.
  Grasshoppers                           leafminer flies are first
  Green peach aphid                      observed and repeat             For best control, apply Minecto
  Turnip aphid                           application, if needed, to      Pro with ground application
  Whitefly                               maintain control.               equipment. With aerial
                                                                         application, the resulting level
  Suppression:                           For thrips suppression,         and duration of control could be
  Thrips (foliage feeding                begin making applications       less than with ground
    only)                                when populations are low.       application.
                                         Use as part of an effective
                                         thrips control program.
                                         Rotate with products of
                                         different modes of action. If
                                         populations are above
                                         threshold, use an effective
                                         thrips knockdown product
                                         before spraying with Minecto
                                         Pro.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
     Diamondback Moth:
      o Do not apply Minecto Pro or other Group 28 insecticides more than twice within any 30-day
         treatment window.
      o Application(s) during the next treatment window must be with an effective product(s) with a
         different mode of action (i.e., a non-Group 28 insecticide) for at least a 30-day treatment
         window before making any additional applications of Minecto Pro or other Group 28
         insecticides.
      o Do not apply less than 5.5 fl oz/A/application of Minecto Pro for diamondback moth control.
      o Do not make more than 6 total applications per calendar year of any Group 28 insecticides for
         control of diamondback moth at the same farm location.
  Precaution:
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     The crop safety of Minecto Pro in tank mixture has not been evaluated on all of these crops. When
     using Minecto Pro alone or in tank mixtures on these crops, it is recommended that a small area be
     tested to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
      ai/A of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
          including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
          including all application types (seed treatment, soil, foliar).
  6) Pre-harvest Interval (PHI): 7 days
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 7.14 Leafy Greens, Crop Subgroup 4-16A (Except Spinach)
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Amaranth, Chinese spinach          Dang-gwi, leaves                    Lettuce, leaf
  Amaranth, leafy                    Dillweed                            Orach
  Aster, Indian                      Dock                                Parsley, fresh leaves
  Blackjack                          Dol-nam-mul                         Plantain, buckhorn
  Cats whiskers                     Ebolo                               Primrose, English
  Cham-chwi                          Endive                              Purslane, garden
  Cham-na-mul                        Escarole                            Purslane, winter
  Chervil, fresh leaves              Fameflower                          Radicchio
  Chipilin                           Feather cockscomb                   Swiss chard
  Chrysanthemum, garland             Good king henry                     Violet, Chinese, leaves
  Cilantro, fresh leaves             Huauzontle
  Corn salad                         Jute, leaves
  Cosmos                             Lettuce, bitter
  Dandelion, leaves                  Lettuce, head
                               Rate
        Target Pest          (fl oz/A)        Application Timing                 Use Directions
  Beet armyworm             5.5  10.0   Time applications to the most   When pest populations are
  Carmine spider mite                    susceptible insect or mite      high, use the highest rate
  Corn earworm                           pest stage at locally           allowed for that pest.
  Diamondback moth                       determined action
  Fall armyworm                          thresholds, before              Apply this product diluted in a
  Liriomyza leafminers                   populations reach damaging      minimum volume of 20 gal/A by
  Twospotted spider                      levels. For best results when   ground or 5 gal/A by air.
    mite                                 targeting control of sucking
  Western yellowstriped                  pests, begin applications       Under conditions such as high
    armyworm                             when populations first          pest populations, dense foliage,
  Cabbage looper            7.5  10.0   appear.                         or adverse application
                                                                         conditions (such as high
  Cabbage aphid               10.0       For spider mite and             temperatures), use a greater
  False cabbage aphid                    leafminer control, apply        volume of water to ensure
  Flea beetle                            when spider mites or adult      adequate coverage.
  Grasshoppers                           leafminer flies are first
  Green peach aphid                      observed and repeat             For best control, apply Minecto
  Turnip aphid                           application, if needed, to      Pro with ground application
  Whitefly                               maintain control.               equipment. With aerial
                                                                         application, the resulting level
  Suppression:                           For thrips suppression,         and duration of control could be
  Thrips (foliage feeding                begin making applications       less than with ground
    only)                                when populations are low.       application.
                                         Use as part of an effective
                                         thrips control program.
                                         Rotate with products of
                                         different modes of action. If
                                         populations are above
                                         threshold, use an effective
                                         thrips knockdown product
                                         before spraying with Minecto
                                         Pro.
  Resistance Management:
    Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
    abamectin-containing product.
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     Diamondback Moth:
      o Do not apply Minecto Pro or other Group 28 insecticides more than twice within any 30-day
          treatment window.
      o Application(s) during the next treatment window must be with an effective product(s) with a
          different mode of action (i.e., a non-Group 28 insecticide) for at least a 30-day treatment
          window before making any additional applications of Minecto Pro or other Group 28
          insecticides.
      o Do not apply less than 5.5 fl oz/A/application of Minecto Pro for diamondback moth control.
      o Do not make more than 6 total applications per calendar year of any Group 28 insecticides for
          control of diamondback moth at the same farm location.
  Precautions:
     Lettuce: Tank mixes of Minecto Pro with Aliette® fungicide (fosetyl-al) plus oil adjuvant may result in
     adverse crop response.
     The crop safety of Minecto Pro in tank mixture has not been evaluated on all other crops in this crop
     group. When using Minecto Pro alone or in tank mixtures on these crops, it is recommended that a
     small area be tested to demonstrate safety before using in large areas. See Section 4.4.2 for more
     information.
                                             USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
      ai/A of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
          including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
          including all application types (seed treatment, soil, foliar).
  6) Pre-harvest Interval (PHI): 7 days
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 7.15 Low Growing Berries (Except Strawberry)
  Crops (Including cultivars, varieties, and/or hybrids of these)
  Bearberry                            Cloudberry                        Muntries
  Bilberry                             Cranberry[*]                      Partridgeberry
  Blueberry, lowbush                   Lingonberry
                              Rate
        Target Pest         (fl oz/A)        Application Timing                   Use Directions
  Black headed             7.5  10.0    Time applications to the        Thorough coverage of the upper
    fireworm                             most susceptible insect or      and lower leaves is essential for
  Cherry fruitworm                       mite pest stage at locally      optimum results. Inadequate
  Cranberry fruitworm                    determined action               coverage can result in reduced
  Sparganothis                           thresholds, before              control.
    fruitworm                            populations reach damaging
                                         levels. For best results        Adjust spray volume and nozzle
  Blueberry aphid             10.0       when targeting control of       placement to ensure maximum
  Blueberry maggot                       sucking pests, begin            coverage of tops and undersides
  Carmine spider mite                    applications when               of leaves.
  Citrus thrips                          populations first appear.
  Plum curculio                                                          Apply this product diluted in a
  Spotted wing                           For mite control, make 2        minimum volume of 50 gal/A
    drosophilia                          applications 7-10 days apart    with conventional ground
  Strawberry spider                      when mites first appear.        application equipment. When
    mite                                 Repeat this application         using an electro-static sprayer,
  Twospotted spider                      sequence, if needed, to         do not use in less than 10 gal/A.
    mite                                 maintain control.
                                                                         Under conditions such as high
  Suppression:                           For blueberry gall midge        pest populations, dense foliage,
  Blueberry gall midge                   suppression, use as part of     or adverse application conditions
  Broad mite                             an overall blueberry gall       (such as high temperatures), use
                                         midge control program and       a greater volume of water to
                                         rotate with products with       ensure adequate coverage.
                                         different modes of action.
                                         Begin applications when
                                         blueberry gall midge
                                         populations are low.
  Precautions:
    The crop safety of Minecto Pro in tank mixture has not been evaluated on these crops. When using
    Minecto Pro alone or in tank mixtures on berry crops, it is recommended that a small area be tested
    to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
    Do not tank mix Minecto Pro with any type of adjuvant on these crops unless crop safety has been
    tested.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 21 days after the second application.
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  5) Maximum Annual Rate: 40.0 fl oz/A/calendar year (0.35 lb ai/A of cyantraniliprole and 0.075 lb
     ai/A of abamectin)
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
          including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.076 lb ai/A/calendar year of abamectin-containing products including
          all application types (seed treatment, soil, foliar).
  6) For applications made to cranberries, production fields must be drained of water for at least 24
     hours prior to application and water must not be re-applied to the field for a minimum of 24 hours
     following the application.
  7) DO NOT apply by air.
  8) Pre-Harvest Interval (PHI):
      a. Blueberry, low bush and Lingonberry: 3 days
      b. Bearberry; bilberry; cloudberry; cranberry; muntries; partridgeberry: 14 days
  [*Not for Use in California]
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 7.16 Onion, Bulb, Crop Subgroup 3-07A
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Daylily, bulb                          Lily, bulb                      Onion, pearl
  Garlic, bulb                           Onion, bulb                     Onion, potato, bulb
  Garlic, great-headed, bulb             Onion, Chinese, bulb            Shallot, bulb
  Garlic, serpent, bulb
                             Rate
      Target Pest          (fl oz/A)          Application Timing                  Use Directions
  Liriomyza leafminers    7.0  10.0   For leafminer control, apply     For best control of thrips, use
  Thrips (foliage-                     when adult leafminer flies are   10.0 fl oz/A.
      feeding only)                    first observed and repeat
                                       application if needed.           Apply this product diluted in a
                                                                        minimum volume of 20 gal/A by
                                       For thrips control, apply as     ground or 5 gal/A by air.
                                       part of a thrips management
                               10.0    program. Begin making            Under conditions such as high
  Suppression:                         applications when populations    pest populations, dense foliage,
  Spider mites                         are low (1-3 thrips/plant).      or adverse application conditions
                                       Repeat application as            (such as high temperatures), use
                                       needed. If populations are       a greater volume of water to
                                       high, use an effective thrips    ensure adequate coverage.
                                       knockdown product before
                                       spraying Minecto Pro.            Minecto Pro may be applied
                                                                        through overhead chemigation
                                       For spider mite suppression,     systems for suppression of
                                       it is recommended to apply       thrips. See Section 4.5 for more
                                       Minecto Pro when spider          information.
                                       mites first appear.
                                                                        For best control, apply Minecto
                                                                        Pro with ground application
                                                                        equipment. With aerial or
                                                                        chemigation application, the
                                                                        resulting level and duration of
                                                                        control could be less than with
                                                                        ground application.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
  Precaution:
     Do not use Minecto Pro as a rescue treatment for thrips control.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin).
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A cyantraniliprole and 0.038 lb ai/A
      of abamectin).
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     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
         including all application types (seed treatment, soil, foliar).
  6) Pre-harvest Interval (PHI): 30 days
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 7.17 Onion, Green, Crop Subgroup 3-07B
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Chive, fresh leaves                    Ladys leek                     Onion, green
  Chive, Chinese, fresh leaves           Leek                            Onion, macrostem
  Elegans hosta                          Leek, wild                      Onion, tree, tops
  Fritillaria, leaves                    Onion, Beltsville bunching      Onion, Welsh, tops
  Kurrat                                 Onion, fresh                    Shallot, fresh leaves
                            Rate
        Target Pest       (fl oz/A)           Application Timing                  Use Directions
  Liriomyza leafminers 7.0  10.0      For leafminer control, apply     For best control of thrips, use
                                       when adult leafminer flies are   10.0 fl oz/A.
  Thrips (foliage-
                                       first observed and repeat
     feeding only)
                                       application if needed.           Apply this product diluted in a
                                                                        minimum volume of 20 gal/A by
                                       For thrips control, apply as     ground or 5 gal/A by air.
                                       part of a thrips management
                            10.0       program. Begin making            Under conditions such as high
  Suppression:
                                       applications when populations    pest populations, dense foliage,
  Spider mites                         are low (1-3 thrips/plant).      or adverse application conditions
                                       Repeat application as            (such as high temperatures), use
                                       needed. If populations are       a greater volume of water to
                                       high, use an effective thrips    ensure adequate coverage.
                                       knockdown product before
                                       spraying Minecto Pro.            Minecto Pro may be applied
                                                                        through overhead chemigation
                                       For spider mite suppression,     systems for suppression of
                                       it is recommended to apply       thrips. See Section 4.5 for more
                                       Minecto Pro when spider          information.
                                       mites first appear.
                                                                        For best control, apply Minecto
                                                                        Pro with ground application
                                                                        equipment. With aerial or
                                                                        chemigation application, the
                                                                        resulting level and duration of
                                                                        control could be less than with
                                                                        ground application.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
  Precaution:
     Do not use Minecto Pro as a rescue treatment for thrips control.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin).
      a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
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  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A cyantraniliprole and 0.038 lb ai/A
     of abamectin).
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.076 lb ai/A/calendar year of abamectin-containing products
         including all application types (seed treatment, soil, foliar).
  6) DO NOT apply with aircraft in New York State and California.
  7) Pre-harvest Interval (PHI): 7 days
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 7.18 Pome Fruit, Crop Group 11-10
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Apple                                Mayhaw                                Quince
  Azarole                              Medlar                                Quince, Chinese
  Crabapple                            Pear                                  Quince, Japanese
  Loquat                               Pear, Asian                           Tejocote
                              Rate
       Target Pest          (fl oz/A)          Application Timing                  Use Directions
  Codling moth            8.0  12.0 Time applications to the most         When pest populations are
  European apple                         susceptible insect or mite pest   high, use the highest rate
    sawfly                               stage at locally determined       allowed for that pest.
  European red mite                      action thresholds, before
  Green fruitworm                        populations reach damaging        Apply by ground only.
  McDaniel spider mite                   levels. For best results when
  Obliquebanded                          targeting control of sucking      Thorough coverage is
    leafroller                           pests, begin applications         essential to obtain best results.
  Oriental fruit moth                    when populations first appear.    Select a spray volume
  Pear rust mite                                                           appropriate for the size of trees
  Redbanded leafroller                   For spider mite control, apply    and density of foliage, but do
  Spotted tentiform                      when spider mite or insect        not apply diluted product in a
    leafminer                            thresholds are reached.           volume less than 40 gal/A.
  Tufted apple budmoth                   Make a second application, if
  Twospotted spider                      needed, to maintain control.      For apple maggot
    mite                                                                   suppression, use 12.0 fl oz/A
  Variegated leafroller                  For apple maggot                  for best results.
  Western tentiform                      suppression, begin making
   leafminer                             applications when pest
  White apple leaf                       populations are at or below
    hopper                               threshold. Use as part of an
  Yellow mite                            effective control program.
                                         Rotate with products of
  Pear psylla            10.0  12.0
                                         different modes of action. If
  Plum curculio
                                         populations are above
  Rosy apple aphid
                                         threshold, use an effective
                                         knockdown product before
  Suppression:
                                         spraying with Minecto Pro.
  Apple maggot
  Thrips
                                         For thrips control, apply as
                                         part of a thrips management
                                         program. Begin making
                                         applications when populations
                                         are low (1-3 thrips/plant).
                                         Repeat application as
                                         needed. If populations are
                                         high, use an effective thrips
                                         knockdown product before
                                         spraying Minecto Pro.

                                         For best results, start
                                         applications for rosy apple
                                         aphid at green tip to early
                                         pink timing.
  Resistance Management:
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     Do not make more than 2 applications of Minecto Pro or any other foliar applied abamectin-
     containing product per year.
     Do not make more than 3 applications of Group 28 insecticides within a single generation of the
     target pest on a crop.
     Codling moth: Do not make more than 3 applications of Group 28 insecticides within a single
     generation of codling moth. Codling moth typically has a single generation treatment window of
     30-45 days. Application(s) to the next generation of codling moth must be with an effective
     product(s) with a different mode of action (different IRAC group number) for at least a 3045 day
     treatment window before making additional applications of Group 28 insecticides.
     Obliquebanded leafroller: Only apply Minecto Pro or other Group 28 insecticides to one
     generation of obliquebanded leafroller per year. Application(s) to other generations of
     obliquebanded leafroller must be with an effective product with a different mode of action (i.e., a
     product with a different IRAC group number).
  Precautions:
     Applying the combination of Minecto Pro and horticultural spray oil fewer than 14 days before or
     after applying Captan® or other sulfur-containing products can result in phytotoxicity and crop loss.
     Do not tank mix Minecto Pro with any type of adjuvant on these crops unless crop safety has been
     demonstrated.
     See Tank Mix Precautions in Section 4.4.2.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a spray
     adjuvant as instructed in Section 4.4.5. Horticultural spray oil (not dormant oil) is recommended.
     Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 12.0 fl oz/A/application (0.106 lb ai/A of cyantraniliprole and
     0.023 lb ai/A of abamectin)
     a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.023 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 21 days
  5) Maximum Annual Rate: 24.0 fl oz/A/calendar year (0.21 lb ai/A of cyantraniliprole and 0.044 lb
     ai/A of abamectin)
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
     including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.046 lb ai/A/calendar year of abamectin-containing products
     including all application types (seed treatment, soil, foliar).
  6) DO NOT apply by air.
  7) DO NOT allow livestock to graze in treated orchards.




  8) Application is not permitted from onset of flowering until after petal fall is complete.
  9) Pre-harvest Interval (PHI): 28 days
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 7.19 Soybean
  Crops (Including all cultivars, varieties, and/or hybrids of these)
  Soybeans
                                     Rate
         Target Pest               (fl oz/A)     Application Timing                   Use Directions
  Green cloverworm                7.5  10.0 Time applications to          Thorough coverage of the crop
  Spider Mites (Tetranychid                    the most susceptible        canopy is essential for optimum
    species)                                   insect or mite pest         results. Inadequate coverage can
  Soybean looper                               stage at locally            result in reduced control.
  Velvetbean caterpillar                       determined action
  Lesser cornstalk borer              10.0     thresholds, before          Apply this product diluted in a
  Japanese beetle                              populations  reach          minimum volume of 10 gal/A by
  Soybean aphid                                damaging   levels.  For     ground or 5 gal/A by air.
                                               best results when
  Suppression:                                 targeting control of        With aerial application, the
  Bean leaf beetle                             sucking  pests,  begin      resulting control of spider mites
  Stink bug species                            applications when           could be less than with ground
  Thrips (foliage feeding                      populations first           application.
    only)                                      appear.
                                                                           Under conditions such as high
                                                                           pest populations, dense foliage, or
                                               For spider mite             adverse application conditions
                                               control, apply when         (such as high temperatures), use a
                                               spider mites are first      greater volume of water to ensure
                                               observed and repeat         adequate coverage.
                                               application, if needed,
                                               to maintain control.
  Resistance management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
  Precaution:
     The crop safety of Minecto Pro in tank mixture has not been evaluated on this crop. When using
     Minecto Pro alone or in tank mixtures on soybeans, it is recommended that a small area be tested
     to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                             USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
      Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
      0.019 lb ai/A of abamectin)
  a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb ai/A
      of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-applied
      abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
      ai/A of abamectin)
      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
           including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.038 lb ai/A/calendar year of abamectin-containing products
           including all application types (seed treatment, soil, foliar).
  6) DO NOT allow livestock to graze in treated areas or harvest treated soybean forage, straw, or hay
      as feed for meat or dairy animals.
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  7) DO NOT feed treated soybean fodder or silage to meat or dairy animals.
  8) Pre-Harvest Interval (PHI): 28 days
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 7.20 Stone Fruit, Crop Group 12
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Apricot                                Peach                                Plum, Japanese
  Cherry, sweet                          Plum                                 Plumcot
  Cherry, tart                           Plum, Chickasaw                      Prune (fresh)
  Nectarine                              Plum, Damson
                                Rate
       Target Pest            (fl oz/A)          Application Timing                 Use Directions
  Cherry fruit fly           8.0  12.0 Time applications to the          When pest populations are high,
  Codling moth                             most susceptible insect or     use the highest rate allowed for
  European red mite                        mite pest stage at locally     that pest.
  Obliquebanded                            determined action
    leafroller                             thresholds, before             Apply by ground only.
  Omnivorous leafroller                    populations reach damaging
  Oriental fruit moth                      levels. For best results       Thorough coverage is essential
  Pacific spider mite                      when targeting control of      to obtain best results. Select a
  Peach twig borer                         sucking pests, begin           spray volume appropriate for the
  Tufted apple budmoth                     applications when              size of trees and density of
  Twospotted spider                        populations first appear.      foliage but do not apply diluted
    mite                                                                  product in a volume less than 40
  Spotted wing               10.0  12.0   For   spider mite  control,    gal/A.
    Drosophila                             apply   when  spider mites
  Black cherry aphid                       first appear. Make a           For peach twig borer control,
  Japanese beetle                          second    application, if      use higher rates for dormant
  Plum curculio                            needed, to maintain control. applications and lower rates for
                                                                          delayed dormant applications.
  Suppression:                             For   peach  twig  borer       Use 12.0 fl oz/A for best results.
  Thrips                                   control,  application  may  be
                                           made throughout the            For peach twig borer control in
                                           growing season. For April-     the April-May applications to the
                                           May applications to the        summer generation period,
                                           summer generation, make        higher rates in the labeled rate
                                           applications at peak moth      range may be needed for higher
                                           flight (timed at or before     infestation levels and large,
                                           peak egg lay).                 dense foliage trees.
  Resistance Management:
      Do not make more than 2 applications of Minecto Pro or any other foliar applied abamectin-
      containing product per year.
      Do not make more than 3 applications of Group 28 insecticides within a single generation of the
      target pest on a crop.
  Precautions:
      See Tank Mix Precautions in Section 4.4.2.
      Tank mixes with organosilicone adjuvants at rates of 0.03% v/v or lower on sweet or tart cherries
      should not result in crop response on cherry fruit or leaves. However, it is impossible to test all
      conditions and varieties. Therefore, it is recommended that a small area be tested to demonstrate
      safety to fruit and leaves before using in large areas.
                                              USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
      activator type wetting, spreading, and/or penetrating spray adjuvant or with a horticultural spray oil
      (not a dormant oil) as instructed in Section 4.4.5. Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 12.0 fl oz/A/application (0.106 lb ai/A of cyantraniliprole and
      0.023 lb ai/A of abamectin)
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       a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
           ai/A of any foliar-applied cyantraniliprole-containing products or 0.023 lb ai/A of any foliar-
           applied abamectin-containing products.
  4)   Minimum Application Interval: 21 days
  5)   Maximum Annual Rate: 24.0 fl oz/A/calendar year (0.21 lb ai/A of cyantraniliprole and 0.044 lb
       ai/A of abamectin)
       a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
           including all application types (seed treatment, soil, foliar).
       b. Do not apply more than 0.046 lb ai/A/calendar year of abamectin-containing products
           including all application types (seed treatment, soil, foliar).
  6)   DO NOT apply by air.
  7)   DO NOT allow livestock to graze in treated orchards.




  8) Application is not permitted from onset of flowering until after petal fall is complete.
  9) Pre-harvest Interval (PHI): 21 days
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 7.21 Strawberry
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Strawberry
                              Rate
       Target Pest          (fl oz/A)        Application Timing                 Use Directions
  Beet armyworm                10.0      Time applications to the     Apply by ground only.
  Carmine spider mite                    most susceptible insect or
  Corn earworm                           mite pest stage at locally   Thorough coverage is essential
  Fall armyworm                          determined action            to obtain best results. Select a
  Soybean looper                         thresholds, before           spray volume and nozzle
  Spotted wing                           populations reach damaging placement to ensure maximum
    drosophila                           levels. For best results     coverage of tops and undersides
  Strawberry spider                      when targeting control of    of leaves. Do not apply diluted
    mite                                 sucking pests, begin         product in less than 50 gal/A with
  Twospotted spider                      applications when            conventional ground application
    mite                                 populations first appear.    equipment. When using electro-
  Whitefly                                                            static sprayers, do not apply
                                                                      diluted product in less than 10
  Suppression:                                                        gal/A.
  Cyclamen mite
  Thrips (foliage-                                                    For cyclamen mite control,
    feeding only)                                                     apply in sufficient water volume
                                                                      to obtain good coverage into the
                                                                      crown of the plant.

                                                                        For spider mite control, make 2
                                                                        sequential applications 7-10
                                                                        days apart when mites first
                                                                        appear. Repeat this application
                                                                        sequence no sooner than 21
                                                                        days after the second
                                                                        application, if needed, to
                                                                        maintain control.

  Resistance Management:
     For management of thrips, use Minecto Pro in conjunction with an effective thrips management
     system.
     For resistance management purposes, DO NOT use in strawberry nurseries.
  Precaution:
     Not all varieties of strawberries have been tested for crop safety with Minecto Pro alone or in tank
     mixture. It is recommended that a small area be tested to demonstrate safety before using in large
     areas. See Section 4.4.2 for more information.
                                            USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
     activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
     Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
     0.019 lb ai/A of abamectin).
     a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
         ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
         applied abamectin-containing products.
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  4) Minimum Application Interval: 7 days; wait 21 days after the second application before
     repeating application.
  5) Maximum Annual Rate: 40.0 fl oz/A/calendar year (0.35 lb ai/A of cyantraniliprole and 0.075 lb
     ai/A of abamectin)
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.075 lb ai/A/calendar year of abamectin-containing products including
         all application types (seed treatment, soil, foliar).
  6) DO NOT apply by air.
  7) Pre-harvest Interval (PHI): 3 days
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 7.22 Succulent Pea and Bean, Crop Subgroup 6B (Except Cowpea)
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Phaseolus spp.                    Vigna spp.                        Pisum spp.
   Lima bean (green)                 Blackeyed pea                     English pea
  Broad bean (succulent)             Southern pea                      Garden pea
                                                                       Green pea

                                                                         Pigeon pea
                                  Rate
         Target Pest            (fl oz/A)      Application Timing                 Use Directions
  Corn earworm                 7.5  10.0    Time applications to        Thorough coverage of the crop
  European corn borer                        the most susceptible        canopy is essential for optimum
  Leafminers                                 insect or mite pest         results. Inadequate coverage
  Spider Mites                               stage at locally            can result in reduced control.
  Whitefly                        10.0       determined action
                                             thresholds, before          Apply this product diluted in a
  Suppression:                               populations reach           minimum volume of 10 gal/A by
  Potato leafhopper                          damaging levels. For        ground or 5 gal/A by air.
  Thrips (foliage feeding                    best results when
    only)                                    targeting control of        Under conditions such as high
                                             sucking pests, begin        pest populations, dense foliage,
                                             applications when           or adverse application conditions
                                             populations first           (such as high temperatures), use
                                             appear.                     a greater volume of water to
                                                                         ensure adequate coverage.
                                             For spider mites and
                                             leafminer control,          For best control, apply Minecto
                                             apply when spider           Pro with ground application
                                             mites or adult              equipment. With aerial
                                             leafminer flies are first   application, the resulting level
                                             observed and repeat         and duration of control could be
                                             application, if needed,     less than with ground
                                             to maintain control         application.
                                             within constraints of a
                                             sound resistance
                                             management program.
  Resistance Management:
     Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
  Precautions:
     Applications of Minecto Pro to certain species of the commodities in this crop group may result in
     adverse crop response. Affected plants outgrow the effects in most cases. If the risk of adverse
     crop response to Minecto Pro cannot be accepted, do not apply it to legume vegetables.
     The crop safety of Minecto Pro in tank mixture has not been evaluated on these crops. When
     using Minecto Pro alone or in tank mixtures on bean crops, it is recommended that a small area be
     tested to demonstrate safety before using in large areas. See Section 4.4.2 for more information.
                                          USE RESTRICTIONS
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  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
     activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
     Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
     0.019 lb ai/A of abamectin)
     a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
         ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
         applied abamectin-containing products.
  4) Minimum Application Interval: 6 days
  5) Maximum Annual Rate: 30.0 fl oz/A/calendar year (0.26 lb ai/A of cyantraniliprole and 0.056 lb
     ai/A of abamectin)
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.057 lb ai/A/calendar year of abamectin-containing products including
         all application types (seed treatment, soil, foliar).
  6) DO NOT allow livestock to graze pea or bean forage.
  7) DO NOT harvest pea or bean forage or hay for use as livestock feed.
  8) Pre-Harvest Interval (PHI): 7 days
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 7.23 Tree Nuts, Crop Group 14-12
  Crops (including all cultivars, varieties, and/or hybrids of these)
  African nut-tree                     Coconut                             Okari nut
  Almond                               Coquito nut                         Pachira nut
  Beech nut                            Dika nut                            Peach palm nut
  Brazil nut                           Ginkgo                              Pecan
  Brazilian pine                       Guiana chestnut                     Pequi
  Bunya                                Hazelnut (filbert)                  Pili nut
  Bur oak                              Heartnut                            Pine nut
  Butternut                            Hickory nut                         Pistachio
  Cajou nut                            Japanese horse-chestnut             Sapucaia nut
  Candlenut                            Macadamia nut                       Tropical almond
  Cashew                               Mongongo nut                        Walnut, black
  Chestnut                             Monkey-pot                          Walnut, English
  Chinquapin                           Monkey puzzle nut                   Yellowhorn
                            Rate
      Target Pest         (fl oz/A)         Application Timing                   Use Directions
  Codling moth           8.0  12.0    Time applications to the most    When pest populations are high,
  European red mite                    susceptible insect or mite       use the highest rate allowed for
  Hickory shuckworm                    pest stage at locally            that pest.
  Obliquebanded                        determined action
    leafroller                         thresholds, before               Apply by ground only.
  Oriental fruit moth                  populations reach damaging
  Pacific spider mite                  levels. For best results when    Select a spray volume
  Peach twig borer                     targeting control of sucking     appropriate for the size of trees
  Pecan nut                            pests, begin applications        and density of foliage, but do not
    casebearer                         when populations first           apply diluted product in a volume
  Strawberry spider                    appear.                          less than 40 gal/A.
    mite
  Twospotted spider                    For spider mite control,         For codling moth (walnut)
    mite                               apply when spider mites first    control, use higher rates and
  Navel orangeworm       10.0  12.0   appear. Residual spider mite     higher water volumes to achieve
  Walnut aphid                         control is greater from spray    thorough coverage.
                                       deposits on newer leaves
                                       compared to older leaves.        For peach twig borer control in
                                       Make a second application, if    the April-May applications to the
                                       needed, to maintain control.     summer generation, higher rates
                                                                        in the labeled rate range may be
                                       For codling moth (walnut)        needed for higher infestation
                                       control, make initial            levels and large, dense foliage
                                       application at or before peak    trees.
                                       egg lay for targeted
                                       generation. Depending on         For navel orangeworm control,
                                       level of infestation, reapply    depending on infestation levels,
                                       21 days later as needed.         use of higher rates in the labeled
                                                                        rate range and multiple
                                       For peach twig borer             applications may be needed.
                                       control, application may be
                                       made throughout the growing
                                       season. For spring
                                       application to overwintering
                                       generation: Make
                                       applications at late dormant
                                       (just prior to bud break) to
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                                         early bloom. For April-May
                                         applications to the summer
                                         generation: Make
                                         applications at peak moth
                                         flight (timed at or before peak
                                         egg lay).

                                         For navel orangeworm
                                         control, applications can be
                                         made during the May spray
                                         or Hull split application
                                         timing. For applications
                                         made at Hull split timing,
                                         make an application at 1-2%
                                         hull-split timing.
  Resistance Management:
     Do not make more than 2 applications of Minecto Pro or any other foliar applied abamectin-
     containing product per year.
     Do not make more than 3 applications of Group 28 insecticides within a single generation of the
     target pest on a crop.
  Precautions:
     See Tank Mix Precautions in Section 4.4.2.
     Do not tank mix Minecto Pro with any type of adjuvant on these crops unless crop safety has been
     demonstrated.
                                           USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a spray
     adjuvant as instructed in Section 4.4.5. Horticultural spray oil (not a dormant oil) is recommended.
     Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 12.0 fl oz/A/application (0.106 lb ai/A of cyantraniliprole and
     0.023 lb ai/A of abamectin)
     a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
         ai/A of any foliar-applied cyantraniliprole-containing products or 0.023 lb ai/A of any foliar-
         applied abamectin-containing products.
  4) Minimum Application Interval: 21 days
  5) Maximum Annual Rate: 24.0 fl oz/A/calendar year (0.21 lb ai/A of cyantraniliprole and 0.044 lb
     ai/A of abamectin)
     a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
     b. Do not apply more than 0.046 lb ai/A/calendar year of abamectin-containing products
         including all application types (seed treatment, soil, foliar).
  6) DO NOT apply by air.
  7) DO NOT allow livestock to graze in treated orchards.




  8) Application is not permitted from onset of flowering until after petal fall is complete.
  9) Pre-harvest Interval (PHI): 21 days
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 7.24 Tuberous and Corm Vegetables, Crop Subgroup 1C
  Crops (including all cultivars, varieties, and/or hybrids of these)
  Arracacha                           Chayote (root)                  Sweet potato
  Arrowroot                           Chufa                           Tanier
  Artichoke, Chinese                  Dasheen                         Turmeric
  Artichoke, Jerusalem                Ginger                          Yam bean
  Canna, edible                       Leren                           Yam, true
  Cassava, bitter and sweet           Potato
                          Rate
      Target Pest       (fl oz/A)         Application Timing                   Use Directions
  Beet armyworm        5.5  10.0 Time applications to the most     When pest populations are high,
  Colorado potato                   susceptible insect or mite pest use the highest rate allowed for
    beetle                          stage at locally determined     that pest.
  European corn                     action thresholds, before
    borer                           populations reach damaging      Apply this product diluted in a
  Liriomyza                         levels. For best results when   minimum volume of 20 gal/A by
    leafminers                      targeting control of sucking    ground or 5 gal/A by air.
  Potato tuberworm                  pests, begin applications
  Spider mites                      when populations first appear. Under conditions such as high pest
  Yellowstriped                                                     populations, dense foliage, or
    armyworm                        For Colorado potato beetle      adverse application conditions
  Cabbage looper       7.5  10.0 control, make the first           (such as high temperatures), use a
                                    application after               greater volume of water to ensure
                                    approximately 50% of the egg adequate coverage. Thorough
                                    masses have hatched and         coverage of the crop canopy is
                                    early instar larvae are         essential for optimum results.
                                    present. If two applications
  Green peach              10.0     are needed, limit them to a     For best control of mites, apply with
    aphid                           single Colorado potato beetle   ground application equipment.
  Potato psyllid                    generation per crop.            With aerial or chemigation
                                                                    application, the resulting level and
  Suppression:                      For Liriomyza    leafminer      duration of control could be less
  Potato aphid                      control, make the first         than with ground application.
  Potato flea beetle                application when adult flies
  Thrips (foliage                   are first observed. Repeat      For potato tuberworm control,
    feeding only)                   applications, if needed, to     apply at rates of 5.510.0 fl oz/A.
                                    maintain control.               See the Precaution below for
                                                                    further guidance.
                                    For spider mite control, make
                                    the first application when      For potato psyllid control, use a
                                    mites first appear. Repeat      rate of 10 fl oz/A. to help suppress
                                    application, if needed, to      zebra chip disease.
                                    maintain control.
                                                                    Minecto Pro may be applied
                                    For potato tuberworm            through overhead chemigation
                                    control, begin application      systems in potatoes only. See
                                    when field scouting indicates   Section 4.5 for more information.
                                    the presence of tuberworm
                                    adults and/or larvae. Potato    For best control, apply Minecto Pro
                                    tuberworm often has             with ground application equipment.
                                    overlapping generations, so     With aerial or chemigation
                                    repeat application may be       application, the resulting level and
                                    needed based on scouting.       duration of control could be less
                                    Avoid treating successive       than with ground application.
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                                     generations with the same
                                     mode of action.

                                     Begin application when
                                     populations are low to control
                                     potato psyllid, which may
                                     vector zebra chip disease.
                                     This will help to suppress the
                                     expression of the disease
                                     symptoms.

                                     For potato aphid and potato
                                     flea beetle suppression, use
                                     as part of an effective control
                                     program. Rotate with
                                     products with different modes
                                     of action.
  Resistance Management:
      Do not make more than 2 sequential applications of Minecto Pro or any other foliar applied
     abamectin-containing product.
     Colorado Potato Beetle:
      o Do not apply Minecto Pro or other Group 28 insecticides more than twice to a generation of
           Colorado potato beetle or within any 30-day treatment window.
      o Application(s) to the next generation of Colorado potato beetle must be with an effective
           product(s) with a different mode of action (i.e., a non-Group 28 insecticide) for at least a 30-
           day treatment window before making any additional applications of Minecto Pro or other
           Group 28 insecticides.
      o If a Group 28 insecticide was used at-plant either as a soil or seed-piece application, do not
           apply Minecto Pro or other Group 28 insecticides for Colorado potato beetle control for at least
           60 days after emergence. Application(s) for Colorado potato beetle control during the first 30-
           60 days must be with an effective product with a different mode of action for at least a 30-day
           treatment window before making any additional applications of Minecto Pro or other Group
           28 insecticides.
  Precautions:
     Potato tuberworm control: It is important to protect the crop just prior to harvest when foliage
     starts to senesce. Use the higher rate (10.0 fl oz/A) when tuberworm pressure is high. Failure to
     adequately control potato tuberworm larvae prior to crop senescence or vine kill increases the risk
     of tuber damage. Foliar sprays alone, by air or ground, may not provide adequate control of the
     larvae in the mid to lower crop canopy. For best results, add methylated seed oil (MSO) adjuvant at
     1% volume to volume. For chemigation applications, apply in 0.1 to 0.2 acre inches of water and
     add MSO at 12-16 fl oz/A.
     Spider mite control may be greatly reduced when Minecto Pro is applied through chemigation.
                                             USE RESTRICTIONS
  1) Refer to Section 6.1 for additional product use restrictions.
  2) Adjuvant Requirement: To avoid illegal residues, Minecto Pro must be mixed with a non-ionic
     activator type wetting, spreading, and/or penetrating spray adjuvant as instructed in Section 4.4.5.
     Do not use binder or sticker type adjuvants.
  3) Maximum Single Application Rate: 10.0 fl oz/A/application (0.088 lb ai/A of cyantraniliprole and
     0.019 lb ai/A of abamectin)
     a. If a concurrent foliar application of another product is made, do not exceed a total of 0.133 lb
          ai/A of any foliar-applied cyantraniliprole-containing products or 0.019 lb ai/A of any foliar-
          applied abamectin-containing products.
  4) Minimum Application Interval: 7 days
  5) Maximum Annual Rate: 20.0 fl oz/A/calendar year (0.18 lb ai/A of cyantraniliprole and 0.038 lb
     ai/A of abamectin)
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      a. Do not apply more than 0.4 lb ai/A/calendar year of cyantraniliprole-containing products
         including all application types (seed treatment, soil, foliar).
      b. Do not apply more than 0.056 lb ai/A/calendar year of abamectin-containing products
         including all application types (seed treatment, soil, foliar).
  6) DO NOT feed or allow livestock to graze treated foliage.
  7) Pre-harvest Interval (PHI): 14 days
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 8.0 STORAGE AND DISPOSAL
 STORAGE AND DISPOSAL
 Do not contaminate water, food, or feed by storage or disposal.

 Pesticide Storage
 Keep container closed when not in use. Always store pesticides in the original container
 only, away from other pesticides, food, pet food, feed, seed, fertilizers, and veterinary
 supplies. If a leaky container must be contained within another, mark the outer
 container to identify the contents. Storage areas must be locked and secure from
 vandalism, with precautionary signs posted. The storage area must be dry, well-lit, and
 well-ventilated. Keep pesticide storage areas clean. Clean up any spills promptly.
 Protect pesticide containers from extreme heat and cold. Store herbicides, insecticides,
 and fungicides in separate areas within the storage unit. Place liquid formulations on
 lower shelves and dry formulations above. Maintaining a spill kit and fire extinguisher
 on hand and having emergency phone numbers posted will allow you to be prepared for
 emergencies. If spill cleanup PPE is stored nearby, but outside the pesticide storage
 area, it will be accessible when needed.

 Pesticide Disposal
 Wastes resulting from the use of this product must be disposed of on site or at an
 approved waste disposal facility.

 Container Handling [(less than or equal to 5 gallons)]
 Non-refillable container. Do not reuse or refill this container. Triple rinse container (or
 equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
 contents into application equipment or a mix tank and drain for 10 seconds after the flow
 begins to drip. Fill the container 1/4 full with water and recap. Shake for 10 seconds.
 Pour rinsate into application equipment or a mix tank or store rinsate for later use or
 disposal. Drain for 10 seconds after the flow begins to drip. Repeat this procedure two
 more times. Then offer for recycling if available or puncture and dispose of in a sanitary
 landfill, or by incineration, or by other procedures approved by state and local
 authorities.

 Container Handling [(greater than 5 gallons)]
 Non-refillable container. Do not reuse or refill this container. Triple rinse container (or
 equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
 contents into application equipment or a mix tank. Fill the container 1/4 full with water.
 Recap and tighten closures. Tip container on its side and roll it back and forth, ensuring
 at least one complete revolution, for 30 seconds. Stand the container on its end and tip
 it back and forth several times. Turn the container over onto its other end and tip it back
 and forth several times. Empty the rinsate into application equipment or a mix tank or
 store rinsate for later use or disposal. Repeat this procedure two more times. Then
 offer for recycling if available or puncture and dispose of in a sanitary landfill, or by
 incineration, or by other procedures approved by state and local authorities.
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 Container Handling [(greater than 5 gallons)]
 Refillable container. Refill this container with pesticide only. Do not reuse this
 container for any other purpose. Cleaning the container before final disposal is the
 responsibility of the person refilling. To clean container before final disposal, empty the
 remaining contents from this container into application equipment or mix tank. Fill the
 container about 10 percent full with water. Agitate vigorously or recirculate water with
 the pump for 2 minutes. Pour or pump rinsate into application equipment or rinsate
 collection system. Repeat this rinsing procedure two more times. Then offer for
 recycling if available or puncture and dispose of in a sanitary landfill, or by incineration,
 or by procedures approved by state and local authorities.

 CONTAINER IS NOT SAFE FOR FOOD, FEED, OR DRINKING WATER.
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 9.0 CONDITIONS OF SALE AND LIMITATION OF WARRANTY
      AND LIABILITY
  NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
  Warranty and Liability before buying or using this product. If the terms are not
  acceptable, return the product at once, unopened, and the purchase price will be
  refunded.

 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors
 as manner of use or application, weather or crop conditions, presence of other materials
 or other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by
 applicable law, Buyer and User agree to hold SYNGENTA and Seller harmless for any
 claims relating to such factors.

 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the
 inherent risks referred to above, when used in accordance with directions under normal
 use conditions. To the extent permitted by applicable law: (1) this warranty does not
 extend to the use of the product contrary to label instructions or under conditions not
 reasonably foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer
 and User assume the risk of any such use. TO THE EXTENT PERMITTED BY
 APPLICABLE LAW, SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY
 OR OF FITNESS FOR A PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR
 IMPLIED WARRANTY EXCEPT AS WARRANTED BY THIS LABEL.

 To the extent permitted by applicable law, in no event shall SYNGENTA be liable for
 any incidental, consequential or special damages resulting from the use or handling of
 this product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
 EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY
 OF SYNGENTA AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES
 OR DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY,
 CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE)
 RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE
 RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION
 OF SYNGENTA OR SELLER, THE REPLACEMENT OF THE PRODUCT.

 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and Liability, which may not be
 modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.
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 10.0 APPENDIX
 10.1 Minecto Pro Use Summary Table
 IMPORTANT: The table below is a summary of the Crop Use Directions for Minecto
 Pro. However, it is important for the user to read and follow the complete instructions
 contained within this label.


                      Maximum Minecto                                            Maximum
   Crop or Crop Group   Pro Rate per       Minimum                            Minecto Pro Rate
            or          Application       Application    Pre-Harvest Interval     per Year
     Subgroup, with       (lb ai/A)        Interval             - PHI             (lb ai/A)
        examples       CYNT*      ABA*      (days)             (days)         CYNT*    ABA*


  Arugula                 0.088   0.019       7                   7            0.18    0.038


  Caneberry, Crop
  Subgroup 13-07A,        0.088   0.019       7                   7            0.18    0.038
  blackberry


  Celeriac                0.088   0.019       7                   7            0.18    0.038



  Celtuce                 0.088   0.019       7                   7            0.18    0.038


  Citrus Fruit, Crop
  Group 10-10,
                          0.106   0.023       30                  7            0.21    0.044
  orange, lemon,
  grapefruit

  Cotton                  0.088   0.019       21                 20            0.18    0.038

  Cress, Garden and
                          0.088   0.019       7                   7            0.18    0.038
  Upland

  Cucurbit Vegetables,
  Crop Group 9,           0.088   0.019       7                   7           0.18     0.038
  cucumber, squash

  Dried Shelled Pea and
  Bean, Crop Subgroup
                          0.088   0.019       6                   7            0.26    0.056
  6C (except soybean),
  lima bean (dry)
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  Edible Podded
  Legume Vegetables,
  Crop Subgroup 6A,       0.088   0.019    6               7              0.26   0.056
  snap bean, sugar snap
  pea



  Fennel, Florence        0.088   0.019    7               7              0.18   0.038



  Fruiting Vegetables,                              1 (greenhouse
  Crop Group 8-10,        0.088   0.019    7             tomato)          0.18   0.038
  tomato, bell pepper                              7 (all other crops)

  Leaf Petiole
  Vegetables, Crop
                          0.088   0.019    7               7              0.18   0.038
  Subgroup 22B,
  celery
  Leafy Greens, Crop
  Subgroup 4-16A,
                          0.088   0.019    7               7              0.18   0.038
  (except spinach),
  lettuce


                                                 3 (lowbush blueberry,
                                                      lingonberry)
  Low Growing Berries                                14 (bearberry,
                          0.088   0.019    21                             0.35   0.075
  (except strawberry)                             bilberry, cloudberry,
                                                  muntries, partridge
                                                          berry)


  Onion, Bulb, Crop
  Subgroup 3-07A,         0.088   0.019    7               30             0.18   0.038
  garlic, shallot
  Onion, Green, Crop
  Subgroup 3-07B,         0.088   0.019    7               7              0.18   0.038
  chive, leek
  Pome Fruit, Crop
  Group 11-10,            0.106   0.023    21              28             0.21   0.044
  apple, pear


  Soybean                 0.088   0.019    7               28             0.18   0.038


  Stone Fruit, Crop
  Group 12,
                          0.106   0.023    21              21             0.21   0.044
  apricot, peach
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                                                     7;
  Strawberry                  0.088     0.019   21 (after 2nd            3          0.35   0.075
                                                application)

  Succulent Pea and
  Bean, Crop Subgroup
  6B (except cowpea),         0.088     0.019        6                   7          0.26   0.056
  lima bean, (green),
  garden pea

  Tree Nuts, Crop
  Group 14-12,                0.106     0.023        21                 21          0.21   0.044
  almond, pecan

  Tuberous and Corm
  Vegetables, Crop
                              0.088     0.019        7                  14          0.18   0.038
  Subgroup 1C,
  potato, ginger
 *ABA = abamectin; *CYNT = cyantraniliprole
 _____________________________________________________________________
 Minecto®, Quadris®, the ALLIANCE FRAME
 the SYNGENTA Logo and the PURPOSE ICON
 are Trademarks of a Syngenta Group Company.

 Aliette® and Luna® are trademarks of Bayer.

 Bravo® Weather Stik® is a trademark of ADAMA USA.

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 Venom® is a trademark of Valent U.S.A. LLC Agricultural Products.

 Viton is a trademark of the Chemours Company FC, LLC.

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                    For non-emergency (e.g. current product information), call
                          Syngenta Crop Protection at 1-800-334-9481.

 Manufactured for:
 Syngenta Crop Protection, LLC
 P.O. Box 18300
 Greensboro, North Carolina 27419-8300
 Minecto Pro 1592 MAS 0422 AMEND-B 0623-CL  JVB  08/04/23
 000100-01592.20230616B.MINECTO_PRO.AMEND-0623-CL.pdf
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                              Attachment 13
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                            OFFICE OF CHEMICAL SAFETY
                                                                                            AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

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593334

        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under Syngenta’s control,
       Syngenta must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
       under the previously approved labeling for no longer than 12 months from the date of this letter
       or 75 days after the final state approval from those submitted under Term #2, whichever is
       earlier.

    4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
       product that bears the previously approved label but is not under Syngenta’s control as of the
       date of this letter. However, Syngenta should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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593334

       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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593334

In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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593334

and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                        [Master Label]
    Not for Sale, Sale Into, Distribution and/or Use in Nassau, Suffolk, Kings, Queens
  Counties of New York State unless permitted under FIFRA Section 24(c) Special Local
                                      Need Registration


                                                                  GROUP         28    INSECTICIDE
 Ference®

 Insecticide

 For foliar and systemic control of Annual Bluegrass Weevil and other listed pests
 infesting recreational turfgrass (including golf courses) and sod farms

 [Optional Claims]
 1. [Provides quick knockdown and residual control]
 2. [Taken up by the roots and protects plants from insect pests]
 3. [Systemically moves through the plant]
 4. [Root absorbed, with systemic movement through plant]
 5. [Controls multiple pests with one application]
 6. [Single application controls annual bluegrass weevils, white grubs, billbugs, and
    surface feeders [caterpillars]]
 7. [Controls annual bluegrass weevils, grubs, billbugs, and surface feeders
    [caterpillars] all with one application]
 8. [Starts impacting labeled insect pests upon ingestion [contact]]

 Active Ingredient:
 Cyantraniliprole*:
 3-bromo-1-(3-chloro-2-pyridinyl)-N- [4-cyano-2-methyl-6-[(methylamino)
 carbonyl]phenyl]-1H-pyrazole-5-carboxamide:...................................................... 18.66%
 Other Ingredients:                                                                                81.34%
 Total:                                                                                          100.00%

 Ference® is a suspension concentrate.
 This product contains 1.67 pounds of active ingredient per gallon.
 *Cyantraniliprole belongs to the anthranilic diamide chemical class.

 KEEP OUT OF REACH OF CHILDREN. / MANTÉNGASE FUERA DEL ALCANCE DE
 LOS NIÑOS.

 Si usted no entiende la etiqueta, busque a alguien para que se la explique a usted en
 detalle. (If you do not understand the label, find someone to explain it to you in detail.)
 See additional precautionary statements and directions for use inside booklet. Vea el
 folleto para Precauciónes e instrucciónes del uso.

 EPA Reg. No. 100-1551
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 EPA Est. No.


 Net Contents
 [Refillable Container] [Non-refillable Container]




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                          FIRST AID     PRIMEROS AUXILIOS
     Have the product container or label with you when calling a poison control center
                             or doctor or going for treatment.
                                    HOTLINE NUMBER
              For 24-Hour Medical Emergency Assistance (Human or Animal)
             or Chemical Emergency Assistance (Spill, Leak, Fire or Accident),
                                            Call
                                      1-800-888-8372
     Cuando llame a un centro de control de envenenamiento, a un médico, o intente
   obtener tratamiento, tenga a la mano el envase o la etiqueta del producto. Para más
             información sobre el tratamiento médico de emergencia, llame al
                                      1-800-888-8372

 PRECAUTIONARY STATEMENTS

 HAZARDS TO HUMANS AND DOMESTIC ANIMALS
 When used as directed, this product does not present a hazard to humans or domestic
 animals.

 PERSONAL PROTECTIVE EQUIPMENT (PPE)
 Applicators and other handlers must wear:
       Long-sleeved shirt and long pants.
       Shoes plus socks.

 After the product has been diluted in accordance with label directions for use, shirt,
 pants, socks, and shoes are sufficient Personal Protective Equipment (PPE). Follow
 manufacturer’s instructions for cleaning/maintaining PPE. If no such instructions for
 washables are available, use detergent and hot water. Keep and wash PPE separately
 from other laundry.

  USER SAFETY RECOMMENDATIONS
  USERS SHOULD: Wash thoroughly with soap and water after handling and before
  eating, drinking, chewing gum, using tobacco or using the toilet. Remove and wash
  contaminated clothing before reuse.

 EQUIPO DE PROTECCIÓN PERSONAL (PPE)
 Los aplicadores y otros manipuladores de pesticidas necesitan usar:
       Camisa de manga larga, pantalones largos.
       Zapatos y calcetines.

 Después de diluir el pesticida de acuerdo a las instrucciones de uso en la etiqueta, es
 suficiente usar el equipo de protección como camisa de manga larga, pantalones,
 calcetines y zapatos. Sigue las instrucciones del fabricante para la



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 limpieza/mantenimiento del Equipo de Protección Personal. En el caso de no existir
 dichas instrucciones de limpieza para equipos de protección, utilize detergente y agua
 caliente. Mantenga y lave el Equipo de Protección Personal separadamente de otras
 prendas de vestir.

  RECOMENDACIONES DE SEGURIDAD PARA LOS MANIPULADORES DE
  PESTICIDAS
  LOS MANIPULADORES DEBEN: Lávese minuciosamente con agua y jabón
  después de manipular los pesticidas, y antes de comer, beber, masticar chicle, usar
  tabaco o utilizar el sanitario. Quítese la ropa sucia y lávela antes de volverla a usar.

 ENVIRONMENTAL HAZARDS
 This pesticide is toxic to aquatic invertebrates. Drift and runoff may be hazardous to
 aquatic organisms in water adjacent to treated areas.

 This product is highly toxic to bees exposed to direct treatment or residues on blooming
 crops or weeds. Do not apply this product or allow it to drift to blooming plants or weeds
 if bees are foraging the treatment area.

 Surface Water Advisory
 This product may impact surface water quality due to runoff of rain water. This is
 especially true for poorly draining soils and soils with shallow ground water. This
 product is classified as having a high potential for reaching surface water via runoff for
 several months or more after application.
        Do not apply within 50 feet of aquatic habitats (such as, but not limited to, lakes,
        reservoirs, rivers, permanent streams, wetlands or natural ponds, estuaries, and
        commercial fish farm ponds).
        Do not cultivate within 30 feet of the aquatic area to allow growth of a vegetative
        filter strip.
        Runoff of this product will be reduced by avoiding applications when rainfall is
        forecasted to occur within 48 hours.

 Ground Water Advisory
 This chemical has properties and characteristics associated with chemicals detected in
 ground water. This chemical may leach into ground water if used in areas where soils
 are permeable, particularly where the water table is shallow.

 Spray Drift Advisory
 Ference may be applied by ground equipment or aerial application.

  Ground Application
     For broadcast applications made at planting or prior to the emergence of crops,
     applicators are required to use a coarse or coarser droplet size (ASABE S572.1).
     For all other broadcast applications, applicators are required to use a medium or
     coarser droplet size (ASABE S572.1).



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  Aerial Application (sod farms)
     Avoid spraying at a height greater than 10 ft above the ground or vegetative canopy
     unless a greater application height is necessary for pilot safety.

     If the windspeed is 10 miles per hour or less, applicators must use ¾ swath
     displacement upwind at the downwind edge of the field. When the windspeed is
     between 11-15 miles per hour, applicators must use a full swath displacement
     upwind at the downwind edge of the field.

     DO NOT spray when wind speeds exceed 15 mph at the application site. If the
     windspeed is greater than 10 mph, the boom length must be 65% or less of the
     wingspan for fixed wing aircraft and 75% or less of the rotor diameter for
     helicopters. Otherwise, the boom length must be 75% or less of the wingspan for
     fixed-wing aircraft and 90% or less of the rotor diameter for helicopters.

     DO NOT apply during temperature inversions.


 Physical or Chemical Hazards
 Do not place product near or allow product to come into contact with strong oxidizing
 substances (such as potassium permanganate) since a hazardous chemical reaction
 may occur.




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 CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY

  NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
  Warranty and Liability before buying or using this product. If the terms are not
  acceptable, return the product at once, unopened, and the purchase price will be
  refunded.

 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors
 as manner of use or application, weather or crop conditions, presence of other materials
 or other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by applicable
 law, Buyer and User agree to hold SYNGENTA and Seller harmless for any claims
 relating to such factors.

 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the
 inherent risks referred to above, when used in accordance with directions under normal
 use conditions. To the extent permitted by applicable law: (1) this warranty does not
 extend to the use of the product contrary to label instructions, or under conditions not
 reasonably foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer
 and User assume the risk of any such use. TO THE EXTENT PERMITTED BY
 APPLICABLE LAW, SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY
 OR OF FITNESS FOR A PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR
 IMPLIED WARRANTY EXCEPT AS WARRANTED BY THIS LABEL.

 To the extent permitted by applicable law, in no event shall SYNGENTA or Seller be
 liable for any incidental, consequential or special damages resulting from the use or
 handling of this product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
 EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY
 OF SYNGENTA AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES OR
 DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY,
 CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE)
 RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE
 RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION
 OF SYNGENTA OR SELLER, THE REPLACEMENT OF THE PRODUCT.

 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and Liability, which may not be
 modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.




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                                DIRECTIONS FOR USE

 It is a violation of federal law to use this product in a manner inconsistent with its
 labeling. Do not apply this product in a way that will contact workers or other persons,
 either directly or through drift. Only protected handlers may be in the area during
 application.

 For any requirements specific to your state or tribe, consult the state or tribal agency
 responsible for pesticide regulation.

 Read and understand the entire label before using this product. Ference must be used
 in accordance with the directions of this label.

 ENDANGERED AND THREATENED SPECIES PROTECTION REQUIREMENTS

 Before using this product, you must obtain any applicable Endangered Species
 Protection Bulletins (‘Bulletins’) within six months prior to or on the day of application. To
 obtain Bulletins, go to Bulletins Live! Two (BLT) at
 https://www.epa.gov/pesticides/bulletins. When using this product, you must follow all
 directions and restrictions contained in any applicable Bulletin(s) for the area where you
 are applying the product, including any restrictions on application timing if applicable. It
 is a violation of federal law to use this product in a manner inconsistent with its labeling,
 including this labeling instruction to follow all directions and restrictions contained in any
 applicable Bulletin(s). For general questions or technical help, call 1-844-447-3813, or
 email ESPP@epa.gov.




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                        AGRICULTURAL USE REQUIREMENTS

  Use this product only in accordance with its labeling and with the Worker Protection
  Standard, 40 CFR Part 170. This standard contains requirements for the protection
  of agricultural workers on farms (sod farms included), forests, nurseries, and
  greenhouses, and handlers of agricultural pesticides. It contains requirements for
  training, decontamination, notification, and emergency assistance. It also contains
  specific instructions and exceptions pertaining to the statements on the label about
  personal protective equipment, restricted-entry interval, and notification to workers
  (as applicable).

  Do not enter or allow worker entry into treated areas during the restricted-entry
  interval (REI) of 4 hours.

  For early entry into treated areas that is permitted under the Worker Protection
  Standard and that involves contact with anything that has been treated, such as
  plants, soil, or water, wear:
     Long-sleeved shirt and long pants
     Shoes plus socks

                      NON-AGRICULTURAL USE REQUIREMENTS
  The requirements in this box apply to uses of this product that are not within the
  scope of the Worker Protection Standard for agricultural pesticides, 40 CFR Part 170.
  The WPS applies when this product is used to produce agricultural plants on farms,
  forests, nurseries, or greenhouses.

  Professional applications to golf courses, residential, industrial and commercial lawns
  and sports fields are not within the scope of the Worker Protection Standard. Do not
  enter or allow others to enter the treated area until sprays have dried.



 USE RESTRICTIONS AND PRECAUTIONS

    DO NOT formulate this product into other end-use products without written
    permission from Syngenta Crop Protection, LLC.

    DO NOT use on turf grown for seed production.

    DO NOT allow this product to contact plants in bloom if bees are foraging in the
    treatment area.

    DO NOT apply this product through any type of irrigation system.

    DO NOT apply this product with aerial application equipment.




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    DO NOT apply more than 32 fluid ounces (equivalent to 0.4 lb of active ingredient) of
    product per acre per year.

    For foliar uses: DO NOT apply during rain.

    Wait a minimum of 7 days to retreat.

    Not for Sale, Sale Into, Distribution and/or Use in Nassau, Suffolk, Kings, Queens
    Counties of New York State unless permitted under FIFRA Section 24© Special
    Local Need Registration.


 PRODUCT INFORMATION

 Ference is a suspension concentrate that may be applied for the control of annual
 bluegrass weevils, white grubs, billbugs, caterpillars and other listed pests infesting
 landscape and recreational turfgrass (including golf courses and sod farms).

 Ference may be used on turfgrasses that are being grown for aesthetic or recreational
 purposes in or around home lawns, residential dwellings, business and office
 complexes, shopping complexes, multi-family residential complexes, institutional
 buildings, airports, cemeteries, parks, playgrounds, schools, daycare facilities, golf
 courses (tee box areas, roughs, fairways, greens, collars etc.), athletic fields and sod
 farms. Ference may also be used on turfgrass in and around small and large
 companion animal (including horses) boarding and exercising areas providing that the
 animals exposed to the treated areas are not used for human consumption.

 INTEGRATED PEST MANAGEMENT (IPM) PROGRAMS

 Ference is recommended for IPM programs on turf. The feeding behavior of predatory
 beneficial arthropods will aid in extending natural control of other insect and mite pests
 and will reduce the possibility of secondary pest outbreaks. Ference will reduce the
 target pest species that may serve as a food source for beneficial arthropods. If
 Ference is tank-mixed with an insect control product that negatively impacts beneficial
 arthropods, then the full benefit of Ference to the IPM program may not be realized.

 RESISTANCE MANAGEMENT

 Ference is in GROUP 28 of the EPA’s Insecticide and Acaricide Groups based on target
 site of action and may be used in rotational resistance management programs.

 Some insects are known to develop resistance to products used repeatedly for control.
 When this occurs, the labeled dosages fail to suppress the pest population below
 threshold levels. As the development of resistance cannot be predicted, the use of this
 product should conform to resistance management strategies established for the use
 area. These strategies may include incorporation of cultural and biological control



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 practices, alternation of active classes of insecticides on succeeding generations and
 targeting the most susceptible life stage. Consult your local Syngenta representative,
 Cooperative Extension Service specialist or pest control advisor for the latest
 information on resistance management in your area.

 APPLICATION TIMING

 Consult your local Syngenta representative, Cooperative Extension Service specialist or
 pest control advisor for regionally specific information regarding application timing.

 Annual Bluegrass Weevil

 For preventive control of annual bluegrass weevils, apply Ference when early instar
 larvae are hatching and penetrating into the turfgrass sheaths.

 For curative control of summer annual bluegrass weevils, Ference can be applied to
 any asynchronous larval stage. The higher rate in Table 1 may be required to control
 late instar larvae.

 Use Ference as part of a season-long program to prevent turf damage from
 overwintering and following generations of annual bluegrass weevil larvae. Consult
 your local Syngenta representative, Cooperative Extension Service specialist or pest
 control advisor for the latest information on using Ference to control annual bluegrass
 weevil larvae.

 Billbugs: Apply Ference when overwintered adult billbugs are first observed. The
 higher rates listed in Table 1 may be required for applications made in late spring or
 when billbug species other than bluegrass billbug are present.

 Chinch Bugs: For suppression of chinch bugs, apply Ference before eggs hatch.

 European Crane Fly: Apply Ference between midsummer and fall to control the fall
 generation of European crane fly larvae in turfgrass. An application of Ference in early
 summer will also provide white grub control. The higher rate listed in Table 1 may be
 required to achieve European crane fly control when fall applications are made.

 Turf Caterpillars: Ference will provide curative and residual caterpillar control in
 turfgrass. To ensure optimum control, delay watering (irrigation) or mowing for 24 hours
 after application.

 When the area being treated is maintained at a mowing height of greater than one inch,
 then the higher rate listed in Table 1 may be required during periods of high pest
 pressure. Ference provides long term residual control of turfgrass-infesting caterpillars,
 and the duration of control increases with the application rate. For golf course green,
 tee and fairway applications, extend the treatment one boom length around the




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 perimeter of the treated area to minimize subsequent movement of large caterpillars
 onto the treated area.

 White Grubs: Apply Ference for preventative and early curative control of white grub
 species infesting turfgrass. For optimum control, treat from peak adult flight through
 peak egg hatch of the primary white grub species targeted. The need for an application
 may be based on historical monitoring of the site, previous records or experiences,
 current season adult trapping or other methods. The higher rate listed for white grub
 control in Table 1 may be required for curative control when less sensitive mid-instar
 grubs are present. Irrigate turf immediately after application or allow rainfall to move the
 product into the soil.

 APPLICATION RATES FOR LAWNS, GOLF COURSES, OTHER RECREATIONAL
 TURFGRASS AREAS AND SOD FARMS

 For maximum residual effectiveness or for optimal control of large pest infestations,
 apply Ference at up to 24 fluid ounces per acre (= 0.55 fluid ounces per 1,000 square
 feet or 0.313 lb ai/A) to control any of the pests listed below. Apply Ference in sufficient
 water to provide optimal distribution in the treated area (refer to Table 2). Use properly
 calibrated application equipment that will produce a uniform, coarse droplet spray, using
 a low pressure setting to eliminate off target drift.

 Restriction: Do not apply more than 32 fluid ounces of product (equivalent to 0.4 lb of
 active ingredient) per acre per year.

 APPLICATION EQUIPMENT CLEANING

 Prior to application, start with clean, well maintained application equipment.
 Immediately following application, thoroughly clean all application equipment to reduce
 the risk of forming hardened deposits that might become difficult to remove. Drain
 application equipment. Thoroughly rinse application equipment and flush hoses, boom
 and nozzles with clean water. Clean all other associated application equipment. Take all
 necessary safety precautions when cleaning equipment. DO NOT clean equipment
 near wells, water sources or desirable vegetation. Dispose of waste rinse water in
 accordance with local regulations.

 MIXING DIRECTIONS

 Ference is a suspension concentrate (SC) formulation. Ference must be diluted with
 water before application.

 1. Use clean, well maintained and properly calibrated application equipment.
 2. Fill sprayer tank 1/4 to 1/2 full of water.
 3. Shake the container of Ference well before pouring.
 4. Add Ference directly to the sprayer tank.




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 5. Mix thoroughly to fully disperse the insecticide and continue agitation to keep the
    insecticide in suspension. Use mechanical or hydraulic agitation. Do not use air
    agitation.
 6. It is recommended that the mixture not be stored in the spray or mix tank overnight.

 Tank Mixtures

 Ference may be tank-mixed with other pesticides. When tank-mixing Ference with
 other pesticides, observe all precautions and limitations on each separate product label.
 DO NOT exceed label dosage rates. Ference may not be mixed with any product
 containing a label prohibition against such mixing. The physical compatibility of
 Ference will vary with different sources of pesticide products and local cultural practices.
 For a tank-mixture test, prepare on a small scale (pint or quart jar) using the proper
 proportions of pesticides and water to ensure the physical compatibility of the mixture.
 Always follow the tank mix instructions of the product label that is most restrictive.

 Tank-mixing Sequence:

 Add different formulation types in the sequence indicated below. Allow time for
 complete mixing and dispersion after the addition of each product.

 1. Water-soluble bags
 2. Water-dispersible granules
 3. Wettable powders
 4. Ference and other water-based suspension concentrates
 5. Water-soluble concentrates
 6. Oil-based suspension concentrates
 7. Emulsifiable concentrates
 8. Adjuvants, surfactants, oils
 9. Soluble fertilizers
 10. Drift retardants




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 Table 1: Turf Application Rates
                                                       Ference Turf Application Rates
                                       Fl oz product           Fl oz product               Lb ai
             Target Pest                 per acre**            per 1,000 sq ft            per acre
  Annual bluegrass weevil                12 to 20              0.275 to 0.459           0.157 to 0.261
  Billbugs                                8 to 16              0.184 to 0.367           0.104 to 0.208
  Chinch bugs (suppression
                                          8 to 20              0.184 to 0.459           0.104 to 0.261
  only)
  European Crane Fly                      8 to 16              0.184 to 0.367           0.104 to 0.208
  Turf Caterpillars (including
  armyworms, cutworms and                 2 to 16              0.046 to 0.367           0.026 to 0.208
  sod webworms)
  White Grubs (including
  Aphodius spp., Asiatic garden
  beetle, black turfgrass
  ataenius*, European chafer,
  green June beetle, Japanese
  beetle, May/June beetles                8 to 16              0.184 to 0.367           0.104 to 0.208
  (Phyllophaga spp.), northern
  masked chafer, oriental
  beetle, [and] southern
  masked chafer [and
  sugarcane grub]
 *Applications targeting black turfgrass ataenius larvae should be made from peak adult flight
  through peak egg hatch to ensure control of the first-generation larvae. A second Ference
  application may be required to control second-generation black turfgrass ataenius.
 **Do not apply more than 32 fl oz of product per acre per calendar year.




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                                                                                              Ference


 Table 2: Turf Application Dilution Chart
                                                          Fluid ounces of Ference diluted to these
                        Turf Application Rates                   volumes of finished spray
  Application
    Volume                       Fl oz
    (gallons      Fl oz        product
      per        product     per 1,000 sq    Lb ai
  1,000 sq ft)   per acre          ft       per acre      1 gal      5 gal      10 gal       100 gal
                    1           0.023        0.013        0.023      0.115        0.23         2.3
                    2           0.046        0.026        0.046       0.23        0.46         4.6
                    4           0.092        0.052        0.092       0.46        0.92         9.2
       1            8           0.184        0.104        0.184       0.92        1.84        18.4
                   16           0.367        0.208        0.367       1.84        3.67        36.7
                   20            0.46        0.26          0.46       2.3         4.6         46.0
                   24            0.55        0.313         0.55       2.76        5.5         55.0
                    1           0.023        0.013        0.0115     0.058       0.115        1.15
                    2           0.046        0.026        0.023      0.115        0.23         2.3
                    4           0.092        0.052        0.046       0.23        0.46         4.6
       2            8           0.184        0.104        0.092       0.46        0.92         9.2
                   16           0.367        0.208        0.184       0.92        1.84        18.4
                   20            0.46        0.26          0.23       1.15        2.3         23.0
                   24            0.55        0.313        0.275       1.38        2.75        27.5
                    1           0.023        0.013        0.0077     0.039       0.077        0.77
                    2           0.046        0.026        0.015      0.077        0.15         1.5
                    4           0.092        0.052         0.03      0.154        0.3          3.0
       3            8           0.184        0.104         0.06      0.308        0.6          6.0
                   16           0.367        0.208        0.123      0.616        1.23        12.3
                   20            0.46        0.26         0.153       0.77        1.53        15.3
                   24            0.55        0.313        0.184       0.92        1.84        18.4
                    1           0.023        0.013        0.0058     0.029       0.058        0.58
                    2           0.046        0.026        0.0115     0.058       0.115        1.15
                    4           0.092        0.052        0.023      0.116        0.23         2.3
       4            8           0.184        0.104        0.046       0.23        0.46         4.6
                   16           0.367        0.208        0.092       0.46        0.92         9.2
                   20            0.46        0.26         0.115       0.58        1.15        11.5
                   24            0.55        0.313        0.138       0.7         1.38        13.8




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                                                                                              Ference


                                                          Fluid ounces of Ference diluted to these
                        Turf Application Rates                   volumes of finished spray
  Application
    Volume                       Fl oz
    (gallons      Fl oz        product
      per        product     per 1,000 sq    Lb ai
  1,000 sq ft)   per acre          ft       per acre      1 gal      5 gal      10 gal       100 gal
                    1           0.023        0.013        0.0046     0.023       0.046        0.46
                    2           0.046        0.026        0.0092     0.046       0.092        0.92
                    4           0.092        0.052        0.0184     0.092       0.184        1.84
       5            8           0.184        0.104        0.037      0.184        0.37         3.7
                   16           0.367        0.208        0.074      0.368        0.74         7.4
                   20            0.46        0.26         0.092       0.46        0.92         9.2
                   24            0.55        0.313         0.11       0.55        1.1         11.0
                    1           0.023        0.013        0.0023    0.0115       0.023        0.23
                    2           0.046        0.026        0.0046     0.023       0.046        0.46
                    4           0.092        0.052        0.0092     0.046       0.092        0.92
      10            8           0.184        0.104        0.0184     0.092       0.184        1.84
                   16           0.367        0.208        0.0367     0.184       0.367        3.67
                   20            0.46        0.26         0.046       0.23        0.46         4.6
                   24            0.55        0.313        0.055      0.276        0.55         5.5


     To convert from fluid ounces to milliliters, multiply by 29.57.
     1 fluid ounce = 29.57 ml = 2 tablespoons = 6 teaspoons.
     Do not use household utensils to measure Ference.


  STORAGE AND DISPOSAL

  Do not contaminate water, food, or feed by storage or disposal.

  Pesticide Storage
  Do not subject to temperatures below 32°F. Store product in original container only
  in a location inaccessible to children and pets. Do not contaminate water, other
  pesticides, fertilizer, food or feed in storage. Not for use or storage in or around the
  home.

  Pesticide Disposal
  Do not contaminate water, food or feed by storage or disposal. Wastes resulting
  from the use of this product must be disposed of on site or at an approved waste
  disposal facility.



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                                                                                     Ference




  Container Handling [(less than or equal to 5 gallons)]
  Non-refillable container. Do not reuse or refill this container. Triple rinse container
  (or equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
  contents into application equipment or a mix tank and drain for 10 seconds after the
  flow begins to drip. Fill the container 1/4 full with water and recap. Shake for 10
  seconds. Pour rinsate into application equipment or a mix tank or store rinsate for
  later use or disposal. Drain for 10 seconds after the flow begins to drip. Repeat this
  procedure two more times. Then offer for recycling if available or puncture and
  dispose of in a sanitary landfill, or by incineration, or by other procedures approved
  by state and local authorities.

  Container Handling [(greater than 5 gallons – mini-bulk)]
  Non-refillable container. Do not reuse or refill this container. Triple rinse container
  (or equivalent) promptly after emptying. Triple rinse as follows: Empty the remaining
  contents into application equipment or a mix tank. Fill the container 1/4 full with
  water. Replace and tighten closures. Tip container on its side and roll it back and
  forth, ensuring at least one complete revolution, for 30 seconds. Stand the container
  on its end and tip it back and forth several times. Turn the container over onto its
  other end and tip it back and forth several times. Empty the rinsate into application
  equipment or a mix tank or store rinsate for later use or disposal. Repeat this
  procedure two more times. Then offer for recycling if available or puncture and
  dispose of in a sanitary landfill, or by incineration, or by other procedures approved
  by state and local authorities.

  Container Handling [(greater than 5 gallons – bulk)]
  Refillable container. Refill this container with pesticide only. Do not reuse this
  container for any other purpose. Cleaning the container before final disposal is the
  responsibility of the person disposing of the container. Cleaning before refilling is the
  responsibility of the person refilling. To clean container before final disposal, empty
  the remaining contents from this container into application equipment or mix tank.
  Fill the container about 10 percent full with water. Agitate vigorously or recirculate
  water with the pump for 2 minutes. Pour or pump rinsate into application equipment
  or rinsate collection system. Repeat this rinsing procedure two more times. Then
  offer for recycling if available or puncture and dispose of in a sanitary landfill, or by
  incineration, or by other procedures approved by state and local authorities.

 Ference®, the ALLIANCE FRAME
 the Syngenta Logo and the PURPOSE ICON
 are Trademarks of a Syngenta Group Company

   20XX Syngenta




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                                                                                    Ference


          For non-emergency information (e.g., current product information), call
                     Syngenta Crop Protection at 1-800-334-9481.

 Manufactured for:
 Syngenta Crop Protection, LLC
 P. O. Box 18300
 Greensboro, North Carolina 27419-8300



 Ference 1551 MAS 0619 AMEND-B JUNE2023-CL-jd-8/7/23
 000100-01551.20230615B.FERENCE.AMEND.0623-CL




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                              Attachment 14
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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                        WASHINGTON, DC 20460

                                                                                            OFFICE OF CHEMICAL SAFETY
                                                                                            AND POLLUTION PREVENTION
                                                       September 27, 2023

Robyn Clark
Syngenta Crop Protection, LLC
P.O. Box 18300
Greensboro, NC 27419

Subject:                 Registration Amendment – Amended Terms and Conditions, and Revised Labeling
                         Product Names: Fortenza, Fortenza Red, Minecto Duo Insecticide, Minecto Pro,
                         Mainspring GNL, Zyrox Fly Granular Bait, Spinner Insecticide, Ference, Mainspring
                         Flora and A16901B Residential Insecticide
                         EPA Registration Numbers: 100-1420, 100-1418, 100-1421, 100-1592, 100-1543, 100-
                         1541, 100-1424, 100-1551, 100-1585 and 100-1423
                         Application Date: June 15, 2023
                         Decision Numbers: 593337, 593338, 593342, 593343, 593341, 593344, 594352,
                         593336, 593339 and 593334

Dear Ms. Clark:

The amended labels referred to above, submitted in connection with registration under the Federal
Insecticide, Fungicide, and Rodenticide Act (FIFRA), as amended, are acceptable. Accordingly, EPA
has approved the requested registration amendments, provided Syngenta Crop Protection, LLC
(“Syngenta”) complies with all terms and conditions listed below.

Terms and Conditions

Syngenta must comply with all the following terms and conditions. Release for shipment of these
products constitutes acceptance of the below conditions. If these conditions are not complied with, the
registrations will be subject to cancellation in accordance with FIFRA section 6.

Endangered Species Protection and Formal Consultation

      1. For this action, EPA conducted effects determinations under the Endangered Species Act
         (ESA). In its final effects determinations (included in a biological evaluation), EPA made may
         affect, likely to adversely affect (LAA), determinations for certain listed species and designated
         critical habitats for products containing cyantraniliprole (including this product). For these
         LAA determinations, EPA also assessed the potential likelihood of jeopardy or adverse
         modification in its effects determination, consistent with 50 C.F.R. § 402.40(b)(1). EPA
         predicted no potential likelihood of jeopardy for listed species or adverse modification for
         designated critical habitat. On September 25, 2023, EPA initiated formal consultation with the

PRIA Non-New-Use Label Acceptable v.20150320
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593334

        Services. The Services will make the final determination as to the potential for jeopardy for
        listed species or adverse modification for designated critical habitat in any final biological
        opinions issued at the completion of consultation.

        If, following formal consultation with Service(s), additional modifications are identified in any
        applicable Biological Opinion, EPA will notify Syngenta in writing within 45 calendar days of
        the issuance of the Biological Opinion of any necessary changes. Within 30 calendar days of
        receiving EPA’s notice, Syngenta must submit an amendment application incorporating the
        necessary changes, including amended labels. Alternatively, Syngenta may respond by
        submitting a request for voluntary cancellation of this product. If Syngenta fails to comply with
        this term, Syngenta has agreed in prior written acceptance of these terms that EPA may cancel
        the registration under an expedited process under FIFRA 6(e).

Implementation of Revised Labeling

    2. To ensure the prompt adoption of the mitigations in this registration amendment in newly
       produced product and previously produced product that is still under Syngenta’s control,
       Syngenta must submit state registrations for approval, in all states where products are currently
       registered, for the products with the labeling associated with this approval letter no later than
       November 30, 2023.

    3. In accordance with 40 C.F.R. § 152.130(c), product may be distributed or sold by Syngenta
       under the previously approved labeling for no longer than 12 months from the date of this letter
       or 75 days after the final state approval from those submitted under Term #2, whichever is
       earlier.

    4. Nothing in Terms #2-3 should be read to obligate Syngenta to provide additional labeling for
       product that bears the previously approved label but is not under Syngenta’s control as of the
       date of this letter. However, Syngenta should conduct outreach for users of this product to
       update them on the forthcoming changes to the label and their importance in mitigating
       potential effects to listed species and avoiding violations of the Endangered Species Act.

EPA’s Rationale for Approving This Registration Amendment

FIFRA section 3(c)(5) requires EPA to unconditionally approve a registration amendment if:
    “its composition is such as to warrant the proposed claims for it”; 1
    “its labeling and other material required to be submitted comply with the requirements of
      [FIFRA]”; 2

1
  FIFRA § 3(c)(5)(A), 7 U.S.C. § 136a(c)(5)(A). Here, EPA reviewed the proposed labeling and determined that the claims
made for the product were consistent with composition of the product based on the data submitted.
2
  FIFRA § 3(c)(5)(B), 7 U.S.C. § 136a(c)(5)(B). Here, EPA reviewed the submitted labeling and other materials submitted
and found them to be compliant with the requirements of FIFRA. Additionally, there are no data gaps.
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       “it will perform its intended function without unreasonable adverse effects on the
        environment”; 3 and
       “when used in accordance with widespread and commonly recognized practice it will not
        generally cause unreasonable adverse effects on the environment.” 4

Prior to approving the previous registrations and registration amendments for this product and others
containing cyantraniliprole, EPA considered risks and benefits of approving the registrations and
registration amendments. To determine the risks and benefits, the Agency reviews a large body of
information to determine the effects of using these products. In assessing the risks from use of products
containing cyantraniliprole, EPA has conducted both human health risk assessments 5 and ecological
and environment fate risk assessments. 6 EPA also updated its ecological and environmental fate risk
assessments in support of the 2023 draft biological evaluation (BE). 7 EPA believes that that these risk
assessments (and the benefits discussed below) are also applicable to the action to approve this
amended registration.



3
  FIFRA § 3(c)(5)(C), 7 U.S.C. § 136a(c)(5)(C).
4
  FIFRA § 3(c)(5)(D), 7 U.S.C. § 136a(c)(5)(D).
5
  Summary of Analytical Chemistry and Residue Data (Jan. 25, 2013) (EPA-HQ-OPP-2011-0668-0009); Dietary Exposure
and Risk Assessment (Jan. 29, 2013) (EPA-HQ-OPP-2011-0668-0010); Occupational and Residential Exposure and Risk
Assessment for the Proposed New Uses of the New Active Insecticide Cyantraniliprole (Feb. 28, 2013) (EPA-HQ-OPP-
2011-0668-0011); Aggregate Human Health Risk Assessment for the Proposed New Uses of the New Active Insecticide
Cyantraniliprole (Mar. 7, 2013) (EPA-HQ-OPP-2011-0668-0012); Chronic Aggregate Dietary Exposure and Risk
Assessments in Support of a Section 3 Registration Action (Sept. 7, 2016) (EPA-HQ-OPP-2014-0357-0009); Human
Health Risk Assessment for Various Proposed Uses and Several Tolerance Requests without U.S. Registration (Jan. 12,
2017) (EPA-HQ-OPP-2014-0357-0011); Summary of Analytical Chemistry and Residue Data (Apr. 21, 2016) (EPA-HQ-
OPP-2014-0357-0012); Summary of Analytical Chemistry and Residue Data (Aug. 8, 2016) (EPA-HQ-OPP-2014-0357-
0013); Human Health Risk Assessment for Proposed Uses and Tolerance Requests on Coffee; Caneberry Subgroup 13-
07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry; Brassica Leafy
Greens Subgroup 4-16A; Leafy Greens Subgroup 4-16B (June 20, 2018) (EPA-HQ-OPP-2017-0694-0011); Chronic
Aggregate Dietary Exposure and Risk Assessments for Proposed Uses and Tolerance Requests on Coffee; Caneberry
Subgroup 13-07A; Low Growing Berry Subgroup 13-07H, Except Strawberry, Lowbush Blueberry and Lingonberry;
Brassica Leafy Greens Subgroup 4-16A (May 30, 2018) (EPA-HQ-OPP-2017-0694-0012); Human Health Risk
Assessment for an Inadvertent Tolerance on Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0007); Highly Refined
Chronic Aggregate Dietary Exposure and Risk Assessments for Proposed Inadvertent Use and Tolerance Request on
Sugarcane (Feb. 28, 2022) (EPA-HQ-OPP-2021-0154-0008).
6
  Environmental Fate and Ecological Risk Assessment for the Registration of the New Chemical Cyantraniliprole –
Amended (April 30, 2013) (EPA-HQ-OPP-2011-0668-0008); Environmental Risk Assessment of Proposed New Global
Chemical Cyantraniliprole – Addendum (Jan. 24, 2014) (EPA-HQ-OPP-2011-0668-0055); Revised Drinking Water
Assessment including Ground Water Exposure Refinements for Proposed New Uses on Leafy, Bulb, Fruiting, and Cucurbit
Vegetables with Two Seasons of Applications (June 9, 2016) (EPA-HQ-OPP-2014-0357-0010); Ecological Risk
Assessment and Drinking Water Assessment for the IR-4 New Use Petition for Pronamide on Low Growing Berry
Subgroup except Strawberry, Subgroup 13-07H; Stone Fruit Crop group 12-12; Pome Crop Group 11-10; Caneberry
subgroup 13-07A; Bushberry subgroup 13-07B; and Small Fruit Vine Climbing Subgroup (except Fuzzy Kiwifruit
Subgroup 13-07F) (May 14, 2018) (EPA-HQ-OPP-2017-0694-0013).
7
  See EPA’s Draft Biological Evaluation for Cyantraniliprole and supporting documentation, available at EPA-HQ-OPP-
2011-0668, Document ID Nos. 71-72, 75-87.
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In the human health risk assessments, EPA did not select an acute dietary toxicity endpoint because the
Agency did not identify any effect attributed to a single dose (i.e., CTP is not expected to pose an acute
risk to humans). In general, CTP produces both adverse and adaptive changes in the liver, thyroid
gland, and adrenal cortex. With repeat dosing, consistent findings of mild to moderate increases in
liver weights are observed across multiple species (rats, mice, dogs). CTP was classified as “not likely
to be carcinogenic to humans” based upon data demonstrating lack of treatment-related increase in
tumor incidence in rats and mice. No cumulative effects were identified. CTP presents no
mutagenicity, neurotoxicity, immunotoxicity, developmental reproductive toxicity.

In the environmental risk assessments, EPA identified risks of concern for both aquatic and terrestrial
invertebrates. Overall, however, the major risks of concerns are for direct effects to freshwater,
estuarine/marine, and benthic invertebrates. EPA did not identify direct risks of concerns for birds,
reptiles, amphibians, freshwater fish, terrestrial plants, or aquatic plants.

EPA also considered the benefits of products containing cyantraniliprole, including CTP’s activity on a
wide variety of target insects on a variety of crops. CTP is effective for controlling aphids, weevils and
thrips—all major agricultural pests. CTP is not expected to pose any acute risk to humans and was
registered in 2013 as a reduced risk pesticide due to it posing lower relative risk to alternative
chemicals available at that time. CTP also poses lower risk to non-target organisms relative to
alternatives and is compatible with IPM practices.

This amended registration includes additional mitigation measures to address effects to listed species,
including the following:

    •    Requirement that applicators use coarse/coarser droplets for ground and aerial applications to
         reduce spray drift
    •    Requirement that aerial applications abide by wind-directional buffers, as identified in Bulletins
         Live Two (BLT), also to reduce spray drift
    •    Increase in distance of vegetative filter strips from 25 to 30 feet to mitigate the potential for
         runoff to aquatic habitats
    •    Use of a 25’ buffer for airblast applications to dormant, non-bearing and/or vegetation that is
         not yet fully leafed out
    •    Requirement that treated seeds be immediately covered or collected if spilled during loading

After consideration, EPA has determined that approving this amended registration will not cause
unreasonable adverse effects because the amended registrations are not expected to result in increased
exposures 8 and because EPA continues to believe that—consistent with the 2014 registration decision 9

8
  While the mitigations in the amended registrations are intended to reduce exposures to listed species, EPA expects that the
mitigations will (1) not increase exposures to other non-listed non-target organisms, and (2) will generally reduce exposures
to all non-target organisms (both listed and non-listed).
9
  For EPA’s full risk-benefit analysis, see Registration of New Active Ingredient Cyantraniliprole, at 13-14 (Jan. 24, 2014)
(EPA-HQ-OPP-2011-0668-0057).
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and other previous registration decision for products contain cyantraniliprole—the benefits of these
registrations outweigh any remaining risks of concern from its use and there are no human dietary risks
from uses of cyantraniliprole that are inconsistent with the FFDCA safety standard. 10 Accordingly,
EPA is approving these registration amendments because the FIFRA registration standard is met.

Conclusion

A stamped copy of your labeling is enclosed for your records. This labeling supersedes all previously
accepted labeling. You must submit one copy of the final printed labeling before you release the
product for shipment with the new labeling. Consistent with Terms 2-5 above, and not withstanding 40
C.F.R. § 152.130(c), you may only distribute or sell 11 this product under either the final stamped label
associated with this approval letter or with accompanying labeling that incorporates the mitigations in
this registration amendment.

Should you wish to add/retain a reference to the company’s website on your label, then please be
aware that the website becomes labeling under FIFRA and is subject to review by the Agency. If the
website is false or misleading, the product would be misbranded and unlawful to sell or distribute
under FIFRA section 12(a)(1)(E). 40 C.F.R. § 156.10(a)(5) lists examples of statements EPA may
consider false or misleading. In addition, regardless of whether a website is referenced on your
product’s label, claims made on the website may not substantially differ from those claims approved
through the registration process. Therefore, should the Agency find or if it is brought to our attention
that a website contains false or misleading statements or claims substantially differing from the EPA-
approved registration, the product will be referred to EPA’s Office of Enforcement and Compliance.

If you have any questions, please contact Gene Benbow at 703-712-9669 or at benbow.gene@epa.gov.

                                                              Sincerely,



                                                              Deanna (Dee) Colby, Chief
                                                              Invertebrate & Vertebrate Branch 3
                                                              Registration Division
                                                              Office of Pesticide Programs


Enclosure


10
   See FIFRA § 2(bb) (defining “unreasonable adverse effects on the environment” as, in relevant part, “any unreasonable
risk to [humans] or the environment, taking into account the economic, social, and environmental costs and benefits of the
use of the pesticide” or any “human dietary risks” from pesticidal residues in or on food).
11
   See FIFRA § 2(gg), 7 U.S.C. § 136(gg); 40 C.F.R. § 152.3.
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                                                      [Master label]

  Sale, use, and distribution of this product in Nassau and Suffolk Counties in the
                           State of New York is prohibited.

                                               CYANTRANILIPROLE GROUP 28 INSECTICIDE

 Fortenza® Red

 Insecticide

 A seed treatment product for protection against early-season damage caused by
 [Colorado potato beetle and European corn borer on potato;] cutworms and flea beetles
 on rapeseed crop subgroup 20A; cutworms and wireworms on sunflower crop subgroup
 20B and cottonseed crop subgroup 20C; cutworms, grubs, wireworms, fall armyworm,
 and seedcorn maggot on corn; bean leaf beetle, thrips, grubs, and wireworms on
 soybeans; and rice water weevil on rice (dry-seeded)


 Active Ingredient:
 Cyantraniliprole1 ...................................................................................................... 48.8%
 Other Ingredients:                                                                                                       51.2%
 Total:                                                                                                                 100.0%
 1CAS No. 736994-63-1


 Fortenza Red is formulated as a flowable suspension that contains 5.0 lb/gal [600 g/L]
 of cyantraniliprole (FS). One fluid ounce of Fortenza Red contains 17.72 grams of
 cyantraniliprole.

 KEEP OUT OF REACH OF CHILDREN.

 CAUTION
 See additional precautionary statements and directions for use [in booklet] [on label].

 EPA Reg. No. 100-1418
 EPA Est. xxxxx


 _____________
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                                             FIRST AID
  If in eyes                Hold eye open and rinse slowly and gently with water for 15-20
                            minutes.
                            Remove contact lenses, if present, after the first 5 minutes, then
                            continue rinsing.
                            Call a poison control center or doctor for treatment advice.
  If inhaled                Move person to fresh air.
                            If person is not breathing, call 911 or an ambulance, then give
                            artificial respiration, preferably by mouth-to-mouth, if possible.
                            Call a poison control center or doctor for further treatment
                            advice.
  If swallowed              Call a poison control center or doctor immediately for treatment
                            advice.
                            Have person sip a glass of water if able to swallow.
                            Do not induce vomiting unless told to do so by the poison
                            control center or doctor.
                            Do not give anything by mouth to an unconscious person.
  If on skin or             Take off contaminated clothing.
  clothing                  Rinse skin immediately with plenty of water for 15-20 minutes.
                            Call a poison control center or doctor for treatment advice.
  Have the product container or label with you when calling a poison control center or
  doctor, or going for treatment.
                                         HOTLINE NUMBER
               For 24-Hour Medical Emergency Assistance (Human or Animal)
              or Chemical Emergency Assistance (Spill, Leak, Fire or Accident)
                                                 Call
                                          1-800-888-8372


 PRECAUTIONARY STATEMENTS

 Hazards to Humans and Domestic Animals

                                         CAUTION

 Causes moderate eye irritation. Avoid contact with eyes or clothing. Wash thoroughly
 with soap and water after handling, and before eating, drinking, chewing gum, using
 tobacco, or using the toilet.
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 Personal Protective Equipment (PPE)

 Applicators and Other Handlers Must Wear:
       Long-sleeved shirt and long pants
       Chemical-resistant gloves made of barrier laminate, butyl rubber 14 mils, nitrile
       rubber 14 mils, neoprene rubber 14 mils, natural rubber 14 mils,
       polyethylene, polyvinyl chloride (PVC) or Viton™ 14 mils
       Shoes plus socks

 User Safety Requirements
 Follow manufacturer’s instructions for cleaning/maintaining PPE. If no such instructions
 exist for washables, use detergent and hot water. Keep and wash PPE separately from
 other laundry.

 Engineering Control Statements
 When handlers use closed systems in a manner that meets the requirements listed in
 the Worker Protection Standard (WPS) for agricultural pesticides (40 CFR 170.240(d)(4-
 6)), the handler PPE requirements may be reduced or modified as specified in the WPS.

  User Safety Recommendations
  Users should:
        Wash thoroughly with soap and water after handling.
        Wash hands before eating, drinking, chewing gum, using tobacco, or
        using the toilet.
        Remove clothing immediately if pesticide gets inside. Then wash
        thoroughly and put on clean clothing.
        Remove PPE immediately after handling this product. Wash the outside of
        gloves before removing. As soon as possible, wash thoroughly and
        change into clean clothing.

 Environmental Hazards
 This pesticide is toxic to aquatic invertebrates. This product is highly toxic to bees
 exposed to direct treatment or residues on blooming crops or weeds. Do not
 contaminate water when disposing of equipment washwater.
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 CONDITIONS OF SALE AND LIMITATION OF WARRANTY AND LIABILITY

  NOTICE: Read the entire Directions for Use and Conditions of Sale and Limitation of
  Warranty and Liability before buying or using this product. If the terms are not
  acceptable, return the product at once, unopened, and the purchase price will be
  refunded.
 The Directions for Use of this product must be followed carefully. It is impossible to
 eliminate all risks inherently associated with the use of this product. Crop injury,
 ineffectiveness or other unintended consequences may result because of such factors
 as manner of use or application, weather or crop conditions, presence of other materials
 or other influencing factors in the use of the product, which are beyond the control of
 SYNGENTA CROP PROTECTION, LLC or Seller. To the extent permitted by
 applicable law, Buyer and User agree to hold SYNGENTA and Seller harmless for any
 claims relating to such factors.
 SYNGENTA warrants that this product conforms to the chemical description on the label
 and is reasonably fit for the purposes stated in the Directions for Use, subject to the
 inherent risks referred to above, when used in accordance with directions under normal
 use conditions. To the extent permitted by applicable law: (1) this warranty does not
 extend to the use of the product contrary to label instructions, or under conditions not
 reasonably foreseeable to or beyond the control of Seller or SYNGENTA, and (2) Buyer
 and User assume the risk of any such use. TO THE EXTENT PERMITTED BY
 APPLICABLE LAW, SYNGENTA MAKES NO WARRANTIES OF MERCHANTABILITY
 OR OF FITNESS FOR A PARTICULAR PURPOSE NOR ANY OTHER EXPRESS OR
 IMPLIED WARRANTY EXCEPT AS WARRANTED BY THIS LABEL.
 To the extent permitted by applicable law, in no event shall SYNGENTA be liable for
 any incidental, consequential or special damages resulting from the use or handling of
 this product. TO THE EXTENT PERMITTED BY APPLICABLE LAW, THE
 EXCLUSIVE REMEDY OF THE USER OR BUYER, AND THE EXCLUSIVE LIABILITY
 OF SYNGENTA AND SELLER FOR ANY AND ALL CLAIMS, LOSSES, INJURIES
 OR DAMAGES (INCLUDING CLAIMS BASED ON BREACH OF WARRANTY,
 CONTRACT, NEGLIGENCE, TORT, STRICT LIABILITY OR OTHERWISE)
 RESULTING FROM THE USE OR HANDLING OF THIS PRODUCT, SHALL BE THE
 RETURN OF THE PURCHASE PRICE OF THE PRODUCT OR, AT THE ELECTION
 OF SYNGENTA OR SELLER, THE REPLACEMENT OF THE PRODUCT.
 SYNGENTA and Seller offer this product, and Buyer and User accept it, subject to the
 foregoing Conditions of Sale and Limitation of Warranty and Liability, which may not be
 modified except by written agreement signed by a duly authorized representative of
 SYNGENTA.
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                                   DIRECTIONS FOR USE

 It is a violation of federal law to use this product in a manner inconsistent with its
 labeling.

                          AGRICULTURAL USE REQUIREMENTS

  Use this product only in accordance with its labeling and with the Worker Protection
  Standard, 40 CFR part 170. This Standard contains requirements for the protection of
  agricultural workers on farms, forests, nurseries, and greenhouses, and handlers of
  agricultural pesticides. It contains requirements for training, decontamination,
  notification, and emergency assistance. It also contains specific instructions and
  exceptions pertaining to the statements on this label about personal protective
  equipment (PPE) and restricted-entry interval. The requirements in this box only apply
  to uses of this product that are covered by the Worker Protection Standard.

  Do not enter or allow worker entry into treated areas during the restricted-entry
  interval (REI) of 12 hours. Exception: If the seed is treated with the product and the
  treated seed is soil-injected or soil-incorporated, the Worker Protection Standard,
  under certain circumstances, allows workers to enter the treated area if there will be no
  contact with anything that has been treated.

  PPE required for early entry to treated areas that is permitted under the Worker
  Protection Standard and that involves contact with anything that has been treated,
  such as plants, soil, or water is:

     • Coveralls
     • Chemical-resistant gloves made of barrier laminate, butyl rubber 14 mils, nitrile
       rubber 14 mils, neoprene rubber 14 mils, natural rubber 14 mils,
       polyethylene, polyvinyl chloride (PVC) or Viton 14 mils
     • Shoes plus socks

 FAILURE TO FOLLOW THE DIRECTIONS FOR USE AND PRECAUTIONS ON THIS
 LABEL MAY RESULT IN CROP INJURY, POOR INSECT CONTROL, AND/OR
 ILLEGAL RESIDUES.

 Sale, use, and distribution of this product in Nassau and Suffolk Counties in the State of
 New York is prohibited.

 Treatment of highly mechanically scarred or damaged seed, or seed known to be of low
 vigor and poor quality, may result in reduced germination and/or reduction of seed and
 seedling vigor. Treat a small quantity of seed using equipment similar to that planned
 for treating the total seed lot. Conduct germination tests on a small portion of seed
 before committing the total seed lot to a selected seed treatment. Due to seed quality,
 crop or variety sensitivity, and seed storage conditions beyond the control of Syngenta,
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 no claims are made to guarantee the germination of carry-over seed [or propagating
 material] for all crop seed.

 PRODUCT INFORMATION

 Cyantraniliprole is a broad-spectrum insecticide belonging to the chemical class of
 diamides. Cyantraniliprole products are effective on the larval stages of lepidopteran
 insects and some other insect pests, including some coleopterans and dipterans. The
 length of control of the major insect pests will vary depending on the product use rate,
 insect pressure, crop growth and maturity, and soil and environmental conditions.
 When rate ranges are given, use the higher rate within the listed rate range when insect
 pressure is expected to be high.

 Resistance Management


 Fortenza Red contains cyantraniliprole, a Group 28 insecticide. Cyantraniliprole is a
 systemic insecticide belonging to the diamide class of chemistry. Diamides cause
 muscle contraction and paralysis in insects by activating muscle ryanodine receptors.

 Insect populations may contain individuals naturally resistant to Group 28 insecticides,
 and, if used repeatedly in the same fields, then resistant members may eventually
 dominate the population. Because resistance development cannot be predicted, use
 sound resistance management strategies established for the crop and use area.

 Base seed treatment on an integrated pest management program that includes field
 sanitation, historical information related to pesticide use, careful selection of pest-
 tolerant crop varieties, scouting, and management practices which optimize populations
 of natural enemies of insect pests such as within-field refugia (untreated areas). Sound
 management programs also consider cultural and biological control practices.

 In order to maintain susceptibility to this class of chemistry:
     Use products at their full, specified doses.
     Use appropriate, well-maintained equipment. Use specified water volumes and
     apply at optimal temperatures in order to obtain optimal treatment.
     When rate ranges are given, use the higher rate within the listed rate range when
     insect pressure is expected to be high.
     Avoid using a single active ingredient or mode of action (same insecticide group)
     exclusively for season long control of insect species with more than one generation
     per crop season.
     For insect species with successive or overlapping generations, use a treatment
     window approach. A treatment window is a period of time defined by the stage of
     crop development and the biology of the pests of concern. Within the treatment
     window, depending on the length of residual activity, single or consecutive
     applications may be made using seed, in-furrow, or foliar treatments unless
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    otherwise excluded by product labels. Do not exceed the maximum amount of this
    insecticide’s mode of action allowed per growing season.
    Following a treatment window of this insecticide’s mode of action, rotate to a
    treatment window of effective products with a different mode of action before making
    additional applications of this insecticide.

 If resistance to this product develops in your area, this product or other products with a
 similar mode of action may not provide adequate control. If poor performance cannot be
 attributed to improper application or weather conditions, a resistant strain of insect may
 be present. If you experience difficulty with control and resistance is a reasonable
 cause, immediately consult your local company representative or agricultural advisor for
 the best alternative method of control for the crop and use area.

 Syngenta encourages responsible product stewardship to ensure effective long term
 control of the insect pests on this label.

 For additional information on Insect Resistance Management:
       Contact Syngenta representatives at 1-866-796-4368.
       Contact your local Cooperative Extension Service specialist, pest control advisor,
       or certified crop advisor.
       Visit the Insecticide Resistance Action Committee (IRAC) on the web at:
       http://www.irac-online.org.


 MIXING PROCEDURES

 Apply Fortenza Red only with Syngenta-approved seed-treating equipment.
 Potatoes may be treated either on farm by the grower with Syngenta-approved
 equipment or at a commercial seed-treatment facility. All other crops must only be
 treated at Syngenta-approved commercial seed-treatment facilities. Not for use in
 hopper box, planter box, slurry box, or other farmer applied applications.

 Important: Thoroughly recirculate or agitate the container of Fortenza Red prior to use.

 Apply Fortenza Red as a water-based slurry utilizing standard slurry seed treatment
 equipment which provides uniform seed coverage. Uneven or incomplete seed
 coverage may not give the desired level of insect or disease control. Thoroughly mix
 the specified amount of Fortenza Red into the required amount of water for the slurry
 treater and dilution rate to be used. (See Fortenza Red in Tank Mixtures.) Consult
 the manufacturer of the application equipment you plan to use for suitability for this
 application and for instructions on operation and calibration of the equipment.

       Use an EPA-approved dye or colorant that imparts an unnatural color to the seed
       as stated in 40 CFR 153.155 (c).
       Allow seed to dry before bagging.
       Store away from feed and foodstuffs.
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 Fortenza Red has been found to be compatible with some liquid inoculant products.
 Fortenza Red may be mixed or applied sequentially with approved liquid inoculants.
 Consult the maker of the liquid inoculants and a Syngenta Crop Protection
 representative for directions before applying Fortenza Red with inoculants.

 Fortenza Red in Tank Mixtures:

 It is the pesticide user’s responsibility to ensure that all products are registered for the
 intended use. Read and follow the applicable restrictions and limitations and directions
 for use on all product labels involved in tank mixing. Users must follow the most
 restrictive directions for use and precautionary statements of each product in the tank
 mixture.

 SEED BAG LABEL REQUIREMENTS

 The Federal Seed Act requires that bags containing treated seeds shall be labeled with
 the following statements:

        This seed has been treated with cyantraniliprole insecticide.
        Do not use treated seed for food, feed or oil purposes.

 In addition, the U.S. Environmental Protection Agency requires the following statements
 on bags containing seeds treated with Fortenza Red (cyantraniliprole):

        Store treated seed away from feed and foodstuffs.
        Do not allow children, pets, or livestock to have access to treated seed.
        Wear long-sleeved shirt, long pants and chemical-resistant gloves when handling
        treated seed.
        Use of Fortenza Red as a seed treatment must be communicated to all
        personnel involved in seasonal insect control recommendations.
        This product is highly toxic to bees exposed to direct treatment or residues on
        blooming crop or weeds. Ensure that the planting equipment is functioning
        properly in accordance with manufacturer specifications to minimize seed coat
        abrasion during planting to reduce dust which can drift to blooming crops and
        weeds.
        Corn seeds must be planted at a minimum soil depth of 1½ inches.
        Potato seed tubers must be planted at a minimum soil depth of 2 inches.
        Rapeseed crop subgroup 20A seeds must be planted at a minimum soil depth of
        ¼ inch.
        Rice (dry-seeded) must be planted at a minimum soil depth of ½ inch.
        Soybean must be planted at a minimum soil depth of 1 inch.
        Sunflower crop subgroup 20B seeds must be planted at a minimum soil depth of
        1 inch.
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       Cottonseed crop subgroup 20C seeds must be planted at a minimum soil depth
       of ½inch.
       Treated seeds exposed on soil surface may be hazardous to wildlife.
       Immediately cover or collect seeds spilled during loading and planting. Do not
       allow treated seed to remain uncovered on the soil surface.
       Dispose of all excess treated seed by burying seed away from bodies of water.
       Leftover treated seed may be double sown around the headland or buried away
       from water sources in accordance with local requirements. Do not contaminate
       bodies of water when disposing of excess treated seed or washwaters of planting
       equipment.
       Excess treated seed may be used for ethanol production only if (1) ethanol
       production by-products are not used for livestock feed and (2) no measurable
       residues of pesticides remain in the ethanol by-products that are used for
       agronomic practice.
       Dispose of seed packaging in accordance with local requirements.
       For all crops: Do not apply a total of more than 0.4 lb ai per acre of
       cyantraniliprole-containing products per calendar year; this is the total
       cyantraniliprole applied by seed treatment, soil application and foliar application.
       For corn: This seed has been treated with a maximum of 0.5 mg cyantraniliprole
       per seed. Calculate actual amount of cyantraniliprole applied per acre based on
       seeds planted per acre.
       For potato: This seed has been treated with a maximum of 0.0135 lb
       cyantraniliprole per 100 lb seed tuber. Do not plant more than 3000 tubers per
       acre when treated at 0.0135 lb ai/100 lb of seed.
       For rapeseed crop subgroup 20A [based on flax seed]: This seed has been
       treated with a maximum of 0.05 mg active cyantraniliprole per seed. Calculate
       actual amount of cyantraniliprole applied per acre based on seeds planted per
       acre.
       For rice (dry-seeded): This seed has been treated with a maximum of 0.03 mg
       cyantraniliprole per seed. Calculate actual amount of cyantraniliprole applied per
       acre based on seeds planted per acre.
       For soybean: This seed has been treated with a maximum of 0.076 mg
       cyantraniliprole per seed. Calculate actual amount of cyantraniliprole applied per
       acre based on seeds planted per acre.
       For sunflower crop subgroup 20B: This seed has been treated with a maximum
       of 0.2 mg active cyantraniliprole per seed. Calculate actual amount of
       cyantraniliprole applied per acre based on seeds planted per acre.
       For cottonseed crop subgroup 20C: This seed has been treated with a maximum
       of 0.9 mg active cyantraniliprole per seed. Calculate actual amount of
       cyantraniliprole applied per acre based on seeds planted per acre. Do not apply
       more than 0.17 lb active cyantraniliprole per acre as a seed treatment
       application.
       Including the Fortenza Red seed treatment, make no more than two applications
       of cyantraniliprole or other Group 28 products per generation to the same insect
       species on a crop or within a 30-day period (count planting date as day 1 if using
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        treated seed). Application(s) to the next generation of target pest(s) must be with
        an effective product with a different mode of action (non-Group 28 insecticide).

 Crop Rotation
       There is no plant back restriction for conversion of a treated field or for making a
       new or replacement planting into established orchards or fields of Bushberries
       (Crop Subgroup 13-07B); Citrus (Crop Group 10-10); Pome Fruits (Crop Group
       11-10); Stone Fruits (Crop Group 12); Low Growing Berries (Crop Subgroup 13-
       07G); or Tree Nuts (Crop Group 14-12).

        Crops on this label and the following crops or crop groups may be planted
        immediately following the last application of Fortenza Red: Brassica Leafy
        Vegetables (Crop Group 5); Bulb Vegetables (Crop Group 3-07); Corn (Field,
        Pop, Seed and Sweet); Cotton; Cucurbit Vegetables (Crop Group 9); Fruiting
        Vegetables (Crop Group 8-10); Leafy Vegetables (except Brassica) (Crop Group
        4); Leaves of Root and Tuber Vegetables (Crop Group 2); Legume Vegetables
        (Crop Groups 6 and 7); Low Growing Berries (Crop Subgroup13-07H); Oilseeds
        (Crop Group 20); Peanuts; Root and Tuber Vegetables (Crop Subgroups 1B and
        1C); Tobacco.

        The following crops or crop groups may be planted 30 days following the last
        application of Fortenza Red: Cereal Grains (Crop Group 15); Forage, Fodder
        and Straw of Cereal Grains (Crop Group 16); Grass Forage, Fodder and Hay
        (Crop Group 17); Nongrass Animal Feeds (forage, fodder, straw and hay) (Crop
        Group 18); Sugar beets.

        All other crops cannot be planted until 12 months after the last application of
        cyantraniliprole.
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 CROP USE DIRECTIONS

 CORN (FIELD, POP, SEED AND SWEET) – NOT FOR USE IN CALIFORNIA

                                      Early-season                          Use Rate
             Crop                 Protection Against                          fl oz product/100 lb seed
                                                              mg ai/seed
                                 Damage Caused by:                           (based on 1800 seeds/lb)
  Corn                          Cutworms
   Field                        Grubs
   Pop                          Wireworms
                                                                   0.125 – 0.5          1.24 – 5.0
   Seed                         Fall armyworm
   Sweet                        Seedcorn maggot
  Not for Use in California
  Additional Information
   Fortenza Red at labeled rates provides protection against damage caused by cutworms, grubs,
   wireworms, fall armyworm, and seedcorn maggot during early-season growth and development of
   corn.
   Full-season protection or complete reduction of damage is not expected against the listed insects.
   Based on numerous popcorn seed-safety studies, popcorn use rates >0.125 mg ai/seed (2.75 fl
   oz/100 lb seed, based on 4,000 seeds/lb) on individual hybrids should be tested for seed safety to
   evaluate specific genetic tolerance to higher rates of Fortenza Red.
   It is recommended to apply Fortenza Red with compatible and registered seed treatment fungicides
   such as Apron XL®, Dynasty®, Maxim® 4FS, Maxim Quattro, and Vibrance®, which are proven to
   provide protection from seed and seedling diseases; Cruiser® 5FS for additional early season insect
   pest protection; and Avicta® Complete Corn for early-season disease, insect and nematode
   protection.
   Follow planter manufacturer instructions for use of talc or other hopper box additives at planting.
                                               USE RESTRICTION
        DO NOT apply more than 0.4 lb ai of cyantraniliprole-containing products per acre per calendar
        year, including all types of applications (seed treatment, soil, foliar).
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 POTATO SEED PIECE TREATMENT
 Fortenza Red is to be used as an integral part of potato pest management strategy.
 This strategy includes the use of high quality certified potato seed, crop rotation,
 monitoring proper insect population thresholds, appropriate comprehensive insect
 control measures, optimal harvest time of potato tubers and proper handling of the
 potatoes. Consult your local agricultural extension agent for more detailed information
 on insect management practices.

                                                                      Use Rate
                    Protection Against           (See Tables 1 and 2 for additional rate information.)
      Crop
                    Damage Caused by:          [grams ai/100 kg   lb ai/100 lb seed    fl oz product/100
                                                 seed tubers]           tubers           lb seed tubers
  Potato            Colorado potato beetle
                                                      [6 – 13.5]         0.006 – 0.0135         0.15 – 0.35
                    European corn borer
  Additional Information
     Potatoes may be treated either on farm by the grower with Syngenta-approved equipment or at a
     commercial seed-treatment facility.
     Fortenza Red used at labeled rates provides protection against damage caused by Colorado potato
     beetle and European corn borer during early- to mid-season growth and development of potatoes.
     Full-season protection or complete reduction of damage caused by labeled pests is not expected
     with the use of Fortenza Red.
     If a crop failure occurs, treated potato seed pieces may be replanted if the total cyantraniliprole rate
     applied does not exceed 0.4 lb ai per acre.
     For protection against certain seed- and soil-borne diseases of potatoes, Fortenza Red may be
     applied with Maxim 4FS, CruiserMaxx® Vibrance Potato, CruiserMaxx Potato, or CruiserMaxx
     Potato Extreme family of products.
     Application of Fortenza Red with CruiserMaxx Potato or CruiserMaxx Potato Extreme also provides
     protection against potato aphid, green peach aphid, beet leaf hopper and psyllids.
     If an inert dust (fir bark or talc etc.) or a dust-based fungicide is applied, apply Fortenza Red prior to
     applying the dust treatments.
                                                USE RESTRICTIONS
     DO NOT apply more than 0.4 lb ai of cyantraniliprole-containing products per acre per calendar
     year, including all types of applications (seed treatment, soil, foliar).
     DO NOT BAG POTATO SEED THAT IS TREATED WITH ANY LIQUID SEED TREATMENTS .

 Application of Fortenza Red
 Apply Fortenza Red utilizing Syngenta-approved seed treating systems designed to
 apply liquid seed treatments of potatoes. Uneven or incomplete seed coverage may not
 give the desired level of insect control. For slurry treatment, thoroughly mix the
 specified amount of Fortenza Red into the required amount of water for the slurry treater
 and dilution rate to be used. Maintain constant agitation of the slurry during the seed
 treatment process. Follow the manufacturer’s application instructions for the seed
 treatment equipment being used with appropriate set-up and calibration. Calibrate the
 equipment so that every potato seed tuber is uniformly coated with a fine layer of the
 slurry mix without any excess dripping off of the treated seed.

 Storing Treated Potato Seed Pieces
 If the treated potato seed piece needs to be stored or held for a few days (2 to 3 weeks
 maximum), make sure the potato seed piece is stored in well ventilated areas that allow
 air to move through and out the treated potato seed piece. An ideal air temperature is
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 60 degrees Fahrenheit at a relative humidity of 85 to 90 percent. Do not allow free
 moisture to form within or around the treated potato seed piece during storage. If
 possible, allow treated potato seed pieces to dry during transit and planted the same
 day of treatment.

 Syngenta, LLC makes no claims as to the effect of this product or delivery
 systems on germination of the potato seed. The user, buyer or applicator of the
 seed treatment assumes all risks from such application.

 Note: Treatment of highly damaged or bruised potato seed, or seed known to be of low
 vigor and poor quality, or potato seed that is deemed “physiologically old”, may result in
 reduced germination and/or reduction of seed and seedling vigor and multiple stems
 from germination of the seed. When in doubt or if the status/condition of the potato
 seed tubers is unknown, treat a small sample batch of the same potato seed load with
 Fortenza Red using specified rates, equipment, and application procedures; before
 treating the total seed lot. Conduct this test on a small batch of the potato seed and
 observe the germination, emergence, stem count from the germinating seed. Consult
 with local experts in the region or conduct the test with university or area experts. Only
 if the data confirm that the seed treated with Fortenza Red are acceptable should the
 rest of the seed load from which the sample was taken be treated. Due to seed
 quality, seed condition and seed storage conditions beyond the control of
 Syngenta LLC, no claims are made to guarantee the germination and/or
 performance of the potato seed tuber from treatment with Fortenza Red.

 Table 1. Empirical Calculations based on popular potato seeding rates:
                         Expected lb ai per acre at popular seeding rates and expected use
   Seeding rate                                 rate of Fortenza Red
  Pounds/acre            0.006 lb ai/100 lb       0.01 lb ai/100 lb      0.0135 lb ai/100 lb
      1500                     0.090                    0.150                  0.203
      2000                     0.120                    0.200                  0.270
      2500                     0.150                    0.250                  0.338
      3000                     0.180                    0.300                  0.405
      3500                     0.210                    0.350              Do not apply.1
 1 The lb ai applied per acre at this seeding density and application rate exceeds the maximum allowable

 0.4 lb ai per acre.

 Table 2. Empirical Calculations based on popular potato seeding rates:
                          Expected fl oz per acre at popular seeding rates and expected use
    Seeding rate                                 rate of Fortenza Red
  Pounds/acre               0.15 fl oz/100 lb       0.26 fl oz/100 lb      0.35 fl oz/100 lb
       1500                         2.3                     3.8                    5.2
       2000                         3.1                     5.1                    6.9
       2500                         3.8                     6.4                    8.6
       3000                         4.6                     7.7                   10.4
       3500                         5.4                     9.0             Do not apply.1
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 1The fl oz applied per acre at this seeding density and application rate exceeds the maximum allowable

 11 fl oz per acre.
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 OILSEED CROP GROUP 20

                                       Early-season                             Use Rate
              Crops                  Protection Against                               fl oz product/100
                                                                 lb ai/100 lb seed
                                     Damage Caused by:                                      lb seed
  Rapeseed Crop Subgroup
  20A:
   Borage
   Crambe
   Cuphea
   Echium                          Cutworms                             0.30                   7.7
   Flax seed
   Gold of Pleasure
   Hare’s Ear Mustard
   Lesquerella
   Lunaria
   Meadowfoam
   Milkweed
   Mustard seed
   Oil radish
   Poppy seed
   Rapeseed (including Canola)     [Flea beetles]                      [0.80]                 [20.4]
   Sesame
   Sweet Rocket
   Cultivars, varieties, and/or
   hybrids of these
  Additional Information
      Fortenza Red at labeled rates provides protection against the damage caused by cutworms during
      early-season growth and development of rapeseed crop subgroup 20A.
      Full-season protection or complete reduction of damage from the use of Fortenza Red is not
      expected against the listed insects.
      For protection against damage caused by flea beetles when applied at 7.7 fl oz product per 100 lb
      seed, Fortenza Red must be tank mixed with Helix® Vibrance or other thiamethoxam-containing
      seed treatment product.
      In all cases, it is recommended to apply Fortenza Red with Helix Vibrance for control of seedling
      diseases and other insect pests of seedling crops.
      Follow planter manufacturer instructions for use of talc or other hopper-box additives at planting.
                                              USE RESTRICTION
  DO NOT apply more than 0.40 lb ai of cyantraniliprole-containing products per acre per calendar year
  including all types of applications (seed treatment, soil, foliar).
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                                                                      Use Rate
                              Early-season             (based on an average of 4,500 seeds/lb)
          Crops             Protection Against                                          fl oz
                                                                  lb ai/100,000
                            Damage Caused by:       [mg ai/seed]                  product/100,000
                                                                      seed
                                                                                       seed
   Sunflower Crop
    Subgroup 20B:
    Calendula
    Castor Oil plant
    Chinese Tallowtree
    Euphorbia
    Evening Primrose
    Jojoba
    Niger seed
                               Cutworms                   [0.1 – 0.2]   0.022 – 0.044      0.56 – 1.1
    Rose hip
    Safflower
    Stokes Aster
    Sunflower
    Tallowwood
    Tea Oil plant
    Vernonia
    Cultivars, varieties,
    and/or hybrids of these
  Additional Information
      Fortenza Red at labeled rates provides protection against the damage caused by cutworms during
      early-season growth and development of sunflower crop subgroup 20B.
      Full-season protection or complete reduction of damage from the use of Fortenza Red is not
      expected against the listed insects.
      [When applied at these rates in combination with Cruiser 5FS, Fortenza Red may provide
      additional protection against wireworms.]
      It is recommended to apply Fortenza Red with compatible and registered seed treatment fungicides
      such as Apron XL, Dynasty, Bion®, Maxim 4FS or Plenaris® 200FS, which are proven to control
      seed and seedling diseases, and with Cruiser 5FS for additional early-season insect pest
      protection.
      Follow planter manufacturer instructions for hopper box additives at planting.
                                              USE RESTRICTION
  DO NOT apply more than 0.40 lb ai of cyantraniliprole-containing products per acre per calendar year
  including all types of applications (seed treatment, soil, foliar).
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                                                                         Use Rate
                                Early-season
                                                                        fl oz product/100 lb seed
           Crops              Protection Against
                                                       mg ai/seed    (based on an average of 4,500
                              Damage Caused by:
                                                                                 seeds/lb)
  Cottonseed Crop
  Subgroup 20C
   Cottonseed                          Cutworms             0.1 – 0.9               2.55 – 23.0
   Cultivars, varieties,
   and/or hybrids of these
  Additional Information
     Fortenza Red at labeled rates provides protection against the damage caused by cutworms during
     early-season growth and development of cotton.
     Full-season protection or complete reduction of damage from the use of Fortenza Red is not
     expected against the listed insects.
     [When applied at these rates in combination with Cruiser 5FS, Fortenza Red may provide
     additional protection against wireworms.]
     It is recommended to apply Fortenza Red with compatible and registered seed treatment fungicides
     such as Apron XL, Dynasty, Dynasty CST, Bion, Maxim 4FS, Vibrance, or Vibrance CST, which are
     proven to provide early-season protection from seed and seedling diseases, and with Cruiser 5FS
     for additional early-season insect pest protection.
     Follow planter manufacturer instructions for hopper box additives at planting.
                                            USE RESTRICTIONS
     DO NOT apply more than 0.17 lb active cyantraniliprole per acre as a seed treatment application.
     DO NOT apply more than 0.40 lb ai of cyantraniliprole-containing products per acre per calendar
   year including all types of applications (seed treatment, soil, foliar).
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 RICE (DRY SEEDED ONLY) – NOT FOR USE IN CALIFORNIA

                                                                      Use Rate
                         Early-season
                                                                         fl oz product/100 lb seed
          Crop         Protection Against
                                                      mg ai/seed          (based on an average of
                       Damage Caused by:
                                                                              21,000 seeds/lb)
   Rice               Rice water weevil                  0.03                        3.47
  Additional Information
     Fortenza Red at labeled rates provides protection against the damage caused by rice water weevil
     during early-season growth and development of rice.
     Fortenza Red-treated rice seed may be planted by drill or broadcast (ground or aerial) on soil.
     Full-season protection or complete reduction of damage from the use of Fortenza Red is not
     expected against the listed insects.
     It is recommended to apply Fortenza Red with compatible and registered seed treatment fungicides
     such as Apron XL, Dynasty, or Maxim 4FS, which are proven to provide early-season protection
     from seed and seedling diseases, and Cruiser 5FS for additional early-season insect pest
     protection.
                                            USE RESTRICTIONS
     When broadcasting Fortenza Red-treated seeds on soil, the rice seeds must be incorporated into
     the soil.
     Fortenza Red-treated dry rice seed cannot be soaked or pre-germinated before seeding.
     DO NOT apply more than 0.17 lb active cyantraniliprole per acre as a seed treatment application.
     DO NOT apply more than 0.4 lb ai of cyantraniliprole-containing products per acre per calendar
     year including all types of applications (seed treatment, soil, foliar).
     DO NOT use Fortenza Red-treated rice fields for the aquaculture of edible fish or crustacea
     (including crawfish) during the rice growing season from planting through harvest.
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 SOYBEAN (INCLUDING SOYBEAN VEGETABLE) – NOT FOR USE IN CALIFORNIA

                                                                       Use Rate
                          Early-season
                                                                          fl oz product/100 lb seed
        Crop            Protection Against
                                                       mg ai/seed          (based on an average of
                        Damage Caused by:
                                                                                3,000 seeds/lb)
   Soybean
    (including
                      Bean leaf beetle
    soybean
                      Thrips
    vegetable)                                        0.038 – 0.076               0.627 – 1.25
                      Grubs
                      Wireworms
  Not for Use in
   California
  Additional Information
     Fortenza Red at labeled rates provides protection against the damage caused by bean leaf beetle,
     thrips, grubs and wireworms during early-season growth and development of soybeans.
     Full-season protection or complete reduction of damage from the use of Fortenza Red is not
     expected against the listed insects.
     It is recommended to apply Fortenza Red with compatible and registered seed treatment fungicides
     such as Apron XL, Dynasty, Maxim 4FS, Mertect® 340-F, and Vibrance, which are proven to
     provide protection from seed and seedling diseases; with Cruiser 5FS for additional early-season
     insect pest protection; or with a combination fungicide/insecticide product such as CruiserMaxx
     Vibrance for early-season disease and insect protection.
     Follow planter manufacturer instruction for use of talc or other hopper box additives at planting.
                                            USE RESTRICTIONS
     DO NOT apply more than 0.4 lb ai of cyantraniliprole-containing products per acre per calendar
     year including all types of applications (seed treatment, soil, foliar).
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 ROTATIONAL CROP RESTRICTIONS

       There is no plant back restriction for conversion of a treated field or for making a
       new or replacement planting into established orchards or fields of Bushberries
       (Crop Subgroup 13-07B); Citrus (Crop Group 10-10); Pome Fruits (Crop Group
       11-10); Stone Fruits (Crop Group 12); Low Growing Berries (Crop Subgroup 13-
       07G); or Tree Nuts (Crop Group 14-12).

       Crops on this label and the following crops or crop groups may be planted
       immediately following the last application of Fortenza Red: Brassica Leafy
       Vegetables (Crop Group 5); Bulb Vegetables (Crop Group 3-07); Corn (Field,
       Pop, Seed and Sweet); Cotton; Cucurbit Vegetables (Crop Group 9); Fruiting
       Vegetables (Crop Group 8-10); Leafy Vegetables (except Brassica) (Crop Group
       4); Legume Vegetables (Crop Group 6); Legume Vegetables (Crop Groups 6 and
       7); Low Growing Berries (Crop Subgroup13-07H); Oilseeds (Crop Group 20);
       Peanuts; Root and Tuber Vegetables (Crop Subgroups 1B and 1C); Tobacco.

       The following crops or crop groups may be planted 30 days following the last
       application of Fortenza Red: Cereal Grains (Crop Group 15); Forage, Fodder and
       Straw of Cereal Grains (Crop Group 16); Grass Forage, Fodder and Hay (Crop
       Group 17); Nongrass Animal Feeds (forage, fodder, straw and hay) (Crop Group
       18); Sugar beets.

       All other crops cannot be planted until 12 months after the last application of
       cyantraniliprole.
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                                STORAGE AND DISPOSAL

 Do not contaminate water, food, or feed by storage or disposal.

 Pesticide Storage
 Store in a cool, dry place. Do not store above 90°F for extended periods.
 For minor spills, leaks, etc., follow all precautions indicated on this label and clean up
 immediately. Take special care to avoid contamination of equipment and facilities
 during cleanup procedures and disposal of wastes.

 Pesticide Disposal
 Wastes resulting from the use of this product must be disposed of on site or at an
 approved waste disposal facility. If these wastes cannot be used according to label
 instructions, contact your State Pesticide or Environmental Control Agency or the
 Hazardous Waste representative at the nearest EPA Regional Office for guidance in
 proper disposal methods.

 Container Handling (less than or equal to 5 gallons)
 Non-refillable container. Do not reuse or refill this container. Triple rinse container (or
 equivalent) promptly after emptying. Triple rinse as follows: empty the remaining
 contents into application equipment or a mix tank and drain for 10 seconds after the flow
 begins to drip. Fill the container ¼ full with water and recap. Shake for 10 seconds.
 Pour rinsate into application equipment or a mix tank or store rinsate for later use or
 disposal. Drain for 10 seconds after the flow begins to drip. Repeat this procedure two
 more times. Then offer for recycling if available or puncture and dispose of in a sanitary
 landfill, or by incineration, or by other procedures approved by state and local
 authorities.

 Container Handling (greater than 5 gallons)
 Non-refillable container. Do not reuse or refill this container. Triple rinse container (or
 equivalent) promptly after emptying. Triple rinse as follows: empty the remaining
 contents into application equipment or a mix tank. Fill the container ¼ full with water.
 Replace and tighten closures. Tip container on its side and roll it back and forth,
 ensuring at least one complete revolution, for 30 seconds. Stand the container on its
 end and tip it back and forth several times. Turn the container over onto its other side
 and tip it back and forth several times. Empty the rinsate into application equipment or
 a mix tank or store rinsate for later use and disposal. Repeat this procedure two more
 times. Then offer for recycling if available or puncture and dispose of in a sanitary
 landfill, or by incineration, or by other procedures approved by state and local
 authorities.

 Container Handling (greater than 5 gallons)
 Refillable container. Refill this container with pesticide only. Do not use this container
 for any other purpose. Cleaning the container before final disposal is the responsibility
 of the person disposing of the container. Cleaning before refilling is the responsibility of
 the person refilling. To clean container before final disposal, empty the remaining
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 contents from this container into application equipment or mix tank. Fill the container
 about 10 percent full with water. Agitate vigorously or recirculate water with the pump
 for 2 minutes. Pour or pump rinsate into application equipment or rinsate collection
 system. Repeat this rinsing procedure two more times. Then offer for recycling if
 available or puncture and dispose of in a sanitary landfill, or by incineration, or by other
 procedures approved by state and local authorities.

 CONTAINER IS NOT SAFE FOR FOOD, FEED, OR DRINKING WATER!


 Fortenza®, Apron XL®, Avicta®, Bion®, Cruiser®, CruiserMaxx®, Dynasty®, Helix®,
 Maxim®, Mertect®, Plenaris®, Vibrance®, the ALLIANCE FRAME, the SYNGENTA Logo,
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                 For non-emergency (e.g., current product information), call
                       Syngenta Crop Protection at 1-866-796-4368.

 Manufactured for:
 Syngenta Crop Protection, LLC
 P.O. Box 18300
 Greensboro, North Carolina 27419-8300


 Fortenza Red 1418 MAS 1118 AMEND 0523 – CL – jeb – 04/04/2023
 000100-01418.20230501.FORTENZA_RED.AMEND.MAY2023-CL.PDF
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                              Attachment 15
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        Registration of the New Active Ingredient Cyantraniliprole
      An Insecticide for Use on Multiple Commodities, Ornamentals, Turfgrass, and in
                            Commercial or Residential Buildings




                                     Approved by:   ~ ~~
                                                    Steven P. Bradbury, Director
                                                    Office of Pesticide Programs


                                     Date:




OPP.cyantraniliprole Decision Document.20140124.pdf
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Registration of the New Active Ingredient Cyantraniliprole
Summary of the Regulatory Decision

The Agency is granting an unconditional registration under section 3(c)(5) of the Federal Insecticide,
Fungicide, and Rodenticide Act (FIFRA) of the new active ingredient cyantraniliprole formulated as a
technical product and fourteen end-use products. The registered uses for this new insecticide include
agricultural crops (bushberry (subgroup 13-07B), citrus (group 10-10), pome fruit (group 11-10), stone fruit
(group 12-12), tree nuts (group 14-12), oilseed (group 20), Brassica, Cole and leafy vegetables (group 5),
bulb vegetables (group 3-07) cucurbits (group 9), fruiting vegetables (group 8-10), leafy vegetables (except
Brassica) (group 4), and tuberous and corm vegetables (subgroup 1C)), ornamentals and turf (ornamental
plants, shrubs, trees in and around greenhouses, nurseries, lath- and shade-houses, and interior plantscapes,
landscape and recreational turfgrass (including golf courses), and sod farms), as well as structures and
equipment (in and around agricultural, commercial, and residential structures (excluding food/feed handling
establishments), and transportation equipment.

Product formulations include liquid, granular, and granular bait. Methods of application include broadcast
sprays for aerial and ground applications, soil drench, chemigation, and seed treatment. Maximum single
application rates are 0.4 lb. a.i./A for liquid, granular, or seed treatments. The maximum annual application
rate is 0.4 lb. a.i./A/year for all application methods.

The Agency’s Reduced Risk Committee approved cyantraniliprole as a "reduced risk" candidate for the
proposed uses. Based on the committee's evaluation of the information provided, the mammalian toxicity and
ecotoxicity risk profiles for cyantraniliprole are favorable compared to registered alternatives, which include
organophosphates, pyrethroids, carbamates and neonicotinoids. The novel mode of action for
cyantraniliprole fits in well with resistance management strategies.

The evaluation of cyantraniliprole was conducted as a “Global Joint Review” project. EPA scientists worked
in collaboration with their colleagues in the Regulatory Authorities of France, the United Kingdom, Canada,
and Australia. In the course of this analysis, the agencies considered a robust database that included over 800
studies. Scientists in each partnering authority conducted primary reviews, peer reviewed evaluations
conducted by their counterparts and participated in technical committee meetings to coordinate and
harmonize scientific conclusions.

After review and consideration of all of the data provided by the 800+ studies, the determinations made by
the multiple scientists involved in the project, and the outcome of the human health and ecological risk
assessments, the Agency supports the decision of its Reduced Risk Committee; cyantraniliprole is therefore
classified as a Reduced Risk Pesticide.

Cyantraniliprole is a broad spectrum insecticide, with activity on a wide variety of target pests. While it is
the third compound registered in the Insecticide Resistance Action Committee (IRAC) Mode of Action
Classification Group 28, ryanodine receptor modulators, it has a broader spectrum of activity than the other
two compounds. It is expected to fit well in IPM programs.




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I. Chemical Information
Chemical Name: cyantraniliprole, 3-bromo-1-(3-chloro-2-pyridinyl)-N-[4-cyano-2-methyl-6-
[(methylamino)carbonyl]phenyl]-1H-pyrazole-5-carboxamide

EPA PC Code: 090098

Chemical Abstracts Service (CAS) Number: 736994-63-1

IRAC MoA Classification: Group 28 - Ryanodine receptor modulators

Mode of Action: Insecticide Resistance Action Committee (IRAC) Mode of Action Classification Group 28:
ryanodine receptor modulators (RyR). The mode of action is through unregulated activation of insect RyR
channels leading to internal calcium store depletion and impaired regulation of muscle contraction, causing
paralysis and eventual death.

Registrants:   E.I. du Pont de Nemours & Company and Syngenta Crop Protection


II. Human Health Risk
A summary of the human health effects and risk of cyantraniliprole as assessed in the Agency document
entitled “Cyantraniliprole. Aggregate Human Health Risk Assessment for the Proposed New Uses of the
New Active Insecticide, including Agricultural Uses on Brassica (Cole) Leafy Vegetables (Group 5), Bulb
Vegetables (Group 3-07), Bushberries (Group 13-07B), Citrus Fruit (Group 10-10), Cotton, Cucurbit
Vegetables (Group 9), Fruiting Vegetables (Group 8-10), Leafy Vegetables (non-Brassica) (Group 4),
Oilseeds (Group 20), Pome Fruits (Group 11-10), Stone Fruits (Group 12), Tree Nuts (Group 14), Tuberous
and Corm Vegetables (Subgroup 1C); Seed Treatment Uses on Canola (Rapeseed), Mustard Seed,
Sunflowers, and Potatoes; and Residential, Commercial, and Agricultural Uses on Ornamentals, Turfgrass
(including Sod Farms and Golf Courses), and Structural Buildings (including Indoor Crack/Crevice and
Outdoor Broadcast)" is provided below.

A. Summary of Toxicological Effects

Cyantraniliprole is a second-generation ryanodine receptor (RyR) insecticide belonging to the diamide class
of chemistry whose pesticidal mode of action (MOA) is through unregulated activation of insect RyR
channels. This leads to internal calcium store depletion and impaired regulation of muscle contraction,
causing paralysis and eventual death of the insect. Mammalian RyR are shown to be 350 to >2500 times less
sensitive than those of insects. In general, cyantraniliprole administration in mammals produces both adverse
and adaptive changes in the liver, thyroid gland, and adrenal cortex. With repeated dosing, consistent
findings of mild to moderate increases in liver weights across multiple species (rats, mice, dogs) are
observed. Dogs appear to be more sensitive than rats and mice; cyantraniliprole produces adverse liver
effects (increases in alkaline phosphatase, decreases in cholesterol, and decreases in albumin) in dogs at
lower dose levels than in rats. In addition, the liver effects in the dog show progressive severity with
increased duration of exposure. The available data also show thyroid hormone homeostasis is altered in rats
following exposure to cyantraniliprole after 28 or 90 days due to enhanced metabolism of the thyroid
hormones by the liver. However, cyantraniliprole is not a direct thyroid toxicant. Cyantraniliprole is
classified as “Not Likely to be Carcinogenic to Humans” based on the absence of increased tumor incidence
in acceptable/guideline carcinogenicity studies in rats and mice. In addition, there are no genotoxicity,

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mutagenicity, neurotoxicity, or immunotoxicity concerns. There are also no developmental or reproductive
toxicity concerns. There is no evidence of an adverse effect attributable to a single dose.

B. Food Quality Protection Act Safety Factor (FQPA SF)

EPA has determined that reliable data show the safety of infants and children would be adequately protected.
EPA believes that the appropriate Food Quality Protection Act Safety Factor (FQPA SF) for cyantraniliprole
should be reduced to 1X for the following reasons:

   •   The toxicity database for cyantraniliprole is complete.
   •   There are no indications in any of the available studies that the nervous system is a target for
       cyantraniliprole. Effects indicative of neurotoxicity are not seen in the neurotoxicity screening battery
       at or above the limit dose levels in acute (2,000 mg/kg) and 90-day (1,000 mg/kg) neurotoxicity
       studies.
   •   There is no evidence of susceptibility in developmental toxicity studies in rats and rabbits. The
       developmental toxicity study in rats is tested up to the limit dose (1,000 mg/kg/day). In the rabbit
       developmental toxicity study decrease in fetal body weight is seen at a dose higher than that resulting
       in maternal effects. In the reproductive toxicity study, increased incidence of thyroid follicular
       epithelium hypertrophy/hyperplasia occurs in fetal 1 (F1) parental animals at a dose lower than that
       for the parental (P) generation. A clear No-Observed Adverse Effect Level (NOAEL) (1.4
       mg/kg/day) is established for F1 parental animals, and the Point of Departures (PODs) selected for
       risk assessment from the dog studies (1 or 3 mg/kg/day) are protective of the effect (thyroid effect)
       seen in the F1 parental animals. In addition the submitted data support the conclusion that the effects
       on the thyroid are secondary to effects on the liver.
   •   The exposure databases are complete or are estimated based on data that reasonably account for
       potential exposures. The chronic dietary food exposure assessment was conservatively based on
       100% crop treated (CT) assumptions, average residue levels from field trials, and conservative
       ground and surface drinking water modeling estimates. New 2012 Residential Standard Operating
       Procedures (SOPs) are used to assess post-application exposure to children including incidental oral
       exposure. The residential post-application assessment assumes that maximum application rates are
       applied and that hand-to-mouth activities occur on the day of application. All of the exposure
       estimates are based on conservative, health-protective assumptions and are not likely to
       underestimate risk.

C. Toxicological End Points and Doses Used in the Human Health Risk Assessment

1. Acute

No acute dietary toxicity endpoint was selected as an effect because no effect attributed to a single dose was
identified in the mammalian toxicology database.

2. Chronic Dietary (all populations)

EPA established a chronic reference dose (cRfD) and a Chronic Population Adjusted Dose (cPAD) for
cyantraniliprole of 0.01 mg/kg body wt/day, based on the NOAEL of 1 mg/kg body wt/day from a 1-year
oral study in dogs and an FQPA Safety Factor of 1X. In this study, effects indicative of liver toxicity
(increased liver weights and alkaline phosphatase activity), and significant decreases in albumin level were
observed at the Lowest Observed Adverse Effect Level (LOAEL) of 6 mg/kg body wt/day.


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3. Short- and Intermediate-Term Oral

EPA selected the NOAEL of 3 mg/kg body wt/day from the 90-day oral study in dogs, based on effects
observed in the co-critical 28-day and 90-day toxicity studies in dogs. In the 90-day study, a collection of
treatment-related effects indicative of liver toxicity were observed at the LOAEL = 32 mg/kg body wt/day.
The effects included decreases in total protein, albumin, and cholesterol in males and females; increases in
alkaline phosphatase in males and females; increases in alanine aminotransferase in females; and increases in
liver weights in males and females. In the co-critical 28-day study, decreases in body weight, food
consumption, food efficiency, and changes in clinical chemistry (increased ALP, decreased cholesterol, and
decreased albumin) were observed at the LOAEL = 35 mg/kg body wt/day (lowest dose tested). The level of
concern for assessing short- and intermediate-term occupational exposure to cyantraniliprole is a margin of
exposure (MOE) that is less than 100.

4. Short-Term Dermal

No short-term dermal toxicity endpoint was selected because systemic toxicity was not seen in 28-day
dermal toxicity in rats at the limit dose (1,000 mg/kg/day). There are no concerns for developmental or
reproductive toxicity or neurotoxicity.

5. Short-Term Inhalation

EPA selected the NOAEL of 0.1 mg/L from the 28-day inhalation study in rats. A LOAEL was not
established because the highest concentration tested (0.1 mg/L) did not demonstrate any adverse effects.

6. Cancer

EPA has classified cyantraniliprole as “Not likely to be Carcinogenic to Humans” based on data showing
lack of treatment-related increase in tumor incidence in the rat and mouse carcinogenicity studies. Mutagenic
concern was not reported in the mutagenicity studies.

D. Cumulative Effects

Unlike other pesticides for which EPA has followed a cumulative risk approach based on a common
mechanism of toxicity, EPA has not found cyantraniliprole to share a common mechanism of toxicity with
any other substances, and cyantraniliprole does not appear to produce a toxic metabolite produced by other
substances. For the purposes of this action, therefore, EPA has assumed that cyantraniliprole does not have a
common mechanism of toxicity with other substances.

E. Aggregate Risk Assessment

1. Acute Dietary Risk

An acute aggregate risk assessment takes into account acute exposure estimates from dietary consumption of
food and drinking water. No adverse effect resulting from a single oral exposure was identified and therefore
no acute dietary endpoint was selected. Cyantraniliprole is not expected to pose an acute risk.




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2. Chronic dietary risk

EPA has concluded that chronic exposure to cyantraniliprole from food and water will utilize 50% of the
cPAD for children 1-2 years old (the population group receiving the greatest exposure) and 22% of the
general U.S. population.

3. Short-term risk

Short-term aggregate exposure takes into account short-term residential exposure plus chronic exposure to
food and water (considered to be a background exposure level). Cyantraniliprole is proposed for uses that
could result in short-term residential exposure, and the Agency has determined that it is appropriate to
aggregate chronic exposure through food and water with short-term residential exposures to cyantraniliprole.
Residential exposure estimates of all possible scenarios are not of concern. Short-term inhalation MOEs
range from 22,000 to 220,000,000. Furthermore, these calculated risk estimates are highly conservative
because the inhalation exposure POD is based on an exposure duration of 24 hours per day.

Using the exposure assumptions described in this unit for short-term exposures, EPA has concluded the
combined short-term food, water, and residential exposures result in aggregate MOEs of 290 for children 1-2
years old (the population group receiving the greatest exposure) and 22,000 for adults. Because EPA’s level
of concern for cyantraniliprole is a MOE of 100 or below, these MOEs are not of concern.

4. Intermediate-term risk

Intermediate-term aggregate exposure takes into account intermediate-term residential exposure plus chronic
exposure to food and water (considered to be a background exposure level). For adults, intermediate-term
exposure is not expected for the residential exposure pathway. The intermediate-term aggregate risk would
be equivalent to the chronic dietary exposure estimate. For children 1 to <2 years old, the short-term
aggregate risk is protective of the intermediate-term duration.

5. Aggregate cancer risk for U.S. population

Based on the lack of evidence of carcinogenicity in two adequate rodent carcinogenicity studies,
cyantraniliprole is not expected to pose a cancer risk to humans.

F. Occupational Risk Assessment

1. Handler Exposure and Risk

Occupational handler and post-application exposure may occur by the dermal and inhalation routes of
exposure only. Since there is no dermal hazard from cyantraniliprole, only inhalation exposures were
quantitatively assessed. Also, since no acute toxicity effects were found for cyantraniliprole, only short- and
intermediate-term inhalation risk estimates were calculated.

a. Agricultural Field Uses

The results of the occupational handler exposure and risk assessment indicate that short- and intermediate-
term inhalation risks do not exceed EPA’s Level of Concern (LOC) (i.e. an MOE < 30 for short-term
exposures and an MOE < 100 for intermediate-term exposures) at baseline mitigation (no PPE). Since the
short- and intermediate-term PODs are the same, the inhalation MOEs are also the same, ranging from 1,200
to 3,900,000.
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EPA has no data to assess exposures to pilots using open cockpits. The only data available is for exposure to
pilots in enclosed cockpits. Therefore, risks to pilots are assessed using the engineering control (enclosed
cockpits) and baseline attire (long-sleeve shirt, long pants, shoes, and socks); per the Agency’s Worker
Protection Standard stipulations for engineering controls, pilots are not required to wear protective gloves for
the duration of the application. There are no risk estimates of concern for aerial applicators.

b. Agricultural Seed Treatment Uses

Based on the anticipated use patterns and current labeling, types of equipment and techniques that can
potentially be used, some occupational handler exposure is expected from the proposed seed treatment uses.
The quantitative exposure/risk assessment developed for occupational handlers is based on the following
scenarios:
        Mixing/loading liquids for potato seed piece treatment,
        Planting potato seed pieces,
        Mixing/loading liquids for commercial seed treatment, and
        Planting treated seed.

The results of the occupational handler exposure and risk assessment indicate that short-term inhalation risk
estimates do not exceed EPA's LOC (i.e. an MOE < 30 for short-term exposures) at baseline, without
mitigation from PPE. Short-term exposure risk estimates are protective of intermediate-term exposure risk
estimates because the throughput (amount of seed treated) is greater than, or equal to, the throughput of
intermediate-term exposure. The calculated inhalation risk estimates do not exceed EPA's LOC for
intermediate-term exposures (i.e. an MOE < 100) at baseline, without mitigation from PPE. The inhalation
MOEs range from 370 to 4,000 for primary handlers (treaters) and 2,200 to 190,000 for secondary handlers
(planters).

2. Occupational Postapplication Exposure and Risk

An occupational post-application exposure and risk assessment was not conducted because a dermal hazard
was not identified for cyantraniliprole.


III. Environmental Risk
A summary of the environmental fate and ecological effects and risks of cyantraniliprole as assessed in the
Agency document entitled “Environmental Risk Assessment of Proposed New Global Chemical
Cyantraniliprole on Bushberries, Citrus, Cotton, Oil Seeds, Pome Fruit, Stone Fruit, Tree Nuts, Vegetables
(Bulb, Corm and Tuberous, Cucurbit, Fruiting, Leafy Brassica, and Leafy-Non-Brassica), and Professional
Products (Fly Bait, Indoor and Outdoor Insect Control for Public Health Pests Such as Cockroaches, Ants,
Flies, Termites, Nuisance Insect Pests, Turfgrass and Ornamentals, Tree Injection, and Production
Greenhouse and Nursery Ornamentals)" is provided below. Additional information and points of clarification
not included in the risk assessment are included in the document, dated January 24, 2014, entitled
“ADDENDUM – EFED Environmental Risk Assessment of Proposed New Global Chemical
Cyantraniliprole on Bushberries, Citrus, Cotton, Oil Seeds, Pome Fruit, Stone Fruit, Tree Nuts, Vegetables
(Bulb, Corm and Tuberous, Cucurbit, Fruiting, Leafy Brassica, and Leafy-Non-Brassica), and Professional
Products (Fly Bait, Indoor and Outdoor Insect Control for Public Health Pests Such as Cockroaches, Ants,
Flies, Termites, Nuisance Insect Pests, Turfgrass and Ornamentals, Tree Injection, and Production
Greenhouse and Nursery Ornamentals).” This addendum includes a revision of the chronic mammalian

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endpoint, characterization of potential risk concerns to monocots, and presents a comparison of acute honey
bee toxicity data for cyantraniliprole and other insecticides.

A. Environmental Fate

Cyantraniliprole is a systemic insecticide. It is soluble at neutral pH and given its low vapor pressure (3.85 x
10-17 mm Hg) and Henry’s Law constants (1.70 x 10-18atm*m3/mol), is not considered volatile and is not
likely prone to atmospheric transport. While cyantraniliprole is subject to both abiotic alkaline hydrolysis
(half-life = 21 hrs) and photodegradation in aqueous (half-life = 8 hrs) and moist soil environments and
biotic (aerobic and anaerobic biotransformation in terrestrial and aquatic environments, half-lives range from
2 days to 3 months) degradation, the chemical degrades into a total of 13 degradation products. Of these
degradates, eight are major and five are minor. Based on degradate aerobic soil metabolism and mobility
studies, six of the eight major degradates had longer dissipation half-life (DT50) values (more persistent) and
three of the eight degradates were more mobile than the parent cyantraniliprole. According to the Food and
Agriculture Organization (FAO) classification system, based on organic carbon partitioning coefficients,
cyantraniliprole is characterized as moderately mobile. Bioconcentration factor data (BCF value <1 in whole
fish) indicate that cyantraniliprole is not likely to bioaccumulate.

Given the uncertainty of the behavior and toxicity of these degradates, their toxicity is assumed to be
equivalent to the parent compound, cyantraniliprole. For the aquatic exposure modeling, a total toxic residue
approach (considers the parent compound and eight major degradates including two degradates from
terrestrial field studies) was utilized. For surface water, peak estimated environmental concentrations (EECs)
ranged from 0.23 µg/L from cyantraniliprole use on trees using the Oregon Christmas tree scenario to 38
µg/L from cyantraniliprole use on cotton using the North Carolina cotton scenario. For pore water, peak
EECs ranged from 0.22 µg/L from cyantraniliprole use on trees using the Oregon Christmas tree scenario to
37 µg/L from cyantraniliprole use on rapeseed using the North Dakota wheat scenario.

B. Ecological Risk

Ecological risk characterization integrates the results of the exposure and ecotoxicity data to evaluate the
likelihood of adverse ecological effects. The means of integrating the results of exposure and ecotoxicity
data is called the risk quotient method. For this method, risk quotients (RQs) are calculated by dividing
exposure estimates by ecotoxicity values, both acute and chronic (RQ = Exposure/Toxicity). RQs are then
compared to EPA's levels of concern (LOCs). The LOCs are criteria used by the Agency to indicate potential
risk to non-target organisms. The criteria indicate whether a pesticide, when used as directed, has the
potential to cause adverse effects to non-target organisms. The ecological risk profile is described in detail
below.

Risks to Aquatic Organisms

Fish
Cyantraniliprole is classified as “slightly to moderately toxic” to freshwater fish on an acute exposure basis.
A conservative calculation using the peak aquatic EEC (37.97 µg ai/L) and the typical end product LC50
(2,400 µg ai/L) resulted in an RQ of 0.016. This is well below the acute risk to listed species LOC of 0.05.
Consequently, direct acute risks to freshwater fish and aquatic-phase amphibians, for which fish serve as
surrogates, from the proposed uses of cyantraniliprole are not considered likely.

Risk quotients calculated for chronic exposures to cyantraniliprole ranged from <0.001 to 0.003 and were all
well below the chronic risk to listed and non-listed species LOC of 1. The risk quotient analysis indicated

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that direct chronic effects to freshwater fish are not expected; none of the risk quotients exceeded the chronic
risk LOC of 1.

Risk quotients could not be calculated for direct acute effects to estuarine/marine fish because the toxicity
value was non-definitive. In lieu of this, the most sensitive toxicity value can be compared with the peak
EEC. The most sensitive LC50 (>12,000 µg total ai/L), although non-definitive, is much larger than the peak
aquatic EEC of 37.97 µg ai/L. There was precipitate in this toxicity test and measured concentrations were
not centrifuged or filtered; therefore, the amount of dissolved cyantraniliprole is uncertain, lending
uncertainty to the study’s results. No mortality or sub-lethal effects were observed in any treatment group in
the test. Furthermore, the LC50 would need to be 16 times more sensitive (759 µg ai/L) to even reach the
acute risk to listed species LOC of 0.05. Thus, the likelihood of adverse effects on estuarine/marine fish from
direct acute exposure from the proposed uses of cyantraniliprole is considered low.

Risk quotients could not be calculated for chronic effects to estuarine/marine fish because only non-
definitive toxicity data were available. Given that the No Observed Adverse Effect Concentration (NOAEC)
was a less than value (NOAEC <750 µg ai/L), it is not possible to preclude the possibility of direct chronic
risks to estuarine/marine fish. Growth parameters (length and weight) were affected at the lowest
concentration tested. Although the absolute value of the NOAEC (750 µg total ai/L) is one order of
magnitude higher than the highest 60-day aquatic EEC of 37.42 µg ai/L, risk concerns cannot be eliminated
on this alone. Risk mitigation language is included on the labels (refer to section IV. E.).

Invertebrates
Cyantraniliprole ranged in toxicity from slightly to very highly toxic to freshwater invertebrates on an acute
exposure basis. Risk quotients for acute exposures to freshwater invertebrates ranged from 0.011 to 1.9. Most
uses exceeded the acute risk to listed species LOC of 0.05 and some exceeded the acute risk to non-listed
species LOC of 0.5.

Risk quotients for chronic exposures to freshwater invertebrates ranged from 0.035 to 5.8 with some uses
exceeding the listed and non-listed species chronic risk LOC of 1.

Cyantraniliprole is moderately to highly toxic to estuarine/marine invertebrates on an acute exposure basis.
Acute risk quotients for estuarine/marine invertebrates ranged from <0.001 to 0.073 showing a slight
exceedance of the acute risk to listed species LOC of 0.05. Chronic risk quotients ranged from 0.001 to 0.23
(oyster) and < 0.001 to 0.12 (mysid shrimp). No scenarios exceeded the listed and non-listed species chronic
risk LOC of 1. Thus, while mortality (direct) of estuarine/marine invertebrates is possible following acute
exposure for eight of the proposed uses, the likelihood of (direct) adverse effects from chronic exposure is
considered low.

Cyantraniliprole is highly toxic to benthic invertebrates on an acute exposure basis. Acute risk quotients for
benthic invertebrates ranged from <0.001 to 0.051 but only one use exceeded the acute risk to listed species
LOC of 0.05. Chronic risk quotients ranged from 0.022 to 3.7 with some uses exceeding the listed and non-
listed species chronic risk LOC of 1.

To reduce the potential risk to aquatic invertebrates, risk mitigation language is included on the labels (refer
to section IV.D.).

Aquatic Plants
Toxicity data for technical-grade cyantraniliprole was non-definitive for aquatic vascular and non-vascular
plants. Thus, risk quotients were not calculated. Given the lines of evidence, it is unlikely that there will be
direct adverse effects to aquatic plants based on exposure from the proposed uses of cyantraniliprole.
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Risks to Terrestrial Organisms

Birds
Cyantraniliprole is classified as ‘practically nontoxic’ to birds on an acute oral and sub-acute dietary
exposure basis. Since all of the endpoints from the acute oral and sub-acute dietary toxicity studies with birds
are non-definitive (i.e., they are ‘greater than’ values), they were not used to calculate RQs. Instead, the non-
definitive toxicity values were directly compared to the EECs. The most sensitive TGAI studies were
selected (in two cases, there were more sensitive results for the typical end-use product (TEP) studies, but
these were also non-definitive and the lower toxicity value is probably an artifact of the largest dose of
product that was given to the bird rather than the active ingredient itself). In all cases, none of the EECs were
larger than the non-definitive toxicity values for the most sensitive avian species. No sub-lethal effects were
observed in either the acute oral or sub-acute dietary studies for any of the species tested. Acute effects to
listed and non-listed bird species are not expected.

The chronic dietary-based RQs range from <0.01 to 0.45, and are below the LOC of 1.0. Therefore, the
likelihood of chronic adverse effects for listed and non-listed birds, reptiles, and terrestrial-phase amphibians
from exposure to residues from the proposed cyantraniliprole uses is expected to be low.

Mammals
Cyantraniliprole is classified as ‘practically nontoxic’ to mammals on an acute oral exposure basis. Non-
definitive toxicity values were directly compared to the EECs. In all cases, none of the EECs were larger
than the non-definitive toxicity values. Furthermore, no sub-lethal effects were observed in the acute oral
toxicity study. Therefore, acute effects on listed and non-listed mammalian species are not expected.

There were no LOC exceedances of the listed and non-listed species chronic risk LOC (1), except for the
following uses/application types: soil injection/drench for hardwood trees (RQ of 1.3), soil drench for citrus
(RQ of 1.2), and drip irrigation applications for cucurbits (RQ of 3.2). These risk quotients were
conservatively calculated by estimating the concentration of cyantraniliprole in the leaf biomass of the plant,
where for the screening-level risk assessment the risk quotients above were calculated assuming 100% of the
animal’s diet comes from the treated site (e.g., citrus leaves). It is important to note that it is unlikely that
these use sites make up 100% of a non-target mammalian diet; therefore the actual potential for risk is low
considering the variability of non-target mammalian diets.

Terrestrial Invertebrates
Toxicity data for parasitic wasps, beetles, spiders, lacewings, predatory mites, and collembola indicated that
cyantraniliprole is toxic to some terrestrial invertebrates at very low application rates (48-hr LR50 = 0.00008
lb ai/A – parasitic wasp), consistent with its insecticidal mode of action. Conversely, collembola, which are
exposed to cyantraniliprole through direct contact with the soil, were insensitive to applications of
cyantraniliprole (EC50 > 1,200 mg ai/kg-soil. Likewise, earthworms demonstrated a low toxic effect to
cyantraniliprole (EC50 > 102.6 mg ai/kg-soil – based on the TEP).

While there is some uncertainty in honeybee toxicity data for cyantraniliprole, due to some non-definitive
endpoints, it is highly toxic on an acute oral and contact basis; however, this compound is generally less
toxic to honey bees than organophosphate, pyrethroid, neonicotinoid, and carbamate insecticides (Table 1).
Refined acute oral RQs for adult honeybees using empirically-based maximum reported concentrations in
nectar and pollen were determined as the ratio of cyantraniliprole consumed in pollen/nectar (i.e., dose) to
the acute LD50 for cyantraniliprole-only TEP (0.116 µg ai/bee) and ranged from 0.017 to 0.066 and are below
the LOC of 0.4. The LOC of 0.4 was established for acute risks to honeybees. If an RQ is less than LOC, the
chemical being assessed does not pose a risk concern to insect pollinators on an acute exposure basis and
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higher tier studies are not required. The registration packet included semi-field and field data for honeybees,
which were used to confirm this conclusion. The LOC of 0.4, and framework for assessing risk to pollinators
– used in the cyantraniliprole ecological risk assessment – is outlined in the Agency’s White Paper for
assessing potential risks to pollinators and was evaluated by the FIFRA Scientific Advisory Panel1.

Table 1 below is a comparison of the relative honeybee acute toxicity for cyantraniliprole to
organophosphates, carbamates, pyrethroids and neonicotinoids, which have similar uses to cyantraniliprole.
The table below includes honeybee acute contact and acute oral toxicity ranges for organophosphates,
carbamates, pyrethroids, and neonicotinoids, as well as the toxicity values for cyantraniliprole and
cyantraniliprole/thiamethoxam TEP. The comparatively low toxicity of the dual a.i. product containing
cyantraniliprole/thiamethoxam is largely reflective of the toxicity of thiamethoxam, although less toxic than
thiamethoxam alone. This table illustrates that cyantraniliprole is typically less toxic to honeybees compared
to these chemical classes.

Table 1. Comparison of relative honeybee acute toxicity*
    Chemical                                                    Honeybee acute contact                Honeybee acute oral LD50
                                                                   LC50 (µg ai/bee)                          (µg ai/bee)
    Carbamates                                                       0.1600 to 35                           0.094 to 3.01
    Neonics                                                         0.024 to <12.5                        0.0037 to >10.21
    Organophosphates                                                 0.059 to 58.9                          0.056 to 0.44
    Pyrethroids                                                     0.0015 to 0.52                         0.172 to 0.909
    Cyantraniliprole                                                     0.55                                   0.116
    Cyantraniliprole/thiamethoxam TEP                                   0.058                                  0.0062
*
    Additional comparisons to individual chemicals are included in the Addendum to the Ecological Risk Assessment.


The semi-field studies indicated transient effects on behavior, foraging activity and mortality. Observations
of brood health and colony strength (up to 28 days) suggested no significant lethal or sub-lethal adverse
effects on larvae or colony strength from cyantraniliprole applications. The field studies provide in situ
information about the effects of cyantraniliprole applications to brood development and longer-term colony
health. If the larvae in a hive are undergoing adverse toxicological effects to a significant degree, a decrease
in hive population or other colony-level effects will be seen over time – especially during the overwintering
period; which was not observed in the cyantraniliprole studies.

Non-target Terrestrial and Semi-Aquatic Plants
Based on the risk quotient analysis, the LOC for risk to listed terrestrial plants was not exceeded for
monocots or dicots. There is some uncertainty regarding the analysis for monocots because seedling
emergence data were available for only one monocot species. However, available data indicate that onion
was the most sensitive monocot using a vegetative vigor study, where it is approximately 2X more sensitive
than the available monocot (corn) species data. Therefore it would be reasonable to expect the seedling
emergence endpoint for onion to be lower than the monocot and dicot observed endpoints. Taking into
account this uncertainty, the analysis suggests risks are not of concern for non-listed monocot or dicot plant
species, nor for listed animal species that do not possess an obligate relationship with a particular monocot.
Risk was identified for listed monocot species within a short distance of the treated field and for listed
animal species with an obligate relationship with a particular monocot plant. Further, the registration
package includes uses on monocots (specifically bulb vegetables, onion); therefore it is unlikely that the
potential impact on onions is significant. Additionally, exceedance of the Agency’s LOC is lowered


1
 Regulations.gov docket for the FIFRA SAP: http://www.regulations.gov/#!docketBrowser;rpp=25;po=0;dct=SR;D=EPA-HQ-
OPP-2012-0543; and the Agency’s White paper: http://www.regulations.gov/#!documentDetail;D=EPA-HQ-OPP-2012-0543-
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significantly as distance increases from the treated field; therefore the implemented buffers on the labels are
intended to mitigate this potential risk.


IV. Regulatory Decision
The Agency is unconditionally granting the registration of the new active ingredient, cyantraniliprole,
formulated as a technical product and fourteen end use products, under section 3(c)(5) of the Federal
Insecticide, Fungicide, and Rodenticide Act for the following uses (a complete list of all registered products
is included in the attachment):

       Agricultural crops
       bushberry (crop subgroup 13-07B); fruit, citrus (crop group 10-10); fruit, pome (crop group 11-10);
       fruit, stone (crop group 12-12); nut, tree (crop group 14-12); oilseed (crop group 20); vegetable,
       Brassica (Cole) leafy (crop group 5); vegetable, bulb (crop group 3-07); vegetable, cucurbit (crop
       group 9); vegetable, fruiting (crop group 8-10); vegetable, leafy (except Brassica) (crop group 4); and
       vegetable, tuberous and corm (crop subgroup 1C).

       Ornamentals and turf
       ornamental plants, shrubs, trees in and around greenhouses, nurseries, lath- and shade-houses, and
       interior plantscapes; landscape and recreational turfgrass (including golf courses); sod farms.

       Structures and equipment
       in and around agricultural, commercial, and residential structures (excluding food/feed handling
       establishments); and transportation equipment.

For the food uses, Canadian Maximum Residue Levels (MRLs) and U.S. tolerances are harmonized for
primary crop commodities and livestock commodities. A few items are not harmonized: a) Canada will
establish import tolerances for grapes and olives; the US does not have this request. b) Canada does not
establish MRLs for livestock only commodities whereas the US does. c) Canada is setting MRLs for poultry
commodities at the level of quantification (LOQ) of the analytical method (0.01 ppm) in accord with
Canadian policy for situations of no residues anticipated in the livestock commodities where there are feed
items with residues. The US is not establishing tolerances for poultry commodities as no significant
accumulation in poultry tissues or eggs is expected, i.e., category 40CFR §180.6(a)(3).

U.S. and Canadian tolerances are not entirely harmonized with European Union (EU) MRLs. This is due
both to differences in regional use patterns and climate as well as how the maximum levels are calculated.
Examples of different maximum levels include: citrus (0.70 ppm US/CA vs. 0.9 ppm EU); leafy vegetables
(20 ppm US/CA vs. 15 ppm EU); pome fruit (1.5 ppm US/CA vs. 0.8 ppm EU); plums (0.5 ppm US/CA vs.
1.5 ppm EU); tree nuts (0.04 ppm US/CA vs. 0.03 ppm EU). Fruiting vegetables (including peppers) are
harmonized at 2 ppm except tomatoes (2 ppm US/CA vs. 1.5 ppm EU) and eggplant (2 ppm US/CA vs. 0.4
ppm EU).

Codex maximum residue levels (MRLs) for cyantraniliprole were proposed in September, 2013 but have not
been adopted to date.

A. Public Comments

Notice of Receipt

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On April 26, 2012, EPA published a Notice of Receipt in the Federal Register of an application for
registration of cyantraniliprole and announced a public comment period of 30 days. Only two comments
were received, one from the San Francisco Bay Regional Water Quality Control Board and the other from
the California Stormwater Quality Association. The comments were similar in that they requested that EPA
consider adverse impacts to aquatic systems from urban use sites.

EPA addressed these comments during the risk assessment process by employing the Total Toxic Residue
approach (i.e. including parent chemical and all potential degradates) in its evaluation of cyantraniliprole and
its degradates in aquatic systems. The Total Toxic Residue approach essentially extends the duration of the
predicted EECs to account for the time it would take for both the parent and degradates of concern to
dissipate in the environment. It assumes that the degradates have equivalent fate and ecotoxicity properties as
the parent which is a conservative assumption.

Notice of Filing
On May 23, 2012, EPA published a Notice of Filing in the Federal Register; no comments were received.

Proposed Registration Decision
On June 6, 2013 EPA posted a Proposed Registration of Cyantraniliprole to the public docket (EPA-HQ-
OPP-2011-0668). Twenty three public comments were received. A detailed review of the public comments
can be found in Cyantraniliprole - Response to Public Comments on EPA’s “Proposed Registration of the
New Active Ingredient Cyantraniliprole: An Insecticide for Use on Multiple Commodities, Ornamentals,
Turfgrass, and in Commercial or Residential Buildings" posted to the docket.


B. Regulatory Rationale

Cyantraniliprole is a broad spectrum insecticide, with activity on a wide variety of target pests. While it is
the third compound registered in the Insecticide Resistance Action Committee (IRAC) Mode of Action
Classification Group 28; ryanodine receptor modulators, it has a broader spectrum of activity than the other
two compounds. It is expected to fit well in IPM programs.

As an efficacious insecticide, cyantraniliprole is expected to have invertebrate biological activity and
therefore it may pose a risk to pollinators, as is the base for insecticides in general. Cyantraniliprole was
granted classification as a Reduced Risk pesticide. This means that compared to existing conventional
pesticides such as the organophosphates, carbamates and pyrethroids, it presents characteristics that include
lower impact on human health, lower toxicity to non-target organisms, low potential for groundwater
contamination, and compatibility with IPM practices. Based on the committee's evaluation of the information
provided, the mammalian toxicity and ecotoxicity risk profiles for cyantraniliprole are favorable compared to
registered alternatives, which include organophosphates, pyrethroids and abamectin. The novel mode of
action for cyantraniliprole fits in well with resistance management strategies. After review and consideration
of all of the data provided by the 800+ studies, the determinations made by the multiple scientists and
international partners involved in the project, and the outcome of the human health and ecological risk
assessments, the Agency supports the decision to register cyantraniliprole as a reduced risk compound.

In light of this determination, the Agency considered the potential risks posed by cyantraniliprole. The risks
were found not to be unreasonable when weighed against the benefits it provides. Cyantraniliprole controls
lepidoptera, whiteflies, leafminers, psyllids, leaf-feeding beetles, fruit flies, and sawflies. Cyantraniliprole is
effective at controlling the establishment and population growth of aphids, weevils and thrips. In a
comparative qualitative analysis of efficacy, cyantraniliprole is considered to be more efficacious than
current registrations of more toxic compounds for control of citrus psylla, citrus leafminer, citrus aphid, beet
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armyworm, cotton bollworm, Silverleaf whitefly, cotton thrips, oriental fruit moth, and obliquebanded
leafroller.

Cyantraniliprole is expected to be an essential tool to citrus growers and blueberry growers. The citrus
industry is under serious threat from citrus greening disease (HLB). Once a tree becomes infected, there is no
cure and it will die. The only way to protect citrus trees from HLB is through prevention by control of the
Asian Citrus Psyllid and there are very few effective alternatives; cyantraniliprole is one of the least toxic
alternatives that would be available for citrus growers. Florida and California growers need cyantraniliprole
to provide an additional mode of action to combat this psyllid. Deaths of trees resulting in serious losses to
the citrus industry will also affect beekeepers that rely on citrus for honey production and as a resource for
their bees.

The Agency is also aware of the threat to numerous crops from the invasive fruit fly, the spotted wing
Drosophila (SWD). This pest has already seriously injured the US blueberry crop. On July 29, 2013, the
Washington Post wrote an article about the concern that Maine’s wild blueberry growers have for the threat
posed by SWD. There is a zero tolerance standard for SWD in blueberries, a load of harvested blueberries
will be rejected no matter the level of infestation. Extension agents in blueberry growing states have
recommended carbaryl, diazinon, malathion, methomyl, phosmet, bifenthrin, esfenvalerate and other
conventional chemicals, however pre-harvest intervals for these compounds are long and SWD infestations
occur when fruit is ripe therefore growers are in need of tools with short PHIs. Michigan and New Jersey
State Lead Agencies have made crisis declarations under FIFRA Section 18 Emergency Exemption
provisions on behalf of blueberry growers for the use of malathion to combat SWD. Registration of
cyantraniliprole will provide the growers with an effective tool that has a short PHI and a more favorable
toxicological profile compared to currently registered alternatives.

Cyantraniliprole is expected to be an alternative to a number of insecticide classes (organophosphates,
carbamates, pyrethroids and some neonicotinoids). Compared to these alternatives cyantraniliprole generally
presented a more favorable environmental fate profile including its low volatility, low accumulation and
leaching potential in addition to microbial-mediated and abiotic dissipation pathways. Additionally, it is
generally less toxic towards mammals, birds and fish than the leading alternatives, and also honey bees (see
Section III.B., Table 1). In critical pest situations, cyantraniliprole may also replace multiple or repeated
applications of these other compounds, which expose non-target organisms many times and present greater
risks to a wider range of non-target species. Registration of cyantraniliprole should therefore serve to reduce
overall risks to such species, including listed species, when users substitute this product for the majority of
the available registered alternatives.

C. Data Requirements

No additional studies required, the cyantraniliprole database is complete for the proposed uses.

D. Labeling Requirements

As noted in section III. B., aquatic invertebrates may be affected by cyantraniliprole. To mitigate the
potential risk, cyantraniliprole labels will state:

       “Do not make ground applications within 25’ or aerial applications within 50’ of lakes,
       rivers, reservoirs, permanent streams, marshes, natural ponds, estuaries or coastal areas.
       Do not cultivate within 25’ of these aquatic areas to allow growth of a vegetative filter
       strip.”

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Additionally, an extensive “Spray Drift Management” section is included on the labels, which provides
applicators with information intended to decrease drift potential. The information addresses droplet size,
boom length, application height, wind speed and other weather conditions.

While a potential chronic risk to mammals was identified for three specific application/use scenarios (soil
injection/drench for hardwood trees, soil drench for citrus, and drip irrigation applications for cucurbits), it
was based on a screening-level risk assessment that assumes that 100% of the animal’s diet has been treated
with cyantraniliprole from these three specific application sites. Thus, the potential risk is based on
conservative assumptions where it is unlikely that these sites make up 100% of a non-target mammalian diet;
therefore the actual potential for risk is low considering the variability of non-target mammalian diets.
Additionally, cyantraniliprole is expected to be an alternative to compounds in the organophosphate and
carbamate chemical classes, which adversely affect mammals.

Since cyantraniliprole is an insecticide, and as with other insecticides (see Table 1) it was not unexpected
that the data indicate that it is highly toxic on an acute oral and contact basis to honeybees and other insect
pollinators. However, it is ranked lower compared to neonicotinoids, carbamates and pyrethroids. In order to
reduce exposure to these organisms, and to alert applicators, cyantraniliprole labels must include pollinator
protective labeling, as follows:

           1. A “Pollinator Protection Box” that contains information regarding routes of exposure, a web
              site resource for Best Management Practices, and contacts for reporting beekills.
           2. Use of a “Bee Icon” to call attention to the protective text
           3. Prohibition of applications to crops during bloom, except under certain specific conditions
           4. Restrictions for ornamentals that prohibit application during bloom.




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                                             ATTACHMENT A

Complete List of Registered Products:

 EPA            product name       formulation   use sites (with crop group #)
 Registration
 #

 352-856        DuPont Cyazypyr    96.7%         - Agricultural crops
                Technical          technical        bushberry (subgroup 13-07B);
                                                    fruit, citrus (group 10-10);
                                                    fruit, pome (group 11-10);
                                                    fruit, stone (group 12-12);
                                                    nut, tree (group 14-12);
                                                    oilseed (group 20);
                                                    vegetable, Brassica (Cole) leafy (group 5);
                                                    vegetable, bulb (group 3-07);
                                                    vegetable, cucurbit (group 9);
                                                    vegetable, fruiting (group 8-10);
                                                    vegetable, leafy (except Brassica), (group
                                                 4)
                                                    vegetable, tuberous and corm (subgroup
                                                 1C)
                                                 - industrial, public, & residential: turf,
                                                 ornamentals
                                                 - commercial production: ornamentals, sod
                                                 farms
                                                 - in & around residential, public,
                                                 commercial, agricultural structures;
                                                 transportation vehicles (excluding food/feed
                                                 handling establishments):
                                                     indoors - spot or crack & crevice only
                                                     outdoors - spot; crack & crevice; band
                                                 - in & around residential, commercial,
                                                 agricultural structures: scatterbait and bait
                                                 stations
 352-857        DuPont Benevia     10.26% OD     - nut, tree 14-12
                Insect Control                   - oilseed 20 (includes cotton)
                                   0.83 lb       - vegetable, bulb 3-07
                                   ai/gal        - vegetable, tuberous & corm 1C
 352-858        DuPont             50% FS        - rapeseed (canola)
                Lumiderm                         - mustard seed
                Insecticide Seed   5.21 lb
                Treatment          ai/gal




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EPA            product name         formulation   use sites (with crop group #)
Registration
#
352-859        DuPont Exirel        10.20% SE     - bushberry 13-07B
               Insect Control                     - fruit, citrus 10-10
                                    0.83 lb       - fruit, pome 11-10
                                    ai/gal        - fruit, stone 12-12
                                                  - nut, tree 14-12
                                                  - vegetable Brassica (Cole) leafy 5
                                                  - vegetable, bulb 3-07
                                                  - vegetable, cucurbit 9
                                                  - vegetable, fruiting 8-10
                                                       including eggplant, pepper, tomato
                                                       in commercial greenhouses
                                                  - vegetable, leafy except Brassica 4
352-860        DuPont Verimark      18.66% SC     - fruit, citrus 10-10
               Insect Control                     - vegetable Brassica (Cole) leafy 5
                                    1.67 lb       - vegetable, cucurbit 9
                                    ai/gal        - vegetable, fruiting 8-10
                                                  - vegetable, leafy except Brassica 4
                                                  - vegetable, tuberous & corm 1C
352-862        HGW86 Fly            0.5% RB       - in & around residential, commercial,
               Control Bait                       agricultural structures: scatterbait and bait
                                                  stations
352-863        HGW86 GH & N         18.66% SC     - ornamentals and "grassy, weedy, mulched,
               Insect Control                     or bare soil areas" in & around greenhouses,
                                    1.67 lb       nurseries, shadehouses, lathhouses
                                    ai/gal        - ornamentals in interior plantscapes
352-865        HGW86 T & O          18.66% SC     - outdoor turfgrass & ornamentals
               Insect Control                     (residential & public incl. golf courses)
                                    1.67 lb       - interior plantscapes
                                    ai/gal        - sod farms
352-868        HGW86 SC             18.66% SC     - in & around residential, public,
               Insect Control                     commercial, agricultural structures;
                                    1.67 lb       transportation vehicles (excluding food/feed
                                    ai/gal        handling establishments):
                                                      indoors - spot or crack & crevice only'
                                                      outdoors - spot; crack & crevice; band
100-1418        Fortenza Red        48.8% FS      - potato
               Insecticide          600 g/l       - sunflower
               [seed treatment]




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EPA            product name       formulation   use sites (with crop group #)
Registration
#
100-1420        Fortenza          48.8% FS      - potato
               Insecticide        600 g/l       - sunflower
               [seed treatment]
100-1421       Minecto Duo        20% + 20%       vegetable Brassica (Cole) leafy 5
               Insecticide        WG              vegetable, cucurbit 9
                                                  vegetable, fruiting 8-10
                                                  vegetable, leafy except Brassica 4
                                                  vegetable, tuberous & corm 1C
100-1422       A16901B            20% + 20%
               Ornamental         WG            - ornamentals, non-bearing fruit and nut
               Insecticide                      trees, and forest seedlings in commercial
                                                greenhouse, nurseries, and interiorscapes
                                                - certain crop plants grown for sale as
                                                transplants to consumers (only):
                                                        .vegetable, Brassica leafy 5
                                                        .vegetable, cucurbit 9
                                                        .vegetable, fruiting 8-10
100-1423       A16901B            20% + 20%     - outdoor residential ornamentals
               Residential        WG
               Insecticide
100-1424       Spinner            20% + 20%     - turfgrass (residential & public including
               Insecticide        WG            golf courses)
                                                - sod farms
                                                - ornamentals, non-bearing fruit and nut
                                                trees, and forest seedlings in commercial
                                                greenhouse, nurseries, and interiorscapes
                                                - certain crop plants grown for sale as
                                                transplants to consumers (only):
                                                        .vegetable, Brassica leafy 5
                                                        .vegetable, cucurbit 9
                                                        .vegetable, fruiting 8-10




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                          CERTIFICATE OF SERVICE

       I hereby certify that on November 22, 2023, the foregoing Petition for

 Review, Rule 26.1 Disclosure Statement, Attachments 1 through 15, and this

 Certificate of Service was filed with the Clerk of Court for the United States

 Court of Appeals for the District of Columbia Circuit by using the CM/ECF

 system. I caused to be served one true and correct copy of the foregoing via

 Federal Express on the following persons:

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